         Case: 22-1461     Document: 25     Page: 1   Filed: 11/04/2022




                              No. 2022-1461

               In the United States Court of Appeals
                       For the Federal Circuit

     BAXALTA INCORPORATED, BAXALTA GMBH,
                            Plaintiffs - Appellants
                     v.
               GENENTECH, INC.,
                            Defendant - Appellee

   Appeal from the United States District Court for the District of Delaware
                 No. 1:17-cv-00509, Hon. Timothy B. Dyk

              NONCONFIDENTIAL JOINT APPENDIX
PAUL, WEISS, RIFKIND, WHARTON             MORGAN, LEWIS & BOCKIUS LLP
& GARRISON LLP                                  William R. Peterson
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      Naz E. Wehrli                             Julie S. Goldemberg
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New York, NY 10019                        Philadelphia, PA 19103
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Counsel for Appellee                      Counsel for Appellants

                       Additional Counsel on Inside Cover
         Case: 22-1461   Document: 25     Page: 2   Filed: 11/04/2022




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& GARRISON LLP                                Michael J. Abernathy
      Kenneth A. Gallo                        Christopher J. Betti
      David E. Cole                           Maria E. Doukas
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                                        (312) 324-1000
Counsel for Appellee
                                        Counsel for Appellants
        Case: 22-1461     Document: 25    Page: 3   Filed: 11/04/2022




                           TABLE OF CONTENTS

ECF   Docket Text                         Date Filed      Page No(s).
No.

573   [UNSEALED] MEMORANDUM               1/13/2022       Appx30-76
      OPINION. Signed by Judge
      Timothy Belcher Dyk on
      1/13/2022.This order has been
      emailed to local counsel. (myr)
      (Entered: 01/13/2022)

574   ORDER granting 407 Genentech          1/13/2022     Appx77
      Inc.'s Motion for Summary
      Judgment. See the accompanying
      Memorandum Opinion for
      additional details. The parties shall
      meet and confer and propose any
      redactions to the Memorandum
      Opinion on or before January 18,
      2022. Signed by Judge Timothy
      Belcher Dyk on 1/13/2022. (myr)
      (Entered: 01/13/2022)

      United States Patent No. US         04/25/2006      Appx78-192
      7,033,590 B1

—     District Court Docket               Printed         Appx193-241
                                          4/26/2022




                                      i
         Case: 22-1461     Document: 25      Page: 4   Filed: 11/04/2022




                            TABLE OF CONTENTS
                                  (continued)

ECF   Docket Text                            Date Filed      Page No(s).
No.

1     COMPLAINT FOR PATENT                   05/04/2017      Appx242, Appx394,
      INFRINGEMENT AND                                       Appx397
      DECLARATORY JUDGMENT
      OF PATENT INFRINGEMENT -
      filed with Jury Demand against
      Chugai Pharmaceutical Co., Ltd.,
      Genentech, Inc. – Magistrate
      Consent Notice to Pltf. ( Filing fee
      $ 400, receipt number 0311-
      2134340.) - filed by Baxalta
      Incorporated, Baxalta GmbH.
      (Attachments: # 1 Exhibit A, # 2
      Exhibit B, # 3 Exhibit C, # 4
      Exhibit D, # 5 Exhibit E, # 6
      Exhibit F, # 7 Exhibit G, # 8
      Exhibit H, # 9 Exhibit I, # 10
      Exhibit J, # 11 Exhibit K, # 12
      Exhibit L, # 13 Exhibit M, # 14
      Civil Cover Sheet) (rwc) (Entered:
      05/04/2017)

41    MOTION for Preliminary                 12/14/2017      Appx3150-3151
      Injunction - filed by Baxalta
      GmbH, Baxalta Incorporated.
      (Connolly, Colm) (Entered:
      12/14/2017)




                                       ii
        Case: 22-1461     Document: 25     Page: 5   Filed: 11/04/2022




                           TABLE OF CONTENTS
                                 (continued)

ECF   Docket Text                          Date Filed      Page No(s).
No.

47    DECLARATION of                        12/14/2017     Appx4343-4346
      Krishnaswamy, Ph.D. re 42
      MEMORANDUM in Support by
      Baxalta GmbH, Baxalta
      Incorporated. (Attachments: # 1
      Exhibit A, # 2 Exhibit B, # 3
      Exhibit C, # 4 Exhibit D, # 5
      Exhibit E, # 6 Exhibit F, # 7
      Exhibit H, # 8 Exhibit I, # 9 Exhibit
      K, # 10 Exhibit L, # 11 Exhibit M,
      # 12 Exhibit N, # 13 Exhibit O, #
      14 Exhibit P, # 15 Exhibit Q, # 16
      Exhibit R, # 17 Exhibit S, # 18
      Exhibit T, # 19 Exhibit U, # 20
      Exhibit V, # 21 Exhibit W, # 22
      Exhibit X, # 23 Exhibit Y, # 24
      Exhibit Z, # 25 Exhibit AA)
      (Connolly, Colm) Modified on
      12/15/2017 (mdb). (Entered:
      12/14/2017)




                                     iii
        Case: 22-1461   Document: 25    Page: 6   Filed: 11/04/2022




                         TABLE OF CONTENTS
                              (continued)

ECF   Docket Text                       Date Filed      Page No(s).
No.

48    DECLARATION of Anthony A.         12/14/2017      Appx5100,
      Kossiakoff, Ph.D. re 42                           Appx5436-5437
      MEMORANDUM in Support by
      Baxalta GmbH, Baxalta
      Incorporated. (Attachments: # 1
      Exhibit A, # 2 Exhibit B, # 3
      Exhibit C, # 4 Exhibit D, # 5
      Exhibit E, # 6 Exhibit F, # 7
      Exhibit G, # 8 Exhibit H, # 9
      Exhibit I, # 10 Exhibit J, # 11
      Exhibit K, # 12 Exhibit L, # 13
      Exhibit M, # 14 Exhibit N, # 15
      Exhibit O, # 16 Exhibit P, # 17
      Exhibit Q, # 18 Exhibit R, # 19
      Exhibit S, # 20 Exhibit T, # 21
      Exhibit U, # 22 Exhibit V, # 23
      Exhibit W, # 24 Exhibit X, # 25
      Exhibit Y, # 26 Exhibit Z, # 27
      Exhibit AA, # 28 Exhibit BB, # 29
      Exhibit CC, # 30 Exhibit DD, # 31
      Exhibit EE, # 32 Exhibit FF, # 33
      Exhibit GG, # 34 Exhibit HH)
      (Connolly, Colm) Modified on
      12/15/2017 (mdb). (Entered:
      12/14/2017)




                                   iv
        Case: 22-1461     Document: 25     Page: 7   Filed: 11/04/2022




                           TABLE OF CONTENTS
                                 (continued)

ECF   Docket Text                          Date Filed      Page No(s).
No.

111   [SEALED] DECLARATION of              03/30/2018      Appx6253,
      John P. Sheehan, M.D. in Support                     Appx6606
      of Genentech's Opposition to
      Baxalta's Motion for a Preliminary
      Injunction by Genentech, Inc.
      (Attachments: # 1 Exhibit A, # 2
      Exhibit B, # 3 Exhibit C, # 4
      Exhibit D, # 5 Exhibit E, # 6
      Exhibit F, # 7 Exhibit G, # 8
      Exhibit H, # 9 Exhibit I, # 10
      Exhibit J, # 11 Exhibit K, # 12
      Exhibit L, # 13 Exhibit M, # 14
      Exhibit N, # 15 Exhibit O, # 16
      Exhibit P, # 17 Exhibit Q, # 18
      Exhibit R, # 19 Exhibit S, # 20
      Exhibit T, # 21 Exhibit U, # 22
      Exhibit V, # 23 Exhibit W, # 24
      Exhibit X, # 25 Exhibit Y, # 26
      Exhibit Z, # 27 Exhibit AA, # 28
      Exhibit BB, # 29 Exhibit CC, # 30
      Exhibit DD, # 31 Exhibit EE, # 32
      Exhibit FF, # 33 Exhibit GG, # 34
      Exhibit HH, # 35 Exhibit II, # 36
      Exhibit JJ, # 37 Exhibit KK)
      (Mayo, Andrew) (Entered:
      03/30/2018)




                                      v
        Case: 22-1461     Document: 25    Page: 8   Filed: 11/04/2022




                           TABLE OF CONTENTS
                                 (continued)

ECF   Docket Text                         Date Filed      Page No(s).
No.

129   EXHIBIT re 128 Declaration            04/11/2018    Appx9931-9999
      Exhibit 1 by Baxalta GmbH,
      Baxalta Incorporated.
      (Attachments: # 1 Exhibit 2, # 2
      Exhibit 3, # 3 Exhibit 4, # 4 Exhibit
      6, # 5 Exhibit 8) (Dudash, Amy)
      (Entered: 04/11/2018)

158   CLAIM CONSTRUCTION             05/18/2018           Appx10620,
      OPENING BRIEF filed by Baxalta                      Appx10641-10644
      GmbH, Baxalta Incorporated.
      (Dudash, Amy) (Entered:
      05/18/2018)

163   [SEALED] DECLARATION re           05/18/2018        Appx11236,
      160 Claim Construction Opening                      Appx11434
      Brief (Declaration of John P.
      Sheehan, M.D.) by Genentech, Inc.
      (Attachments: # 1 Exhibit A-H)
      (Balick, Steven) (Entered:
      05/18/2018)

262   OPINION & ORDER denying 41 08/07/2018               Appx16003
      MOTION for Preliminary
      Injunction Signed by Judge
      Timothy Belcher Dyk on 8/7/2018.
      (nmf) (Entered: 08/07/2018)




                                     vi
         Case: 22-1461     Document: 25     Page: 9   Filed: 11/04/2022




                            TABLE OF CONTENTS
                                  (continued)

ECF   Docket Text                           Date Filed      Page No(s).
No.

275   ORDER, the documents listed in          08/10/2018    Appx16032
      Exhibit A to the parties' joint letter,
      ECF No. 245-1, are ADMITTED
      and are part of the preliminary
      injunction record. The parties'
      objections to inclusion of these
      documents are OVERRULED.
      Signed by Judge Timothy Belcher
      Dyk on 8/10/2018. (crb) (Entered:
      08/10/2018)

293   SO ORDERED, 292 First              09/19/2018         Appx16033
      Amended Stipulation and Order
      Dismissing Defendant Chugai
      Pharmaceutical Co., Ltd. Signed by
      Judge Timothy Belcher Dyk on
      9/19/2018. (ceg) (Entered:
      09/19/2018)

330   OPINION AND ORDER. Signed             12/03/2018      Appx16160-16190
      by Judge Timothy Belcher Dyk on
      12/3/2018. (nmg) (Entered:
      12/03/2018)

335   STIPULATION AND FINAL                 1/31/2019       Appx16195-16197
      JUDGMENT by Baxalta GmbH,
      Baxalta Incorporated. (Dudash,
      Amy) (Entered: 01/31/2019)




                                      vii
        Case: 22-1461    Document: 25      Page: 10   Filed: 11/04/2022




                          TABLE OF CONTENTS
                                (continued)

ECF   Docket Text                          Date Filed      Page No(s).
No.

337   FINAL JUDGMENT is entered in 02/01/2019              Appx16199-16202
      favor of Genentech, Inc. and
      against Baxalta Incorporated on all
      claims asserted in the operative
      complaint. Genetech's
      counterclaims for declaratory
      judgment of non-infringement and
      a declaratory judgment of invalidity
      are dismissed without prejudice
      (*see Order for further details)
      (*CASE CLOSED). Signed by
      Judge Timothy Belcher Dyk on
      1/31/2019. (ceg) (Entered:
      02/01/2019)

407   MOTION for Summary Judgment - 9/3/2021               Appx16211
      filed by Genentech, Inc..
      (Attachments: # 1 Text of Proposed
      Order) (Balick, Steven) (Entered:
      09/03/2021)

408   [SEALED] OPENING BRIEF in            9/3/2021        Appx16215-16219,
      Support re 407 MOTION for                            Appx16230,
      Summary Judgment filed by                            Appx16242,
      Genentech, Inc. Answering                            Appx16249-16252
      Brief/Response due date per Local
      Rules is 9/17/2021. (Balick,
      Steven) (Entered:09/03/2021)




                                    viii
        Case: 22-1461   Document: 25     Page: 11   Filed: 11/04/2022




                          TABLE OF CONTENTS
                               (continued)

ECF   Docket Text                        Date Filed      Page No(s).
No.

409   [SEALED] DECLARATION re            9/3/2021        Appx16261,
      408 Opening Brief in Support                       Appx16399,
      (Declaration of David E. Cole,                     Appx16413-16422,
      Volume 1 of 2) by Genentech, Inc..                 Appx16431-16440,
      (Attachments: # 1 Exhibit 1-14                     Appx16448-16452,
      (Volume 1 of 2)) (Balick, Steven)                  Appx16514-16651,
      (Entered:09/03/2021)                               Appx16699,
                                                         Appx16818,
                                                         Appx16828-16892,
                                                         Appx16971,
                                                         Appx16974-16975,
                                                         Appx16991-16994

410   [SEALED] DECLARATION re            9/3/2021        Appx17275,
      408 Opening Brief in Support                       Appx17279-17280,
      (Declaration of David E. Cole,                     Appx17298,
      Volume 2 of 2) by Genentech, Inc..                 Appx17313-17315,
      (Attachments: # 1 Exhibit 15-28                    Appx17339-17341,
      (Volume 2 of 2)) (Balick, Steven)                  Appx17350-17353,
      (Entered: 09/03/2021)                              Appx17411,
                                                         Appx17435-17436,
                                                         Appx17451-17453,
                                                         Appx17466-17468,
                                                         Appx17599-17600,
                                                         Appx17607-17608,
                                                         Appx17668-17671,
                                                         Appx17684,
                                                         Appx17711-17712




                                    ix
        Case: 22-1461    Document: 25      Page: 12   Filed: 11/04/2022




                           TABLE OF CONTENTS
                                 (continued)

ECF   Docket Text                          Date Filed      Page No(s).
No.

413   [SEALED] DECLARATION re              9/3/2021        Appx18164,
      408 Opening Brief in Support                         Appx18184-18186,
      (Declaration of William R. Strohl,                   Appx18202-18207,
      Ph.D.) by Genentech, Inc..                           Appx18215-18217,
      (Attachments: # 1 Exhibit 1-3)                       Appx18248-18254,
      (Balick, Steven) (Entered:                           Appx18418-18426
      09/03/2021)

415   [SEALED] DECLARATION re              9/3/2021        Appx18575,
      408 Opening Brief in Support                         Appx18615-18628,
      (Declaration of Dr. K. Christopher                   Appx18645,
      Garcia) by Genentech, Inc..                          Appx18754-18755
      (Attachments: # 1 Exhibit 1-2)
      (Balick, Steven) (Entered:
      09/03/2021)




                                      x
        Case: 22-1461    Document: 25      Page: 13   Filed: 11/04/2022




                           TABLE OF CONTENTS
                                 (continued)

ECF   Docket Text                          Date Filed      Page No(s).
No.

424   [SEALED] ANSWERING BRIEF 10/1/2021                   Appx18836,
      in Opposition re 407 MOTION for                      Appx18843-18856,
      Summary Judgment filed by                            Appx18861-18875,
      Baxalta GmbH, Baxalta                                Appx19021-19023,
      Incorporated.Reply Brief due date                    Appx19121-19122,
      per Local Rules is 10/8/2021.                        Appx19132-19135,
      (Attachments:# 1 Index of Exhibits,                  Appx19141-19142,
      # 2 Exhibit 1, # 3 Exhibit 2, # 4                    Appx19147-19148,
      Exhibit 3, # 5 Exhibit 4, # 6 Exhibit                Appx19151,
      5, # 7 Exhibit 6, # 8 Exhibit 7, # 9                 Appx19163,
      Exhibit 8, # 10 Exhibit 9, # 11                      Appx19176,
      Exhibit 10, # 12 Exhibit 11, # 13                    Appx19179,
      Exhibit 12, # 14 Exhibit 13, # 15                    Appx19186-19192,
      Exhibit 14, # 16 Exhibit 15, # 17                    Appx19197-19198,
      Exhibit 16, # 18 Exhibit 17, # 19                    Appx19205-19226,
      Exhibit 18, # 20 Exhibit 19, # 21                    Appx19256,
      Exhibit 20, # 22 Exhibit 21, # 23                    Appx19321-19322,
      Exhibit 22, # 24 Exhibit 23, # 25                    Appx19337,
      Exhibit 24, # 26 Exhibit 25, # 27                    Appx19387-19398,
      Exhibit 26, # 28 Exhibit 27, # 29                    Appx19519-19520,
      Exhibit 28, # 30 Certificate of                      Appx19524-19525,
      Service) (Dudash, Amy) (Entered:                     Appx19530-19533,
      10/01/2021)                                          Appx19539-19545,
                                                           Appx19670-19723,
                                                           Appx19776,
                                                           Appx19807

425   [SEALED] REPLY BRIEF re 407          10/15/2021      Appx20329,
      MOTION for Summary Judgment                          Appx20335
      filed by Genentech, Inc.. (Balick,
      Steven) (Entered: 10/15/2021)




                                      xi
        Case: 22-1461   Document: 25      Page: 14   Filed: 11/04/2022




                          TABLE OF CONTENTS
                                (continued)

ECF   Docket Text                         Date Filed      Page No(s).
No.

431   Official Transcript of Hearing held 11/24/2021      Appx20356,
      on 11/19/2021 before Judge                          Appx20363-20365,
      Timothy B. Dyk. Transcript may be                   Appx20402-20411,
      viewed at the court public terminal                 Appx20432-20435
      or order/purchased through the
      Court Reporter/Transcriber
      beforethe deadline for Release of
      Transcript Restriction. After that
      date, it may be obtained through
      PACER. Redaction Request due
      12/15/2021. Redacted Transcript
      Deadline set for 12/27/2021.
      Release ofTranscript Restriction set
      for 2/22/2022. (cna, ) (Entered:
      11/29/2021)

437   STIPULATION of Fact Regarding 12/3/2021             Appx20569-20572
      Hybridoma Technology and the
      Number of Anti-Factor IX/IXa
      Antibodies Disclosed In The '590
      Patent, by Genentech, Inc.. (Balick,
      Steven) (Entered: 12/03/2021)

578   NOTICE OF APPEAL to the         2/8/2022            Appx20575-20576
      Federal Circuit of 574 Order on
      Motion for Summary Judgment,
      573 Memorandum Opinion. Appeal
      filed by Baxalta GmbH, Baxalta
      Incorporated. (Dudash, Amy)
      (Entered: 02/08/2022)




                                    xii
           Case: 22-1461   Document: 25       Page: 15   Filed: 11/04/2022




                             TABLE OF CONTENTS
                                   (continued)

ECF      Docket Text                          Date Filed      Page No(s).
No.

—        Baxalta’s Summary Judgment           11/19/2021      Appx20615-20620
         Hearing Hand-up


                       STATEMENT OF CONFIDENTIALITY
      Materials omitted from the following of the nonconfidential version of the

Joint Appendix were filed under seal or redacted below, pursuant to the protective

order filed with the District Court on October 29, 2018 (Dkt. 316): Appx6253,

Appx6606, Appx11236, Appx11434, Appx16215-16219, Appx16230, Appx16242,

Appx16249-16252, Appx16261, Appx16399, Appx16413-16422, Appx16431-

16440,    Appx16448-16452,      Appx16514-16651,         Appx16699,     Appx16818,

Appx16828-16892,       Appx16971,      Appx16974-16975,          Appx16991-16994,

Appx17275, Appx17279-17280, Appx17298, Appx17313-17315, Appx17339-

17341, Appx17350-17353, Appx17411, Appx17435-17436, Appx17451-17453,

Appx17466-17468, Appx17599-17600, Appx17607-17608, Appx17668-17671,

Appx17684, Appx17711-17712, Appx18164, Appx18184-18186, Appx18202-

18207, Appx18215-18217, Appx18248-18254, Appx18418-18426, Appx18575,

Appx18615-18628, Appx18645, Appx18754-18755, Appx18836, Appx18843-

18856, Appx18861-18875, Appx19021-19023, Appx19121-19122, Appx19132-


                                       xiii
           Case: 22-1461     Document: 25      Page: 16   Filed: 11/04/2022




                              TABLE OF CONTENTS
                                    (continued)

19135,    Appx19141-19142,       Appx19147-19148,         Appx19151,     Appx19163,

Appx19176, Appx19179, Appx19186-19192, Appx19197-19198, Appx19205-

19226,    Appx19256,       Appx19321-19322,       Appx19337,      Appx19387-19398,

Appx19519-19520, Appx19524-19525, Appx19530-19533, Appx19539-19545,

Appx19670-19723, Appx19776, Appx19807, Appx20329, and Appx20335. This

material consists of proprietary business information not available to the public.




                                         xiv
            Case: 22-1461            Document: 25    Page: 17      Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 573-1 Filed 01/13/22 Page 11 of 47 PageID
                                                                   PagelD #: 38596




                        IN THE
                        IN     UNITED STATES
                           THE UNITED STATES DISTRICT
                                             DISTRICT COURT
                                                      COURT
                           FOR THE DISTRICT
                           FOR THE DISTRICT OF
                                            OF DELAWARE
                                               DELAWARE


 BAXALTA INCORPORATED
 BAXALTA INCORPORATED and
                      and
 BAXALTA GMBH,
 BAXALTA GMBH,

                       Plaintiffs,
                       Plaintiffs,

                v.
                v.                                           Civil Action
                                                             Civil Action No.
                                                                          No. 17-509-TBD
                                                                              17-509-TBD

 GENENTECH, INC.
 GENENTECH, INC. and
                 and CHUGAI
                     CHUGAI
 PHARMACEUTICAL CO.,
 PHARMACEUTICAL    CO., LTD.,
                        LTD.,

                       Defendants.
                       Defendants.



                                     MEMORANDUM OPINION
                                     MEMORANDUM OPINION

        Pending before
        Pending before the
                       the court
                           court is
                                 is Genentech’s motion for
                                    Genentech's motion for summary
                                                           summary judgment.
                                                                   judgment. Genentech
                                                                             Genentech moves
                                                                                       moves

 for summary
 for summary judgment
             judgment of
                      of 1)
                         1) invalidity
                            invalidity of
                                       of claims
                                          claims 1-4,
                                                 1–4, 19,
                                                      19, and
                                                          and 20
                                                              20 of
                                                                 of the
                                                                    the ’590 patent for
                                                                        '590 patent     lack of
                                                                                    for lack of

 written description
 written             and enablement,
         description and enablement, 2)
                                     2) non-infringement
                                        non-infringement under
                                                         under aa doctrine-of-equivalents
                                                                  doctrine-of-equivalents theory,
                                                                                          theory,

 and 3)
 and 3) no
        no willful
           willful infringement. For the
                   infringement. For the reasons
                                         reasons stated
                                                 stated below,
                                                        below, the
                                                               the court
                                                                   court GRANTS
                                                                         GRANTS Genentech’s
                                                                                Genentech's

 motion for
 motion for summary
            summary judgment
                    judgment of
                             of invalidity
                                invalidity for
                                           for lack
                                               lack of
                                                    of enablement and need
                                                       enablement and need not
                                                                           not address
                                                                               address

 Genentech’s motion
 Genentech's motion in all other
                    in all other respects.
                                 respects.

                                     I.
                                     I.   P           HISTORY
                                            ROCEDURAL HISTORY
                                          PROCEDURAL

        On May
        On May 4,
               4, 2017,
                  2017, Baxalta
                        Baxalta Inc. and Baxalta
                                Inc. and Baxalta GmbH (together, "Baxalta")
                                                 GmbH (together, “Baxalta”) brought
                                                                            brought suit
                                                                                    suit against
                                                                                         against

 Genentech, Inc.
 Genentech,      and Chugai
            Inc. and Chugai Pharmaceutical
                            Pharmaceutical Co.,
                                           Co., Ltd.,
                                                Ltd., alleging
                                                      alleging infringement
                                                               infringement of
                                                                            of U.S.
                                                                               U.S. Patent
                                                                                    Patent

 No. 7,033,590
 No. 7,033,590 ("the
               (“the ’590 patent”) by
                     '590 patent") by the
                                      the manufacture,
                                          manufacture, use,
                                                       use, sale,
                                                            sale, offer
                                                                  offer to
                                                                        to sell,
                                                                           sell, and
                                                                                 and importation
                                                                                     importation of
                                                                                                 of

 an antibody
 an antibody used
             used to
                  to treat
                     treat hemophilia
                           hemophilia A
                                      A and
                                        and known as emicizumab
                                            known as emicizumab or
                                                                or ACE910,
                                                                   ACE910, marketed
                                                                           marketed under
                                                                                    under the
                                                                                          the

 brand name
 brand name Hemlibra.
            Hemlibra. Compl.,
                      Compl., ECF No. 1,
                              ECF No. 1, ¶¶
                                         ¶¶ 37-51.
                                            37–51. Chugai
                                                   Chugai was
                                                          was subsequently
                                                              subsequently dismissed
                                                                           dismissed from
                                                                                     from




                                             Appx300
                                             Appx3
              Case: 22-1461          Document: 25          Page: 18       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 2 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38597




 the case. 11 Genentech
 the case.    Genentech answered
                        answered on
                                 on June 30, denying
                                    June 30,         Baxalta’s allegations
                                             denying Baxalta's allegations and
                                                                           and counterclaiming
                                                                               counterclaiming

 for declaratory
 for declaratory judgment
                 judgment of
                          of noninfringement
                             noninfringement and
                                             and invalidity
                                                 invalidity on
                                                            on grounds
                                                               grounds of
                                                                       of lack of enablement
                                                                          lack of            and
                                                                                  enablement and

 written description
 written description support. Answer &
                     support. Answer & Countercl.,
                                       Countercl., ECF No. 9,
                                                   ECF No. 9, ¶¶
                                                              ¶¶ 37-51,
                                                                 37–51, 120-49.
                                                                        120–49.

         On December
         On December 14,
                     14, 2017,
                         2017, Baxalta
                               Baxalta moved
                                       moved for
                                             for aa preliminary
                                                    preliminary injunction
                                                                injunction against
                                                                           against Genentech.
                                                                                   Genentech.

     Mot. for
 See Mot.
 See          Prelim. Inj.,
          for Prelim. Inj., ECF No. 41.
                            ECF No. 41. On
                                        On August
                                           August 7,
                                                  7, 2018,
                                                     2018, the
                                                           the court denied Baxalta's
                                                               court denied Baxalta’s motion,
                                                                                      motion,

 finding that
 finding that it
              it had
                 had not
                     not proven
                         proven aa likelihood
                                   likelihood of
                                              of success
                                                 success with
                                                         with respect
                                                              respect to
                                                                      to infringement and invalidity,
                                                                         infringement and invalidity,

 and that
 and that even
          even if
               if it
                  it had, “given the
                     had, "given the ample
                                     ample evidence of medical
                                           evidence of medical need, the public
                                                               need, the public interest
                                                                                interest weigh[ed]
                                                                                         weigh[ed]

 strongly against
 strongly against issuing
                  issuing aa preliminary
                             preliminary injunction since Hemlibra
                                         injunction since Hemlibra has
                                                                   has unique
                                                                       unique medical
                                                                              medical benefits
                                                                                      benefits not
                                                                                               not

 available from
 available      Baxalta’s competing
           from Baxalta's           products.” Prelim.
                          competing products." Prelim. Inj.
                                                       Inj. Order,
                                                            Order, ECF No. 262,
                                                                   ECF No. 262, at
                                                                                at 24;
                                                                                   24; id. at 28-
                                                                                       id. at 28–

 29.
 29.

         On December
         On December 3,
                     3, 2018,
                        2018, following
                              following aa Markman
                                           Markman hearing,
                                                   hearing, the
                                                            the court
                                                                court issued
                                                                      issued aa claim
                                                                                claim construction
                                                                                      construction

 decision in
 decision in which
             which it
                   it construed the term
                      construed the term "antibody"
                                         “antibody” to
                                                    to exclude bispecific antibodies.
                                                       exclude bispecific antibodies. See Claim
                                                                                      See Claim

 Construction Order,
 Construction Order, ECF No. 330,
                     ECF No. 330, at
                                  at 22-23.
                                     22–23. Thereafter, the parties
                                            Thereafter, the parties stipulated
                                                                    stipulated to
                                                                               to non-infringement
                                                                                  non-infringement

 of the
 of the asserted
        asserted claims
                 claims under
                        under the
                              the court's
                                  court’s claim construction. See
                                          claim construction. See Stipulations,
                                                                  Stipulations, ECF Nos. 331-332.
                                                                                ECF Nos. 331–332.

 The court
 The       entered judgment
     court entered judgment in Genentech’s favor
                            in Genentech's favor on
                                                 on February
                                                    February 1,
                                                             1, 2019.
                                                                2019. See
                                                                      See Stip. & Final
                                                                          Stip. & Final J.,
                                                                                        J., ECF
                                                                                            ECF

 No. 337.
 No. 337. Baxalta
          Baxalta appealed,
                  appealed, and
                            and on
                                on August
                                   August 27,
                                          27, 2020,
                                              2020, the
                                                    the Federal
                                                        Federal Circuit
                                                                Circuit issued
                                                                        issued aa decision
                                                                                  decision rejecting
                                                                                           rejecting

 this court's
 this court’s construction
              construction of
                           of the
                              the terms
                                  terms "antibody"
                                        “antibody” and
                                                   and "antibody
                                                       “antibody fragment,” determining that
                                                                 fragment," determining that the
                                                                                             the

 term antibody
 term antibody included bispecific antibodies,
               included bispecific antibodies, and
                                               and vacating
                                                   vacating the
                                                            the judgment
                                                                judgment of
                                                                         of non-infringement
                                                                            non-infringement and
                                                                                             and

 remanding for
 remanding for further proceedings. See
               further proceedings. See Baxalta
                                        Baxalta Inc.
                                                Inc. v.
                                                     v. Genentech,       972 F.3d
                                                                   Inc., 972
                                                        Genentech, Inc.,     F.3d 1341,
                                                                                  1341, 1343,
                                                                                        1343,

 1349 (Fed.
 1349 (Fed. Cir.
            Cir. 2020)
                 2020) (construing
                       (construing antibody
                                   antibody to
                                            to mean
                                               mean "an
                                                    “an immunoglobulin molecule having
                                                        immunoglobulin molecule having aa



 1
        Chugai is
        Chugai    is aa Japanese     company that
                        Japanese company        that invented
                                                     invented andand manufactures
                                                                      manufactures the
                                                                                     the accused
                                                                                          accused product,
                                                                                                    product,
 Hemlibra, in
 Hemlibra, in Japan.    See, e.g.,
               Japan. See,          Yamaguchi Decl.,
                              e.g., Yamaguchi    Decl., ECF   No. 20,
                                                        ECF No.    20, ¶¶
                                                                       ¶¶ 2,
                                                                          2, 5. Hemlibra is
                                                                             5. Hemlibra      shipped to
                                                                                           is shipped  to the
                                                                                                          the
 United States
 United        where it
        States where   it is sold by
                          is sold by Genentech.
                                      Genentech. See
                                                   See id. ¶¶ 7,
                                                       id. ¶¶    10. The
                                                              7, 10.     parties stipulated
                                                                     The parties stipulated to
                                                                                            to the
                                                                                               the dismissal
                                                                                                   dismissal
 of Chugai
 of Chugai as
           as aa defendant
                 defendant in in this
                                 this case
                                      case in
                                           in June 2018. See
                                              June 2018.   See Stip.  & Prop.
                                                                Stip. & Prop. Order,
                                                                              Order, ECF    No. 220;
                                                                                      ECF No.   220; July  2,
                                                                                                      July 2,
 2018, Min.
 2018, Min. Entry.
            Entry.
                                                      2
                                                      2

                                                 Appx31
                                                 Appx31
             Case: 22-1461         Document: 25        Page: 19       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 3 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38598




 specific amino
 specific amino acid
                acid sequence
                     sequence comprising
                              comprising two
                                         two heavy
                                             heavy chains
                                                   chains (H
                                                          (H chains)
                                                             chains) and
                                                                     and two
                                                                         two light
                                                                             light chains (L
                                                                                   chains (L

 chains)” and
 chains)" and "antibody
              “antibody fragment"
                        fragment” to
                                  to mean
                                     mean "a
                                          “a portion
                                             portion of
                                                     of an
                                                        an antibody").
                                                           antibody”). Upon
                                                                       Upon remand, the case
                                                                            remand, the case

 proceeded with
 proceeded with fact
                fact and
                     and expert
                         expert discovery.
                                discovery.

        On September
        On           3, 2021,
           September 3, 2021, Genentech
                              Genentech filed
                                        filed aa motion
                                                 motion for summary judgment
                                                        for summary judgment of
                                                                             of 1)
                                                                                1) invalidity
                                                                                   invalidity of
                                                                                              of

 claims 1-4,
 claims 1–4, 19,
             19, and
                 and 20
                     20 of
                        of the
                           the ’590 patent for
                               '590 patent for lack of written
                                               lack of written description
                                                               description and
                                                                           and enablement, 2) non-
                                                                               enablement, 2) non-

 infringement under
 infringement under aa doctrine-of-equivalents
                       doctrine-of-equivalents theory,
                                               theory, and
                                                       and 3)
                                                           3) no
                                                              no willful
                                                                 willful infringement.     Opening
                                                                                       See Opening
                                                                         infringement. See

 Br. in
 Br. in Supp. of Genentech's
        Supp. of Genentech’s Mot.
                             Mot. for
                                  for Summ.
                                      Summ. J.,
                                            J., ECF No. 416
                                                ECF No. 416 (Def.'s
                                                            (Def.’s Mot.),
                                                                    Mot.), at
                                                                           at 1,
                                                                              1, 15-16.
                                                                                 15–16. Baxalta
                                                                                        Baxalta

 thereafter filed
 thereafter filed its
                  its opposition
                      opposition to
                                 to Genentech's
                                    Genentech’s motion,
                                                motion, see Pl.’s Opp'n
                                                        see Pl.'s Opp’n to
                                                                        to Def.'s
                                                                           Def.’s Mot.
                                                                                  Mot. for
                                                                                       for Summ.
                                                                                           Summ. J.,
                                                                                                 J.,

 ECF No. 424
 ECF No. 424 (Pl.'s
             (Pl.’s Opp'n),
                    Opp’n), and
                            and Genentech
                                Genentech filed its reply
                                          filed its reply on October 15,
                                                          on October 15, 2021,
                                                                         2021, see Reply Br.
                                                                               see Reply Br. in
                                                                                             in

 Supp. of Genentech,
 Supp. of Genentech, Inc's
                     Inc’s Mot.
                           Mot. for
                                for Summ.
                                    Summ. J.,
                                          J., ECF No. 425.
                                              ECF No. 425. The parties have
                                                           The parties have submitted
                                                                            submitted expert
                                                                                      expert

 declarations and
 declarations and exhibits,
                  exhibits, as
                            as well
                               well as
                                    as aa Joint
                                          Joint Stipulation of Fact.
                                                Stipulation of Fact. See
                                                                     See Joint
                                                                         Joint Stip. of Fact
                                                                               Stip. of Fact Regarding
                                                                                             Regarding

 Hybridoma Tech.
 Hybridoma       & the
           Tech. & the Number
                       Number of
                              of Anti-Factor
                                 Anti-Factor IX/IXa
                                             IX/IXa Antibodies
                                                    Antibodies Disclosed
                                                               Disclosed in
                                                                         in the
                                                                            the ’590 Patent,
                                                                                '590 Patent,

 ECF No. 437
 ECF No. 437 (Joint
             (Joint Stip.).
                    Stip.). The
                            The court heard oral
                                court heard oral argument
                                                 argument on
                                                          on the
                                                             the motion
                                                                 motion on
                                                                        on November
                                                                           November 19, 2021.
                                                                                    19, 2021.

     Nov. 22,
 See Nov.
 See      22, 2021,
              2021, Min.
                    Min. Entry.
                         Entry.

                                  II.
                                  II.    S           DECISION
                                           UMMARY OF DECISION
                                         SUMMARY

        For the
        For the reasons described in
                reasons described    detail below,
                                  in detail below, the
                                                   the court
                                                       court finds that Genentech
                                                             fords that           has shown
                                                                        Genentech has shown by
                                                                                            by

 clear and
 clear and convincing
           convincing evidence
                      evidence that
                               that the
                                    the asserted
                                        asserted claims
                                                 claims of
                                                        of the
                                                           the ’590 patent are
                                                               '590 patent are not
                                                                               not enabled. There
                                                                                   enabled. There

 are millions
 are millions of
              of candidate antibodies within
                 candidate antibodies within the
                                             the genus and aa dearth
                                                 genus and    dearth of
                                                                     of working
                                                                        working examples
                                                                                examples of
                                                                                         of those
                                                                                            those

 that satisfy
 that satisfy the
              the claim
                  claim limitations.
                        limitations. There are only
                                     There are only eleven
                                                    eleven working
                                                           working examples
                                                                   examples disclosed
                                                                            disclosed in the patent.
                                                                                      in the patent.

 The examples
 The examples are
              are all
                  all murine,
                      murine, monospecific
                              monospecific antibodies
                                           antibodies of
                                                      of the
                                                         the IgG and IgM
                                                             IgG and IgM isotypes,
                                                                         isotypes, or
                                                                                   or fragments
                                                                                      fragments

 thereof. The
 thereof.     genus of
          The genus of independent claim 11 is
                       independent claim    is functionally and structurally
                                               functionally and structurally broad.
                                                                             broad. And
                                                                                    And in
                                                                                        in many
                                                                                           many

 respects there
 respects there are
                are no
                    no examples
                       examples in
                                in the
                                   the specification
                                       specification for
                                                     for the
                                                         the covered
                                                             covered classes of antibodies.
                                                                     classes of antibodies. For
                                                                                            For

 example:
 example:



                                                  3
                                                  3

                                              Appx32
                                              Appx32
            Case: 22-1461        Document: 25         Page: 20       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 4 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38599




     1.
     1.    Claim 11 covers
           Claim    covers an
                           an antibody
                              antibody that
                                       that increases
                                            increases the
                                                      the procoagulant
                                                          procoagulant activity
                                                                       activity of
                                                                                of Factor
                                                                                   Factor

           IXa by an
           IXa by an amount
                     amount ranging
                            ranging from
                                    from barely
                                         barely perceptible
                                                perceptible to
                                                            to an
                                                               an amount
                                                                  amount capable
                                                                         capable of
                                                                                 of use
                                                                                    use

           in “a preparation
           in "a preparation for
                             for the
                                 the treatment
                                     treatment of
                                               of blood
                                                  blood coagulation disorders which
                                                        coagulation disorders which has
                                                                                    has

           particular advantages
           particular advantages for factor VIII
                                 for factor VIII inhibitor patients.” ’590
                                                 inhibitor patients."      patent, col.
                                                                      '590 patent, col. 2,
                                                                                        2, 11.
                                                                                           ll.

           25–28. Claim
           25-28. Claim 11 thus
                           thus covers
                                covers an
                                       an antibody
                                          antibody or
                                                   or antibody
                                                      antibody fragment
                                                               fragment that
                                                                        that increases
                                                                             increases the
                                                                                       the

           procoagulant activity
           procoagulant activity of
                                 of Factor
                                    Factor IXa in the
                                           IXa in the presence
                                                      presence of
                                                               of Factor
                                                                  Factor VIII inhibitors.22
                                                                         VIII inhibitors.

           There is no
           There is no working
                       working example of an
                               example of an antibody
                                             antibody that
                                                      that increases
                                                           increases the
                                                                     the procoagulant
                                                                         procoagulant

           activity of
           activity of Factor
                       Factor IXa by more
                              IXa by more than
                                          than aa marginal
                                                  marginal amount
                                                           amount in the presence
                                                                  in the presence of
                                                                                  of Factor
                                                                                     Factor

           VIII inhibitors.
           VIII inhibitors. And
                            And for the non-inhibitor
                                for the non-inhibitor population,
                                                      population, there
                                                                  there is
                                                                        is no
                                                                           no working
                                                                              working

           example of an
           example of an antibody
                         antibody that
                                  that increases the procoagulant
                                       increases the procoagulant activity
                                                                  activity of
                                                                           of Factor
                                                                              Factor IXa
                                                                                     IXa

           by an
           by an amount
                 amount capable of moving
                        capable of moving aa patient
                                             patient with
                                                     with aa severe hemophilia A
                                                             severe hemophilia A condition
                                                                                 condition

           (comprising over 60%
           (comprising over     of hemophilia
                            60% of hemophilia A
                                              A patients)
                                                patients) to
                                                          to aa mild
                                                                mild condition.
                                                                     condition. Baxalta's
                                                                                Baxalta’s

           expert concedes that
           expert concedes that the
                                the patent's
                                    patent’s assertions
                                             assertions that
                                                        that antibodies
                                                             antibodies of
                                                                        of the
                                                                           the invention have
                                                                               invention have

           therapeutic utility
           therapeutic utility is merely "aspirational."
                               is merely “aspirational.”

     2.
     2.    Claim 11 covers
           Claim    covers humanized and chimeric
                           humanized and chimeric antibodies.
                                                  antibodies. There are no
                                                              There are no working
                                                                           working

           examples of humanized
           examples of humanized or
                                 or chimeric antibodies disclosed
                                    chimeric antibodies disclosed in the specification.
                                                                  in the specification.

     3.
     3.    Claim 1
           Claim 1 covers
                   covers bispecific
                          bispecific antibodies
                                     antibodies such
                                                such as
                                                     as the
                                                        the accused
                                                            accused product
                                                                    product emicizumab.
                                                                            emicizumab.

           There are no
           There are no working
                        working examples
                                examples of
                                         of bispecific
                                            bispecific antibodies
                                                       antibodies disclosed
                                                                  disclosed in the
                                                                            in the

           specification.
           specification.

     4.
     4.    Claim 1
           Claim 1 covers
                   covers antibodies
                          antibodies of
                                     of the
                                        the IgE
                                            IgE isotype.
                                                isotype. There are no
                                                         There are no working
                                                                      working examples
                                                                              examples

           of IgE
           of IgE antibodies
                  antibodies disclosed
                             disclosed in
                                       in the
                                          the specification.
                                              specification.




 2
 2
        As discussed
        As  discussed below,
                        below, an
                                an "inhibitor
                                   “inhibitor patient"
                                              patient” is
                                                       is someone
                                                          someone who
                                                                  who has
                                                                      has developed
                                                                          developed an
                                                                                    an immune
                                                                                       immune
 response to
 response to traditional
             traditional Factor
                         Factor VIII
                                VIII replacement
                                     replacement therapies.
                                                  therapies.
                                                 4
                                                 4

                                             Appx33
                                             Appx33
              Case: 22-1461         Document: 25         Page: 21       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 5 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38600




     5.
     5.      Claim 11 covers
             Claim    covers antibodies
                             antibodies of
                                        of the
                                           the IgA isotype. There
                                               IgA isotype. There are
                                                                  are no working examples
                                                                      no working examples

             of IgA
             of IgA antibodies
                    antibodies disclosed
                               disclosed in
                                         in the
                                            the specification.
                                                specification.

     6.
     6.      Claim 11 covers
             Claim    covers antibodies
                             antibodies of
                                        of the
                                           the IgD isotype. There
                                               IgD isotype. There are
                                                                  are no working examples
                                                                      no working examples

             of IgD
             of IgD antibodies
                    antibodies disclosed
                               disclosed in
                                         in the
                                            the specification.
                                                specification.

     7.
     7.      Claim 1
             Claim 1 covers
                     covers diabodies
                            diabodies and
                                      and dimers,
                                          dimers, oligomers,
                                                  oligomers, and
                                                             and multimers
                                                                 multimers of
                                                                           of the
                                                                              the claimed
                                                                                  claimed

             antibodies. There
             antibodies. There are
                               are no
                                   no working
                                      working examples of diabodies
                                              examples of diabodies or
                                                                    or dimers,
                                                                       dimers, oligomers,
                                                                               oligomers,

             or multimers
             or multimers of
                          of antibodies
                             antibodies in the specification.
                                        in the specification.

          The specification
          The specification also
                            also provides
                                 provides no
                                          no guidance as to
                                             guidance as to how
                                                            how to
                                                                to identify
                                                                   identify which
                                                                            which antibodies
                                                                                  antibodies will
                                                                                             will

 satisfy the
 satisfy the claim
             claim limitations,
                   limitations, nor
                                nor does
                                    does it describe what
                                         it describe what structural
                                                          structural or
                                                                     or other
                                                                        other features
                                                                              features of
                                                                                       of the
                                                                                          the disclosed
                                                                                              disclosed

 antibodies cause
 antibodies cause them
                  them to
                       to bind
                          bind to
                               to Factor
                                  Factor IX/IXa or to
                                         IX/IXa or to increase
                                                      increase the
                                                               the procoagulant
                                                                   procoagulant activity
                                                                                activity of
                                                                                         of Factor
                                                                                            Factor

 IXa. The
 IXa. The field
          field of
                of antibodies
                   antibodies is
                              is inherently
                                 inherently unpredictable.
                                            unpredictable. The
                                                           The only
                                                               only way
                                                                    way to
                                                                        to practice
                                                                           practice the
                                                                                    the teachings
                                                                                        teachings

 of the
 of the patent
        patent is by trial-and-error;
               is by trial-and-error; i.e., by screening
                                      i.e., by screening tens
                                                         tens of
                                                              of thousands,
                                                                 thousands, if
                                                                            if not
                                                                               not millions,
                                                                                   millions, of
                                                                                             of candidate
                                                                                                candidate

 antibodies to
 antibodies to determine whether they
               determine whether they satisfy
                                      satisfy the
                                              the limitations of the
                                                  limitations of the asserted
                                                                     asserted claims.
                                                                              claims.

          The same
          The same deficiencies
                   deficiencies exist
                                exist as
                                      as to
                                         to dependent
                                            dependent claims
                                                      claims 3-4,
                                                             3–4, 19,
                                                                  19, and
                                                                      and 20,
                                                                          20, which
                                                                              which include
                                                                                    include the
                                                                                            the same
                                                                                                same

 functional limitations
 functional             as claim
            limitations as claim 1
                                 1 but
                                   but also
                                       also specify structural limitations.
                                            specify structural limitations.

          This is
          This is not
                  not adequate
                      adequate enablement under Federal
                               enablement under Federal Circuit
                                                        Circuit precedent,
                                                                precedent, including
                                                                           including In
                                                                                     In re
                                                                                        re Wands,
                                                                                           Wands,

 858 F.2d
 858 F.2d 731, 737 (Fed.
          731, 737 (Fed. Cir.
                         Cir. 1988),
                              1988), and
                                     and the
                                         the cases
                                             cases that
                                                   that have
                                                        have followed, because it
                                                             followed, because it requires
                                                                                  requires undue
                                                                                           undue

 experimentation to
 experimentation to practice
                    practice the
                             the full
                                 full scope
                                      scope of
                                            of what
                                               what is
                                                    is claimed.
                                                       claimed.

                                     III.
                                     III.    LEGAL S
                                             LEGAL   TANDARD
                                                   STANDARD

                                      A.
                                      A.      Summary
                                              Summary Judgment
                                                      Judgment

          Under Rule
          Under Rule 56(a) of the
                     56(a) of the Federal
                                  Federal Rules
                                          Rules of
                                                of Civil
                                                   Civil Procedure,
                                                         Procedure, "[t]he
                                                                    “[t]he court
                                                                           court shall
                                                                                 shall grant
                                                                                       grant summary
                                                                                             summary

 judgment if
 judgment if the
             the movant
                 movant shows
                        shows that
                              that there
                                   there is
                                         is no
                                            no genuine
                                               genuine dispute
                                                       dispute as
                                                               as to
                                                                  to any
                                                                     any material
                                                                         material fact and the
                                                                                  fact and the

 movant is
 movant is entitled
           entitled to
                    to judgment
                       judgment as
                                as aa matter
                                      matter of
                                             of law."
                                                law.” The moving party
                                                      The moving party bears
                                                                       bears the
                                                                             the burden
                                                                                 burden of
                                                                                        of


                                                    55

                                               Appx34
                                               Appx34
             Case: 22-1461           Document: 25           Page: 22        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 6 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38601
                                                                            38601




 demonstrating the
 demonstrating the absence
                   absence of
                           of aa genuine
                                 genuine issue
                                         issue of
                                               of material
                                                  material fact. See Celotex
                                                           fact. See Celotex Corp.
                                                                             Corp. v.
                                                                                   v. Catrett, 477
                                                                                      Catrett, 477

 U.S. 317,
 U.S. 317, 323
           323 (1986).
               (1986). If the moving
                       If the moving party
                                     party has
                                           has carried
                                               carried its burden, the
                                                       its burden, the nonmovant
                                                                       nonmovant must
                                                                                 must then
                                                                                      then "come
                                                                                           “come

 forward with
 forward with ‘specific
              `specific facts showing that
                        facts showing that there
                                           there is
                                                 is aa genuine
                                                       genuine issue  for trial.’”
                                                               issue for           Matsushita Elec.
                                                                          trial.'" Matsushita Elec.

 Indus. Co.
 Indus. Co. v. Zenith Radio
            v. Zenith Radio Corp., 475 U.S.
                            Corp., 475 U.S. 574,
                                            574, 587 (1986) (quoting
                                                 587 (1986) (quoting Fed.
                                                                     Fed. R.
                                                                          R. Civ.
                                                                             Civ. P.
                                                                                  P. 56(e)). The
                                                                                     56(e)). The

 court "must
 court “must draw
             draw all
                  all reasonable
                      reasonable inferences
                                 inferences in
                                            in favor
                                               favor of
                                                     of the
                                                        the nonmoving
                                                            nonmoving party,
                                                                      party, and
                                                                             and it may not
                                                                                 it may not make
                                                                                            make

 credibility determinations
 credibility determinations or
                            or weigh
                               weigh the
                                     the evidence."
                                         evidence.” Reeves
                                                    Reeves v. Sanderson Plumbing
                                                           v. Sanderson Plumbing Prods.,
                                                                                 Prods.,

 Inc., 530
 Inc.,     U.S. 133,
       530 U.S. 133, 150
                     150 (2000).
                         (2000).

                                          B.
                                          B.      35 U.S.C.
                                                  35 U.S.C. §
                                                            § 112
                                                              112

         One of
         One of the
                the statutory
                    statutory conditions
                              conditions for
                                         for patentability
                                             patentability under
                                                           under the
                                                                 the Patent
                                                                     Patent Act
                                                                            Act is
                                                                                is adequate
                                                                                   adequate disclosure
                                                                                            disclosure

 of the
 of the invention.
        invention. Section 112 provides,
                   Section 112 provides, in pertinent part,
                                         in pertinent part, that:
                                                            that:

                 The  specification shall
                 The specification   shall contain
                                           contain aa written
                                                      written description
                                                               description of
                                                                            of the
                                                                               the invention,
                                                                                   invention,
                 and of
                 and  of the
                         the manner
                             manner and
                                      and process
                                           process ofof making
                                                        making andand using
                                                                       using it, in such
                                                                             it, in such full,
                                                                                          full,
                 clear, concise,
                 clear, concise, and
                                  and exact
                                      exact terms
                                             terms as
                                                    as to
                                                       to enable   any person
                                                          enable any    person skilled
                                                                                skilled in
                                                                                        in the
                                                                                           the
                 art to
                 art to which
                        which it pertains, or
                              it pertains,  or with
                                               with which
                                                    which it   is most
                                                            it is most nearly
                                                                        nearly connected,
                                                                                connected, to
                                                                                            to
                 make and
                 make    and use
                              use the
                                    the same,
                                         same, andand shall
                                                        shall set
                                                                set forth   the best
                                                                     forth the    best mode
                                                                                        mode
                 contemplated by
                 contemplated    by the
                                    the inventor
                                        inventor ofof carrying   out his
                                                      carrying out       invention.
                                                                     his invention.

 35 U.S.C.
 35 U.S.C. §
           § 112.
             112. Section 112 imposes
                  Section 112 imposes two
                                      two separate
                                          separate requirements.
                                                   requirements. The first is
                                                                 The first    the written
                                                                           is the written

 description requirement,
 description requirement, found in the
                          found in the first
                                       first sentence of Section
                                             sentence of         112, which
                                                         Section 112, which requires
                                                                            requires that
                                                                                     that the
                                                                                          the

 specification contain
 specification contain an
                       an adequate
                          adequate "written
                                   “written description
                                            description of
                                                        of the
                                                           the invention."
                                                               invention.” 35
                                                                           35 U.S.C.
                                                                              U.S.C. §
                                                                                     § 112;
                                                                                       112; see
                                                                                            see

 also Ariad
 also Ariad Pharms.,
            Pharms., Inc.
                     Inc. v. Eli Lilly
                          v. Eli Lilly & Co., 598
                                       & Co.,     F.3d 1336,
                                              598 F.3d 1336, 1346
                                                             1346 (Fed. Cir. 2010)
                                                                  (Fed. Cir. 2010) (en
                                                                                   (en banc)
                                                                                       banc) ("[A]
                                                                                             (“[A]

 separate requirement
 separate requirement to
                      to describe
                         describe one's
                                  one’s invention
                                        invention is basic to
                                                  is basic to patent
                                                              patent law
                                                                     law .. .. .. It
                                                                                  It is part of
                                                                                     is part of the
                                                                                                the quid
                                                                                                    quid pro
                                                                                                         pro

     of aa patent;
 quo of
 quo       patent; one
                   one describes
                       describes an
                                 an invention,
                                    invention, and,
                                               and, if the law’s
                                                    if the       other requirements
                                                           law's other              are met,
                                                                       requirements are met, one
                                                                                             one

 obtains aa patent.").
 obtains    patent.”). The inquiry into
                       The inquiry      written description
                                   into written description is
                                                            is aa question of fact
                                                                  question of      but it
                                                                              fact but    is "amenable
                                                                                       it is “amenable to
                                                                                                       to

 summary judgment
 summary judgment in
                  in cases
                     cases where
                           where no
                                 no reasonable fact finder
                                    reasonable fact finder could
                                                           could return
                                                                 return aa verdict
                                                                           verdict for
                                                                                   for the
                                                                                       the non-
                                                                                           non-




                                                       66

                                                  Appx35
                                                  Appx35
             Case: 22-1461         Document: 25          Page: 23     Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 7 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38602




 moving party."
 moving party.” Bos.
                Bos. Sci.
                     Sci. Corp.
                          Corp. v. Johnson &
                                v. Johnson   Johnson, 647
                                           & Johnson,     F.3d 1353,
                                                      647 F.3d 1353, 1361
                                                                     1361 (Fed. Cir. 2011)
                                                                          (Fed. Cir. 2011)

 (internal quotation
 (internal           marks and
           quotation marks and citation
                               citation omitted).
                                        omitted).

        The second
        The second requirement
                   requirement is enablement.
                               is enablement.            “Whether aa claim
                                                         "Whether          satisfies the
                                                                     claim satisfies the enablement
                                                                                         enablement

 requirement of
 requirement of 35
                35 U.S.C.
                   U.S.C. §
                          § 112
                            112 is
                                is aa question
                                      question of
                                               of law.” Amgen Inc.
                                                  law." Amgen Inc. v. Sanofi, Aventisub
                                                                   v. Sanofi, Aventisub LLC, 987
                                                                                        LLC, 987

 F.3d 1080,
 F.3d 1080, 1084
            1084 (Fed. Cir. 2021).
                 (Fed. Cir. 2021). An
                                   An enabling disclosure is
                                      enabling disclosure    the "quid
                                                          is the “quid pro
                                                                       pro quo of the
                                                                           quo of the right to
                                                                                      right to

 exclude.” J.E.M.
 exclude." J.E.M. Ag
                  Ag Supply,
                     Supply, Inc.
                             Inc. v. Pioneer Hi
                                  v. Pioneer Hi–Bred          Inc., 534
                                                     Intern., Inc.,
                                               Bred Intern.,            U.S. 124,
                                                                    534 U.S. 124, 142
                                                                                  142 (2001).
                                                                                      (2001). To
                                                                                              To

 be enabling,
 be           “the specification
    enabling, "the specification of
                                 of aa patent
                                       patent must
                                              must teach
                                                   teach those
                                                         those skilled
                                                               skilled in
                                                                       in the
                                                                          the art
                                                                              art how to make
                                                                                  how to make and
                                                                                              and use
                                                                                                  use

 the full
 the full scope
          scope of
                of the
                   the claimed
                       claimed invention without undue
                               invention without undue experimentation.”
                                                       experimentation." Genentech, Inc. v.
                                                                         Genentech, Inc.    Novo
                                                                                         v. Novo

 Nordisk A/S,
 Nordisk      108 F.3d
         A/S, 108 F.3d 1361,
                       1361, 1365
                             1365 (Fed.
                                  (Fed. Cir.
                                        Cir. 1997)
                                             1997) (quoting
                                                   (quoting In
                                                            In re
                                                               re Wright, 999 F.2d
                                                                  Wright, 999 F.2d 1557,
                                                                                   1557, 1561
                                                                                         1561

 (Fed. Cir.
 (Fed. Cir. 1993));
            1993)); see
                    see In
                        In re         427 F.2d
                              Fisher, 427
                           re Fisher,     F.2d 833,
                                               833, 839
                                                    839 (C.C.P.A. 1970) ("[T]he
                                                        (C.C.P.A. 1970) (“[T]he scope
                                                                                scope of
                                                                                      of the
                                                                                         the claims
                                                                                             claims

 must bear
 must bear aa reasonable
              reasonable correlation to the
                         correlation to the scope
                                            scope of
                                                  of enablement
                                                     enablement provided
                                                                provided by
                                                                         by the
                                                                            the specification
                                                                                specification to
                                                                                              to

 persons of
 persons of ordinary
            ordinary skill
                     skill in the art.").
                           in the art.”). Although
                                          Although it
                                                   it is not necessary
                                                      is not necessary to
                                                                       to disclose
                                                                          disclose every
                                                                                   every species
                                                                                         species within
                                                                                                 within

 aa genus,
    genus, see
           see In
               In re Angstadt, 537
                  re Angstadt,     F.2d 498,
                               537 F.2d 498, 502–03 (C.C.P.A. 1976),
                                             502-03 (C.C.P.A. 1976), "there
                                                                     “there must
                                                                            must be
                                                                                 be sufficient
                                                                                    sufficient

 disclosure, either
 disclosure,        through illustrative
             either through              examples or
                            illustrative examples or terminology,
                                                     terminology, to
                                                                  to teach
                                                                     teach those
                                                                           those of
                                                                                 of ordinary
                                                                                    ordinary skill
                                                                                             skill how
                                                                                                   how

 to make
 to make and
         and how to use
             how to use the
                        the invention as broadly
                            invention as broadly as
                                                 as it
                                                    it is
                                                       is claimed,"
                                                          claimed,” In
                                                                    In re
                                                                       re Vaeck, 947 F.2d
                                                                          Vaeck, 947 F.2d 488,
                                                                                          488, 496
                                                                                               496

 (Fed. Cir.
 (Fed. Cir. 1991).
            1991).

        To be
        To be valid,
              valid, aa patent
                        patent must
                               must satisfy
                                    satisfy both
                                            both the
                                                 the written
                                                     written description
                                                             description and
                                                                         and enablement requirements.
                                                                             enablement requirements.

     Ariad, 598
 See Ariad,
 See            F.3d at
            598 F.3d at 1351.
                        1351. Because,
                              Because, for
                                       for the
                                           the reasons
                                               reasons discussed
                                                       discussed below,
                                                                 below, the
                                                                        the court
                                                                            court finds that no
                                                                                  fmds that  no

 reasonable jury
 reasonable jury could
                 could find the full
                       fmd the       scope of
                                full scope of the
                                              the asserted
                                                  asserted claims of the
                                                           claims of the ’590 patent are
                                                                         '590 patent are enabled,
                                                                                         enabled, it
                                                                                                  it

 need not
 need not separately
          separately address
                     address written
                             written description, though the
                                     description, though the claims may also
                                                             claims may also be
                                                                             be invalid
                                                                                invalid for
                                                                                        for lack
                                                                                            lack of
                                                                                                 of

 written description
 written description support.
                     support.




                                                    77

                                               Appx36
                                               Appx36
            Case: 22-1461          Document: 25          Page: 24       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 8 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38603




                                  IV.
                                  IV.    FACTUAL BACKGROUND
                                         FACTUAL BACKGROUND

        The ’590
        The      patent is
            '590 patent is directed
                           directed to
                                    to an
                                       an antibody
                                          antibody or
                                                   or antibody
                                                      antibody derivative
                                                               derivative that
                                                                          that binds
                                                                               binds to
                                                                                     to aa protein
                                                                                           protein

 important for
 important     blood coagulation
           for blood coagulation known as Factor
                                 known as Factor IX (or Factor
                                                 IX (or Factor IXa) and increases
                                                               IXa) and           the procoagulant
                                                                        increases the procoagulant

 activity of
 activity of Factor
             Factor IXa, for use
                    IXa, for use in treatment of
                                 in treatment of hemophilia
                                                 hemophilia A
                                                            A patients,
                                                              patients, particularly
                                                                        particularly those
                                                                                     those who
                                                                                           who have
                                                                                               have

 developed Factor
 developed Factor VIII
                  VIII inhibitors.
                       inhibitors. ’590 patent, col.
                                   '590 patent, col. 2,
                                                     2, 11.
                                                        ll. 25-33.
                                                            25–33. Asserted
                                                                   Asserted here
                                                                            here are
                                                                                 are independent
                                                                                     independent

 claim 1
 claim 1 and
         and dependent
             dependent claims
                       claims 2-4,
                              2–4, 19
                                   19 and
                                      and 20,
                                          20, which
                                              which recite:
                                                    recite:


                1. An
                1. An isolated  antibody or
                       isolated antibody  or antibody
                                             antibody fragment
                                                       fragment thereof
                                                                 thereof that
                                                                         that binds
                                                                              binds
                Factor IX
                Factor     or Factor
                       IX or  Factor IXa
                                     IXa and
                                         and increases
                                             increases the
                                                        the procoagulant
                                                            procoagulant activity
                                                                         activity of
                                                                                  of
                Factor IXa.
                Factor IXa.

                2. The
                2.      antibody or
                   The antibody   or antibody
                                     antibody fragment   according to
                                               fragment according    to claim  1 that
                                                                         claim 1 that
                increases the
                increases the procoagulant
                              procoagulant activity
                                           activity of
                                                    of Factor
                                                       Factor IXa in the
                                                              IXa in  the presence
                                                                          presence of
                                                                                   of
                Factor VIII
                Factor VIII inhibitors.
                            inhibitors.

                3. The
                3.     antibody or
                   The antibody  or antibody
                                    antibody fragment  according to
                                             fragment according  to claim
                                                                    claim 1
                                                                          1 wherein
                                                                            wherein
                the antibody
                the antibody is
                             is an
                                an IgG,
                                   IgG, IgM,
                                        IgM, IgA  or IgE
                                              IgA or IgE antibody.
                                                         antibody.

                 4. The
                4.  The antibody
                        antibody or
                                  or antibody
                                     antibody fragment    according to
                                                fragment according    to claim 1, wherein
                                                                         claim 1, wherein
                 said antibody
                said  antibody oror antibody
                                     antibody fragment
                                                fragment isis selected
                                                               selected from
                                                                         from the
                                                                                the group
                                                                                     group
                 consisting of
                 consisting  of aa monoclonal
                                    monoclonal antibody,
                                                   antibody, aa chimeric
                                                                  chimeric antibody,
                                                                              antibody, aa
                 humanized antibody,
                 humanized   antibody, aa single
                                          single chain  antibody, aa bispecific
                                                  chain antibody,    bispecific antibody,
                                                                                 antibody,
                aa diabody,
                   diabody, and
                            and di-,  oligo- or
                                 di-, oligo- or multimers
                                                multimers thereof.
                                                            thereof.

                19. The
                19. The antibody
                         antibody or
                                   or antibody
                                        antibody fragment  according to
                                                 fragment according  to claim
                                                                        claim 4,
                                                                              4,
                wherein the
                wherein the antibody
                            antibody is
                                     is aa humanized
                                           humanized antibody.
                                                     antibody.

                20. The
                20.  The antibody
                         antibody or
                                   or antibody
                                       antibody fragment    according to
                                                  fragment according  to claim
                                                                          claim 2,
                                                                                 2,
                wherein the antibody  is selected  from the group consisting  of
                wherein the antibody is selected from the group consisting of an an
                IgG,
                IgG, IgM,
                     IgM, IgA, or IgE
                          IgA, or IgE antibody.
                                      antibody.

        Some background on
        Some background on antibodies
                           antibodies and
                                      and hemophilia
                                          hemophilia A
                                                     A as
                                                       as well
                                                          well as
                                                               as its
                                                                  its prior-art
                                                                      prior-art treatment
                                                                                treatment based
                                                                                          based

 on the
 on the parties'
        parties’ agreed-upon
                 agreed-upon views
                             views is necessary.
                                   is necessary.

                         A.
                         A.      Hemophilia A
                                 Hemophilia A and
                                              and Its Prior-Art Treatment
                                                  Its Prior-Art Treatment

        The body
        The body stops
                 stops bleeding
                       bleeding by
                                by relying
                                   relying on
                                           on blood
                                              blood coagulation,
                                                    coagulation, also
                                                                 also known
                                                                      known as
                                                                            as clotting,
                                                                               clotting, which
                                                                                         which is
                                                                                               is

 accomplished through
 accomplished through aa cascade
                         cascade of
                                 of reactions between proteins.
                                    reactions between proteins. See
                                                                See Sheehan Decl., ECF
                                                                    Sheehan Decl.,     No. 411,
                                                                                   ECF No. 411,



                                                    8
                                                    8

                                               Appx37
                                               Appx37
             Case: 22-1461        Document: 25         Page: 25      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 9 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                             PageID #: 38604




 Ex. 1, Opening
 Ex. 1, Opening Rpt.
                Rpt. ¶¶ 23-24
                        23–24 (Sheehan
                              (Sheehan Rpt.);
                                       Rpt.); Pl.'s
                                              Pl.’s Opp'n,
                                                    Opp’n, Ex. 8, ECF
                                                           Ex. 8,     No. 424-9,
                                                                  ECF No. 424-9, Krishnaswamy
                                                                                 Krishnaswamy

 Rebuttal Rpt.
 Rebuttal Rpt. ¶
               ¶ 25
                 25 (Krishnaswamy
                    (Krishnaswamy Rpt.).
                                  Rpt.). The individual coagulation
                                         The individual coagulation proteins
                                                                    proteins are
                                                                             are referred
                                                                                 referred to
                                                                                          to as
                                                                                             as

 coagulation "Factors,"
 coagulation “Factors,” with
                        with respective assigned Roman
                             respective assigned Roman numerals
                                                       numerals (e.g.,
                                                                (e.g., Factor
                                                                       Factor VIII
                                                                              VIII and
                                                                                   and Factor
                                                                                       Factor IX).
                                                                                              IX).

 Sheehan Rpt. ¶
 Sheehan Rpt. ¶ 23;
                23; Krishnaswamy
                    Krishnaswamy Rpt.
                                 Rpt. ¶
                                      ¶ 25.
                                        25. These Factors normally
                                            These Factors normally circulate
                                                                   circulate in
                                                                             in the
                                                                                the blood
                                                                                    blood in
                                                                                          in

 inactive forms
 inactive       until triggered
          forms until triggered by
                                by aa vascular
                                      vascular injury, which causes
                                               injury, which causes aa coagulation
                                                                       coagulation cascade.
                                                                                   cascade. See
                                                                                            See

 Sheehan Rpt. ¶
 Sheehan Rpt. ¶ 23.
                23. Factors
                    Factors in
                            in their
                               their activated
                                     activated form are identified
                                               form are            with an
                                                        identified with an appended
                                                                           appended "a"
                                                                                    “a” (e.g.,
                                                                                        (e.g., Factor
                                                                                               Factor

 IXa). See
 IXa). See id.; Opp’n Br.,
           id.; Opp'n Br., Ex. 2, Malackowski
                           Ex. 2, Malackowski Opening
                                              Opening Rpt.
                                                      Rpt. (Malackowski
                                                           (Malackowski Rpt.),
                                                                        Rpt.), at
                                                                               at 20.
                                                                                  20. The
                                                                                      The

 relevant steps
 relevant steps in
                in the
                   the clotting
                       clotting cascade for present
                                cascade for present purposes
                                                    purposes are
                                                             are the
                                                                 the coming
                                                                     coming together
                                                                            together of
                                                                                     of Factor
                                                                                        Factor VIIIa
                                                                                               VIIIa

 and Factor
 and Factor IXa. See Sheehan
            IXa. See         Rpt. ¶
                     Sheehan Rpt. ¶ 25;
                                    25; Krishnaswamy
                                        Krishnaswamy Rpt.
                                                     Rpt. ¶
                                                          ¶ 26.
                                                            26. In
                                                                In aa healthy
                                                                      healthy person,
                                                                              person, activated
                                                                                      activated

 Factor VIII
 Factor VIII (Factor
             (Factor VIIIa)
                     VIIIa) "complexes
                            “complexes with"
                                       with” activated
                                             activated Factor
                                                       Factor IX
                                                              IX (Factor IXa) and
                                                                 (Factor IXa) and Factor
                                                                                  Factor X,
                                                                                         X,

 causing Factors
 causing Factors IXa to activate
                 IXa to activate Factor
                                 Factor X
                                        X to
                                          to Factor
                                             Factor Xa,
                                                    Xa, which
                                                        which is
                                                              is essential
                                                                 essential for
                                                                           for clot
                                                                               clot formation.
                                                                                    formation. See
                                                                                               See

 Sheehan Rpt. ¶
 Sheehan Rpt. ¶ 25;
                25; Krishnaswamy
                    Krishnaswamy Rpt.
                                 Rpt. ¶
                                      ¶ 26.
                                        26.

        Hemophilia A
        Hemophilia A is
                     is aa genetic
                           genetic disorder
                                   disorder in which patients
                                            in which patients lack sufficient functional
                                                              lack sufficient functional Factor
                                                                                         Factor VIII.
                                                                                                VIII.

 Young Decl.,
 Young Decl., ECF No. 414,
              ECF No. 414, Rebuttal
                           Rebuttal Report
                                    Report ¶ 14
                                             14 (Young
                                                (Young Decl.);
                                                       Decl.); Krishnaswamy
                                                               Krishnaswamy Rpt.
                                                                            Rpt. ¶ 27.
                                                                                   27. This
                                                                                       This

 amounts to
 amounts to aa roadblock
               roadblock in the clotting
                         in the clotting cascade,
                                         cascade, and
                                                  and hemophilia
                                                      hemophilia A
                                                                 A patients
                                                                   patients therefore
                                                                            therefore suffer
                                                                                      suffer from
                                                                                             from aa

 reduced ability
 reduced ability to
                 to form quick and
                    form quick and effective
                                   effective blood
                                             blood clots.
                                                   clots. Without
                                                          Without Factor
                                                                  Factor VIII,
                                                                         VIII, and
                                                                               and without
                                                                                   without

 treatment, hemophilia
 treatment, hemophilia A
                       A patients
                         patients are
                                  are at
                                      at risk
                                         risk of
                                              of bleeding
                                                 bleeding episodes
                                                          episodes not
                                                                   not only
                                                                       only from
                                                                            from external
                                                                                 external trauma,
                                                                                          trauma,

 but internally
 but internally into
                into joints
                     joints and
                            and other
                                other spaces
                                      spaces in the body.
                                             in the body. Young
                                                          Young Decl.
                                                                Decl. ¶
                                                                      ¶ 14.
                                                                        14. Hemophilia
                                                                            Hemophilia A
                                                                                       A can be
                                                                                         can be

 classified as
 classified as mild,
               mild, moderate,
                     moderate, or
                               or severe,
                                  severe, depending on the
                                          depending on the relative
                                                           relative level of Factor
                                                                    level of Factor VIII
                                                                                    VIII present.
                                                                                         present.

 Sheehan Rpt. ¶¶
 Sheehan Rpt. ¶¶ 31-32;
                 31–32; Malackowski
                        Malackowski Rpt.
                                    Rpt. at
                                         at 21.
                                            21. There are approximately
                                                There are approximately 23,000-25,000
                                                                        23,000–25,000 males
                                                                                      males

 with hemophilia
 with hemophilia A
                 A living
                   living in
                          in the
                             the United
                                 United States. Young Decl.
                                        States. Young Decl. ¶
                                                            ¶ 16.
                                                              16. About
                                                                  About half
                                                                        half of
                                                                             of them
                                                                                them have
                                                                                     have been
                                                                                          been

 diagnosed with
 diagnosed with aa severe
                   severe form
                          form of
                               of the
                                  the disorder.
                                      disorder. Id.
                                                Id.        Females are
                                                           Females are less
                                                                       less likely to have
                                                                            likely to have severe
                                                                                           severe




                                                  9
                                                  9

                                              Appx38
                                              Appx38
             Case: 22-1461         Document: 25       Page: 26      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 10 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38605




  hemophilia A
  hemophilia A because
               because the
                       the genetic
                           genetic mutation
                                   mutation associated
                                            associated with
                                                       with hemophilia
                                                            hemophilia A
                                                                       A is
                                                                         is "X-linked
                                                                            “X-linked recessive."
                                                                                      recessive.”

  Young Decl.
  Young Decl. ¶
              ¶ 15.
                15.

         Historically, the
         Historically, the only
                           only treatment
                                treatment for hemophilia A
                                          for hemophilia A patients
                                                           patients was
                                                                    was infusion
                                                                        infusion (intravenous)
                                                                                 (intravenous) with
                                                                                               with

  aa Factor
     Factor VIII
            VIII replacement,
                 replacement, either as needed
                              either as needed when
                                               when bleeding
                                                    bleeding episodes occur (on-demand)
                                                             episodes occur (on-demand) or
                                                                                        or in
                                                                                           in aa

  preventative matter
  preventative matter (prophylaxis).
                      (prophylaxis). Id. ¶ 17;
                                     Id. ¶ 17; Krishnaswamy
                                               Krishnaswamy Rpt.
                                                            Rpt. ¶
                                                                 ¶ 28.
                                                                   28. The problem with
                                                                       The problem with that
                                                                                        that

  treatment, however,
  treatment, however, was
                      was that
                          that 25-30%
                               25–30% of
                                      of patients
                                         patients with
                                                  with severe
                                                       severe hemophilia
                                                              hemophilia who
                                                                         who were
                                                                             were treated
                                                                                  treated with
                                                                                          with

  Factor VIII
  Factor VIII replacement
              replacement therapies
                          therapies developed
                                    developed an
                                              an immune
                                                 immune response
                                                        response to
                                                                 to Factor
                                                                    Factor VIII.
                                                                           VIII. Young
                                                                                 Young Decl.
                                                                                       Decl.

    22; Malackowski
  ¶ 22; Malackowski Rpt.
                    Rpt. at
                         at 21.
                            21. This
                                This immune response is
                                     immune response is known as an
                                                        known as an "inhibitor,"
                                                                    “inhibitor,” and
                                                                                 and the
                                                                                     the patients
                                                                                         patients

  exhibiting this
  exhibiting this response
                  response are
                           are known
                               known as
                                     as the
                                        the "inhibitor
                                            “inhibitor population."
                                                       population.” Young
                                                                    Young Decl.
                                                                          Decl. ¶
                                                                                ¶ 22.
                                                                                  22. As
                                                                                      As aa result,
                                                                                            result,

  Factor VIII
  Factor VIII replacement
              replacement therapy
                          therapy is
                                  is usually
                                     usually not
                                             not effective in the
                                                 effective in the inhibitor
                                                                  inhibitor population.
                                                                            population. Id. ¶ 23;
                                                                                        Id. ¶ 23;

  Krishnaswamy Rpt.
  Krishnaswamy Rpt. ¶
                    ¶ 29.
                      29.

         Before the
         Before the introduction
                    introduction of
                                 of Hemlibra,
                                    Hemlibra, the
                                              the inhibitor
                                                  inhibitor population
                                                            population had
                                                                       had few
                                                                           few effective treatment
                                                                               effective treatment

  options. See
  options.     Young Decl.
           See Young Decl. ¶¶
                           ¶¶ 22-27;
                              22–27; Malackowski
                                     Malackowski Rpt.
                                                 Rpt. at
                                                      at 21.
                                                         21. One
                                                             One option
                                                                 option was
                                                                        was aa therapy
                                                                               therapy called
                                                                                       called

  “Immune Tolerance
  "Immune Tolerance Induction (ITI).” Young
                    Induction (ITI)." Young Decl.
                                            Decl. ¶
                                                  ¶ 24;
                                                    24; Malackowski
                                                        Malackowski Rpt.
                                                                    Rpt. at
                                                                         at 21.
                                                                            21. But
                                                                                But that
                                                                                    that

  treatment is
  treatment    costly, complicated,
            is costly, complicated, and
                                    and prolonged,
                                        prolonged, requiring
                                                   requiring daily intravenous infusions
                                                             daily intravenous           of high
                                                                               infusions of high

  concentrations of
  concentrations of Factor
                    Factor VIII
                           VIII over
                                over the
                                     the course of months
                                         course of months or
                                                          or even years until
                                                             even years until the
                                                                              the body's
                                                                                  body’s immune
                                                                                         immune

  system begins
  system begins to
                to tolerate
                   tolerate it,
                            it, if ever. See
                                if ever.     Young Decl.
                                         See Young Decl. ¶
                                                         ¶ 24;
                                                           24; Malackowski
                                                               Malackowski Rpt.
                                                                           Rpt. at
                                                                                at 21.
                                                                                   21.

         As of
         As of 2018,
               2018, inhibitor
                     inhibitor patients
                               patients could
                                        could also
                                              also take
                                                   take one
                                                        one of
                                                            of two
                                                               two "bypass
                                                                   “bypass agents"
                                                                           agents” (BPAs),
                                                                                   (BPAs), including
                                                                                           including

  Baxalta’s product
  Baxalta's product FEIBA
                    FEIBA ("Factor
                          (“Factor Eight
                                   Eight Inhibitor Bypassing Activity").
                                         Inhibitor Bypassing Activity”). See Young Decl.
                                                                         See Young Decl. ¶
                                                                                         ¶ 25;
                                                                                           25;

  Malackowski Rpt.
  Malackowski Rpt. at
                   at 21.
                      21. BPAs
                          BPAs work
                               work by
                                    by bypassing
                                       bypassing the
                                                 the Factor
                                                     Factor VIII
                                                            VIII step
                                                                 step in
                                                                      in the
                                                                         the clotting cascade.
                                                                             clotting cascade.

      Young Decl.
  See Young
  See       Decl. ¶
                  ¶ 25;
                    25; Malackowski
                        Malackowski Rpt.
                                    Rpt. at
                                         at 21.
                                            21. Like
                                                Like Factor
                                                     Factor VIII
                                                            VIII replacement therapy, BPAs
                                                                 replacement therapy, BPAs can
                                                                                           can

  be used
  be used in
          in two
             two ways:
                 ways: on-demand
                       on-demand when
                                 when aa bleeding
                                         bleeding episode
                                                  episode occurs
                                                          occurs and/or
                                                                 and/or on
                                                                        on aa regular
                                                                              regular schedule
                                                                                      schedule as
                                                                                               as

  prophylaxis. Young
  prophylaxis. Young Decl.
                     Decl. ¶
                           ¶ 26;
                             26; Malackowski
                                 Malackowski Rpt.
                                             Rpt. at
                                                  at 25.
                                                     25. But
                                                         But they
                                                             they too
                                                                  too must
                                                                      must be
                                                                           be infused, which
                                                                              infused, which



                                                 10
                                                 10

                                             Appx39
                                             Appx39
              Case: 22-1461         Document: 25         Page: 27      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 11
Case 1:17-cv-00509-TBD Document 573-1                     11 of 47 PagelD
                                                                   PageID #: 38606




  may impose
  may impose aa substantial
                substantial treatment
                            treatment burden
                                      burden on
                                             on patients
                                                patients and
                                                         and their
                                                             their families. In particular,
                                                                   families. In particular, the
                                                                                            the infusion
                                                                                                infusion

  can take
  can take up
           up to
              to an
                 an hour
                    hour as
                         as often
                            often as
                                  as every other day
                                     every other day in order to
                                                     in order to achieve
                                                                 achieve the
                                                                         the desired
                                                                             desired prophylactic
                                                                                     prophylactic

  effect. See
  effect.     Young Decl.
          See Young Decl. ¶
                          ¶ 27;
                            27; Malackowski
                                Malackowski Rpt.
                                            Rpt. at
                                                 at 34.
                                                    34.

              B.
              B.      Baxalta’s Search
                      Baxalta's Search for an Antibody-Based
                                       for an Antibody-Based Hemophilia
                                                             Hemophilia A
                                                                        A Treatment
                                                                          Treatment

         Recognizing the
         Recognizing the drawbacks with all
                         drawbacks with all the
                                            the existing
                                                existing treatment
                                                         treatment options,
                                                                   options, in
                                                                            in 1998,
                                                                               1998, scientists
                                                                                     scientists

  working for
  working for Baxalta's
              Baxalta’s predecessor
                        predecessor began
                                    began experimenting
                                          experimenting with
                                                        with ideas
                                                             ideas for
                                                                   for new,
                                                                       new, better
                                                                            better hemophilia
                                                                                   hemophilia A
                                                                                              A

  treatments, particularly
  treatments, particularly for inhibitor patients.
                           for inhibitor patients. Dr.
                                                   Dr. Friedrich
                                                       Friedrich Scheiflinger, one of
                                                                 Scheiflinger, one of the
                                                                                      the ’590 patent’s
                                                                                          '590 patent's

  named inventors,
  named inventors, had
                   had the
                       the idea
                           idea of
                                of using
                                   using an
                                         an antibody
                                            antibody against
                                                     against Factor
                                                             Factor IX/IXa to increase
                                                                    IX/IXa to increase the
                                                                                       the

  procoagulant activity
  procoagulant activity of
                        of Factor
                           Factor IXa
                                  IXa even in the
                                      even in the absence
                                                  absence of
                                                          of Factor
                                                             Factor VIII.
                                                                    VIII. See
                                                                          See ’590 patent, col.
                                                                              '590 patent, col. 2,
                                                                                                2, 11.
                                                                                                   ll.

  29–44; Cole
  29-44; Cole Decl.
              Decl. vol.
                    vol. 1,
                         1, Ex. 11, Scheiflinger
                            Ex. 11,              Dep. Tr.
                                    Scheiflinger Dep.     at 98:8-99:20,
                                                      Tr. at 98:8–99:20, 101:02-12.
                                                                         101:02–12.

                         1.
                         1.      Antibody Structure
                                 Antibody           and Genetic
                                          Structure and Genetic Modification
                                                                Modification

         Antibodies are
         Antibodies are aa key
                           key component of the
                               component of the immune system. Strohl
                                                immune system.        Decl., ECF
                                                               Strohl Decl., ECF No.
                                                                                 No. 413,
                                                                                     413, Ex. 1,
                                                                                          Ex. 1,

  Opening Rpt.,
  Opening Rpt., ¶
                ¶ 35
                  35 (Strohl
                     (Strohl Rpt.).
                             Rpt.). When
                                    When confronted
                                         confronted with
                                                    with aa foreign
                                                            foreign molecule,
                                                                    molecule, or
                                                                              or "antigen,"
                                                                                 “antigen,” the
                                                                                            the

  immune system's
  immune system’s "B
                  “B cells"
                     cells” (a
                            (a type
                               type of
                                    of white
                                       white blood
                                             blood cell)
                                                   cell) generate
                                                         generate antibodies
                                                                  antibodies that
                                                                             that attack
                                                                                  attack the
                                                                                         the antigen
                                                                                             antigen

  by binding
  by binding to
             to them.
                them. See
                      See id. ¶¶ 35,
                          id. ¶¶ 35, 41;
                                     41; Garcia
                                         Garcia Decl.,
                                                Decl., ECF No. 415,
                                                       ECF No. 415, Ex. 1, ECF
                                                                    Ex. 1,     No. 415-1,
                                                                           ECF No. 415-1, Opening
                                                                                          Opening

  Rpt. (Garcia
  Rpt. (Garcia Rpt.),
               Rpt.), ¶
                      ¶ 58.
                        58. Each
                            Each unique B-cell produces
                                 unique B-cell produces multiple
                                                        multiple copies
                                                                 copies of
                                                                        of one
                                                                           one specific
                                                                               specific antibody—
                                                                                        antibody—

  meaning, the
  meaning, the secreted
               secreted antibody
                        antibody can
                                 can bind
                                     bind to
                                          to only
                                             only one
                                                  one antigen.
                                                      antigen. Garcia
                                                               Garcia Rpt.
                                                                      Rpt. ¶
                                                                           ¶ 59. The binding
                                                                             59. The binding of
                                                                                             of

  an antigen
  an antigen to
             to the
                the B-cell
                    B-cell surface
                           surface stimulates
                                   stimulates the
                                              the B-cell
                                                  B-cell to
                                                         to divide
                                                            divide and
                                                                   and mature
                                                                       mature into
                                                                              into identical
                                                                                   identical cells,
                                                                                             cells,

  secreting millions
  secreting millions of
                     of antibodies
                        antibodies into the bloodstream
                                   into the bloodstream and
                                                        and lymphatic system. See
                                                            lymphatic system. See id. ¶ 57.
                                                                                  id. ¶     An
                                                                                        57. An

  antibody, as
  antibody, as that
               that term
                    term has
                         has been
                             been construed in the
                                  construed in the ’590 patent, is
                                                   '590 patent,    “an immunoglobulin
                                                                is "an                molecule
                                                                       immunoglobulin molecule

  having aa specific
  having    specific amino
                     amino acid
                           acid sequence
                                sequence comprising
                                         comprising two
                                                    two heavy
                                                        heavy chains (H chains)
                                                              chains (H chains) and
                                                                                and two
                                                                                    two light
                                                                                        light

  chains (L
  chains    chains).” Baxalta,
         (L chains)."          972 F.3d
                      Baxalta, 972 F.3d at
                                        at 1349.
                                           1349.




                                                   11
                                                   11

                                               Appx40
                                               Appx40
           Case: 22-1461           Document: 25           Page: 28        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 12
Case 1:17-cv-00509-TBD Document 573-1                     12 of 47 PagelD
                                                                   PageID #: 38607




         Antibodies can be visualized as forming a "Y" shape, with two arms connected by disulfide

  bonds. Stroll Rpt. ¶ 35. Each arm of the Y shape contains two polypeptides known as the heavy

  (H) chain and the light (L) chain. See id. Each of its heavy and light chains consist of two regions.

  See id. ¶ 36. The portions of the heavy and light chains that vary from antibody to antibody

  depending on the antigen are called the "variable domains," designated VH and VL, respectively.

  Id. 7136-37. Variable regions include (i) complementarity-determining regions ("CDRs"), which

  are amino acid sequences that play a key role in the antibody's binding to an antigen, and (ii)

  framework regions, which serve as "scaffolds for the CDRs." Id. ¶¶ 36, 39. The remaining

  portions are called Constant (C) regions of each chain. See id. ¶ 36. This is a schematic of an

  antibody:

                                                          6x CDR loops (antigen
                                              VH
                                        CH1
                                                    ,\s      binding region)

                                                     VL


                                              CH2         [
                                                          Interchain
                                                          Disulfide Bonds: -



                                              CH3

  Id. ¶ 35 (Figure 1).

          Based on the structure of the constant regions, antibodies are grouped into five classes-

  IgA, IgD, IgE, IgG, and IgM—each with closely related but different functions. Id. ¶ 37.3 The

  constant region of all antibodies of the same isotype are identical (e.g., all IgG antibodies have the

  same constant region and that constant region differs from that of IgA antibodies). Id. Because



  3
          "Ig" stands for immunoglobulin, and each letter signifies the specific class, which may
  change depending on the stage of the immune response. See Marasco Rpt. ¶ 71. The various
  antibody isotypes "differ from one another in biological properties, functional locations, and
  ability to deal with different antigens." Marasco Rpt. ¶ 278. IgGs are the most prevalent class,
  whereas IgDs are the least prevalent. See Stroll Rpt. ¶ 37.
                                                    12




                                               Appx41
                                               Appx41
               Case: 22-1461          Document: 25                              Page: 29                 Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 573-1 Filed 01/13/22 Page 13 of 47 PageID
                                                                   PagelD #: 38608



  each arm
  each arm of
           of aa naturally
                 naturally occurring antibody is
                           occurring antibody is identical,
                                                 identical, each
                                                            each arm
                                                                 arm targets
                                                                     targets the
                                                                             the same
                                                                                 same antigen.
                                                                                      antigen. Id. ¶ 38.
                                                                                               Id. ¶ 38.

  Naturally occurring
  Naturally           antibodies are
            occurring antibodies are thus said to
                                     thus said to be
                                                  be "monospecific."
                                                     “monospecific.” Id.
                                                                     Id.

          Scientists have developed
          Scientists have developed various genetic engineering
                                    various genetic             techniques for
                                                    engineering techniques for altering natural
                                                                               altering natural

  antibodies to
  antibodies to make
                make aa wide
                        wide variety
                             variety of molecules. Some
                                     of molecules.      are of
                                                   Some are of different
                                                               different sizes
                                                                         sizes than
                                                                               than natural
                                                                                    natural antibodies,
                                                                                            antibodies,

  whereas others
  whereas        have different
          others have different binding
                                binding specificities
                                        specificities or different constant-region
                                                      or different constant-region functions. For
                                                                                   functions. For

  example, scientists
  example, scientists have
                      have used
                           used protein-cleaving
                                protein-cleaving enzymes to cut
                                                 enzymes to cut antibodies
                                                                antibodies into
                                                                           into "antibody
                                                                                “antibody

  fragments.”     ¶¶ 46-47.
              Id. ¶¶
  fragments." Id.    46–47. These include the
                            These include the Fab,
                                              Fab, Fc,
                                                   Fc, and
                                                       and F(ab')2
                                                           F(ab’)2 fragments, shown below.
                                                                   fragments, shown below.

                                                          VH
                                                               VI
                                                 H
                                Fab                  CL        Fab
                                                                                     F(ab')2
                                                                           VH                       VH
                                                                      VL                                 VL
                                       H     H
                                                                                          H
                                                                                CL             CL
                                        H H




  Id. at
  Id.    Figs. 2-3.
      at Figs. 2–3. They
                    They have also used
                         have also used recombinant
                                        recombinant DNA
                                                    DNA techniques
                                                        techniques to derive antibody
                                                                   to derive antibody fragments
                                                                                      fragments

  beyond simple
  beyond simple enzymatic
                enzymatic cleavage of aa full-length
                          cleavage of    full-length antibody.
                                                     antibody. One
                                                               One example (depicted below)
                                                                   example (depicted below) is
                                                                                            is aa

  fragment called
  fragment called aa single-chain
                     single-chain Fv
                                  Fv (scFv),
                                     (scFv), which
                                             which contains
                                                   contains the
                                                            the variable
                                                                variable region
                                                                         region of
                                                                                of aa heavy
                                                                                      heavy chain
                                                                                            chain and
                                                                                                  and

  the variable
  the          region of
      variable region of aa light
                            light chain,
                                  chain, held together by
                                         held together by aa synthetic
                                                             synthetic string
                                                                       string of amino acids.
                                                                              of amino acids. Id. ¶ 48.
                                                                                              Id. ¶ 48.

                                                          scFv formats

                                                                     or
                                           VL-I n ker-VH                  Vii-linker-VL


      at Fig.
  Id. at
  Id.    Fig. 4.
              4.

          Genetic engineering has
          Genetic engineering has also
                                  also made
                                       made possible
                                            possible the
                                                     the construction
                                                         construction of
                                                                      of antibodies
                                                                         antibodies that are part
                                                                                    that are part

  animal sequence
  animal sequence and
                  and part
                      part human
                           human sequence.
                                 sequence. Id. ¶ 49.
                                           Id. ¶ 49. These
                                                     These are
                                                           are known
                                                               known as
                                                                     as "chimeric"
                                                                        “chimeric” and
                                                                                   and

  “humanized” antibodies—as
  "humanized" antibodies—as shown
                            shown below.
                                  below. Id.
                                         Id.




                                                                     13
                                                                     13

                                                               Appx42
                                                               Appx42
              Case: 22-1461                Document: 25               Page: 30             Filed: 11/04/2022

                                573-1 Filed 01113122
Case 1:17-cv-00509-TBD Document 573-1       01/13/22 Page 14 of 47 PagelD
                                                                   PageID #: 38609



                                             Mouse-human chimeric IgG
                                                                      Mouse VH and VI fused to
                                                                      human constant regions


                   Mouse IgG
                                                                                           Human IgG
                                   6x CDR loops (antigen
                            VH
                                      binding region)
                      CH1
                                  VL
                              C
                                                                                                  100% human CDRs,
                            CH2
                                                                                                  framework and
                                                      Humanized IgG
                                                                                                  constant regions
                                                                       6x Mouse CDR loops
                     CVHt                                              per Fab arm fused into
                                                                       human framework
                                                                       regions, with human
                                                                       constant regions




      at Fig.
  Id. at
  Id.    Fig. 5.
              5. The benefit of
                 The benefit of humanizing
                                humanizing antibodies
                                           antibodies is
                                                      is that
                                                         that it
                                                              it lessens
                                                                 lessens the chances of
                                                                         the chances of an
                                                                                        an immune
                                                                                           immune

  response to the
  response to the antibody.
                  antibody. Id  ¶ 50.
                            Id. ¶     In early
                                  50. In early efforts
                                               efforts to
                                                       to use
                                                          use mouse (or murine)
                                                              mouse (or murine) antibodies
                                                                                antibodies as
                                                                                           as

  therapeutic agents
  therapeutic agents in
                     in humans,
                        humans, scientists
                                scientists observed
                                           observed that the human
                                                    that the human immune
                                                                   immune system
                                                                          system recognized
                                                                                 recognized the
                                                                                            the

  murine antibody
  murine antibody as
                  as aa foreign
                        foreign substance
                                substance and
                                          and made antibodies against
                                              made antibodies against it.
                                                                      it. Id. This became
                                                                          Id. This became known
                                                                                          known

  as the
  as the "HAMA
         “HAMA response,"
               response,” for
                          for "human
                              “human anti-mouse
                                     anti-mouse antibody."
                                                antibody.” Id. It spurred
                                                           Id. It spurred research
                                                                          research to
                                                                                   to develop
                                                                                      develop aa

  way to
  way    engineer antibodies
      to engineer antibodies containing
                             containing more
                                        more human amino acid
                                             human amino acid sequences
                                                              sequences and
                                                                        and less
                                                                            less animal
                                                                                 animal (e.g.,
                                                                                        (e.g.,

  murine) sequences.
  murine) sequences. Id. ¶ 51.
                     Id. ¶ 51.

          Initially, scientists
          Initially, scientists used
                                used genetic
                                     genetic engineering
                                             engineering techniques
                                                         techniques to
                                                                    to create
                                                                       create "chimeric
                                                                              “chimeric antibodies"
                                                                                        antibodies” by
                                                                                                    by

  splicing together
  splicing together genetic
                    genetic material (DNA) encoding
                            material (DNA) encoding the
                                                    the variable
                                                        variable regions of animal
                                                                 regions of animal antibodies
                                                                                   antibodies

  (usually murine)
  (usually         with DNA
           murine) with DNA encoding
                            encoding the constant regions
                                     the constant regions of
                                                          of human
                                                             human antibodies.
                                                                   antibodies. Id.
                                                                               Id. ¶¶ 52–53;
                                                                                      52-53;

  ’590 patent, col.
  '590 patent, col. 6,
                    6, 1.l. 64—col.
                            64–col. 7,
                                    7, 1.l. 3.
                                            3. Although
                                               Although successful
                                                        successful at
                                                                   at first,
                                                                      first, over
                                                                             over time
                                                                                  time it
                                                                                       it became
                                                                                          became clear
                                                                                                 clear that
                                                                                                       that

  humans were
  humans were developing
              developing aa HAMA
                            HAMA response
                                 response to
                                          to the
                                             the murine
                                                 murine sequences
                                                        sequences in
                                                                  in the
                                                                     the chimeric
                                                                         chimeric antibodies.
                                                                                  antibodies.

  Strohl Rpt. ¶ 54.
  Strohl Rpt.       To avoid
                54. To avoid that
                             that response,
                                  response, scientists
                                            scientists designed
                                                       designed "humanized
                                                                “humanized antibodies"
                                                                           antibodies” wherein
                                                                                       wherein non-
                                                                                               non-

  human CDRs
  human CDRs are
             are inserted
                 inserted into
                          into an
                               an otherwise-human
                                  otherwise-human antibody.
                                                  antibody. ’590 patent, col.
                                                            '590 patent, col. 6,11.
                                                                              6, ll. 49–57. In the
                                                                                     49-57. In the

  resulting antibody, the
  resulting antibody,     binding affinity
                      the binding affinity is
                                           is preserved,
                                              preserved, while
                                                         while adverse
                                                               adverse human
                                                                       human immune
                                                                             immune reaction
                                                                                    reaction is
                                                                                             is

  significantly reduced
  significantly reduced as
                        as compared
                           compared to
                                    to the original animal
                                       the original animal antibody.
                                                           antibody. Strohl
                                                                     Strohl Rpt.
                                                                            Rpt. ¶¶
                                                                                 ¶¶ 55–56.
                                                                                    55-56.

                                                              14
                                                              14

                                                           Appx43
                                                           Appx43
              Case: 22-1461             Document: 25             Page: 31            Filed: 11/04/2022

                                573-1 Filed 01113/22
Case 1:17-cv-00509-TBD Document 573-1       01/13/22 Page 15 of 47 PagelD
                                                                   PageID #: 38610




          Finally, scientists have
          Finally, scientists have created
                                   created "bispecific
                                           “bispecific antibodies"
                                                       antibodies” by
                                                                   by pairing
                                                                      pairing the
                                                                              the heavy and light
                                                                                  heavy and light chains
                                                                                                  chains

  of an
  of an antibody
        antibody that
                 that binds
                      binds to
                            to one
                               one antigen
                                   antigen with
                                           with the
                                                the heavy
                                                    heavy and
                                                          and light
                                                              light chains
                                                                    chains of
                                                                           of aa different
                                                                                 different antibody
                                                                                           antibody that
                                                                                                    that

  binds to
  binds to aa different
              different antigen.
                        antigen. Id  ¶ 61. The
                                 Id. 161.  The resulting
                                               resulting antibody,
                                                         antibody, depicted
                                                                   depicted below,
                                                                            below, is
                                                                                   is thus
                                                                                      thus capable
                                                                                           capable of
                                                                                                   of

  binding two
  binding two antigens.
              antigens. Id.; ’590 patent,
                        Id.; '590 patent, col.
                                          col. 7,1
                                               7, ll. 32-34.
                                                      32–34.

                      AntibodyA binds Antigen A                         Antibody B binds Antigen B




                                                  Bispecific Antibody

                                Binds Antigen A                  } Binds Antigen B




  Strohl Rpt. at
  Strohl Rpt. at Fig.
                 Fig. 7.
                      7.

                                             2.
                                             2.         The '590
                                                        The ’590 Patent
                                                                 Patent

          Against
          Against this backdrop, in
                  this backdrop, in 1998,
                                    1998, the
                                          the scientists
                                              scientists at
                                                         at Baxalta
                                                            Baxalta were
                                                                    were experimenting
                                                                         experimenting with
                                                                                       with the
                                                                                            the idea
                                                                                                idea

  of using
  of using an
           an antibody
              antibody binding
                       binding to
                               to Factor
                                  Factor IX/IXa
                                         IX/IXa to
                                                to increase
                                                   increase the
                                                            the procoagulant
                                                                procoagulant activity
                                                                             activity of
                                                                                      of Factor
                                                                                         Factor IXa
                                                                                                IXa

  even in the
  even in     absence of
          the absence of Factor
                         Factor VIII.
                                VIII. ’590 patent, col.
                                      '590 patent, col. 2,11.
                                                        2, ll. 29-44.
                                                               29–44. Over
                                                                      Over the
                                                                           the come
                                                                               course of
                                                                                      of approximately
                                                                                         approximately

  four
  four years, they used
       years, they used hybridoma
                        hybridoma techniques (described below)
                                  techniques (described below) to
                                                               to create
                                                                  create monospecific antibodies
                                                                         monospecific antibodies

  that bind to
  that bind    Factor IX
            to Factor    or IXa
                      DC or IXa and
                                and increase
                                    increase the
                                             the procoagulant
                                                 procoagulant activity
                                                              activity of
                                                                       of Factor
                                                                          Factor IXa.
                                                                                 IXa. Cole
                                                                                      Cole Decl.
                                                                                           Decl. vol.
                                                                                                 vol.

  1, ECF No.
  1, ECF No. 409
             409 ("Cole
                 (“Cole Decl.
                        Decl. vol.
                              vol. 1”), Ex. 13,
                                   1"), Ex.     Kerschbaumer Dep.
                                            13, Keischbaumer Dep. Tr.
                                                                  Tr. at
                                                                      at 14:325–15:328;
                                                                         14:325-15:328; ’590
                                                                                        '590

  patent, col.
  patent, col. 7,1.
               7, l. 65—col.
                     65–col. 8,1.
                             8, l. 1;
                                   1; col.
                                      col. 9,1.
                                           9, l. 66-col.
                                                 66–col. 10,
                                                         10, 1.
                                                             l. 37;
                                                                37; Sheehan
                                                                    Sheehan Rpt.
                                                                            Rpt 1¶ 166.
                                                                                   166.

          The ’590
          The      patent, titled
              '590 patent, titled "Factor
                                  “Factor IX/factor
                                          IX/factor IXa
                                                    IXa activating
                                                        activating antibodies
                                                                   antibodies and
                                                                              and antibody
                                                                                  antibody

  derivatives,” was
  derivatives," was filed
                    filed on
                          on September
                             September 14,
                                       14, 2000,
                                           2000, issued
                                                 issued on
                                                        on April
                                                           April 25,
                                                                 25, 2006,
                                                                     2006, and
                                                                           and expired
                                                                               expired in
                                                                                       in December
                                                                                          December

  2021. See
  2021.     Def.’s Mot.
        See Def.'s Mot. at
                        at 10.
                           10. In
                               In total,
                                  total, the
                                         the '590
                                             ’590 patent
                                                  patent discloses
                                                         discloses eleven
                                                                   eleven working
                                                                          working examples of
                                                                                  examples of




                                                           15
                                                           15

                                                       Appx44
                                                       Appx44
               Case: 22-1461            Document: 25          Page: 32        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 16 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38611
                                                                             38611




  antibodies that
  antibodies that bind
                  bind to
                       to Factor
                          Factor IX/IXa and increase
                                 IX/IXa and increase the
                                                     the procoagulant
                                                         procoagulant activity
                                                                      activity of
                                                                               of Factor IXa. 4 Pl.'s
                                                                                  Factor IXa.4  Pl.’s

  Opp’n, Ex.
  Opp'n,     4, Marasco
         Ex. 4, Marasco Rebuttal
                        Rebuttal Rpt.,
                                 Rpt., ECF No. 424-5,
                                       ECF No. 424-5, ¶
                                                      ¶ 124
                                                        124 (Marasco
                                                            (Marasco Rpt.),
                                                                     Rpt.), ¶
                                                                            ¶ 111.
                                                                              111. To
                                                                                   To find the
                                                                                      fmd the

  eleven examples,
  eleven           the inventors
         examples, the inventors tested
                                 tested tens
                                        tens of
                                             of thousands
                                                thousands of
                                                          of antibodies
                                                             antibodies in assays designed
                                                                        in assays designed to
                                                                                           to measure
                                                                                              measure

  Factor VIII-like
  Factor VIII-like activity.
                   activity. See
                             See ’590 patent, col.
                                 '590 patent,      10, 1.
                                              col. 10, l. 39—col.
                                                          39–col. 12, l. 56;
                                                                  12, 1. 56; Joint
                                                                             Joint Stip. ¶ 10.
                                                                                   Stip. ¶ 10.                  The
                                                                                                                The

  examples are
  examples are all
               all murine,
                   murine, monospecific
                           monospecific antibodies
                                        antibodies of
                                                   of the
                                                      the IgG and IgM
                                                          IgG and IgM isotypes, as well
                                                                      isotypes, as well as
                                                                                        as aa number
                                                                                              number

  of scFv
  of scFv fragments
          fragments from
                    from some
                         some of
                              of those
                                 those antibodies,
                                       antibodies, and
                                                   and one
                                                       one Fab
                                                           Fab fragment.
                                                               fragment. See Marasco Dep.
                                                                         See Marasco Dep. Tr. at
                                                                                          Tr. at

  102:12–126:04.
  102:12-126:04.

          Baxalta’s efforts
          Baxalta's         to produce
                    efforts to produce antibodies
                                       antibodies that
                                                  that bind
                                                       bind to
                                                            to Factor
                                                               Factor IX/IXa
                                                                      IX/IXa and
                                                                             and increase
                                                                                 increase the
                                                                                          the

  procoagulant activity
  procoagulant activity of
                        of Factor
                           Factor IXa
                                  IXa continued until 2003.
                                      continued until 2003. See Cole Decl.
                                                            See Cole Decl. vol.
                                                                           vol. 1,
                                                                                1, Ex.
                                                                                   Ex. 6, Baxalta’s
                                                                                       6, Baxalta's

  Suppl. Resp. to
  Suppl. Resp. to Interrog. 11, at
                  Interrog. 11, at 47.
                                   47. The parties agree
                                       The parties agree that
                                                         that Baxalta
                                                              Baxalta has
                                                                      has never
                                                                          never commercialized
                                                                                commercialized an
                                                                                               an

  antibody for
  antibody for the
               the treatment
                   treatment of
                             of hemophilia
                                hemophilia A
                                           A in
                                             in inhibitor patients consistent
                                                inhibitor patients consistent with
                                                                              with the
                                                                                   the stated
                                                                                       stated purpose
                                                                                              purpose

  of the
  of the ’590 patent. See
         '590 patent. See Scheiflinger Dep. Tr.
                          Scheiflinger Dep.     at 48:25-49:08;
                                            Tr. at 48:25–49:08; Sheehan Rpt. ¶
                                                                Sheehan Rpt. ¶ 166;
                                                                               166; Garcia
                                                                                    Garcia Rpt.
                                                                                           Rpt.

  ¶ 221;
  ¶ 221; see also ’590
         see also      patent, col.
                  '590 patent, col. 2,
                                    2, 11.
                                       ll. 25-28
                                           25–28 ("[I]t
                                                 (“[I]t is an object
                                                        is an object of
                                                                     of the
                                                                        the []
                                                                            [] invention to provide
                                                                               invention to provide aa

  preparation for
  preparation     the treatment
              for the treatment of
                                of blood
                                   blood coagulation
                                         coagulation disorders
                                                     disorders which
                                                               which has
                                                                     has particular
                                                                         particular advantages
                                                                                    advantages for
                                                                                               for

  factor VIII
  factor VIII inhibitor patients[,] .. .. .. through
              inhibitor patients[,]          through the
                                                     the use
                                                         use of
                                                             of antibodies
                                                                antibodies .. .. .. against
                                                                                    against factor IX/IXa.”).
                                                                                            factor IX/IXa.").

                                 C.
                                 C.       Chugai’s Invention
                                          Chugai's           of Emicizumab
                                                   Invention of Emicizumab

          Around the
          Around the same
                     same time
                          time that
                               that Baxalta's
                                    Baxalta’s scientists
                                              scientists were
                                                         were experimenting
                                                              experimenting with
                                                                            with antibodies
                                                                                 antibodies capable
                                                                                            capable

  of binding
  of binding to
             to Factor
                Factor IX
                       IX and
                          and increasing the procoagulant
                              increasing the procoagulant activity
                                                          activity of
                                                                   of Factor
                                                                      Factor IXa,
                                                                             IXa, scientists
                                                                                  scientists in
                                                                                             in Japan
                                                                                                Japan

  at Chugai
  at Chugai were
            were also
                 also working
                      working to
                              to develop
                                 develop antibody-based
                                         antibody-based treatments
                                                        treatments for hemophilia A.
                                                                   for hemophilia A. By
                                                                                     By at
                                                                                        at least
                                                                                           least

  October 27,
  October 27, 2000,
              2000, Chugai
                    Chugai had
                           had the
                               the idea of using
                                   idea of using aa humanized
                                                    humanized bispecific
                                                              bispecific antibody
                                                                         antibody that
                                                                                  that would
                                                                                       would bind
                                                                                             bind

  Factor IXa
  Factor     with one
         IXa with one arm
                      arm and
                          and Factor
                              Factor X
                                     X with
                                       with the
                                            the other, holding Factor
                                                other, holding Factor IXa and Factor
                                                                      IXa and Factor X
                                                                                     X in
                                                                                       in aa position
                                                                                             position



  4
  4
         The parties
         The  parties dispute
                      dispute whether
                              whether the
                                       the patent
                                           patent discloses
                                                  discloses 11
                                                            11 examples,
                                                                 examples, but
                                                                            but for the purposes
                                                                                for the purposes of
                                                                                                 of its
                                                                                                    its
  motion for
  motion for summary
              summary judgment,
                         judgment, Genentech    accepts that
                                    Genentech accepts   that the
                                                             the specification
                                                                   specification discloses
                                                                                 discloses 11
                                                                                           11 working
                                                                                              working
  examples. See
  examples.  See Joint
                 Joint Stip. of Fact,
                       Stip. of Fact, ECF No. 437
                                      ECF No.  437 (Joint
                                                   (Joint Stip.) ¶ 14.
                                                          Stip.) ¶  14.
                                                        16
                                                        16

                                                    Appx45
                                                    Appx45
             Case: 22-1461          Document: 25              Page: 33            Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 17 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38612




  by which
  by which Factor
           Factor IXa
                  IXa would
                      would activate
                            activate Factor
                                     Factor X,
                                            X, similar
                                               similar to
                                                       to how
                                                          how Factor
                                                              Factor VIIIa
                                                                     VIIIa functions
                                                                           functions (depicted
                                                                                     (depicted

  below). See
  below).     Strohl Rpt.
          See Strohl Rpt. ¶
                          ¶ 115;
                            115; Cole
                                 Cole Decl.
                                      Decl. vol.
                                            vol. 1,
                                                 1, Ex.
                                                    Ex. 77 at
                                                           at GNE-01138116
                                                              GNE-01138116 (dated
                                                                           (dated Oct.
                                                                                  Oct. 27,
                                                                                       27, 2000);
                                                                                           2000);

       Ex. 8,
  id., Ex.
  Id.,     8, Kitazawa
              Kitazawa Dep.
                       Dep. Tr.
                            Tr. at
                                at 185:01-186:10,
                                   185:01–186:10, 215:20-25;
                                                  215:20–25; id., Ex. 9
                                                             id., Ex. 9 at
                                                                        at GNE-01137931;
                                                                           GNE-01137931; id., Ex.
                                                                                         id., Ex.

  10 at
  10 at GNE-01137957.
        GNE-01137957.

                    A                  FVI Ila



                        FIXa                             FX




                               Phospholipid membrane



                    B          Bispecific antibody




                        FIXa                             FX

                                                                                             IX,   AS


                                                                  11'11'11 X.). /11}1,...           cy,

                                Phospholipid membrane



  Sampei et
  Sampei et al.,
            al., Identification
                 Identification and
                                and Multidimensional
                                    Multidimensional Optimization
                                                     Optimization of
                                                                  of an
                                                                     an Asymmetric
                                                                        Asymmetric Bispecific
                                                                                   Bispecific IgG
                                                                                              IgG

  Antibody Mimicking
  Antibody Mimicking the Function of
                     the Function of Factor
                                     Factor VIII
                                            VIII Cofactor           PLoS ONE
                                                          Activity, PLoS
                                                 Cofactor Activity,      ONE 8(2):1-13
                                                                             8(2):1–13 (2013)
                                                                                       (2013)

  (Sampei Article),
  (Sampei Article), at
                    at 2,
                       2, Fig.
                          Fig. 11 (showing
                                  (showing (A)
                                           (A) Factor VIIIa forming
                                               Factor Villa forming aa complex
                                                                       complex with
                                                                               with Factor
                                                                                    Factor IXa
                                                                                           IXa and
                                                                                               and

  supporting the
  supporting the interaction
                 interaction between
                             between Factor
                                     Factor IXa
                                            IXa and
                                                and Factor
                                                    Factor X
                                                           X through
                                                             through its
                                                                     its binding
                                                                         binding ability
                                                                                 ability to
                                                                                         to both
                                                                                            both

  factors on
  factors on the
             the phospholipid
                 phospholipid membrane,
                              membrane, and
                                        and (B)
                                            (B) A
                                                A bispecific
                                                  bispecific antibody
                                                             antibody (like
                                                                      (like emicizumab) binding
                                                                            emicizumab) binding

  to Factor
  to Factor IXa
            IXa and
                and Factor
                    Factor X,
                           X, promoting
                              promoting the
                                        the interaction
                                            interaction between
                                                        between Factor
                                                                Factor IXa
                                                                       IXa and
                                                                           and Factor
                                                                               Factor X
                                                                                      X and
                                                                                        and

  therefore exerting
  therefore exerting Factor
                     Factor VIII
                            VIII mimetic
                                 mimetic activity
                                         activity on
                                                  on the
                                                     the phospholipid
                                                         phospholipid membrane.).
                                                                      membrane.).

         Genentech’s expert,
         Genentech's         Dr. William
                     expert, Dr. William R.
                                         R. Strohl,
                                            Strohl, details
                                                    details the
                                                            the lengthy
                                                                lengthy trial-and-error
                                                                        trial-and-error process
                                                                                        process

  through which
  through which Chugai's
                Chugai’s scientists
                         scientists generated
                                    generated tens
                                              tens of
                                                   of thousands
                                                      thousands of
                                                                of combinations
                                                                   combinations of
                                                                                of Factor
                                                                                   Factor IX
                                                                                          IX and
                                                                                             and

  Factor X
  Factor X antibodies,
           antibodies, combining
                       combining them
                                 them into
                                      into bispecific
                                           bispecific antibodies
                                                      antibodies and
                                                                 and testing
                                                                     testing them
                                                                             them in
                                                                                  in assays.
                                                                                     assays. Strohl
                                                                                             Strohl




                                                        17
                                                        17

                                                    Appx46
                                                    Appx46
              Case: 22-1461          Document: 25         Page: 34       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 18 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38613




  Rpt. ¶¶
  Rpt.    202–224. 5 Once
       ¶¶ 202-224.5  Once the
                          the scientists
                              scientists had
                                         had discovered
                                             discovered aa candidate
                                                           candidate worthy
                                                                     worthy of
                                                                            of testing
                                                                               testing in
                                                                                       in animals
                                                                                          animals and
                                                                                                  and

  then in
  then    humans, they
       in humans, they engaged
                       engaged in
                               in antibody
                                  antibody engineering
                                           engineering to
                                                       to refine
                                                          refine and
                                                                 and optimize
                                                                     optimize the
                                                                              the candidate
                                                                                  candidate

  antibody. Id.
  antibody.     ¶¶ 208-210;
            Id. ¶¶ 208–210; Strohl Decl., Ex.
                            Strohl Decl.,     2, ECF
                                          Ex. 2,     No. 413-1,
                                                 ECF No. 413-1, Responsive
                                                                Responsive Report,
                                                                           Report, ¶¶
                                                                                   ¶¶ 61-127
                                                                                      61–127

  (Strohl Resp.).
  (Strohl Resp.). In total, "it
                  In total, “it took
                                took 10
                                     10 or
                                        or more
                                           more full-time
                                                full-time Chugai
                                                          Chugai researchers almost 10
                                                                 researchers almost 10 years
                                                                                       years to
                                                                                             to

  construct aa therapeutically
  construct    therapeutically useful
                               useful bispecific
                                      bispecific antibody
                                                 antibody that
                                                          that binds
                                                               binds Factor
                                                                     Factor IX/IXa with one
                                                                            IX/IXa with one arm
                                                                                            arm and
                                                                                                and

  Factor X
  Factor X with
           with the
                the other."
                    other.” Strohl Rpt. ¶ 224.
                            Strohl Rpt.   224.

          The resulting
          The resulting antibody,
                        antibody, emicizumab,
                                  emicizumab, is
                                              is aa humanized
                                                    humanized bispecific
                                                              bispecific antibody
                                                                         antibody that
                                                                                  that mimics
                                                                                       mimics the
                                                                                              the

  function of
  function of Factor
              Factor VIIIa
                     VIIIa by
                           by binding
                              binding to
                                      to Factor
                                         Factor IXa with one
                                                IXa with one of
                                                             of its
                                                                its arms
                                                                    arms and
                                                                         and to
                                                                             to Factor
                                                                                Factor X
                                                                                       X with
                                                                                         with the
                                                                                              the

  other. Young
  other. Young Decl.
               Decl. ¶
                     ¶ 28;
                       28; Strohl Resp. ¶
                           Strohl Resp. ¶ 29.
                                          29. It is the
                                              It is the active
                                                        active ingredient
                                                               ingredient in Hemlibra—the first
                                                                          in Hemlibra—the       and
                                                                                          first and

  only FDA-approved
  only FDA-approved product
                    product for hemophilia A
                            for hemophilia A patients
                                             patients that
                                                      that can be injected
                                                           can be injected under
                                                                           under your
                                                                                 your skin
                                                                                      skin

  (subcutaneously). Young
  (subcutaneously). Young Decl.
                          Decl. ¶
                                ¶ 28;
                                  28; Malackowski
                                      Malackowski Rpt.
                                                  Rpt. at
                                                       at 38.
                                                          38. Hemlibra
                                                              Hemlibra has
                                                                       has been
                                                                           been shown
                                                                                shown to
                                                                                      to

  increase procoagulant
  increase procoagulant activity
                        activity to
                                 to about
                                    about 10%
                                          10% of
                                              of normal
                                                 normal Factor
                                                        Factor VIII
                                                               VIII levels.     Decl. of
                                                                            See Decl.
                                                                    levels. See       of Stephanie
                                                                                         Stephanie

  A. Smith,
  A. Smith, ECF No. 420,
            ECF No. 420, Ex.
                         Ex. 1
                             1 at
                               at ¶
                                  ¶ 49
                                    49 (citing
                                       (citing Uchida
                                               Uchida et
                                                      et al.,
                                                         al., A
                                                              A first-in-human
                                                                 first-in-human phase
                                                                                phase 1
                                                                                      1 study
                                                                                        study of
                                                                                              of

  ACE910, aa novel
  ACE910,    novelfactor
                   factor VIII-mimetic
                          VIII-mimetic bispecific antibody, in
                                       bispecific antibody,    healthy subject,
                                                            in healthy          Blood 127(13):1633-
                                                                       subject, Blood 127(13):1633–

  1641 (2016));
  1641 (2016)); Id. at Ex.
                Id. at     2, ¶ 44.
                       Ex. 2,   44. This
                                    This is enough to
                                         is enough to move
                                                      move aa patient
                                                              patient from severe hemophilia
                                                                      from severe hemophilia A
                                                                                             A (with
                                                                                               (with

  observed Factor
  observed Factor VIII
                  VIII activity
                       activity less than 1%)
                                less than 1%) to
                                              to at
                                                 at least
                                                    least aa moderate
                                                             moderate category (with observed
                                                                      category (with observed factor
                                                                                              factor

  VIII activity
  VIII activity between
                between 1-5%)
                        1–5%) or
                              or even
                                 even aa mild
                                         mild category
                                              category (with
                                                       (with observed
                                                             observed factor
                                                                      factor VIII
                                                                             VIII activity
                                                                                  activity between
                                                                                           between

  5–40%).
  5-40%).     See Smith
              See       Decl., Ex.
                  Smith Decl.,     2, ¶ 44;
                               Ex. 2,   44; Krishnaswamy
                                            Krishnaswamy Rpt.
                                                         Rpt. ¶
                                                              ¶ 117 (showing severity
                                                                117 (showing severity

  classifications).
  classifications).




  5
  5
           The work
           The work conducted    by Chugai's
                      conducted by  Chugai’s scientists
                                               scientists to
                                                          to discover
                                                             discover emicizumab    also is
                                                                      emicizumab also    is documented
                                                                                            documented inin
  literature. See
  literature.   See Sampei     Article; see
                      Sampei Article;         also Sampei
                                         see also    Sampei et    al. (2013)
                                                               et al. (2013) Discussion,
                                                                               Discussion, available
                                                                                              available at
                                                                                                         at
  https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0057479
  ht09s://journals.plos.org/plosone/article?id=                                      (explaining that
                                                   10.1371/journal.pone.0057479 (explaining       that "the
                                                                                                       “the
  lead bispecific
  lead  bispecific antibody
                   antibody was
                            was identified
                                 identified from  approximately 40,000
                                            from approximately    40,000 different  bispecific antibodies"
                                                                          different bispecific antibodies”
  and "[b]ispecific
  and  “[b]ispecific antibodies
                      antibodies meeting
                                 meeting the
                                           the criteria
                                               criteria for
                                                        for FVIII
                                                             FVIII cofactor
                                                                   cofactor activity
                                                                            activity were
                                                                                      were extremely
                                                                                            extremely rare
                                                                                                       rare
  (<0.3%)”).
  (<0.3%)").
                                                     18
                                                     18

                                                 Appx47
                                                 Appx47
              Case: 22-1461         Document: 25         Page: 35      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 19 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38614




         On November
         On November 16,
                     16, 2017,
                         2017, the
                               the FDA
                                   FDA approved
                                       approved Hemlibra
                                                Hemlibra for
                                                         for routine prophylaxis to
                                                             routine prophylaxis to prevent
                                                                                    prevent or
                                                                                            or

  reduce the
  reduce the frequency of bleeding
             frequency of bleeding episodes
                                   episodes in adult and
                                            in adult and pediatric
                                                         pediatric patients
                                                                   patients with
                                                                            with hemophilia
                                                                                 hemophilia A
                                                                                            A with
                                                                                              with

  Factor-VIII inhibitors.
  Factor-VIII inhibitors. Young
                          Young Decl.
                                Decl. ¶
                                      ¶ 28. On October
                                        28. On October 4,
                                                       4, 2018,
                                                          2018, the
                                                                the FDA
                                                                    FDA approved
                                                                        approved Hemlibra
                                                                                 Hemlibra for
                                                                                          for

  non-inhibitor patients.
  non-inhibitor patients. Id.
                          Id.

                                     V.
                                     V.    Enablement
                                           Enablement Standard
                                                      Standard

         A patent
         A patent claim
                  claim is presumed enabled
                        is presumed         unless proven
                                    enabled unless proven otherwise
                                                          otherwise by
                                                                    by clear
                                                                       clear and
                                                                             and convincing
                                                                                 convincing

  evidence. 35
  evidence. 35 U.S.C.
               U.S.C. §
                      § 282;
                        282; Ormco
                             Ormco Corp.
                                   Corp. v. Align Tech.,
                                         v. Align              498 F.3d
                                                         Inc., 498
                                                  Tech., Inc.,     F.3d 1307,
                                                                        1307, 1318
                                                                              1318 (Fed.
                                                                                   (Fed. Cir.
                                                                                         Cir.

  2007). The
  2007).     central question
         The central question for
                              for enablement
                                  enablement is whether the
                                             is whether the specification
                                                            specification enables
                                                                          enables the
                                                                                  the full
                                                                                      full scope
                                                                                           scope of
                                                                                                 of

  its claims
  its claims without
             without undue
                     undue experimentation.
                           experimentation. Plant
                                            Plant Genetic Sys., N.V.
                                                  Genetic Sys., N.V. v. DeKalb Genetics
                                                                     v. DeKalb Genetics Corp., 315
                                                                                        Corp., 315

  F.3d 1335,
  F.3d 1335, 1339
             1339 (Fed. Cir. 2003).
                  (Fed. Cir. 2003). "Enablement
                                    “Enablement is not precluded
                                                is not precluded where
                                                                 where aa ‘reasonable’ amount of
                                                                          `reasonable' amount of

  routine experimentation
  routine experimentation is
                          is required to practice
                             required to practice aa claimed invention.” ALZA
                                                     claimed invention." ALZA Corp.
                                                                              Corp. v. Andrx Pharm.,
                                                                                    v. Andrx Pharm.,

  LLC, 603
  LLC,     F.3d 935,
       603 F.3d 935, 940
                     940 (Fed. Cir. 2010).
                         (Fed. Cir. 2010). To
                                           To evaluate whether the
                                              evaluate whether the patent
                                                                   patent enables
                                                                          enables aa person
                                                                                     person of
                                                                                            of

  ordinary skill
  ordinary skill in
                 in the
                    the art
                        art to
                            to practice
                               practice the
                                        the invention without undue
                                            invention without undue experimentation,
                                                                    experimentation, courts consider aa
                                                                                     courts consider

  non-exclusive list
  non-exclusive      of items,
                list of        often referred
                        items, often referred to
                                              to as
                                                 as the
                                                    the Wands
                                                        Wands factors: “(1) the
                                                              factors: "(1) the quantity of
                                                                                quantity of

  experimentation necessary,
  experimentation necessary, (2)
                             (2) the
                                 the amount
                                     amount of
                                            of direction
                                               direction or
                                                         or guidance
                                                            guidance presented,
                                                                     presented, (3)
                                                                                (3) the
                                                                                    the presence
                                                                                        presence or
                                                                                                 or

  absence of
  absence of working
             working examples,
                     examples, (4)
                               (4) the
                                   the nature
                                       nature of
                                              of the
                                                 the invention,
                                                     invention, (5)
                                                                (5) the
                                                                    the state
                                                                        state of
                                                                              of the
                                                                                 the prior
                                                                                     prior art,
                                                                                           art, (6)
                                                                                                (6) the
                                                                                                    the

  relative skill
  relative skill of
                 of those
                    those in the art,
                          in the art, (7)
                                      (7) the
                                          the predictability
                                              predictability or
                                                             or unpredictability
                                                                unpredictability of
                                                                                 of the
                                                                                    the art,
                                                                                        art, and
                                                                                             and (8)
                                                                                                 (8) the
                                                                                                     the

  breadth of
  breadth of the
             the claims.” In re
                 claims." In re Wands, 858 F.2d
                                Wands, 858 F.2d 731, 737 (Fed.
                                                731, 737 (Fed. Cir.
                                                               Cir. 1988). A court
                                                                    1988). A court need
                                                                                   need not
                                                                                        not consider
                                                                                            consider

  each of
  each of the
          the Wands factors, for
              Wands factors,     they "are
                             for they “are illustrative,
                                           illustrative, not
                                                         not mandatory."
                                                             mandatory.” Amgen,
                                                                         Amgen, Inc.
                                                                                Inc. v.
                                                                                     v. Chugai
                                                                                        Chugai

         Co., 927
  Pharm. Co.,
  Pharm.          F.2d 1200,
              927 F.2d 1200, 1213
                             1213 (Fed.
                                  (Fed. Cir.
                                        Cir. 1991).
                                             1991).




                                                   19
                                                   19

                                               Appx48
                                               Appx48
              Case: 22-1461          Document: 25         Page: 36       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 20 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38615




                          VI.
                          VI.    Undisputed Facts
                                 Undisputed Facts Relevant
                                                  Relevant to
                                                           to Enablement
                                                              Enablement

          The following
          The           are undisputed
              following are undisputed material
                                       material facts,
                                                facts, based
                                                       based on
                                                             on the
                                                                the patent
                                                                    patent claims,
                                                                           claims, the
                                                                                   the specification,
                                                                                       specification,

  the court's
  the court’s claim
              claim construction
                    construction order,
                                 order, Genentech's
                                        Genentech’s Motion
                                                    Motion for
                                                           for Summary
                                                               Summary Judgment, Baxalta’s
                                                                       Judgment, Baxalta's

  response, and
  response, and the
                the parties'
                    parties’ stipulation
                             stipulation dated
                                         dated December
                                               December 3,
                                                        3, 2021:
                                                           2021:

  1.
  1.      Claim 1
          Claim 1 of
                  of the
                     the ’590 patent encompasses
                         '590 patent encompasses any
                                                 any isolated antibody or
                                                     isolated antibody or antibody
                                                                          antibody fragment
                                                                                   fragment thereof
                                                                                            thereof

          that binds
          that binds Factor
                     Factor IX
                            IX or
                               or Factor
                                  Factor IXa and increases
                                         IXa and           the procoagulant
                                                 increases the procoagulant activity
                                                                            activity of
                                                                                     of Factor
                                                                                        Factor IXa by
                                                                                               IXa by

          any amount.
          any amount. See Claim Construction
                      See Claim Construction Order
                                             Order at
                                                   at 29.
                                                      29.

  2.
  2.      The number
          The number of
                     of candidate
                        candidate antibodies
                                  antibodies or
                                             or antibody
                                                antibody fragments within the
                                                         fragments within the scope
                                                                              scope of
                                                                                    of claim
                                                                                       claim 1
                                                                                             1 is
                                                                                               is

          high, "encompassing
          high, “encompassing millions
                              millions of
                                       of different structural formats,
                                          different structural          binding epitopes,
                                                               formats, binding epitopes, binding
                                                                                          binding

          affinities, and
          affinities, and mechanisms
                          mechanisms of
                                     of action."
                                        action.” Garcia
                                                 Garcia Rpt.
                                                        Rpt. ¶
                                                             ¶ 215.
                                                               215. The specification discloses
                                                                    The specification discloses

          working examples
          working examples of
                           of only
                              only eleven antibodies that
                                   eleven antibodies that satisfy
                                                          satisfy claim
                                                                  claim 1.
                                                                        1. See
                                                                           See Joint
                                                                               Joint Stip. ¶ 14.
                                                                                     Stip. ¶ 14.

  3.
  3.      The structural
          The structural breadth
                         breadth of
                                 of claim
                                    claim 11 is
                                             is illustrated by its
                                                illustrated by its dependent
                                                                   dependent claims.
                                                                             claims. The
                                                                                     The dependent
                                                                                         dependent

          claims show
          claims show that
                      that claim 1 is
                           claim 1 is not
                                      not specific
                                          specific to
                                                   to any
                                                      any particular
                                                          particular isotype
                                                                     isotype of
                                                                             of the
                                                                                the antibody
                                                                                    antibody or
                                                                                             or antibody
                                                                                                antibody

          fragment and
          fragment and includes
                       includes antibodies
                                antibodies that
                                           that have
                                                have been
                                                     been genetically
                                                          genetically engineered into different
                                                                      engineered into different

          structural formats.
          structural formats.

                  a. Dependent
                  a. Dependent claims
                               claims 3
                                      3 and
                                        and 20,
                                            20, define
                                                define Markush groups 6 and
                                                       Markush groups6  and include
                                                                            include antibodies
                                                                                    antibodies of
                                                                                               of

                      the IgA,
                      the IgA, IgE,
                               IgE, IgG and IgM
                                    IgG and     isotypes that
                                            IgM isotypes that are
                                                              are within
                                                                  within the
                                                                         the scope
                                                                             scope of
                                                                                   of claim
                                                                                      claim 1.
                                                                                            1. Claim
                                                                                               Claim

                      1 also
                      1 also includes
                             includes the
                                      the fifth principal isotype,
                                          fifth principal isotype, IgD, because claim
                                                                   IgD, because       1 is
                                                                                claim 1 is not
                                                                                           not limited
                                                                                               limited

                      by isotype.
                      by              Def.’s Mot.
                                  See Def.'s
                         isotype. See        Mot. at
                                                  at 18;
                                                     18; Marasco
                                                         Marasco Dep.
                                                                 Dep. Tr.
                                                                      Tr. at
                                                                          at 103:12-104:9.
                                                                             103:12–104:9. The
                                                                                           The

                      patent does
                      patent does not
                                  not disclose
                                      disclose working
                                               working examples
                                                       examples of
                                                                of three
                                                                   three of
                                                                         of these
                                                                            these isotypes:
                                                                                  isotypes: IgD,
                                                                                            IgD, IgA,
                                                                                                 IgA,




  66
          “A Markush
          "A  Markush group
                         group lists
                                lists specified
                                      specified alternatives
                                                alternatives in
                                                             in aa patent
                                                                   patent claim,
                                                                          claim, typically
                                                                                 typically in the form:
                                                                                           in the form: aa
  member selected
  member    selected from  the group
                     from the  group consisting   of A,
                                       consisting of A, B,
                                                         B, and
                                                            and C."
                                                                 C.” Gillette
                                                                     Gillette Co.
                                                                              Co. v. Energizer Holdings,
                                                                                  v. Energizer  Holdings,
        405 F.3d
  Inc., 405
  Inc.,       F.3d 1367,
                     1367, 1372
                              1372 (Fed.
                                       (Fed. Cir.
                                              Cir. 2005)
                                                     2005) (citing
                                                             (citing toto Manual
                                                                          Manual of  of Patent
                                                                                        Patent Examining
                                                                                               Examining
  Procedure §
  Procedure   § 803.2
                803.2 (2004)).
                       (2004)).
                                                    20
                                                    20

                                                Appx49
                                                Appx49
            Case: 22-1461        Document: 25         Page: 37      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 21
Case 1:17-cv-00509-TBD Document 573-1                     21 of 47 PagelD
                                                                   PageID #: 38616




                   and IgE.
                   and IgE.        Marasco Dep.
                               See Marasco
                               See         Dep. Tr. at 102:08-22;
                                                Tr. at 102:08–22; 105:06-09;
                                                                  105:06–09; 105:20-106:12.
                                                                             105:20–106:12.

                   The two
                   The two isotypes
                           isotypes represented by working
                                    represented by working examples
                                                           examples are
                                                                    are those
                                                                        those that
                                                                              that are
                                                                                   are most
                                                                                       most

                   commonly present
                   commonly present in high proportion
                                    in high proportion in
                                                       in the
                                                          the blood
                                                              blood at
                                                                    at the
                                                                       the early stages of
                                                                           early stages of an
                                                                                           an

                   immune response.
                   immune response. Marasco
                                    Marasco Rpt.
                                            Rpt. ¶
                                                 ¶ 71;
                                                   71; Strohl Rpt. ¶
                                                       Strohl Rpt. ¶ 37.
                                                                     37. Using
                                                                         Using the
                                                                               the teachings
                                                                                   teachings of
                                                                                             of

                   the ‘590
                   the      patent, it
                       `590 patent, it would
                                       would be
                                             be rare
                                                rare to
                                                     to discover
                                                        discover antibodies
                                                                 antibodies of
                                                                            of the
                                                                               the IgA and IgE
                                                                                   IgA and IgE

                   isotypes, as
                   isotypes, as the
                                the vast
                                    vast majority
                                         majority of
                                                  of antibodies,
                                                     antibodies, 75
                                                                 75 percent,
                                                                    percent, exist
                                                                             exist as
                                                                                   as IgG
                                                                                      IgG and
                                                                                          and IgM
                                                                                              IgM

                   isotypes. It
                   isotypes.    would be
                             It would be rarer
                                         rarer still
                                               still to
                                                     to discover IgD antibodies
                                                        discover IgD antibodies using
                                                                                using the
                                                                                      the teachings
                                                                                          teachings

                   of the
                   of the ’590 patent, since
                          '590 patent, since they
                                             they do
                                                  do not
                                                     not circulate
                                                         circulate in
                                                                   in the
                                                                      the bloodstream
                                                                          bloodstream but
                                                                                      but are
                                                                                          are instead
                                                                                              instead

                   bound to
                   bound to the
                            the exterior
                                exterior membranes
                                         membranes of
                                                   of immune-system
                                                      immune-system cells.     Marasco Dep.
                                                                           See Marasco
                                                                    cells. See         Dep.

                   Tr. at
                   Tr. at 104:13-105:5.
                          104:13–105:5.

               b. Dependent
               b. Dependent claims
                            claims 4
                                   4 and
                                     and 19
                                         19 define
                                            define Markush
                                                   Markush groups that include
                                                           groups that         various types
                                                                       include various types

                   of antibodies,
                   of antibodies, namely
                                  namely monoclonal
                                         monoclonal antibodies,
                                                    antibodies, chimeric
                                                                chimeric antibodies,
                                                                         antibodies, humanized
                                                                                     humanized

                   antibodies, single
                   antibodies, single chain
                                      chain antibodies
                                            antibodies (such
                                                       (such as
                                                             as scFvs),
                                                                scFvs), bispecific
                                                                        bispecific antibodies,
                                                                                   antibodies, and
                                                                                               and

                   diabodies, as
                   diabodies, as well
                                 well as
                                      as dimers,
                                         dimers, oligomers,
                                                 oligomers, and
                                                            and multimers
                                                                multimers thereof.
                                                                          thereof. The
                                                                                   The ’590 patent
                                                                                       '590 patent

                   does not
                   does not disclose working examples
                            disclose working          of seven
                                             examples of seven of
                                                               of the
                                                                  the nine
                                                                      nine structural
                                                                           structural formats
                                                                                      formats in
                                                                                              in

                   the Markush
                   the         group of
                       Markush group of claims
                                        claims 4
                                               4 and
                                                 and 19: chimeric antibodies,
                                                     19: chimeric antibodies, humanized
                                                                              humanized

                   antibodies, bispecific
                   antibodies, bispecific antibodies,
                                          antibodies, diabodies,
                                                      diabodies, and
                                                                 and dimers,
                                                                     dimers, oligomers
                                                                             oligomers and
                                                                                       and

                   multimers thereof.
                   multimers thereof.         Marasco Dep.
                                          See Marasco
                                          See         Dep. Tr. at 124:24-125:12,126:02-04;
                                                           Tr. at 124:24–125:12,126:02–04;

                   Scheiflinger Dep. Tr.
                   Scheiflinger Dep.     at 66:16-17.
                                     Tr. at 66:16–17.

  4.
  4.    Claim 1
        Claim 1 also
                also is functionally broad.
                     is functionally broad. An
                                            An antibody
                                               antibody that
                                                        that increases the amount
                                                             increases the amount of
                                                                                  of procoagulant
                                                                                     procoagulant

        activity by
        activity by the
                    the same
                        same amount
                             amount as
                                    as Factor
                                       Factor VIII
                                              VIII does
                                                   does (at
                                                        (at least 40%) is
                                                            least 40%)    within the
                                                                       is within the scope
                                                                                     scope of
                                                                                           of the
                                                                                              the

        asserted claims.
        asserted claims. See Marasco Dep.
                         See Marasco Dep. Tr.
                                          Tr. at
                                              at 236:12-18;
                                                 236:12–18; Cole
                                                            Cole Decl.
                                                                 Decl. vol.
                                                                       vol. 2,
                                                                            2, ECF No. 410-1,
                                                                               ECF No. 410-1,

        Ex. 20, Krishnaswamy
        Ex. 20, Krishnaswamy Dep.
                             Dep. Tr. at 213:17-214:11.
                                  Tr. at 213:17–214:11. The highest estimated
                                                        The highest estimated amount
                                                                              amount by
                                                                                     by which
                                                                                        which



                                                21
                                                21

                                             Appx50
                                             Appx50
              Case: 22-1461          Document: 25         Page: 38        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 22 of 47 Pagel[
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38617




         any antibody
         any antibody disclosed
                      disclosed in
                                in the
                                   the ’590 patent increased
                                       '590 patent increased the
                                                             the procoagulant
                                                                 procoagulant activity
                                                                              activity of
                                                                                       of Factor
                                                                                          Factor IXa
                                                                                                 IXa

         was by
         was by 3.75%
                3.75% (antibody
                      (antibody 198/A1)—far
                                198/A1)—far less
                                            less than 40%. 7 See
                                                 than 40%.7      Krishnaswamy Rpt.
                                                             See Krishnaswamy Rpt. 'm¶
                                                                                    ¶¶ 122-
                                                                                       122–

         123. The
         123. The 3.75%
                  3.75% would
                        would only
                              only be
                                   be capable
                                      capable of
                                              of moving
                                                 moving aa patient
                                                           patient with
                                                                   with hemophilia
                                                                        hemophilia A
                                                                                   A classified
                                                                                     classified

         as severe
         as severe to
                   to aa moderate
                         moderate classification,
                                  classification, pursuant
                                                  pursuant to
                                                           to the
                                                              the below
                                                                  below chart
                                                                        chart upon
                                                                              upon which
                                                                                   which both
                                                                                         both parties'
                                                                                              parties’

         experts rely.
         experts rely.

                   Factor VIII Activity                           Classification
                   < 0.01 IU/mL (< 1% of normal)                  Severe
                   0.01 — 0.05 IU/mL (1%-5% of normal)            Moderate
                   > 0.05 — < 0.40 IU/mL (>5% — <40% of normal)   Mild


             Krishnaswamy Rpt.
         See Krishnaswamy
         See              Rpt. 7¶¶ 117;
                                   117; Sheehan
                                        Sheehan Rpt.
                                                Rpt. ¶
                                                     ¶ 99.
                                                       99. The
                                                           The specification
                                                               specification does
                                                                             does not
                                                                                  not disclose
                                                                                      disclose an
                                                                                               an

         antibody or
         antibody or antibody
                     antibody fragment
                              fragment that
                                       that is
                                            is therapeutically
                                               therapeutically useful
                                                               useful for
                                                                      for moving
                                                                          moving someone
                                                                                 someone suffering
                                                                                         suffering

         from aa severe
         from    severe case
                        case of
                             of hemophilia
                                hemophilia A
                                           A to
                                             to aa mild
                                                   mild case.
                                                        case. Patients
                                                              Patients with
                                                                       with severe
                                                                            severe conditions
                                                                                   conditions

         represent about
         represent about 60
                         60 percent
                            percent of
                                    of hemophilia
                                       hemophilia A
                                                  A cases.
                                                    cases. Malackowski
                                                           Malackowski Rpt.
                                                                       Rpt. at
                                                                            at 22.
                                                                               22.

  5.
  5.     Claim 1
         Claim 1 also
                 also includes
                      includes antibodies
                               antibodies or
                                          or antibody
                                             antibody fragments
                                                      fragments that
                                                                that are
                                                                     are capable
                                                                         capable of
                                                                                 of increasing
                                                                                    increasing the
                                                                                               the

         procoagulant activity
         procoagulant activity of
                               of Factor
                                  Factor IXa
                                         IXa in
                                             in the
                                                the presence
                                                    presence of
                                                             of inhibitors
                                                                inhibitors (as
                                                                           (as specified
                                                                               specified in
                                                                                         in claim
                                                                                            claim 2).
                                                                                                  2).

         The specification
         The specification states
                           states that
                                  that the
                                       the objective
                                           objective of
                                                     of the
                                                        the patent
                                                            patent is
                                                                   is "to
                                                                      “to provide
                                                                          provide aa preparation
                                                                                     preparation for
                                                                                                 for the
                                                                                                     the

         treatment of
         treatment of blood
                      blood coagulation
                            coagulation disorders
                                        disorders which
                                                  which has
                                                        has particular
                                                            particular advantages
                                                                       advantages for
                                                                                  for factor
                                                                                      factor VIII
                                                                                             VIII

         inhibitor patients."
         inhibitor patients.” ’590 patent, col.
                              '590 patent, col. 2,
                                                2, 11.25-28;
                                                   ll. 25–28; id. at col.
                                                              id. at col. 2,
                                                                          2, 11.
                                                                             ll. 29-45.
                                                                                 29–45.

  6.
  6.     The ’590
         The      patent discloses
             '590 patent discloses only
                                   only one
                                        one working
                                            working example
                                                    example of
                                                            of an
                                                               an antibody
                                                                  antibody shown
                                                                           shown to
                                                                                 to increase
                                                                                    increase the
                                                                                             the

         procoagulant activity
         procoagulant activity of
                               of Factor
                                  Factor IXa
                                         IXa in
                                             in the
                                                the presence
                                                    presence of
                                                             of Factor
                                                                Factor VIII
                                                                       VIII inhibitors
                                                                            inhibitors as
                                                                                       as required
                                                                                          required by
                                                                                                   by

         claim 22 (antibody
         claim    (antibody 193/AD3).
                            193/AD3). See Marasco Dep.
                                      See Marasco Dep. Tr.
                                                       Tr. at
                                                           at 122:06-11;
                                                              122:06–11; Marasco
                                                                         Marasco Rpt. ¶ 73.
                                                                                 Rpt. ¶ 73. The
                                                                                            The

         highest amount
         highest amount that
                        that the
                             the 193/AD3
                                 193/AD3 antibody
                                         antibody increased
                                                  increased the
                                                            the procoagulant
                                                                procoagulant activity
                                                                             activity of
                                                                                      of Factor
                                                                                         Factor




  77     The 3.75%
         The  3.75% figure
                     figure does
                            does not
                                 not appear
                                     appear in
                                             in the
                                                the specification;
                                                    specification; aa person
                                                                      person of
                                                                             of ordinary
                                                                                ordinary skill
                                                                                         skill in
                                                                                               in the
                                                                                                  the art
                                                                                                      art
  reading the
  reading the specification
               specification could
                              could derive
                                    derive it
                                            it from
                                               from the
                                                      the information
                                                           information disclosed
                                                                         disclosed in.
                                                                                    in Figure
                                                                                       Figure 25.
                                                                                                25. See
                                                                                                     See
  Krishnaswamy Rpt.
  Krishnaswamy   Rpt. ¶¶ 123.
                         123.
                                                    22
                                                    22

                                                 Appx51
                                                 Appx51
               Case: 22-1461           Document: 25          Page: 39        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 23 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38618




          IXa by
          IXa by was
                 was only
                     only 0.3-0.4%
                          0.3–0.4% equivalent Factor VIII
                                   equivalent Factor VIII activity—a
                                                          activity—a marginal
                                                                     marginal amount.
                                                                              amount. See
                                                                                      See

          Sheehan Rpt. ¶
          Sheehan Rpt. ¶ 99;
                         99; Krishnaswamy
                             Krishnaswamy Rpt.
                                          Rpt. ¶
                                               ¶ 118.
                                                 118.

  7.
  7.      In order
          In order to
                   to treat
                      treat hemophilia
                            hemophilia A
                                       A without
                                         without aa HAMA
                                                    HAMA response,
                                                         response, it
                                                                   it would
                                                                      would be
                                                                            be necessary
                                                                               necessary to
                                                                                         to utilize
                                                                                            utilize

          aa humanized,
             humanized, or
                        or at
                           at least
                              least chimeric, antibody. See
                                    chimeric, antibody. See Strohl Rpt. ¶¶
                                                            Strohl Rpt.    50-56.88 There
                                                                        ¶¶ 50–56.   There are
                                                                                          are no
                                                                                              no

          working examples
          working examples of
                           of humanized
                              humanized or
                                        or chimeric
                                           chimeric antibodies
                                                    antibodies disclosed
                                                               disclosed in
                                                                         in the
                                                                            the patent
                                                                                patent

          specification. See
          specification.     Marasco Dep.
                         See Marasco Dep. Tr. at 124:24-125:12,126:02-04;
                                          Tr. at 124:24–125:12,126:02–04; Scheiflinger Dep. Tr.
                                                                          Scheiflinger Dep. Tr.

          at 66:16–17.
          at 66:16-17.

  8.
  8.      The inventors
          The inventors of
                        of the
                           the ’590 patent performed
                               '590 patent performed their
                                                     their experimentation
                                                           experimentation for
                                                                           for aa period
                                                                                  period of
                                                                                         of three
                                                                                            three to
                                                                                                  to

          four years
          four years and
                     and never
                         never brought
                               brought to
                                       to market
                                          market an
                                                 an antibody
                                                    antibody within
                                                             within the
                                                                    the scope
                                                                        scope of
                                                                              of claim 1 for
                                                                                 claim 1 for the
                                                                                             the

          treatment of
          treatment of hemophilia A. See
                       hemophilia A. See Scheiflinger Dep. Tr.
                                         Scheiflinger Dep.     at 48:25-49:08;
                                                           Tr. at 48:25–49:08; Kerschbaumer
                                                                               Kerschbaumer Dep.
                                                                                            Dep.

          Tr. at
          Tr. at 14:325-15:328;
                 14:325–15:328; Sheehan Rpt. ¶
                                Sheehan Rpt. ¶ 166.
                                               166.

  9.
  9.      Under the
          Under the teachings
                    teachings of
                              of the
                                 the ’590 patent, arriving
                                     '590 patent, arriving at
                                                           at an
                                                              an antibody
                                                                 antibody that
                                                                          that binds
                                                                               binds to
                                                                                     to Factor
                                                                                        Factor IX or
                                                                                               IX or

          IXa and
          IXa and increases the procoagulant
                  increases the procoagulant activity
                                             activity of
                                                      of Factor
                                                         Factor IX is aa multi-step
                                                                IX is    multi-step process,
                                                                                    process, involving
                                                                                             involving

          experimentation at
          experimentation at every
                             every critical
                                   critical step.
                                            step. See
                                                  See infra ¶¶ 10-27.
                                                      infra ¶¶ 10–27.

  10.
  10.     The level
          The       of skill
              level of skill in
                             in the
                                the art
                                    art for
                                        for the
                                            the ’590 patent is
                                                '590 patent    high,99 Pl.'s
                                                            is high,   Pl.’s Opp'n
                                                                             Opp’n at
                                                                                   at 28-29
                                                                                      28–29 (citing
                                                                                            (citing Marasco
                                                                                                    Marasco

          Rpt. ¶¶
          Rpt. ¶¶ 264-265),
                  264–265), and
                            and aa person
                                   person of
                                          of ordinary
                                             ordinary skill
                                                      skill in the art
                                                            in the art would
                                                                       would be
                                                                             be familiar
                                                                                familiar with
                                                                                         with the
                                                                                              the


  8
  8
           See also
           See       Morrison, et
               also Morrison,     et al.,
                                     al., Chimeric   human antibody
                                          Chimeric human      antibody molecules:
                                                                         molecules: mouse
                                                                                     mouse antigen-
                                                                                             antigen- binding
                                                                                                       binding
   domains with
  domains    with human
                   human constant
                             constant region              Proc. Natl.
                                              domains, Proc.
                                       region domains,            Natl. Acad.
                                                                        Acad. Sci. USA 81,
                                                                              Sci. USA   81, 6851-55
                                                                                              6851-55 (1984),
                                                                                                       (1984),
   cited
   cited in Marasco Rpt.
         in Marasco     Rpt. ¶
                             ¶ 286
                               286 n.254.
                                    n.254.
  9
  9
           There is
           There  is no
                     no material
                         material difference
                                   difference between
                                              between thethe parties'
                                                             parties’ descriptions
                                                                       descriptions of
                                                                                    of the
                                                                                       the level
                                                                                           level of
                                                                                                 of skill
                                                                                                    skill in
                                                                                                          in the
                                                                                                             the
  art. See
  art.       Garcia Decl.
        See Garcia    Decl. ¶¶¶¶ 52,
                                 52, 53.  The court
                                      53. The         adopts Baxalta's
                                              court adopts     Baxalta’s definition
                                                                          definition for
                                                                                     for the
                                                                                         the purposes
                                                                                             purposes ofof this
                                                                                                            this
  motion. That
  motion.         is, aa person
            That is,     person of
                                 of ordinary
                                    ordinary skill
                                             skill in this art
                                                   in this art is
                                                               is one
                                                                  one who:
                                                                       who:
                  would have
                  would   have had
                               had an
                                    an advanced
                                        advanced degree
                                                   degree and
                                                          and relevant
                                                              relevant work
                                                                        work experience,
                                                                              experience,
                  either an
                  either an M.D.
                            M.D. and
                                  and several
                                        several years'
                                                years’ experience
                                                       experience practicing
                                                                   practicing in   the area
                                                                                in the  area
                  of hematology
                  of  hematology or or aa Ph.D.
                                          Ph.D. in   a chemical   science-  or   biological
                                                  in a chemical science- or biological
                  science-related discipline.
                  science-related   discipline. This
                                                 This person
                                                       person would
                                                               would have
                                                                        have aa working
                                                                                   working
                  knowledge of
                  knowledge   of experimental
                                 experimental methodologies
                                                 methodologies for
                                                                for detecting
                                                                    detecting the
                                                                               the activity
                                                                                    activity
                  of factors
                  of  factors in
                               in the
                                   the clotting
                                         clotting cascade,
                                                   cascade, measuring
                                                             measuring blood
                                                                          blood clotting
                                                                                    clotting


                                                       23
                                                       23

                                                   Appx52
                                                   Appx52
               Case: 22-1461           Document: 25          Page: 40       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 24 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38619




          technology and
          technology and techniques
                         techniques discussed in the
                                    discussed in the patent
                                                     patent for
                                                            for producing
                                                                producing and
                                                                          and testing
                                                                              testing antibodies
                                                                                      antibodies

          generally, Marasco
          generally, Marasco Rpt.
                             Rpt. ¶¶
                                  ¶¶ 264-265.
                                     264–265. But
                                              But it
                                                  it would
                                                     would not
                                                           not be
                                                               be possible
                                                                  possible for
                                                                           for aa person
                                                                                  person skilled
                                                                                         skilled in
                                                                                                 in

          the art
          the art to
                  to predict
                     predict which
                             which antibodies
                                   antibodies would
                                              would satisfy the claim
                                                    satisfy the claim limitations
                                                                      limitations without
                                                                                  without trial-and-
                                                                                          trial-and-

          error testing.
          error testing. See
                         See Scheiflinger Dep. Tr.
                             Scheiflinger Dep.     at 92:15-93:3;
                                               Tr. at 92:15–93:3; Marasco
                                                                  Marasco Dep.
                                                                          Dep. Tr. at 205:04-19;
                                                                               Tr. at 205:04–19;

          Krishnaswamy Dep.
          Krishnaswamy Dep. Tr.
                            Tr. at
                                at 168:09–168:19.
                                   168:09-168:19.

  11.
  11.     There is
          There is no
                   no guidance
                      guidance or
                               or direction
                                  direction in
                                            in the
                                               the specification of the
                                                   specification of the ’590 patent as
                                                                        '590 patent as to
                                                                                       to how
                                                                                          how to
                                                                                              to identify
                                                                                                 identify

          antibodies that
          antibodies that satisfy the claim
                          satisfy the claim limitations
                                            limitations except
                                                        except by
                                                               by using
                                                                  using trial
                                                                        trial and
                                                                              and error.
                                                                                  error. See Marasco
                                                                                         See Marasco

          Dep. Tr.
          Dep.     at 205:04-19;
               Tr. at 205:04–19; Krishnaswamy
                                 Krishnaswamy Dep.
                                              Dep. Tr. at 168:09–168:19;
                                                   Tr. at 168:09-168:19; Scheiflinger Dep. Tr.
                                                                         Scheiflinger Dep.     at
                                                                                           Tr. at

          92:15–93:3.
          92:15-93:3.

  12.
  12.     “The only
          "The only way
                    way to
                        to know
                           know [what antibodies bind
                                [what antibodies bind as
                                                      as well
                                                         well as
                                                              as function as needed]
                                                                 function as needed] is
                                                                                     is to
                                                                                        to make
                                                                                           make

          antibodies and
          antibodies and test
                         test them."
                              them.” Krishnaswamy
                                     Krishnaswamy Dep.
                                                  Dep. Tr. at 168:20-169:02;
                                                       Tr. at 168:20–169:02; Marasco
                                                                             Marasco Dep.
                                                                                     Dep. Tr.
                                                                                          Tr. at
                                                                                              at

          218:23–219:04. 10 The
          218:23-219:04.1°  The ’590 patent does
                                '590 patent does not
                                                 not describe what structural
                                                     describe what structural or
                                                                              or other
                                                                                 other features of
                                                                                       features of

          the disclosed
          the disclosed antibodies
                        antibodies cause them to
                                   cause them to bind
                                                 bind to
                                                      to Factor
                                                         Factor IX/IXa
                                                                IX/IXa or
                                                                       or to
                                                                          to increase
                                                                             increase the
                                                                                      the procoagulant
                                                                                          procoagulant

          activity of
          activity of Factor
                      Factor IXa.
                             IXa. See Garcia Rpt.
                                  See Garcia Rpt. ¶¶ 130;
                                                     130; Scheiflinger Dep. Tr.
                                                          Scheiflinger Dep.     at 91:23-92:3;
                                                                            Tr. at 91:23–92:3; 97:23-
                                                                                               97:23–

          98:02.
          98:02.




                   capabilities by
                   capabilities by aa variety
                                      variety of
                                               of means,
                                                  means, or
                                                          or would
                                                             would have
                                                                     have general
                                                                          general familiarity
                                                                                    familiarity
                   with basic
                   with  basic concepts
                               concepts in in immunology,
                                              immunology, including
                                                              including basic
                                                                         basic knowledge
                                                                                knowledge of of
                   methods   for making    antibodies  and using  them  as therapeutics.
                   methods for making antibodies and using them as therapeutics. This      This
                   hypothetical person
                   hypothetical  person would
                                           would bebe teamed
                                                      teamed with
                                                               with or
                                                                     or have
                                                                        have access
                                                                              access toto other
                                                                                          other
                   highly skilled
                   highly           individuals with
                           skilled individuals    with advanced
                                                        advanced degrees
                                                                    degrees (e.g.,  Ph.Ds.) in
                                                                             (e.g., Ph.Ds.)  in
                   other  biological    disciplines  such   as  immunology
                   other biological disciplines such as immunology or           or   molecular
                                                                                     molecular
                   biology who
                   biology  who had
                                 had several    years’ experience
                                       several years'  experience with
                                                                    with methods
                                                                         methods to to produce
                                                                                       produce
                   antibodies that
                   antibodies  that bind
                                     bind to
                                          to antigens
                                              antigens of
                                                       of interest.
                                                          interest.
      ¶ 53;
  Id. ¶
  Id.       Marasco Rpt.
        53; Marasco       Rpt. ¶¶ 264.
                                  264.
  10      “Q. .. .. .. [T]he
          "Q.          [T]he only
                             only way
                                   way that
                                       that the
                                            the patent
                                                patent teaches
                                                       teaches aa person
                                                                  person of
                                                                         of ordinary
                                                                            ordinary skill
                                                                                     skill how
                                                                                           how to
                                                                                               to tell
                                                                                                  tell whether
                                                                                                       whether
  aa given   antibody to
     given antibody     to Factor
                           Factor IX
                                  IX or
                                      or Factor
                                         Factor IXa,
                                                IXa, in
                                                     in fact, increases the
                                                        fact, increases the procoagulant
                                                                            procoagulant activity
                                                                                          activity of
                                                                                                   of Factor
                                                                                                      Factor
   IXa is
  IXa   is to
           to test
              test that
                   that antibody
                        antibody in
                                  in an
                                     an assay,
                                        assay, correct?
                                               correct? A.
                                                         A. That’s  what the
                                                            That's what   the patent
                                                                              patent teaches."
                                                                                     teaches.”
                                                       24
                                                       24

                                                   Appx53
                                                   Appx53
            Case: 22-1461          Document: 25          Page: 41       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 25 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38620




  13.
  13.   At step
        At step one
                one of
                    of the
                       the multi-step
                           multi-step process
                                      process for producing antibodies
                                              for producing antibodies that
                                                                       that bind
                                                                            bind to
                                                                                 to Factor
                                                                                    Factor IX
                                                                                           IX or
                                                                                              or IXa
                                                                                                 IXa

        and increase
        and increase the
                     the procoagulant
                         procoagulant activity
                                      activity of
                                               of Factor
                                                  Factor IXa, the specification
                                                         IXa, the specification discloses
                                                                                discloses how
                                                                                          how to
                                                                                              to

        produce antibodies
        produce antibodies using
                           using one
                                 one of
                                     of several
                                        several methods
                                                methods known in the
                                                        known in the prior
                                                                     prior art
                                                                           art "(e.g.,
                                                                               “(e.g., by
                                                                                       by

        conventional hybridoma
        conventional hybridoma techniques,
                               techniques, or
                                           or by
                                              by means
                                                 means of
                                                       of phage
                                                          phage display
                                                                display gene
                                                                        gene libraries,
                                                                             libraries,

        immunoglobulin chain
        immunoglobulin chain shuffling
                             shuffling or
                                       or humanizing)."
                                          humanizing).” ’590 patent, col.
                                                        '590 patent, col. 7, l. 66–col.
                                                                          7, 1. 66—col. 9, l. 10.
                                                                                        9, 1. 10.

  14.
  14.   The antibodies
        The antibodies disclosed in the
                       disclosed in the ’590 patent were
                                        '590 patent were generated
                                                         generated using
                                                                   using the
                                                                         the "hybridoma"
                                                                             “hybridoma”

        technique, as
        technique, as shown
                      shown in
                            in Example 1. See
                               Example 1. See Joint
                                              Joint Stip. ¶¶ 1,
                                                    Stip. ¶¶ 1, 6;
                                                                6; ’590 patent, col.
                                                                   '590 patent, col. 9,
                                                                                     9, 1.
                                                                                        l. 66–col.
                                                                                           66—col.

        10, 1.
        10, l. 37.
               37.

  15.
  15.   In the
        In the hybridoma
               hybridoma process,
                         process, mice
                                  mice in
                                       in groups
                                          groups of
                                                 of one
                                                    one to
                                                        to three
                                                           three are
                                                                 are injected
                                                                     injected with
                                                                              with Factor
                                                                                   Factor IX
                                                                                          IX or
                                                                                             or IXa
                                                                                                IXa

        over aa period
        over    period of
                       of days.
                          days. Joint
                                Joint Stip. ¶¶ 3,
                                      Stip. ¶¶ 3, 7;
                                                  7; ’590 patent, col.
                                                     '590 patent,      9, 1.
                                                                  col. 9, l. 66–col. 10, 1.
                                                                             66—col. 10, l. 8.
                                                                                            8.

  16.
  16.   The mouse's
        The mouse’s immune
                    immune system
                           system responds
                                  responds to
                                           to the
                                              the Factor
                                                  Factor IX injections by
                                                         IX injections by producing
                                                                          producing B-cells
                                                                                    B-cells in
                                                                                            in

        its spleen
        its spleen that
                   that secrete
                        secrete antibodies
                                antibodies against
                                           against the
                                                   the human
                                                       human antigen.
                                                             antigen. Joint
                                                                      Joint Stip. ¶ 3.
                                                                            Stip. ¶ 3. Each B-cell
                                                                                       Each B-cell

        produces only
        produces only aa single
                         single antibody.
                                antibody. Id.
                                          Id. It is not
                                              It is not possible
                                                        possible to
                                                                 to predict
                                                                    predict whether
                                                                            whether aa mouse
                                                                                       mouse used
                                                                                             used to
                                                                                                  to

        make hybridomas
        make hybridomas will
                        will produce
                             produce antibodies
                                     antibodies that
                                                that satisfy
                                                     satisfy the
                                                             the claim
                                                                 claim requirements.
                                                                       requirements.             See
                                                                                                 See

        Scheiflinger Dep. Tr.
        Scheiflinger Dep. Tr. at
                              at 92:15-93:03.
                                 92:15–93:03.

  17.
  17.   Each mouse is
        Each mouse    then euthanized,
                   is then euthanized, and
                                       and its
                                           its spleen
                                               spleen cells
                                                      cells removed.
                                                            removed. See
                                                                     See ’590 patent, col.
                                                                         '590 patent,      10, 1.
                                                                                      col. 10, l. 8-
                                                                                                  8–

        9; Joint
        9; Joint Stip. ¶ 4.
                 Stip. ¶ 4. In
                            In order
                               order to
                                     to enable murine antibodies
                                        enable murine antibodies to
                                                                 to survive
                                                                    survive and
                                                                            and to
                                                                                to replicate
                                                                                   replicate

        themselves sufficiently
        themselves sufficiently for
                                for further experimentation, the
                                    further experimentation, the spleen
                                                                 spleen cells
                                                                        cells are
                                                                              are fused
                                                                                  fused with
                                                                                        with

        myeloma (cancer)
        myeloma (cancer) cells
                         cells through
                               through aa process
                                          process known
                                                  known in the prior
                                                        in the prior art.
                                                                     art. ’590 patent, col.
                                                                          '590 patent, col. 10,
                                                                                            10, 1.
                                                                                                l. 9-
                                                                                                   9–

        11; Joint
        11; Joint Stip. ¶ 5.
                  Stip. ¶ 5. The
                             The inventors performed and
                                 inventors performed and disclosed in the
                                                         disclosed in the ’590 patent at
                                                                          '590 patent at least
                                                                                         least four
                                                                                               four

        such "fusion"
        such “fusion” experiments, which they
                      experiments, which they labeled
                                              labeled #193, 195, 196,
                                                      #193, 195, 196, and
                                                                      and 198.
                                                                          198. Joint
                                                                               Joint Stip. ¶8
                                                                                     Stip. ¶ 8

        (citing ’590
        (citing      patent, col.
                '590 patent,      10, 11.
                             col. 10, ll. 11-13).
                                          11–13).




                                                    25
                                                    25

                                               Appx54
                                               Appx54
            Case: 22-1461          Document: 25        Page: 42      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 26 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38621
                                                                             38621




  18.
  18.   In each
        In each fusion experiment, after
                fusion experiment, after the
                                         the B-cells
                                             B-cells were
                                                     were fused with the
                                                          fused with the myeloma
                                                                         myeloma cells,
                                                                                 cells, the
                                                                                        the

        resulting hybrid
        resulting hybrid cells, or "hybridomas,"
                         cells, or “hybridomas,” were
                                                 were isolated
                                                      isolated and
                                                               and screened
                                                                   screened using
                                                                            using techniques
                                                                                  techniques

        known in
        known in the
                 the prior
                     prior art
                           art to
                               to determine whether they
                                  determine whether they produce
                                                         produce antibodies
                                                                 antibodies that
                                                                            that bind
                                                                                 bind to
                                                                                      to the
                                                                                         the antigen
                                                                                             antigen

        of interest
        of          (in this
           interest (in this case,
                             case, Factor
                                   Factor IX
                                          IX or
                                             or IXa). See Joint
                                                IXa). See Joint Stip. ¶¶ 5,
                                                                Stip. ¶¶    9; Garcia
                                                                         5, 9; Garcia Rpt.
                                                                                      Rpt. at
                                                                                           at 30,
                                                                                              30, Fig.
                                                                                                  Fig.

        8; ’590
        8;      patent, col.
           '590 patent, col. 10,
                             10, 11.
                                 ll. 14-31.
                                     14–31.

  19.
  19.   Not all
        Not all of
                of the
                   the antibodies
                       antibodies produced
                                  produced at
                                           at step one will
                                              step one will bind
                                                            bind to
                                                                 to Factor
                                                                    Factor IX/IXa. Oral Arg.
                                                                           IX/IXa. Oral Arg. Hr'g
                                                                                             Hr’g

        Tr., ECF
        Tr.,     No. 431
             ECF No. 431 (Hr'g
                         (Hr’g Tr.), at 28:16-18;
                               Tr.), at 28:16–18; Scheiflinger Dep. Tr.
                                                  Scheiflinger Dep. Tr. at
                                                                        at 92:15-93:3.
                                                                           92:15–93:3. Around
                                                                                       Around

        “60% of
        "60% of the
                the hybridoma
                    hybridoma cell
                              cell lines screened expressed
                                   lines screened expressed an
                                                            an FIX-binding
                                                               FIX-binding antibody."
                                                                           antibody.” Garcia
                                                                                      Garcia

        Decl., Ex.
        Decl.,     2, Reply
               Ex. 2, Reply Rpt.
                            Rpt. ¶ 21
                                   21 n.
                                      n. 15
                                         15 (citing
                                            (citing Scheiflinger, F. et
                                                    Scheiflinger, F. et al.,
                                                                        al., Enhancement
                                                                             Enhancement of
                                                                                         of the
                                                                                            the

        enzymatic activity
        enzymatic activity of
                           of activated
                              activated coagulation
                                        coagulation factor
                                                     factor IX
                                                            IX by anti-factor IX
                                                               by anti-factor    antibodies, J.
                                                                              IX antibodies, J.

        Thromb Haemost
        Thromb Haemost 6(2):315–322 (2008)).
                       6(2):315-322 (2008)).

  20.
  20.   Once the
        Once the antibodies
                 antibodies are
                            are filtered to only
                                filtered to only those
                                                 those that
                                                       that bind
                                                            bind to
                                                                 to factor
                                                                    factor IX/IXa, they must
                                                                           IX/IXa, they must undergo
                                                                                             undergo

        additional screening
        additional screening to
                             to determine
                                determine which
                                          which among
                                                among them
                                                      them demonstrate
                                                           demonstrate the
                                                                       the ability
                                                                           ability to
                                                                                   to increase
                                                                                      increase

        the procoagulant
        the procoagulant activity
                         activity of
                                  of Factor
                                     Factor IXa. Garcia Rpt.
                                            IXa. Garcia Rpt. ¶
                                                             ¶ 213;
                                                               213; Marasco
                                                                    Marasco Dep.
                                                                            Dep. Tr.
                                                                                 Tr. at
                                                                                     at 218:23-
                                                                                        218:23–

        219:04.
        219:04.

  21.
  21.   In terms
        In terms of
                 of the
                    the method
                        method used
                               used to
                                    to measure
                                       measure procoagulant
                                               procoagulant activity,
                                                            activity, the
                                                                      the patent
                                                                          patent provides
                                                                                 provides that
                                                                                          that "all
                                                                                               “all

        the methods
        the methods used
                    used for
                         for determining
                             determining Factor
                                         Factor VIII
                                                VIII activity
                                                     activity may
                                                              may be
                                                                  be used."
                                                                     used.” ’590 patent, col.
                                                                            '590 patent, col. 9,
                                                                                              9,

        ll. 22-25;
        11. 22–25; see
                   see also Claim Construction
                       also Claim Construction Order
                                               Order at
                                                     at 29
                                                        29 (construing “increases the
                                                           (construing "increases the procoagulant
                                                                                      procoagulant

        activity of
        activity of Factor
                    Factor IXa” to mean
                           IXa" to mean "[t]he
                                        “[t]he ability
                                               ability of
                                                       of Factor
                                                          Factor IXa to activate
                                                                 IXa to activate Factor
                                                                                 Factor X
                                                                                        X to
                                                                                          to Factor
                                                                                             Factor

        Xa by
        Xa by any
              any amount
                  amount as
                         as determined
                            determined by any assay
                                       by any assay used to measure
                                                    used to measure Factor
                                                                    Factor VIII-like
                                                                           VIII-like activity"
                                                                                     activity”

        (emphasis added)).
        (emphasis added)).

  22.
  22.   The specification
        The specification of
                          of the
                             the ’590 patent recommends
                                 '590 patent recommends the
                                                        the use
                                                            use of
                                                                of aa modified
                                                                      modified version
                                                                               version of
                                                                                       of the
                                                                                          the

        commercially available
        commercially available chromogenic
                               chromogenic test-kit
                                           test-kit called
                                                    called COATEST
                                                           COATEST VIII:C/4®
                                                                   VIII:C/4® (COATEST)
                                                                             (COATEST)



                                                 26
                                                 26

                                              Appx55
                                              Appx55
            Case: 22-1461          Document: 25          Page: 43        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 27 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38622




        for the
        for the hybridoma
                hybridoma screening
                          screening step.
                                    step. See
                                          See ’590 patent, col.
                                              '590 patent,      10, 1.
                                                           col. 10, l. 40—col.
                                                                       40–col. 12,
                                                                               12, 1.
                                                                                   l. 56. The
                                                                                      56. The

        modified protocols
        modified protocols disclosed
                           disclosed in
                                     in the
                                        the examples
                                            examples of
                                                     of the
                                                        the ’590 Patent are
                                                            '590 Patent are significantly
                                                                            significantly different
                                                                                          different

        from the
        from the recommended
                 recommended protocol
                             protocol for
                                      for the
                                          the commercially
                                              commercially available
                                                           available COATEST
                                                                     COATEST test.
                                                                             test. Sheehan
                                                                                   Sheehan

        Rpt. ¶ 150;
        Rpt.   150; Krishnaswamy
                    Krishnaswamy Rpt.
                                 Rpt. ¶¶ 141,
                                         141, 157-161.
                                              157–161. The modifications that
                                                       The modifications that the
                                                                              the inventors
                                                                                  inventors

        made to
        made to the
                the test
                    test were
                         were designed
                              designed to
                                       to make
                                          make the
                                               the test
                                                   test more
                                                        more sensitive.
                                                             sensitive. See Marasco Dep.
                                                                        See Marasco Dep. Tr.
                                                                                         Tr. at
                                                                                             at

        219:5–15. They
        219:5-15.      also made
                  They also made the
                                 the test
                                     test more
                                          more complex and time
                                               complex and time consuming.
                                                                consuming. See
                                                                           See ’590 patent,
                                                                               '590 patent,

        col. 10,
        col. 10, 11.
                 ll. 48-67,
                     48–67, col.
                            col. 15,
                                 15, 11.
                                     ll. 44-45;
                                         44–45; Krishnaswamy
                                                Krishnaswamy Rpt.
                                                             Rpt. ¶ 158;
                                                                    158; Sheehan Rpt. ¶
                                                                         Sheehan Rpt. ¶ 150.
                                                                                        150.

        Whereas the
        Whereas the standard
                    standard COATEST
                             COATEST assay
                                     assay takes
                                           takes minutes,
                                                 minutes, the
                                                          the modification
                                                              modification disclosed
                                                                           disclosed in the
                                                                                     in the

        patent takes
        patent takes several
                     several hours.
                             hours. See
                                    See Sheehan Rpt. ¶
                                        Sheehan Rpt. ¶ 150,
                                                       150, Krishnaswamy
                                                            Krishnaswamy Rpt.
                                                                         Rpt. ¶
                                                                              ¶ 158;
                                                                                158; ’590 patent,
                                                                                     '590 patent,

        col. 10,
        col. 10, 11.
                 ll. 48-67,
                     48–67, col. 15, 11.
                            col. 15, ll. 44-45.
                                         44–45.

  23.
  23.   The inventors
        The inventors of
                      of the
                         the ’590 patent did
                             '590 patent did not
                                             not use
                                                 use any
                                                     any of
                                                         of the
                                                            the other
                                                                other commonly used methods
                                                                      commonly used methods to
                                                                                            to

        screen hybridoma
        screen hybridoma cells
                         cells for procoagulant activity
                               for procoagulant activity and
                                                         and did
                                                             did not
                                                                 not determine
                                                                     determine or
                                                                               or describe
                                                                                  describe in the
                                                                                           in the

        specification what
        specification what modifications
                           modifications would
                                         would be
                                               be necessary
                                                  necessary for those other
                                                            for those other tests
                                                                            tests to
                                                                                  to function.
                                                                                     function. ’590
                                                                                               '590

        patent, co1.9,
        patent, col.9, 11.
                       ll. 22-25;
                           22–25; Garcia
                                  Garcia Rpt.
                                         Rpt. ¶ 220.
                                                220.

  24.
  24.   In an
        In an article
              article published
                      published by
                                by the
                                   the inventors
                                       inventors after
                                                 after the
                                                       the ’590 patent was
                                                           '590 patent was filed, they disclosed
                                                                           filed, they disclosed that
                                                                                                 that

        the vast
        the vast majority
                 majority of
                          of antibodies
                             antibodies produced
                                        produced and
                                                 and screened
                                                     screened in
                                                              in experiments
                                                                 experiments leading up to
                                                                             leading up to the
                                                                                           the

        ’590 patent (98.4%
        '590 patent (98.4% of
                           of them)
                              them) did
                                    did not
                                        not increase the procoagulant
                                            increase the procoagulant activity
                                                                      activity of
                                                                               of Factor
                                                                                  Factor IXa
                                                                                         IXa by
                                                                                             by

        any amount.
        any amount. See Cole Decl.
                    See Cole Decl. vol.
                                   vol. 2,
                                        2, Ex.
                                           Ex. 24,
                                               24, Scheiflinger,
                                                   Scheiflinger, et al., Enhancement
                                                                 et al., Enhancement of
                                                                                     of the
                                                                                        the

        Enzymatic Activity
        Enzymatic Activity of
                           of Activated
                              Activated Coagulation Factor IX
                                        Coagulation Factor IX by Anti-Factor IX
                                                              by Anti-Factor IX Antibodies
                                                                                Antibodies

        (Scheiflinger Article),
        (Scheiflinger Article), at
                                at 320;
                                   320; Marasco
                                        Marasco Dep.
                                                Dep. Tr. at 202:18-21
                                                     Tr. at 202:18–21 (agreeing
                                                                      (agreeing that
                                                                                that the
                                                                                     the inventors
                                                                                         inventors

        reported only
        reported only 1.6%
                      1.6% of
                           of the
                              the antibodies
                                  antibodies had
                                             had procoagulant
                                                 procoagulant activity);
                                                              activity); Marasco
                                                                         Marasco Rpt.
                                                                                 Rpt. ¶
                                                                                      ¶ 262 (“the
                                                                                        262 ("the

        number [of
        number [of antibodies]
                   antibodies] that
                               that would
                                    would activate
                                          activate Factor
                                                   Factor IXa
                                                          IXa such
                                                              such that
                                                                   that there
                                                                        there is an increase
                                                                              is an          in
                                                                                    increase in

        procoagulant activity,
        procoagulant activity, is
                               is aa very,
                                     very, very
                                           very minor
                                                minor sub-fraction.").
                                                      sub-fraction.”).



                                                    27
                                                    27

                                                  Appx56
                                                  Appx56
            Case: 22-1461         Document: 25         Page: 44      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 28 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38623




  25.
  25.   Once the
        Once the inventors discovered antibodies
                 inventors discovered antibodies that
                                                 that increased the procoagulant
                                                      increased the procoagulant activity
                                                                                 activity of
                                                                                          of Factor
                                                                                             Factor

        IXa by
        IXa by screening
               screening the
                         the hybridoma
                             hybridoma cells
                                       cells using
                                             using the
                                                   the modified
                                                       modified COATEST
                                                                COATEST assay,
                                                                        assay, they
                                                                               they then
                                                                                    then tested
                                                                                         tested

        one of
        one of those
               those antibodies
                     antibodies (193/AD3)
                                (193/AD3) in aPTT assays
                                          in aPTT assays to
                                                         to measure
                                                            measure clotting
                                                                    clotting time,
                                                                             time, including in
                                                                                   including in

        the presence
        the presence of
                     of Factor
                        Factor VIII
                               VIII inhibitors.
                                    inhibitors. ’590 patent, col.
                                                '590 patent, col. 16,
                                                                  16, 1.
                                                                      l. 44—col.
                                                                         44–col. 17,
                                                                                 17, 1.
                                                                                     l. 67; Figures 9,
                                                                                        67; Figures 9,

        10A, 10B.
        10A, 10B.

  26.
  26.   There are
        There are no
                  no examples
                     examples in the patent
                              in the patent of
                                            of seven
                                               seven of
                                                     of the
                                                        the nine
                                                            nine structural
                                                                 structural formats
                                                                            formats falling under
                                                                                    falling under

        claim 4
        claim 4 (a
                (a chimeric
                   chimeric antibody,
                            antibody, aa humanized antibody, aa bispecific
                                         humanized antibody,    bispecific antibody,
                                                                           antibody, aa diabody,
                                                                                        diabody, or
                                                                                                 or

        di-, oligo-
        di-, oligo- or
                    or multimers
                       multimers thereof).
                                 thereof). See Marasco Dep.
                                           See Marasco Dep. Tr.
                                                            Tr. at
                                                                at 102:12-126:04.
                                                                   102:12–126:04. In
                                                                                  In order
                                                                                     order to
                                                                                           to

        arrive at
        arrive at those
                  those antibody
                        antibody formats
                                 formats from the antibodies
                                         from the antibodies produced
                                                             produced through
                                                                      through the
                                                                              the aforementioned
                                                                                  aforementioned

        steps, it
        steps, it would
                  would be
                        be necessary for one
                           necessary for one skilled
                                             skilled in
                                                     in the
                                                        the art
                                                            art to
                                                                to genetically
                                                                   genetically modify
                                                                               modify them.
                                                                                      them. See
                                                                                            See supra
                                                                                                supra

        § IV.B.1.
        §         This was
          IV.B.1. This was never
                           never done,
                                 done, and
                                       and the
                                           the patent
                                               patent does
                                                      does not
                                                           not provide
                                                               provide specific
                                                                       specific guidance
                                                                                guidance on
                                                                                         on how
                                                                                            how

        such modification
        such modification would
                          would take
                                take place.
                                     place. Although
                                            Although aa person
                                                        person skilled
                                                               skilled in the art
                                                                       in the art would
                                                                                  would be
                                                                                        be familiar
                                                                                           familiar

        with the
        with the procedures
                 procedures for modifying antibodies
                            for modifying antibodies using
                                                     using techniques
                                                           techniques known
                                                                      known in
                                                                            in the
                                                                               the prior
                                                                                   prior art,
                                                                                         art,

        additional confirmatory
        additional              testing would
                   confirmatory testing would have
                                              have been
                                                   been necessary
                                                        necessary following
                                                                  following modification
                                                                            modification to
                                                                                         to

        ensure that
        ensure that the
                    the binding
                        binding and
                                and activating
                                    activating functions
                                               functions of
                                                         of the
                                                            the antibody
                                                                antibody remained
                                                                         remained in place. See
                                                                                  in place. See

        Marasco Rpt.
        Marasco Rpt. ¶¶
                     ¶¶ 235,
                        235, 275;
                             275; see
                                  see also Garcia Rpt.
                                      also Garcia Rpt. ¶
                                                       ¶ 212;
                                                         212; Marasco
                                                              Marasco Dep.
                                                                      Dep. Tr. at 127:24-128:25.
                                                                           Tr. at 127:24–128:25.

  27.
  27.   For example,
        For example, the
                     the process
                         process for humanizing antibodies
                                 for humanizing antibodies was
                                                           was well-known
                                                               well-known in
                                                                          in the
                                                                             the art
                                                                                 art prior
                                                                                     prior to
                                                                                           to

        1999, see
        1999,     Marasco Rpt.
              see Marasco Rpt. ¶
                               ¶ 289
                                 289 n.
                                     n. 258
                                        258 (citing
                                            (citing Strohl Dep. Tr.,
                                                    Strohl Dep. Tr., ECF No. 424-11,
                                                                     ECF No. 424-11, at
                                                                                     at 17:24-
                                                                                        17:24–

        18:9), but
        18:9), but the
                   the process
                       process was
                               was "not
                                   “not as
                                        as efficient
                                           efficient []
                                                     [] as
                                                        as sometimes
                                                           sometimes presented,"
                                                                     presented,” Marasco
                                                                                 Marasco Dep.
                                                                                         Dep. Tr.
                                                                                              Tr.

        at 130:18-19.
        at 130:18–19. The
                      The process
                          process involves
                                  involves selecting
                                           selecting "human
                                                     “human framework
                                                            framework regions
                                                                      regions .. .. .. from
                                                                                       from heavy
                                                                                            heavy

        chain and
        chain and light chain sequences
                  light chain sequences of
                                        of over
                                           over 1,000
                                                1,000 human
                                                      human sequences
                                                            sequences each,”
                                                                      each," id. at 130:20-22,
                                                                             id. at 130:20–22,

        and "the
        and “the resulting antibody, despite
                 resulting antibody, despite having
                                             having the
                                                    the same
                                                        same variable
                                                             variable region
                                                                      region as
                                                                             as the
                                                                                the murine
                                                                                    murine

        antibody, frequently
        antibody,            does not
                  frequently does not have
                                      have the
                                           the same
                                               same effectiveness
                                                    effectiveness as
                                                                  as the
                                                                     the original
                                                                         original murine
                                                                                  murine antibody,"
                                                                                         antibody,”



                                                 28
                                                 28

                                              Appx57
                                              Appx57
              Case: 22-1461         Document: 25        Page: 45       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 29 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38624




         id. at 130:23-131:01.
         id. at 130:23–131:01. Given this uncertainty,
                               Given this uncertainty, additional
                                                       additional screening
                                                                  screening would
                                                                            would be
                                                                                  be required to
                                                                                     required to

         confirm whether
         confirm whether there
                         there had
                               had been
                                   been any
                                        any degradation
                                            degradation in the binding
                                                        in the binding or
                                                                       or activating
                                                                          activating functions of
                                                                                     functions of

         the antibody.
         the antibody. See
                       See id. at 132:10-12;
                           id. at 132:10–12; Marasco
                                             Marasco Rpt.
                                                     Rpt. ¶
                                                          ¶ 275.
                                                            275.

  28.
  28.    The accused
         The accused product,
                     product, emicizumab,
                              emicizumab, is
                                          is aa bispecific
                                                bispecific humanized
                                                           humanized antibody
                                                                     antibody that
                                                                              that mimics
                                                                                   mimics Factor
                                                                                          Factor

         VIIIa by
         VIIIa by binding
                  binding Factor
                          Factor IXa with one
                                 IXa with one arm
                                              arm and
                                                  and Factor
                                                      Factor X
                                                             X with
                                                               with the
                                                                    the other
                                                                        other arm.
                                                                              arm. See
                                                                                   See Sampei
                                                                                       Sampei

         Article at
         Article at 1.
                    1. It took the
                       It took the scientists
                                   scientists at
                                              at Chugai
                                                 Chugai almost
                                                        almost 10
                                                               10 years
                                                                  years to
                                                                        to develop
                                                                           develop emicizumab.
                                                                                   emicizumab. Strohl
                                                                                               Strohl

         Rpt. ¶
         Rpt. ¶ 224.
                224. They underwent aa multi-phased,
                     They underwent    multi-phased, trial-and-error
                                                     trial-and-error process
                                                                     process that
                                                                             that involved
                                                                                  involved screening
                                                                                           screening

         tens of
         tens of thousands
                 thousands of
                           of antibodies
                              antibodies and
                                         and engineering
                                             engineering the
                                                         the resulting
                                                             resulting antibodies
                                                                       antibodies for
                                                                                  for optimization
                                                                                      optimization

         before finding
         before finding one
                        one that
                            that was
                                 was suitable
                                     suitable for clinical use.
                                              for clinical use. Id. ¶¶ 212-224;
                                                                Id. ¶¶ 212–224; see also Sampei
                                                                                see also Sampei

         Article at
         Article at 1-13.
                    1–13. "The
                          “The lead
                               lead bispecific
                                    bispecific antibody
                                               antibody was
                                                        was identified
                                                            identified from approximately 40,000
                                                                       from approximately 40,000

         different bispecific
         different bispecific antibodies"
                              antibodies” and
                                          and "[b]ispecific
                                              “[b]ispecific antibodies
                                                            antibodies meeting
                                                                       meeting the
                                                                               the criteria
                                                                                   criteria for FVIII[-
                                                                                            for FVIII[-

         like] activity
         like] activity were
                        were extremely
                             extremely rare (<0.3%).” Sampei
                                       rare (<0.3%)."        et al.
                                                      Sampei et al. (2013) Discussion, available
                                                                    (2013) Discussion, available at
                                                                                                 at

         https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0057479.
         ht09s://journals.plos.org/plosone/article?id=10.1371/journal.pone. 0057479.

                            VII.
                            VII.     Application of
                                     Application of the
                                                    the Wands Factors
                                                        Wands Factors

         Applying the
         Applying the Wands factors here,
                      Wands factors here, the
                                          the court
                                              court finds as aa matter
                                                    fords as    matter of
                                                                       of law
                                                                          law that
                                                                              that undue
                                                                                   undue

  experimentation would
  experimentation would be
                        be needed
                           needed to
                                  to practice
                                     practice the
                                              the full
                                                  full scope
                                                       scope of
                                                             of the
                                                                the claimed
                                                                    claimed invention.
                                                                            invention. First,
                                                                                       First, with
                                                                                              with

  respect to
  respect to "the
             “the quantity
                  quantity of
                           of experimentation necessary” (factor
                              experimentation necessary" (factor 1),
                                                                 1), Baxalta
                                                                     Baxalta does
                                                                             does not dispute that
                                                                                  not dispute that

  practicing the
  practicing the teachings
                 teachings of
                           of the
                              the ’590 patent involves
                                  '590 patent involves aa large amount of
                                                          large amount of experimentation.
                                                                          experimentation. The
                                                                                           The

  potential candidates
  potential candidates number
                       number in
                              in the
                                 the millions.
                                     millions. See
                                               See supra § VI
                                                   supra § VI ¶
                                                              ¶ 2.
                                                                2. As
                                                                   As discussed, the patent
                                                                      discussed, the patent teaches
                                                                                            teaches

  aa multi-step
     multi-step process,
                process, with
                         with screening
                              screening at
                                        at every
                                           every critical step to
                                                 critical step to determine
                                                                  determine antibodies
                                                                            antibodies within
                                                                                       within the
                                                                                              the scope
                                                                                                  scope

  of the
  of the claims.
         claims. See
                 See id. ¶¶ 13-27.
                     id. ¶¶ 13–27. Turning to factor
                                   Turning to        2, there
                                              factor 2, there is
                                                              is aa limited
                                                                    limited "amount
                                                                            “amount of
                                                                                    of guidance
                                                                                       guidance

  presented in
  presented in the
               the patent."
                   patent.” See
                            See id. ¶ 11.
                                id. ¶     There is
                                      11. There is no
                                                   no guidance
                                                      guidance or
                                                               or direction
                                                                  direction as
                                                                            as to
                                                                               to how
                                                                                  how to
                                                                                      to identify
                                                                                         identify

  antibodies that
  antibodies that satisfy
                  satisfy the
                          the claims'
                              claims’ limitations other than
                                      limitations other than by
                                                             by utilizing
                                                                utilizing trial
                                                                          trial and
                                                                                and error.
                                                                                    error. See
                                                                                           See id. This
                                                                                               id. This



                                                   29
                                                   29

                                               Appx58
                                               Appx58
              Case: 22-1461         Document: 25         Page: 46      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 30 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38625




  lack of
  lack of guidance
          guidance is
                   is compounded by aa limited
                      compounded by    limited number
                                               number of
                                                      of "working
                                                         “working examples"
                                                                  examples” (factor
                                                                            (factor 3).
                                                                                    3). While
                                                                                        While

  the specification
  the specification of
                    of the
                       the ’590 patent discloses
                           '590 patent discloses eleven working examples,
                                                 eleven working examples, they
                                                                          they are
                                                                               are all
                                                                                   all monospecific
                                                                                       monospecific

  murine antibodies
  murine antibodies or
                    or fragments
                       fragments thereof
                                 thereof that
                                         that bind
                                              bind to
                                                   to Factor
                                                      Factor IX or IXa
                                                             IX or     and increase
                                                                   IXa and increase the
                                                                                    the procoagulant
                                                                                        procoagulant

  activity of
  activity of Factor
              Factor IXa by aa small
                     IXa by    small amount.
                                     amount. See
                                             See id. ¶¶ 1-4.
                                                 id. ¶¶ 1–4. It
                                                             It does
                                                                does not
                                                                     not disclose working examples
                                                                         disclose working examples

  of antibodies
  of antibodies of
                of the
                   the IgE,
                       IgE, IgA, or IGD
                            IgA, or     isotypes; of
                                    IGD isotypes; of humanized,
                                                     humanized, chimeric,
                                                                chimeric, or
                                                                          or bispecific
                                                                             bispecific antibodies;
                                                                                        antibodies;

  of diabodies;
  of diabodies; or
                or of
                   of dimers,
                      dimers, oligomers
                              oligomers or
                                        or multimers
                                           multimers thereof.
                                                     thereof. See
                                                              See id. ¶ 3.
                                                                  id. ¶ 3. There
                                                                           There also
                                                                                 also is
                                                                                      is no
                                                                                         no working
                                                                                            working

  example of
  example of an
             an antibody
                antibody that
                         that increases the procoagulant
                              increases the procoagulant activity
                                                         activity of
                                                                  of Factor
                                                                     Factor IXa by an
                                                                            IXa by an amount
                                                                                      amount capable
                                                                                             capable

  of moving
  of moving aa patient
               patient with
                       with aa severe
                               severe case
                                      case of
                                           of hemophilia
                                              hemophilia A
                                                         A to
                                                           to aa mild
                                                                 mild case. See id.
                                                                      case. See     ¶ 4.
                                                                                id. ¶ 4. There
                                                                                         There is
                                                                                               is not
                                                                                                  not aa

  single example
  single         of an
         example of an antibody
                       antibody that
                                that produces
                                     produces procoagulant
                                              procoagulant activity
                                                           activity in the presence
                                                                    in the presence of
                                                                                    of Factor
                                                                                       Factor VIII
                                                                                              VIII

  inhibitors by
  inhibitors by more
                more than
                     than aa marginal
                             marginal amount.
                                      amount. See
                                              See id. ¶¶ 4-6.
                                                  id. ¶¶ 4–6.

         Courts often
         Courts often consider
                      consider factors
                               factors 44 and
                                          and 7
                                              7 (the
                                                (the "nature
                                                     “nature of
                                                             of the
                                                                the invention” and the
                                                                    invention" and the "predictability
                                                                                       “predictability

  or unpredictability”
  or                   of the
     unpredictability" of the art)
                              art) together.
                                   together. See,
                                             See, e.g.,
                                                  e.g., Alza
                                                        Alza Corp.
                                                             Corp. v. Andrx Pharms.,
                                                                   v. Andrx          LLC, 607
                                                                            Pharms., LLC,     F. Supp.
                                                                                          607 F. Supp.

  2d 614,
  2d      655–56 (D.
     614, 655-56 (D. Del.
                     Del. 2009).
                          2009). This area of
                                 This area of art
                                              art is inherently unpredictable.
                                                  is inherently unpredictable. The field of
                                                                               The field of antibodies
                                                                                            antibodies

  is itself
  is        unpredictable. See
     itself unpredictable. See Centocor
                               Centocor Ortho Biotech, Inc.
                                        Ortho Biotech, Inc. v.        Labs., 636
                                                               Abbott Labs.,
                                                            v. Abbott            F.3d 1341,
                                                                             636 F.3d 1341, 1352
                                                                                            1352

  (Fed. Cir.
  (Fed. Cir. 2011)
             2011) (analogizing
                   (analogizing finding
                                finding an
                                        an appropriate
                                           appropriate antibody
                                                       antibody for
                                                                for aa particular
                                                                       particular antigen
                                                                                  antigen to
                                                                                          to searching
                                                                                             searching

  for aa key
  for        “on aa ring
         key "on         with aa million
                    ring with    million keys on it"
                                         keys on it” (internal
                                                     (internal citations
                                                               citations and
                                                                         and quotation
                                                                             quotation marks
                                                                                       marks omitted)).
                                                                                             omitted)).

  That unpredictability
  That unpredictability is
                        is compounded here by
                           compounded here by the
                                              the lack
                                                  lack of
                                                       of guidance
                                                          guidance as
                                                                   as to
                                                                      to how
                                                                         how to
                                                                             to produce
                                                                                produce antibodies
                                                                                        antibodies

  satisfying the
  satisfying the full
                 full scope
                      scope of
                            of the
                               the claims other than
                                   claims other than by
                                                     by trial-and-error.
                                                        trial-and-error. See
                                                                         See Fisher, 427 F.2d
                                                                             Fisher, 427 F.2d at
                                                                                              at 839
                                                                                                 839

  (“In cases
  ("In cases involving
             involving unpredictable
                       unpredictable factors,
                                     factors, such
                                              such as
                                                   as most
                                                      most chemical
                                                           chemical reactions
                                                                    reactions and
                                                                              and physiological
                                                                                  physiological

  activity, the
  activity, the scope
                scope of
                      of enablement obviously varies
                         enablement obviously varies inversely with the
                                                     inversely with the degree of unpredictability
                                                                        degree of unpredictability of
                                                                                                   of

  the factors
  the factors involved.").
              involved.”).

         Turning to
         Turning to factor
                    factor 6—the “relative skill
                           6—the "relative skill of
                                                 of those
                                                    those in the art"—the
                                                          in the art”—the level of skill
                                                                          level of skill would
                                                                                         would be
                                                                                               be

  high, with
  high, with aa POSITA
                POSITA holding
                       holding "an
                               “an advanced
                                   advanced degree
                                            degree and
                                                   and relevant
                                                       relevant work
                                                                work experience,
                                                                     experience, either
                                                                                 either an
                                                                                        an M.D.
                                                                                           M.D.



                                                   30
                                                   30

                                               Appx59
                                               Appx59
                Case: 22-1461        Document: 25        Page: 47      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 31
Case 1:17-cv-00509-TBD Document 573-1                     31 of 47 PagelD
                                                                   PageID #: 38626




  and several
  and several years'
              years’ experience
                     experience practicing
                                practicing in
                                           in the
                                              the area
                                                  area of
                                                       of hematology
                                                          hematology or
                                                                     or aa Ph.D.
                                                                           Ph.D. in
                                                                                 in aa chemical
                                                                                       chemical science-
                                                                                                science-

  or biological
  or biological science-related
                science-related discipline."
                                discipline.” Supra note 10.
                                             Supra note 10. Given
                                                            Given the
                                                                  the "state
                                                                      “state of
                                                                             of the
                                                                                the prior
                                                                                    prior art"
                                                                                          art” (factor
                                                                                               (factor

  5),
  5), aa POSITA
         POSITA would
                would be
                      be familiar
                         familiar with
                                  with the
                                       the techniques
                                           techniques for producing antibodies
                                                      for producing antibodies using
                                                                               using hybridoma
                                                                                     hybridoma or
                                                                                               or

  phage display
  phage display technology
                technology and
                           and in
                               in using
                                  using the
                                        the standard
                                            standard chromogenic or aPTT
                                                     chromogenic or aPTT assays
                                                                         assays used
                                                                                used in the trial
                                                                                     in the trial

  and error
  and       process, see
      error process, see supra § VI
                         supra § VI ¶
                                    ¶ 10,
                                      10, but
                                          but could
                                              could not
                                                    not predict
                                                        predict in
                                                                in advance
                                                                   advance which
                                                                           which antibodies
                                                                                 antibodies would
                                                                                            would

  satisfy the
  satisfy the claim
              claim limitations, see id.
                    limitations, see     ¶ 11.
                                     id. ¶ 11.

         Finally, turning
         Finally, turning to
                          to factor 8, the
                             factor 8, the undisputed
                                           undisputed facts
                                                      facts show
                                                            show that
                                                                 that aa reasonable
                                                                         reasonable factfinder
                                                                                    factfinder could
                                                                                               could

  only find
  only      that the
       find that the "breadth
                     “breadth of
                              of the
                                 the claims” is great.
                                     claims" is great. By
                                                       By Baxalta's
                                                          Baxalta’s experts'
                                                                    experts’ own admissions, claim
                                                                             own admissions, claim 1
                                                                                                   1

  covers all
  covers all antibodies
             antibodies and
                        and fragments of any
                            fragments of any format,
                                             format, isotype or subtype,
                                                     isotype or subtype, that
                                                                         that bind
                                                                              bind with
                                                                                   with any
                                                                                        any affinity
                                                                                            affinity

  to factor
  to factor IX/IXa, that achieve
            IX/IXa, that achieve procoagulant
                                 procoagulant effect
                                              effect through
                                                     through any
                                                             any mechanism
                                                                 mechanism of
                                                                           of action,
                                                                              action, and
                                                                                      and that
                                                                                          that

  demonstrate procoagulant
  demonstrate procoagulant activity
                           activity ranging
                                    ranging from
                                            from minuscule
                                                 minuscule to
                                                           to therapeutically
                                                              therapeutically useful
                                                                              useful amounts,
                                                                                     amounts, with
                                                                                              with

  or without
  or without the
             the presence
                 presence of
                          of Factor
                             Factor VIII
                                    VIII inhibitors. See id.
                                         inhibitors. See     ¶¶ 1-5.
                                                         id. ¶¶ 1–5.

         Decisions of
         Decisions of the
                      the Federal
                          Federal Circuit
                                  Circuit applying
                                          applying the
                                                   the Wands factors make
                                                       Wands factors make clear
                                                                          clear that
                                                                                that the
                                                                                     the claims
                                                                                         claims

  asserted here
  asserted here are
                are not enabled.
                    not enabled.

        VIII.
        VIII.     Enablement of the
                  Enablement of the Full
                                    Full Scope of the
                                         Scope of the Asserted
                                                      Asserted Claims
                                                               Claims of
                                                                      of the
                                                                         the ’590 Patent
                                                                             '590 Patent

                             A.
                             A.      Make-and-Screen Nature
                                     Make-and-Screen Nature of
                                                            of Invention
                                                               Invention

                where, as
         First, where,
         First,        as here, there are
                          here, there are aa large number of
                                             large number of potential
                                                             potential candidates,
                                                                       candidates, few
                                                                                   few working
                                                                                       working

  examples disclosed
  examples disclosed in
                     in the
                        the patent,
                            patent, and
                                    and no
                                        no guidance
                                           guidance in
                                                    in the
                                                       the specification
                                                           specification as
                                                                         as to
                                                                            to how
                                                                               how to
                                                                                   to practice
                                                                                      practice the
                                                                                               the full
                                                                                                   full

  scope of
  scope of the
           the invention
               invention except
                         except to
                                to use trial and
                                   use trial and error
                                                 error to
                                                       to narrow
                                                          narrow down
                                                                 down the
                                                                      the potential
                                                                          potential candidates
                                                                                    candidates to
                                                                                               to those
                                                                                                  those

  satisfying the
  satisfying the claims’
                 claims' functional limitations—the asserted
                         functional limitations—the asserted claims
                                                             claims are
                                                                    are not
                                                                        not enabled. See Idenix
                                                                            enabled. See Idenix

  Pharms. LLC
  Pharms. LLC v.
              v. Gilead Scis. Inc.,
                 Gilead Scis.       941 F.3d
                              Inc., 941 F.3d 1149,
                                             1149, 1155-56
                                                   1155–56 (Fed.
                                                           (Fed. Cir.
                                                                 Cir. 2019)
                                                                      2019) (finding
                                                                            (finding

  nonenablement where
  nonenablement where the
                      the claims
                          claims included
                                 included the
                                          the broad
                                              broad functional
                                                    functional limitation of having
                                                               limitation of having efficacy
                                                                                    efficacy

  against hepatitis
  against hepatitis C
                    C virus,
                      virus, which
                             which required screening aa large
                                   required screening          number of
                                                         large number of candidates to identify
                                                                         candidates to identify



                                                   31
                                                   31

                                                 Appx60
                                                 Appx60
              Case: 22-1461        Document: 25         Page: 48      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 32 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38627




  compounds that
  compounds that satisfied
                 satisfied the
                           the limitation); Enzo Life
                               limitation); Enzo Life Scis.,
                                                      Scis., Inc.
                                                             Inc. v. Roche Molecular
                                                                  v. Roche Molecular Sys.,
                                                                                     Sys., Inc., 928
                                                                                           Inc., 928

  F.3d 1340,
  F.3d 1340, 1346-47
             1346–47 (Fed.
                     (Fed. Cir.
                           Cir. 2019)
                                2019) (finding
                                      (finding nonenablement
                                               nonenablement where
                                                             where the
                                                                   the claims
                                                                       claims required
                                                                              required both
                                                                                       both aa

  particular structure
  particular structure and
                       and functionality but the
                           functionality but the specification
                                                 specification failed
                                                               failed to
                                                                      to teach
                                                                         teach one
                                                                               one of
                                                                                   of skill
                                                                                      skill in
                                                                                            in the
                                                                                               the art
                                                                                                   art

  whether the
  whether the many
              many embodiments
                   embodiments of
                               of the
                                  the broad
                                      broad claims
                                            claims would
                                                   would exhibit
                                                         exhibit that
                                                                 that required
                                                                      required functionality);
                                                                               functionality);

  Wyeth & Cordis
  Wyeth & Cordis Corp.
                 Corp. v.        Labs., 720
                          Abbott Labs.,
                       v. Abbott            F.3d 1380,
                                        720 F.3d 1380, 1385-86
                                                       1385–86 (Fed.
                                                               (Fed. Cir.
                                                                     Cir. 2013)
                                                                          2013) (finding,
                                                                                (finding, due
                                                                                          due to
                                                                                              to

  the large
  the large number
            number of
                   of possible
                      possible candidates
                               candidates within
                                          within the
                                                 the scope
                                                     scope of
                                                           of the
                                                              the claims and the
                                                                  claims and the specification's
                                                                                 specification’s

  corresponding lack
  corresponding      of structural
                lack of structural guidance,
                                   guidance, it would have
                                             it would have required
                                                           required undue
                                                                    undue experimentation
                                                                          experimentation to
                                                                                          to

  synthesize and
  synthesize and screen
                 screen each
                        each candidate
                             candidate to
                                       to determine
                                          determine which
                                                    which compounds
                                                          compounds in
                                                                    in the
                                                                       the claimed
                                                                           claimed class exhibited
                                                                                   class exhibited

  the claimed
  the claimed functionality); see also
              functionality); see also McRO, 959 F.3d
                                       McRO, 959 F.3d at
                                                      at 1100
                                                         1100 n.2 (“In cases
                                                              n.2 ("In       involving claims
                                                                       cases involving claims that
                                                                                              that

  state certain
  state         structural requirements
        certain structural requirements and
                                        and also
                                            also require
                                                 require performance
                                                         performance of
                                                                     of some
                                                                        some function
                                                                             function (e.g.,
                                                                                      (e.g., efficacy
                                                                                             efficacy

  for aa certain
  for    certain purpose),
                 purpose), we
                           we have
                              have explained
                                   explained that
                                             that undue
                                                  undue experimentation
                                                        experimentation can
                                                                        can include undue
                                                                            include undue

  experimentation in
  experimentation    identifying, from
                  in identifying,      among the
                                  from among the many
                                                 many concretely
                                                      concretely identified
                                                                 identified compounds
                                                                            compounds that
                                                                                      that meet
                                                                                           meet

  the structural
  the structural requirements,
                 requirements, the
                               the compounds
                                   compounds that
                                             that satisfy
                                                  satisfy the
                                                          the functional
                                                              functional requirement.").
                                                                         requirement.”).

         In this
         In this respect,
                 respect, the
                          the facts of this
                              facts of this case
                                            case are
                                                 are strikingly
                                                     strikingly similar
                                                                similar to
                                                                        to the
                                                                           the facts of Amgen
                                                                               facts of Amgen Inc.
                                                                                              Inc. v.
                                                                                                   v.

  Sanofi, Aventisub
  Sanofi, Aventisub LLC, 987 F.3d
                    LLC, 987 F.3d 1080
                                  1080 (Fed.
                                       (Fed. Cir.
                                             Cir. 2021).
                                                  2021). There, as here,
                                                         There, as here, the
                                                                         the claims
                                                                             claims were
                                                                                    were directed
                                                                                         directed

  to aa genus
  to    genus that
              that was
                   was claimed
                       claimed broadly
                               broadly in terms of
                                       in terms of functionality.
                                                   functionality. The two patents
                                                                  The two patents at
                                                                                  at issue
                                                                                     issue there
                                                                                           there were
                                                                                                 were

  directed to
  directed to monoclonal
              monoclonal antibodies
                         antibodies for use in
                                    for use    treatment of
                                            in treatment of elevated
                                                            elevated low-density
                                                                     low-density lipoprotein (“LDL”)
                                                                                 lipoprotein ("LDL")

  cholesterol—a leading
  cholesterol—a leading cause
                        cause of
                              of heart
                                 heart disease.        987 F.3d
                                                Amgen, 987
                                       disease. Amgen,     F.3d at
                                                                at 1082-83.
                                                                   1082–83. The
                                                                            The body
                                                                                body removes
                                                                                     removes

  LDL cholesterol
  LDL cholesterol from the blood
                  from the blood stream
                                 stream using
                                        using LDL
                                              LDL receptors.
                                                  receptors. Id. at 1082.
                                                             Id. at       But "PCSK9,"
                                                                    1082. But “PCSK9,” aa

  naturally occurring
  naturally occurring protein,
                      protein, can bind to
                               can bind to LDL
                                           LDL receptors
                                               receptors and
                                                         and cause
                                                             cause the
                                                                   the receptors
                                                                       receptors to
                                                                                 to be
                                                                                    be destroyed,
                                                                                       destroyed, an
                                                                                                  an

  undesirable result.
  undesirable result. Id. at 1082-83.
                      Id. at 1082–83. The
                                      The antibodies
                                          antibodies disclosed in Amgen's
                                                     disclosed in Amgen’s patents
                                                                          patents were
                                                                                  were claimed
                                                                                       claimed to
                                                                                               to

  prevent the
  prevent the degradation
              degradation of
                          of LDL
                             LDL receptors
                                 receptors by
                                           by binding
                                              binding aa specific
                                                         specific region of PCSK9.
                                                                  region of PCSK9. Id. at 1083.
                                                                                   Id. at 1083. By
                                                                                                By

  binding that
  binding that specific
               specific region,
                        region, the
                                the antibodies
                                    antibodies block
                                               block PCSK9
                                                     PCSK9 from
                                                           from binding
                                                                binding LDL
                                                                        LDL receptors
                                                                            receptors and
                                                                                      and causing
                                                                                          causing



                                                  32
                                                  32

                                               Appx61
                                               Appx6 1
              Case: 22-1461          Document: 25         Page: 49       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 33 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38628




  them to
  them to be
          be destroyed.
             destroyed. Id. The asserted
                        Id. The asserted claims thus imposed
                                         claims thus imposed aa functional
                                                                functional limitation
                                                                           limitation that
                                                                                      that the
                                                                                           the
                                         11
  antibodies bind
  antibodies bind to
                  to aa specific
                        specific target.
                                 target. 11 The specification
                                            The specification disclosed
                                                              disclosed working
                                                                        working examples of 26
                                                                                examples of 26

  antibodies that
  antibodies that satisfied
                  satisfied the
                            the claim
                                claim limitations.
                                      limitations. Id.
                                                   Id.

          In assessing
          In assessing enablement, the court
                       enablement, the court first explained there
                                             first explained there are
                                                                   are "high
                                                                       “high hurdles
                                                                             hurdles in
                                                                                     in fulfilling the
                                                                                        fulfilling the

  enablement requirement
  enablement requirement for
                         for claims
                             claims with
                                    with broad
                                         broad functional
                                               functional language.”     at 1087.
                                                                     Id. at
                                                          language." Id.    1087. Applying
                                                                                  Applying that
                                                                                           that

  standard, the
  standard, the court
                court agreed
                      agreed with
                             with the
                                  the district court’s finding
                                      district court's         that the
                                                       finding that the specification
                                                                        specification did
                                                                                      did not
                                                                                          not enable
                                                                                              enable

  preparation of
  preparation of the
                 the full scope of
                     full scope of the
                                   the asserted
                                       asserted claims—that
                                                claims—that the
                                                            the antibodies
                                                                antibodies bind
                                                                           bind aa specific
                                                                                   specific target.
                                                                                            target.

         987 F.3d
  Amgen, 987
  Amgen,     F.3d at
                  at 1087.
                     1087. Key
                           Key to
                               to that
                                  that determination was the
                                       determination was the court's
                                                             court’s finding that the
                                                                     finding that the "claims
                                                                                      “claims [we]re
                                                                                              [we]re

  far broader
  far broader in
              in functional diversity than
                 functional diversity than the
                                           the disclosed examples,” and
                                               disclosed examples," and "the
                                                                        “the only
                                                                             only ways
                                                                                  ways for
                                                                                       for aa person
                                                                                              person

  of ordinary
  of ordinary skill
              skill to
                    to discover
                       discover undisclosed
                                undisclosed claimed
                                            claimed embodiments would be
                                                    embodiments would be through
                                                                         through either
                                                                                 either ‘trial and
                                                                                        `trial and

  error, by
  error, by making
            making changes
                   changes to
                           to the
                              the disclosed antibodies and
                                  disclosed antibodies and then
                                                           then screening
                                                                screening those
                                                                          those antibodies
                                                                                antibodies for
                                                                                           for the
                                                                                               the

  desired binding
  desired binding and
                  and blocking
                      blocking properties,'
                               properties,’ or
                                            or else
                                               else ‘by
                                                    `by discovering the antibodies
                                                        discovering the antibodies de
                                                                                   de novo' according
                                                                                      novo’ according

  to aa randomization-and-screening
  to    randomization-and-screening ‘roadmap.’”     at 1088
                                                Id. at
                                    `roadmap.'" Id.    1088 (quoting
                                                            (quoting Amgen
                                                                     Amgen Inc.
                                                                           Inc. v.         2019
                                                                                   Sanofi, 2019
                                                                                v. Sanofi,

  WL 4058927,
  WL 4058927, at
              at *11
                 *11 (D.
                     (D. Del.
                         Del. 2019));
                              2019)); see
                                      see also
                                          also Idenix, 941 F.3d
                                               Idenix, 941 F.3d at
                                                                at 1161
                                                                   1161 ("A
                                                                        (“A specification that
                                                                            specification that

  requires aa [POSITA]
  requires    [POSITA] to
                       to ‘engage
                          `engage in an iterative,
                                  in an iterative, trial-and-error
                                                   trial-and-error process
                                                                   process to
                                                                           to practice
                                                                              practice the
                                                                                       the claimed
                                                                                           claimed

  invention’ does
  invention' does not
                  not provide
                      provide an
                              an enabling
                                 enabling disclosure.” (quoting ALZA,
                                          disclosure." (quoting ALZA, 603 F.3d at
                                                                      603 F.3d at 941).
                                                                                  941).

         Amgen’s
         Amgen    reasoning applies
               's reasoning applies with
                                    with equal
                                         equal force here, where
                                               force here, where the
                                                                 the asserted
                                                                     asserted claims also set
                                                                              claims also set forth
                                                                                              forth

  not one
  not one but
          but two
              two functional requirements: that
                  functional requirements: that the
                                                the antibodies
                                                    antibodies bind
                                                               bind to
                                                                    to aa target
                                                                          target (Factor
                                                                                 (Factor IX or IXa)
                                                                                         IX or IXa)

  and alter
  and alter that
            that target's
                 target’s activity
                          activity (increasing
                                   (increasing the
                                               the procoagulant
                                                   procoagulant activity
                                                                activity of
                                                                         of Factor
                                                                            Factor IXa).
                                                                                   IXa). Marasco
                                                                                         Marasco Rpt.
                                                                                                 Rpt.

  ¶ 63
  ¶ 63 (agreeing with Genentech's
       (agreeing with Genentech’s expert,
                                  expert, Dr.
                                          Dr. K.
                                              K. Christopher
                                                 Christopher Garcia,
                                                             Garcia, that
                                                                     that the
                                                                          the claims
                                                                              claims include the two
                                                                                     include the two

  functional limitations).
  functional limitations). Even
                           Even if the first
                                if the first functional
                                             functional requirement
                                                        requirement (binding)
                                                                    (binding) were
                                                                              were enabled, the second
                                                                                   enabled, the second



  11      Although the
          Although   the asserted
                          asserted claims
                                     claims also
                                            also included
                                                  included aa functional
                                                               functional limitation    of "blocking
                                                                            limitation of  “blocking the
                                                                                                       the
  PCSK9/LDLR
  PC              interaction,” Amgen, 987
     SK9/LDLR interaction,"Amgen,        987 F.3d
                                             F.3d at
                                                  at 1083,
                                                     1083, the
                                                           the court
                                                               court found
                                                                     found that
                                                                            that "[t]he
                                                                                 “[t]he binding
                                                                                        binding limitation
                                                                                                limitation
  [alone] [wa]s
  [alone] [wa]s []
                [] enough
                   enough [][] to
                               to require
                                  require undue
                                          undue experimentation,”
                                                experimentation," id.   at 1087.
                                                                    id. at 1087.
                                                    33
                                                    33

                                                Appx62
                                                Appx62
               Case: 22-1461            Document: 25           Page: 50        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 34 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38629




  is not.
  is not. The
          The record shows that
              record shows that if
                                if aa person
                                      person of
                                             of ordinary
                                                ordinary skill
                                                         skill in
                                                               in the
                                                                  the art
                                                                      art (POSITA)
                                                                          (POSITA) started
                                                                                   started with
                                                                                           with the
                                                                                                the

  genus of
  genus of antibodies
           antibodies and
                      and antibody
                          antibody fragments
                                   fragments that
                                             that bind
                                                  bind to
                                                       to Factor
                                                          Factor IX or IXa,
                                                                 IX or      only aa very
                                                                       IXa, only    very tiny
                                                                                         tiny

  percentage of
  percentage of those
                those will
                      will meet
                           meet the
                                the claims'
                                    claims’ functional
                                            functional limitation
                                                       limitation that
                                                                  that the
                                                                       the antibody
                                                                           antibody or
                                                                                    or antibody
                                                                                       antibody

  fragment increase
  fragment increase the
                    the procoagulant
                        procoagulant activity
                                     activity of
                                              of Factor IXa, 12 and
                                                 Factor IXa,12  and the
                                                                    the only
                                                                        only way
                                                                             way to
                                                                                 to find
                                                                                    find that
                                                                                         that small
                                                                                              small

  number within
  number within the
                the larger whole (of
                    larger whole (of potentially
                                     potentially millions
                                                 millions of
                                                          of combinations
                                                             combinations satisfying
                                                                          satisfying the
                                                                                     the structural
                                                                                         structural

  requirements), given
  requirements),       the inherent
                 given the          unpredictability of
                           inherent unpredictability of the
                                                        the art
                                                            art and
                                                                and the
                                                                    the lack of guidance
                                                                        lack of guidance in
                                                                                         in the
                                                                                            the

  specification, is
  specification,    by screening
                 is by screening tens
                                 tens of
                                      of thousands
                                         thousands (if
                                                   (if not
                                                       not more)
                                                           more) antibodies
                                                                 antibodies or
                                                                            or antibody
                                                                               antibody fragments
                                                                                        fragments for
                                                                                                  for

  procoagulant activity.
  procoagulant activity. See
                         See supra § VI
                             supra § VI ¶¶
                                        ¶¶ 2,
                                           2, 10-24.
                                              10–24. It
                                                     It is
                                                        is aa search
                                                              search for
                                                                     for aa needle
                                                                            needle in
                                                                                   in aa haystack.
                                                                                         haystack.

          While Baxalta
          While Baxalta does
                        does not
                             not dispute the breadth
                                 dispute the breadth of
                                                     of the
                                                        the claims, it asserts
                                                            claims, it asserts that
                                                                               that only
                                                                                    only aa "very,
                                                                                            “very, very
                                                                                                   very

  minor sub-fraction"
  minor sub-fraction” of
                      of antibodies
                         antibodies will
                                    will satisfy
                                         satisfy the
                                                 the claim
                                                     claim limitations. Pl.’s Opp'n
                                                           limitations. Pl.'s Opp’n at
                                                                                    at 12
                                                                                       12 (quoting
                                                                                          (quoting

  Garcia Rpt.
  Garcia Rpt. ¶
              ¶ 189).
                189). That is true,
                      That is true, but
                                    but this
                                        this only
                                             only exemplifies
                                                  exemplifies how substantial experimentation
                                                              how substantial experimentation is
                                                                                              is

  necessary to
  necessary to sift
               sift through
                    through the
                            the broad
                                broad genus
                                      genus of
                                            of possible
                                               possible candidates
                                                        candidates to
                                                                   to find
                                                                      find the
                                                                           the narrow
                                                                               narrow species
                                                                                      species that
                                                                                              that

  satisfy the
  satisfy the claim
              claim limitation.
                    limitation.

          The Federal
          The Federal Circuit
                      Circuit considered
                              considered an
                                         an almost
                                            almost identical theory in
                                                   identical theory in Idenix, where the
                                                                       Idenix, where the court
                                                                                         court found
                                                                                               found

  the claims
  the claims were
             were invalid for lack
                  invalid for lack of
                                   of enablement.
                                      enablement. 941
                                                  941 F.3d
                                                      F.3d at
                                                           at 1161-63.
                                                              1161–63. The
                                                                       The patent
                                                                           patent in
                                                                                  in Idenix claimed
                                                                                     Idenix claimed

  aa method
     method of
            of treatment
               treatment for the hepatitis
                         for the hepatitis C
                                           C virus
                                             virus (HCV)
                                                   (HCV) by
                                                         by using
                                                            using aa particular
                                                                     particular pharmaceutical
                                                                                pharmaceutical drug.
                                                                                               drug.




  12
  12
           Although the
           Although    the results  of the
                            results of  the ’590   patent inventors'
                                             '590 patent  inventors’ experimentation      (showing only
                                                                       experimentation (showing             1.6% of
                                                                                                      only 1.6%   of
  antibodies screened
  antibodies   screened bound
                          bound toto Factor
                                     Factor IX/IXa
                                               IX/IXa and
                                                       and increased   the procoagulant
                                                           increased the   procoagulant activity
                                                                                           activity of
                                                                                                     of Factor
                                                                                                        Factor IXa)
                                                                                                               IXa)
  are not
  are  not disclosed
           disclosed in  the patent,
                      in the  patent, the
                                       the court  may consider
                                            court may   consider extrinsic  evidence of
                                                                  extrinsic evidence   of those
                                                                                          those results  to support
                                                                                                 results to support
  its finding
  its          of non-enablement.
      finding of  non-enablement. See    See Pharm.
                                              Pharm. Res.,
                                                       Res., Inc.
                                                             Inc. v.  Roxane Labs.,
                                                                   v. Roxane   Labs., Inc.,  253 F.
                                                                                      Inc., 253   F. App'x
                                                                                                      App’x 26,
                                                                                                             26, 31
                                                                                                                  31
  n.3 (Fed.
  n.3  (Fed. Cir.
              Cir. 2007)
                   2007) (“Although       extrinsic evidence
                           ("Although extrinsic      evidence cannot
                                                               cannot bebe used
                                                                            used to
                                                                                 to supplement
                                                                                    supplement aa non-enabling
                                                                                                      non-enabling
  specification, such
  specification,   such evidence
                         evidence cancan shed
                                           shed light  on whether
                                                 light on  whether the
                                                                     the specification
                                                                         specification is
                                                                                        is itself  enabling.”); see
                                                                                            itself enabling.");  see
  also Atlas
  also   Atlas Powder
                Powder Co.Co. v.   E.I. du
                                v. E.I.   du Pont
                                               Pont De
                                                     De Nemours
                                                         Nemours &      Co., 750
                                                                     & Co.,        F.2d 1569,
                                                                              750 F.2d    1569, 1577
                                                                                                  1577 (Fed.    Cir.
                                                                                                         (Fed. Cir.
  1984) (considering
  1984)   (considering results
                         results of
                                  of experiments
                                      experiments performed
                                                      performed byby patentee
                                                                      patentee prior
                                                                                prior to
                                                                                      to filing  the patent);
                                                                                         filing the   patent); Enzo
                                                                                                               Enzo
  Biochem, Inc.
  Biochem,    Inc. v.
                   v. Calgene,          188 F.3d
                                 Inc., 188
                      Calgene, Inc.,          F.3d 1362,
                                                   1362, 1373
                                                          1373 (Fed.   Cir. 1999)
                                                                (Fed. Cir.  1999) (determining
                                                                                   (determining evidence
                                                                                                    evidence of
                                                                                                              of the
                                                                                                                 the
  patentee’s own
  patentee's   own experimental
                     experimental failures      was appropriate
                                     failures was    appropriate to
                                                                  to consider).
                                                                      consider).


                                                         34
                                                         34

                                                     Appx63
                                                     Appx63
              Case: 22-1461         Document: 25         Page: 51       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 35 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38630




  The patent
  The patent claimed
             claimed the
                     the drug
                         drug in
                              in aa generic manner that
                                    generic manner that included
                                                        included aa large number of
                                                                    large number of related
                                                                                    related

  compounds. The
  compounds. The only
                 only independent
                      independent claim
                                  claim of
                                        of the
                                           the patent
                                               patent recited:
                                                      recited:

                 1. A
                 1. A method
                       method for for the
                                      the treatment
                                          treatment of
                                                     of aa hepatitis
                                                           hepatitis C
                                                                     C virus
                                                                        virus infection,
                                                                                infection,
                 comprising administering
                 comprising     administering an
                                               an effective   amount    of  a  purine
                                                   effective amount of a purine or      or
                 pyrimidine β-D-2'-methyl-ribofuranosyl
                 pyrimidine                                 nucleoside or
                               f3-D-2'-methyl-ribofuranosyl nucleoside   or aa phosphate
                                                                               phosphate
                 thereof, or
                 thereof, or aa pharmaceutically
                                pharmaceutically acceptable
                                                  acceptable salt
                                                             salt or
                                                                  or ester
                                                                     ester thereof.
                                                                           thereof.

      at 1155
  Id. at
  Id.    1155 (quoting
              (quoting U.S.
                       U.S. Patent
                            Patent No.
                                   No. 7,608,597).
                                       7,608,597).

         Of the
         Of the "billions
                “billions of
                          of potential
                             potential 2'-methyl-up
                                       2'-methyl-up nucleosides,"
                                                    nucleosides,” the
                                                                  the specification
                                                                      specification identified
                                                                                    identified only
                                                                                               only aa

  small subset
  small subset (four)
               (four) compounds
                      compounds as
                                as being
                                   being effective.
                                         effective. Id. at 1156,
                                                    Id. at       1161. The
                                                           1156, 1161. The court
                                                                           court thus
                                                                                 thus found
                                                                                      found that
                                                                                            that

  the broad
  the broad functional
            functional limitation of having
                       limitation of having efficacy against hepatis
                                            efficacy against hepatis C
                                                                     C virus
                                                                       virus (HCV)
                                                                             (HCV) meant
                                                                                   meant that
                                                                                         that there
                                                                                              there

  were aa very
  were    very large number of
               large number of potential
                               potential nucleoside
                                         nucleoside candidates
                                                    candidates and
                                                               and only
                                                                   only aa few
                                                                           few examples that satisfied
                                                                               examples that satisfied

  the claim
  the claim limitation.     at 1155-56,
                        Id. at
            limitation. Id.    1155–56, 1162.
                                        1162. Idenix
                                              Idenix argued
                                                     argued that
                                                            that the
                                                                 the claims
                                                                     claims were
                                                                            were not
                                                                                 not broad
                                                                                     broad because,
                                                                                           because,

  ‘[w]hen required to
  `[w]hen required to take
                      take all
                           all of
                               of the
                                  the claim
                                      claim limitations
                                            limitations into account, Gilead's
                                                        into account, Gilead’s witnesses
                                                                               witnesses described
                                                                                         described the
                                                                                                   the

  claims as
  claims as embracing only aa ‘small’
            embracing only    `small' number of compounds.”
                                      number of                 at 1162.
                                                            Id. at
                                                compounds." Id.    1162.

         The court
         The court rejected
                   rejected that
                            that analysis
                                 analysis as
                                          as "backwards,"
                                             “backwards,” explaining
                                                          explaining that
                                                                     that "to
                                                                          “to get
                                                                              get from
                                                                                  from aa large number
                                                                                          large number

  of candidate
  of candidate compounds
               compounds to
                         to aa relatively speaking small
                               relatively speaking small number
                                                         number of
                                                                of effective compounds .. .. .. leaves
                                                                   effective compounds          leaves

  aa [POSITA]
     [POSITA] searching
              searching for
                        for aa needle
                               needle in
                                      in aa haystack
                                            haystack to
                                                     to determine which of
                                                        determine which of the
                                                                           the ‘large number’ of
                                                                               `large number' of .. .. ..

  [candidate compounds]
  [candidate compounds] falls into the
                        falls into the ‘small’ group of
                                       `small' group of candidates that effectively
                                                        candidates that effectively treats
                                                                                    treats HCV."
                                                                                           HCV.” Id.
                                                                                                 Id.

  “The size
  "The size disparity between those
            disparity between those two
                                    two groups,"
                                        groups,” the
                                                 the court
                                                     court reasoned, “requires significant
                                                           reasoned, "requires significant

  experimentation, which
  experimentation, which weighs
                         weighs against
                                against enablement,
                                        enablement, not
                                                    not for it.” Id.
                                                        for it." Id. The same reasoning
                                                                     The same           applies
                                                                              reasoning applies

  here where
  here where the
             the only
                 only way
                      way to
                          to find the very
                             fmd the  very small
                                           small number
                                                 number of
                                                        of antibodies
                                                           antibodies that
                                                                      that meet
                                                                           meet the
                                                                                the claims'
                                                                                    claims’ broad
                                                                                            broad

  functional requirements,
  functional requirements, among
                           among millions
                                 millions of
                                          of possible
                                             possible combinations,
                                                      combinations, is
                                                                    is to
                                                                       to experiment.
                                                                          experiment. That there
                                                                                      That there

  are few
  are     needles in
      few needles in the
                     the haystack
                         haystack makes
                                  makes the
                                        the search
                                            search harder,
                                                   harder, not
                                                           not easier.
                                                               easier.

         Baxalta argues
         Baxalta argues that
                        that that
                             that the
                                  the experimentation
                                      experimentation required
                                                      required to
                                                               to practice
                                                                  practice the
                                                                           the full
                                                                               full scope
                                                                                    scope of
                                                                                          of the
                                                                                             the

  invention is
  invention is not
               not undue
                   undue here
                         here because
                              because "a
                                      “a POSITA
                                         POSITA need
                                                need only
                                                     only engage
                                                          engage in
                                                                 in routine
                                                                    routine experimentation,” as
                                                                            experimentation," as

                                                    35
                                                    35

                                                Appx64
                                                Appx64
               Case: 22-1461          Document: 25          Page: 52        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 36 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38631
                                                                             38631




  shown in
  shown in Examples 1 and
           Examples 1 and 22 of
                             of the
                                the specification.
                                    specification. Pl.'s
                                                   Pl.’s Opp'n
                                                         Opp’n at
                                                               at 22
                                                                  22 (emphasis
                                                                     (emphasis added)
                                                                               added) (quoting
                                                                                      (quoting

  Marasco Rpt.
  Marasco Rpt. ¶ 214). 13 The
               ¶ 214).13      same was
                          The same was true
                                       true in
                                            in Amgen, where expert
                                               Amgen, where expert testimony
                                                                   testimony showed
                                                                             showed that
                                                                                    that "a
                                                                                         “a

  person of
  person of skill
            skill in the art
                  in the art c[ould]
                             c[ould] make
                                     make all
                                          all antibodies
                                              antibodies within
                                                         within the
                                                                the scope
                                                                    scope of
                                                                          of the
                                                                             the claims
                                                                                 claims by
                                                                                        by following
                                                                                           following aa

  roadmap using
  roadmap using anchor
                anchor antibodies
                       antibodies and
                                  and well-known
                                      well-known screening
                                                 screening techniques
                                                           techniques as
                                                                      as described
                                                                         described in
                                                                                   in the
                                                                                      the

  specification or
  specification or by
                   by making
                      making conservative amino acid
                             conservative amino acid substitutions in the
                                                     substitutions in the twenty-six
                                                                          twenty-six examples.”
                                                                                     examples."

         987 F.3d
  Amgen, 987
  Amgen,     F.3d at
                  at 1085.
                     1085. The
                           The court
                               court nevertheless
                                     nevertheless found the experimentation
                                                  found the                 was undue.
                                                            experimentation was undue. Id. at
                                                                                       Id. at

  1088.
  1088.

          The Federal
          The Federal Circuit
                      Circuit also
                              also considered
                                   considered and
                                              and rejected
                                                  rejected aa similar
                                                              similar argument
                                                                      argument in
                                                                               in Wyeth. Like
                                                                                  Wyeth. Like

  Baxalta, Wyeth
  Baxalta, Wyeth argued
                 argued that
                        that practicing
                             practicing the
                                        the full
                                            full scope
                                                 scope of
                                                       of the
                                                          the claims would not
                                                              claims would not require
                                                                               require undue
                                                                                       undue

  experimentation because
  experimentation because it
                          it "would
                             “would have
                                    have required
                                         required only
                                                  only routine
                                                       routine experimentation.”
                                                               experimentation." 720 F.3d at
                                                                                 720 F.3d at 1384
                                                                                             1384

  (emphasis added).
  (emphasis added). The
                    The Federal
                        Federal Circuit
                                Circuit disagreed, explaining that
                                        disagreed, explaining that even
                                                                   even taking
                                                                        taking all
                                                                               all of
                                                                                   of Wyeth's
                                                                                      Wyeth’s

  contentions—including that
  contentions—including that "one
                             “one of
                                  of ordinary
                                     ordinary skill
                                              skill could
                                                    could routinely
                                                          routinely use the assays
                                                                    use the assays disclosed
                                                                                   disclosed in the
                                                                                             in the

  specification to
  specification to determine"
                   determine” which
                              which compounds fall within
                                    compounds fall within the
                                                          the scope
                                                              scope of
                                                                    of the
                                                                       the claims, the claims
                                                                           claims, the claims were
                                                                                              were

  not enabled
  not         because "there
      enabled because “there [we]re
                             [we]re still
                                    still at
                                          at least
                                             least tens
                                                   tens of
                                                        of thousands
                                                           thousands of
                                                                     of candidates"
                                                                        candidates” to
                                                                                    to screen.
                                                                                       screen. Id. at
                                                                                               Id. at

  1385.
  1385.

          The same
          The same reasoning
                   reasoning dooms
                             dooms Baxalta's
                                   Baxalta’s routine
                                             routine experimentation
                                                     experimentation arguments
                                                                     arguments here.
                                                                               here. There
                                                                                     There is no
                                                                                           is no

  guidance or
  guidance or direction
              direction in the specification
                        in the specification of
                                             of the
                                                the ’590 patent as
                                                    '590 patent as to
                                                                   to how
                                                                      how to
                                                                          to distinguish
                                                                             distinguish antibodies
                                                                                         antibodies that
                                                                                                    that

  bind to
  bind to Factor
          Factor IXa and increase
                 IXa and increase the
                                  the procoagulant
                                      procoagulant activity
                                                   activity of
                                                            of Factor
                                                               Factor IXa
                                                                      IXa from those that
                                                                          from those that do
                                                                                          do not.
                                                                                             not.

        ¶ 10.
  Supra ¶
  Supra   10. And
              And "there
                  “there is
                         is no
                            no genuine dispute that
                               genuine dispute that it
                                                    it would
                                                       would be
                                                             be necessary
                                                                necessary to
                                                                          to first synthesize and
                                                                             first synthesize and

  then screen
  then screen each
              each candidate compound using
                   candidate compound using the
                                            the assays
                                                assays disclosed
                                                       disclosed in the specification
                                                                 in the specification to
                                                                                      to determine
                                                                                         determine



  13
  13
          Baxalta also
          Baxalta  also points
                         points to
                                to its
                                   its expert's
                                        expert’s statement
                                                  statement that
                                                             that "It]he
                                                                  “‘[t]he specification
                                                                           specification instructs
                                                                                         instructs aa POSITA
                                                                                                      POSITA
  to use
  to use well-known,
         well-known, inexpensive,
                       inexpensive, andand efficient
                                            efficient means
                                                      means ofof producing
                                                                 producing anan antibody
                                                                                antibody or
                                                                                          or fragment   thereof
                                                                                             fragment thereof
  that binds
  that binds to
             to Factor
                Factor IX   or Factor
                        IX or  Factor IXa    and identifying
                                        IXa and                those that
                                                  identifying those  that increase
                                                                          increase the
                                                                                    the procoagulant
                                                                                        procoagulant activity
                                                                                                       activity
  of Factor
  of Factor IXa,'
            IXa,’ [and]
                  [and] it  would not
                         it would  not require
                                         require ‘substantial  time and
                                                 `substantial time  and effort'
                                                                        effort’ to
                                                                                 to make
                                                                                    make and
                                                                                         and use
                                                                                              use the
                                                                                                  the claimed
                                                                                                       claimed
  invention.” Pl.'s
  invention."  Pl.’s Opp'n
                     Opp’n atat 22
                                22 (quoting
                                   (quoting Marasco
                                               Marasco Rpt.
                                                         Rpt. ¶ 241).
                                                                 241).
                                                       36
                                                       36

                                                   Appx65
                                                   Appx65
               Case: 22-1461            Document: 25          Page: 53        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 37 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38632




  whether it
  whether it has"
             has” procoagulant
                  procoagulant effect, and until
                               effect, and until you
                                                 you screen
                                                     screen the
                                                            the antibodies,
                                                                antibodies, "you
                                                                            “you can't
                                                                                 can’t tell
                                                                                       tell whether
                                                                                            whether

  they work
  they work or not.” Wyeth,
            or not."        720 F.3d
                     Wyeth, 720 F.3d at
                                     at 1385.
                                        1385.

          Finally, while
          Finally, while acknowledging
                         acknowledging that
                                       that "a
                                            “a POSITA
                                               POSITA would
                                                      would need
                                                            need to
                                                                 to screen
                                                                    screen for procoagulant
                                                                           for procoagulant

  activity,” Pl.'s
  activity," Pl.’s Opp'n
                   Opp’n at
                         at 22
                            22 (citing
                               (citing Marasco
                                       Marasco Dep.
                                               Dep. Tr.
                                                    Tr. at
                                                        at 204:01-205:19),
                                                           204:01–205:19), Baxalta
                                                                           Baxalta argues
                                                                                   argues that
                                                                                          that the
                                                                                               the

  requisite experimentation
  requisite experimentation is
                            is nevertheless
                               nevertheless not
                                            not undue
                                                undue because
                                                      because "POSITAs
                                                              “POSITAs would
                                                                       would ‘feel confident that
                                                                             `feel confident that

  they could
  they could [utilize
             [utilize the
                      the teaching
                          teaching of
                                   of the
                                      the patent
                                          patent to
                                                 to produce]
                                                    produce] antibodies
                                                             antibodies []
                                                                        [] that
                                                                           that have
                                                                                have procoagulant
                                                                                     procoagulant

  return,’” id.
  return,'" id. (quoting Marasco Dep.
                (quoting Marasco Dep. Tr. at 209:02-09).
                                      Tr. at 209:02–09). Baxalta
                                                         Baxalta quotes one of
                                                                 quotes one of its experts’ testimony
                                                                               its experts' testimony

  that there
  that there is
             is aa "`profound[]'
                   “‘profound[]’ difference between (i)
                                 difference between     making antibodies
                                                    (i) making antibodies that
                                                                          that bind
                                                                               bind to
                                                                                    to Factor
                                                                                       Factor IX/IXa
                                                                                              IX/IXa

  and screening
  and screening them
                them for procoagulant activity,
                     for procoagulant activity, and
                                                and (ii)
                                                    (ii) starting
                                                         starting from scratch or
                                                                  from scratch or through
                                                                                  through trial
                                                                                          trial and
                                                                                                and

  error.” Id.
  error."     at 22
          Id. at 22 (quoting
                    (quoting Marasco
                             Marasco Dep.
                                     Dep. Tr. at 206:07-13);
                                          Tr. at 206:07–13); see
                                                             see also Marasco Dep.
                                                                 also Marasco Dep. Tr.
                                                                                   Tr. at
                                                                                       at 206:14-
                                                                                          206:14–

  19 (“A.
  19 ("A. .. .. .. It’s no longer
                   It's no        an unknown
                           longer an unknown of
                                             of maybe
                                                maybe I'll
                                                      I’ll find
                                                           find them.").
                                                                them.”). But
                                                                         But this
                                                                             this was
                                                                                  was also
                                                                                      also true
                                                                                           true in
                                                                                                in the
                                                                                                   the

  Idenix, Enzo,
  Idenix, Enzo, Wyeth and Amgen
                Wyeth and       cases, where
                          Amgen cases, where the
                                             the inventors had identified
                                                 inventors had identified aa small
                                                                             small number
                                                                                   number of
                                                                                          of

  compounds within
  compounds within the
                   the scope
                       scope of
                             of the
                                the claims
                                    claims and
                                           and the
                                               the court
                                                   court found
                                                         found the
                                                               the claims were not
                                                                   claims were not enabled
                                                                                   enabled given
                                                                                           given

  the breadth
  the breadth of
              of the
                 the claims
                     claims and
                            and the
                                the lack of sufficient
                                    lack of sufficient guidance
                                                       guidance in
                                                                in the specifications. 14 There
                                                                   the specifications.14  There is
                                                                                                is

  nothing in
  nothing    the specification
          in the specification teaching
                               teaching how
                                        how to
                                            to identify
                                               identify any
                                                        any antibodies
                                                            antibodies complying with the
                                                                       complying with the claim
                                                                                          claim

  limitations other
  limitations other than
                    than by
                         by repeating the same
                            repeating the same process
                                               process the
                                                       the inventors
                                                           inventors used
                                                                     used to
                                                                          to identify the eleven
                                                                             identify the eleven

  examples disclosed
  examples disclosed in
                     in the
                        the specification.
                            specification.




  14
  14
           Baxalta also
           Baxalta   also attempts
                          attempts to
                                    to distinguish
                                        distinguish Amgen
                                                     Amgen on on the
                                                                 the basis
                                                                      basis that
                                                                            that the
                                                                                 the claims  there specified
                                                                                     claims there  specified the
                                                                                                               the
  amino acids
  amino   acids (or
                (or residues)
                     residues) on
                                on PCSK9
                                   PCSK9 to   to which
                                                 which the
                                                        the antibodies
                                                            antibodies must
                                                                         must bind.
                                                                               bind. Pl.'s
                                                                                      Pl.’s Opp'n
                                                                                            Opp’n atat 32
                                                                                                       32 (citing
                                                                                                           (citing
  Amgen, 987
  Amgen,    987 F.3d
                 F.3d atat 1087
                           1087 n.1
                                 n.1 ("For
                                      (“For example,
                                              example, there
                                                         there are
                                                               are three
                                                                   three claimed
                                                                          claimed residues    to which
                                                                                    residues to  which notnot one
                                                                                                              one
  disclosed example
  disclosed  example binds.")).
                         binds.”)). Baxalta
                                     Baxalta maintains
                                                maintains "[t]here
                                                           “[t]here is  no similar
                                                                    is no  similar unpredictability
                                                                                    unpredictability oror lack  of
                                                                                                          lack of
  enablement in
  enablement    in the"
                    the” asserted
                          asserted claims
                                   claims in in this
                                                this case
                                                     case because
                                                           because they
                                                                     they "merely
                                                                           “merely require
                                                                                     require binding
                                                                                              binding toto Factor
                                                                                                           Factor
  IX/IXa and
  IX/IXa   and do   not require
               do not            binding to
                         require binding   to specific
                                               specific residues.”   Pl.’s Opp'n
                                                        residues." Pl.'s   Opp’n atat 32.
                                                                                      32. The   court disagrees.
                                                                                           The court   disagrees.
  Here, similar
  Here,  similar to
                  to Amgen,   there are
                     Amgen, there    are various
                                          various categories
                                                   categories of
                                                               of antibodies
                                                                  antibodies that
                                                                              that are
                                                                                    are identified
                                                                                        identified in the claims
                                                                                                   in the  claims
  that are
  that are not
           not represented
               represented by by working
                                 working examples.
                                            examples.


                                                        37
                                                        37

                                                    Appx66
                                                    Appx66
                 Case: 22-1461              Document: 25             Page: 54          Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 38 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38633




                                            B.
                                            B.       Broad Functional
                                                     Broad Functional Scope
                                                                      Scope

               the patent
       Second, the
       Second,     patent claims
                          claims in this case,
                                 in this       even more
                                         case, even more so
                                                         so than
                                                            than those
                                                                 those in
                                                                       in Amgen (which focused
                                                                          Amgen (which         only
                                                                                       focused only

  on the
  on the binding
         binding requirement),
                 requirement), cover
                               cover aa wide
                                        wide range
                                             range of
                                                   of functionality
                                                      functionality in terms of
                                                                    in terms of procoagulant
                                                                                procoagulant activity
                                                                                             activity

  and that
  and that range
           range is
                 is not
                    not represented
                        represented by
                                    by working
                                       working examples.
                                               examples. The Federal Circuit's
                                                         The Federal Circuit’s cases
                                                                               cases make
                                                                                     make clear
                                                                                          clear

  that where,
  that where, as
              as here,
                 here, "a
                       “a range
                          range is
                                is claimed, there must
                                   claimed, there must be
                                                       be reasonable enablement of
                                                          reasonable enablement of the
                                                                                   the scope
                                                                                       scope of
                                                                                             of the
                                                                                                the

  range.” See
  range." See Amgen, 987 F.3d
              Amgen, 987 F.3d at
                              at 1085
                                 1085 (quoting
                                      (quoting McRO,
                                               McRO, Inc.
                                                     Inc. v. Bandai Namco
                                                          v. Bandai Namco Games Am. Inc.,
                                                                          Games Am.       959
                                                                                    Inc., 959

  F.3d 1091,
  F.3d 1091, 1100
             1100 (Fed. Cir. 2020));
                  (Fed. Cir. 2020)); see
                                     see also
                                         also MagSil
                                              MagSil Corp.
                                                     Corp. v. Hitachi Global
                                                           v. Hitachi        Storage Techs.,
                                                                      Global Storage         Inc.,
                                                                                     Techs., Inc.,

  687 F.3d
  687 F.3d 1377,
           1377, 1384
                 1384 (Fed.
                      (Fed. Cir.
                            Cir. 2012)
                                 2012) (claims
                                       (claims not
                                               not enabled
                                                   enabled where
                                                           where the
                                                                 the patentee
                                                                     patentee argued
                                                                              argued for
                                                                                     for aa broad
                                                                                            broad

  scope despite
  scope despite meager
                meager results
                       results achieved
                               achieved by
                                        by the
                                           the inventors).
                                               inventors). By
                                                           By Baxalta's
                                                              Baxalta’s own
                                                                        own admission,
                                                                            admission, the
                                                                                       the patent
                                                                                           patent

  covers everything
  covers everything from
                    from aa barely
                            barely perceptible
                                   perceptible amount
                                               amount of
                                                      of procoagulant
                                                         procoagulant activity
                                                                      activity at
                                                                               at the
                                                                                  the bottom
                                                                                      bottom end to
                                                                                             end to

  an amount
  an amount that
            that would
                 would be
                       be created
                          created by
                                  by Factor
                                     Factor VIII
                                            VIII itself
                                                 itself (at
                                                        (at least 40%) at
                                                            least 40%) at the
                                                                          the upper
                                                                              upper end.
                                                                                    end. See Marasco
                                                                                         See Marasco

  Dep. Tr.
  Dep. Tr. at 236:12–18; 15 Krishnaswamy
           at 236:12-18;15  Krishnaswamy Dep.
                                         Dep. Tr.
                                              Tr. at
                                                  at 213:17–214:11; 16
                                                     213:17-214:11;16  see also
                                                                       see also supra § VI
                                                                                supra § VI ¶ 4.
                                                                                           ¶ 4.

           The Federal
           The Federal Circuit's
                       Circuit’s decision
                                 decision in
                                          in MagSil
                                             MagSil is instructive.
                                                    is instructive.                        There,
                                                                                           There, aa patentee
                                                                                                     patentee asserted
                                                                                                              asserted

  infringement of
  infringement of aa claim
                     claim directed
                           directed to
                                    to aa device
                                          device used
                                                 used in computer hard
                                                      in computer hard drive
                                                                       drive disks
                                                                             disks that
                                                                                   that required
                                                                                        required aa

  “change in
  "change    resistance by
          in resistance by at
                           at least
                              least 10%"
                                    10%” between
                                         between two
                                                 two electrodes
                                                     electrodes on
                                                                on the
                                                                   the device.
                                                                       device. 687 F.3d at
                                                                               687 F.3d at 1379–
                                                                                           1379—

  80. The
  80.     background section
      The background section of
                             of the
                                the patent
                                    patent explained that past
                                           explained that past efforts
                                                               efforts to
                                                                       to "produce
                                                                          “produce an
                                                                                   an adequate
                                                                                      adequate level
                                                                                               level

  of change
  of change in the [[ ]] resistance”
            in the                   had achieved
                         resistance" had achieved only
                                                  only aa 2.7%
                                                          2.7% change.
                                                               change. Id. at 1379.
                                                                       Id. at       The Federal
                                                                              1379. The Federal Circuit
                                                                                                Circuit

  found the
  found the claims were not
            claims were not enabled.
                            enabled. In relevant part,
                                     In relevant part, the
                                                       the court observed that
                                                           court observed that the
                                                                               the patent
                                                                                   patent

  specification "only
  specification “only disclose[d]
                      disclose[d] enough
                                  enough information
                                         information to
                                                     to achieve
                                                        achieve an
                                                                an 11.8%
                                                                   11.8% resistive change,” even
                                                                         resistive change," even




  15
  15
               “Q. So
               "Q.  So if  if an
                              an antibody
                                   antibody binds
                                             binds Factor
                                                     Factor IX     IX or
                                                                      or IXa
                                                                         IXa and
                                                                               and increases    the procoagulant
                                                                                    increases the    procoagulant activity
                                                                                                                    activity of
                                                                                                                             of
  Factor IXa
  Factor           by as
              IXa by     as much
                              much as as Factor
                                         Factor VIII
                                                 VIII does,
                                                        does, thatthat antibody
                                                                       antibody is
                                                                                 is within
                                                                                    within the
                                                                                            the scope
                                                                                                 scope of
                                                                                                        of the
                                                                                                           the claim,
                                                                                                               claim, correct?
                                                                                                                      correct?
  A. .. .. .. yeah,
  A.          yeah, II think
                        think it's
                                 it’s within
                                       within the
                                              the scope
                                                  scope of     of the
                                                                  the claim."
                                                                      claim.”
  16
  16
               “Q. .. .. .. [I]f
               "Q.          [I]f it turned out
                                 it turned out that
                                                that .. .. .. there
                                                              there were
                                                                     were an
                                                                           an antibody
                                                                              antibody that
                                                                                         that mirrored
                                                                                              mirrored the
                                                                                                         the activity
                                                                                                             activity of
                                                                                                                      of factor
                                                                                                                         factor
  VIII itself,
  VIII    itself, such
                   such an   an antibody
                                 antibody would
                                            would still
                                                    still be  be covered
                                                                  covered by
                                                                           by these
                                                                               these claims   if it
                                                                                      claims if  it met
                                                                                                    met the
                                                                                                        the other
                                                                                                            other limitations;
                                                                                                                   limitations;
  correct? A.
  correct?      A. II would
                      would agree agree with
                                         with that
                                               that statement,
                                                    statement, yes." yes.”
                                                              38
                                                              38

                                                          Appx67
                                                          Appx67
              Case: 22-1461          Document: 25         Page: 55       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 39 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38634




  though the
  though the claims
             claims were
                    were construed
                         construed to
                                   to cover resistive changes
                                      cover resistive changes "from
                                                              “from 10%
                                                                    10% up
                                                                        up to
                                                                           to

  infinity.” Id.
  infinity."     at 1383.
             Id. at 1383. The Federal Circuit
                          The Federal Circuit further
                                              further stated,
                                                      stated, "[t]he
                                                              “[t]he record
                                                                     record contains
                                                                            contains no
                                                                                     no showing
                                                                                        showing that
                                                                                                that

  the knowledge
  the knowledge of
                of [a
                   [a skilled]
                      skilled] artisan
                               artisan would
                                       would permit,
                                             permit, at
                                                     at the
                                                        the time
                                                            time of
                                                                 of filing,
                                                                    filing, achievement
                                                                            achievement of
                                                                                        of the
                                                                                           the modern
                                                                                               modern

  values above
  values above 600% without undue
               600% without undue experimentation.”     at 1384.
                                                    Id. at
                                  experimentation." Id.    1384. "Indeed,"
                                                                 “Indeed,” the
                                                                           the court
                                                                               court observed,"
                                                                                     observed,”

  it had
  it had taken
         taken "nearly
               “nearly twelve
                       twelve years
                              years of
                                    of experimentation
                                       experimentation to
                                                       to actually
                                                          actually reach those [modern]
                                                                   reach those [modern] values."
                                                                                        values.” Id.
                                                                                                 Id.

  The same
  The same problem
           problem exists here.
                   exists here.

          Just as it
          Just as    took twelve
                  it took twelve years
                                 years after
                                       after the
                                             the filing of the
                                                 filing of the patent
                                                               patent in
                                                                      in Magsil for others
                                                                         Magsil for others to
                                                                                           to reach
                                                                                              reach aa 604%
                                                                                                       604%

  change in
  change in resistance,
            resistance, here,
                        here, it
                              it took
                                 took scientists
                                      scientists at
                                                 at Chugai
                                                    Chugai almost
                                                           almost 10 years to
                                                                  10 years to discover the accused
                                                                              discover the accused

  product emicizumab,
  product             which increases
          emicizumab, which increases procoagulant
                                      procoagulant activity
                                                   activity by
                                                            by 10%.
                                                               10%. See
                                                                    See supra § VI
                                                                        supra § VI ¶ 28;
                                                                                   ¶ 28;

  Kitazawa Dep.
  Kitazawa Dep. Tr. at 241:12-20.
                Tr. at 241:12–20.          The highest amount
                                           The highest amount that
                                                              that any
                                                                   any antibody
                                                                       antibody disclosed in the
                                                                                disclosed in the

  specification is
  specification is estimated
                   estimated to
                             to have
                                have increased
                                     increased the
                                               the procoagulant
                                                   procoagulant activity
                                                                activity of
                                                                         of Factor
                                                                            Factor IXa
                                                                                   IXa is
                                                                                       is by
                                                                                          by 3.75%
                                                                                             3.75% of
                                                                                                   of

  normal Factor
  normal Factor VIII
                VIII levels.
                     levels. See
                             See supra § VI
                                 supra § VI ¶
                                            ¶ 4.
                                              4. Both
                                                 Both are
                                                      are far
                                                          far short
                                                              short of
                                                                    of normal
                                                                       normal Factor
                                                                              Factor VIII
                                                                                     VIII levels (at
                                                                                          levels (at

  least 40%).
  least 40%). See
              See id. Although agreeing
                  id. Although agreeing that
                                        that an
                                             an antibody
                                                antibody that
                                                         that increases
                                                              increases procoagulant
                                                                        procoagulant activity
                                                                                     activity by
                                                                                              by the
                                                                                                 the

  same amount
  same amount as
              as would
                 would aa normal
                          normal level of Factor
                                 level of Factor VIII
                                                 VIII would
                                                      would be
                                                            be within
                                                               within the
                                                                      the scope
                                                                          scope of
                                                                                of the
                                                                                   the claims,
                                                                                       claims, see
                                                                                               see

  Marasco Dep.
  Marasco Dep. Tr. at 236:12-18,
               Tr. at 236:12–18, Baxalta's
                                 Baxalta’s expert
                                           expert concedes
                                                  concedes "it
                                                           “it would
                                                               would be
                                                                     be difficult or indeed
                                                                        difficult or indeed

  impossible to
  impossible to create"
                create” an
                        an antibody
                           antibody that
                                    that increases the procoagulant
                                         increases the procoagulant activity
                                                                    activity by
                                                                             by such
                                                                                such an
                                                                                     an amount,
                                                                                        amount,

  Krishnaswamy Dep.
  Krishnaswamy Dep. Tr. at 212:18-213:7.
                    Tr. at 212:18–213:7. A
                                         A specification
                                           specification cannot
                                                         cannot adequately
                                                                adequately enable
                                                                           enable something
                                                                                  something

  that is
  that is admittedly
          admittedly impossible to accomplish.
                     impossible to accomplish. See,
                                               See, e.g.,
                                                    e.g., Tr. of Boston
                                                          Tr. of Boston Univ.
                                                                        Univ. v. Everlight Elecs.
                                                                              v. Everlight Elecs. Co.,
                                                                                                  Co.,

  896 F.3d
  896 F.3d 1357,
           1357, 1362
                 1362 (Fed. Cir. 2018)
                      (Fed. Cir. 2018) ("We
                                       (“We can
                                            can safely
                                                safely conclude
                                                       conclude that
                                                                that the
                                                                     the specification
                                                                         specification does not
                                                                                       does not

  enable what
  enable what the
              the experts agree is
                  experts agree is physically
                                   physically impossible.").
                                              impossible.”). But
                                                             But even
                                                                 even as
                                                                      as to
                                                                         to the
                                                                            the compounds
                                                                                compounds within
                                                                                          within

  the realm
  the realm of
            of possibility,
               possibility, there
                            there is
                                  is no
                                     no enablement.
                                        enablement.

          The stated
          The stated object
                     object of
                            of the
                               the invention
                                   invention is “to provide
                                             is "to provide aa preparation
                                                               preparation for
                                                                           for the
                                                                               the treatment
                                                                                   treatment of
                                                                                             of blood
                                                                                                blood

  coagulation disorders
  coagulation disorders .. .. .. ."
                                 .” ’590 patent, col.
                                    '590 patent,      2, 11.
                                                 col. 2, ll. 25-28;
                                                             25–28; see
                                                                    see also
                                                                        also id. at col.
                                                                             id. at      9, 11.
                                                                                    col. 9, ll. 25-36
                                                                                                25–36 ("The
                                                                                                      (“The



                                                     39
                                                     39

                                                 Appx68
                                                 Appx68
               Case: 22-1461           Document: 25           Page: 56       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 40 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38635




  present antibodies
  present antibodies .. .. .. are
                              are suitable
                                  suitable for therapeutic use
                                           for therapeutic use .. .. .. .").
                                                                        .”). And
                                                                             And the
                                                                                 the primary
                                                                                     primary utility
                                                                                             utility disclosed
                                                                                                     disclosed in
                                                                                                               in

  the ’590
  the      patent for
      '590 patent for antibodies
                      antibodies and
                                 and antibody
                                     antibody fragments that "increase[]
                                              fragments that “increase[] the
                                                                         the procoagulant
                                                                             procoagulant activity
                                                                                          activity of
                                                                                                   of

  Factor IXa”
  Factor      is aa therapeutic
         IXa" is    therapeutic one.
                                one. See
                                     See id. col. 1,
                                         id. col. 1, 11.
                                                     ll. 32-35;
                                                         32–35; id., col. 2,
                                                                id., col. 2, 11.
                                                                             ll. 22-33;
                                                                                 22–33; id.,
                                                                                        id., col. 2, 11.
                                                                                             col. 2, ll. 39-
                                                                                                         39–
                                                      17
  44; id.,
  44;      col. 9,11.25-36;
      id., col. 9, ll. 25–36; id., col. 9,
                              id., col. 9, 11.
                                           ll. 50–61.
                                               50-61.17  But as
                                                         But as discussed,
                                                                discussed, the
                                                                           the highest amount by
                                                                               highest amount by which
                                                                                                 which any
                                                                                                       any

  antibody disclosed
  antibody disclosed in
                     in the
                        the specification
                            specification is
                                          is estimated to have
                                             estimated to have increased
                                                               increased the
                                                                         the procoagulant
                                                                             procoagulant activity
                                                                                          activity of
                                                                                                   of

  Factor IXa
  Factor IXa (3.75%),
             (3.75%), would
                      would only
                            only be
                                 be capable
                                    capable of
                                            of moving
                                               moving aa patient
                                                         patient with
                                                                 with hemophilia
                                                                      hemophilia A
                                                                                 A classified
                                                                                   classified as
                                                                                              as

  severe to
  severe to aa moderate
               moderate classification.
                        classification. See
                                        See supra § VI
                                            supra § VI ¶
                                                       ¶ 4.
                                                         4. It would not
                                                            It would not be
                                                                         be capable
                                                                            capable of
                                                                                    of moving
                                                                                       moving aa

  patient with
  patient with severe
               severe hemophilia
                      hemophilia to
                                 to aa mild
                                       mild classification.
                                            classification. Although
                                                            Although the
                                                                     the experts
                                                                         experts debate
                                                                                 debate whether
                                                                                        whether such
                                                                                                such

  aa small
     small amount
           amount of
                  of procoagulant
                     procoagulant activity
                                  activity could
                                           could be
                                                 be therapeutically
                                                    therapeutically useful
                                                                    useful for some patients,
                                                                           for some patients, see,
                                                                                              see, e.g.,
                                                                                                   e.g.,

  Krishnaswamy Rpt.
  Krishnaswamy Rpt. ¶¶ 115-118;
                       115–118; Sheehan Rebuttal Rpt.
                                Sheehan Rebuttal Rpt. ¶¶
                                                      ¶¶ 40-63,
                                                         40–63, Baxalta
                                                                Baxalta acknowledges
                                                                        acknowledges in the
                                                                                     in the

  20 years
  20 years since
           since the
                 the ’590 patent was
                     '590 patent was filed,
                                     filed, it has never
                                            it has never brought
                                                         brought to
                                                                 to market
                                                                    market aa product
                                                                              product embodying the
                                                                                      embodying the

  ’590 patent’s invention,
  '590 patent's invention, see
                           see Scheiflinger Dep. Tr.
                               Scheiflinger Dep.     48:25–49:11 ("no
                                                 Tr. 48:25-49:11 (“no company
                                                                      company has
                                                                              has ever brought to
                                                                                  ever brought to

  market aa monospecific
  market    monospecific antibody
                         antibody to
                                  to Factor
                                     Factor IXa to treat
                                            IXa to treat hemophilia");
                                                         hemophilia”); see
                                                                       see also Hr’g Tr.
                                                                           also Hr'g     at 55:09-
                                                                                     Tr. at 55:09–

  12 (counsel
  12 (counsel for Baxalta agreeing
              for Baxalta agreeing that
                                   that none
                                        none of
                                             of the
                                                the eleven
                                                    eleven examples
                                                           examples in the patent
                                                                    in the patent were
                                                                                  were "developed
                                                                                       “developed

  into aa therapeutic
  into    therapeutic product").
                      product”).




  17
  17
          After discussing
         After  discussing the
                            the therapeutic
                                therapeutic utility
                                             utility of
                                                     of the
                                                        the claimed
                                                            claimed subject
                                                                      subject matter,
                                                                              matter, the
                                                                                       the specification
                                                                                           specification
  proposes other
  proposes  other uses
                  uses for
                       for the
                           the disclosed
                               disclosed antibodies
                                         antibodies and
                                                     and antibody
                                                          antibody fragments,
                                                                   fragments, which
                                                                                which only
                                                                                       only require that
                                                                                            require that
  they bind
  they bind to
            to factor
               factor IX/IXa
                      IX/IXa (not  increase the
                              (not increase the procoagulant
                                                procoagulant activity
                                                              activity of
                                                                       of factor
                                                                          factor IXa):
                                                                                 IXa):
                   Moreover, the
                   Moreover,   the antibodies
                                   antibodies and
                                                and antibody
                                                      antibody derivatives
                                                                derivatives according
                                                                             according toto the
                                                                                            the
                   invention may
                   invention  may also
                                    also be
                                          be used   for industrial
                                             used for    industrial applications,
                                                                    applications, e.g.
                                                                                  e.g. for
                                                                                        for the
                                                                                            the
                   purification of
                   purification   of factor     IX/factor IXa
                                       factor IX/factor       IXa byby means
                                                                         means of of affinity
                                                                                       affinity
                   chromatography, or
                   chromatography,     or as
                                           as aa component
                                                 component of   of detection
                                                                    detection methods
                                                                               methods (e.g.
                                                                                          (e.g.
                   ELISA   assays), or
                   ELISA assays),    or as
                                         as an
                                            an agent
                                               agent forfor identification of and
                                                            identification of and interaction
                                                                                   interaction
                   with functional
                   with functional domains
                                    domains of of aa target
                                                     target protein.
                                                            protein.
  ’590  patent, col.
  '590 patent,  col. 9,
                     9, 11.
                         ll. 50–56.
                             50-56. Even    if true
                                      Even if  true that
                                                    that aa stated
                                                            stated purpose
                                                                   purpose of
                                                                            of the
                                                                               the patent
                                                                                    patent was
                                                                                           was the
                                                                                               the use
                                                                                                   use of
                                                                                                       of
  antibodies in
  antibodies  in industrial
                 industrial applications,
                             applications, that
                                           that can
                                                 can hardly
                                                     hardly be
                                                             be used
                                                                 used to
                                                                      to show
                                                                         show the
                                                                               the enablement  of what
                                                                                    enablement of what is
                                                                                                       is
  clearly the
  clearly the primary
              primary purpose
                        purpose of
                                 of the
                                    the patent
                                        patent and
                                                 and indisputably
                                                     indisputably covered
                                                                    covered by
                                                                            by the
                                                                                the claims—the
                                                                                    claims—the treatment
                                                                                                treatment
  of hemophilia
  of hemophilia A.A.
                                                        40
                                                        40

                                                    Appx69
                                                    Appx69
              Case: 22-1461          Document: 25         Page: 57       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 41
Case 1:17-cv-00509-TBD Document 573-1                     41 of 47 PagelD
                                                                   PageID #: 38636




         What is
         What    more, the
              is more, the patent
                           patent also
                                  also claims
                                       claims therapeutic
                                              therapeutic effectiveness
                                                          effectiveness in the presence
                                                                        in the presence of
                                                                                        of Factor
                                                                                           Factor

  VIII inhibitors
  VIII inhibitors (claim
                  (claim 2),
                         2), necessary
                             necessary for
                                       for the
                                           the treatment
                                               treatment of
                                                         of inhibitor
                                                            inhibitor patients.
                                                                      patients. The only antibody
                                                                                The only antibody that
                                                                                                  that

  was subjected
  was subjected to
                to the
                   the aPTT
                       aPTT and
                            and measured
                                measured in the presence
                                         in the presence of
                                                         of Factor
                                                            Factor VIII
                                                                   VIII inhibitors
                                                                        inhibitors was
                                                                                   was 193/AD3,
                                                                                       193/AD3,

  see supra
  see       § VI
      supra § VI ¶
                 ¶ 25,
                   25, for
                       for which
                           which Baxalta's
                                 Baxalta’s expert
                                           expert concedes the specification
                                                  concedes the specification lacks
                                                                             lacks "[]sufficient
                                                                                   “[]sufficient

  information to
  information to accurately
                 accurately estimate the relevant
                            estimate the relevant rates of Factor
                                                  rates of Factor Xa
                                                                  Xa generation"
                                                                     generation” in the chromogenic
                                                                                 in the chromogenic

  assay, Krishnaswamy
  assay, Krishnaswamy Rpt.
                      Rpt. ¶
                           ¶ 122.
                             122. Genentech’s
                                  Genentech's expert
                                              expert estimated, based on
                                                     estimated, based on Figure
                                                                         Figure 6A in the
                                                                                6A in the patent,
                                                                                          patent,

  that 193/AD3
  that 193/AD3 (the
               (the only
                    only antibody
                         antibody tested
                                  tested in
                                         in the
                                            the presence
                                                presence of
                                                         of Factor
                                                            Factor VIII
                                                                   VIII inhibitors)
                                                                        inhibitors) increases
                                                                                    increases the
                                                                                              the level
                                                                                                  level

  of procoagulant
  of procoagulant activity
                  activity only
                           only at
                                at about
                                   about 0.3-0.4%
                                         0.3–0.4% equivalent
                                                  equivalent of
                                                             of Factor
                                                                Factor VIII
                                                                       VIII activity,
                                                                            activity, aa marginal
                                                                                         marginal

  amount. See
  amount. See supra § VI
              supra § VI ¶
                         ¶ 6.
                           6.

         Baxalta’s expert
         Baxalta's        now concedes
                   expert now concedes that
                                       that the
                                            the patent's
                                                patent’s assertions
                                                         assertions that
                                                                    that antibodies
                                                                         antibodies of
                                                                                    of the
                                                                                       the invention
                                                                                           invention

  have therapeutic
  have therapeutic utility
                   utility was
                           was merely
                               merely "aspirational,"
                                      “aspirational,” Krishnaswamy
                                                      Krishnaswamy Dep.
                                                                   Dep. Tr. at 42:05-45:14,
                                                                        Tr. at 42:05–45:14, and
                                                                                            and

  agrees that
  agrees that there
              there is “not enough
                    is "not        information conveyed
                            enough information conveyed in the patent
                                                        in the patent to
                                                                      to tell
                                                                         tell whether
                                                                              whether an
                                                                                      an antibody
                                                                                         antibody

  such as
  such as [198/Al]
          [198/A1] would
                   would have
                         have activity
                              activity sufficient
                                       sufficient for
                                                  for clinical
                                                      clinical use,"
                                                               use,” id. at 185:23-186:05.
                                                                     id. at 185:23–186:05.

         Baxalta’s only
         Baxalta's only response
                        response to
                                 to MagSil is that
                                    MagSil is that it is "factually
                                                   it is “factually inapposite"
                                                                    inapposite” because
                                                                                because it pertains
                                                                                        it pertains

  only to
  only to claims
          claims to
                 to "a
                    “a marginal
                       marginal improvement
                                improvement to
                                            to aa known
                                                  known quality,” Pl.’s Opp'n
                                                        quality," Pl.'s Opp’n at
                                                                              at 34,
                                                                                 34, and
                                                                                     and that
                                                                                         that aa lower
                                                                                                 lower

  enablement standard
  enablement standard should
                      should somehow
                             somehow apply
                                     apply to
                                           to claims covering subject
                                              claims covering subject matters
                                                                      matters with
                                                                              with previously
                                                                                   previously
                                                                                                18
  unknown qualities,
  unknown qualities, as
                     as Baxalta
                        Baxalta contends
                                contends is the case
                                         is the case here,
                                                     here, id.; see also
                                                           id.; see      Hr’g Tr.
                                                                    also Hr'g Tr. 57:20–58:1–2.
                                                                                  57:20-58:1-2.18

  Baxalta cites
  Baxalta cites no
                no caselaw
                   caselaw for such aa proposition,
                           for such    proposition, and
                                                    and the
                                                        the court
                                                            court does
                                                                  does not
                                                                       not read
                                                                           read MagSil to be
                                                                                MagSil to be cabined
                                                                                             cabined

  in such
  in such aa way.
             way. In Plant Genetic
                  In Plant                  the Federal
                                   Systems, the
                           Genetic Systems,     Federal Circuit
                                                        Circuit made
                                                                made clear
                                                                     clear that
                                                                           that the
                                                                                the enablement
                                                                                    enablement

  requirement is
  requirement is the
                 the same
                     same regardless
                          regardless of
                                     of whether
                                        whether marginal
                                                marginal or
                                                         or major
                                                            major advances
                                                                  advances are
                                                                           are the
                                                                               the subject
                                                                                   subject of
                                                                                           of aa




  18
  18
           “[The court]:
          "[The   court]: There’s  no upper
                          There's no  upper limit? [Counsel for
                                            limit? [Counsel     Baxalta]: No,
                                                            for Baxalta]: No, Your
                                                                              Your Honor,
                                                                                   Honor, .. .. .. this
                                                                                                   this is
                                                                                                        is
  not aa quality
  not            that was
         quality that was known
                          known in   advance.”
                                  in advance."
                                                    41
                                                    41

                                                Appx70
                                                Appx70
              Case: 22-1461         Document: 25         Page: 58       Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 42 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38637




  patent. 315
  patent. 315 F.3d
              F.3d at
                   at 1339-40
                      1339–40 (rejecting
                              (rejecting as
                                         as "not
                                            “not supported
                                                 supported by
                                                           by precedents"
                                                              precedents” an
                                                                          an argument
                                                                             argument that
                                                                                      that aa patent
                                                                                              patent

  was entitled
  was entitled to
               to aa lower
                     lower enablement
                           enablement requirement
                                      requirement for
                                                  for aa "pioneering"
                                                         “pioneering” patent).
                                                                      patent).

          That the
          That the ’590 patent discloses
                   '590 patent discloses aa starting
                                            starting point
                                                     point for
                                                           for further research by
                                                               further research by disclosing
                                                                                   disclosing aa

  monospecific murine
  monospecific murine antibody
                      antibody that
                               that binds
                                    binds to
                                          to Factor
                                             Factor IX or IXa
                                                    IX or IXa and
                                                              and increases the procoagulant
                                                                  increases the procoagulant

  activity of
  activity of Factor
              Factor IXa
                     IXa by
                         by aa small
                               small amount
                                     amount is
                                            is not
                                               not sufficient
                                                   sufficient enablement. See Wyeth,
                                                              enablement. See        720 F.3d
                                                                              Wyeth, 720 F.3d at
                                                                                              at 1386
                                                                                                 1386

  (determining that
  (determining that the
                    the specification
                        specification provided
                                      provided "only
                                               “only aa starting
                                                        starting point
                                                                 point for
                                                                       for further
                                                                           further iterative
                                                                                   iterative research in
                                                                                             research in

  an unpredictable
  an unpredictable and
                   and poorly
                       poorly understood
                              understood field”); Storer v.
                                         field"); Storer v. Clark, 860 F.3d
                                                            Clark, 860 F.3d 1340,
                                                                            1340, 1350
                                                                                  1350 (Fed.
                                                                                       (Fed. Cir.
                                                                                             Cir.

  2017) ("The
  2017) (“The specification
              specification need
                            need not
                                 not recite
                                     recite textbook
                                            textbook science,
                                                     science, but
                                                              but it
                                                                  it must
                                                                     must be
                                                                          be more
                                                                             more than
                                                                                  than an
                                                                                       an invitation
                                                                                          invitation

  for further
  for further research.").
              research.”).

                                        C.
                                        C.      Structural
                                                Structural Scope
                                                           Scope

          Third, it
          Third, it is established that
                    is established that aa claim
                                           claim is not enabled
                                                 is not enabled if
                                                                if it
                                                                   it is structurally broad
                                                                      is structurally broad and
                                                                                            and there
                                                                                                there are
                                                                                                      are

  insufficient working
  insufficient working examples and guidance
                       examples and guidance to
                                             to enable the full
                                                enable the      scope of
                                                           full scope of the
                                                                         the structural
                                                                             structural limitations.
                                                                                        limitations.

  See, e.g.,
  See, e.g., Idenix, 941 F.3d
             Idenix, 941 F.3d at
                              at 1157-58.
                                 1157–58. Here,
                                          Here, claims
                                                claims 2-4
                                                       2–4 and
                                                           and 19-20
                                                               19–20 are
                                                                     are necessarily
                                                                         necessarily within
                                                                                     within the
                                                                                            the

  scope of
  scope of claim 1 because
           claim 1 because they
                           they are
                                are dependent
                                    dependent claims.
                                              claims. It is undisputed
                                                      It is undisputed that
                                                                       that the
                                                                            the ’590 patent provides
                                                                                '590 patent provides

  no working
  no working examples
             examples of
                      of two
                         two of
                             of the
                                the four
                                    four Markush-group members in
                                         Markush-group members in claims 3 and
                                                                  claims 3 and 20
                                                                               20 (IgE
                                                                                  (IgE and
                                                                                       and

  IgA), nor
  IgA), nor does
            does the
                 the specification
                     specification provide
                                   provide any
                                           any guidance
                                               guidance as
                                                        as to
                                                           to how
                                                              how one
                                                                  one skilled
                                                                      skilled in
                                                                              in the
                                                                                 the art
                                                                                     art would
                                                                                         would alter
                                                                                               alter

  the process
  the process disclosed
              disclosed in the patent
                        in the patent or
                                      or engineer antibodies to
                                         engineer antibodies to arrive
                                                                arrive at
                                                                       at those
                                                                          those isotypes.
                                                                                isotypes. In fact,
                                                                                          In fact,

  Baxalta’s expert
  Baxalta's expert testified
                   testified that
                             that it
                                  it would
                                     would be
                                           be exceedingly
                                              exceedingly rare
                                                          rare to
                                                               to discover
                                                                  discover antibodies
                                                                           antibodies of
                                                                                      of those
                                                                                         those isotypes
                                                                                               isotypes

  for which
  for which there
            there are
                  are no
                      no working
                         working examples.
                                 examples. See
                                           See supra § VI
                                               supra § VI ¶
                                                          ¶ 3(a).
                                                            3(a). Although
                                                                  Although the
                                                                           the specification
                                                                               specification states
                                                                                             states

  that aa class
  that    class switch
                switch "may
                       “may also
                            also be
                                 be caused
                                    caused in
                                           in aa directed
                                                 directed manner
                                                          manner by
                                                                 by means
                                                                    means of
                                                                          of genetic
                                                                             genetic engineering
                                                                                     engineering

  methods” known
  methods" known in the prior
                 in the prior art,
                              art, ’590 patent, col.
                                   '590 patent, col. 6, ll. 41-45,
                                                     6, 11. 41–45, the
                                                                   the inventors
                                                                       inventors of
                                                                                 of the
                                                                                    the ’590 patent did
                                                                                        '590 patent did

  not perform
  not perform such
              such engineering
                   engineering or
                               or provide
                                  provide any
                                          any specific
                                              specific guidance
                                                       guidance beyond
                                                                beyond reference
                                                                       reference to
                                                                                 to what
                                                                                    what was
                                                                                         was

  known in
  known    the prior
        in the prior art.
                     art.



                                                    42
                                                    42

                                                Appx71
                                                Appx71
                Case: 22-1461            Document: 25            Page: 59        Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 43 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38638




          Nor are
          Nor are there
                  there any
                        any working
                            working examples
                                    examples of
                                             of seven
                                                seven of
                                                      of the
                                                         the nine
                                                             nine members
                                                                  members of
                                                                          of the
                                                                             the Markush group
                                                                                 Markush group

  in claim
  in claim 4—"a
           4—“a chimeric antibody, aa humanized
                chimeric antibody,    humanized antibody,
                                                antibody, .. .. .. ,, aa bispecific
                                                                         bispecific antibody,
                                                                                    antibody, aa diabody,
                                                                                                 diabody,

  and di-,
  and di-, oligo-
           oligo- or
                  or multimers
                     multimers thereof."
                               thereof.” See
                                         See supra § VI
                                             supra § VI ¶ 3(b). Although
                                                        ¶ 3(b). Although aa POSITA
                                                                            POSITA would
                                                                                   would have
                                                                                         have aa

  general understanding
  general understanding of
                        of the
                           the process
                               process for modifying an
                                       for modifying an antibody
                                                        antibody into these various
                                                                 into these various formats, there
                                                                                    formats, there

  is no
  is no specific
        specific direction
                 direction as
                           as to
                              to the
                                 the structure
                                     structure (e.g.,
                                               (e.g., to
                                                      to what
                                                         what antigen
                                                              antigen the
                                                                      the second
                                                                          second arm
                                                                                 arm of
                                                                                     of aa bispecific
                                                                                           bispecific

  antibody should
  antibody        bind), 19 and
           should bind),19  and no
                                no assurance
                                   assurance that,
                                             that, once
                                                   once the
                                                        the modifications
                                                            modifications are
                                                                          are made,
                                                                              made, the
                                                                                    the antibody
                                                                                        antibody will
                                                                                                 will

  retain the
  retain the same
             same functional qualities much
                  functional qualities much less that making
                                            less that making it
                                                             it bispecific
                                                                bispecific would
                                                                           would enhance
                                                                                 enhance its
                                                                                         its

  properties. See
  properties. See id. ¶ 26.
                  id. ¶ 26.

          Of particular
          Of particular significance
                        significance is the absence
                                     is the absence of
                                                    of any
                                                       any working
                                                           working examples
                                                                   examples of
                                                                            of aa humanized
                                                                                  humanized antibody
                                                                                            antibody

  (claim 19).
  (claim      While there
         19). While there are
                          are references
                              references to
                                         to humanized
                                            humanized antibodies
                                                      antibodies in
                                                                 in the
                                                                    the list
                                                                        list of
                                                                             of antibody
                                                                                antibody types
                                                                                         types known
                                                                                               known

  in the
  in the art,
         art, ’590 patent col.
              '590 patent col. 6, ll. 15-19,
                               6,11.  15–19, 49-63,
                                             49–63, and
                                                    and aa reference
                                                           reference to
                                                                     to prior-art
                                                                        prior-art humanization techniques,
                                                                                  humanization techniques,

  see id.
  see     at col.
      id. at      7, 1.
             col. 7, l. 66—col.
                        66–col. 8,
                                8, 1.4,
                                   l.4, the
                                        the inventors
                                            inventors never
                                                      never created
                                                            created aa humanized
                                                                       humanized antibody,
                                                                                 antibody, provided
                                                                                           provided no
                                                                                                    no

  guidance in
  guidance    the specification
           in the specification as
                                as to
                                   to how to create
                                      how to create aa humanized
                                                       humanized antibody
                                                                 antibody that
                                                                          that would
                                                                               would exhibit the
                                                                                     exhibit the

  claimed function,
  claimed function, and
                    and never
                        never determined
                              determined whether
                                         whether humanizing
                                                 humanizing an
                                                            an antibody
                                                               antibody (that
                                                                        (that would
                                                                              would otherwise
                                                                                    otherwise

  satisfy the
  satisfy the claim
              claim limitations) would preserve
                    limitations) would preserve its claimed procoagulant
                                                its claimed procoagulant function, see supra
                                                                         function, see       § VI
                                                                                       supra § VI

    27; Marasco
  ¶ 27;
  ¶     Marasco Dep.
                Dep. Tr. at 120:13-20,
                     Tr. at 120:13–20, 125:24-126:04.
                                       125:24–126:04. And
                                                      And because
                                                          because there
                                                                  there is no way
                                                                        is no way to
                                                                                  to predict
                                                                                     predict

  whether, after
  whether, after humanization,
                 humanization, an
                               an antibody
                                  antibody or
                                           or antibody
                                              antibody fragment will retain
                                                       fragment will retain its
                                                                            its ability
                                                                                ability to
                                                                                        to bind
                                                                                           bind to
                                                                                                to

  factor IX/IXa
  factor        and increase
         IX/IXa and          the procoagulant
                    increase the procoagulant activity
                                              activity of
                                                       of factor IXa, additional
                                                          factor IXa, additional screening
                                                                                 screening would
                                                                                           would be
                                                                                                 be



  19
  19        Although Baxalta's
           Although    Baxalta’s expert
                                  expert opines
                                          opines that
                                                   that "a
                                                        “a POSITA
                                                           POSITA would would know
                                                                                know toto identify
                                                                                           identify aa second
                                                                                                       second binding
                                                                                                               binding
  specificity for
  specificity  for the
                   the bispecific
                        bispecific form
                                    form ofof the
                                              the claimed
                                                   claimed invention,”        Pl.’s Opp'n,
                                                              invention," Pl.'s     Opp’n, Ex.     12, ECF
                                                                                              Ex. 12,        No. 424-
                                                                                                        ECF No.   424-
  13, Chang
  13,  Chang Rpt.
               Rpt. ¶¶ 81,
                       81, and
                           and that
                                that aa "natural
                                        “natural choice
                                                   choice for
                                                            for aa second
                                                                    second binding
                                                                             binding specificity
                                                                                       specificity would
                                                                                                     would bebe one  of
                                                                                                                one of
  the two
  the  two proteins
            proteins associated
                      associated with
                                   with Factor
                                         Factor IXa
                                                 IXa inin the
                                                          the coagulation
                                                                coagulation cascade:      Factor VIII
                                                                               cascade: Factor     VIII or
                                                                                                         or Factor
                                                                                                            Factor X,"
                                                                                                                   X,”
  id. at ¶
  id. at ¶ 82,
           82, an
               an inventor
                  inventor of
                            of the
                               the ’590    patent admitted
                                     '590 patent    admitted that,
                                                                that, at
                                                                      at the
                                                                         the time
                                                                              time of
                                                                                    of filing,  they had
                                                                                       filing, they   had not
                                                                                                           not thought
                                                                                                               thought
  of or
  of  or disclosed
         disclosed which
                    which antigens
                            antigens aa bispecific
                                          bispecific antibody
                                                       antibody would
                                                                    would bind,
                                                                            bind, see   Kerschbaumer Dep.
                                                                                   see Kerschbaumer        Dep. Tr.  at
                                                                                                                 Tr. at
  19:459–461, and
  19:459-461,    and another
                       another Baxalta
                               Baxalta expert
                                          expert conceded
                                                   conceded that that additional
                                                                       additional confirmatory      testing would
                                                                                   confirmatory testing      would be
                                                                                                                    be
  necessary following
  necessary               modification of
              following modification      of an
                                             an antibody
                                                antibody intointo aa different
                                                                      different format
                                                                                 format toto ensure   that the
                                                                                             ensure that   the binding
                                                                                                               binding
  and activating
  and   activating functions
                   functions of
                              of the
                                  the antibody
                                       antibody remained
                                                  remained in      place, Marasco
                                                               in place,  Marasco Dep.
                                                                                     Dep. Tr.    at 127:24-128:25.
                                                                                             Tr. at 127:24–128:25.
                                                          43
                                                          43

                                                      Appx72
                                                      Appx72
             Case: 22-1461          Document: 25       Page: 60      Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 44 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38639




  necessary after
  necessary after modification
                  modification of
                               of the
                                  the antibody.
                                      antibody. See
                                                See supra § VI
                                                    supra § VI ¶ 27; Garcia
                                                               ¶ 27;        Rpt. ¶¶
                                                                     Garcia Rpt. ¶¶ 84-85,
                                                                                    84–85, 167.
                                                                                           167.

  Baxalta’s expert
  Baxalta's expert Dr.
                   Dr. Marasco
                       Marasco wrote
                               wrote in
                                     in aa patent
                                           patent of
                                                  of his
                                                     his own,
                                                         own, and
                                                              and confirmed
                                                                  confirmed at
                                                                            at his
                                                                               his deposition,
                                                                                   deposition, that
                                                                                               that

  “humanizing an
  "humanizing an antibody
                 antibody is
                          is not
                             not as
                                 as efficient
                                    efficient aa process
                                                 process as
                                                         as sometimes presented,” and
                                                            sometimes presented," and that
                                                                                      that after
                                                                                           after

  humanization an
  humanization an antibody
                  antibody "frequently
                           “frequently does
                                       does not
                                            not have
                                                have the
                                                     the same
                                                         same effectiveness as the
                                                              effectiveness as the original
                                                                                   original murine
                                                                                            murine

  antibody.” Marasco
  antibody." Marasco Dep.
                     Dep. Tr. at 130:02-131:07.
                          Tr. at 130:02–131:07.

                                      D.
                                      D.     Dependent Claims
                                             Dependent Claims

         So
         So far, the court
            far, the court has
                           has been
                               been focused on claim
                                    focused on       1, but
                                               claim 1, but the
                                                            the dependent
                                                                dependent claims
                                                                          claims fare no better.
                                                                                 fare no better. If
                                                                                                 If

  anything, it
  anything, it is
               is even
                  even clearer
                       clearer that
                               that the
                                    the dependent claims are
                                        dependent claims are invalid
                                                             invalid given the dearth
                                                                     given the dearth of
                                                                                      of working
                                                                                         working

  examples for
  examples     the vast
           for the vast majority
                        majority of
                                 of what
                                    what they
                                         they claim
                                              claim as
                                                    as aa matter
                                                          matter of
                                                                 of structure,
                                                                    structure, as
                                                                               as discussed
                                                                                  discussed supra
                                                                                            supra

  § VIII.C.
  § VIII.C. And
            And the
                the functional
                    functional limitations of claim
                               limitations of claim 11 apply
                                                       apply equally
                                                             equally to
                                                                     to the
                                                                        the dependent
                                                                            dependent claims
                                                                                      claims because
                                                                                             because

  they each
  they each claim
            claim the
                  the antibody
                      antibody or
                               or antibody
                                  antibody fragment according to
                                           fragment according to claim 1 and
                                                                 claim 1 and do
                                                                             do not
                                                                                not narrow
                                                                                    narrow the
                                                                                           the

  functional limitations
  functional             of claim
             limitations of       1 in
                            claim 1 in any
                                       any way.
                                           way. Alcon
                                                Alcon Rsch.,
                                                      Rsch., Ltd.
                                                             Ltd. v.        Inc., 687
                                                                     Apotex Inc.,
                                                                  v. Apotex           F.3d 1362,
                                                                                  687 F.3d 1362, 1367
                                                                                                 1367

  (Fed. Cir.
  (Fed. Cir. 2012)
             2012) ("[B]ecause
                   (“[B]ecause aa dependent
                                  dependent claim narrows the
                                            claim narrows the claim
                                                              claim from
                                                                    from which
                                                                         which it
                                                                               it depends,
                                                                                  depends, it
                                                                                           it must
                                                                                              must

  ‘incorporate
  `incorporate .. .. .. all
                        all the
                            the limitations
                                limitations of
                                            of the
                                               the claim
                                                   claim to
                                                         to which
                                                            which it
                                                                  it refers.’” (quotation omitted)).
                                                                     refers.' (quotation  omitted)).

  Accordingly, given
  Accordingly, given the
                     the limited working examples
                         limited working          for the
                                         examples for the structural
                                                          structural limitations of the
                                                                     limitations of the asserted
                                                                                        asserted

  dependent claims—including
  dependent claims––including no
                              no working
                                 working examples
                                         examples of
                                                  of antibodies
                                                     antibodies that
                                                                that satisfy
                                                                     satisfy claim
                                                                             claim 19
                                                                                   19 (humanized
                                                                                      (humanized

  antibodies), only
  antibodies), only examples of two
                    examples of two of
                                    of the
                                       the four
                                           four isotypes
                                                isotypes listed
                                                         listed in claims 3
                                                                in claims 3 and
                                                                            and 20,
                                                                                20, and
                                                                                    and no working
                                                                                        no working

  examples of
  examples of seven
              seven of
                    of the
                       the nine
                           nine structural
                                structural formats
                                           formats listed
                                                   listed in claim 4—combined
                                                          in claim 4—combined with
                                                                              with the
                                                                                   the broad
                                                                                       broad scope
                                                                                             scope

  of the
  of the functional
         functional limitations under claim
                    limitations under claim 1
                                            1 and
                                              and the
                                                  the lack of guidance
                                                      lack of guidance in
                                                                       in the
                                                                          the specification,
                                                                              specification, no
                                                                                             no

  reasonable jury
  reasonable jury could
                  could find the dependent
                        fmd the  dependent claims are enabled.
                                           claims are enabled.

                               E.
                               E.      Nonenablement of
                                       Nonenablement of Emicizumab
                                                        Emicizumab

         Finally, it
         Finally, it is significant that
                     is significant that the
                                         the patent
                                             patent does
                                                    does not
                                                         not remotely enable the
                                                             remotely enable the accused
                                                                                 accused antibody,
                                                                                         antibody,

  emicizumab, which
  emicizumab, which must
                    must fall within the
                         fall within the scope
                                         scope of
                                               of the
                                                  the claims
                                                      claims to
                                                             to establish an infringement
                                                                establish an              claim.
                                                                             infringement claim.



                                                  44
                                                  44

                                              Appx73
                                              Appx73
                Case: 22-1461            Document: 25            Page: 61         Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 45 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38640




  Emicizumab
  Emicizumab increases the procoagulant
             increases the procoagulant effect
                                        effect by
                                               by approximately 10% 20—an amount
                                                  approximately 10%20—an  amount that
                                                                                 that has
                                                                                      has

  proven capable
  proven capable of
                 of reducing
                    reducing bleeding
                             bleeding episodes in inhibitor
                                      episodes in           patients by
                                                  inhibitor patients by aa clinically
                                                                           clinically significant
                                                                                      significant

  amount. See
  amount. See Smith Decl. ¶¶
              Smith Decl. ¶¶ 44,
                             44, 49;
                                 49; Malackowski
                                     Malackowski Rpt.
                                                 Rpt. at
                                                      at 34,
                                                         34, 36
                                                             36 .. Yet,
                                                                   Yet, as
                                                                        as discussed,
                                                                           discussed, the
                                                                                      the patent
                                                                                          patent

  does not
  does not disclose an antibody
           disclose an antibody that
                                that has
                                     has procoagulant
                                         procoagulant activity
                                                      activity anywhere
                                                               anywhere near that amount.
                                                                        near that amount. None
                                                                                          None of
                                                                                               of

  the 11
  the 11 disclosed
         disclosed antibodies
                   antibodies in the specification
                              in the specification increase
                                                   increase the
                                                            the procoagulant
                                                                procoagulant activity
                                                                             activity of
                                                                                      of factor
                                                                                         factor IXa
                                                                                                IXa

  more than
  more than 3.75%,
            3.75%, and
                   and it
                       it is unknown whether
                          is unknown whether that
                                             that example
                                                  example would
                                                          would perform
                                                                perform the
                                                                        the same
                                                                            same in
                                                                                 in the
                                                                                    the presence
                                                                                        presence

  of Factor
  of Factor VIII
            VIII inhibitors. See supra
                 inhibitors. See       § VI
                                 supra § VI ¶¶
                                            ¶¶ 4,
                                               4, 6.
                                                  6.

           Moreover, key
           Moreover,     to emicizumab’s
                     key to              therapeutic effectiveness
                            emicizumab's therapeutic effectiveness is its structure
                                                                   is its structure as
                                                                                    as aa bispecific
                                                                                          bispecific

  humanized antibody,
  humanized antibody, see
                      see Sampei Article at
                          Sampei Article at 2,
                                            2, and
                                               and as
                                                   as discussed,
                                                      discussed, there
                                                                 there is
                                                                       is no
                                                                          no working
                                                                             working example of
                                                                                     example of

  either aa bispecific
  either    bispecific or
                       or humanized
                          humanized antibody
                                    antibody in the specification
                                             in the specification of
                                                                  of the
                                                                     the ’590 patent, let
                                                                         '590 patent,     alone an
                                                                                      let alone an

  antibody that
  antibody that is
                is both.
                   both. Two
                         Two inventors of the
                             inventors of the ’590 patent, Scheiflinger
                                              '590 patent,              and Kerschbaumer,
                                                           Scheiflinger and Kerschbaumer, admitted
                                                                                          admitted

  they did
  they did not
           not make
               make aa bispecific
                       bispecific antibody,
                                  antibody, see
                                            see Scheiflinger Dep. Tr.
                                                Scheiflinger Dep.     at 68:08–19;
                                                                  Tr. at           Kerschbaumer Tr.
                                                                         68:08-19; Kerschbaumer Tr.

  at 18:429-434,
  at 18:429–434, and
                 and Baxalta's
                     Baxalta’s expert,
                               expert, Dr.
                                       Dr. Krishnaswamy,
                                           Krishnaswamy, conceded
                                                         conceded that
                                                                  that the
                                                                       the patent's
                                                                           patent’s "language"
                                                                                    “language”

  about antibodies
  about antibodies of
                   of the
                      the invention have therapeutic
                          invention have therapeutic utility
                                                     utility was
                                                             was merely
                                                                 merely "aspirational,"
                                                                        “aspirational,”

  Krishnaswamy Dep.
  Krishnaswamy Dep. Tr. at 42:05-45:14.
                    Tr. at 42:05–45:14. Significantly, it took
                                        Significantly, it took Chugai
                                                               Chugai over
                                                                      over ten
                                                                           ten years
                                                                               years of
                                                                                     of multi-
                                                                                        multi-

  phased experimentation
  phased experimentation and
                         and the
                             the screening
                                 screening of
                                           of tens
                                              tens of
                                                   of thousands
                                                      thousands of
                                                                of candidate compounds to
                                                                   candidate compounds to discover
                                                                                          discover

  emicizumab. See
  emicizumab. See supra § VI
                  supra § VI ¶ 28.
                             ¶ 28.

           Although Baxalta
           Although Baxalta concedes that emicizumab
                            concedes that emicizumab is
                                                     is within
                                                        within the
                                                               the scope
                                                                   scope of
                                                                         of the
                                                                            the claims, it now
                                                                                claims, it now

  argues that
  argues that the
              the court
                  court should
                        should not
                               not be
                                   be concerned
                                      concerned with
                                                with the
                                                     the lack of enablement
                                                         lack of enablement of
                                                                            of emicizumab because
                                                                               emicizumab because



  20
  20
          Baxalta’s expert
          Baxalta's         disputes the
                     expert disputes   the accuracy
                                               accuracy of  of this
                                                               this 10
                                                                    10 percent
                                                                        percent figure,
                                                                                    figure, see  Krishnaswamy Rpt
                                                                                             see Krishnaswamy      Rpt
  ¶ 112,
  ¶ 112, but
         but that
             that opinion
                  opinion is
                          is based
                             based onon testing
                                        testing of    of emicizumab
                                                         emicizumab at at aa diluted   concentration level
                                                                             diluted concentration    level and
                                                                                                             and says
                                                                                                                  says
  nothing of
  nothing of the
              the concentration
                  concentration level
                                 level used
                                        used in    in the
                                                      the treatment
                                                          treatment of
                                                                     of hemophilia
                                                                        hemophilia A.    A. Moreover,
                                                                                             Moreover, the
                                                                                                        the literature
                                                                                                            literature
  relied on
  relied on by
             by the
                 the same
                      same expert
                            expert states
                                     states that  that emicizumab
                                                        emicizumab at at the
                                                                           the treatment
                                                                                treatment concentration
                                                                                              concentration level    is
                                                                                                              level is
  “assumed to
  "assumed   to be
                be equivalent to that
                   equivalent to  that of
                                       of .. .. .. 10%
                                                   10% FVIII."
                                                         FVIII.” Uchida
                                                                  Uchida et et al.,
                                                                               al., A
                                                                                    Afirst-in-human
                                                                                       first-in-human phase
                                                                                                       phase 1 1 study
                                                                                                                 study
  of ACE910,
  of  ACE910, aa novel
                    novel factor
                           factor VIII–mimetic
                                     VIII—mimetic bispecific           antibody, in
                                                           bispecific antibody,            healthy subjects,
                                                                                      in healthy                Blood
                                                                                                    subjects, Blood
  127(13):1633–1641 (2016)
  127(13):1633-1641     (2016) (cited
                               (cited as
                                       as Ex.
                                            Ex. E    E in Krishnaswamy Rpt).
                                                       in Krishnaswamy      Rpt).
                                                           45
                                                           45

                                                      Appx74
                                                      Appx74
                Case: 22-1461            Document: 25            Page: 62         Filed: 11/04/2022

                                573-1 Filed 01/13/22 Page 46 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38641
                                                                             38641




  the high
  the high coagulant
           coagulant effect
                     effect of
                            of emicizumab
                               emicizumab may
                                          may be
                                              be due
                                                 due to
                                                     to the
                                                        the fact that it
                                                            fact that it is
                                                                         is bispecific
                                                                            bispecific and
                                                                                       and binds
                                                                                           binds Factor
                                                                                                 Factor

  X with
  X with the
         the other
             other arm,
                   arm, whereas
                        whereas the
                                the asserted
                                    asserted claims involve the
                                             claims involve the arm
                                                                arm that
                                                                    that binds
                                                                         binds Factor
                                                                               Factor IX.
                                                                                      IX. See Hr’g
                                                                                          See Hr'g

  Tr. at
  Tr. at 50:20–51:05.
         50:20-51:05. In that event,
                      In that        Baxalta suggests
                              event, Baxalta suggests maybe
                                                      maybe aa compound
                                                               compound is
                                                                        is not
                                                                           not within
                                                                               within the
                                                                                      the scope
                                                                                          scope of
                                                                                                of

  the claims
  the        if the
      claims if the procoagulant
                    procoagulant effect
                                 effect is only caused
                                        is only        by aa bispecific
                                                caused by    bispecific antibody's
                                                                        antibody’s arm
                                                                                   arm that
                                                                                       that binds
                                                                                            binds to
                                                                                                  to
                                 21
  Factor X.
  Factor X. See
            See id. at 52:03–19.
                id. at 52:03-19.21  This convoluted
                                    This            argument, offered
                                         convoluted argument, offered for the first
                                                                      for the       time at
                                                                              first time at the
                                                                                            the

  Summary
  Summary Judgment hearing, does
          Judgment hearing, does nothing
                                 nothing to
                                         to show
                                            show enablement. Baxalta convinced
                                                 enablement. Baxalta convinced the
                                                                               the Federal
                                                                                   Federal

  Circuit that
  Circuit that bispecific
               bispecific antibodies
                          antibodies are
                                     are within
                                         within the
                                                the scope
                                                    scope of
                                                          of the
                                                             the claims.
                                                                 claims. It cannot now
                                                                         It cannot now prevail
                                                                                       prevail by
                                                                                               by

  arguing that
  arguing that one
               one bispecific
                   bispecific antibody
                              antibody is perhaps not
                                       is perhaps not within
                                                      within the
                                                             the scope
                                                                 scope of
                                                                       of the
                                                                          the claims if its
                                                                              claims if its procoagulant
                                                                                            procoagulant

  activity results
  activity results from
                   from its
                        its bispecific
                            bispecific nature.
                                       nature.

           Past decisions
           Past decisions have
                          have advised
                               advised that
                                       that patents
                                            patents should
                                                    should be
                                                           be awarded
                                                              awarded to
                                                                      to the
                                                                         the true
                                                                             true inventor and that
                                                                                  inventor and that the
                                                                                                    the

  enablement requirement
  enablement requirement serves
                         serves an
                                an important
                                   important purpose
                                             purpose in
                                                     in this
                                                        this respect.
                                                             respect. See
                                                                      See Amgen
                                                                          Amgen Inc.
                                                                                Inc. v. Sanofi,
                                                                                     v. Sanofi,

  Aventisub LLC,
  Aventisub      850 F.
            LLC, 850 F. App'x
                        App’x 794,
                              794, 796 (Fed. Cir.
                                   796 (Fed. Cir. 2021)
                                                  2021) (denying
                                                        (denying rehearing
                                                                 rehearing en
                                                                           en banc)
                                                                              banc) ("One
                                                                                    (“One should
                                                                                          should

  not gain
  not      exclusivity over
      gain exclusivity over claimed
                            claimed subject
                                    subject matter
                                            matter without
                                                   without disclosing
                                                           disclosing how to make
                                                                      how to make and
                                                                                  and use
                                                                                      use it.
                                                                                          it. And
                                                                                              And

  if one
  if one considers that one
         considers that one has
                            has invented
                                invented aa group
                                            group of
                                                  of compositions defined by
                                                     compositions defined by aa genus
                                                                                genus but
                                                                                      but does
                                                                                          does not
                                                                                               not

  know enough
  know enough to
              to fully
                 fully enable that genus,
                       enable that genus, one
                                          one would
                                              would suppress
                                                    suppress innovation
                                                             innovation if one were
                                                                        if one were able
                                                                                    able to
                                                                                         to claim
                                                                                            claim

  such aa broad
  such    broad genus,
                genus, not
                       not enhance
                           enhance it.”); see also
                                   it."); see also J.E.M.
                                                   J.E.M. Ag Supply, 534
                                                          Ag Supply,     U.S. at
                                                                     534 U.S. at 142
                                                                                 142 (identifying
                                                                                     (identifying an
                                                                                                  an

  enabling disclosure
  enabling disclosure as
                      as the
                         the "quid
                             “quid pro
                                   pro quo of the
                                       quo of the right
                                                  right to
                                                        to exclude"
                                                           exclude” (quoting
                                                                    (quoting Kewanee
                                                                             Kewanee Oil
                                                                                     Oil Co.
                                                                                         Co. v.
                                                                                             v.



  21
  21
          Counsel: "The
          Counsel:   “The claimed
                            claimed invention
                                      invention is    about the
                                                   is about   the bispecific
                                                                   bispecific antibody
                                                                                antibody withwith the
                                                                                                   the arm
                                                                                                       arm that
                                                                                                            that binds
                                                                                                                  binds
  Factor 9,
  Factor  9, 9A
             9A and
                 and that
                       that arm
                             arm that
                                  that exhibits
                                        exhibits the
                                                  the procoagulant
                                                        procoagulant activity
                                                                         activity on   on Factor
                                                                                          Factor 9,
                                                                                                  9, 9A,
                                                                                                     9A, and
                                                                                                          and it's
                                                                                                               it’s not
                                                                                                                    not
  necessary to
  necessary  to enable
                enable oror to
                            to fully
                               fully describe
                                     describe even      the portions
                                                 even the   portions ofof the
                                                                           the .. .. .. composition
                                                                                        composition that
                                                                                                     that are
                                                                                                          are not
                                                                                                               not part
                                                                                                                   part
  of the
  of the claim."
         claim.”
          Court: "[
          Court:   “[S]o   there would
                     S]o there    would be be nono infringement
                                                     infringement herehere ifif Hemlibra
                                                                                 Hemlibra procoagulant
                                                                                               procoagulant activity
                                                                                                               activity
  resulted from
  resulted from the
                  the Factor
                      Factor 1010 binding
                                   binding and
                                             and not
                                                  not from
                                                        from the
                                                               the fact
                                                                    fact that
                                                                         that it    binds, the
                                                                               it binds,    the other
                                                                                                other chain
                                                                                                       chain binds
                                                                                                              binds to
                                                                                                                     to
  Factor 9A?"
  Factor  9A?”
          Counsel: "If
          Counsel:   “If the
                         the only
                              only procoagulant
                                   procoagulant activity
                                                     activity []
                                                              [] came
                                                                 came from
                                                                        from the
                                                                               the binding
                                                                                       binding of
                                                                                               of Factor
                                                                                                  Factor 10
                                                                                                         10 and
                                                                                                             and there
                                                                                                                  there
  was no
  was  no procoagulant
          procoagulant activity
                          activity as
                                   as aa result
                                         result of
                                                of the
                                                    the Factor
                                                        Factor [IX/IXA]
                                                                 [IX/IXA] arm,
                                                                             arm, my   my understanding
                                                                                          understanding isis that
                                                                                                             that there
                                                                                                                  there
  would be
  would  be no
             no infringement."
                infringement.”


                                                          46
                                                          46

                                                      Appx75
                                                      Appx75
             Case: 22-1461          Document: 25           Page: 63      Filed: 11/04/2022


                                573-1 Filed 01/13/22 Page 47 of 47 PagelD
Case 1:17-cv-00509-TBD Document 573-1                              PageID #: 38642




 Bicron Co►p., 416 U.S. 470, 484 (1974)); McRO, 959 F.3d at 1099 100 ("The requirement of

 enablement . . . enforces the essential `quid pro quo of the patent bargain. — (quoting AK Steel

 Corp. v. Sollac, 344 F.3d 1234, 1244 (Fed. Cir. 2003)).

        That is, the enablement requirement ensures that the entity that does the hard work to invent

 a useful compound is the recipient of the patent, not some earlier inventor who may have conceived

of such a therapy or made the first step in research, but did not enable its ultimate production. See

 Genentech, 108 F.3d at 1366 ("Patent protection is granted in return for an enabling disclosure of

an invention, not for vague intimations of general ideas that may or may not be workable."); see

also Wyeth, 720 F.3d at 1386 (finding that disclosing "only a starting point for further iterative

research in an unpredictable and poorly understood field" does not constitute sufficient

enablement). That is the situation here. The court cannot allow Baxalta to provide a starting point

 for further research and then claim "someone else's solution to the problem." Genentech, 108 F.3d

at 1366.

                                         CONCLUSION

        For the foregoing reasons, the court GRANTS Genentech's motion for summary judgment

of invalidity for lack of enablement and DENIES as moot Genentech's motion for summary

judgment in all other respects.




                                              Honorable Timot y B. Dyk
                                                                             t,
                                              United States Circuit Judge, sitting by designation




                                                 47



                                                Appx76
                                                Appx76
            Case: 22-1461             Document: 25         Page: 64        Filed: 11/04/2022


 Case 1:17-cv-00509-TBD Document 574 Filed 01/13/22 Page 11 of 11 PageID
                                                                  PagelD #: 38594




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


BAXALTA INCORPORATED and
BAXALTA GMBH,

                        Plaintiffs,

                 v.                                            Civil Action No. 17-509-TBD

GENENTECH, INC. and CHUGAI
PHARMACEUTICAL CO., LTD.,

                        Defendants.



                                               ORDER
       For reasons discussed in the accompanying Memorandum Opinion issued this 13th day of

January, 2022,

       IT IS HEREBY ORDERED that:
       1.        Genentech's Motion for Summary Judgment, ECF No. 407, is GRANTED on the

                 ground that the asserted claims of the '590 patent are invalid for lack of enablement,

                 and judgment is entered in favor of Genentech.

       2.        As the Memorandum Opinion was filed under seal, the parties shall meet and confer

                 and shall on or before January 18, 2022, submit any proposed redactions. The

                 parties are advised that redactions are strongly disfavored and proposed redactions

                 must be accompanied by a showing of good cause. Thereafter, the court will issue

                 a public version of its Memorandum Opinion.

       This is a final appealable order.

       SO ORDERED.

                                                Honorable Timothy B. Dyk
                                                United States Circuit Judge, sitting by designation




                                                  Appx77
                                                  Appx77
          Case: 22-1461                             Document: 25                           Page: 65                   Filed: 11/04/2022


                                                                                     11111111111111101101119111111
                                                                                                    59111111111
                                                                                                            1111
                                                                                                              1111
                                                                                                               1111
                                                                                                                US007033590B1

(12) United States Patent                                                                 (10) Patent
                                                                                          (10) Patent No.:     US                         7,033,590 B1
     Scheiflinger et al.                                                                       Date of Patent:
                                                                                          (45) Date of Patent:                               Apr. 25, 2006


(54)
(54)    FACTOR
        FACTOR IX/FACTOR
               IX/FACTOR IXA
                         IXA ACTIVATING
                             ACTIVATING                                               Bajaj, S.P.
                                                                                      Bajaj,   S.P. etet al.,
                                                                                                           al., AA Monoclonal
                                                                                                                      Monoclonal Antibody
                                                                                                                                       Antibody to  to Factor
                                                                                                                                                       Factor IXIX That
                                                                                                                                                                   That
        ANTIBODIES AND ANTIBODY                                                       Inhibits
                                                                                      Inhibits thethe Factor
                                                                                                         Factor VIII:  VIII:Ca
                                                                                                                             Ca Potentiation
                                                                                                                                   Potentiation of  of Factor
                                                                                                                                                       Factor XX Acti-
                                                                                                                                                                   Acti
        DERVATIVES
        DERIVATIVES                                                                   vation, The Journal of
                                                                                      vation,                           of Biological
                                                                                                                            Biological Chemistry, 260(21), pp.
                                                                                      11574-11580 (1985).
                                                                                      11574-11580           (1985).
(75)    Inventors: Friedrich Scheiflinger, Vienna (AT);
                                                  (AT):                               Bessos, H.,
                                                                                      Bessos,      H., et  et al.,
                                                                                                                al., TheThe Characterization
                                                                                                                               Characterization of     of aa Panel
                                                                                                                                                              Panel ofof
                   Randolf Kerschbaumer,
                   Randolf  Kerschbaumer, Vienna
                                            Vienna (AT);
                                                    (AT);                             Monoclonal Antibodies
                                                                                      Monoclonal          Antibodies to     to Human
                                                                                                                                 Human Coagulation
                                                                                                                                           Coagulation Factor
                                                                                                                                                            Factor IX,
                                                                                                                                                                     IX,
                   Falko-Guenter Falkner,
                   Falko-Guenter   Falkner, Orth/Donau
                                            Ortb/Donau                                Thrombosis Research,
                                                                                      Thrombosis         Research, 40,    40, pp.
                                                                                                                                pp. 863-867
                                                                                                                                      863–867 (1985).
                                                                                                                                                  (1985).
                   (AT);
                   (AT); Friedrich
                         Friedrich Dorner,
                                    Dorner, Vienna (AT);
                                            Vienna (AT):                              Cao, Y Y. et al., Bispecific
                                                                                                            Bispecific Antibodies as Novel     Novel Bioconjugates,
                                                                                                                                                       Bioconjugates,
                   Hans-Peter Schwarz,
                   Hans-Peter  Schwarz, Vienna
                                         Vienna (AT)                                  Bioconjugate Chemistry, 9(6); pp. 635-644 (1998).
                                                                                      Bioconjugate
(73)    Assignee: Baxter Aktiengesellschaft, Vienna (AT)                              Cohen, F.E.,
                                                                                      Cohen,      F.E., et et al.,
                                                                                                                al., The
                                                                                                                       The Combinatorial
                                                                                                                              Combinatorial Approach,
                                                                                                                                                  Approach, Protein
                                                                                                                                                                Protein
                                                                                      Structure Prediction—A
                                                                                      Structure       Prediction—A Practical   Practical Approach
                                                                                                                                             Approach (Ed. (Ed. M.J.E.
                                                                                                                                                                 M.J.E.
                                                                                      Sternberg), Oxford University Press, Ch. 9, pp. 207-227                 207–227
(*) Notice:
( ) Notice. patent
            Subject to any
            Subject to any disclaimer, the term
                           disclaimer, the term of this
                                                of this                               (1996).
                                                                                      (1996).
                     patent is extended or adjusted under 35
                   is extended or adjusted under 35                                   Engelhardt, O., et al., Two Step Cloning ofAntibody       of Antibody Variable
                                                                                                                                                               Variable
                     U.S.C. 154(b)
                             154(b) by 462
                                       462 days.
                                           days.                                      Domains in a Phage
                                                                                      Domains                Phage Display
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U.S. Patent           Apr. 25, 2006         Sheet 1 of 61                      US   7,033,590 B1




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                           Case: 22-1461   Document: 25          Page: 69       Filed: 11/04/2022




                                                                                                                                          lualuct 'S'll




          OD405

         1.000
         0.900
         0.800
         0.700
         0.600
         0.500
         0.400
         0.300
                                                                                                                                            PatIS




Appx82
         0.200
         0.100
                                                                                                                                            19 JO




         0.000                                       i   f   i         '    T    1   1   1   1 1   1


                  iomk3.*3[92      R*M 81e Egls                      g3M@891[PP ?As., LA
                                                                                       ' og?                  S."="tIgl Iti- 12.
                                                                                 c>c,                  C=3   -L                    rs-)


                                              Well number

                                            FIG. 3
                                                                                                                                            IS 06S`££O'L SR
                            Case: 22-1461           Document: 25           Page: 70           Filed: 11/04/2022




                                                                                                                                                             lualuct 'S'll
                                                                                                                                                           U.S. Patent




         2.5




                                                                                CD
                                                                chromogen




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                                                                       S is
          2




                                                                 -  9 CA
                                                               NELISA
         1.5
                                                                                                                                                           Apr. 25, 2006




          1
         05




Appx83
          0                                                I     I I
                                                               r);,o,F) i,< thi,.              :•1-0            Vni › 1› ›                       D i>
               MM                                                                               MG) (-) 0 CO    M G) .1"; I— 0        Z2         -n 0
                         I I iLfixizioloicnkioki
                                         ,6,3 1-1-I-fat -)I i
                                    F i241-                                      N.) R.)   C..) C..) coo.) ca   .p. 41,        -P, .p -p.-p. -P. -D• 4t.
                                                                                                                                                                19 JO t PatIS
                                                                                                                                                           Sheet 4 of 61




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                                  O
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                                                                ifO
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                                                                                                                                   as
                                                                                                                                         Ss
                                                                                                                                               O




                                      as
                                                      CN
                                                                                awara




                MEDIUM
                                                                       S
                                                                           s                                      4th round of subdoning
                                                                                                                                                     O)




                                                      2nd round of subdoning




                                               O)
                           1st round of subdoning                                           3rd round of
                                                                                           st


                                                                                             subdoning

                                                           L
                                                                           V

                                                                had
                                                                CD
                                                               FIG. 4
                                                                                                                                                                IS 06S`££0`L SI
                                                                                                                                                           US 7,033,590 B1
   Case: 22-1461                               Document: 25                                                                     Page: 71                        Filed: 11/04/2022




U.S. Patent                    Apr. 25,
                                    25. 2006                                                                     Sheet 5 of
                                                                                                                         of 61
                                                                                                                            61                                                   US 7,033,590 B1
                                                                                                                                                                                              B1


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                Y as a Y is
                     ant"; 044
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                                                                                                                                                       196/AP2
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                                                                                                                                                                  v- CY
                                                                                                                                                       196/BO
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                                                                                                                                                       196/AO


                                                                                                                                                       193/EO
                                                                                                                                                       193/E0


                                                                                                                                                       193/DO




                                                                                                                                                                  clone number
                                                                                                                                 is 193/AE3
                                                                                                                                    193AE3
                                                                               Higao                                                                   193/AD3
                                                                                                                                                                                     u.
                                                                                                                                                       193/CO


                              SSS                                    S.S.S. S. . . . . .                                        . Y. S.
                                                                                                                                                       193/K3
                                               III series                                          as                    . ..                   NY
                                                                                             N                     exists                              193/K2
                                                                                                                                                       193/BO
                                                                                                                                                       193/B0


                                                                                                                                                       193/AO



                                                                                                                                               l MLW
                                                                                                                                                 MLW
          CNi      CC)        CZ,                         N                            0O              (C!
                              a-                                                       c>              O            O           tz,




                                                                      0




                                                                                           Appx84
                                                                                           Appx84
                                Case: 22-1461        Document: 25   Page: 72       Filed: 11/04/2022




                                                                                                                               lualud 'SIT




                   4
                                                                                                                            U.S. Patent




                                                                                                       -A-FVIII
                                                                                                           (16mU/ml)
                  3.5 -

                   3                                                                                   -A-HM #007/99

                  2.5 -
                                                                                                       -A-196/AF2
                                                                                                                                 900Z `iZ 'AdV
                                                                                                                            Apr. 25, 2006




         907 0
          OD405    2 -
,-ti              1.5 -                                                                                --YI   193/AD3
  >c
  co                                                                                                          (100µg/ml)




Appx85
                                                                                                       -193/AD3
                                                                                                                              19 Jo 9 paqs
                                                                                                                             Sheet 6 of 61




                  0.5 -                                                                                   (12.5µg/ml)
                   0                  I          I                  I          ,         I
                                                                                                007




                                                          OOZ
                                                                          009
                                                                                       099




                       0   50         100       150        200      250    300          350      400
                                                       Time (min)


                                                       FIG. 6A
                                                                                                                                 IS 06S`££0`L SR
                                                                                                                           US 7.033,590 B1
                         Case: 22-1461        Document: 25        Page: 73    Filed: 11/04/2022



                                                                                                              'S'il




                 3.5
                                                                                                         U.S. Patent




                  3-
                                                                                FVIII 16mU/m1
                 2.5 -
                                                                             -2- 196/AF1
                  2
                                                                                                         Apr. 25, 2006
                                                                                                              900Z `S*Z 'AdV




         OD405                                                               -- 198/AC1/1
                 1.5 -
                                                                                (10µg/m1)




Appx86
                  1
                                                                             — mouse IgG
                                                                                (10µg/ml)
                                                                                                              19 Jo L
                                                                                                          Sheet 7 of 61




                 0.5 -




         0897OZ                          20                  40
                                                         1u20S8qu nN
                                                       Scan Number

                                                     FIG. 6B
                                                                                60                80
                                                                                                             la 06S`££0`L SIl
                                                                                                       US 7.033,590 B1
                              Case: 22-1461    Document: 25       Page: 74    Filed: 11/04/2022




                    3.5
                                                                                                                     lualud 'SIT




                                                                                                       Medium
                     3


                    2.5 -                                                                         —A-- FVIII
                                                                                                       (16mU/ml)
                      2-
                                                                                                                        900Z `iZ 'AdV




                                                                                                       16mU FVIII,
         OD 405nm
                    1.5 -                                                                              35pM
                                                                                                       Pefabloc Xa
                                                                                                       196/AF2




Appx87
                                                                                                                     19 Jo 8 paqs




                    0.5 -                                                                              196/AF2,
                                                                                                       35pM
                      0                                                                                Pefabloc Xa
                          0   50     100      150      200       250    300      350      400

                                                    Time (min)

                                                    FIG. 7A
                                                                                                                       IS 06S`££0`L SR
                                 Case: 22-1461   Document: 25        Page: 75       Filed: 11/04/2022




                                                                                                                              lualuct 'S'll
                                                                                                                              U.S. Patent




                 3.5                                                                                         6mUlml
                                                                                                             FVIII
                  3-
                                                                                                        _ _ _ 6mU/ml
                 2.5 -
                                                                                                              FVIII, 35pM
                                                                                                              Pefabloc Xa
                   2-                                                                                         mouse IgG
                                                                                                                             Apr. 25, 2006




         OD405
                 1.5 -
                                                                                                        —a— mouse IgG,
                                                                                                             35pM
                                                                                                             Pefabloc Xa




Appx88
                                                                                                        - A- 198/AM1
                 0.5
                                                                                                                                  19 JO 6 PatIS
                                                                                                                               Sheet 9 of 61




                                                                                                        -     198/AM1,
                       O   NJ    cre                         NJ    NJ     N    NJ
                            71
                                                  O     O1   O     NJ
                                                                   C.71   O1   O1
                                                                                                              35pM
                                         O
                                                                                                              Pefabloc Xa
                                                      Time (min)

                                                      FIG. 7B
                                                                                                                                  IS 06S`££0`L SI
                                                                                                                            US 7,033,590 B1
                        Case: 22-1461   Document: 25     Page: 76    Filed: 11/04/2022




              3.5
                                                                       •    198/AC1/1 (10pg/ml)
                                                                                                  lualud 'SIT




               3 —                                                          complete assay
                                                                       —II-- 198/AC1/1 (no
              2.5 —                                                          antibody)
                                                                       —•— 198/AC1/1 (no PL)
                                                                                                    900Z `iZ 'AdV




         OD 405 2
•c3           1.5 -
•ti                                                                    —x— 198/AC111 (no Ca2+)
 O0




Appx89
 v:)            1-
                                                                             198/AC1/1 (no
                                                                                                  19 .19 01 oaqs




              0.5 -                                                          FIXa/FX)

                o                                  -1
                    0         20        40          60          80

                                   Scan number
                                         FIG. 8A
                                                                                                    IS 06S`££0`L SR
                             Case: 22-1461   Document: 25    Page: 77    Filed: 11/04/2022




                                                                                                           wawa •S•fi




                 35
                  3-                                                              196/AF1 complete assay
                 2.5 -
                                                                             —•— 196/AF1 (no PL)
                  2-
         OD405
                 1.5 -                                                       --x-. 196/AF1 (no CaCl2)




Appx90
                  1-
                 0.5 -                                                            196/AF1 (no FIXa/FX)
                  0      1
                      0          20          40         60              80

                                        scan number

                                                  FIG. 8B
                                                                                                            Ill 06S`££0`L Sfl
                            Case: 22-1461    Document: 25   Page: 78   Filed: 11/04/2022



                                                                                                            'S'il




                  3.5

                                                                              — mouse IgG (10pg/ml)
                   3-                                                           complete assay

                  2.5 -
                                                                              -.- mouse IgG (no antibody)
                                                                                                            900Z `S*Z 'AdV




                   2-
         OD 405
                  1.5 -                                                       -m- mouse IgG (no PL)




Appx91
                                                                                                            19 JO ZI ;awls




                  0.5 -                                                       -4-   mouse IgG (no Ca2+)

                    0
                        0        20            40           60           80
                                            Scan number

                                                    FIG. 8C
                                                                                                            la 06S`££0`L SIl
   Case: 22-1461      Document: 25          Page: 79      Filed: 11/04/2022




U.S.
U.S. Patent
     Patent        Apr. 25, 2006
                   Apr. 25, 2006        Sheet 13
                                        Sheet 13 of
                                                 of 61
                                                    61          US 7,033,590 B1




      110
      108
      106
      104
                              x
      102
                                                 x              193/AD3
      100
                                                          --50ng FIXa
                                                          --ii--50ng
                                                          —x—   mouse IgG
                                                            X-mouse    IgG
       98                                                       50ng FIXa
       96
      94
      92
       90
            0   2         4         6        8       10
                    pg IgG




                                   FIG. 9




                                   Appx92
                                   Appx92
   Case: 22-1461          Document: 25      Page: 80      Filed: 11/04/2022




U.S. Patent           Apr. 25, 2006              of 61
                                        Sheet 14 of               US   7,033,590 B1




  clotting time
  (sec)
  (Sec)
      108.0
                                                                            igGDP
                                                                     mouse IgG DP
      108.0                                                   -- + FIXa
                                                              —e—
      106.0
      106.0                                                     ■ 193
                                                              ...... 1931/AD3 DP
                                                                          AD3DP
                                                                     + FIXa
                                                                       FXa
      104.0   -
                  ■
      102.0 -
      100.0
       98.0
       96.0
       94.0
              0       2       4       6        8         10
                            ug antibody
                            pg

                                      FIG.
                                      FIG. 10A




                                      Appx93
                                      Appx93
   Case: 22-1461           Document: 25           Page: 81      Filed: 11/04/2022




U.S.
U.S. Patent
     Patent             Apr. 25, 2006         Sheet 15 of 61         US 7,033,590
                                                                        7.033,590 B1
                                                                                  B1




      clotting time
      (sec)
      (Sec)
                                                                    mouse IgG
       125.0
       125.0                                                    --    P+ FIXa
                                                                —0.- IP+
                   As                                                 193 /AD3
                                                                ••••• 193  IAD3
       120.0
       120.0                                                          IP + FIXa
       115.0
       115.0

       110.0
       105.0
                               ,.••••••••

       100.0
               0           2       4      6           8        10
                                 ug antibody
                                 pg



                                            FIG. 10B




                                            Appx94
                                            Appx94
                           Case: 22-1461   Document: 25   Page: 82                               Filed: 11/04/2022




                         -0-198/A1-
                                                                                                                       lualuct 'S'll
                                                                                                                      U.S. Patent




                         AI_ 198/A1+
                  4 - -,5-1981B1-
                3.5 . -is-198/B1+
                  3 -o-198/AP1-
                                                                                                                      Apr. 25, 2006




                2.5 -o-198/AP1+
,-ti




         907 0
,-ti      00405 2 -- mouse-
  v:)                 -.-mouse+




Appx95
 ()I            1.5
                   1-
                                                                                                                          19.10 91 PatIS
                                                                                                                       Sheet 16 of 61




                 0.5 -
                                                              006Z9808GIOL991GG09OGG9|0|90 ,96

                     5 10 15 20 25 30 35 40 45 50 55 60 65 70 75 80 85 90 95 100 105 110 115 120
                                                    Sº?nu
                                                   minutes

                                                   FIG. 11
                                                                                                                           IS 06S`££0`L SI
                                                                                                                     US 7,033,590 B1
                  Case: 22-1461        Document: 25         Page: 83   Filed: 11/04/2022




         Mouse VH back primers (containing Sfil-site):

         VH1BACK-Sfil      5' C ATG CCA TGA CTC GCG GCC CAG CCG GCC ATG GCC SAG GTS MAR CTG CAG
                          SAG TCW GG 3'   (SEQ.ID.NO. 50)
                                                                                                     lualud 'SIT




         VH1BACKSfi     5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC GAG GTG CAG CTT CAG GAG TCA
                        GG 3'   (SEQ.ID.NO. 51)
         VH2HACKSfi     5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC GAT GTG CAG CTT CAG GAG TCR
                        GG 3'   (SEQ.ID.NO. 52)

         VH3BACKSfi     5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC CAG GTG CAG CTG AAG SAG TCA
                        GG 3'   (SEQ.ID.NO. 53)
                                                                                                      900Z `iZ 'idly'




         VH4/6BACKSfi   5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC GAG GTY CAG CTG CAR CAR TCT

                        GG 3'   (SEQ.ID.NO. 54)
         VH5/9BACKsfi   5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC CAG GTY CAR CTG CAG CAG YCT
                        GG 3'   (SEQ.ID.NO. 55)




Appx96
         VH7BACKSfi     5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC GAR GTG AAG CTG GTG GAR TCT

                        GG 3'   (SEQ.ID.NO. 56)
                                                                                                      19 JO LI lamIS




         VH8BACKSfi     5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC GAG GTT CAG CTT CAG CAG TCT

                        GG 3'   (SEQ.ID.NO. 57)
         VH1OBACKSfi    5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC GAA GTG CAG CTG KTG GAG WCT
                        GG 3'   (SEQ.ID.NO. 58)

         VH11BACKSfi    5' GTC CTC GCA ACT GCG GCC CAG CCG GCC ATG GCC CAG ATC CAG TTG CTG CAG TCT
                        GG 3'   (SEQ.ID.NO. 59)

                                                  FIG. 12-1
                                                                                                      IS 06S`££0`L SR
                         Case: 22-1461    Document: 25    Page: 84   Filed: 11/04/2022




         Mouse JH forward primers (containing 1/2 linker-sequence and Ascl-site):
                                                                                                     lualud 'SIT




         VH1FOR2LiAsc          5' ACC GCC AGA GGC GCG CCC ACC TGA ACC GCC TCC ACC TGA GGA GAC GGT
                            GAC CGT GGT CCC TTG GCC CC 3'(SEQ.ID.NO. 60)
         allFORIAAsc        5' ACC GCC AGA GGC GCG CCC ACC TGA ACC GCC TCC ACC TGA GGA GAC GGT

                            GAC CGT GGT CCC 3'(SEQ.ID.NO. 61)
                                                                                                      900Z `iZ 'AdV




         JH2FORLiAsc        5' ACC GCC AGA GGC GCG CCC ACC TGA ACC GCC TCC ACC TGA GGA GAC TGT

•ti                         GAG AGT GGT GCC 3'(SEQ.ID.NO. 62)

         JH3FORLiAsc        5' ACC GCC AGA GGC GCG CCC ACC TGA ACC GCC TCC ACC TGC AGA GAC AGT
  D




Appx97
                            GAC CAG AGT CCC 3'(SEQ.ID.NO. 63)

         JH4FORLiAsc        5' ACC GCC AGA GGC GCG CCC ACC TGA ACC GCC TCC ACC TGA GGA GAC GGT
                                                                                                      19 .19 81 laa0S




                            GAC TGA GGT TCC 3'(SEQ.ID.NO. 64)




         IUPAC-Code: M=A/C, W=A/T, R=A/G, Y=C/T, S=C/G, K=G/T,          D=A/G/T, V=A/C/G, B=T/C/G.


                                                  FIG. 12-2
                                                                                                     IS 06S`££0`L SR
                        Case: 22-1461    Document: 25       Page: 85   Filed: 11/04/2022




         Primers for cloning mouse VK genes
         Mouse VK back primers (containing Ascl-site and 1/2 linker-sequence):
                VK2BACK-LiAscI   5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAC ATT GAG
                                  CTC ACC CAG TCT CCA 3'   (SEQ.ID.NO. 65)
                                                                                                   lualud 'SIT




                VKlBACKLi Asc     5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAC ATT GTG
                                  ATG WCA CAG TCT CC 3'    (SEQ.ID.NO. 66)

                VIUBACKLiAsc      5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAT GTT KTG
                                  ATG ACC CAA ACT CC 3'     (SEQ.ID.N0. 67)

                VK3BACKLiAsc      5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAT ATT GTG
                                                                                                     900Z `iZ 'idly'




                                  ATR ACB CAG GCW GC 3'     (SEQ.ID.N0. 68)

                VK4BACKLi Asc     5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAC ATT GTG
                                  CTG ACM CAR TCT GC 3'     (SEQ.ID.N0. 69)
 qD




Appx98
 Oc
                VK5BACKLi Asc     5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG SAA AWT GTK
                                  CTC ACC CAG TCT CC 3'     (SEQ.ID NO. 70)
                                                                                                   19 JO 61 nags




                VK6BACKLi Asc     5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAY ATY VWG
                                  ATG ACM CAG WCT CC 3'     (SEQ.ID NO. 71)

                VK7BACKLi Asc     5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG CAA ATT GTT
                                  CTC ACC CAG TCT CC 3'     (SEQ.ID.N0. 72)

                 VK8BACKLi Asc    5' GGT TCA GAT GGG CGC GCC TCT GGC GGT GGC GGA TCG TCA TTA TTG
                                  CAG GTG CTT GTG GG 3'     (SEQ.ID.N0. 73)

                                                     FIG. 13-1
                                                                                                    IS 06S`££0`L SR
                            Case: 22-1461   Document: 25      Page: 86   Filed: 11/04/2022




         Mouse Jic forward! primers (containing Notl-site):
                                                                                                    lualud 'SIT




                 JK1NOT10      5' GAG TCA TTC TGC GGC CGC CCG TTT GAT TTC CAG CTT GGT GCC 3'
                               (SEQ.ID.NO. 74)

                 JK2NOT10      5' GAG TCA TTC TGC GGC CGC CCG TTT TAT TTC CAG CTT GGT CCC 3'
                               (SEQ.ID.NO. 75)
                                                                                                      900Z `iZ 'AdV




                 JK3NOT10      5' GAG TCA TTC TGC GGC CGC CCG TTT TAT TTC CAG TCT GGT CCC 3'
                               (SEQ.ID.NO. 76)

                 JK4NOT10      5' GAG TCA TTC TGC GGC CGC CCG TTT TAT TTC CAA CTT TGT CCC 3'




Appx99
                               (SEQ.ID.NO. 77)
                 JK5NOT10      5' GAG TCA TTC TGC GGC CGC CCG TTT CAG CTC CAG CTT GGT CCC 3'
                                                                                                    19 .19 OZ oaqs




                               (SEQ.ID.NO. 78)



         IUPAC-Code: K=G/T, M=A/C, W=A/T, R=A/G, Y=C/T, S=C/G, H=A/C/T, D=A/G/T, WA/C/G, B.T/C/G.




                                                    FIG. 13-2
                                                                                                      IS 06S`££0`L SR
      Case: 22-1461            Document: 25           Page: 87        Filed: 11/04/2022




U.S. Patent           Apr. 25, 2006             Sheet 21 of 61               US 7,033,590 B1
                                                                             US 7,033,590 B1




        VH
  +1     E
         E    W
              V   K
                  K   LI        W.
                                V    E.
                                     E     S     G     P    E
                                                            E    LI    K
                                                                       K      K
                                                                              K      P   G

  1     GAG GTG
        GAG GTG AAG CTG GTG GAG TCT GGA CCT GAG CTG AAG AAG
                                                        AAG CCT
                                                            CCT GGA
                                                                GGA
  +1     E
         E.  T
             T   V
                 W   K
                     K   II  S   C   K
                                     K   A   S   G
                                                 G.  Y   II  F
                                                             F   T
  46    GAG ACA
        GAG ACA GTC AAG
                    AAG ATC.
                        ATC TCC TGC AAG GCT TOT
                                            TCT GGG TAT ATC TTC ACA
                                                                ACA
  +I     N
         N   Y   G   M   N   W   V   K
                                     K   Q
                                         O   A   P   G   K
                                                         K   G                            LI
  91    AAC TAT GGA ATG AAC TGG GTG AAG CAG GCT CCA GGA AAG GGT
                                                            GGT                          TTA
                                                                                          TA
  +1      K
          K   W   M   G   W   II  N
                                  N   T   Y   T   G   E
                                                      E   P
                                                          P   T    Y
  136
  136    AAG TGG ATG GGC TGG ATA AAC ACC
                                     ACC TAC ACT GGA GAG CCA ACA
                                                             ACA. TAT

  +1
  +1      A
          A.  D
              D   D
                  D   F
                      F   K
                          K   G   R
                                  R   F
                                      F   A
                                          A.  F
                                              F   S   LL  E
                                                          E   T   S
  181
   8.    GCT GAT GAC TTC AAG GGA CGG TTT GCC TTC TCT TTG GAA ACC TCT

  +1
  +1      A   S   T   A.
                      A   Y   L
                              I   Q
                                  O   II  N   N
                                              N   LL  K
                                                      K   N
                                                          N   E
                                                              E   D
  226    GCC AGC ACT GCC TAT TTG CAG ATC AAC AAC CTC AAA AAT GAG GAC

  +1
  +l      T   A   T        Y     F
                                 F    C    A
                                           A.    LI     Y   G     N
                                                                  N     S        P
                                                                                 P   K
                                                                                     K    G
  271
  27.    ACG GCT ACA TAT TTC TGT GCA TTA      GG AAC TCC
                                     TTA. TAT GGT    TCC CCT
                                                         CC AAG GGG

                                                                           linker
  +1      E.
          F   A.
              A   y
                  Y   W   G   O
                              Q    G   T   L
                                           L   W
                                               V   T
                                                   T   W
                                                       V   S    A   G
  316    TTT GOT             CAA. GGG ACT CTG
             GCT TAC TGG GGC CAA                          TCT, GCA GGT
                                          CTG GTC ACT GTC TCT

                                                                            VL
  +1      G   G   G   S
                      S   G   G   R   A   S
                                          S   G   G   G   G   S
                                                              S   D
  361    GGA GGC GGT TCA GGT GGG CGC GCC TCT GGC GGT GGC GGA TCG GAT
                                                                 GAT

  +1      I   Q   M   T   Q   S
                              S   P   K   F
                                          F   T
                                              L   L
                                                  L   W
                                                      V   S   A.
                                                              A   G
  406    ATT CAG ATG ACA CAG TCT
         AT                  TCI CCC AAA TTC     CTT GTA TCA GCA GGA
                                         TTC CTG CTT


                                     FIG.
                                     FIG. 14-1
                                          14-1




                                          Appx100
                                          Appx100
   Case: 22-1461            Document: 25          Page: 88       Filed: 11/04/2022




U.S. Patent            Apr. 25, 2006                 of 61
                                            Sheet 22 of                US 7,033,590 B1




  +1
  +1      D   R    W
                   V    T     II   I
                                   T    C    K     A   S     Q    S    V
                                                                       W   S   N
                                                                               N
  451
  451    GAC AGG
             AGG GTT ACC ATA ACC TGC AAG GCC AGT CAG AGT
                                                     AGT, GTG
                                                          GTG. AGT
                                                               AGT AAT
                                                                   AAT
  +1
  +1      D   W
              V   A   W   Y   Q   Q
                                  O   K   P   G   Q
                                                  O   S   P   K
                                                              K   L
                                                                  L
  496
  496    GAT GTA GCT TCG
         GAT         TGG TAC CAA CAG AAG CCG GGG
                                             GGG CAG
                                                 CAG TCT CCT AAA CTA
                                                         CCT AAA CTA
  +1
  +1      I
          L   M   Y   Y   A.
                          A   S   N
                                  N   R
                                      R   Y   T   G   V
                                                      W   P
                                                          P   D
                                                              D   R
                                                                  R
  541.
  541    CTG ATG TAC TAT GCA TCC AAT CGC TAC
         CTG                                 ACT GGA
                                         TAC ACT GGA GTC
                                                     GTC CCT
                                                         CCT GAT
                                                             GAT CGC
                                                                 CGC
  +1
  +1      F   T    G    S    G     Y    G    TI    D   F     T
                                                             I    F
                                                                  F    T
                                                                       T   I   S
                                                                               S
  586
  586    TTC ACT GGC AGT GGA TAT GGG ACG GAT TTC ACT TTC
                                                     TTC ACC
                                                         ACC ATC AGC
                                                             ATC AGC
  +1
  +1      T   W
              V   O
                  Q   A.
                      A   E   D
                              D   L
                                  T   A
                                      A.  V
                                          W   Y   F
                                                  F.  C
                                                      C   Q
                                                          Q   Q
                                                              Q   D
                                                                  D
  631
  631    ACT GTG CAG GCT GAA GAC CTG GCA GTT TAT
                                             TAT TTC
                                                 TTC TGT CAG CAG
                                                     TGT CAG CAG GAT
                                                                 GAT
  +1
  +1     Y    G    S    P     P    T    F   G      G   G     T    K
                                                                  K.   L
                                                                       L   E
                                                                           E   II
  676
  676    TAT GGC
             GGC. TCT CCT CCC ACG TTC GGA GGG GGC
                                              GGC ACC AAG CTG
                                                  ACC AAG CTG GAA
                                                              GAA ATT
                                                                  ATT
  +
  +1      K
          K   R
  72
  721    AAA CGG
             CGG



                                   FIG.
                                   F.G. 14-2




                                       Appx101
                                       Appx101
   Case: 22-1461          Document: 25     Page: 89     Filed: 11/04/2022




U.S. Patent            Apr. 25, 2006   Sheet 23 of 61        US 7,033,590 B1




         VH
   +1     E   V   Q   L   V   E   S   G   G   G   L   V   K   P   G
   1     GAA GTG CAG CTG GTG GAG TCT GGG GGA GGC CTA GTG AAG CCT GGA

   +1     G   S   L   K   L   S   C   A   A   S   G   F   T   F   S
   46    GGG TCC CTG AAA CTC TCC TGT GCA GCC TCT GGA TTC ACT TTC AGT

   +1     T   Y   T   M   S   W   V   R   Q   T   P   E   K   R   L
   91    ACC TAT ACC ATG TCT TGG GTT CGC CAG ACT CCG GAG AAG AGG CrA,

   +1     E   W   V   A   T   I   S   S   G   G   S   Y   T   Y   Y
   136   GAG TGG GTC GCA ACC ATT AGT AGT GGT GGT AGT TAC ACC TAC TAT

   +1     P   D   S   V   R   G   R   F   T   I   S   R   D   N   A
   181   CCA GAC AGT GTG AGG GGC CGA TTC ACC ATC TCC AGA GAC AAT GCC

  +1      K   N   T   L   Y   L   Q   M   S   S   L   K   S   E   D
  226    AAG AAC ACC CTG TAC CTG CAA ATG AGC AGT CTG AAG TCT GAG GAC

  +1      T   A   M   Y   Y   C   T   R   D   G   G   H   G   Y   G
  271    ACA GCC ATG TAT TAC TGT ACA AGA GAT GGG GGA CAC GGG TAC GGT

  +1      S   S   F   D   Y   W   G   Q   G   T   T   L   T   V   S
  316    AGT AGC TTT GAC TAC TGG GGC CAA GGC ACC ACT CTC ACA GTC TCC

              linker
  +1      S   G   G   G   G   S   G   G   R   A   S   G   G   G   G
  361    TCA GGT GGA GGC GGT TCA GGT GGG CGC GCC TCT GGC GGT GGC GGA

              VL
  +1      S   Q   I   V   L   T   Q   S   P   L   S   L   P   V   S
  406    TCG CAA ATT GTG CTC ACC CAG TCT CCA CTC TCC CTG CCT GTC AGT




                                 FIG. 15-1




                                   Appx102
                                   Appx102
   Case: 22-1461            Document: 25         Page: 90        Filed: 11/04/2022




U.S. Patent            Apr. 25, 2006        Sheet 24 of 61            US 7,033,590 B1




   +l
   +1      I
           L   G   D
                   D   Q   A.
                           A    S   I   S
                                        S   C   R
                                                R   S
                                                    S   S   Q
                                                            Q   S
                                                                S   I
                                                                    I
   451.
   451    CTT GGA
          CTT     GAT CAA
              GGA GAT CAA GCC
                          GCC. TCC ATC TCT TGC AGA TCT AGT
                                                       AGT CAG
                                                           CAG AGC
                                                               AGC MIT
                                                                   ATT
   +1
   +1      W
           V   H   S   N   G   N   T   Y   I
                                           L   E
                                               E   W   Y   L
                                                           L   Q
                                                               O   K
                                                                   K
   496
   496    GTA CAT AGT AAT GGA AAC ACC TAT TTA
          GTA                             TTA GAA TGG TAC
                                              GAA TGG TAC CTG
                                                          CTG CAG AAA
                                                              CAG AAA
   +l
   +1      P
           P   G   O
                   Q   S   P   K
                               K   Lu
                                   L   L
                                       L   I
                                           I   Y   K
                                                   K   V
                                                       W   S.
                                                           S.  N
                                                               N.  R
                                                                   R
   541
   541    CCA GGC
          CCA GGC CAG
                  CAG TCT CCA AAG CTC CTG
                                      CTG ATC
                                          ATC TAC
                                              TAC AAA GTT TCC
                                                  AAA GTT TCC AAC
                                                              AAC CGA
                                                                  CGA
   +1
   +1      F
           F   S   G    W
                        V     P
                              P   D    K.
                                       K     F
                                             F    S
                                                  S   G      S    G   S
                                                                      S   G
                                                                          G   T
                                                                              T
   586
   586    TTT
          TTT TCT GGG
                  GGG GTC
                      GTC CCA GAG
                              GAC AAA TTC
                                      TTC AGT
                                          AGT GGC
                                              GGC AGT GGA TCA
                                                  AGT GGA      GGG ACA
                                                          TCA. GGG ACA
   +1
   +1      D   F
               F   T
                   T   L
                       L   K
                           K   I
                               I   S   R
                                       R   V
                                           W   E   A
                                                   A.  E
                                                       E   D
                                                           D   L
                                                               L   G
                                                                   G
   631
   631    GAT TTC
          GAT TTC ACA CTC AAG ATC AGC AGA GTG GAG GCT
                                          GTG GAG GCT GAG GAT CTG
                                                      GAG GAT CTG GGA
                                                                  GGA
   +1
   +1      V   Y   Y   C   F
                           F   O
                               Q   G   S
                                       S   H
                                           H   V
                                               W   P
                                                   P   W
                                                       W   T
                                                           T   F
                                                               F   G
                                                                   G
   676
   676    GTT TAT
          GTT TAT TAC TGC TTT CAA GGT
                                  GGTTCA  CAT GTT
                                      TCA CAT     CCG TGG
                                              GTT CCG TGG ACG
                                                          ACG TTC
                                                              TTC GGT
                                                                  GGT
    l
   +1      G   G   T   K
                       K   I
                           L   E
                               E   I
                                   I   K
                                       K   R
                                           R
   721.
   721        GGC ACC AAG CTG
          GGA GGC             GAA ATC
                          CTG GAA     AAA CGG
                                  ATC AAA CGG



                                  FIG.
                                  FIG. 15-2




                                      Appx103
                                      Appx103
      Case: 22-1461      Document: 25     Page: 91     Filed: 11/04/2022




U.S. Patent           Apr. 25, 2006   Sheet 25 of 61        US 7,033,590 B1




  +1E    V   Q   L   Q   E   S   G   G   G   L   V   K   P   G
  1  GAG GTG CAG CTT CAG GAG TCA GGG GGA GGC TTA GTG AAG CCT GGA

  +1     O   S   L   K   L   S   C   A   A   S   G   F   T   F   S
  46     GGG TCC CTG AAA CTC TCC TGT GCA GCC TCT GGA TTC ACT TTC AGT

  +1      S.  Y   T   M   S   W   V   R   Q   T   P   E   K   R   L
  91     AGC TAT ACC ATG TCT TGG GTT CGC CAG ACT CCG GAG AAG AGG CTG

  +1      E   W   V   A   T   I   S   S   G   G   S   S   T   y   y
  136    GAG TGG GTC GCA ACC ATT AGT AGT GGT GGT AGT TCC ACC TAC TAT

  +1      P   D   S   V   K   G   R   F   T   I   S   R   D   N   A
  181    CCA GAC AGT GTG AAG GGC CGA TTC ACC ATC TCC AGA GAC AAT GCC

  +1      K   N   T   L   y   L   Q   M   S   S   L   R   S   E   D
  226    AAG AAC ACC CTG TAC CTG CAA ATG AGC AGT CTG AGG TCT GAG GAC

  +1      T   A   M   Y   Y   C   T   R   E   G   G   G   F   T   v
  271    ACA GCC ATG TAT TAC TGT ACA AGA GAG GGG GGT GGT TTC ACC GTC

  +1      N   W   Y   F   D   V   W   G   A   G   T   L   V   T   V
  316    AAC TGG TAC TTC GAT GTC TGG GGC GCA GGG ACT CTG GTC ACT GTC

                linker
  +1      s   A   G   G   G   G   S   G   G   R   A   S   G   G   G
  361    TCT GCA GGT GGA GGC GGT TCA GGT GGG CGC GCC TCT GGC GGT GGC

               VL
  +1     G   S   E   N   V   L   T   Q   S   P   A   S   L   A   V
  406   GGA TCG GAA AAT GTG CTC ACC CAG TCT CCA GCT TCT TTG GCT GTG




                                FIG. 16-1




                                  Appx104
                                  Appx104
   Case: 22-1461                        Document: 25                       Page: 92                 Filed: 11/04/2022




U.S. Patent                     Apr. 25, 2006                      Sheet 26 of 61                               US 7.033,590
                                                                                                                   7,033,590 B1




   +1
   +1   S       I
                L       G       Q       R       A.
                                                A         T       II       S       C       R        A       S       E
                                                                                                                    E       S
                                                                                                                            S
   451.
   451 TCT  CTA GGG CAG AGG GCC ACC ATA TCC TGC AGA GCC
        TCT CTA                                     GCC AGT
                                                        AGT GAA
                                                            GAA AGT
                                                                AGT
   +1
   +1       W
            V       D       S       Y       G        Y        N        F       M       H       W        Y
                                                                                                        y       Q
                                                                                                                O       Q
                                                                                                                        Q       I
  496
  496 GTT GAT AGT TAT GGC TAT AAT TTT
                                  TTT ATG
                                      ATG CAC     TAT CAG
                                          CAC TGG TAT     CAG ATA
                                                      CAG CAG ATA
  +1
  +1     P   G   O
                 Q   P   P   K   L   L   II  Y   R   A
                                                     A.  S
                                                         S   N
                                                             N   IL
  54
  541   CCA GGA
        CCA GGA CAG CCA CCC AAA CTC CTC ATC
                                        ATC TAT
                                            TAT CGT GCA TCC AAC CTA
                                                CGT GCA TCC AAC CTA
  +l
  +1     E
         E   S   G   II  P   A   R   F   S   G   S   G   S
                                                         S   R
                                                             R   T
                                                                 T
  586
  586   GAG TCT
        GAG TCT GGG ATC CCT GCC AGG TTC AGT GGC AGT GGG TCT AGG ACA
                                                        TCT AGG ACA
  +1
  +1        D       F       T       I
                                    L       T        II       N        P       V
                                                                               W       E       A
                                                                                               A.       D
                                                                                                        D       D
                                                                                                                D       V
                                                                                                                        W       A
                                                                                                                                A.
  631
  631   GAC TTC ACC CTC ACC ATT AAT CCT GTG
                                        GTG GAG
                                            GAG GCT GAT GAT
                                                GCT GAT GAT GTT
                                                            GTT GCA
                                                                GCA
  +1
  +1     T   Y   Y   C   Q   Q   S   N
                                     N   E
                                         E   D
                                             D   P
                                                 P   L
                                                     L    T
                                                          T   FF  G
                                                                  G
  676   ACC TAT TAC TGT CAG CAA AGT AAT GAG GAT CCG
                                                CCG CTC
                                                    CTC. ACG
                                                         ACG TTC
                                                             TTC GGT
                                                                 GGT
  +1
  +1        T       G       T       R       L
                                            L        E        I        K
                                                                       K       R
                                                                               R
  721
  721   ACT GGG ACC AGA CTG GAA ATA
                        CTG GAA     AAA CGG
                                ATA AAA CGG



                                                     FIG.
                                                     F.G. 16-2




                                                          Appx105
                                                          Appx105
                   Case: 22-1461      Document: 25      Page: 93    Filed: 11/04/2022




          +1   E VHv    Q   L   Q   E   S   G   G   G   L   V   K   P   G   G   S   L   K   I,
          1    GAG GTG CAG CTT CAG GAG TCA GGG GGA GGC TTA GTG AAG CCT GGA GGG TCC CTG AAA CTC
               CTC CAC GTC GAA GTC CTC AGT CCC CCT CCG AAT CAC TTC GGA CCT CCC AGG GAC TTT GAG

          +1    S   C   A   A   S   G   F   I   F   S   S   Y   T   M   S   W   V   R   Q   T
                                                                                                 lualud 'SIT




          61   TCC TGT GCA GCC TCT GGA TTC ATT TTT AGT AGT TAT ACC ATG TCT TGG GTT CGC CAG ACT
               AGG ACA CGT CGG AGA CCT AAG TAA AAA TCA TCA ATA TGG TAC AGA ACC CAA GCG GTC TGA

           +1 P    E   K   R   L   E   W   V   A   T   I   S   S   G   G   S   S   T   Y   Y
          121 CCG GAG AAG AGG CTG GAG TGG GTC GCA ACC ATT AGT AGT GGT GGT AGT TCC ACC TAC TAT
              GGC CTC TTC TCC GAC CTC ACC CAG CGT TGG TAA TCA TCA CCA CCA TCA AGC TGG ATG ATA

           +1 P    D   S   V   K   G   R   F   T   I   S   R   D   N   A   K   N   T   L   Y
                                                                                                  900Z `iZ 'idly'




          181 CCA GAC AGT GTG AAG GGC CGA TTC ACC ATC TCC AGA GAC AAT GCC AAG AAC ACC CTG TAC
              GGT CTG TCA CAC TTC CCG GCT AAG TGG TAG AGG TCT CTG TTA CGG TTC TTG TGG GAC ATG

           +1 L    Q   M   S   S   L   K   S   E   D   T   A   M   Y   H   C   T   R   E   G
          241 CTG CAA ATG AGC AGT CTG AAG TCT GAG GAC ACA GCC ATG TAT CAC TGT ACA AGA GAG GGG
              GAC GTT TAC TCG TCA GAC TTC AGA CTC CTG TGT CGG TAC ATA GTG ACA TGT TCT CTC CCC




Appx106
           +1 G    G   Y   Y   V   N   W   Y   F   D   V   W   G   A   G   T   T   L   T   V
          301 GGT GGT TAT TAC GTC AAC TGG TAC TTC GAT GTC TGG GGC GCA GGC ACC ACT CTC ACA GTC
                                                                                                  19 JO LZ lamIS




              CCA CCA ATA ATG CAG TTG ACC ATG AAG CTA CAG ACC CCG CGT CCG TGG TGA GAG TGT CAG

                         linker                                                     VL
           +1 S    S   G   G   G   G   S   G   G   R   A   S   G   G   G   G   S   D   I   E
          361 TCC TCA GGT GGA GGC GGT TCA GGT GGG CGC GCC TCT GGC GOT GGC GGA TCG GAC ATT GAG
              AGG AGT CCA CCT CCG CCA AGT CCA CCC GCG CGG AGA CCG CCA CCG CCT AGC CTG TAA CTC

           +1 L    T   Q   S   P   A   S   L   A   V   S   L   G   Q   R   A   T   I   S   C
          421 CTC ACN CAG TCT CCA GCT TCT TTG GCT GTG TCT CTA GGG CAG AGG GCC ACC ATA TCC TGC
              GAG TGN GTC AGA GGT CGA AGA AAC CGA CAC AGA GAT CCC GTC TCC CGG TGG TAT AGG ACG

                                             FIG. 17-1
                                                                                                  IS 06S`££0`L SR
                         Case: 22-1461   Document: 25   Page: 94   Filed: 11/04/2022




                                                                                                  lualud 'SIT




           +1    R   A   S   E   S   V   D   S   Y   G   K   S   F   M   H   W   Y   Q   Q   K
          481   AGA GCC AGT GAA AGT GTT GAT AGT TAT GGC AAG AGT TTT ATG CAC TGG TAC CAG CAG AAA
                TCT CGG TCA CTT TCA CAA CTA TCA ATA CCG TTC TCA AAA TAC GTG ACC ATG GTC GTC TTT

           +1    P   G   Q   P   P   K   L   L   I   Y   R   A   S   N   L   E   S   G   I   P
          541   CCA GGG CAG CCA CCC AAA CTC CTC ATC TAT CGT GCA TCC AAC CTA GAA TCT GGG ATC CCT
                GGT CCC GTC GGT GGG TTT GAG GAG TAG ATA GCA CGT AGG TTG GAT CTT AGA CCC TAG GGA
                                                                                                    900Z `iZ 'AdV




           +1    A   R   F   S   G   S   G   S   R   T   D   F   T   L   T   I   N   P   V   E
          601   GCC AGG TTC AGT GGC AGT GGG TCT AGG ACA GAC TTC ACC CTC ACC ATT AAT CCT GTG GAG
                CGG TCC AAG TCA CCG TCA CCC AGA TCC TGT CTG AAG TGG GAG TGG TAA TTA GGA CAC CTC




Appx107
           +1    A   D   D   V   A   T   Y   Y   C   Q   Q   S   N   E   D   P   L   T   F   G
          661   GCT GAT GAT GTT GCN ACC TAT TAC TGT CAG CAA AGT AAT GAG GAT CCC CTC ACG TTC GGT
                CGA CTA CTA CAA CGN TGG ATA ATG ACA GTC GTT TCA TTA CTC CTA GGG GAG TGC AAG CCA
                                                                                                  19 .19 8Z oaqs




           +1    A   G   T   R   L   E   I   K   R
          721   GCT GGG ACC AGA CTG GAA ATA AAA CGG
                CGA CCC TGG TCT GAC CTT TAT TTT GCC



                                              FIG. 17-2
                                                                                                    IS 06S`££0`L SR
                             Case: 22-1461        Document: 25   Page: 95      Filed: 11/04/2022




                                                                                                                     lualud 'SIT
                                                                                                                   U.S. Patent




                   1.6
                                                                      FVIII 0.8pM
                   1.4
                                                                      Peptide A1/3 16pM + 2.9nM human FIXa
                   1.2

                    1
                                                                                                                        900Z `iZ 'idly'
                                                                                                                  Apr. 25, 2006




          907 0
           OD405
                   0.8

                   0.6




Appx108
                   0.4
                                                                       Peptide A115 16pM + 2.9nM human FIXa
                                                                                       WaG+ueprIX?6iud?gnøV:Zd
                                                                                                                     19 JO 6Z oaqs
                                                                                                                    Sheet 29 of 61




                   0.2
                    0




                                             08
                                                  09 7
                                    OZ
                         0     10    20      30      40   50     60

                                                    Time (min)


                                                      FIG. 18
                                                                                                                        IS 06S`££0`L SR
                                                                                                                 US 7,033,590 B1
                           Case: 22-1461    Document: 25   Page: 96    Filed: 11/04/2022




                   1.8 -


                   1.6
                                                                                                        lualud 'SIT
                                                                                                      U.S. Patent




                   1.4

                   1.2

                                                                         -0- A1/3 (24pM), + hFIXa




          907 |O
                                                                             A1/3 (24pM), wlo hFIXa
                                                                                                         900Z `iZ 'AdV




           OD405
                   0.8                                                   — IZ, + hFIXa

                   0.6




Appx109
                   0.4
                                                                                                       19 .19 0£ oaqs




                   ZTO
                   0.2

                     0           I     I       I     I      I     I       I
                           0    10     20     30     40    50     60      70

                                              time (min)

                                                    FIG. 19
                                                                                                         IS 06S`££0`L SR
                   Case: 22-1461    Document: 25    Page: 97        Filed: 11/04/2022




                  G?
                  2.5
                                                                                                     lualud 'SIT
                                                                                                  U.S. Patent




                    2



                                                               ,        FVIII (2.4pM), + hFIXa




                  G”),
                  1.5
                                                               — A1/3 (12pM), + hFIXa
                                                                                                       900Z `iZ 'idly'




                                                               -- A115 (12pM), + hFIXa
          OD405      1
                                                               -A- IZ, + hFIXa




Appx110
 8
                   0.5
                                                                                                       19 JO I£ laa0S




                         o




                             0897Z
                               20         40

                                       time (min)
                                                    60




                                               FIG. 20
                                                                   80
                                                                                                       IS 06S`££0`L SR
                                                                                                 US 7.033,590 B1
              Case: 22-1461         Document: 25        Page: 98    Filed: 11/04/2022




                  s
                  1.4 -




                  N
                                                                                                      lualud 'SIT
                                                                                                   U.S. Patent




                  1.2 -




                   w
                   1




                  g
                  0.8
                                                                                               d
                                                                                           r
                                                                                               P
                                                                                      CN


                                                                               on
                                                                            3
                                                                           198 B117 2.4pM
                                                                                                        900Z `iZ 'AdV
                                                                                                   Apr. 25, 2006




          OD405
                                                                           N
                                                                               a5
                                                                        — 1Z Puffer




                  e
•C3               0.6
•C3




Appx111
                  0.4
                                                                                                        19 .19 Z£ laa0S
                                                                                                   Sheet 32 of 61




                  0.2


                    0
                                             c




                                C
                                          vt




                               cN




                          co
                                                          go
                                                                   OO
                                                                    O




                          0    20         c  40          60        80
                                               E
                                                  6
                                         E
                                             -



                                        time (min)
                                                               V




                                                      FIG. 21
                                                                                                        IS 06S`££0`L SR
                                                                                                   US 7,033,590 B1
                             Case: 22-1461   Document: 25   Page: 99   Filed: 11/04/2022




                 #1
                 ·
                1.4 -


                1.2 -
                                                                                                                lualud 'SIT
                                                                                                              U.S. Patent




                                                                   -0- B117 (2.4µM), +2.3nM hFIXa
                 1
                                                                       B1/7 (2.4µM), + , 35µM Pefabloc Xa
                                                                   -A- 8117 (2.4µM), w/o FIXa/FX
                0.8   -
                                                                   — IZ, +
                                                                                                                  900Z `iZ 'idly'
                                                                                                             Apr. 25, 2006




          OD40 0.6 -

                0.4 -




Appx112
                                                                                                                  19 JO ££ laa0S
                                                                                                              Sheet 33 of 61




                 Z
                 0
                0.2 -




                        to
                                                 Oy
                                                                            08




                        0           20           40           60             80

                                              time (min)
                                              ZZ"SOIH
                                             FIG. 22
                                                                                                                  IS 06S`££0`L SR
                                                                                                            US 7.033,590 B1
   Case: 22-1461      Document: 25          Page: 100    Filed: 11/04/2022




U.S. Patent
     Patent        Apr. 25, 2006      Sheet 34 of 61           US 7,033,590 B1
                                                                            B1




                              Sac
                              SaC I         Xba
                                            XbalI
                                                Cl 1
                                   leader               P.A.
                          SV40
       colE1ori A
       colElori

                               pBax-IgG1
         AMP                                                     NEO
                                                                 NEO
         AMP                    7630 bp

                      SV40

                   leader
                                                        P.A.
                        JN.
                     Xho I
                     XhoI BstEI
                                   CH1-hinge CH2-CH3
                               BstEll


                               FIG.
                               F.G. 23




                                   Appx113
                                   Appx 113
                     Case: 22-1461       Document: 25          Page: 101   Filed: 11/04/2022




                                                                                                          lualud 'SIT
                                                                                                        U.S. Patent




                  0.06

                  0.05

          OD405   0.04                                                            —.    200mU FIXa
                                                                                                             900Z `SZ 'AdV
                                                                                                       Apr. 25, 2006




                  0.03
                                                                                 —Nr— 200mU FIXa +
                  0.02                                                                30pgiml 198B1




Appx114
                  0.01
                                                                                                             19 .19 S£ lamIS
                                                                                                         Sheet 35 of 61




                     0
                         1   4       7    10   13       16$4
                                                          ||
                                                          ZZ
                                                          6],
                                                          9     19   22

                                                time (min)
                                                    a(u?u u)
                                               FIG. 24A
                                                                                                            IS 06S`££O'L SR
                                                                                                      US 7,033,590 B1
                   Case: 22-1461    Document: 25   Page: 102   Filed: 11/04/2022




                0.45
                                                                                      lualud 'SIT




                 0.4                                             FIXa +10pg 196 AF1
          OD405 0.35
                                                                 FIXa +5pg 196 AF1
                 0.3
                 0.25
                                                                                       900Z `iZ 'AdV




                  0.2
                                                               ♦ FIXa 200mu/ml
                 0.15
                  0.1




Appx115
                                                                 TBS
                 0.05
                                                                                       19 .19 9£ PatIS




                    0                       T


                        0.0 5.0 .16i0 15.0 20.0 25.0 30.0 35.0 40.0

                                                           Time (min)

                                          FIG. 24B
                                                                                      IS 06S`££0`L SR
                           Case: 22-1461   Document: 25           Page: 103            Filed: 11/04/2022




                   3.5 -
                                                                                                                         lualud 'S'fl
                                                                                                                      U.S. Patent




                    3-
                                                                             —44— 198/A1 10.8nM + 2.3nM FIXa




                   G?
                   2.5 -




                                                                                     IW—dIgA’-/,
                                                                                     7.5pM FVIII
                    2-
                                                                             -9-     IZ
                                                                                                                     Apr. 25, 2006




                                                                                              2.3nM FIXa




          907 |O
           OD405
•ti                1.5 -
•c3                                                                          --e--   198/A1 Fab 110nM + 2.3nM FIXa
                    1-




Appx116
 CT,
                   0.5 -
                                                                                                                        I.9 Jo L£ paqs
                                                                                                                       Sheet 37 of 61




                                            IBBEREIBBE.S3MEEIMEIBEIEMBEIE1
                                                                                                   08




                                  20             40                     60                         80

                                            time (min)

                                                      FIG. 25
                                                                                                                           IS 06S`££0`L SR
                                                                                                                     US 7.033,590 B1
   Case: 22-1461     Document: 25        Page: 104     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006               of 61
                                      Sheet 38 of          US 7,033,590 B1
                                                                        B1


       PelB-Leader
       Pe 1B -Leader
     -- 1 M
    +1         K   Y   I.
                       L   L
                           L   P   T   A   A   A
                                               A.  G   L
                                                       L.  L
                                                           L   L
                                                               I
    11 ATG AAA TAC CTA TTG CCT ACG GCA GCC GCT GGA TTG TTA TTA
          TAC TTT ATG GAT AAC GGA TGC CGT CGG CGA CCT AAC AAT AAT

                                                VH
    +1 L
    +1  L,  A.
            A   A.
                A   O
                    Q   P   A   M   A   E   V
                                            W   K   L
                                                    L   V
                                                        W   E
   43
   43 CTC GCG GCC CAG CCG GCC ATG GCG GAG GTG AAG CTG GTG (GAG
                                                           GAG
       GAG CGC CGG GTC GGC CGG TAC CGC CTC CAC TTC GAC CAC CTC

    +1 8
       S   G   G   G   IL  V
                           W   K   P   G   G   S   L   K
                                                       K   L
   85 TCT GGG GGA GGC TTA GTG AAG CCT GGA GGG TCC CTG AAA CTC
   85
      AGA CCC CCT CCG AAT CAC TTC GGA CCT CCC AGG GAC TTT GAG

    +1 S
    +1      C   A   A   S   G   F   T   F   S   S   Y   T   M
  127 TCC TGT GCA GCC TCT GGA TTC ACT TTC AGT AGC TAT ACC ATG
  127
       AGG ACA CGT CGG AGA CCT AAG TGA AAG
                                       AAG TCA TCG ATA TGG TAC
    +1
    +1 S    W   W
                V   R   O
                        Q   T   P   E   KK  R   L   E   W   V
                                                            W
  169 TCT TGG GTT CGC CAG ACT CCG GAG AAG AGG CTG GAG TGG GTC
  169
       AGA ACC CAA GCG GTC TGA GGC CTC TTC.
                                       TTC TCC GAC CTC ACC CAG

    +1 A
    +1      T   II  S   S   G   G   S   S   T   Y   Y   P   D
  211 GCA
  211  GCA ACC
           ACC ATT AGT AGT GGN GGT AGT TCC ACC TAC
                                               TAC TAT
                                                   TAT CCA
                                                       CCA GAC
                                                           GAC
       CGT TGG TAA TCA TCA CCN CCA TCA AGG TGG ATG ATA GGT CTG

    +l S
    +1       W
             V   K   G   R   F   T   II   S   R   D   N   A
                                                          A.  K
                                                              K
       AGT, GTG AAG GGC CGA TTC ACC ATC
  253 AGT                           ATC. TCC AGA GAC AAT GCC AAG
       TCA CAC TTC CCG GCT.
                        GCT AAG TGG TAG AGG TCT CTG TTA CGG TTC
                                                             TTC

    +11 N   T   L   Y   L
                        L. QQ MM SS SS      L
                                            L   R
                                                R SS    E
                                                        E DD
  295 AAC ACC CTG TAC CTG CAA ATG AGC AGT CTG AGG TCT GAG GAC
       TTG TGG GAC ATG GAC GTT TAC TCG TCA GAC TCC AGA CTC CTG

    +l T
    +1      A   M   Y   Y   C   T  .R   E   G   G   G   F   T
  337 ACA GCC ATG TAT TAC TGT ACA AGA GAG GGG GGT GGT TTC ACC
  337
       TGT CGG TAC ATA ATG ACA TGT TCT CTC CCC CCA CCA AAG TGG
    +1 V
    +1      N   W   IY  F   D   V
                                W   W   G   A   G   T   S   V
                                                            W
  379 GTC AAC TGG TAC TTC GAT GTC TGG GGC GCA GGA ACC TCA GTC
       CAG TTG ACC ATG AAG CTA CAG ACC CCG CGT CCT TGG AGT CAG

                             linker
    +
    +1  T   V   S   S   G   G   G   G   S   G   G   R
                                                    R   A
                                                        A   S
                                                            S
  421 ACC GTC TCC TCA.
  421              TCA GGT GGA GGC GGT TCA GGT GGG CGC GCC TCT
                   AGT CCA CCT CCG CCA AGT CCA CCC GCG CGG AGA
       TGG CAG AGG AGT



                            F.G. 26-1
                            FIG. 26-1




                                   Appx117
                                   Appx117
   Case: 22-1461     Document: 25           Page: 105   Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006     Sheet 39 of
                                              of 61           US 7,033,590
                                                              US 7,033,590 B1
                                                                           B1

                              VL
                              VL
    +1 G   G   G   G   S   D   I
                               I   W
                                   V   I.
                                       L   T   Q
                                               Q   S   P
                                                       P   A
  463 GGC GGT GGC GGA TCG GAC ATT GTG CTG ACA CAG TCT CCA GCT
      CCG CCA CCG CCT AGC CTG TAA CAC GAC TGT GTC AGA GGT CGA

    +1 S
    +1      L
            L   A.
                A   W
                    V   S   L
                            L   G   Q
                                    Q   R   A.
                                            A   T   I
                                                    I   S   C
  505 TCT TTG GCT GTG TCT CTA GGG CAG AGG GCC ACC ATA TCC TGC
       AGA AAC CGA CAC AGA GAT CCC GTC TCC CGG TGG TAT AGG ACG

    +1 R   A   S
               S   E   S
                       S    V
                            W   D   S
                                    S   Y   G   Y   N   F   M
                      AGT, GTT GAT AGT TAT GGC TAT AAT TTT ATG
  547 AGA GCC AGT GAA AGT
      TCT CGG TCA CTT TCA CAA CTA TCA ATA CCG ATA TTA AAA TAC

    4.1 1I  W   Y   Q   Q   I
                            I   P   G   Q   P   P   K   I
                                                        L   L
  589 CAC TGG TAT CAG CAG ATA CCA GGA CAG CCA CCC AAA CTC CTC
       GTG ACC ATA GTC GTC TAT GGT CCT GTC GGT GGG TTT GAG GAG

    +1 I   Y   R   A   S   N   L   E   S   G   I   P   A   R
  631 ATC TAT CGT GCA TCC AAC CTA GAG TCT GGG ATC CCT GCC AGG
      TAG ATA GCA CGT AGG TTG GAT CTC AGA CCC TAG GGA CGG TCC

    +1 F   S   G   S   G   S   R   T   D   F   T   L   T   I
  673 TTC AGT GGC AGT GGG TCT AGG ACA GAC TTC
                                          TTC ACC CTC ACC ATT
                      CCC AGA TCC TGT CTG AAG TGG GAG TGG TAA
      AAG TCA CCG TCA CCC

    +1 N   P   V   E   A   D   D   W
                                   V   A   T   Y   Y   C   Q
  715 AAT CCT GTG GAG GCT GAT GAT GTT GCA ACC TAT TAC TGT CAG
      TTA GGA CAC CTC CGA CTA CTA CAA CGT TGG ATA ATG ACA GTC

    +1 Q   S   N   E   D   P   L   T   E
                                       F   G   T   G   T   R
                                                           R
  757 CAA AGT AAT GAG GAT CCG CTC ACG TTC GGT ACT GGG ACC AGA
      GTT TCA TTA CTC CTA GGC GAG TGC AAG CCA TGA CCC TGG TCT

                                   Spacer        Alkaline phosphatase
    +1 L   E   I   K   R   A   A   A   A
                                       A.  R
                                           R   A.
                                               A   P   E   M
                                  GCA GCC CGG GCA CCA GAA ATG
  799 CTG GAA ATA AAA CGG GCG GCC GCA
      GAC CTT TAT TTT GCC CGC CGG CGT CGG GCC CGT GGT CTT TAC

    +1 P   V   L   E   N   R
                           R   A
                               A.  A   Q   G   D   I   T
                                                       T   A
                                                           A.
  841 CCT GTT CTG GAA AAC CGG GCT GCT CAG GGC GAT ATT ACT GCA
      GGA CAA GAC CTT TTG GCC CGA CGA GTC CCG CTA TAA TGA CGT

    +1 P   G   G   A   R   R
                           R   T
                               L   T   G   D   O   T   A   A
  883 CCC GGC GGT GCT CGC CGT TTA ACG
                                  ACG GGT GAT CAG ACT GCC GCT
      GGG CCG CCA CGA GCG GCA AAT TGC CCA CTA GTC TGA CGG CGA

    +1 L
    +1  L,  R   D   S   L
                        L   S   D   K
                                    K   P
                                        P   A   K   N   I   I
  925 CTG CGT GAT TCT CTT AGC GAT AAA CCT GCA AAA AAT
  925                                              AAT ATT ATT
       GAC GCA CTA AGA GAA TCG CTA TTT GGA CGT TTT TTA TAA TAA


                          FIG. 26-2
                          FIG. 26-2




                               Appx118
                               Appx118
   Case: 22-1461     Document: 25        Page: 106     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006      Sheet 40 of 61       US 7,033,590 B1




      +1 L   L   I   G   D   G   M   G   D   S   E   I   T   A
    463 TTG CTG ATT GGC GAT GGG ATG GGG GAC TCG GAA ATT ACT GCC
        AAC GAC TAA CCG CTA CCC TAC CCC CTG AGC CTT TAA TGA CGG

      +1 A   R   N   Y   A   E   G   A   G   G   F   F   K   G
    505 GCA CGT AAT TAT GCC GAA GGT GCG GGC GGC TTT TTT AAA GGT
        CGT GCA TTA ATA CGG CTT CCA CGC CCG CCG AAA AAA TTT CCA

      +1 I   D   A   L   P   L   T   G   Q   Y   T   H   Y   A
   1051 ATA GAT GCC TTA CCG CTT ACC GGG CAA TAC ACT CAC TAT GCG
        TAT CTA CGG AAT GGC GAA TOG CCC OTT ATG TGA GTG ATA CGC

     +1 L   N   K   K   T   G   K   P   D   Y   V   T   D   S
  1093 CTG AAT AAA AAA ACC GGC AAA CCG GAC TAC GTC ACC GAC TCG
       GAC TTA TTT TTT TGG CCG TTT GGC CTG ATG CAG TGG CTG AGC

     +1 A   A   S   A   T   A   W   S   T   G   V   K   T   Y
  1135 GCT GCA TCA GCA ACC GCC TGG TCA ACC GGT GTC AAA ACC TAT
       CGA CGT AGT CGT TGG CGG ACC AGT TGG CCA CAG TTT TGG ATA •

     +1 N   G   A   L   G   V   D   T   H   E   K   D   H   P
  1177 AAC GGC GCG CTG GGC GTC GAT ATT CAC GAA AAA GAT CAC CCA
       TTG CCG CGC GAC CCG CAG CTA TAA GTG CTT TTT CTA GTG GGT

     +1 T   I   L   E   M   A   K   A   A   G   L   A   T   G
  1219 ACG ATT CTG GAA ATG GCA AAA GCC GCA GGT CTG GCG ACC GGT
       TGC TAA GAC CTT TAC CGT TTT CGG CGT CCA GAC CGC TGG CCA

     +1 N   V   S   T   A   E   L   Q   D   A   T   P   A   A
  1261 AAC GTT TCT ACC GCA GAG TTG CAG GAT GCC ACG CCC GCT GCG
       TTG CAA AGA TGG CGT CTC AAC GTC CTA CGG TGC GGG CGA CGC

     +1 L   V   A   H   V   T   S   R   K   C   Y   G   P   S
  1303 CTG GTG GCA CAT GTG ACC TCG CGC AAA TGC TAC GGT CCG AGC
       GAC CAC CGT GTA CAC TGG AGC GCG TTT ACG ATG CCA GGC TCG

     +1 A   T   S   E   K   C   P   G   N   A   L   E   K   G
  1345 GCG ACC AGT GAA AAA TGT CCG GGT AAC GCT CTG GAA AAA GGC
       CGC TGG TCA CTT TTT ACA GGC CCA TTG CGA GAC CTT TTT CCG

     +1 G   K   G   S   I   T   E   Q   L   L   N   A   R   A
  1387 GGA AAA GGA TCG ATT ACC GAA CAG CTG CTT AAC GCT CGT GCC
       CCT TTT CCT AGC TAA TGG CTT GTC GAC GAA TTG CGA GCA COG

     4.1 D   V   T   L   G   G   G   A   K   T   F   A   E   T
  1429 GAC GTT ACG CTT GGC GGC GGC GCA AAA ACC TTT GCT GAA ACG
        CTG CAA TGC GAA CCG CCG CCG CGT TTT TGG AAA CGA CTT TGC




                            FIG. 26-3




                                   Appx119
                                   Appx119
   Case: 22-1461      Document: 25          Page: 107        Filed: 11/04/2022




U.S. Patent         Apr. 25, 2006
                    Apr. 25, 2006       Sheet 41
                                        Sheet 41 of
                                                 of 61
                                                    61            US 7,033,590 B1

      1. A
     +I   A   T
              T   A   G   E   W   Q   G   K
                                          K   T   L   R
                                                      R   E
                                                          E   Q
                                                              Q
 147
 1471   GCA ACC
        GCA  ACC GCT GGT GAA TGG
                             TOG CAG GGA AAA ACG CTG
                                                 CTG CGT GAA CAG
                                                     CGT GAA CAG
         CGT TGG
        CGT  TGG CGA CCA CTT ACC GTC CCT
                                     CCT TTT TGC GAC GCA CTT
                                                         CTT GTC
                                                             GTC
    +1 A
    +I      O
            Q   A   R
                    R   G   Y   O
                                Q   L   V
                                        W   S
                                            S   D   A
                                                    A   A
                                                        A   S
                                                            S
 1513 GCA
 1513  GCA CAG
           CAG GCG
               GCG CGT
                   CGT GGT
                       GGT TAT
                           TAT CAG
                               CAG TTG
                                   TTG GTG AGC GAT
                                               GAT GCT
                                                   GCT GCC
                                                       GCC TCA
                                                           TCA
       CGT GTC
       CGT GTC CGC GCA CCA ATA GTC AAC CAC TCG CTA CGA CGG AGT
                                                       CGG AGT
    +1 L
    +1 L   NN  SS  V   W
                       T    T
                            E   A   E
                                    N   A
                                        Q   N
                                            Q   K Q P   LQ  L K   P    L.   L.
 1555 CTG
 1555 CTG AAT TCG GTG
          AAT TCG GTG ACG GAA
                          GAA GCG
                               GCG AAT CAG CAA
                                           CAA AAA
                                               AAA CCC
                                                   CCC CTG
                                                       CTG CTT
                                                           CTT
      GAC TTA AGC CAC TGC CTT
                          CTT, CGC TTA GTC GTT TTT GGG
                                                   GGG GAC
                                                       GAC GAA
                                                           GAA
    +l G
    +I      L   F
                F   A.
                    A   D   G   N   M   P
                                        P   V
                                            W   R   W   L
                                                        L   G
                                                            G
 1177 GGC
 1177  GGC CTG
           CTG TTT
               TTT GCT
                   GCT GAC
                       GAC GGC
                           GGC AAT ATG CCA
                                       CCA GTG
                                           GTG CGC
                                               CGC TGG CTA
                                                       CTA GGA
                                                           GGA
       CCG GAC
       CCG GAC AAA CGA CTG CCG TTA TAC GGT CAC GCG ACC
                                                   ACC GAT
                                                       GAT CCT
                                                           CCT
    +1 P
    +1  P   K   A   T   Y   H   G    N   I
                                         I   D   K
                                                 K   P
                                                     P   A
                                                         A.  V
                                                             W
 l639 CCG
 1639  CCG AAA GCA ACC
           AAA GCA ACG TAC CAT GGC
                               GGC AAT
                                   AAT ATC
                                        ATC GAT
                                            GAT AAG
                                                AAG CCC GCA GTC
                                                    CCC GCA GTC
       GGC TTT CGT TGC ATG GTA CCG TTA
                                   TTA. TAG CTA TTC GGG
                                                    GGG CGT
                                                        CGT CAG
                                                            CAG
    +1 T
    +1      C   T
                T   P
                    P    N   P   O
                                 Q   R   N   D   S
                                                 S   V   P   T
                                                             T
 l681 ACC
 1681  ACC TGT
           TGT ACG
               ACG CCA
                   CCA AAT  CCG CAA CGT
                       AAT CCG      CGT AAT GAC
                                            GAC AGT
                                                AGT GTA
                                                    GTA CCA
                                                        CCA ACC
                                                            ACC
       TGG ACA
       TGG ACA TGC
               TGC GGT TTA.                             GGT TGG
                                                    CAT GGT
                       TTA GGC GTT GCA TTA CTG TCA CAT      TGG
    +l L
    +1  I,  A   O
                Q   M   T   D   K   A   I
                                        I    E   L   L
                                                     L   S
                                                         S   K
                                                             K
 l723 CTG
 1723  CTG GCG
           GCG CAG
               CAG ATG
                   ATG ACC GAC AAA GCC
                                   GCC ATT
                                       ATT GAA
                                           GAA TTG
                                                TTG TTG
                                                    TTG AGT AAA
                                                        AGT AAA
       GAC CGC GTC TAC TGG CTG TTT CGG TAA CTT
                                           CTT. AAC
                                                AAC AAC
                                                    AAC TCA
                                                        TCA TTT
                                                            TTT
      1 N
    4.1  N EE KK GG FF FF LL QQ VV EE GG A           A SS II
 1765 AAT
 1765   AAT GAG AAA GGC TTT TTC CTG
                                CTG CAA
                                    CAA GTT
                                        GTT GAA
                                            GAA GGT
                                                GGT GCG
                                                    GCG TCA
                                                        TCA ATC
                                                            ATC
        TTA CTC TTT CCG AAA AAG GAC GTT CAA CTT CCA CGC AGT
                                                CCA CGC AGT TAG
                                                            TAG

    +I D   K   Q   D   H   A   A   N    P   C   G   Q   I   G
 1807 GAT AAA CAG
 1807         CAG GAT
                  GAT CAT
                      CAT GCT GCG AAT CCT TOT GGG CAA ATT GGC
                          GCT GCG AAT  CCT TGT GGG CAA ATT GGC
      CTA TTT GTC CTA GTA CGA CGC TTA
                                  TTA. GGA ACA CCC GTT
                                                   GTT TAA
                                                       TAA CCG
                                                           CCG
    +1 E
    +1  E   T   W
                V   D   T
                        L   D
                            D   E
                                E   A.
                                    A   V
                                        W   Q
                                            O   R
                                                R   A
                                                    A.  L
                                                        L   E
                                                            E
 1849 GAG
 1849  GAG ACG
           ACG GTC
               GTC GAT
                   GAT CTC
                       CTC GAT GAA
                               GAA GCC GTA CAA
                                           CAA COG
                                               CGG GCG
                                                   GCG CTG
                                                       CTG GAA
                                                           GAA
       CTC TGC
       CTC TGC CAG CTA GAG CTA CTT CGG CAT GTT GCC CGC
                                                   CGC GAC
                                                       GAC CTT
                                                           CTT
    - 1 F
    +1  F   A.
            A   K   K
                    K   E
                        E   G   N   T   L
                                        L   V
                                            W   I
                                                I   V
                                                    W   T
                                                        T   A
                                                            A
 1891 TTC
 1891  TTC GCT
           GCT AAA AAG GAG GGT AAC ACG CTG
                                       CTG GTC ATA GTC ACC GCT
                                           GTC ATA GTC ACC GCT
       AAG CGA
           CGA TTT TTC CTC CCA TTG TGC GAC CAG TAT
                                               TAT CAG
                                                   CAG TGG
                                                       TGG CGA
                                                           CGA
    +1 D
    +1  D   H   A   H   A   S   O
                                Q   I   W
                                        V   A   P
                                                P   D   T
                                                        T   K
                                                            K
 1933 GAT
 1933  GAT CAC
           CAC GCC
               GCC CAC
                   CAC GCC
                       GCC AGC CAG ATT GTT
                                       GTT GCG
                                           GCG CCG
                                               CCG GAT
                                                   GAT ACC
                                                       ACC AAA
                                                           AAA
       CTA GTG CGG GTG CGG TCG GTC TAA CAA CGC GGC CTA
                                                   CTA TGG
                                                       TGG TTT
                                                           TTT
    +1 A
    +1 A   PP  GG  L  LT   T
                           Q   AQ  L   NA  TL  K N D   G T A K    D   G     A
 1975 GCT
 1975 GCT CCG
          CCG GGC
              GGC CTC ACC CAG GCG CTA AAT ACC
                                          ACC AAA GAT GGC GCA
                                              AAA GAT GGC GCA
      CGA GGC CCG GAG TGG GTC CGC GAT TTA TGG TTT
                                              TTT CTA
                                                  CTA CCG
                                                      CCG CGT
                                                          CGT

                            FIG.
                            FIG. 26-4



                                Appx120
                                Appx120
   Case: 22-1461     Document: 25     Page: 108     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006   Sheet 42 of
                                            of 61       US 7,033,590 B1




    +1 V
    4.1      M   W
                 V   M    S   Y   G   N   S   E   E   D   S   Q
                                                              O
 2017 GTG ATG GTG ATG AGT•TAC
                         AGT TAC GGG AAC TCC GAA GAG GAT TCA CAA
                                                             CAA
        CAC TAC CAC TAC.
                    TAC TCA ATG CCC TTG AGG CTT CTC CTA ACT
                                                         AGT GTT
    +1 E
    +1      H   T   G   S   O
                            Q   L   R   II  A   A   Y
                                                    y   G   P
 2O59 GAA
 2059  GAA CAT ACC
               ACC GGC AGT CAG TTG CGT ATT GCG GCG TAT GGC
                                                       GGC CCG
                                                           CCG
       CTT GTA TGG CCG TCA GTC AAC GCA TAA CGC CGC ATA CCG GGC
                                                           GGC
    +1 H A A N
     +1 H   A   A   N   V  V V G L T D Q T D L
                            V   G   L   T   D   Q   T   D   L
 2l Ol CAT
 2101  CAT GCC
           GCC GCC
               GCC AAT GTT GTT GGA CTG ACC GAC CAG ACC     CTC
                                                   ACC GAT CTC
                                                       GAT
       GTA CGG CGG TTA CAA CAA CCT GAC TGG CTG GTC TGG CTA GAG

                                                       His tag
                                                           tag
    --
    +1  F   Y   T   M   K
                        K   A    A   L   G   D   II  A
                                                     A.  H
                                                         H.  H
                                                             H.
 2143 TTC TAC ACC ATG AAA GCC OCT
                               GCT. CTG GGG GAT ATC GCA CAC CAT
                                                    GCA CAC CAT
       AAG ATG TGG TAC TTT CGG CGA GAC CCC CTA TAG CGT GTG
                                                        GTG GTA
                                                            GTA
    +1
    +l H    H   H   H   *r
       CAC CAT CAC CAT TAA
 2185 CAC
       GTG GTA GTG GTA ATT



                        FIG. 26-5




                               Appx121
                               Appx121
               Case: 22-1461        Document: 25      Page: 109     Filed: 11/04/2022




                 3
                                                                                                  lualud *S11
                                                                                             U.S. Patent




                                                                  .4_198 AB2-AP#1 108nM
                2.5
                                                                      +2.9nM FIXafl
                                                                   -O-198 AB2-AP#1O0 108nM
                  2                                                   +2.3nM FIXaR
                                                                     FVIII, 7.5pM
                                                                                             Apr. 25, 2006




          OD405 1.5
,73
 >4               1
                                                                                                 oaqs




Appx122
                                                                                                     £b




                0.5
                                                                                                19 JO
                                                                                               Sheet 43 of 61




                  0
                                                         09
                                                                        08




                               OZ
                      0        20           40            60            80
                                         time (min)

                                         FIG. 27
                                                                                                    19 06S`££0`L SA
                                                                                             US 7.033,590 B1
   Case: 22-1461     Document: 25        Page: 110     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006      Sheet 44 of 61       US 7,033,590 B1


     PelB-Leader
     Pe1B-Leader
  +1 M
  +1      K
          K   Y   L
                  L   I
                      L   P
                          P   T
                              T   A   A   A   G   L
                                                  L   L
                                                      L   L
                                                          I,  L
                                                              L
     ATG AAA TAC CTA TTG CCT ACG GCA GCC GCT GGA TTG TTA TTA
  1 ATG                                                  TTA CTC
                                                             CTC
     TAC TTT ATG GAT AAC GGA TGC CGT CGG CGA CCT AAC AAT AAT
     TAC                                                 AAT GAG
                                                             GAG


  +1 A
  +1      A   O
              Q   P   A   M   A   E
                                  E   W
                                      V   K   L
                                              L   V   E
                                                      E   S
                                                          S   G
                                                              G
 46 GCG
 46  GCG GCC
         GCC CAG
             CAG CCG
                 CCG GCC ATG
                         ATG GCG GAG GTG AAG CTG GTG GAG
                                                     GAG TCT
                                                         TCT GGG
                                                             GGG
     CGC CGG GTC
     CGC     GTC GGC CGG TAC CGC CTC CAC TTC GAC CAC
                                                 CAC CTC AGA
                                                         AGA CCC
                                                             CCC

  +1 G   G   L   V   K   P   G    G   S   L   K   L   S   C    A
 91 GGA
 91 GGA GGC
        GGC TTA GTG AAG CCT GGA
                            GGA. GGG TCC CTG AAA CTC TCC
                                                     TCC TGT
                                                         TGT, GCA
                                                              GCA
    cCT COG
    CCT CCG AAT
            AAT CAC
                CAC TTC
                    TTC GGA
                        GGA CCT
                            CCT CCC  AGG GAC
                                 CCC AGO GAC TTT
                                             TTT GAG
                                                 GAG AGG
                                                     AGG ACA
                                                         ACA CGT
                                                              CGT
  +1 A    S   G   F   T   F   S   S   Y   T   M   S   W   V    R
136 GCC
136 GCC TCT
         TCT GGA
             GGA TTC
                 TTC ACT
                     ACT TTC
                         TTC AGT
                             AGT AGC TAT ACC
                                 AGC TAT ACC ATG TCT TGG
                                             ATG TCT TGG GTT
                                                         GTT CGC
                                                              CGC
     CGG AGA CCT
    CGG      CCT AAG TGA AAG TCA TCG ATA TGG TAC AGA ACC CAA
                                                         CAA. GCG
                                                              GCG

  +1 Q    T   P   E   K   R   L   E   W   V   A   T   I   S   S
181 'CAG
181  CAG ACT
         ACT CCG
             CCG GAG
                 GAG AAG
                     AAG AGG
                         AGG CTG
                             CTG GAG
                                 GAG TGG
                                     TGG GTC GCA ACC ATT
                                                     ATT AGT
                                                         AGT AGT
                                                             AGT
     GTC TGA
     GTC TGA GGC CTC TTC TCC GAC CTC ACC
                                     ACC CAG
                                         CAG CGT
                                             CGT TGG
                                                 TGG TAA
                                                     TAA TCA
                                                         TCA TCA
                                                             TCA

  +1 G   G   S   S   T   Y   Y   P   D   S    V   K   G   R    F
226 GGN GGT AGT TCC ACC TAC
226                     TAC TAT CCA
                                CCA GAC
                                    GAC AGT
                                        AGT, GTG
                                             GTG AAG
                                                 AAG GGC CGA  TTC
                                                     GGC CGA TTC
                                             CAC TTC
    CCN CCA TCA AGG TGG ATG ATA GGT CTG TCA CAC  TTC CCG
                                                     CCG GCT
                                                         GCT. AAG
                                                              AAG

  +1 T   I   S   R   D   N   A   K   N   T   L   Y   L   Q   M
271 ACC ATC TCC AGA GAC AAT GCC AAG AAC ACC CTG TAC CTG CAA ATG
271 ACC ATC TCC AGA GAC AAT GCC AAG AAC ACC CTG TAC CTG CAA ATG
    TGG TAG AGG TCT CTG TTA CGG TTC TTG TGG GAC ATG GAC
                                                    GAC GTT
                                                        GTT TAC
                                                            TAC

  +1 S    S   L   R   S   E   D   T   A   M   Y   Y   C   T   R
316 AGC AGT CTG AGG TCT GAG GAC ACA GCC ATG
316                                      ATG TAT
                                             TAT TAC TGT ACA
                                                 TAC TGT ACA AGA
                                                             AGA
     TCG TCA GAC TCC AGA CTC
    TCG                  CTC CTG TGT CGG TAC ATA ATG
                                                 ATG ACA
                                                     ACA TGT
                                                         TGT TCT
                                                             TCT

  +1 E
  +1  E   G   G   G   F
                      F   T   V
                              W   N
                                  N   W   Y   F
                                              F.  D
                                                  D   V
                                                      W   W   G
                                                              G
361 GAG GGG GGT GGT TTC ACC GTC AAC TGG TAC TTC GAT
361                                              GAT GTC
                                                     GTC TGG
                                                         TGG GGC
                                                             GGC
     CTC CCC CCA CCA AAG TGG CAG TTG ACC ATG AAG
                                             AAG CTA CAG ACC CCG
                                                             CCG

                                                Linker
                                                Linker
  +1 A
  +1      G   T    S
                   S   W
                       V   T
                           T   V   S   S   G   G   G   G   S   G
                                                               G
406 GCA
406  GCA GGA
         GGA ACC TCA GTC ACC GTC TCC TCA GGT
                                          GGT GGA
                                              GGA GGC
                                                  GGC GGT
                                                      GGT TCA
                                                          TCA GGT
                                                              GGT
             TOGG AGT CAG TGG CAG AGG AGT CCA
     CGT CCT TGG                          CCA CCT
                                              CCT CCG
                                                  CCG CCA
                                                      CCA AGT
                                                          AGT CCA
                                                              CCA
                                                VL
   +1 G   R   A   S
                  S   G
                      G   G
                          G   G
                              G   G
                                  G   S
                                      S   D
                                          D   I
                                              T   V
                                                  W   L
                                                      L   T
                                                          T   Q
                                                              O
451. GGG CGC GCC TCT GGC GGT GGC GGA TCG GAC ATT
451                                          ATT GTG
                                                 GTG CTG
                                                     CTG ACA
                                                         ACA CAG
                                                             CAG
     CCC GCG CGG AGA CCG CCA CCG CCT AGC CTG TAA CAC GAC
                                                     GAC TGT
                                                         TGT GTC
                                                             GTC


                         F.G. 28-1
                         FIG. 28-1




                                   Appx123
                                   Appx123
   Case: 22-1461     Document: 25     Page: 111      Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006   Sheet 45 of 61        US 7,033,590 B1




    +1 X    P   A   S   L   A   V   S   L   G   Q   R   A   T   I
  496  TNT CCA GCT TCT TTG GCT GTG TCT CTA GGG CAG AGG GCC ACC ATA
      ANA GGT CGA AGA AAC CGA CAC AGA GAT CCC GTC TCC CGG TGG TAT

    +1 S    C   R   A   S   E   S   V   D   S   Y   G   Y   N   F
  541  TCN TGC AGA GCC AGT GAA AGT GTT GAT AGT TAT GGC TAT AAT TTT
      AGN ACG TCT CGG TCA CTT TCA CAA CTA TCA ATA CCG ATA TTA AAA

    +1  M   H   W   Y   Q   Q   I   P   G   Q   P   P   K   L   L
  586  ATG CAC TGG TAT CAG CAG ATA CCA GGA CAG CCA CCC AAA CTC CTC
       TAC GTG ACC ATA GTC GTC TAT GGT CCT GTC GGT GGG TTT GAG GAG


    +1  I   Y   E   A   S   N   L   E   S   G   I   P   A   R   F
  631  ATC TAT CGT GCA TCC AAC CTA GAG TCT GGG ATC CCT GCC AGG TTC
       TAG ATA GCA CGT AGG TTG GAT CTC AGA CCC TAG GGA CGG TCC AAG

    +1  S   G   S   G   S   R   T   D   F   T   L   T   I   N   P
  676  AGT GGC AGT GGG TCT AGG ACA GAC TTC ACC CTC ACC ATT AAT CCT
       TCA CCG TCA CCC AGA TCC TGT CTG AAG TGG GAG TGG TAA TTA GGA

    +1  V   E   A   D   D   V   A   T   Y   Y   C   Q   Q   S   N
  721 GTG GAG GCT GAT GAT GTT GCA ACC TAT TAC TGT CAG CAA AGT AAT
       CAC CTC CGA CTA CTA CAA CGT TGG ATA ATG ACA GTC GTT TCA TTA

    +1  E   D   P   L   T   F   G   T   G   T   R   L   E   I   K
  766 GAG GAT CCG CTC ACG TTC GGT ACT GGG ACC AGA CTG GAA ATA AAA
       CTC CTA GGC GAG TGC AAG CCA TGA CCC TGG TCT GAC CTT TAT TTT

           Spacer       Hinge                                 Helix

    +1  R   A   A   A   P   K   P   S   T   P   P   G   S   S   R
  811  CGG GCG GCC GCA CCG AAG CCT TCC ACT CCG CCC GGG TCT TCC CGT
       GCC CGC CGG CGT GGC TTC GGA AGG TGA GGC GGG CCC AGA AGG GCA

    +1  M   K   Q   L   E   D   K   V   E   E   L   L   S   K   N
  856  ATG AAA CAG CTG GAA GAC AAA GTA GAG GAG CTC CTT AGC AAG AAC
       TAC TTT GTC GAC CTT CTG TTT CAT CTC CTC GAG GAA TCG TTC TTG


    +1 Y    H   L   E   N   E   V   A   R   L   K   K   L   V   G
  901  TAC CAT CTA GAA AAC GAG GTA GCT CGT CTG AAA AAG CTT GTT GGT
      ATG GTA GAT CTT TTG CTC CAT CGA GCA GAC TTT TTC GAA CAA CCA

              Spacer      His-tag
    +1  E   R   G   G   H   H   H   H   H   H   *
  946  GAA CGT GGT GGT CAC CAT CAC CAT CAC CAT TAA
       CTT GCA CCA CCA GTG GTA GTG GTA GTG GTA ATT


                              FIG. 28-2




                                Appx124
                                Appx124
   Case: 22-1461     Document: 25        Page: 112     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006      Sheet 46 of
                                               of 61       US 7,033,590
                                                           US 7,033,590 B1
                                                                        B1

    PelB-Leader
    Pe1B-Leader
   +
   +1  M   K
           K   Y   L.
                   L   L.
                       L   P.
                           P   T.
                               T   A.
                                   A   A   A   G   I
                                                   L   L
                                                       L   L
                                                           L
                                      GCC GCT GGA TTG TTA TTA
                              ACG GCA GCC
   1 ATG AAA TAC CTA TTG CCT ACG                          ITA
      TAC TTT ATG GAT AAC GGA TGC CGT CGG CGA CCT AAC AAT AAT

                                         VH
   +1  L. A.
       L   A   A.
               A   Q. PP A M
                   Q           N   A   E
                                       E    V   Q   L   Q   Q
  43 CTC GCG GCC CAG CCG GCC ATG GCC GAG GTT
  43                                       GTI CAG CTT CAG CAG
      GAG CGC CGG GTC GGC CGG TAC CGG CTC CAA GTC GAA GTC GTC

    1. S
   +1       G   P E
                P   E   L
                        L   V
                            W   K
                                K P G A         S   V   K   I
  85 TCT GGA CCT GAG CTG GTG AAG CCC GGG GCC TCA GTG AAG ATT
       AGA CCT GGA CTC GAC CAC TTC GGG CCC CGG AGT CAC TTC TAA

   +11. S C  C K  K A A S S G G Y Y   A   F   S
                                              S   S   S   W   M
 127 TCC TOO
 127        TGC AAA GOT
                     GCT TCT                 AGT AGC TCT TGG ATG
                         TOT GGC TAC GCA TTC AGT
        AGG ACG
            ACG. T.                                      ACC TAC
                 TTT CGA AGA CCG ATG CGT AAG TCA TCG AGA ACC

   +1 N
   +1  N.  W.
           W   V   K
                   K   Q
                       Q   R
                           R   P
                               P   G   Q   G   L   E   W   I
 169 AAC
 169  AAC TGG
          TGG GTG
              GTG AAG CAG AGG CCT GGA CAG GGT CTT GAG TGG ATT
      TTG ACC CAC TTC GTC TCC GGA CCT GTC CCA GAA CTC ACC TAA
      TTG

   +11. G RR     I
                 I   Y
                     Y   P G
                         P   G   N G D T N
                                 N                   Y   N   G
 21 GGA CGG ATT TAT CCT GGA AAT GGA GAT ACT AAC TAC AAT GGG
 211
        CCT GCC TAA ATA GGA CCT TTA CCT CTA TGA TTG ATG TTA CCC

   +11. KK. FF.  K. G
                 K   G.  K
                         K. AA    T
                                  T   L   T   A   D   K   S   S
 253 AAG TTC AAG GGC AAG GCC ACA CTG ACT GCA GAC AAA TCC TCC
 253
            AAG TTC CCG TTC CGG
        TTC AAG                  lVl GAC TGA CGT CTG TTT AGG AGG
                            CGG, TGT

   +11 S    T
            T   A Y
                A   Y   M
                        M   Q
                            Q   L
                                L   S   S   L
                                            L   T   S   V   D
 295 AGC ACA GCC TAC ATG CAG CTC AGC AGO
 295                                       CTG ACC TCT GTG GAC
                                       AGC CTG
       TCG TGT CGG ATG TAC GTC GAG TCG TCG GAC TGG AGA CAC CTG

    1 S A
   +1      A. VV Y Y   F
                       F   C
                           C A  A D G NN V      W   Y   Y   Y
 337 TCT GCG GTC TAT
 337              TAI TTC TGT,
                          TGT GCA GAT GGT AAC GTA TAT TAC TAT
                               CGT CTA CCA TTG CAT ATA ATG ATA
      AGA CGC CAG ATA AAG ACA CGT

   +11 A M D    D   Y   WW GG Q Q G T S     S   V   T   V   S
 379 GCT ATG GAC TAC TGG GGT CAA GGA ACC TCA GTC ACC GTC TCC
 379
       CGA TAC CTG ATG ACC CCA GTT CCT TGG AGT CAG TGG CAG AGG

           Linker
           Linker
     1 S
    +1  S G G   G G G G G S S G G G R A S       S   G   G   G
 421. TCAGGT
 421   TCA GGT GGA GGC GGT TCA GGT GGG CGC GCC TCT GGC GGT GGC
                   CCG CCA AGT CCA
       AGT CCA CCT CCG                         AGA CCG CCA CCG
                               COA CCC GCG CGG AGA
                VL
   +l G
   +1      S
           S   Q
               O   I
                   I   V   L
                           L   T
                               T   Q   S
                                       S   P
                                           P   A   S
                                                   S   L   A
 463 GGA TCG CAA ATT GTT CTC ACC CAG TCT CCT GCT TCC TTA GCT
 463
      CCT AGC GTT TAA CAA GAG TGG GTC AGA GGA CGA AGG AAT CGA

                            FIG. 29-1
                                 29-1



                                   Appx125
                                   Appx125
   Case: 22-1461     Document: 25     Page: 113     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006   Sheet 47 of
                                            of 61       US 7,033,590 B1
                                                        US           B1
    +1 W
    +1  V   S
            S   L
                T   G   Q
                        O    R   A   T
                                     T   I
                                         I   S   C   R   A   S
                                                             S
  SO5 GTA TCT CTG GGG CAG AGG GCC ACC ATC TCA TGC AGG GCC AGC
  505
                       GTC. TCC CGG TGG TAG AGT ACG TCC CGG TCG
       CAT AGA GAC CCC GTC

    1. KK S
   +1      S VV SS TT SS G Y S Y M HH W Y
 547 AAA
 547  AAA AGT GTC
              GTC AGT
                  AGT ACA TCT GGC TAT AGT TAT ATG CAC TGG TAC
                      ACA TCT
                                  ATA TCA ATA TAC GTG ACC ATG
      TTT TCA CAG TCA TGT AGA CCG ATA                     ATG

    1. 4Q Q
   +1       Q K K PP G  G Q Q   P   P
                                    P   K
                                        K   I
                                            L   L
                                                L   I
                                                    I   Y   L
                                                            L
 589 CAA CAG AAA CCA
 589               CCA GGA
                       GGA CAG                             CIT
                           CAG CCA CCC AAA CTC CTC ATC TAT CTT
       GTT GTC TTT GGT CCT GTC GGT GGG TTT GAG GAG TAG ATA GAA

    1 A
   +1  A S N   N LL EE S   S G V P A RR FF S G
 631 GCA
 631  GCA TCC AAC CTA GAA TCT GGG GTC CCT GCC AGG TTC AGT GGC
          TCC AAC CTA GAA TCT
      CGT AGG TTG GAT CTT AGA CCC CAG GGA CGG TCC AAG TCA CCG

   +1 S   G   S   G   T
                      T   D   F   T   L
                                      L   N
                                          N   I   H   P
                                                      P   V
 679 AGT GGG TCT GGG ACA
 679                     GAC TTC ACC CTC AAC ATC CAT CCT GTG
                     ACA GAC
     TCA CCC AGA CCC TGT CTG AAG TGG GAG TTG TAG GTA GGA CAC

    1 E
   +1  E   E
           E   E
               E   D
                   D   A    A
                            A   T   Y   Y   C   Q
                                                Q   H   S   R
 715 GAG GAG GAG GAT GCT
 715                  GCT, GCA ACC TAT TAC TGT CAG CAC AGT AGG
      CTC CTC CTC CTA CGA CGT TGG ATA ATG ACA GTC GTG TCA TCC

   --
   +1  E
       E   Lu
           L   P
               P   R
                   R   T   F   G   G   G   T   K
                                               K   L
                                                   L   E
                                                       E   I
                                                           I
                              GGT GGA GGC ACC AAG CTG GAA ATC
 757 GAG CTT CCT CGG ACG TTC GOT
      CTC GAA GGA GCC TGC AAG CCA CCT CCG TGG TTC GAC CTT TAG

                Spacer
                Spacer         Alkaline        phosphatase
                                               phosphatase
   +1 K
   +1  K   R
           R   A
               A.  A   A
                       A   A   R   A   P
                                       P        E
                                                E   M   P
                                                        P   W
                                                            V   L
 799 AAA CGG
 799      CGGGCG
              GCG GCC GCA GCC CGG GCA CCA      GAA
                                               GAA ATG CCT GTT CTG
      TTT GCC CGC CGG CGT CGG GCC CGT GGT      CTT TAC GGA CAA GAC

   +
   +1  E
       E   N
           N   R   A
                   A.  A   Q
                           O   G   D   I   T   A
                                               A.  P
                                                   P   G   G
 84l GAA AAC CGG GCT GCT CAG GGC GAT ATT
 841                                  ATT ACT GCA CCC GGC GGT
      CTT TTG GCC CGA CGA GTC CCG CTA TAA TGA CGT GGG CCG CCA

   +1 A
   +1      R   R   L
                   I.  T   G   D   Q   T   A   A    L
                                                    L   R   D
 883 GCT CGC CGT TTA ACG GGT GAT CAG ACT GCC GCT
 883                                          GCT. CTG CGT GAT
      CGA GCG GCA AAT TGC CCA CTA GTC TGA CGG CGA GAC GCA CTA

   +
   +1  S   L
           L   S
               S   D   K   P
                           P   A    K.
                                    K    N
                                         N   I
                                             I   I
                                                 I   L
                                                     L   L
                                                         L   I
                                                             I
 925 TCT
 925  TCT CTT
          CTT AGC GAT AAA CCT GCA AAA AAT ATT ATT           AT
                                                ATI TTG CTG ATT
      AGA GAA TCG CTA TTT
                      TTI GGA CGT TTI
                                  1-1-1 TTA TAA TAA AAC GAC TAA



   +
   +1  G   D
           D   G   M   G   D   S   E
                                   E   I
                                       I   T   A   A   R   N
 967 GGC GAT GGG ATG GGG GAC TCG GAA ATT ACT GCC GCA CGT AAT
 967
      CCG CTA CCC TAC CCC CTG AGC CTT TAA TGA CGG CGT GCA TTA


                        FIG.
                        FIG. 29-2


                               Appx126
                               Appx126
   Case: 22-1461     Document: 25      Page: 114     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006    Sheet 48 of 61       US 7,033,590 B1



     +1 Y   A   E   G   A   G   G   F   F   K   G   I   D   A
  1009 TAT GCC GAA GGT GCG GGC GGC TTT TTT AAA GGT ATA GAT GCC
       ATA CGG CTT CCA CGC CCG CCG AAA AAA TTT CCA TAT CTA CGG

    +1  L   P   L   T   G   Q   Y   T   H   Y   A   L   N   K
 1051  TTA CCG CTT ACC GGG CAA TAC ACT CAC TAT GCG CTG AAT AAA
       AAT GGC GAA TGG CCC GTT ATG TGA GTG ATA CGC GAC TTA TTT

    +1  K   T   G   K   P   D   Y   V   T   D   S   A   A   S
 1093  AAA ACC GGC AAA CCG GAC TAC GTC ACC GAC TCG GCT GCA TCA
       TTT TGG CCG TTT GGC CTG ATG CAG TGG CTG AGC CGA CGT AGT

    +1 A    T   A   W   S   T   G   V   K   T   Y   N   G   A
 1135  GCA ACC GCC TGG TCA ACC GGT GTC AAA ACC TAT AAC GGC GCG
       CGT TGG CGG ACC AGT TGG CCA CAG TTT TGG ATA TTG CCG CGC

    +1  L   G   V   D   I   H   E   K   D   H   P   T   I   L
 1177  CTG GGC GTC GAT ATT CAC GAA AAA GAT CAC CCA ACG ATT CTG
       GAC CCG CAG CTA TAA GTG CTT TTT CTA GTG GGT TGC TAA GAC

    +1 E    M   A   K   A   A   G   L   A   T   G   N   V   S
 1219 GAA ATG GCA AAA GCC GCA GGT CTG GCG ACC GGT AAC GTT TCT
       CTT TAC CGT TTT CGG CGT CCA GAC CGC TGG CCA TTG CAA AGA

    +1 T    A   E   L   Q   D   A   T   P   A   A   L   V   A
 1261 ACC GCA GAG TTG CAG GAT GCC ACG CCC GCT GCG CTG GTG GCA
       TGG CGT CTC AAC GTC CTA CGG TGC GGG CGA CGC GAC CAC CGT

    +1  H   V   T   S   R   K   C   Y   G   P   S   A   T   S
 1303  CAT GTG ACC TCG CGC AAA TGC TAC GGT CCG AGC GCG ACC AGT
       GTA CAC TGG AGC GCG TTT ACG ATG CCA GGC TCG CGC TGG TCA

    +1  E   K   C   P   G   N   A   L   E   K   G   G   K   G
 1345  GAA AAA TGT CCG GGT AAC GCT CTG GAA AAA GGC GGA AAA GGA
       CTT TTT ACA GGC CCA TTG CGA GAC CTT TTT CCG COT TTT CCT

    +1 s    I   T   E   Q   L   L   N   A   R   A   D   V   T
 1387 TCG ATT ACC GAA CAG CTG CTT AAC GCT CGT GCC GAC GTT ACG
       AGC TAA TGG CTT GTC GAC GAA TTG CGA GCA CGG CTG CAA TGC

    +1  L   G   G   G   A   K   T   F   A   E   T   A   T   A
 1429  CTT GGC GGC GGC GCA AAA ACC TTT GCT GAA ACG GCA ACC GCT
       GAA CCG CCG CCG CGT TTT TGG AAA CGA CTT TGC CGT TGG CGA

    +1 G    E   W   Q   G   K   T   L   R   E   Q   A   Q   A
 1471  GGT GAA TGG CAG GGA AAA ACG CTG CGT GAA CAG GCA CAG GCG
       CCA CTT ACC GTC CCT TTT TGC GAC GCA CTT GTC CGT GTC CGC


                        FIG. 29-3




                               Appx127
                               Appx127
   Case: 22-1461      Document: 25       Page: 115    Filed: 11/04/2022




U.S. Patent
     Patent        Apr. 25, 2006     Sheet 49 of 61       US 7,033,590 B1



       R GG Y
    +1 R       Y QQ LL VV SS DD AA A       A SS LL. NN. SS
 1513 CGT
 1513 CGT GGT
          GGT TAT
              TAT CAG
                  CAG TTG GTG
                          GTG AGC
                              AGC GAT
                                  GAT GCT
                                      GCT GCC
                                          GCC TCA
                                              TCA CTG
                                                  CTG AAT
                                                      AAT TCG
                                                          TCG
      GCA CCA ATA GTC AAC CAC TCG CTA CGA CGG AGT GAC TTA AGC

    +1V     T   E    A   N   Q   Q   K   P   L   L   G   L   F
                                                             F
 1555 GTG
 1555  GTG ACG
           ACG GAA
               GAA GCG
                    GCG AAT
                        AAT CAG
                            CAG CAA AAA CCC
                                CAA AAA CCC CTG
                                            CTG CTT
                                                CTT GGC
                                                    GGC CTG
                                                        CTG TTT
                                                            TTT
               CTT, CGC TTA
       CAC TGC CTT       TA GTC GTT TTT
                                    TIT GGG GAC GAA CCG GAC AAA

    +1A     D   G   N    M   P   V   R   W   L   G   P   K   A
 1597 GCT GAC GGC AAT ATG CCA GTG CGC TGG CTA GGA CCG AAA GCA
               CCG TTA
       CGA CTG COG TTA. TAC GGT CAC GCG ACC GAT CCT GGC TTT CGT

    ti T   Y   H   G   N   I   D   K   P   A   V   T   C   T
 1639 ACG TAC CAT GGC AAT ATC GAT AAG CCC GCA GTC ACC TGT ACG
 1639 ACG TAC CAT GGC AAT ATC GAT AAG CCC GCA GTC ACC TGT ACG
      TGC ATG GTA CCG TTA TAG CTA TTC GGG CGT CAG TGG ACA TGC

    +1 P   N    P   Q   R   N    D   S   V   P   T   L   A   Q
 1681 CCAAAT CCG CAA CGT AAT GAC AGT GTA CCA ACC CTG GCG CAG
 1681 CCA AAT  CCG CAA CGT AAT  GAC AGT GTA CCA ACC CTG GCG CAG
          TTA. GGC GTT GCA TTA.
      GGT TTA              TTA CTG TCA CAT GGT TGG GAC CGC GTC

    +1 M   T   D   K   A   I   E    L   L   S   K   N   E   K
 1723 ATG
 1723 AG ACC GAC AAA GCC ATT GAA TTG TG AGT AAA AAT GAG AAA
      TAC TGG CTG TTT CGG TAA CTT
                              CTT. AAC AAC TCA TTT TTA CTC TTT
     +1 G   F   F   L   Q   V   E   G   A   S   I   D   K   Q
 1765. GGC
 1765  GGC Ili
           IIT TTC CTG CAA GTT GAA GGT GCG TCA ATC GAT
                                                   GAT AAA CAG
       CCG AAA AAG GAC GTT CAA CTT CCA CGC AGT TAG CTA TTT GTC

    +1 D   H   A    A   N   P   C   G   Q   I   G   E   T   V
 1807 GAT CAT GCT
 1807                          TOT GGG CAA ATT GGC GAG ACG GTC
              GCT. GCG AAT CCT TOGT
      CTA GTA CGA CGC TTA.
                       TTA GGA ACA CCC GTT TAA CCG CTC TGC CAG

    +1 D   L   D   E   A   V   Q   R   A   L   E   F   A   K
 1849 GAT CTC GAT GAA GCC GTA CAA CGG GCG CTG GAA TTC GCT AAA
 1849
                                              CT AAG CGA TTT
      CTA GAG CTA CTT CGG CAT GTT GCC CGC GAC CTT

    +1 K   E   G   N   T   L   V   I   V   T   A   D   H   A
 1891 AAG GAG GGT
 1891         GG AAC ACG CTG GTC ATA GTC ACC GCT GAT CAC GCC
      TTC CTC CCA TTG TGC GAC CAG TAT CAG TGG CGA CTA GTG CGG
      TTC

    +
    +1  H   A   S   O
                    Q   I
                        I   W
                            V   A.
                                A   P
                                    P   D
                                        D   T   K
                                                K   A   P
                                                        P   G
 1933 CAC GCC AGC CAG ATT GTT GCG CCG GAT ACC AAA GCT CCG GGC
 1933
       GTG CGG TCG GTC TAA CAA CGC GGC CTA TGG TTT CGA GGC CCG

    +1
    +1 LL,  T
            I   Q
                O   A   I
                        L   N   T
                                T   K
                                    K   D
                                        D   G   A
                                                A.  V
                                                    W   M   V
                                                            W
 1975 CTC ACC CAG GCG CTA AAT ACC AAA GAT GGC GCA GTG ATG GTG
 1975
       GAG TGG GTC CGC GAT TTA TGG TTT CTA CCG CGT CAC TAC CAC



                            FIG.
                            FG. 29-4 .



                                   Appx128
                                   Appx128
   Case: 22-1461      Document: 25       Page: 116     Filed: 11/04/2022




     Patent
U.S. Patent        Apr. 25, 2006     Sheet 50 of
                                              of 61        US 7,033,590 B1
                                                                        B1




     +1
     +1 M    S   Y   G   N    S   E   E   D   S    Q
                                                   O   E   H   T
  2017
  2O7   ATG AGT TAC GGG AAC  TCC GAA GAG GAT TCA  CAA GAA CAT ACC
                        TTG AGG CTT CTC CTA AGT
        TAC TCA ATG CCC TTG.                      GTI CTT GTA
                                             AGT, GTT     GA TGG

     +1 G
     +1      S   Q   I
                     L   R   II  A   A.
                                     A   Y   G   P   H   A   A
  2O59 GGC AGT CAG TTG CGT ATT GCG GCG TAT GGC CCG CAT GCC GCC
  2059
        CCG TCA GTC AAC GCA TAA CGC CGC ATA CCG GGC GTA CGG CGG

    +1  N   W
            V   V   G
                    O   T
                        L   T
                            T   D   Q   T   D
                                            D   I.
                                                L   E.
                                                    F   Y   T
 2101 AAT GTT GTT GGA CTG ACC GAC CAG ACC
 2101                                  ACC GAT
                                           GAT CTC TTC TAC ACC
        TA CAA CAA CCT GAC TGG CTG GTC TGG CTA GAG AAG ATG TGG
       TTA

                                                      His tag
                                                          tag
     +1  M   K
             K   A   A   L
                         I   G   D   I   A
                                         A   HH. H
                                                 H.  H
                                                     H.  H   H
  2143                                      CAC CAT CAC CAT CAC
        ATG AAA GCC GCT CTG GGG GAT ATC GCA ICAC
                                            GTG GTA GTG GTA GTG
        TAC TTT CGG CGA GAC CCC CTA TAG CGT GTG

      +1
      +1  H   *r
  21.85 CAT TAA
  2185
         GTA ATT




                              FIG. 29-5




                                   Appx129
                                   Appx129
   Case: 22-1461        Document: 25       Page: 117     Filed: 11/04/2022




U.S.    Patent       Apr. 25, 2006      Sheet 51 of 61       US 7,033,590 B1




          Pe1B-Leader
       +1  M   K   Y   L   L   P   T   A   A   A   G   L   L   L   L
       1  ATG AAA TAC CTA TTG CCT ACG GCA GCC GCT GGA TTG TTA TTA CTC
          TAC TTT ATG GAT AAC GGA TGC CGT CGG CGA CCT AAC AAT AAT GAG

                                    VH
    +1 A    A   Q   P   A   M   A   E   V   Q   L   Q   Q   S   G
   46  GCG GCC CAG CCG GCC ATG GCG GAG GTT CAG CTT CAG CAG TCT GGA
       CGC CGG GTC GGC CGG TAC CGC CTC CAA GTC GAA GTC GTC AGA CCT

    +1 P    E   L   V   K   P   G   A   S   V   K   I   S   C   K
   91  CCT GAG CTG GTG AAG CCC GGG GCC TCA GTG AAG ATT TCC TGC AAA
      GGA CTC GAC CAC TTC GGG CCC CGG AGT CAC TTC TAA AGG ACG TTT

    +1  A   S   G   Y   A   F   S   S   S   W   M   N   W . V   K
  136 GCT TCT GGC TAC GCA TTC AGT AGC TCT TGG ATG AAC TOG GTG AAG
       CGA AGA CCG ATG CGT AAG TCA TCG AGA ACC TAC TTG ACC CAC TTC

    +1 Q   R   P   G   Q   G   L   E   W   I   G   R   I   Y.  P
  181 CAG AGG CCT GGA CAG GGT CTT GAG TGG•ATT GGA CGG ATT TAT CCT
      GTC TCC GGA CCT GTC CCA GAA CTC ACC TAA CCT GCC TAA ATA GGA

    +1 G   N   G   D   T   N   Y   N   G   K   F   K   G   K   A
  226 GGA AAT GGA GAT ACT AAC TAC AAT GGG AAG TTC AAG GGC AAG GCC
      CCT TTA CCT CTA TGA TTG ATG TTA CCC TTC AAG TTC CCG TTC CGG

    +1 T   L   T   A   D   K   S   S   S   T   A   Y   M   Q   L
  271 ACA CTG ACT GCA GAC AAA TCC TCC AGC ACA GCC TAC ATG CAG CTC
      TGT GAC TGA CGT CTG TTT AGG AGG TCG TGT CGG ATG TAC GTC GAG

    +1 S   S   L . T   S   V   D   S   A   V   Y   F   C   A   D
  316 AGC AGC CTG ACC TCT GTG GAC TCT GCG GTC TAT TTC TGT GCA GAT
      TCG TCG GAC TGG AGA CAC CTG AGA CGC CAG ATA AAG ACA CGT CTA

    +1 G   N   V   Y   Y   Y   A   M   D   Y   W   G   Q   G   T
  361 GGT AAC GTA TAT TAC TAT GCT ATG GAC TAC TGG GOT CAA GGA ACC
      CCA TTG CAT ATA ATG ATA CGA TAC CTG ATG ACC CCA GTT CCT TGG

                                      Linker
   +1 S    V   T   V   S   S   G   G   G   G   S   G   G   R   A
 406 TCA GTC ACC GTC TCC TCA GGT GGA GGC GGT TCA GGT GGG CGC GCC
      AGT CAG TGG CAG AGG AGT CCA CCT CCG CCA AGT CCA CCC GCG CGG



                             FIG. 30-1




                                     Appx130
                                     Appx130
   Case: 22-1461      Document: 25       Page: 118    Filed: 11/04/2022




U.S. Patent         Apr. 25, 2006    Sheet 52 of 61       US 7,033,590 B1



                                    VL
     +1  S   G   G   G   G   S   Q   I   V   L   T   Q   S   P   A
   451 TCT GGC GGT GGC GGA TCG CAA ATT GTT CTC ACC CAG TCT CCT GCT
        AGA CCG CCA CCG CCT AGC GTT TAA CAA GAG TGG GTC AGA GGA CGA


     +1 S   L   A   V   S   L   G   Q   R   A   T   I   S   C   R
   496 TCC TTA GCT GTA TCT CTG GGG CAG AGG GCC ACC ATC TCA TGC AGG
       AGG AAT CGA CAT AGA GAC CCC GTC TCC CGG TGG TAG AGT ACG TCC




    +1 A   S   K   S   V   S   T   S   G   Y   S   Y   M   H   W
  541 GCC AGC AAA AGT GTC AGT ACA TCT GGC TAT AGT TAT ATG CAC TGG
      CGG TCG TTT TCA CAG TCA TGT AGA CCG ATA TCA ATA TAC GTG ACC

    4.1 Y   Q   Q   K   P   G   Q   P   P   K   L   L   I   Y   L
  586 TAC CAA CAG AAA CCA GGA CAG CCA CCC AAA CTC CTC ATC TAT CTT
       ATG GTT GTC TTT GGT CCT GTC GGT GGG TTT GAG GAG TAG ATA GAA

    4.1 A    S   N   L   E   S   G   V   P   A   R   F   S   G   S
  631 GCA TCC AAC CTA GAA TCT GGG GTC CCT GCC AGG TTC AGT GGC AGT
        CGT AGG TTG GAT CTT AGA CCC CAG GGA CGG TCC AAG TCA CCG TCA

    +1 G   S   G   T   D   F   T   L   N   I   H   P   V   E   E
  676 GGG TCT GGG ACA GAC TTC ACC CTC AAC ATC CAT CCT GTG GAG GAG
      CCC AGA CCC TGT CTG AAG TGG GAG TTG TAG GTA GGA CAC CTC CTC

    +1 E    D   A   A   T   Y   Y   C   Q   H   S   R   E   L   P
  721 GAG GAT GCT GCA ACC TAT TAC TGT CAG CAC AGT AGG GAG CTT CCT
       CTC CTA CGA CGT TOG ATA ATG ACA GTC GTG TCA TCC CTC GAA GGA

                                                              Spacer
    4.1 R   T   F   G   G   G   T   K   L   E   I   K   R      A   A
  766 CGG ACG TTC GGT GGA GGC ACC AAG CTG GAA ATC AAA C       GCG GCC
       GCC TGC AAG CCA CCT CCG TGG TTC GAC CTT TAG TTT GC     CGC CGG

            Hinge                                     Helix
    4.1 A    P   K   P   S   T   P   P   G   S   S   R   M   K   Q
  811 GCA CCG AAG CCT TCC ACT CCG CCC GGG TCT TCC CGT ATG AAA CAG
        CGT GGC TTC GGA AGG TGA GGC GGG CCC AGA AGG GCA TAC TTT GTC

   +1 L   E   D   K   V   E   E   L   L   S   K   N   Y   H   L
 856 CTG GAA GAC AAA GTA GAG GAG CTC CTT AGC AAG AAC TAC CAT CTA
     GAC CTT CTG TTT CAT CTC CTC GAG GAA TCG TTC TTG ATG GTA GAT


   +1 E    N   E   V   A   R   L   K   K   L   V   G   E   R   G
 901 GAA AAC GAG GTA GCT CGT CTG AAA AAG CTT GTT GGT GAA CGT GGT
      CTT TTG CTC CAT CGA GCA GAC TTT TTC GAA CAA CCA CTT GCA CCA



                              FIG. 30-2




                                Appx131
                                Appx131
   Case: 22-1461      Document: 25      Page: 119     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006
                   Apr. 25, 2006     Sheet 53
                                     Sheet 53 of
                                              of 61
                                                 61       US 7,033,590 Bl
                                                                       B1




           Spacer
           Spacer        His-tag
                         His -tag
            +1 G
            +1  G | HH HH H H HH HH HH **
          946 GGT CAC CAT CAC CAT CAC CAT TAA
          946
               CCA GTG GTA GTG GTA GTG GTA ATT




                        FIG.
                        FIG. 30-3




                                   Appx132
                                   Appx132
                  Case: 22-1461    Document: 25          Page: 120    Filed: 11/04/2022




                   2.5
                                                                                               lual-ed .s.9
                                                                                              U.S. Patent




                    2

                                                                     .FVIII 4.8pM
                   1.5 -                                             ,198AB-Zip#102, 25nM,
                                                                                              Apr. 25, 2006




                                                                          +2.3nM FIXa
                                                                     -..-8860-Zip#1.2 25nM,




          907 0
  >
,-cs       OD405
                     1                                                    +2.3nM FIXa
                                                                      — IZ, +2.3nM FIXa
 L..)




Appx133
 t...)
                   0.5
                                                                                                  t9 JO bi iamiS
                                                                                                Sheet 54 of 61




                                                               09



                                                07
                                  20                40         60
                                       time (min)

                                              FIG. 31
                                                                                                     IS 06S`££O'L SR
                                                                                              US 7,033,590 B1
                             Case: 22-1461           Document: 25              Page: 121             Filed: 11/04/2022




             pel B -leader                    /     polylinker                                                                  I c-myc tag
          ...LA    AQ   P    AMAQ         V       Q L       Q   A R     L   QV D           L     E   I   K     R    A   A   A    E   Q   K....
                                                                                                                                                 lualud




          _CC GM    OsG CCG CO: AIGOM DIG GIG DIG CfG DIG CCG 03C CTG GisG GTE GAC CTC GsG REAM 02G GD     CCA GA OA AAA..
                   Sfil        Ncol                        Ascl              Sall XhoI                Notl



                                                    start
                                                                                                                                                 900Z `SZ 'AdV




                                                                        PeIB
•c3                  c-myc-tag:                                 PIacZ          c-myc tag
•c3
 >4                  EQKLISEEDLNG
 ,--,
                     for detection with                                                    His-tag           stop




Appx134
 -P,                 mAb 9E10                           colE1ori
                                                                        pMycHis6
                                                                                                                                                 19 .19 SS lamIS




                                                                         3313 bp
                     His6-tag:                                                                 M13ori
                                                            AmpR
                     HHHHHH
                     for purification via
                     chelating chromatography

                                                                                                                            FIG. 32
                                                                                                                                                 IS 06S`££0`L SR
    Case: 22-1461                Document: 25                               Page: 122                           Filed: 11/04/2022




U.S.
U.S. Patent
     Patent                  Apr. 25, 2006
                             Apr. 25, 2006                               Sheet 56
                                                                         Sheet 56 of
                                                                                  of 61
                                                                                     61                                      US 7,033,590 B1




                                                                                           HindIII
                                                                                           Hindlll
  2206
  2206    CAG GAA
          CAG GAA ACA GCT ATG
                          ATG ACC ATG ATT ACG CCA
                                              CCAAGCffic
                                                  AGC TTC CAT GAA AAT
          GTC CTT TGT CGA TAC TGG TAC TAA TGC GGT TCG AAG GTA CTT
                                                              CTT, TTA

                                                                                 PelB-Leader
                                                                                 PelB Leader
                                                                            M
                                                                            m        K           yY         L
                                                                                                            T           L
                                                                                                                        I.          P   T
  2251.
  2251    TCT ATT TCA AGG AGA CAG TCA TAA TGA AAT ACC TAT TGC CTA CGG
          AGA TAA AGT TCC TCT GTC AGT ATT ACT TTA TGG ATA ACG GAT GCC


           AAAA AA GG LL LL LL LL AA AA QQ. PP AA M AA
                                                                                           Sfil
                                                                                 aw w M M Aw a   PP at N win Maw awawa as abat AA

 2296     CAG CCG CTG GAT TGT TAT TAC TCG CGG CCC AGC CGG CCA TGG CCC
          GTC GGC GAC CTA ACA ATA ATG AGC GCC GGG TCG GCC GGT ACC GGG

            Polylinker
            Polylinker
          O
          QV    W     O
                      Q     L
                            L    Q
                                 Q        A R
                                          A   R                      L
                                                                     L      Q
                                                                            Q       W
                                                                                    V        D
                                                                                             D             L
                                                                                                           L           E
                                                                                                                       E            I
                                                                                                                                    I   K
                                                                                                                                        K
                                           Ascl
                                      ev A. A. At Ay Aya   Maa rau
 2341
 2341     AGG TGC AGC TGC AGG CGC GCC TGC AGG TCG ACC
                                                  ACC TCG
                                                      TCG. AGA
                                                           AGA TCA
                                                               TCA AAC
                                                                   AAC
          TCC ACG TCG ACG TCC GCG CGG ACG TCC AGC TGG AGC TCT
                                                           TCT AGT
                                                               AGT TTG
                                                                   TTG

                Spacer
                Spacer                   Myc-tag
                                         Myc-tag
           R    A
                A      A.
                       A     A
                             A    E
                                  E          Q
                                             Q             K
                                                           K         L
                                                                     L       I
                                                                             I        S
                                                                                      S          E
                                                                                                 E           E
                                                                                                             E           D
                                                                                                                         D          L
                                                                                                                                    L   N
                                                                                                                                        N
                    Not I
 2386 GGG
 2366 GGGöGGCCGCAG    AAC AAA AAC TCA TCT CAG
          CGG CCG CAG AAC                 CAG AAG AGG
                                                  AGG ATC
                                                      ATC TGA ATG
                                                              ATG
                      GTC TTG TTT TTG
          CCC GCC GGC GTC         ITG, AGT
                                       AGT AGA GTC TTC TCC
                                                       TCC TAG
                                                           TAG ACT
                                                               ACT TAC
                                                                   TAC

                    Spacer. His
                    Spacer  His tag
                                tag
           G.
           G    A.
                A      A     H    H          H
                                             H             H         H      H          k
                                                                                                            EcoRI
 243.
 2431             CAC ATC ACC ATC ACC ATC ACT AAT AAG
          GGG CGG CAC                             AAG AAT
                                                      AAT TCA
                                                          TCA CTG
                                                              CTG GCC
                                                                  GCC
          CCC GCC GTG TAG TGG TAG TGG TAG TGA TTA
          CCC                                  TA TTC TTA AGT GAC CGG


                                           FIG. 33
                                           FIG. 33




                                                       Appx135
                                                       Appx135
   Case: 22-1461     Document: 25        Page: 123        Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006      Sheet 57 of 61            US 7,033,590 B1




          PelB-leader
          Pe1B- leader
   +1
   +1  M   K   Y   L.
                   L   I
                       L   P   T   A   A   A   G   L   L
                                                       L   L
                                                           L   IL
   1  ATG AAA TAC CTA TTG CCT ACG GCA GCC GCT GGA TTG TTA TTA CTC
      TAC TTT ATG GAT AAC GGA TGC CGT CGG CGA CCT AAC AAT AAT GAG

                                    VH
   +1
   +1  A   A   Q   P   A   M   A
                               A.   E   V
                                        W   K   L
                                                I   V
                                                    W   E   S   G
  46 GCG GCC CAG CCG GCC ATG GCC GAG GTG AAG CTG GTG GAG TCT GGG
                                                               GGG
      CGC CGG GTC GGC CGG TAC CGG
                              CGG, CTC CAC TTC GAC CAC CTC AGA CCC

   +1    G   G   L   V   K   P   G   G   S   L   K   L   S   C   A
  91
  91    GGA GGC TTA GTG AAG CCT GGA GGG TCC CTG AAA CTC TCC TGT GCA
                                                                GCA
        CCT CCG AAT CAC TTC GGA CCT CCC AGG GAC TTT GAG AGG ACA
                                                            ACA CGT

   +1  A   S   G   F   T   F   S   S   Y   T   M   S   W    V    R
 l36 GCC TCT GGA TTC ACT TTC AGT AGC TAT ACC ATG TCT TGG
 136                                                  TOGG GTT CGC
      CGG AGA CCT AAG TGA AAG TCA TCG ATA TGG TAC AGA ACC CAA
                                                           CAA. GCG

   +1  Q   T   P   E   K   R   L   E   W   V   A   T   I   S   S
 18. CAG ACT CCG GAG AAG AGG CTG
 181                          CG GAG TGG GTC GCA ACC ATT AGT AGT
                                                              AGT
      GTC TGA GGC CTC TTC TCC GAC CTC ACC CAG CGT TGG TAA TCA TCA

   +1  G   G   S   S   T   Y   Y   P   D   S   V  K   G   R    F
 226  GGN GGT AGT TCC ACC TAC TAT CCA GAC AGT GTG AAG GGC
                                                      GGC CGA
                                                          CGA TTC
      CCN CCA TCA AGG TGG ATG ATA GGT CTG TCA CAC TTC CCG GCT
                                                          GCT. AAG

   +1  T    I   S   R   D   N   A   K   N   T   L   Y   L   Q   M
 271 ACC ATC
 271      ATC. TCC AGA GAC AAT GCC AAG AAC ACC CTG TAC CTG CAA ATG
      TGG TAG AGG TCT ICTG
                       CTG TTA CGG TTC TTG TGG GAC!ATG
                                               GAC ATG GAC GTT TAC
                                                               TAC

   +1
 316
       S
          IS   L   R   S   E   D   T   A
      AGC AGT CTG AGG TCT GAG GAC ACA GCC
                                           M
                                      GCC ATG
                                               Y
                                          ATG TAT
                                                   Y
                                              TAT TAC
                                                       C
                                                  TAC TGT
                                                           T
                                                      TGT ACA
      TCG TCA GAC TCC AGA CTC CTG TGT CGG TAC ATA ATG ACA
                                                               R
                                                          ACA AGA
                                                      ACA TGT
                                                              AGA
                                                          TGT TCT
   +1
   +1  E
       E   G   G    G   F
                        F   T   W
                                V   N   W   Y   F
                                                F   D
                                                    D   V
                                                        W   W   G
 361 GAG
 361  GAG GGG GGT
              (GGT GGT TTC ACC GTC AAC TGG TAC TTC GAT GTC
                                                       GTC TGG GGC
                                                               GGC
      CTC CCC CCA CCA AAG TGG CAG TTG ACC ATG AAG CTA CAG
                                                       CAG ACC
                                                           ACC CCG
                                                               CCG
                                                       Leader
    +1
    +1  A   G   T   S   V
                        W   T   V
                                W   S   S   G   G   G   G   S   G
 4 O6 GCA GGA ACC TCA GTC ACC GTC TCC TCA GGT GGA GGC GGT TCA GGT
 406
       CGT CCT TGG AGT CAG TGG CAG AGG AGT
                                       AGT CCA CCT CCG CCA AGT
                                                           AGT CCA



                           FIG.
                           FIG. 34-1
                                34-1




                                   Appx136
                                   Appx136
   Case: 22-1461        Document: 25          Page: 124          Filed: 11/04/2022




U.S. Patent          Apr. 25, 2006                  of 61
                                           Sheet 58 of                 US 7,033,590 B1
                                                                                    B1




                                                            WK
                                                            VK
     +1 G
      +1 G   R
             R   A
                 A   S S G  GG   G
                                 G   G G S   DG  IS  V D L   I
                                                             T   Q v     L   T   Q
   451. GGG CGC GCC TCT GGC GGT GGC GGA TC
   451                                  TCG GAC ATT GTG CTG ACA CAG
                                                                CAG
                                                        GAC TGT GTC
        CCC GCG CGG AGA CCG CCA CCG CCT AGC CTG TAA CAC GAC

    +1
    +1  S   P   A.
                A   S   L
                        L   A   W
                                V   S
                                    S   L
                                        L   G   O
                                                Q    R
                                                     R   A    T   I
  496 TCT CCA GCT TCT TTG GCT GTG
  496                          GTG TCT
                                   TCT CTA
                                       CTA GGG
                                           GGG CAG
                                               CAG AGG
                                                    AGG GCC
                                                        GCC ACC  ATA
                                                             ACC ATA
       AGA GGT CGA AGA AAC CGA CAC
                               CAC AGA GAT CCC GTC
                                               GTC. TCC CGG
                                                        CGG, TGG TAT

     +1
     +1  S   C   R   A.
                     A   S
                         S   E
                             E   S
                                 S   W
                                     V   D
                                         D   S
                                             S   Y   G   Y   N   F
  541. TCC TGC AGA GCC AGT GAA AGT GTT GAT AGT TAT GGC TAT AAT TTT
  541
                                    CAA CTA TCA ATA CCG ATA TTA AAA
        AGG ACG TCT CGG TCA CTT TCA CAA

    - 1
    +1   M   H
             H   W   Y   O
                         Q   Q   I   P
                                     P   G   O
                                             Q   P
                                                 P   P
                                                     P   K
                                                         K   L
                                                             L   L
                                                                 T
  586 ATG CAC TGG TAT CAC
  586                   CAG CAG ATA CCA GGA CAG CCA CCC AAA CTC
                                                            CTC CTC
                                                                CTC
        TAC GTG
        TAC GTG ACC
                ACC ATA GTC GTC TAT GGT CCT GTC GGT GGC
                                                    GGG TTT GAG GAG
                                                                GAG
    +l I
    +1  I   Y   R   A.
                    A   S
                        S   N   T
                                L   E   S   G   I
                                                I   P   A   R   F
  631 ATC TAT CGT GCA TCC AAC CTA GAG TCT GGG ATC
  631                                          ATC CCT
                                                   CCT GCC
                                                       GCC AGG
                                                           AGG TTC
                                                               TTC
       TAG ATA GCA CGT AGG TTG GAT CTC AGA CCC TAG GGA CGG TCC AAG

    +1
    +1  S   G   S   G   S   R   T
                                T   D
                                    D   F   T   T
                                                L   T   II   N   P
                                                                 P
  676
  676              GGG TCT AGG ACA GAC TTC ACC CTC ACC ATT
       AGT GGC AGT GCG                                 ATT. AAT CCT
       TCA CCG TCA CCC AGA TCC TGT CTG AAG TGG GAG TGG TAA TTA GGA

    +
    +1  V   E
            E   A   D   D
                        D   W
                            V   A   T   Y   Y   C   Q   Q   S
                                                            S   N
  721 GTG GAG GCT GAT GAT GTT GCA ACC TAT TAC TGT CAG
  721                                              CAG CAA AGT AAT
                                                       CAA AGT AAT
       CAC CTC
       CAC CTC CGA
               CGA CTA
                   CTA CTA
                       CTA CAA
                           CAA CGT TGG ATA ATG ACA GTC
                                                   GTC GTT
                                                       GTT TCA
                                                           TCA TTA
                                                               TTA
    +
    +1  E
        E   D   P
                P   L
                    L   T   F
                            E   G   T   G   T   R
                                                R   L
                                                    L   E
                                                        E   I
                                                            I   K
                                                                K
  766 GAG GAT CCG CTC ACG TTC GGT ACT GGG ACC AGA CTG GAA
  766                                                      ATA AAA
                                                       GAA ATA AAA
       CTC CTA GGC GAG TGC AAG CCA TGA CCC TGG TCT GAC CTT TAT TTT

            Spacer
            Spacer              Myc-tag
    +1 R
    +1  R    A
             A   A
                 A   A
                     A   E
                         E   Q
                             Q   K
                                 K   L
                                     L   I
                                         I   S
                                             S   E
                                                 E   E
                                                     E   D
                                                         D   L
                                                             L   N
                                                                 N
  811 CGG
  811  CGG, GCG
            GCG GCC GCA GAA CAA AAA CTC ATC TCA GAA
                                                GAA GAG
                                                    GAG GAT
                                                        GAT CTG
                                                            CTG AAT
                                                                AAT
       GCC CGC CGG CGT ICTT
                        CTT GTT TTT GAG TAG AGT CTT CTC CTA GAC TTA

            Spacer.
            Spacer      His tag
                        His tag
    +l
    +1  G   A   A   H   H
                        H   H   H   H
                                    H   H   1.   r
  856 GGG GCG GCA CAT CAC CAT CAC CAT
  656                              CAT CAC TAA TAA
                                               TAA
       CCCCGC
       CCC     CGT GTA GTG GTA GTG GTA GTG ATT ATT
           CGC CGT




                             FIG. 34-2




                                     Appx137
                                     Appx137
   Case: 22-1461     Document: 25        Page: 125     Filed: 11/04/2022




U.S. Patent        Apr. 25, 2006      Sheet 59 of 61       US 7,033,590 B1


        Pe1 leader
   +1 M    K   Y   L   L   P   T   A   A   A   G   L   L   L   L
   1 ATG AAA TAC CTA TTG CCT ACG GCA GCC GCT GGA TTG TTA TTA CTC
      TAC TTT ATG GAT AAC GGA TGC CGT CGG CGA CCT AAC AAT AAT GAG


                                       VH
   +1 A   A   Q   P   A   M   A   E   V   Q   L   Q   Q   S   G
  46 GCG GCC CAG CCG GCC ATG GCC GAG GTT CAG CTT CAG CAG TCT GGA
     CGC CGG GTC GGC CGG TAC CGG CTC CAA GTC GAA GTC GTC AGA CCT

   +1 P   E   L   V   K   P   G   A   S   V   K   I   S   C   K
  91 CCT GAG CTG GTG AAG CCC GGG GCC TCA GTG AAG ATT TCC TGC AAA
     GGA CTC GAC CAC TTC GGG CCC CGG AGT CAC TTC TAA AGG ACG TTT

   +1 A    S   G   Y   A   F   S   S   S   W   M   N   W   V   K
 136 GCT TCT GGC TAC GCA TTC AGT AGC TCT TGG ATG AAC TGG GTG AAG
      CGA AGA CCG ATG CGT AAG TCA TCG AGA ACC TAC TTG ACC CAC TTC

   +1 Q   R   P   G   Q   G   L   E   W   I   G   R   T   Y   P
 181 CAG AGG CCT GGA CAG GGT CTT GAG TGG ATT GGA CGG ATT TAT CCT
     GTC TCC GGA CCT GTC CCA GAA CTC ACC TAA CCT GCC TAA ATA GGA

   +1 G   N   G   D   T   N   Y   N   G   K   F   K   G   K   A
 226 GGA AAT GGA GAT ACT AAC TAC AAT GGG AAG TTC AAG GGC AAG GCC
     CCT TTA CCT CTA TGA TTG ATG TTA CCC TTC AAG TTC CCG TTC CGG

   +1 T   L   T   A   D   K   S   S   S   T   A   Y   M   Q   L
 271 ACA CTG ACT GCA GAC AAA TCC TCC AGC ACA GCC TAC ATG CAG CTC
     TGT GAC TGA CGT CTG TTT AGG AGG TCG TGT CGG ATG TAC GTC GAG

   +1 S   S   L   T   S   V   D   S   A   V   Y   F   C   A   D
 316 AGC AGC CTG ACC TCT GTG GAC TCT GCG GTC TAT TTC TGT GCA GAT
     TCG TCG GAC TGG AGA CAC CTG AGA CGC CAG ATA AAG ACA CGT CTA

   +1 G   N   V   Y   Y   Y   A   M   D   Y   W   G   Q   G   T
 361 GGT AAC GTA TAT TAC TAT GCT ATG GAC TAC TGG GGT CAA GGA ACC
     CCA TTG CAT ATA ATG ATA CGA TAC CTG ATG ACC CCA GTT CCT TGG

                                    Leader
   +1 S   V   T   V   S   S   G   G   G   G   S   G   G   R   A
 406 TCA GTC ACC GTC TCC TCA GGT GGA GGC GGT TCA GGT GGG CGC GCC
     AGT CAG TGG CAG AGG AGT CCA CCT CCG CCA AGT CCA CCC GCG CGG




                              VL
   +1 S   G   G   G   G   S   Q   I   V   L   T   Q   S   P   A
 451 TCT GGC GGT GGC GGA TCG CAA ATT GTT CTC ACC CAG TCT CCT GCT
     AGA CCG CCA CCG CCT AGC GTT TAA CAA GAG TGG GTC AGA GGA CGA


                          FIG. 35-1




                                   Appx138
                                   Appx138
   Case: 22-1461      Document: 25       Page: 126     Filed: 11/04/2022




U.S. Patent
     Patent        Apr. 25, 2006      Sheet 60 of
                                               of 61       US 7,033,590 B1




    --
    +1  S   T
            L   A.
                A   W
                    V   S   L
                            L   G   Q    R   A
                                             A.   T   I
                                                      I   S   C   R
                                                                  R
  496 TCC TTA GCT GTA TCT CTG GGG CAG AGG GCC
  496                                       GCC ACC ATC TCA
                                                         TCA TGC
                                                             TGC AGG
                                                                 AGG
                                   GTC. TCC CGG
       AGG AAT CGA CAT AGA GAC CCC GTC      CGG, TGG TAG AGT ACG TCC



     +1 A
     +1      S   K   S
                     S   W
                         V   S
                             S   T   S   G   Y   S   Y   M   H   W
  54
  541   GCC AGC AAA AGT GTC AGT ACA TCT GGC TAT AGT TAT ATG CAC TGG
        CGG TCG TTT TCA CAG TCA TGT AGA CCG ATA TCA ATA TAC GTG ACC

   +l Y
   +1      Q   O
               Q   K   P   G   Q   P
                                   P   P
                                       P   K   L
                                               L   L   I   Y   L
 586 TAC CAA CAG AAA CCA
 586                  CCA GGA CAG
                              CAG CCA CCC
                                      CCC AAA CTC CTC
                                          AAA CTC CTC ATC
                                                      ATC TAT
                                                          TAT CTT
                                                              CTT
      ATG GTT GTC TTT GGT CCT GTC GGT GGG TTT GAG
                                              GAG GAG
                                                  GAG TAG ATA GAA
   +
   +1  A   S   N   I,
                   L   E   S   G   W
                                   V   P
                                       P   A.
                                           A   R   F   S   G   S
 631 GCA TCC AAC CTA
 631              CTA GAA
                      GAA TCT
                          TCT GGG
                              GGG GTC
                                  GTC CCT
                                      CCT GCC
                                          GCC AGG
                                              AGG TTC
                                                  TTC AGT
                                                      AGT GGC
                                                          GGC AGT
                                                              AGT
      CGT AGG TTG GAT CTT AGA CCC CAG GGA CGG TCC AAG TCA CCG TCA

   +l G
   +1      S   G   T   D
                       D   F   T   L
                                   L   N   I . H
                                               H.  P
                                                   P   V
                                                       W   E
                                                           E   E
                                                               E
 676 GGG
 676  GGG TCT GGG
              GGG ACA
                  ACA GAC
                      GAC TTC ACC CTC
                                  CTC AAC
                                      AAC ATC
                                          ATC CAT
                                              CAT CCT
                                                  CCT GTG
                                                      GTG GAG
                                                          GAG GAG
                                                              GAG
      CCC AGA CCC TGT CTG AAG TGG GAG TTG TAG GTA GGA CAC CTC
                                                          CTC CTC
                                                              CTC
   +1 E
   +1  E   D   A   A.
                   A   T   Y   Y   C   Q   H   S   R   E   L
                                                           L   P
                                                               P
 721 GAG GAT
 721      GAT GCT
              GCT GCA
                  GCA ACC TAT
                          TAT TAC
                              TAC TGT
                                  TGT CAG
                                      CAG CAC
                                          CAC AGT
                                              AGT AGG
                                                  AGG GAG CTT CCT
                                                      GAG CTT CCT
      CTC CTA CGA CGT TGG ATA ATG ACA GTC GTG TCA TCC CTC GAA GGA

                                                               Spacer
   +1 R
   +1      T   F   G   G   G   T   K   L
                                       I.  E
                                           E   I
                                               I   K
                                                   K   R   A
                                                           A.  A
                                                               A.
 766 CGG ACG
 766      ACG TTC
              TTC GGT
                  GGT GGA
                      GGA GGC
                          GGC ACC
                              ACC AAG CTG GAA
                                  AAG CTG GAA ATC
                                              ATC AAA
                                                  AAA CGG GGG GCC
                                                      CGGGGG  GCC
      GCC TGC AAG CCA CCT CCG TGG TTC GAC
                                      GAC CTT TAG TTT GCC CGC CGG
                                                              CGG
              Myc-tag
              Myc- tag                                         Spacer
                                                               Spacer
   +1 A
   +1      E   Q   K   L
                       L   I
                           I   S   E
                                   E   E   D    L
                                                L   N   G   A
                                                            A.  A
 8. GCA GAA CAA AAA CTC ATC TCA GAA GAG GAT
 811                                      GAT. CTG AAT GGG GCG GCA
      CGT CTT GTT TTT GAG TAG AGT CTT CTC CTA GAC TTA CCC CGC
                                                           CGC CGT
                                                               CGT
         His tag
         His tag
   +
   +1  H   H
           H   H   H   H   H
                           H   *r
 856 CAT CAC CAT CAC CAT CAC TAA
 856
      GTA GTG GTA GTG GTA GTG ATT



                         FIG. 35-2




                                   Appx139
                                   Appx139
                             Case: 22-1461       Document: 25      Page: 127   Filed: 11/04/2022




                  G?
                   2.5 -
                                                                                                                  lualud 'SIT
                                                                                                               U.S. Patent




                    2

                                                                                    -e- FVIII 4.8pM

                   1.5 -                                                            _O- MycHis-198ABV102,
                                                                                         60nM, +2.3nM FIXa
                                                                                                                     900Z `iZ 'idly'
                                                                                                               Apr. 25, 2006




          G07 0
           OD405                                                                    --A- 8860-M/H#4c, 60nM,
I                    1 -                                                                 +2.3nM FIXa
                                                                                    — IZ, +2.3nM FIXa




Appx140
                   0.5 -
                                                                                                                     19 JO 19 laa0S
                                                                                                                 Sheet 61 of 61




                     0             1         I         1      I        I       I




                       097OZ|
                         0        10     20           30
                                                 time (min)
                                                  Bu??(u?u)
                                                              40



                                                           FIG. 36
                                                                      50       60
                                                                                                                     IS 06S`££0`L SR
                                                                                                              US 7,033,590 B1
           Case: 22-1461                              Document: 25                            Page: 128                      Filed: 11/04/2022




                                                                      US 7,033,590 B1
                        11.                                                                                                        2
         FACTOR
         FACTOR IX/FACTOR IXA  ACTIVATING
                            XAACTIVATING                                                   Over the last several years, a number of possible binding
            ANTIBODIES AND ANTIBODY                                                  sites for factor VIIIa to factor IXa have been characterized,
                   DERIVATIVES
                   DERVATIVES                                                         and itit has
                                                                                     and        has been
                                                                                                     been shown
                                                                                                             shown that that antibodies
                                                                                                                              antibodies or     or peptides which
                                                                                                                                                                which bind
                                                                                                                                                                         bind
                                                                                     to these regions inhibit the activity of                  of FIXa (Fay et al., J.
     The present invention
     The                 invention relates
                                       relates toto actor
                                                     actor IX/factor
                                                             IX/factor IXa- IXa 5 Biol.
                                                                                      Biol. Chem.,
                                                                                               Chem., 1994, 1994, Vol.
                                                                                                                    Vol. 269,
                                                                                                                            269, pp. pp. 20522-20527,
                                                                                                                                           20522–20527, Lenting  Lenting et et
antibodies and antibody derivatives.                                                  al.,
                                                                                     al.,   J.
                                                                                            J. Biol.
                                                                                               Biol.    Chem.,
                                                                                                        Chem.,     1996,
                                                                                                                   1996,     Vol.
                                                                                                                            Vol.    271,
                                                                                                                                    271,    pp.
                                                                                                                                            pp.   1935–1940,
                                                                                                                                                  1935-1940,        Jorquera
                                                                                                                                                                    Jorquera
     Blood clots (thrombi) are formed by a series of Zymogen et
     Blood     clots   (thrombi)    are formed     by  a series   of  zymogen
                                                                                      et al.,
                                                                                           al., Circulation,
                                                                                                  Circulation, 1992, 1992, Vol.  Vol. 86, 86, Abstract
                                                                                                                                                 Abstract 2725).
                                                                                                                                                               2725). The
activations referred to as the coagulation cascade. In the                           inhibition of coagulation factors, such as factor IX, has also
course of this enzymatic cascade, the activated form of each been
course     of  this  enzymatic     cascade,    the activated    form    of  each
                                                                                     been achieved
                                                                                               achieved through
                                                                                                              through the   the useuse of of monoclonal
                                                                                                                                               monoclonal antibodies
                                                                                                                                                                 antibodies
     Such zymogens
of such       Zymogens (referred to as factors) catalyzes the 1100 with              with      the
                                                                                               the    aim
                                                                                                      aim     of
                                                                                                              of  preventing
                                                                                                                  preventing          thrombosis
                                                                                                                                      thrombosis        formation (WO
                                                                                                                                                        formation       (WO
activation of
activation      of the
                    the next
                          next one.
                                 one. Thrombi are deposits
                                                         deposits of   of blood 97/26010).
components on the surface   Surface of a blood vessel wall and mainly 97/26010).           The opposite
                                                                                           The     opposite effect,
                                                                                                                 effect, i.e.
                                                                                                                            i.e. anan increase
                                                                                                                                         increase in  in the
                                                                                                                                                          the factor
                                                                                                                                                                 factor IXa
                                                                                                                                                                          IXa
consist of aggregated blood platelets and insoluble, cross                cross-
linked fibrin.
           fibrin. Fibrin
                       Fibrin formation
                                formation isis effected by means      means of of mediated
                                                                                      mediated activation
                                                                                                     activation of
                                                                                     D. K. et al., (Blood, 1997,
                                                                                                                    of factor
                                                                                                                         factor X, X, has
                                                                                                                                        has been
                                                                                                                                              been described
                                                                                                                                                     described by
                                                                                                                     1997, Vol. 90, suppl. 1,1, 2054) through
                                                                                                                                                                     by Liles
                                                                                                                                                                        Liles
thrombin by limited proteolysis of fibrinogen. Thrombin is 155 the
the final product of the coagulation cascade, (K. G. Mann, 1 to factor                      binding of   of a factor VIII peptide (amino acids 698-712)            698–712)
Blood, 1990,
Blood,      1990, Vol.
                    Vol. 76,    pp. 1-16).
                           76, pp.    1-16).                                         to factor IX.   IX. Yet,
                                                                                                           Yet, this
                                                                                                                  this effect
                                                                                                                         effect only
                                                                                                                                   only occurs
                                                                                                                                            occurs in in the
                                                                                                                                                           the absence
                                                                                                                                                                absence of  of
     Activation of factor x       X by the complex of activated factor factor         factor VIIIa,
                                                                                                VIIIa, while
                                                                                                           while inin the
                                                                                                                        the presence
                                                                                                                             presence of    of factor
                                                                                                                                                factor VIIIa
                                                                                                                                                         VIIIa the the factor
                                                                                                                                                                       factor
IX (FIXa)
IX   (FIXa) and       activated factor
                and activated      factor VIII
                                           VIII (FVIIIa)
                                                  (FVIIIa) isis aa key
                                                                   key step
                                                                         step in
                                                                               in    IXa/factor
                                                                                      IXa/factor VIIIa-mediated
                                                                                                       VIIIa-mediated cleavage  cleavage of    of factor
                                                                                                                                                   factor X X isis inhibited
                                                                                                                                                                    inhibited
coagulation. The absence of the components of this complex                           by this peptide.
or a disturbance of their function is associated with the blood zo
coagulation disorder called hemophilia (J. E. Sadler & E. W.                                            SUMMARY OF THE INVENTION
Davie: Hemophilia A, Hemophilia B and von Willebrand's          Willebrand’s              With a view view to the possible risks and side effects which
disease, in G. Stamatoyannopoulos et al. (Eds.): The                                 may occur in the treatment of               of hemophilia patients, there is
molecular basis of blood diseases. W. B. Saunders Co.,                               aa need
                                                                                         need    for
                                                                                                 for  aa therapy
                                                                                                         therapy    which
                                                                                                                    which      allows
                                                                                                                               allows      for the
                                                                                                                                          for   the effective
                                                                                                                                                     effective treatment
                                                                                                                                                                   treatment
Philadelphia, 1987,  1987, pp. 576–602).
                                   576-602). Hemophilia A denotes a 25            25 of FVIII inhibitor patients. Therefore, it is an object of the
                                                                                                                                                                       of
(functional) absence of factor VIII activity, while Hemo present invention to provide a preparation for the treatment
(functional)       absence     of   factor  VIII   activity,   while     Hemo-
philia B is characterized by the absence of factor IX activity.
At present, treatment of Hemophilia A is effected via a
                                                                                     of blood coagulation disorders which has particular advan-                       advan
                                                                                     tages for factor VIII inhibitor patients.
substitution therapy by administering factor VIII concen-               concen           According to the present invention, this object is achieved
trates. However, approximately 20-30%         20–30% of Hemophilia A 300 through                   the use of antibodies or antibody derivatives against
patients develop factor VIII inhibitors (i.e. antibodies 3
against factor VIII), whereby the effect of                of administered ity       factor IX/factor IXa which have factor VIIIa-cofactor activ-                      activ
factor VIII
         VIII preparations
                 preparations isis inhibited.
                                     inhibited. Treatment
                                                  Treatment of of factor
                                                                    factor VIII
                                                                             VIII in the   or factor IXa-activating activity and lead to an increase
inhibitor
inhibitor patients
              patients isis very
                             very difficult andand involves
                                                    involves risks,
                                                                 risks, and
                                                                         and soso               procoagulant activity of factor IXa. Surprisingly, the
far there
     there exist onlyonly aa limited
                               limited number
                                        number of treatments
                                                       treatments for                 action of
                                                                           these 35 action
                                                                       for these                  of these
                                                                                                       these inventive
                                                                                                                inventive factor factor IX/factor
                                                                                                                                            IX/factor IXa-activating
                                                                                                                                                           IXa-activating
patients.                                                                            antibodies and antibody derivatives is not                          not negatively
     In
     In the
         the case
              case of    patients having
                     of patients    having aa low
                                                low FVIII
                                                      FVIII inhibitor
                                                             inhibitor level,
                                                                           level, affected
                                                                                      affected by   by thethe presence
                                                                                                               presence of     of inhibitors,
                                                                                                                                    inhibitors, such such as as inhibitors
                                                                                                                                                                   inhibitors
it is possible, though expensive, to administer high doses of                        against factor VIII/factor VIIIa, but instead the procoagulant
factor     VIII    to   such    patients    and   thus   to   neutralize
factor VIII to such patients and thus to neutralize the activity              the     activity of  of factor
                                                                                                        factor IXa
                                                                                                                 IXa in in this
                                                                                                                            this case
                                                                                                                                    case also
                                                                                                                                            also isis increased.
                                                                                                                                                      increased.
antibodies
antibodies against factor VIII.      VIII. The amount
                                                   amount of  of factor
                                                                   factor VIII
                                                                             VIII        AA   further
                                                                                              further     advantage
                                                                                                          advantage       of
                                                                                                                          of   this
                                                                                                                               this    invention
                                                                                                                                      invention      is
                                                                                                                                                     is  that the
                                                                                                                                                         that   the admin-
                                                                                                                                                                      admin
beyond that  that needed
                    needed to  to neutralize
                                   neutralize thethe inhibitor antibodies
                                                                    antibodies 40 istration of the preparation according to the invention allows
then has hemostatic action. In          In many
                                            many cases,
                                                     cases, desensitization
                                                             desensitization for      for rapid
                                                                                            rapid blood
                                                                                                      blood coagulation
                                                                                                               coagulation even    even in  in the
                                                                                                                                                 the absence
                                                                                                                                                      absence of       factor
                                                                                                                                                                    of factor
can be effected, whereupon it is then possible again to apply                        VIII      or   factor    VIIIa,     even     in   the           of   FVIII     inhibitor
standard      factor    VIII  treatments.    Such    high  dose    factor   VIII
                                                                                      VIII     or   factor    VIIIa,     even     in   the    case   of   FVIII     inhibitor
standard factor VIII treatments. Such high dose factor VIII patients. Surprisingly, these agents are also effective in the
treatments require,
                 require, however,
                             however, large
                                          large amounts
                                                 amounts of  of factor
                                                                  factor VIII,
                                                                            VIII, presence of factor VIIIa.
are time-consuming and may involve severe anaphylactic 45                                The antibodies and antibody derivatives according to the
side reactions. Alternatively, the treatment may be carried
out   with    porcine     factor  VIII   molecules.
                                                                                      present invention
                                                                                     present       invention thus thus havehave aa FVIII-cofactor-like
                                                                                                                                        FVIII-cofactor-like activity activity
out with porcine factor VIII molecules.                                              which, in
                                                                                     which,        in aa FVIII
                                                                                                            FVIII assay
                                                                                                                     assay (e.g. (e.g. aa COATEST®
                                                                                                                                               COATESTR) assay      assay oror
     A further high-cost method involves removing factor                             Immunochrom              test)  after    22 hours       of  incubation       exhibits   aa
VIII inhibitors through extra corporeal immunoadsorption                              Immunochrom             test)  after        hours      of  incubation       exhibits
on lectins which bind to immunoglobulins (protein A, pro                     pro- so
                                                                                      ratio
                                                                                     ratio     of
                                                                                               of  background
                                                                                                   background        (basic
                                                                                                                     (basic      noise)
                                                                                                                                 noise)
                                                                                  50 least 3. Calculation of this ratio may, e.g., be
                                                                                                                                             to
                                                                                                                                             to  measured
                                                                                                                                                 measured       value
                                                                                                                                                               value     of
                                                                                                                                                                        of  at
                                                                                                                                                                            at
tein G)
                                                                                      least 3. Calculation of this ratio may, e.g., be effected
tein   G) or
           or toto immobilized
                   immobilized factorfactor VIII.   Since the
                                             VIII. Since         patient must
                                                            the patient     must according to the following scheme:
be connected to an apheresis machine during this treatment,
be  connected       to  an  apheresis    machine     during   this   treatment,
the treatment
the   treatment alsoalso constitutes
                           constitutes aa great
                                            great burden
                                                    burden on on the
                                                                  the patient.
                                                                        patient.             Antibody
                                                                                             Antibody measurement
                                                                                                         measurement (OD (OD 405)
                                                                                                                                405) -— blank
                                                                                                                                         blank value
                                                                                                                                                value from
                                                                                                                                                       from reagent
                                                                                                                                                             reagent at 33
It is also not possible to treat an acute hemorrhage in this
way.
                                                                                            Mouse-IgG-measurement (OD 405) —            - blank value from reagent
                                                                                  55
     At present, the
     At                the therapy
                            therapy of of choice
                                           choice isis to administer
                                                            administer acti acti-
vated prothrombin
vated    prothrombin complexcomplex concentrates
                                         concentrates (APCC),
                                                          (APCC), such  such asas    after two hours of incubation.
FEIBA® and AUTOPLEX
FEIBAR)               AUTOPLEXR,       8, which are suitable for the                      The antibodies
                                                                                         The     antibodies according
                                                                                                                 according to    to the
                                                                                                                                      the invention
                                                                                                                                           invention preferably
                                                                                                                                                         preferably have have
treatment of acute hemorrhages even in patients having a an                           an inin vivo
                                                                                               vivo half
                                                                                                      half life
                                                                                                             life of
                                                                                                                  of atat least
                                                                                                                          least 55 days,
                                                                                                                                     days, moremore preferably
                                                                                                                                                      preferably at   at least
                                                                                                                                                                         least
high inhibitor
        inhibitor titer
                      titer (DE
                            (DE 31 31 27 318).
                                           318).                                      10 days, though it is more preferred to have a half life of
                                                                                  60 10                                                                                  of at
     In the intravascular system of blood coagulation, the last                      least 20 days.
step
step isis the
          the activation
                activation of of factor   X. This
                                  factor X.   This reaction
                                                     reaction isis stimulated
                                                                    stimulated           A further aspect of        of this invention is a preparation com-             com
by the
    the binding
          binding of  of factor
                         factor VIIIa
                                 VIIIa toto factor
                                            factor IXa
                                                     IXa and
                                                          and the
                                                               the formation
                                                                     formation prising antibodies and/or antibody derivatives against factor
       “tenase-complex consisting of the factors IXa, VIIIa, IX/factor IXa and a pharmaceutically acceptable carrier
of a "tenase"-complex
X and
X   and phospholipid. Without  Without the the binding
                                                binding of of FVIIIa,
                                                               FVIIIa, FIXaFIXa 65 substance.
                                                                                      Substance. Furthermore, the preparation according to the
exhibits no or only a very slight enzymatic activity relative                        invention may additionally comprise factor IX and/or factor
to FX.                                                                               IXa.




                                                                            Appx141
                                                                            Appx141
         Case: 22-1461                         Document: 25                            Page: 129                     Filed: 11/04/2022




                                                              US 7,033,590 B1
                                   3                                                                                       4
   A
   A further
      further aspect
                aspect ofof the
                              the invention
                                    invention isis the
                                                   the use
                                                         use of
                                                             of the
                                                                 the anti-
                                                                     anti              FIG. 1717 shows the DNA and deduced protein sequence of
bodies or antibody derivatives to increase the amidolytic                           scFv
                                                                                    scEv derived
                                                                                           derived from from the            line 198/Al
                                                                                                                the cell line     198/A1 (SEQ.ID.NOs.
                                                                                                                                             (SEQ.ID.NOs. 87      87
          of factor IXa.
activity of                                                                         and
                                                                                    and 88).
                                                                                         88).
   FIG. 1 1 shows the results of a screening of Supernatantssupernatants               FIG. 1818 demonstrates the chromogenic FVIII-like activity
from hybridoma cell cultures for FVIII-like activity. Pre-           Pre     5      of peptide A1/3 in the presence of          of 2.9 nM human FIXa. The
selected clones from fusion experiments, #193, #195 and                             scrambled version of peptide A1/3, peptide Al/5               A1/5 does not  not
#196, were tested in a chromogenic assay.                                           give rise to any FXa generation.
   FIG. 2 shows the results of        of screening for IgG-mediated                    FIG. 1919 demonstrates the dependence of the chromogenic
factor VIII-like activity in supernatants of a hybridoma cell
culture of a master plate.
                                                                                    FVIII-like activity of    of peptide A1/3 on the presence of human
   FIG.33 shows the subcloning of clone 193/CO,
   FIG.                                             193/CO, namely the
                                                                             10     FIXa. In
                                                                                    FIXa.   In the
                                                                                               the absence
                                                                                                     absence of  of human
                                                                                                                     human FIXa,FIXa, peptide
                                                                                                                                         peptide A1/3
                                                                                                                                                  A1/3 doesdoes not
                                                                                                                                                                 not
                                                                                    give rise to any FXa generation. The buffer control, plain
results of the first cloning round.
   FIG. 4 shows a comparison of the chromogenic FVIII-like                          imidazole buffer is designated IZ.
activity and factor IX-ELISA-reactivity of hybridoma cul-             cul              FIG. 20 shows that the chirality of           ofArg-residues does not     not
                                                                                    play a significant role for the chromogenic activity of
tures derived
       derived from the  the starting
                              starting clone 193/CO.
                                                 193/C0.
   FIG. 5 shows the results of the measurement of the                        1155              A1/3-rd and A1/3-Rd-srmb.
                                                                                    peptides Al/3-rd              A1/3-Rd-Srmb.
chromogenic activity of some master clones and sub-clones.    Sub-clones.              FIG. 21
                                                                                       FIG.   21 shows
                                                                                                   shows that that the
                                                                                                                    the addition
                                                                                                                         addition of  of 2.4
                                                                                                                                          2.4 µM
                                                                                                                                               uM peptide
                                                                                                                                                   peptide B1/7B1/7
   FIG. 6A
   FIG.   6A shows
               shows the the FVIII-like
                              FVIII-like activity
                                             activity ofof the
                                                           the anti-FIX/
                                                                anti-FIX/           to the
                                                                                    to the reaction
                                                                                            reaction mixture
                                                                                                          mixture led led to
                                                                                                                           to aa measureable
                                                                                                                                  measureable generation
                                                                                                                                                   generation of  of
FIXa-antibodies 193/AD3
FIXa-antibodies       193/AD3 and  and 196/AF2
                                         196/AF2 compared
                                                   compared to  to human
                                                                   human            FXa.
FVIII, TBS buffer and cell culture medium. After aa lag
FVIII,   TBS    buffer    and    cell  culture   medium.     After     lag             FIG.22
                                                                                       FIG.   22 shows that the addition of         of a FX-specific inhibitor
phase, both antibodies gave rise to chromogenic substrate       Substrate    zo     results in
                                                                                    results  in aa significant
                                                                                                   significant reduction
                                                                                                                   reduction in  in the
                                                                                                                                    the reaction.
                                                                                                                                          reaction. IfIf there
                                                                                                                                                         there was
                                                                                                                                                                was
cleavage, as judged by the increasing optical density.                              no
                                                                                    no FIXa and FX is added to the reaction mixture, no FXa
   FIG. 6B shows a comparison of the chromogenic activity                           was synthesized.
                    196/AF1, 198/AC1/1 and mouse-IgG.
of factor VIII, 196/AF1,                                                               FIG. 23 shows vector pBax-IgGl. pBax-IgG1.
   FIG. 7A shows a comparison of the kinetics of Factor Xa                             FIG. 24 shows the increase of           of the amidolytic activity of
generation by
generation    by Factor
                  Factor VIII
                           VIII and 196/AF2
                                       196/AF2 with
                                                  with and without
                                                              without the
                                                                       the   25     FIXa in the presence of antibody 198/B1          198/B1 (FIG. 24A) and
addition ofof a Factor Xa specific inhibitor.                                       IgM antibody 198/AF1 198/AF1 (FIG. 24B).
   FIG. 7B shows a comparison of the kinetics of the Factor                            FIG. 25 demonstrates the chromogenic FVIII-like activity
Xa generation by Factor VIII, mouse-IgG and anti-factor                             of the antibody 198/Al 198/A1 Fab fragment in the presence of             of 2.3
                      198/AM1 with and without the addition of
IX/IXa-antibody 198/AM1                                                             nM human FIXa. As a positive control the intact antibody
a factor Xa-specific inhibitor, Pefabloc Xa®.      XaR).                     30     198/Al
                                                                                    198/A1 waswas used
                                                                                                     used asas well
                                                                                                                well as
                                                                                                                      as 7.5
                                                                                                                          7.5 pM
                                                                                                                               pM FVIII.
                                                                                                                                     FVIII. The
                                                                                                                                             The buffer
                                                                                                                                                   buffer control
                                                                                                                                                            control
   FIG. 8A shows a measurement of            of the dependence of the               (IZ) was used as a negative negative control.
factor VIII-like
         VIII-like activity
                       activity of of purified
                                        purified anti-factor IX/IXa-
                                                                  IX/IXa               FIG. 26
                                                                                       FIG.   26 shows
                                                                                                  shows the      nucleotide and
                                                                                                            the nucleotide       and amino
                                                                                                                                       amino acid
                                                                                                                                               acid sequence
                                                                                                                                                      sequence of of
antibody 198/AC1/1
antibody      198/AC1/1 in     in the
                                    the presence
                                          presence and       absence of
                                                       and absence      of          the 198AB2
                                                                                    the  198AB2 scFv-alkaline
                                                                                                     schv-alkaline phosphatase
                                                                                                                         phosphatase fusionfusion protein
                                                                                                                                                   protein (ORF
                                                                                                                                                              (ORF
phospholipids, FIXa/FX and calcium ions.                                            of the expression vector pDAP2-1
                                                                                    of                                             pDAP2-198AB2#100,
                                                                                                                                                 98AB2#100,
   FIG.
   FIG. 8B shows
              shows a measurement
                          measurement of the   the dependence of FXa FXa     35     (SEQ.ID.NOs.
                                                                                    (SEQ.I.D.NOs. 89      89 and
                                                                                                              and 90).
                                                                                                                    90).
generation by anti-FIXa-antibody 196/AF1 in the presence                               The genes
                                                                                       The   genes for for the
                                                                                                             the VL
                                                                                                                  VL andand the
                                                                                                                              the VH
                                                                                                                                   VH domains
                                                                                                                                          domains of  of antibody
                                                                                                                                                          antibody
of phospholipids, Ca" in FIXa/FX.
of phospholipids, Cat` in FIXa/FX.                                                  198/AB2
                                                                                    198/AB2 (198/AB2
                                                                                                 (198/AB2 isis an  an identical
                                                                                                                       identical subclone
                                                                                                                                   subclone of  of198/B1)
                                                                                                                                                   198/B1) werewere
   FIG. 8C shows the generation of FXaby     FXa by unspecific mouse                derived from the corresponding hybridoma cells as
IgG antibody.                                                                       described in example 10.       10. The PCR product of       of the VH-gene
   FIG. 9 is a graphical representation of the coagulation                   40                       Sfil-AscI and the PCR-product of
                                                                                    was digested SfiI-Ascl                                       of the VL-gene
times of
       of Factor
           Factor VIII-deficient
                     VIII-deficient plasma in    in an
                                                     an APTT
                                                         APTT assay
                                                                 assay by           was
                                                                                    was digested
                                                                                         digested Ascl AscI andand NotI.
                                                                                                                    NotI. VH VH and
                                                                                                                                  and VL VL genes werewere linked
                                                                                                                                                             linked
using various concentrations of anti-factor IX/IXa-antibody                         via
                                                                                    via the
                                                                                        the Ascl
                                                                                             AscI sitesite and
                                                                                                            and inserted
                                                                                                                  inserted into
                                                                                                                              into SfiI-Notl
                                                                                                                                    Sfil-NotI digested
                                                                                                                                                 digested vector
                                                                                                                                                             vector
193/AD3.                                                                            pDAP2 (Kerschbaumer R. J. et al,              al. Immuno-technology 2,         2.
   FIG.
   FIG. 10A10A shows
                 shows that that inin the
                                       the presence of   of Factor
                                                             Factor IXa,
                                                                     IXa,           145-150,
                                                                                    145–150, 1996;1996; GeneBank
                                                                                                            GeneBank accession
                                                                                                                             accession No.:U35316).
                                                                                                                                           No.:U35316). PelB   PelB
antibody 193/AD3
antibody     193/AD3 leads to     to aa reduction
                                         reduction inin the
                                                         the coagulation     45     leader:
                                                                                    leader: leader
                                                                                             leader sequence
                                                                                                       sequence of   ofErwinia
                                                                                                                        Erwinia carotovora
                                                                                                                                    carotovora Pectate
                                                                                                                                                   Pectate Lyase
                                                                                                                                                              Lyase
time of factor
          factor VIII-deficient
                   VIII-deficient plasma.
                                      plasma.                                       B. His tag,
                                                                                    B,       tag. Histidinee
                                                                                                    Histidinee tag for metal ion chromatography.
   FIG. 10B
   FIG.   10B shows
                shows aa dose-dependent
                            dose-dependent reduction
                                                 reduction of    the clot-
                                                              of the clot              FIG. 27 demonstrates the chromogenic FVIII-like activity
ting time by antibody 193/AD3  193/AD3 in the presence of factor                    of two
                                                                                    of  two antibody
                                                                                              antibody 198/B1 198/B1 (subclone
                                                                                                                         (subclone AB2) AB2) scFv
                                                                                                                                                scFv fragment-
                                                                                                                                                         fragment
IXa- and factor VIII-inhibitors.                                                    alkaline phosphatase fusion proteins (198AB2#1 and
   FIG. 11 shows the chromogenic activity of               of antibodies     50
                                                                             50     198AB2#100)
                                                                                    198AB2#100) in       in the
                                                                                                            the presence
                                                                                                                 presence of   of 2.3
                                                                                                                                  2.3 nMnM human
                                                                                                                                             human FIXa.
                                                                                                                                                       FIXa. AsAs aa
198/Al,
198/A1, 198/B1
           198/B1 andand 198/AP1
                           198/AP1 in  in the
                                          the presence
                                              presence andand absence   of
                                                               absence of           positive control
                                                                                    positive   control 7.5 7.5 pMpM FVIII
                                                                                                                       FVIII waswas used.
                                                                                                                                      used.
human FIXO.
human    FIXaf3.                                                                       FIG.
                                                                                       FIG. 2828 shows
                                                                                                  shows the  the amino
                                                                                                                 amino acidacid and
                                                                                                                                 and nucleotide
                                                                                                                                        nucleotide sequence
                                                                                                                                                      sequence of of
   FIG. 12 shows the primer sequences (SEQ ID                                       pZip198AB2#102
                                                                                    pZip 198AB2#102 (SEQ.ID.NOs.
                                                                                                               (SEQ.I.D.NOs. 91    91 andand 92).
                                                                                                                                              92).
NOS:50–61) for the amplification of the genes of the vari-
NOS:50-61)                                                           vari              FIG.
                                                                                       FIG. 2929 shows
                                                                                                  shows the  the nucleotide
                                                                                                                 nucleotide and  and amino
                                                                                                                                       amino acid
                                                                                                                                               acid sequence
                                                                                                                                                      sequence of of
able heavy chain of mouse antibody.                                          55          maBiS860 scFv-alkaline
                                                                                    the mAB#8860            schv-alkaline phosphatase fusion protein
   FIG. 13  13 shows the primer sequences (SEQ ID                                             plDAP2-8860scFvi11, (SEQ.ID.NOs.
                                                                                    (vector pDAP2-8860scFv/111,                 (SEQ.I.D.NOs. 93 and 94).
NOS:65–78) for
NOS:65-78)       for the
                      the amplification
                           amplification of      the genes
                                             of the   genes ofof the
                                                                 the vari-
                                                                     vari           The
                                                                                    The genes
                                                                                          genes for for the
                                                                                                          the VTVT andand thethe VH
                                                                                                                                  VH domains
                                                                                                                                         domains of   of antibody
                                                                                                                                                          antibody
able light (kappa) chain of the mouse antibody.                                     #8860 were derived from the corresponding hybridoma cells
   FIG. 14
   FIG.   14 shows
              shows thethe DNA
                            DNA and  and derived
                                          derived protein
                                                   protein sequence of              as described in example 10.            10. The PCR product of            of the
the scFv
    scFv from
            from hybridoma
                   hybridoma cell line  line 193/AD3
                                              193/AD3 (SEQ.ID.NOs.
                                                          (SEQ.I.D.NOs.      60     VH-gene was digested SfiI-Ascl  Sfil-AscI and the PCR-product of the
81
81 and   82).
    and 82).                                                                        VL-gene was digested Ascl        AscI and Notl.NotI. VH and VL      VL genes
   FIG. 1515 shows the DNA and derived protein sequence of                          were linked via the Ascl      AscI site and inserted into SfiI-Notl   Sfil-Not
the scFv
    scEv from
           from hybridoma cell   cell line 193/K2     (SEQ.ID.NOs. 83
                                            193/K2 (SEQ.I.D.NOs.                    digested vector
                                                                                    digested    vector pDAP2
                                                                                                           pl)AP2 (Kerschbaumer
                                                                                                                      (Kerschbaumer R.       R. J. etet al,
                                                                                                                                                        al. Immu-
                                                                                                                                                             Immu
and
and 84).
     84).                                                                           notechnology
                                                                                    notechnology 2,       2, 145-150,
                                                                                                               145–150, 1996; 1996; GeneBank
                                                                                                                                        GeneBank accession
                                                                                                                                                        accession
   FIG. 16
   FIG.   16 shows
              shows thethe DNA
                            DNA and  and derived
                                          derived protein
                                                   protein sequence of       65     No.:U35316).
                                                                                    No.:U35316).
the scFv
the  sclv from      hybridoma cell
            from hybridoma          cell line
                                          line 198/AB2
                                               198/AB2 (subclone
                                                            (subclone ofof             FIG.
                                                                                       FIG. 3030 shows
                                                                                                  shows the  the nucleotide
                                                                                                                 nucleotide and  and amino
                                                                                                                                       amino acid
                                                                                                                                               acid sequence
                                                                                                                                                      sequence of of
198/B1)
198/B1) (SEQ.ID.NOs.
           (SEQ.I.D.NOs. 85     85 and    86).
                                     and 86).                                       the mAB
                                                                                    the   maB #8860 #8860 scFv-leucine
                                                                                                                scFv-leucine zipper  Zipper fusion
                                                                                                                                                fusion protein
                                                                                                                                                            protein




                                                                   Appx142
                                                                   Appx142
          Case: 22-1461                           Document: 25                             Page: 130                      Filed: 11/04/2022




                                                                 US 7,033,590 B1
                                     5                                                                                         6
                            p8860-Zipii 1.2, (SEQ.ID.NOs. 95 and
(miniantibody; vector p8860-Zip#1.2,                                                        The inventive
                                                                                            The    inventive antibodies
                                                                                                                  antibodies and   and antibody
                                                                                                                                          antibody derivatives
                                                                                                                                                      derivatives andand
96). The gene of the schv  scFv fragment was derived from mAB                           organic compounds derived there from comprise human and
#8860 and was swapped from vector plDAP2-8860scFvii.11
                                                 pDAP2-8860scFv#11                      animal monoclonal antibodies or fragments thereof, single
into Sfil-NotI
      SfiI-Notl digested plasmid pZip1 (Kerschbaumer R. J.                               chain antibodies
                                                                                        chain    antibodies and  and fragments
                                                                                                                       fragments thereof
                                                                                                                                       thereof andand miniantibodies,
                                                                                                                                                       miniantibodies,
et al., Analytical Biochemistry 249, 219-227,           219–227, 1997;  1997:    5      bispecific antibodies, diabodies, triabodies, or di-, oligo- or
GeneBank
GeneBank accession No.:     No.: U94951)
                                   U94951)                                                              thereof. Also included are peptidomimetics or
                                                                                        multimers thereof
   FIG. 31 demonstrates the chromogenic FVIII-like activity                             peptides derived from the antibodies according to the
          198/B1 (subclone AB2) miniantibody 198AB-
of the 198/B1                                                       198AB               invention, e.g. they comprise one or several CDR regions,
Zipii 102 in the presence of
Zip#102                            of 2.3 nM human FIXa. As a                           preferably the CDR3 region.
positive control 4.5 pM FVIII was used whereas a unrelated                       1
                                                                                 100        Further included are human monoclonal antibodies and
                  (8860-Zipii 1.2) and plain reaction buffer (IZ)
miniantibody (8860-Zip#1.2)
                                                                                        peptide sequences which, based on a structure activity
served as negative controls.
   FIG. 32 shows a schematic representation of the plasmid                              connection, are produced through an artificial modeling
pMycHis6 (SEQ ID NOS:107-110).
                           NOS: 107-110).                                                process (Greer
                                                                                        process     (Greer J.J. etet al.,
                                                                                                                      al., J.J. Med.
                                                                                                                                Med. Chem.,
                                                                                                                                         Chem., 1994,
                                                                                                                                                   1994, Vol.
                                                                                                                                                           Vol. 37,
                                                                                                                                                                 37, pp.
                                                                                                                                                                      pp.
                                                                                        1035-1054).
                                                                                         1035-1054).
   FIG.33
   FIG.      shows the
         33 shows     the nucleotide
                           nucleotide and aminoamino acidacid sequence of                   The term factor IX/IXa activating antibodies and antibody
the part of the plasmid pMycHis6 differing from vector                           1155
pCOCK (SEQ.ID.Nos.
           (SEQ.I.D.Nos. 97 and 98). Vector pMycHis6 was                                derivatives may also include proteins produced by expres-                expres
constructed by cleaving vector pCOCK (Engelhardt et al.,                                sion of an altered, immunoglobulin-encoding region in a
1994, Biotechniques, 17:
1994,                        17:44–46)
                                  44-46) with Notl Not and EcoRI and                                           “technically modified antibodies"
                                                                                        host cell, e.g. "technically                            antibodies' such as
                                             mychis0-co: 5'gg.ccgca
insertion of the oligonucleotides: mychis6-co:                   5'ggccgca-              synthetic antibodies,
                                                                                        synthetic    antibodies, chimeric
                                                                                                                       chimeric or   or humanized
                                                                                                                                          humanized antibodies,
                                                                                                                                                         antibodies, oror
gaacaaaaactCatctoagaagaggatctgaatgggg.cggCaCatCaCCatCaC
gaacaaaaactcatctcagaagaggatct            gaatggggcggcacatcaccatcac-              20     mixtures thereof, or antibody fragments which partially or
catcactaataag 3' (SEQ(SEQID.No.
                             ID.No. 79) and mycchis-ic: 5' aattct      aattct-          completely lack the constant region, e.g. Fv, Fab,                Fab., Fab' or
tattag  tigatggtgatggtgatgtgCCg CCCC attCagat CCtctt Ct
tattagtgatggtgatggtgatgtgccgccccattcagatcctcttct                                         F(ab) etc. In these technically modified
                                                                                         F(ab)'2                                       modified antibodies, e.g., a
gagatgagtttttgttctgc (SEQ.ID.No. 80).                                                   part or parts of  of the light and/or heavy chain may be substi-          substi
   FIG. 34
   FIG.  34 shows
             shows thethe nucleotide
                           nucleotide and aminoamino acidacid sequence
                                                                sequence of             tuted. Such molecules may, e.g., comprise antibodies con-                   con
198AB2 scFv (linked to the c-myc-tag and the His6tag):
198AB2                                                                           25
                                                                                 25     sisting of a humanized heavy chain and an unmodified light
ORF of the expression vector vectorpMycHisó-198AB2#102.
                                      pMycHis6-198AB2#102. Vec-          Vec             chain (or
                                                                                        chain    (or chimeric
                                                                                                     chimeric light light chain),
                                                                                                                           chain), or or vice
                                                                                                                                           vice versa.
                                                                                                                                                 versa. The
                                                                                                                                                        The terms
                                                                                                                                                              terms Fv,
                                                                                                                                                                      Fv,
torpMycHis6
tor pMycHis6 was constructed by cleaving vector pCOCK
                                                                                         Fc, Fd,
                                                                                         Fc, Fd, Fab,
                                                                                                   Fab, Fab'
                                                                                                         Fab' or or F(ab)2
                                                                                                                     F(ab) are  are used
                                                                                                                                     used asas described
                                                                                                                                               described in in the
                                                                                                                                                               the prior
                                                                                                                                                                    prior
(Engelhardt O. et al.  al, BioTechniques 17, 44–46,             1994) Notl-
                                                     44-46, 1994)       NotI
EcoRI and inserting the following annealed oligonucle-          oligonucle               art (Harlow
                                                                                        art  (Harlow E.   E. and
                                                                                                               and Lane
                                                                                                                     Lane D.,  D., in
                                                                                                                                    in "Antibodies,
                                                                                                                                        “Antibodies, AA Laboratory
                                                                                                                                                            Laboratory
otides:
otides: (5'-GGCCGCAGAACAAAAACTCATCTCAGAA                                                 Manual, Cold Spring Harbor Laboratory, 1988).
                                                                                        Manual",                                                      1988).
                                                                                 30         The present invention also comprises the use of                      of Fab
GAGGATCTGAATGGGGCGGCACATCA
CCATCACCATCACTAATAAG-3'
CCATCACCATCACTAATAAG-3' (SEQ.ID.No.            (SEQ.I.D.No. 103)   103) and
                                                                          and           fragments or F(ab)2  F(ab')2 fragments which are derived from
5'-TTATTAGTGATGGTGATGGT
5'-TTATTAG T G AT G. GTG AT G G T GATGTGCC                 G AT G T GCC                 monoclonal
                                                                                         monoclonal antibodies
                                                                                                         antibodies (mAb), (mAb), whichwhich are are directed
                                                                                                                                                      directed against
                                                                                                                                                                 against
GCCCCATTCAGATCCTCTTCTGAGATGAGTTTTTG                                                     factor
                                                                                         factor IX/factor
                                                                                                  IX/factor IXa IXa and
                                                                                                                      and cause
                                                                                                                            cause an an increase
                                                                                                                                          increase ofof the
                                                                                                                                                        the procoagu-
                                                                                                                                                             procoagu
TTCTGC-3'(SEQ.ID.NO. 104)).
TTCTGC-3'(SEQ.ID.N.O.                104)). TheThe resultant
                                                       resultant vector,
                                                                      vector,           lant activity of of factor IXa.
named pMycHis6,
named    pMycHis6, was   was cleaved
                                cleaved Sfil-NotI
                                           SfiI-Notl and and the
                                                               the gene
                                                                     gene ofof   35
                                                                                 35         Preferably, the heterologous framework regions and con-                 con
scFv
schv 198AB2 was swapped into this vector from vector
       198AB2       was   swapped      into  this   vector     from    vector           stant regions are selected from the human immunoglobulin
pDAP2-198AB2#100.                                                                       classes and isotypes, such as IgG (subtypes     (Subtypes 11 to 4), IgM, IgA
   FIG.
   FIG. 35
         35 shows
             shows thethe nucleotide
                           nucleotide andand amino
                                               amino acidacid sequence
                                                                sequence of of           and IgE.
                                                                                        and    IgE. InIn the
                                                                                                           the course
                                                                                                                  course of   of the
                                                                                                                                  the immune
                                                                                                                                        immune response,
                                                                                                                                                    response, aa class
                                                                                                                                                                    class
the mAB
     maB #8860#8860 scFvschv linked
                                linked to to the
                                              the c-myc-tag
                                                     c-myc-tag and the     the           Switch of the immuno-globulins may occur, e.g. a switch
                                                                                        switch                                                                    Switch
Histó-tag              p8860-M/HH4c, SEQ.I.D.NOs.
His6-tag (vector p8860-M/H#4c,                SEQ.ID.NOs. 101       101 and      40      from IgM
                                                                                        from      IgM to to IgG;IgG, therein,
                                                                                                                        therein, the   the constant
                                                                                                                                              constant regions
                                                                                                                                                          regions are are
102).
102). Plasmid
       Plasmid pMycHis6 was      was cleaved
                                      cleaved with
                                                with SfiI
                                                        Sfil and
                                                              and NotI
                                                                    NotI and
                                                                          and           exchanged, e.g. from p to y. A class switch              Switch may
                                                                                                                                                          may also be
the DNA sequence coding for the scFv 8860#11      8860#11 protein was                   caused in a directed manner  manner by means means of genetic engineering
inserted from p)AP2-8860scFvitul
                   pDAP2-8860scFv#µl (see FIG. 29) yielding                             methods
                                                                                         methods ("directed
                                                                                                      (“directed class class switch
                                                                                                                                 switch recombination"),
                                                                                                                                             recombination'), as   as isis
plasmid p8860-M/HH4c.
          p8860-M/H#4c.                                                                 known
                                                                                         known fromfrom the
                                                                                                          the prior
                                                                                                                prior art
                                                                                                                        art (Esser
                                                                                                                              (Esser C.C. and
                                                                                                                                            and Radbruch
                                                                                                                                                 Radbruch A., A., Annu.
                                                                                                                                                                  Annu.
   FIG. 36
   FIG.  36 demonstrates
             demonstrates the  the chromogenic FVIII-like
                                                      FVIII-like activity        45      Rev.
                                                                                         Rev. Immunol.,
                                                                                                Immunol., 1990,  1990, Vol.
                                                                                                                         Vol. 8, 8, pp.
                                                                                                                                     pp. 717-735).
                                                                                                                                           717-735). However,
                                                                                                                                                         However, the the
         198/B1 (subclone AB2) scFv fragment (MycHis
of the 198/B1                                                     (MycHis-              antibodies and antibody derivatives according to the present
198AB2#102)
198AB2#102) in     in the  presence of
                      the presence         2.3 nM
                                        of 2.3  nM human
                                                      human FIXa.FIXa. AsAs aa          invention need not comprise exclusively human sequences
positive  control 4.8
positive control         pM FVIII
                     4.8 pM    FVIII was
                                       was used
                                            used whereas
                                                    whereas aa unrelated
                                                                   unrelated            of the immunoglobulin proteins.
scFv  (8860-M/H#4c) and plain
sch V (88.60-M/Hi4c)             plain reaction
                                        reaction buffer
                                                    buffer (IZ)
                                                             (IZ) served
                                                                   served asas              In one
                                                                                            In  one particular
                                                                                                       particular embodiment,
                                                                                                                       embodiment, aa humanized humanized antibody
negative controls.                                                               50     comprises complement determining regions (CDRs)                  (CDRS) from
   Antibodies and
   Antibodies     and Antibody
                        Antibody Derivatives
                                     Derivatives                                        murine
                                                                                         murine monoclonal antibodies which are inserted in the
   The   present invention
   The present      invention alsoalso comprises
                                        comprises the  the nucleic
                                                             nucleic acids
                                                                        acids           framework regions of         of selected human antibody sequences.
encoding the
encoding         inventive antibodies
            the inventive     antibodies andand antibody
                                                  antibody derivatives,
                                                                derivatives,             However, human
                                                                                        However,      human CDR   CDR regions
                                                                                                                          regions can can also
                                                                                                                                            also be
                                                                                                                                                  be used.
                                                                                                                                                     used. Preferably,
                                                                                                                                                            Preferably,
expression vectors, hybridoma cell lines, and methods for                               the variable regions in the human light and heavy chains are
producing the same.                                                              55     technically altered by one or more        more CDR exchanges. It is also
   Antibodies are immunoglobulin molecules having a spe-                 spe             possible to
                                                                                        possible    to use
                                                                                                        use all
                                                                                                              all six
                                                                                                                   six CDRs
                                                                                                                       CDRs or   or varying
                                                                                                                                     varying combinations
                                                                                                                                                combinations of   of less
                                                                                                                                                                     less
cific amino acid sequence which only bind to antigens that                              than six CDRs.
induce their synthesis (or its immunogen, respectively) or to                               The humanized antibody according to the present inven-                inven
antigens (or immunogens) which are very similar to the                                  tion preferably has the structure of            of a human antibody or of
former. Each
          Each immunoglobulin
                   immunoglobulin moleculemolecule consists
                                                         consists of  of two
                                                                          two    60     aa fragment
                                                                                           fragment thereof
                                                                                                        thereof and and comprises
                                                                                                                          comprises the    the combination
                                                                                                                                               combination of   of char-
                                                                                                                                                                   char
types of polypeptide chains. Each molecule consists of large,                                          necessary for a therapeutic application, e.g., the
                                                                                        acteristics necessary
identical heavy
identical  heavy chains
                     chains (H(H chains)
                                   chains) and
                                            and twotwo light,     also iden-
                                                          light, also   iden            treatment of   of coagulation disorders in patients, preferably
tical chains
      chains (L chains).
                    chains). The polypeptides
                                     polypeptides are  are connected
                                                             connected by                factor VIII
                                                                                        factor    VIII inhibitor
                                                                                                        inhibitor patients.
                                                                                                                      patients.
disulfide
disulfide bridges and and non-covalent
                           non-covalent bonds.
                                            bonds. In  In vivo,
                                                           vivo, the
                                                                  the heavy
                                                                       heavy                Achimeric
                                                                                            A               antibody differs
                                                                                              chimeric antibody          differs from
                                                                                                                                    from aa humanized
                                                                                                                                              humanized antibody
                                                                                                                                                            antibody inin
and
and light chains
               chains areare formed
                                formed on  on different
                                                 different ribosomes,
                                                                ribosomes,       65     that it comprises the entire variable      variable regions including the
assembled in
assembled     in the
                  the cell,  and secreted
                      cell, and    secreted asas intact
                                                  intact inununoglobu-
                                                            immunoglobu                 framework regions of the heavy and light chains of                      of non-
                                                                                                                                                                    non
lins (Roitt I.I. et
lins (Roitt         al., in:
                 et al.,      Immunology, second
                         in: Immunology,        second ed., ed., 1989).
                                                                  1989).                human origin
                                                                                        human      origin in in combination
                                                                                                                 combination with    with thethe constant
                                                                                                                                                  constant regions
                                                                                                                                                             regions ofof




                                                                      Appx143
                                                                      Appx143
          Case: 22-1461                           Document: 25                           Page: 131                    Filed: 11/04/2022




                                                                 US 7,033,590 B1
                                     7                                                                                     8
both chains from human immuno-globulin. A chimeric antianti-                          hybridoma techniques, or by means of phage display gene
body consisting of murine and human sequences may, for                                libraries, immunoglobulin chain shuffling or humanizing
example, be produced. According to the present invention,                             techniques (Harlow E. and Lane D., in: Antibodies, A
the antibodies and antibody derivatives may also be single                            Laboratory Manual, Cold Spring Harbor Laboratory, 1988).              1988).
chain antibodies
chain  antibodies or
                  or miniantibodies
                     miniantibodies (scFv
                                    (ScPV fragments,
                                          fragments, which,
                                                     which,                      5    The production of    of the inventive antibodies and antibody
e.g., are linked to proline-rich sequences and oligomerisa-
                                               oligomerisa                            derivatives
                                                                                      derivatives may,may, for
                                                                                                             for instance,
                                                                                                                   instance, be  be made
                                                                                                                                      made by  by conventional
                                                                                                                                                    conventional
tion domains,
      domains, e.g.
                e.g. Pluckthun
                      Pluckthun A.
                                 A. and Pack
                                         Pack P.,
                                               P. Immuno-
                                                   Immuno                             hybridoma techniques (Antibodies, A Laboratory Manual,
technology, 1997, Vol. 3, pp. 83–105)
                                83-105) or single chain Fv                            Cold Spring Harbor Laboratory, 1988,          1988, Eds. Harlow and
(sEv) which incorporate the entire antibody binding region
(sFv)                                                                                               148-242). According to the present invention,
                                                                                      Lane, pp. 148-242).
in one single polypeptide chain. For instance, single chain                      10   human and also non-human species may be employed
antibodies may be formed by linking the V-genes to an                                 therefor, such as cattle, pigs, monkeys, chickens and rodents
oligonucleotide which has been constructed as a linker                                (mice, rats). Normal, immunocompetent Balb/c mice or
sequence and connects the C terminus of the first V region                            FIX-deficient mice
                                                                                      FIX-deficient     mice may,
                                                                                                                may, e.g.,
                                                                                                                        e.g., be
                                                                                                                               be used
                                                                                                                                   used (factor
                                                                                                                                           (factor IX-deficient
                                                                                                                                                     IX-deficient
with the N terminus of  of the second V region, e.g. in the                           mice may
                                                                                      mice   may be be obtained
                                                                                                        obtained from from Dr.Dr. Darrel
                                                                                                                                   Darrel Stafford
                                                                                                                                             Stafford from
                                                                                                                                                         from the
                                                                                                                                                                the
arrangement VH-Linker-VL or VL-Linker-V, both, V, "
arrangement VH-Linker-VL or VL-Linker-VH; both, V H                              15
                                                                                 is   University of of North Carolina, Chapel Hill). Immunization
V,L thus
v    thus maymay represent
                  represent thethe N-terminal
                                     N-terminal domain (Huston
                                                             (Huston JS et  et        may, e.g.,
                                                                                      may,   e.g., be
                                                                                                   be effected withwith factor
                                                                                                                           factor IX,
                                                                                                                                    IX, factor
                                                                                                                                         factor IXaa
                                                                                                                                                  IXao or or com-
                                                                                                                                                             com
al.,
al., Int.
      Int. Rev.
             Rev. Immunol.,
                  Immunol., 1993,1993, Vol.
                                         Vol. 10,
                                               10, pp.
                                                    pp. 195-217;
                                                        195–217: Raag
                                                                    Raag R.R.         pletely activated factor IXall,IXaf3, or with
                                                                                                                                  with fragments thereof.
and
and Whitlow
       Whitlow M.,  M., FASEB
                         FASEB J.,   J., 1995,
                                         1995, Vol.    9, pp.
                                                 Vol. 9,  pp. 73—80).
                                                               73–80). The
                                                                         The             The hybridomas
                                                                                         The   hybridomas are  are selected
                                                                                                                    selected withwith aa view
                                                                                                                                          view toto the
                                                                                                                                                     the fact
                                                                                                                                                          fact that
                                                                                                                                                               that
protein which can be used as linker sequence may, e.g., have                          the antibodies and antibody derivatives in the supernatants
a length of up to 150 A, preferably up to 80 A, and more
a length of up to 150 A, preferably up to 80 A, and more                         20   of the
                                                                                      of the hybridoma
                                                                                              hybridoma cells
                                                                                                            cells bind
                                                                                                                   bind toto factor
                                                                                                                             factor IX/factor
                                                                                                                                      IX/factor IXa
                                                                                                                                                  IXa and
                                                                                                                                                        and cause
                                                                                                                                                             cause
preferably up to 40 A. Linker sequences containing glycine
preferably up to 40 A. Linker sequences containing glycine                            an increase of the procoagulant activity of           of factor IXa. The
and serine are particularly preferred for their flexibility, or                       increase in the procoagulant activity may, e.g., be proven by
glutamine and lysine, respectively, for their solubility. The                                      methods as known from the prior art for the
                                                                                      assaying methods
choice of
choice      of the  amino acid
               the amino    acid isis effected   according to
                                      effected according     to the
                                                                 the criteria
                                                                     criteria         measurement of    of factor VIII-like activity, e.g. chromogenic
of immunogenicity and Stability, stability, also depending on whether            25   assays.
                                                                                      assayS.
or not
or   not these
            these single
                   single chain
                            chain antibodies
                                     antibodies are to  to be
                                                           be suitable
                                                                suitable for
                                                                          for            Alternatively, the antibodies and antibody derivatives of
physiological or industrial applications (e.g. immunoaffinity                         the invention may may also be produced by recombinant pro                pro-
chromatography). The single chain antibodies may also be                              duction methods. In doing so, the DNA sequence of the
present as aggregates, e.g. as tamers,    trimers, oligomers or multim-
                                                                    multim            antibodies according
                                                                                      antibodies    according to to the
                                                                                                                     the invention
                                                                                                                           invention cancan bebe determined
                                                                                                                                                 determined by   by
ers. The linker sequence may, however, also be missing, and                      30   known techniques, and the entire antibody DNA or parts
the connection of     of the VH
                              V and VL    V chains may occur directly.                thereof can be expressed in suitable systems. Recombinant
                                                                                      thereof                                                      Recombinant
    Bispecific antibodies
   Bispecific      antibodies are macromolecular,
                                        macromolecular, heterobifunc-
                                                             heterobifunc             production methods can be used, such as those involving
tional cross-linkers having two different binding specificities                       phage display, synthetic and natural libraries, expression of
within one single molecule. In this group belong, e.g.,                               the antibody proteins in known expression systems, or
bispecific (bs) IgGs, bs IgM-IgAs,
                                IgM-IgAS. bs IgA-dimers, bs (Fab')2,(Fab'),      35   expression in transgenic animals (Jones et al., Nature, 19B6,          19B6.
bs(scFv)2, diabodies,
bs(schv),       diabodies, andand bs bs bis Fab
                                             Fab FcFc (Cao YY. and
                                                                and Suresh                               522–525; Phage Display of
                                                                                      Vol. 321, pp. 522-525;                                   of Peptides and
M. R.,R., Bioconjugate
            Bioconjugate Chem.,
                              Chem., 1998,
                                         1998, Vol.
                                                 Vol. 9, pp. 635-644).
                                                               635-644).              Proteins, A
                                                                                      Proteins,   A Laboratory
                                                                                                      Laboratory Manual,
                                                                                                                     Manual, 1996,1996, Eds.
                                                                                                                                          Eds. Kay
                                                                                                                                                 Kay etet al.,
                                                                                                                                                           al., pp.
                                                                                                                                                                pp.
   By peptidomimetics, protein components of low molecu-            molecu            127-139;
                                                                                      127–139; U.S.U.S. Pat.
                                                                                                          Pat. No.      4,873,316; Vaughan
                                                                                                                 No. 4,873,316;         Vaughan T.   T. J.
                                                                                                                                                         J. et
                                                                                                                                                            et al.,
                                                                                                                                                                al.,
lar weight
     weight are understood
                     understood which which imitate
                                               imitate the
                                                        the structure
                                                             structure of aa          Nature Biotechnology, 1998,   1998, pp. 535-539;
                                                                                                                                   535–539; Persic L. et al.,
natural peptide component, or of templates which induce a                        40   Gene,
                                                                                      Gene, 1997, 1997, pp.  pp. 9-18; Ames       Ames R.     R. S. S. et al., al.,
specific structure formation in an adjacent peptide sequence                          J.Immunol.Methods,
                                                                                      J.Immunol. Methods, 1995,   1995, pp.
                                                                                                                          pp. 177-186).
                                                                                                                                177-186).
(Kemp
(Kemp DS,         Trends Biotechnol.,
             DS, Trends      Biotechnol., 1990,        pp. 249-255).
                                               1990, pp.   249-255). The The             The expression of     of recombinantly
                                                                                                                    recombinantly produced antibodies
peptidomimetics may, e.g., be derived from the CDR3                                   may be effected by means of              of conventional expression
domains. Methodical mutational analysis of a given peptide                            vectors,
                                                                                      vectors, such
                                                                                                 such asas bacterial
                                                                                                            bacterial vectors,
                                                                                                                         vectors, such
                                                                                                                                     such asas pBr322
                                                                                                                                                pBr322 and and its
                                                                                                                                                                 its
sequence, i.e. by alanine or glutamic acid scanning muta-              muta      45   derivatives, pSKF or eukaryotic vectors,   vectors, such as pMSG and
tional analysis, allows for the identification of peptide resi-         resi          SV40 vectors. Those sequences which encode the antibody
dues critical for procoagulant activity. Another possibility to                       may be provided with regulatory sequences which regulate
improve the activity of a certain peptide sequence is the use                         the replication, expression and secretion from the host cell.
of peptide libraries combined with high throughput screen-           screen           These regulatory sequences comprise promoters, e.g. CMV
ing.
1ng.                                                                             50   or SV40, and signal sequences.
   The term term antibodies
                   antibodies andand antibody
                                        antibody derivatives
                                                    derivatives maymay also
                                                                         also                                 vectors may also comprise selection and
                                                                                         The expression vectors
comprise agents which have been obtained by analysis of                               amplification markers, such as the dihydrofolate reductase
data relating to structure-activity relationships. These com-          com            gene (DHFR), hygromycin-B phosphotransferase,
pounds may also be used as peptidomimetics (Grassy G. et                              thymidine-kinase etc.
al.,
al., Nature
      Nature Biotechnol.,
                Biotechnol., 1998,
                                 1998, Vol.
                                          Vol. 16,
                                                16, pp. 748-752;
                                                        748–752; Greer
                                                                    Greer J.     55
                                                                                 55      The components
                                                                                         The   components of    of the
                                                                                                                    the vectors
                                                                                                                          vectors used,
                                                                                                                                     used. such
                                                                                                                                              Such asas selection
                                                                                                                                                         selection
et
et al.,
    al., J.J. Med.
              Med. Chem.,
                     Chem., 1994,
                                1994, Vol.
                                         Vol. 37,   pp. 1035-1054).
                                               37, pp.   1035–1054).                  markers,
                                                                                      markers, replicons,
                                                                                                  replicons, enhancers
                                                                                                                enhancers etc.,etc., may
                                                                                                                                     may either
                                                                                                                                            either bebe commer-
                                                                                                                                                         commer
    Examples of hybridoma cells expressing the antibodies or                          cially
                                                                                      cially obtained
                                                                                              obtained oror prepared
                                                                                                             prepared by  by means
                                                                                                                              means of  of conventional
                                                                                                                                           conventional meth-meth
antibody derivatives according to the invention were depos-           depos           ods. The
                                                                                      ods.  The vectors
                                                                                                  vectors may
                                                                                                            may be be constructed
                                                                                                                        constructed for  for the
                                                                                                                                              the expression
                                                                                                                                                   expression in  in
ited
ited onon 9 Sep.    1999 under
              Sep.1999     under thethe numbers
                                         numbers 99090924 (#198/A1),
                                                                 (#198/A1),           various
                                                                                      various cell
                                                                                                cell cultures,
                                                                                                     cultures, e.g.
                                                                                                                 e.g. for
                                                                                                                       for mammalian
                                                                                                                            mammalian cells cells such
                                                                                                                                                  such asas CHO,
                                                                                                                                                             CHO,
99090925
99090925 (#198/B1)
                 (#198/B1) and 9909092699090926 (#198/BB1)
                                                     (#198/BB1) and and on on    60   COS,
                                                                                      COS, fibroblasts,
                                                                                              fibroblasts, insect
                                                                                                             insect cells,
                                                                                                                      cells, yeast
                                                                                                                               yeast oror bacteria,
                                                                                                                                          bacteria, such
                                                                                                                                                       such asas E.
                                                                                                                                                                  E.
Dec. 16,
Dec.     16, 1999
                1999 under
                       under thethe numbers        99121614 (#193/A0),
                                       numbers 99.121614         (#193/A0),           coli. Preferably,
                                                                                      coli.  Preferably, those
                                                                                                            those cells
                                                                                                                     cells are
                                                                                                                             are used
                                                                                                                                  used which
                                                                                                                                          which allow
                                                                                                                                                   allow forfor an
                                                                                                                                                                 an
99121615        (#196/c4), 99121616
99.121615 (#196/c4),          99121616 (#198/D1),         99121617 (198/
                                             (#198/D1), 99121617       (198/          optimal glycosylation of     of the expressed protein. Particularly
T2), 99121618
         99.121618 (#198/G2), 99121619 (#198/ACT)       (#198/AC1) and                preferred is the vector pBaxp3ax (cf. FIG. 17)   17) which is expressed
99.121620 (#198/1.I2)
99121620        (#198/U2) according to the Budapest Treaty.                           in CHO
                                                                                      in CHO cells
                                                                                                 cells or
                                                                                                        or in
                                                                                                           in SK-Hep.
   Methods of Production:                                                        65      The production of   of Fab fragments or F(ab)2 F(ab')2 fragments may
    The antibodies of    of the present invention can be prepared                     be effected
                                                                                      be             according to
                                                                                          effected according      to methods
                                                                                                                       methods known
                                                                                                                                   known fromfrom the
                                                                                                                                                    the prior
                                                                                                                                                         prior art,
                                                                                                                                                                art,
by   methods known
by methods        known fromfrom thethe prior   art, e.g.
                                         prior art,  e.g. by  conventional
                                                          by conventional             e.g. by cleaving a mAb   mAb with proteolytic enzymes, such as




                                                                      Appx144
                                                                      Appx144
          Case: 22-1461                             Document: 25                             Page: 132                 Filed: 11/04/2022




                                                                    US 7,033,590 B1
                                       9                                                                                   10
                                                                                                                           10
papain and/or pepsin, or by recombinant methods. These                                    doses) via the intraperitoneal (i.p.) route. In a typical
           F(ab) fragments may also be prepared by means of
Fab and F(ab)2                                                                            experiment, mice were inoculated with either     either recombinant
                                                                                                                                                   recombinant
a phage display gene library (Winter et al., 1994, Ann. Rev.                              human coagulation factor (F) IX (BenefixTM), human acti-           acti
Immunol.,
Immunol. 12:   12: 433-455).
                   433–455).
   The antibody derivatives may also be prepared by means                            5
                                                                                          vated FIXaa
                                                                                          vated    FIXao (Enzyme
                                                                                                            (Enzyme Research
                                                                                                                       Research Laboratories,
                                                                                                                                   Laboratories, Lot:
                                                                                                                                                    Lot: FIXact.
                                                                                                                                                           FIXao.
of methods known from the prior art, e.g. by molecular                                     1190L) or
                                                                                          1190L)    or human
                                                                                                         human FIXafl
                                                                                                                  FIXaf3 (Enzyme
                                                                                                                          (Enzyme Research
                                                                                                                                      Research Laboratories,
                                                                                                                                                  Laboratories,
modeling, e.g. from Grassy G. et al., Nature Biotechnol.,         Biotechnol.             Lot: HFDCAa(3
                                                                                          Lot:   HFIXAa? 1332 1332 AL,)
                                                                                                                    AL) adjuvanted
                                                                                                                         adjuvanted withwith Al(OH)3
                                                                                                                                             Al(OH) or   or KFA.
                                                                                                                                                            KFA.
1998,
1998, Vol.
        Vol. 16,  pp. 748-752,
              16, pp.  748 752, or      Greer J.
                                    or Greer     J. et
                                                    et al.,
                                                       al., J.J. Med.
                                                                 Med. Chem.,
                                                                         Chem.                Individual mice were boosted at various times with 100          100
Vol.
Vol. 37, pp. 1035–1054, or Rees A. et al., in: "Protein
       37,   pp.  1035-1054,       or   Rees     A.   et   al.,   in:   “Protein          ug antigen (10011
                                                                                          µg             (10011 doses, i.p)
                                                                                                                         i.p.) and sacrificed two days later.
Structure Prediction: A practical approach",  approach,         ed.  Sternberg            Spleen cells were removed and fused to P3x63-Ag8 6.5.3
M. J. E., IRL press, 1996,  1996, chapt. 7-10,7–10, pp. 141-261.
                                                             141-261.                10   myeloma cells essentially as described by Lane et al., 1985        1985
   The purification of the inventive antibodies and antibody                              (J.
                                                                                          (J. Immunol.
                                                                                               Immunol. Methods,
                                                                                                            Methods, Vol.
                                                                                                                       Vol. 81,
                                                                                                                             81, pp.
                                                                                                                                  pp. 223-228).
                                                                                                                                      223-228). Each
                                                                                                                                                   Each fusion
                                                                                                                                                           fusion
derivatives may also be carried out by methods described
derivatives    may   also   be  carried   out  by   methods       described in  in        experiment was individually numbered, i.e. #193,     ii.193, 195,
                                                                                                                                                        195, 196
                                                                                                                                                              196
the prior art, e.g., by ammonium sulfate     Sulfate precipitation, affin   affin-
                                                                                          or 198.
                                                                                               198.
ity purification (protein G-Sepharose), ion exchange
chromatography, or gel chromatography. The following                                          Hybridoma cells were grown in 96 well plates on a
methods
methods may may bebe used
                       used asas the
                                  the test
                                       test methods
                                              methods to   to show
                                                                show thatthat the
                                                                               the   15
                                                                                     15   macrophage feeder layer (app. 105     10 cells/rill)
                                                                                                                                     cells/ml) and selected in
antibodies and antibody derivatives of the present invention                              HAT-medium (RPMI-1640 medium         medium supplemented with
bind to factor IX/factor IXa, increase the procoagulant
bind   to   factor   IX/factor     IXa,     increase     the     procoagulant             antibiotics, 10%   10% FCS, Na-pyruvate, L-glutamine,
activity ofof factor IXa or have factor VIII-like activity.: the                          2-mercaptoethanol and HAT (HAT 100x. 1.0x10°M hypox
                                                                                          2-mercaptoethanol and HAT (HAT 100x: 1.0x10-2M hypox-
one step coagulation test (Mikaelsson and Oswaldson,
Scand. J.J. Haematol.,
Scand.        Haematol. Suppl.,
                              Suppl., 33,     pp. 79—86,
                                        33, pp.     79–86, 1984) 1984) or or the     20
                                                                                          anthine in HO (136.1 mg/100 ml HO), 40x10M ami
                                                                                          anthine in H2O (136.1 mg/100 ml H2O), 4.0x10-5M ami-
chromogenic tests, such as COATEST VIII: C(R)                                             nopterin in HO (1.76 mg/100 ml HO) and 1.6x10M
                                                                                          nopterin in H2O (1.76 mg/100 ml H2O) and 1.6x10-3M
(Chromogenix) or Immunochrom (IMMUNO). In principle,                                      thymidine in H2O HO (38.7 mg/100 ml    ml H2O). Medium was first
all the methods used for determining factor VIII activity may                             changed after 6 days and thereafter twice a week. After 2-3         2–3
be used. As the control blank value for the measurements,                                 weeks HAT-medium was changed to HT-medium (RpM                 (RpMI[-
e.g., unspecific mouse-IgG antibody may be used.
                                                                                     25
                                                                                           1640 supplemented with antibiotics, 10%
                                                                                          1640                                                     10% FCS,
   The present antibodies and antibody derivatives are suit-                 suit    25   Na-pyruvate, L-glutamine, 2-mercaptoethanol and HT)           HT) and
able for therapeutic use in the treatment of coagulation                                  later on
                                                                                          later   on (after
                                                                                                      (after additional
                                                                                                               additional 1-2
                                                                                                                            1–2 weeks)
                                                                                                                                 weeks) to to normal
                                                                                                                                               normal growth
                                                                                                                                                          growth
disorders, e.g. in the case of     of hemophilia A, for factor VIII                       medium (RPMI-164O
                                                                                          medium       (RPMI-1640 medium
                                                                                                                       medium supplemented
                                                                                                                                   supplemented with with 10%10%
inhibitor patients etc. Administration may be effected by any                             FCS, Na-pyruvate, L-glutamine and 2-mercaptoethanol)
method suitable to effectively administer the therapeutic                                 (see:
agent to the patient, e.g. by oral, subcutaneous,           Subcutaneous,            30
                                                                                          (see: HYBRIDOMA
                                                                                                   HYBRIDOMA TECHNIQUES,
                                                                                                                       TECHNIQUES, EMBO,      EMBO, SKMB  SKMB
intramuscular, intravenous or intranasal administration.                                  Course
                                                                                          Course 1980,
                                                                                                    1980, Basel).
                                                                                                            Base1).
   Therapeutic agents according to the invention may be                                       In another
                                                                                              In another set
                                                                                                           set of
                                                                                                               of experiments
                                                                                                                  experiments FIXFIX deficient
                                                                                                                                       deficient C57B16
                                                                                                                                                 C57B16 mice mice
produced as preparations which comprise a sufficient                                      (Lin
                                                                                          (Lin etet al.,
                                                                                                    al., 1997,
                                                                                                         1997, Blood,
                                                                                                                 Blood, 90:
                                                                                                                         90: 3962)
                                                                                                                              3962) were
                                                                                                                                      were used
                                                                                                                                             used for
                                                                                                                                                   for immuni-
                                                                                                                                                        immuni
amount
amount of of antibodies
              antibodies or or of
                                of antibody
                                   antibody derivatives
                                                derivatives as    as the
                                                                      the active
                                                                           active         zation and subsequent hybridoma production. Since FIX
agent in a pharmaceutically acceptable carrier substance.           Substance.            knockout (k.o.) mice do not express endogenous FIX, the
These agents may be present either in liquid or in powder-              powder       35
                                                                                     35   anti (a)-FIX antibody spectrum achievable is supposed to be
ized form. Moreover, the preparations according to the                                    different
invention
invention may   may also        comprise mixtures
                        also comprise           mixtures of      of different
                                                                      different           different compared
                                                                                                      compared to  to normal
                                                                                                                      normal Balb/c
                                                                                                                                Balb/c mice
                                                                                                                                         mice (due
                                                                                                                                               (due toto lack
                                                                                                                                                          lack of
                                                                                                                                                               of
                                                                                          tolerance).
                                                                                          tolerance).
antibodies,
antibodies, the the derivatives       thereof and/or
                      derivatives thereof         and/or organic
                                                               organic com- com
pounds derived
pounds    derived therefrom, as    as well
                                       well as mixtures
                                                  mixtures consisting
                                                                 consisting of  of                                    Example 2
antibodies
antibodies and factor 1x and/or factor IXa. Factor IXa may
              and  factor    lx  and/or    factor   IXa.    Factor     IXa   may     40
                                                                                     40
be  present as
be present       factor IXaa
              as factor   IXaC. and/or
                                  and/or factor
                                           factor IXal3.
                                                    IXaf3. An An example
                                                                   example of   of                                                             of
                                                                                              Assaying for FVIII-like Activity in Supernatants of
an aqueous
an  aqueous carrier       Substance is,
                carrier substance            e.g., saline.
                                        is, e.g.,   saline. TheThe Solutions
                                                                       solutions              Anti-Fix/FIXa Antibody Secreting Hybridoma Cells
are  sterile, sterilisation    being effected     by  conventional
are sterile, sterilisation being effected by conventional meth In          meth-
ods.
                                                               In order
                                                                   order to to assay
                                                                                assay the
                                                                                        the FVIII-like
                                                                                            FVIII-like activity
                                                                                                         activity ofof anti-FIXa
                                                                                                                        anti-FIXa
                                                            antibodies secreted by hybridoma cells, the commercially
   The antibodies or antibody derivatives according to the  available test-kit
                                                            available   test-kit COATEST
                                                                                  COATEST VIII:C/4®
                                                                                               VIII:C/4(R) (Chromogenix)
                                                                                                           (Chromogenix) was   was
invention may be present in lyophilized form for storage and
                                                         45 employed.     The assay was done essentially as described by
be suspended
     suspended in  in aa suitable
                           suitable solvent
                                     solvent before administration.
                                                            the
                                                            the manufacturer
                                                                 manufacturer with with the
                                                                                         the following
                                                                                             following modifications:
                                                                                                         modifications:
This method has proven generally advantageous for con-                       con
ventional immunoglobulins, and known lyophilisation and        To allow high throughput screening, the assay was down-      down
reconstitution
reconstitution methods
                  methods may   may be
                                     be applied in this     scaled to
                                                            scaled
                                                          this case. to microtiter
                                                                         microtiter plate format.
                                                                                            format. Briefly,
                                                                                                     Briefly, 25
                                                                                                               25 µ1
                                                                                                                   ul aliquots
                                                                                                                      aliquots ofof
   Moreover, the
   Moreover,             antibodies and
                   the antibodies         and antibody   50                Supernatants were transferred to microtiter
                                                         50 hybridoma supernatants
                                                  antibody derivatives
                                                                   derivatives                                   microtiter plate
according
according to  to the
                 the invention
                       invention maymay alsoalso be
                                                  be used   (Costar, #3598)
                                                            (Costar,
                                                       used for        i3598) wells
                                                                for industrial
                                                                      industrial wells and
                                                                                        and warmed
                                                                                             warmed to to 37°
                                                                                                          37° C.
                                                                                                               C. Chromogenic
                                                                                                                   Chromogenic
applications, e.g. for the purification of       of  factor substrate
                                                            substrate (S-2222),
                                                                        (S-2222), synthetic
                                                                IX/factor     IXa     synthetic thrombin
                                                                                                 thrombin inhibitor
                                                                                                            inhibitor (1-2581),
                                                                                                                        (1–2581),
by means of affinity chromatography, or as a component of   factor
                                                            factor (F)
                                                                    (F) IXa
                                                                         IXa and
                                                                              and FXFX were
                                                                                        were reconstituted
                                                                                              reconstituted in
                                                                                                             in sterile
                                                                                                                sterile water
                                                                                                                        water and
                                                                                                                               and
detection methods (e.g. ELISA assays), or as an agent for   FIXa/FX was mixed with phospholipids according to the
identification of and interaction with functional domains of
                                                         55 supplier's protocol. Per reaction, 50 µ1
                                                         55                                             ul of
                                                                                                           of the phospholipid/
a target protein.                                           FIXa/FX
                                                            FIXa/FX solution
                                                                        solution were    combined with
                                                                                   were combined    with 25
                                                                                                          25ulµ1 CaCl2
                                                                                                                 CaCl (25(25 mM)
                                                                                                                              mM)
   The present
         present invention
                   invention willwill be described
                                           described in   in more
                                                            andmore detail
                                                            and 5050 µ1detail by
                                                                      ul of
                                                                          of theby
                                                                               the substrate/inhibitor
                                                                                    substrate/inhibitor cocktail.
                                                                                                         cocktail. ToTo start
                                                                                                                          start the
                                                                                                                                the
way of the following examples and drawing figures, to                   125 µ1
                                                            reaction, 125     ul of
                                                                                 of the premix were added to the hybridoma
which,
which, however,
         however, itit shall
                          shall not
                                 not be restricted.
                                           restricted.      supernatant in
                                                            supernatant     in the
                                                                               the microtiter
                                                                                    microtiter plates and
                                                                                                      and incubated
                                                                                                            incubated at at 37°
                                                                                                                            37° C.
                                                                                                                                 C.
                     EXAMPLES                            60 Absorbency at 405 nm and 490 nm        nm of
                                                                                                      of the samples was read
                       Example 11                               various times (30 min to 12
                                                            at various                          12 h) against a reagent blank
                                                            (MLW, cell
                                                            (MLW,      cell culture
                                                                               culture medium
                                                                                          medium instead
                                                                                                     instead of  of hybridoma
                                                                                                                     hybridoma
      Immunization of Immunocompetent Mice and              supernatant) in a Labsystems iEMS Reader MFTM microtiter    microtiter
     Generation of Anti-FIX/IXa Antibody Secreting          plate reader. FVIII-like activity of   of the samples was calcu- calcu
                    Hybridoma Cells                      65 lated by comparing the absorbency of        of the samples against
  Groups of  1–3 normal immunocompetent 5—8
          of 1-3                           5-8 week old the the absorbency
                                                                  absorbency of   of aa diluted
                                                                                          diluted FVIII
                                                                                                   FVIII reference
                                                                                                            reference standard
                                                                                                                         standard
Balb/c
Balb/c mice
       mice were immunized with
            were immunized        100 µg
                             with 100 ug antigen
                                         antigen (100
                                                 (100 µ1
                                                      ul (IMMUNO
                                                            (IMMUNO AG      AG ## 5T4AR00)
                                                                                    5T4AR00) using
                                                                                                 using GENESISTm
                                                                                                        GENESISTM software.
                                                                                                                        software.




                                                                          Appx145
                                                                          Appx145
         Case: 22-1461                         Document: 25                         Page: 133                    Filed: 11/04/2022




                                                             US 7,033,590 B1
                                  11
                                  11                                                                                 12
                                                                                                                     12
  The results of a screening for FVIII-like activity in                          activity of
                                                                                 activity   of the
                                                                                                the master
                                                                                                       master clone
                                                                                                                clone 193/CO
                                                                                                                         193/C0 andand all
                                                                                                                                         all its
                                                                                                                                              its subclones
                                                                                                                                                   subclones
hybridoma cell culture supernatants are shown in FIG. 1.
                                                       1.                        which were identified as positives and re-checked. Blanks
Pre-selected clones derived
Pre-selected        derived from
                            from fusion
                                 fusion experiments #193,
                                                    #193,                        (absorbency of    of the chromogenic reagent itself) were sub-           Sub
#195 and #196 (see above) were examined in a chromogenic                         tracted in the case of   of the ELISA as well as the chromogenic
FVIII
FVIII assay as described.
                 described. Clones 193/M1,
                                     193/M1, 193/N1
                                              193/N1 and                    5    assay readings depicted here. Clone 193/M1     193/M1 was subcloned
193/P1 are subclones
193/P1         Subclones derived from the master clone 193/CO    193/CO          and
                                                                                 and yielded
                                                                                       yielded clones 193/V2,
                                                                                                           193/V2, 193/M2
                                                                                                                      193/M2 and and 193/U2.
                                                                                                                                      193/U2. The  The other
                                                                                                                                                         other
(see  below). Master
(see below).      Master clone
                           clone 195/10
                                   195/10 was
                                           was derived
                                                 derived from
                                                            from fusion
                                                                  fusion
experiment #195 and clones 196/A0,    196/A0, 196/BO
                                                 196/B0 and 196/CO
                                                                 196/C0
                                                                                 clones of
                                                                                 clones    of the
                                                                                               the 2"d
                                                                                                    2' round
                                                                                                          round came
                                                                                                                  came fromfrom 193/P1,
                                                                                                                                  193/P1, 193/AB2
                                                                                                                                             193/AB2 and   and
                                                                                 193/P2
                                                                                 193/P2 were subcloned. 193/AF3,   193/AF3, 193/AB3
                                                                                                                                193/AB3 and 193/AE3 193/AE3
were derived from fusion experiment #196. In a typical                           are subclones of   of 193/AB2.
                                                                                                        193/AB2. The other clones of the 3'd       3' round
screening experiment, approximately 1000         1000 clones (in 96
wells) from a single fusion experiment were pre-screened
                                                                            to
                                                                            10   came from
                                                                                 came     from 193/P2.
                                                                                                  193/P2. Finally       193/AF3 (-.>193/AF4),
                                                                                                             Finally 193/AF3        (->> 193/AF4), AE3    AE3
                                                                                 (-.193/AE4,
                                                                                 (->193/AE4, 193/AL4,
                                                                                                    193/AL4, 193/AN4
                                                                                                                 193/AN4 and  and 193/AO4)
                                                                                                                                    193/AO4) and    and 193/
                                                                                                                                                          193/
for FVIII-like activity. Subsequently, selected clones were                      AD3
                                                                                 AD3 (—>193/AG4,
                                                                                        (->193/AG4, 193/AH4,
                                                                                                           193/AH4, 193/AD4,
                                                                                                                        193/AD4, 193/AI4,
                                                                                                                                     193/AI4, 193/AK4)
                                                                                                                                                   193/AK4)
grown on a larger scale (3-5          (3–5 ml supernatant)
                                                   Supernatant) and              were subcloned.
re-analyzed in a chromogenic assay. As a negative control
cell culture medium was assayed on each plate (MLW).                                 From each fusion experiment, several (5-15) master
                                                                            15
   Wells either exhibiting high FVIII-like activity or sub           sub-
                                                                            15   clones (selected
                                                                                 clones    (selected from
                                                                                                        from the
                                                                                                               the master
                                                                                                                    master plate)
                                                                                                                             plate) were
                                                                                                                                     were identified
                                                                                                                                             identified andand
stantial FVIII-like activity were subjected to subcloning                        Subjected to subcloning.
                                                                                 subjected        Subcloning. After 3 rounds of     of sub-cloning, most
                                                                                 of the cell lines were homogenous as demonstrated by
                                       Subcloning process is exem
procedures. The selection and subcloning                          exem-
                                                                                 ELISA and chromogenic activity analysis (see FIG. 4) as
plified for the screening and subcloning
                                    Subcloning of an IgG producing               well as by cDNA sequence analysis. A specific master clone
cell
cell line
     line (i.e.
            (i.e. 193/C0)
                   193/CO) butbut has been
                                       been done
                                              done exactly the the same
                                                                    same    20   and all its subclones produce the same FIX/FIXa binding
way for an IgM (i.e. 196/CO,196/C0, see below, FIG. 5) producing                 antibody. However, there are huge differences in the anti-               anti
clone.
   The selection process was done by initially plating all
                                                                                 body protein sequences of         of clones derived from different
hybridoma cell clones derived from a single fusion experi        experi-
                                                                                 master clones (see Example 11).       11). Most hybridoma cell lines
ment on ten 96 well plates thereby creating the so called                        express antibodies
                                                                                 express    antibodies fromfrom the
                                                                                                                 the IgG
                                                                                                                       IgG subclass
                                                                                                                            subclass (i.e.
                                                                                                                                        (i.e. clones
                                                                                                                                               clones #193,
                                                                                                                                                         #193,
                                                                            25   #198,
“master plates'.
"master   plates". Singular positions (wells) on a master plate
                                                                            25   #198, like
                                                                                          like 198/Al,
                                                                                                198/A1, 198/B1,
                                                                                                            198/B1, 198/BB1).
                                                                                                                        198/BB1). However,
                                                                                                                                     However, we    we were
                                                                                                                                                          were
                                                                                 also able to select some clones expressing IgM antibodies.
usually contained more than one hybridoma cell clone                                 The chromogenic activity of         of hybridoma supernatant
                                                                                                                                            Supernatant of
(usually 3 to 15 different clones). Subsequently, the antibody
secreted
secreted by by only
                 only several
                       several thousand
                                 thousand cells
                                             cells was
                                                    was tested.
                                                          tested. These          Some important
                                                                                 some     important master
                                                                                                         master clones
                                                                                                                  clones andand subclones
                                                                                                                                  Subclones was  was deter-
                                                                                                                                                        deter
cells grew under conditions suboptimal for antibody                              mined.
                                                                                 mined. Absorbance was measured after a 11 h 30 min and 3
                                                                            30
production, which is known to be best in dying cells. So the                     h30
                                                                                 h      min incubation
                                                                                   30 min    incubation period
                                                                                                            period atat 37°
                                                                                                                         37°C.   (FIG. 5).
                                                                                                                             C. (FIG.    5). In
                                                                                                                                              In contrast
                                                                                                                                                  contrast toto
expected specific anti-FIX antibody concentration in the                         all the
                                                                                 all  the clones
                                                                                           clones from
                                                                                                     from the
                                                                                                            the 193"d
                                                                                                                 193" fusion,
                                                                                                                         fusion, clone
                                                                                                                                   clone 196/CO
                                                                                                                                            196/C0 and and its
                                                                                                                                                            its
supernatant may be in the range of 10-12    10–12 to 10-14
                                                         10–14 M. This                        196/AP2 produced a FIX/FIXa-specific IgM anti-
                                                                                 subclone 196/AP2                                                         anti
explains why incubation periods had to be extended com-                          body that gave a strong chromogenic activity even after a
                                                                    com
pared to standard FVIII assays.                                             35
                                                                                 short period
                                                                                 short   period ofof incubation.
                                                                                                       incubation.
                                                                                     The following cell lines have been deposited with the
   Results of
   Results    of aa screening
                     screening forfor an
                                       an IgG
                                          IgG mediated
                                                 mediated FVIII-like
                                                              FVIII-like         European
                                           Supernatants of a master
activity in hybridoma cell culture supernatants                                  European Collection
                                                                                               Collection of  of Cell
                                                                                                                 Cell Cultures
                                                                                                                         Cultures (ECACC)
                                                                                                                                    (ECACC) in      in accor-
                                                                                                                                                        accor
plate are
plate  are shown
            shown in in FIG.
                         FIG. 2.
                               2. Supernatants were
                                                  were examined in aa            dance with the Budapest Treaty: 19881           198/B1 (ECACC No.
chromogenic FVIII
chromogenic        FVIII assay.
                           assay. Shown
                                    Shown are     the results
                                             are the    results derived
                                                                 derived         99090925, deposited
                                                                                 99090925,      deposited Sep.Sep. 9,9, 1999);
                                                                                                                         1999); 198/Al
                                                                                                                                  198/A1 (ECACC
                                                                                                                                             (ECACC No.    No.
from the fifth master plate of fusion experiment number                     40   99090924, deposited
                                                                                 99090924,      deposited Sep.
                                                                                                             Sep. 9,9, 1999);
                                                                                                                        1999); 198/BB1
                                                                                                                                198/BB1 (ECACC
                                                                                                                                             (ECACC No.    No.
#193                                                                             99090926,
                                                                                 99090926, deposited
                                                                                                deposited Dec.
                                                                                                             Dec. 16,
                                                                                                                    16, 1999);
                                                                                                                         1999); 193/AO
                                                                                                                                  193/AO (ECACC
                                                                                                                                             (ECACC No.    No.
#193 (Balb/c
        (Balb/c micemice immunized
                           immunized withwith FIXaa).
                                                FIXaC.). Absorbance
                                                            Absorbance           99121614,
was read after 4 hours of incubation at 37° C. Position ES                       99121614, deposited
                                                                                                deposited Dec.Dec. 16,
                                                                                                                     16, 1999);
                                                                                                                          1999); 196/C4
                                                                                                                                   196/C4 (ECACC
                                                                                                                                             (ECACC No.    No.
was identified as exhibiting FVIII like activity significantly                   99121615,
                                                                                 99121615, deposited
                                                                                                deposited Dec.Dec. 16,
                                                                                                                     16, 1999);
                                                                                                                          1999); 198/DI
                                                                                                                                   198/DI (ECACC
                                                                                                                                             (ECACC No.    No.
higher than the blank (MLW). This cell pool was designated                       99121616,
                                                                                 99121616, deposited
                                                                                                deposited Dec.Dec. 16,
                                                                                                                     16, 1999);
                                                                                                                          1999); 198/T2
                                                                                                                                   198/T2 (ECACC
                                                                                                                                             (ECACC No.    No.
193/CO                                                                           99121617,
                                                                                 99121617, deposited
                                                                                                deposited Dec.
                                                                                                             Dec. 16,16, 1999);
                                                                                                                          1999); 198/G2
                                                                                                                                   198/G2 (ECACC
                                                                                                                                             (ECACC No.    No.
193/C0 andand was
                was further
                      further subcloned
                               subcloned (FIG.
                                           (FIG. 3).
                                                   3). As
                                                       As each
                                                            each well
                                                                 well of    45
                                                                                 99121618,
the master
     master plate contains
                        contains more
                                   more than one one hybridoma
                                                       hybridoma cell            99121618, deposited
                                                                                                 deposited Dec.Dec. 16,16, 1999);
                                                                                                                            1999); 198/AC1
                                                                                                                                     198/AC1 (ECACC (ECACC
clone, cells of a single positive well were expanded and                         No,
                                                                                 No. 99121619,
                                                                                        99121619, deposited
                                                                                                         deposited Dec.
                                                                                                                      Dec. 16,16, 1999);
                                                                                                                                    1999); and and 198/U2
                                                                                                                                                      198/U2
                                                                                 (ECACC
                                                                                 (ECACC No.   No. 99121620,
                                                                                                      99121620, deposited
                                                                                                                     deposited Dec.Dec. 16,16, 1999).
                                                                                                                                                 1999). The
plated at
plated  at aa calculated
              calculated cell    density of
                            cell density of 2-0.2
                                             2–0.2 cells/well
                                                     cells/well on
                                                                 on aa 96
                                                                       96
                                                                                 address
well plate. Again, the supernatants were tested for FVIII-like                   address of ofthe
                                                                                               the ECACC
                                                                                                    ECACC isis Salisbury.
                                                                                                                  Salisbury. Wiltshire
                                                                                                                               Wiltshire SP4SP4 OJG,
                                                                                                                                                  OJG, UK. UK.
activity and positive positions were subjected  Subjected to another        50       To do a more in depth analysis of              of the biochemical
round of of subcloning. Typically three to four rounds of                        properties of certain antibodies, homogenous hybridoma cell
Subcloning were performed with each clone displaying
subcloning                                                                       lines expressing different
                                                                                 lines                  different antibodies
                                                                                                                  antibodies with
                                                                                                                                with FVIII-like
                                                                                                                                      FVIII-like activity
                                                                                                                                                      activity
FVIII-like activity to obtain homogenous cell populations.                       were expanded and used to express the antibody in question
Here the
Here   the results
             results ofof the
                          the chromogenic       assay of
                                chromogenic assay        of the
                                                             the 193/CO
                                                                 193/CO          on
                                                                                 on aa larger
                                                                                         larger scale
                                                                                                   scale (100-1000
                                                                                                           (100–1000 ml).       These antibodies
                                                                                                                          ml). These      antibodies were were
subclones are shown. Absorbance was read after a 4 hour                     55
                                                                            55   affinity purified (see Example 3) prior to being used in
incubation
incubation period at    at 37° C. Positions
                                    Positions A6A6 and
                                                    and D5 D5 exhibited
                                                               exhibited         further experiments.
substantial
substantial FVIII-like       activity and
               FVIII-like activity    and were
                                           were named
                                                  named 193/M1
                                                            193/M1 andand
193/P1, respectively. These two clones were subjected to
193/P1,                                                                                                         Example 3
another round of Subcloning.
                      subcloning. As a negative control plain cell
culture medium
culture   medium was  was assayed
                            assayed onon each plate (MLW(H1)).              60              Factor IX/FIXa. Binding Properties of
                                                                                          Factor IX/FIXa(„,p) Binding Properties of
                                                                                     Antibodies Exhibiting FIX/FIXa Activating Activity
   A comparison of chromogenic FVIII-like activity and
FIX-ELISA reactivity of small scale (3 ml) hybridoma                              Factor IX and the two activated forms of of FIX, FIXaa
                                                                                                                                   FIXaC. and
cultures is shown in FIG. 4. Before a decision was made                        FIXa13 (FIX/FIXa(„ 0)) were diluted in TBS (25 mM Tris
                                                                                 FIXaf (FIX/FIXa) were diluted in TBS (25 mM Tris
whether
whether aa master
               master clone
                         clone (or
                                 (or subclone)
                                      subclone) waswas to to be
                                                              be further
                                                                  further      HC1,
                                                                               HCl, 150
                                                                                     150 mM
                                                                                          mM. NaCI,
                                                                                               NaCl, pH
                                                                                                      pH 7.5)
                                                                                                          7.5) to
                                                                                                               to aa final
                                                                                                                     final concentration
                                                                                                                           concentration of
                                                                                                                                          of 22
subcloned,
Subcloned, clones
                clones were
                         were grown at  at aa 3–5
                                               3-5 mlml scale
                                                          scale and the
                                                                      the      ug/ml. Nunc
                                                                            65 µg/ml.  Nunc Maxisorp
                                                                                             Maxisorp ELISA
                                                                                                        ELISA plates
                                                                                                                plates were
                                                                                                                        were coated
                                                                                                                              coated with
                                                                                                                                     with 100
                                                                                                                                           100
Supernatants were checked again. This graph shows the FIX
supernatants                                                                     ul FIX/FIXa, solution according to standard procedures
                                                                               µI FIX/FIXa(c,,p) solution according to standard procedures
specific ELISA results and the FVIII-like chromogenic                          (4°
                                                                               (4° C.,
                                                                                   C., overnight)
                                                                                        overnight) and
                                                                                                   and washed
                                                                                                         washed several
                                                                                                                  several times
                                                                                                                            times with  TBST
                                                                                                                                  with TBST




                                                                  Appx146
                                                                  Appx146
          Case: 22-1461                            Document: 25                            Page: 134                     Filed: 11/04/2022




                                                                  US 7,033,590 B1
                                    13
                                    13                                                                                       14
                                                                                                                             14
(TBS, 0.1% (v/v) Tween 20). 50 µl           ul hybridoma supernatant
                                                                Supernatant                           150 mM
                                                                                      7.5 containing 150  mM. NaC1)
                                                                                                               NaCl) overnight at 4° C. Wells were
was
was diluted
     diluted 1:11:1 with
                     with 5050 µlul TBST/2% BSA   BSA andand added to   to the
                                                                            the       washed four
                                                                                      washed   four times
                                                                                                     times with
                                                                                                           with TBST (25(25 mM
                                                                                                                             mM Tris/HCl
                                                                                                                                   Tris/HCI pHpH 7.5
                                                                                                                                                   7.5
coated ELISA
coated    ELISA plate. After After an incubation
                                         incubation period
                                                         period of 22 h at                         150 mM NaCl and 0.1% (v/v) Tween 20). As a
                                                                                      containing 150
room temperature (RT), plates were washed 4 times with                                standard
                                                                                      standard monoclonal
                                                                                                monoclonal AB
                                                                                                            AB the
                                                                                                                 the HIX1
                                                                                                                     HIX1 anti-FIX
                                                                                                                           anti-FIX (accurate)
                                                                                                                                      (accurate) was
                                                                                                                                                  was
TBST andand incubated
              incubated (2 h,   h, RT)
                                   RT) with
                                        with 100
                                               100 µ]/well
                                                     ul/well ofof aa 1:25000
                                                                     1:25000      5 used. Standard and samples were diluted in TBST contain-
                                                                                      used. Standard and samples were diluted in TBST contain
dilution
dilution (in(in TBST/1% BSA)     BSA) of an anti-mouse
                                                   anti-mouse IgG   IgG (Fc-
                                                                          (Fc         ing 2%(w/v)
                                                                                      ing  2%(w/v) BSA.
                                                                                                     BSA. The standard
                                                                                                                standard dilution
                                                                                                                         dilution series
                                                                                                                                   series and
                                                                                                                                          and appro-
                                                                                                                                               appro
specific) peroxidase conjugated antibody (Sigma, #A-0168).        HA-0168).                             of the samples were incubated on the
                                                                                      priate dilutions of
Wells   were washed
Wells were      washed 55 times
                              times with
                                      with TBST
                                            TBST and  and finally
                                                            finally stained
                                                                      stained         ELISA-plate for 2 hours at room temperature. Plates were
       100 µI
with 100     ul freshly prepared staining solution (10 ml 50M                         washed 4 times with TBST and incubated (2 h, RT) with 100
sodium citrate, pH 5 supplemented with 100 µ1              ul OPD     (60  mg     1 washed 4 times with TBST and incubated (2 h, RT) with 100
                                                                                  100 µ1/well
                                                                                      ul/well of
                                                                                              of aa 1:25000
                                                                                                     1:25000 dilution
                                                                                                              dilution (in
                                                                                                                       (in TBST/1%
                                                                                                                           TBST/1% BSA)  BSA) ofof an
                                                                                                                                                    an
OPD/ml) and
OPD/ml)      and 1010 Jul 30% H2O2).
                      µI 30%     HO). The reaction
                                                reaction was
                                                           was stopped by             anti-mouse IgG (Fc-specific) peroxidase conjugated anti-   anti
the addition
    addition of  of 50 mlml H2S4
                             HS and  and the
                                          the optical density
                                                         density recorded
                                                                    recorded                          iA-0168) FIXa. Wells were washed 5 times
                                                                                      body (Sigma, #A-0168)
at 492 nm
at       nm and
              and 620
                    620 nmnm in a Labsystems
                                    Labsystems iEMS  iEMS Reader
                                                             Reader MFTM              with TBST and finally stained with 100100 µ1
                                                                                                                                 ul freshly prepared
microtiter plate reader employing GENESISTM software.
   In certain
   In  certain cases,
                 cases, instead
                          instead ofof an
                                       an anti-mouse
                                           anti-mouse IgG  IgG ELISA,
                                                                 ELISA, an   an       staining solution (10 ml 50 mM   mM sodium citrate, pH 5
anti-mouse
anti-mouse IgM  IgM ELISA
                       ELISA was was carried
                                       carried out.
                                                 out.                             155 supplemented with 100100 µ1
                                                                                                               ul OPD (60 mg OPD/ml) and 10      10 µlul
   Purification of  of Mouse-IgG from Hybridoma Cell Culture                          30% H2O2).
                                                                                      30%   H.O.). The reaction
                                                                                                        reaction was
                                                                                                                 was stopped
                                                                                                                      stopped by
                                                                                                                               by the
                                                                                                                                  the addition
                                                                                                                                       addition of
                                                                                                                                                of 50
                                                                                                                                                    50
Supernatants                                                                              HSO and after 30 minutes the optical density was
                                                                                      ml H2504
   Hybridoma supernatant (100-500   (100–500 ml) was supplemented                     recorded atat 492
                                                                                      recorded      492 nm
                                                                                                         nm and
                                                                                                             and 620
                                                                                                                  620 nm
                                                                                                                       nm in
                                                                                                                           in aa Labsystems
                                                                                                                                 Labsystems iEMSiEMS
with
with 200
       200 mM       Tris/HCl buffer
             mM Tris/HCl         buffer (pH
                                         (pH 7.0)     and solid
                                                7.0) and    solid NaCl
                                                                     NaCl to to       Reader MFTM microtiter plate reader employing GEN-       GEN
give                                                                                0 ESISTM software.
                                                                                               Software.
give final     concentrations of
       final concentrations         of 20
                                        20 mM
                                            mM Tris Tris and
                                                           and 3M3M NaCl,
                                                                        NaCl,     2
respectively. The supernatant
                        supematant was then clarified by centrifu   centrifu-                                           Example 4
gation at 5500xg for 10      10 minutes. A 11 ml protein G affinity
chromatography column (Protein G Sepharose Fast Flow,                                          Anti-FIX/FIXa Antibodies
                                                                                               Anti-FIX/FIXa   Antibodies Exhibiting
                                                                                                                          Exhibiting FVIII-like
                                                                                                                                     FVIII-like
Amersham-Pharmacia)
Amersham-Pharmacia) was          was washed
                                       washed with with 15 15 mlml 2020 mMmM                       Activity in a Chromogenic FVIII Assay
                                                                                  255
Tris/C1
Tris/Cl pH 7.0 and afterwards equilibrated with 10              10 ml of 20       2
                                                                                            Several anti-FIX/FIXa antibody producing hybridoma
mM Tris/C1
      Tris/CI buffer pH 7.0 containing 3M NaCl. The hybri              hybri-
        supernatant containing 3M NaCl was then loaded onto
doma supematant
                                                                                        clones were
                                                                                        clones     were subcloned
                                                                                                           Subcloned up   up toto four
                                                                                                                                   four times
                                                                                                                                         times andand the
                                                                                                                                                        the resulting
                                                                                                                                                             resulting
                                                                                        monoclonal hybridoma cell line used to produce monoclonal
the column by   by gravity. The column
                                     column was was washed
                                                      washed withwith 1515 ml
                                                                            ml          antibody containing supernatant.Supernatant. IgG isotype antibodies
of 20 mM Tris/C1Tris/Cl buffer, pH 7.0, containing 3M NaCl.                             derived from these supernatants were purified over affinity
                                                                                  300
Bound IgG was further eluted with 12 ml glycine/HCl   glycine/HCI buffer          3
pH
                                                                                        columns and dialyzed against TBS (see above). IgM anti-                   anti
pH 2.8
    2.8 and 11 ml  ml fractions
                      fractions were
                                   were collected. 100  100 µ1ul of
                                                                 of 1M1M Tris
                                                                          Tris          bodies were
                                                                                        bodies     were used
                                                                                                           used asas unpurified
                                                                                                                       unpurified supernatant
                                                                                                                                      supernatant fractions.
                                                                                                                                                      fractions. The
                                                                                                                                                                   The
pH
pH 9.0 were were added
                    added to  to each
                                   each fraction
                                          fraction forfor neutralization.
                                                            neutralization.
Fractions containing the IgG were identified by mixing 50>1
                                                                                        following experiments were done with two sets of                    of repre-
                                                                                                                                                                 repre
                                                                         50>1            sentative antibodies:
                                                                                        sentative     antibodies: 193/AD3
                                                                                                                       193/AD3 and and 198/AC1/1
                                                                                                                                         198/AC1/1 (IgG(IgG isotype,
                                                                                                                                                              isotype,
with
with 150
       150 µIul of
                of aa staining    solution (BioRad
                       staining solution     (BioRad concentrate,
                                                          concentrate, 1:5  1:5
diluted                                                                           355                       198/AC1/1 is a preparation from the parent
                                                                                        the antibody 198/AC1/1
diluted with
          with water)
                 water) in in wells
                               wells of aa microplate.
                                             microplate. Positive
                                                             Positive frac-
                                                                         frac     3
                                                                                        198/AC1
                                                                                         198/AC1 hybridoma
                                                                                                      hybridoma clone, clone, i.e.
                                                                                                                               i.e. that
                                                                                                                                    that aa (frozen)
                                                                                                                                             (frozen) vial
                                                                                                                                                        vial contain-
                                                                                                                                                              contain
tions were
       were pooled,
               pooled, concentrated
                          concentrated to 11 ml   ml in anan ultrafiltration
                                                              ultrafiltration           ing 198/AC1
                                                                                        ing   198/AC1 cellscells isis cultivated
                                                                                                                      cultivated and
                                                                                                                                   and antibodies
                                                                                                                                         antibodies areare produced.
                                                                                                                                                           produced.
concentrator device
concentrator     device (Centricon Plus   Plus 20,
                                                 20, Amicon)
                                                     Amicon) according                         Supernatant is then used for these experiments.) and
                                                                                        The supernatant
to the manufacturer. The concentrate was diluted with 19                19 ml           196/AF2
                                                                                         196/AF2 and  and 196/AF1
                                                                                                             196/AF1 (IgM  (IgM isotype)
                                                                                                                                   isotype) (FIG.
                                                                                                                                               (FIG. 6A6A and
                                                                                                                                                            and FIG.
                                                                                                                                                                  FIG.
TBS
TBS (20(20 mMmM Tris/C1
                     Tris/C1 buffer
                               buffer pHpH 7.07.0 containing
                                                    containing 150  150 mMmM      400          Briefly, 25
                                                                                        6B). Briefly,      25ulµl aliquots of of monoclonal antibody contain- contain
NaCl) and again
NaC1)            again concentrated
                           concentrated to   to 11 ml.ml. The diluting-
                                                                    diluting      4
                                                                                        ing sample (unpurified hybridoma supernatant       Supernatant or, where
concentrating step was repeated for two more times in order                             indicated, a certain amount of          of FIX specific antibody) were
to bring IgG into TBS.                                                                  transferred
                                                                                        transferred to   to microtiter
                                                                                                             microtiter plate
                                                                                                                           plate wells
                                                                                                                                   wells and
                                                                                                                                           and warmed
                                                                                                                                                warmed to   to 37°
                                                                                                                                                                37° C.
                                                                                                                                                                     C.
   Purification of Mouse-IgM from Hybridoma Cell Super                 Super-           Chromogenic substrate (S-2222), synthetic thrombin inhibi-              inhibi
natants
natants                                                                                 tor
                                                                                  45    tor (1-2581),
                                                                                             (I-2581), factor
                                                                                                            factor (F)(F) IXa
                                                                                                                           IXa and
                                                                                                                                 and FXFX were
                                                                                                                                            were reconstituted
                                                                                                                                                    reconstituted in in
   100–500 ml of hybridoma cell culture supernatant were
   100-500                                                                               sterile water
                                                                                        sterile   water and and FIXa/FX
                                                                                                                  FIXa/FX was   was mixed
                                                                                                                                      mixed with
                                                                                                                                               with phospholipids
                                                                                                                                                      phospholipids
concentrated to 5–10  5-10 ml either with an ultra-filtration con-        con           according to the supplier's protocol. Per reaction, 50 µl                 ul of
centrator
centrator device
             device (Centricon
                       (Centricon PlusPlus 20,
                                            20, Amicon)
                                                  Amicon) according
                                                               according to  to         the phospholipid/FIXa/FX solution were combined with 25
the manufacturer
     manufacturer or      or by
                              by ammonium
                                   ammonium Sulfate sulfate precipitation                ul CaCl2
                                                                                             CaCl (25  (25 mM)mM) and  and 5050 µlul ofof the
                                                                                                                                           the substrate/inhibitor
                                                                                                                                                 substrate/inhibitor
(40% saturation, 0°    0°C.)
                           C.) and redissolving the precipitate with              5     cocktail.
                                                                                        cocktail. To To start
                                                                                                           start the
                                                                                                                  the reaction,
                                                                                                                        reaction, 125125 µ1ul of
                                                                                                                                              of the
                                                                                                                                                  the premix
                                                                                                                                                        premix were
                                                                                                                                                                  were
                                                                                  500
5-10
5–10 mlml of   TBS. In
           of TBS.         either case
                       In either   case the
                                         the concentrate
                                              concentrate was was dialyzed
                                                                     dialyzed           added
                                                                                        added to the monoclonal antibody solution in
                                                                                                 to  the   monoclonal       antibody    solution   in the
                                                                                                                                                       the microtiter
                                                                                                                                                           microtiter
against 20 mM Tris Cl      C1 buffer pH 7.4 containing 1.25M   1.25MNaCl NaCl           plates
                                                                                        plates and
                                                                                                 and incubated
                                                                                                        incubated atat 37°37° C. C. Absorbance
                                                                                                                                    Absorbance at    at 405
                                                                                                                                                         405 nmnm and
                                                                                                                                                                   and
and
and further
      further concentrated to      to 11 nil
                                          ml inin aa Centricon Plus  Plus 20,           490
                                                                                        490 nmnm of of the
                                                                                                        the samples
                                                                                                              samples was was read
                                                                                                                                read at
                                                                                                                                      at various
                                                                                                                                          various times
                                                                                                                                                    times (5(5 min
                                                                                                                                                                mintoto
(Amicon) ultrafiltration
(Amicon)      ultrafiltration device.
                                 device. IgM
                                          IgM was was purified
                                                       purified fromfrom this
                                                                           this         66 h)
                                                                                           h) against
                                                                                              against aa reagent
                                                                                                            reagent blank
                                                                                                                        blank (cell
                                                                                                                                (cell culture
                                                                                                                                      culture medium
                                                                                                                                                medium instead
                                                                                                                                                           instead ofof
concentrate with the Immunopure IgM Purification Kit                              5                       Supernatant) in a Labsystems iEMS Reader
                                                                                        hybridoma supernatant)
                                                                                  555
(Pierce)   according to
(Pierce) according        to the
                              the manufacturer.
                                   manufacturer. Fractions
                                                      Fractions collected
                                                                    collected           MFTM
                                                                                        MFTM microtiter
                                                                                                  microtiter plate
                                                                                                                plate reader
                                                                                                                         reader using
                                                                                                                                  using GENESISTM
                                                                                                                                          GENESISTM software.
                                                                                                                                                           software.
during elution from the maltose binding protein-column                                      The
were tested for IgM, pooled, concentrated and brought into
                                                                                            The time
                                                                                                  time course
                                                                                                         course of of FVIII-like
                                                                                                                       FVIII-like activity     exhibited by
                                                                                                                                     activity exhibited    by mono-
                                                                                                                                                                mono
                                                                                        clonal antibodies
                                                                                        clonal   antibodies 193/AD3
                                                                                                                 193/AD3 (IgG (IgG isotype)
                                                                                                                                     isotype) and
                                                                                                                                                and 196/AF2
                                                                                                                                                      196/AF2 (IgM(IgM
TBS as described
           described for IgG. IgG.                                                      isotype) compared to human FVIII (12 and 16 mu/ml), TBS
                                                                                        isotype)    compared      to   human    FVIII   (12  and   16  mlI/m1),   TBS
   Determination
   Determination of     of IgG
                            IgG Concentrations
                                  Concentrations in    in Purified
                                                           Purified Prepa-
                                                                       Prepa      600   and
                                                                                        and toto cell
                                                                                                 cell culture
                                                                                                        culture medium
                                                                                                                  medium isis shown
                                                                                                                                  shown in in FIG.
                                                                                                                                              FIG. 6A.
                                                                                                                                                     6A. After
                                                                                                                                                          After aa lag
                                                                                                                                                                    lag
rations                                                                                 phase, both antibodies give rise to chromogenic substrate            Substrate
   Total IgG
           IgG content 280  280 nm-extinction
                                  nm-extinction of appropriate dilu-     dilu           cleavage, as judged by the increasing optical density mea-                mea
tions were measured. E280-1.4   E280=1.4 corresponds to 11 mg/ml                         Surable at 405 mu
                                                                                        surable               nm wavelength.
protein.                                                                                    The
                                                                                            The time
                                                                                                  time course
                                                                                                         course of of FVIII-like
                                                                                                                       FVIII-like activity
                                                                                                                                     activity exhibited by by mono-
                                                                                                                                                                mono
   Factor IXa
   Factor    IXa Specific
                   Specific IgGIgG (Quantitative
                                     (Quantitative ELISA)
                                                       ELISA)                     65    clonal antibodies
                                                                                        clonal    antibodies 198/AC1/1
                                                                                                                  198/AC1/1 (IgG  (IgG isotype,
                                                                                                                                          isotype, 10 10 µg/ml)
                                                                                                                                                          ug/ml) and
                                                                                                                                                                   and
   Wells of a microplate (Nunc Maxisorp) were incubated                                  196/AF1 (IgM isotype, unpurified supematant)
                                                                                        196/AF1                                         supernatant) compared to
with
with 22 µg/m1
          g/ml factor
                  factor IXa
                          IXa diluted
                                diluted in  TBS (25
                                         in TBS     (25 mM     Tris/HCl pH
                                                        mM Tris/HCl         pH          human
                                                                                        human FVIIIFVIII (16 (16 mU/m1)
                                                                                                                  ml J/ml) andand 10 10 µg/m1
                                                                                                                                         ug/ml of of mouse
                                                                                                                                                      mouse IgG IgG isis




                                                                       Appx147
                                                                       Appx147
          Case: 22-1461                            Document: 25                              Page: 135                  Filed: 11/04/2022




                                                                  US 7,033,590 B1
                                    15
                                    15                                                                                      16
                                                                                                                            16
shown in FIG. 6B. After a lag phase, both antibodies give                                               198/AM1 generates factor Xa as judged by the
                                                                                          antibody 198/AM1
rise to chromogenic substrate
                     Substrate cleavage, as judged by the                                 readily measurable cleavage of       of the chromogenic substrate
                                                                                                                                                        Substrate
increasing optical density measurable at 405 nm wave-
                                                   wave                                   S-2222 (FIG. 7B). Again factor VIII and antibody 198/AM1      198/AM1
length.                                                                                   generate FXa which is effectively blocked by the FXa
                                Example 5
                                                                                  5                               “Pefabloc Xa®".
                                                                                          specific inhibitor "Pefabloc        XaR'. As a negative control,
                                                                                                         mouse IgG (Sigma, 15381)
                                                                                          unspecific mouse                       15381) was assayed.
                                       Anti-FIX/FIXa
      FVIII-like Activity Exhibited by Anti-FIX/FIXa-                                        In another set of    of experiments, the dependence of        of the
           antibodies Generates Factor Xa and is                                          FVIII-like activity of      of either purified anti-FIX/FIXa-
                                                                                                                                               anti-FIX/FIXa
         Phospholipid, FIXa/FX and Cat Dependent
       Phospholipid, FIXa/FX and Cat" Dependent                                           antibodies (IgM, FIG. 8A) or of           of unpurified antibodies
                                                                                  to
                                                                                  10      derived from cell culture supernatants (IgG, FIG. 8B) on the
   Factor VIII activity is usually determined with a chro                chro-
mogenic assay and/or an APTT-based clotting assay. Both                                   presence of phospholipids (PL), FIXa/FX and Ca" was
                                                                                          presence of phospholipids (PL), FIXa/FX and Ca' was
                                                                                          demonstrated.
                                                                                          demonstrated. Mouse Mouse IgG
                                                                                                                      IgG was
                                                                                                                            was used
                                                                                                                                 used as
                                                                                                                                       as aa control
                                                                                                                                             control (FIG.
                                                                                                                                                      (FIG. 8C).
                                                                                                                                                              8C).
types of assays rely on FVIIIa/FIXa-mediated factor Xa                                    Factor VIII-like activity was assayed essentially as
generation. In the case of a chromogenic FVIII assay, the
                                                                                          described above. When indicated, either the FIXa/FX
factor Xa produced will subsequently react with a chro-                  chro     1
mogenic substrate,
mogenic          substrate, which     which can  can be  be monitored
                                                              monitored
                                                                                  155     mixture, the PL or Ca'     Ca" was omitted from the reaction.
spectroscopically, e.g., in an ELISA reader. In an APTT                                   Absorbency at 405 nm and 490 nm         nm of
                                                                                                                                      of the samples was read
based clotting assay free factor Xa will assemble with FVa                                    various times against a reagent blank (buffer instead of
                                                                                          at various
on a phospholipid Surface  surface in the so-called prothrombinase                        purified antibody) in a Labsystems iEMS Reader MFTM
complex and activate prothrombin to thrombin. Thrombin in                         2
                                                                                          microtiter
                                                                                          microtiter plate reader.
                                                                                                                reader. The results
                                                                                                                              results are
                                                                                                                                      are shown
                                                                                                                                            shown inin FIG.
                                                                                                                                                        FIG. 8A,
                                                                                                                                                               8A,
                                                                                      0   FIG. 8B and FIG. 8C.
turn gives rise to fibrin generation and finally to clot for               for-
mation. Central to the two assay systems is generation of                                    The dependence of       of the FVIII-like activity of   of purified
factor Xa by the FVIIIa/FIXa complex.                                                                               198/AC1/1 (IgG isotype, concentration
                                                                                          anti-FIXa-antibody 198/AC1/1
   To demonstrate
        demonstrate that  that the
                                 the FVIII-like
                                       FVIII-like activity
                                                    activity exhibited
                                                              exhibited by   by           used throughout the assay was 10       10 µg/m1)
                                                                                                                                    ug/ml) on the presence of
anti-FIX/FIXa-antibodies indeed
anti-FIX/FIXa-antibodies             indeed generates
                                               generates factor
                                                            factor Xa, the  the   25
                                                                                  25
                                                                                          phospholipids (PL), FIXa/FX and Ca" is further shown in
                                                                                          phospholipids (PL), FIXa/FX and Ca2+ is further shown in
following experiment was carried out. Several 25                 Jul aliquots
                                                             25111                        FIG. 8A. As  AS is easily recognizable, only the complete assay,
of unpurified hybridoma supematantsupernatant 196/AF2
                                                  196/AF2 (IgM isotype)                   including antibody, PL, Ca", and FIXa/FX gives rise to a
                                                                                          including antibody, PL, Ca24', and FIXa/FX gives rise to a
were
were transferred
       transferred to  to microtiter
                           microtiter plate wells
                                                wells and warmed
                                                            warmed to   to 37°
                                                                           37             reasonable FXa generation. The dependence of             of the FVIII-
                                                                                                                                                           FVIII
C. As
C.  As aa positive control,
                          control, 16mU16mU of of RecombinateTM
                                                    RecombinateTM were   were                                              Supernatant containing unpurified
                                                                                          like activity of cell culture supernatant
diluted into hybridoma medium (196 HM 007/99) and                                 3
                                                                                  300
                                                                                          IgM isotype anti-FIX/FIXa-antibody (196/AF1) on the pres-          pres
treated exactly the same way as the hybridoma supernatant.     Supernatant.               ence of
                                                                                          ence  of phospholipids,
                                                                                                     phospholipids, FIXa/FX
                                                                                                                        FIXa/FX andand Ca2'
                                                                                                                                        Ca" isis shown
                                                                                                                                                 shown inin FIG.
                                                                                                                                                             FIG.
As a negative control, plain hybridoma medium was used.                                   8B.
Chromogenic substrate (S-2222), synthetic thrombin inhibi-             inhibi                Again, as already shown for the purified IgG preparation
tor (I-2581),
    (I-2581), factor
                 factor IXaIXa and
                                 and FX FX were
                                            were reconstituted
                                                   reconstituted in in sterile
                                                                       sterile                                        198/AC1/1, only the complete assay,
                                                                                          (FIG. 8A), antibody 198/AC1/1,
water
water and FIXa/FX
               FIXa/FX was   was mixed
                                   mixed with
                                            with phospholipids accordaccord-      355     including PL, Ca", FIXa/FX, will give areasonable amount
                                                                                          including PL, Ca2", FIXa/FX, will give a reasonable amount
ing to the supplier's protocol. Pefabloc XaR),          Xa®, a factor Xa                  of FXa generation. To demonstrate the specificity of             of the
specific proteinase inhibitor (Pentapharm, LTD), was recon-            recon              reaction, total
                                                                                          reaction,    total IgG
                                                                                                             IgG prepared
                                                                                                                  prepared from
                                                                                                                             from normal
                                                                                                                                   normal mouse
                                                                                                                                             mouse plasma
                                                                                                                                                     plasma waswas
stituted with water to a final concentration of 11 mM/1. Per                              assayed
                                                                                          assayed under
                                                                                                      under the
                                                                                                              the same
                                                                                                                  same conditions
                                                                                                                         conditions as
                                                                                                                                     as above.
                                                                                                                                        above. The
                                                                                                                                                 The results
                                                                                                                                                       results are
                                                                                                                                                                are
reaction, 5011 of the phospholipid/FIXa/FX solution were                                  shown
                                                                                          shown in in FIG.
                                                                                                        FIG. 8C.
                                                                                                              8C. No
                                                                                                                   No FVIII-like
                                                                                                                       FVIII-like activity
                                                                                                                                   activity could
                                                                                                                                             could be
                                                                                                                                                    be detected.
                                                                                                                                                        detected.
combined
combined with  with 25 25 µIul CaC1,
                                 CaCl (25 (25 mM)mM) andand 5050 µlul of
                                                                       of the
                                                                            the   40
                                                                                  40      There is,
                                                                                          There   is, as
                                                                                                       as expected,
                                                                                                           expected, nono activity
                                                                                                                           activity detectable
                                                                                                                                    detectable inin the
                                                                                                                                                    the absence
                                                                                                                                                         absence
substrate/thrombin-inhibitor
substrate/thrombin-inhibitor cocktail.  cocktail. ToTo start
                                                        start the
                                                              the reaction,
                                                                    reaction,             of phospholipids,
                                                                                          of phospholipids, FIXa/FX
                                                                                                                  FIXa/FX andand Ca'.
                                                                                                                                  Ca". All
                                                                                                                                         All experiments
                                                                                                                                              experiments were
                                                                                                                                                             were
125 ul of the premix were added to the samples in the
125   µl   of  the   premix      were    added    to  the  samples     in   the           done in
                                                                                          done   in aa microtiter
                                                                                                        microtiter plate  and the
                                                                                                                    plate and  the OD405
                                                                                                                                   OD405 was was scanned
                                                                                                                                                  scanned every
                                                                                                                                                            every
microtiter
microtiter plates
              plates and
                      and incubated
                             incubated at at 37°
                                             37° C. Where
                                                     Where indicated,
                                                              indicated, 35               5 minutes for 6 h.
uM Pefabloc
      Pefabloc Xa® XaR) were
                           were added.
                                   added. Absorbance
                                            Absorbance at   at 405 nmnm and                                            Example 6
490 nm
490   nm waswas read
                  read atat various
                             various times      (every 55 minutes
                                        times (every       minutes to to 66 h)
                                                                             h)   45
                                                                                  45
against aa reagent
against       reagent blank
                          blank (cell      culture medium)
                                    (cell culture    medium) in   in aa Lab-
                                                                          Lab
systems iEMS
systems     iEMS Reader
                    Reader MFTM microtiter
                                        microtiter plate reader
                                                           reader employ
                                                                    employ-                    Certain anti-FIX/FIXa-antibodies
                                                                                               Certain anti-FIX/FIXa-antibodies are
                                                                                                                                  are procoagulant
                                                                                                                                      procoagulant
ing
ing the
     the GENESISTM
           GENESISTM software.software.                                                                                      of FIXa
                                                                                                             in the presence of
   The results
   The    results of
                   of the
                       the factor
                            factor IXaIXa stimulation
                                           stimulation byby the
                                                             the FVIII-like
                                                                  FVIII-like             During
                                                                                         During normal
                                                                                                   normal hemostasis,
                                                                                                             hemostasis, FIXFIX becomes
                                                                                                                                  becomes initially
                                                                                                                                              initially acti-
                                                                                                                                                         acti
activity exhibited by the IgM anti FIX/FIXa-antibody 196/                 196/    5n
                                                                                  50  vated
                                                                                      vated either
                                                                                             either by
                                                                                                     by the
                                                                                                         the tissue
                                                                                                              tissue factor
                                                                                                                     factor (TF)/factor
                                                                                                                             (TF)/factor VIIa
                                                                                                                                           VIIa pathway or  or
AF2 in generating actor Xa as judged by the readily mea-                 mea          later on
                                                                                      later  on by
                                                                                                 by activated
                                                                                                     activated factor
                                                                                                                  factor XI
                                                                                                                          XI (FXIa).
                                                                                                                               (FXIa). Subsequent
                                                                                                                                        Subsequent to  to its
                                                                                                                                                            its
Surable cleavage of the chromogenic substrate S-2222
surable                                                                               activation,
                                                                                      activation, FIXa
                                                                                                    FIXa associates
                                                                                                             associates onon the
                                                                                                                               the platelet
                                                                                                                                    platelet surface
                                                                                                                                               Surface inin aa
(compare
(compare "16  “16 mUmu, FVIII"
                          FVIII and  and "196/AF2")
                                          “196/AF2') isis shown
                                                            shown in  in FIG.
                                                                          FIG.        membrane
                                                                                      membrane bound
                                                                                                   bound complex
                                                                                                            complex withwith activated
                                                                                                                              activated FVIII.
                                                                                                                                         FVIII. Factor
                                                                                                                                                 Factor IXa
                                                                                                                                                          IXa
7A. Factor Xa activity is effectively blocked by the FXa                                  itself has little or no enzymatic activity towards FX, but
                                                                                      by itself
                          “Pefabloc Xa®"
specific inhibitor "Pefabloc              XaR” (compare "196/AF2"
                                                                “196/AF2'         5
                                                                                      becomes highly
                                                                                  555 becomes     highly active
                                                                                                           active in
                                                                                                                   in the
                                                                                                                      the presence
                                                                                                                           presence ofof FVIIIa.
                                                                                                                                          FVIIIa. To
                                                                                                                                                   To dem-
                                                                                                                                                        dem
versus "196/AF2
           “196/AF2 351M  351M Pefabloc
                                     Pefabloc Xa®")
                                                  XaR”) indicating
                                                           indicating that that       onstrate that certain anti-FIX/FIXa antibodies have FVIII-      FVIII
indeed FXa was generated.                                                             like activity
                                                                                      like activity and
                                                                                                     and hence
                                                                                                          hence are
                                                                                                                  are procoagulant
                                                                                                                       procoagulant in in aa FVIII
                                                                                                                                             FVIII deficient
                                                                                                                                                    deficient
   The same experiment was performed using purified IgG                               human plasma, the following experiment was carried out.
preparations of
preparations     of clone
                     clone 198/AM1
                              198/AM1 (FIG.        7B). Purified
                                            (FIG. 7B).   Purified IgG
                                                                    IgG waswas        Different
                                                                                      Different amounts
                                                                                                  amounts of of antibody
                                                                                                                antibody 193/AD3
                                                                                                                            193/AD3 or or mouse
                                                                                                                                           mouse IgG
                                                                                                                                                   IgG (as
                                                                                                                                                        (as aa
diluted
diluted in in TBS to to aa final concentration
                                  concentration of 0,4  0.4 mg/ml
                                                             mg/ml and 25         6o control)
                                                                                  60  control) were
                                                                                                 were used
                                                                                                         used inin aa standard
                                                                                                                      standard aPTT
                                                                                                                                  aPTT based
                                                                                                                                          based one
                                                                                                                                                  one stage
                                                                                                                                                        stage
µ1
ul (i.e.
   (i.e. aa total
            total of 1010 µg),
                            ug), transferred
                                  transferred to to microtiter
                                                    microtiter plate
                                                                plate wells
                                                                         wells        clotting assay. Briefly, 100    100 µl ul of
                                                                                                                                 of antibody-containing
and warmed
and   warmed to   to 37°
                      37° C.C. As
                                As aa positive
                                        positive control,
                                                   control, 66 mU
                                                                mU plasma
                                                                      plasma          samples
                                                                                      samples were
                                                                                                 were incubated
                                                                                                         incubated withwith 100
                                                                                                                              100 µlul of
                                                                                                                                       of FVIII
                                                                                                                                            FVIII deficient
                                                                                                                                                    deficient
derived FVIII was used. 10 µg               ug unspecific mouse IgG                   plasma (DP)
                                                                                      plasma   (DP) and
                                                                                                      and with
                                                                                                           with 100
                                                                                                                 100 µ1
                                                                                                                      ul of
                                                                                                                         of DAPTTIN
                                                                                                                            DAPTTIN (PTT (PTT Reagent
                                                                                                                                                Reagent forfor
(Sigma, I-5381) served as a negative control. The assay was                           determining activated Thromboplastin Time;        Time: IMMUNO
performed as described above.                                                     65 AG) reagent, in a KC10A clotting analyzer. Where
   Further experiments
   Further     experiments show  show thethe factor    IXa stimulation
                                              factor IXa    stimulation by   by       indicated,
                                                                                      indicated, aa total
                                                                                                       total amount
                                                                                                               amount of of 50
                                                                                                                             50 ngng activated
                                                                                                                                      activated FIXFIX waswas
the  FVIII-like activity
the FVIII-like      activity exhibited
                                exhibited by     the IgG
                                             by the   IgG anti-FIX/FIXa-
                                                           anti-FIX/FIXa              included in the reaction mixture. After a 4 minute




                                                                       Appx148
                                                                       Appx148
          Case: 22-1461                            Document: 25                        Page: 136                    Filed: 11/04/2022




                                                                 US 7,033,590 B1
                                                                              B1
                                    17
                                    17                                                                                  18
                                                                                                                        18
incubation,
incubation, the
            the reaction
                reaction was
                         was started
                              started by
                                      by the
                                         the addition of 100
                                                          100 µ1
                                                              ul                                                   Example 8
CaCl2
CaCl (25
       (25 mM).
           mM). The results
                       results are shown
                                   shown in   Table 11 and
                                           in Table    and FIG.
                                                           FIG.
9.                                                                                       Anti-FIX/FIXa-antibodies are Procoagulant in the
                                                                                              Presence of
                                                                                                       of Defective FVIII and FIXa
                                                                                5
                                                                                      To demonstrate that certain anti-FIXa-antibodies have
                             clotting time (see
                             clotting      (sec)
                                                                                   FVIII-like activity in the presence of           of defective FVIII, the
                                                                                  following experiment may be carried out. Increasing
                                  193 AD3
                                  193/AD3               mouse IgG                  amounts of
                                                                                  amounts      of antibody
                                                                                                   antibody 193/AD3
                                                                                                                193/AD3 or,  or, as
                                                                                                                                  as aa control,
                                                                                                                                         control, mouse
                                                                                                                                                     mouse IgGIgG
            ug AB
            µg                          FIXa
                                 50 ng FLU              50 ngFIXa                 are used in a standard aPTT-based one stage clotting assay.
                                                                               10
             9                      101.6                  102.5                  In this clotting assay, a hemophilia A patient's plasma
             4.5                     95.6                  103.2                  having very low clotting activity due to the presence of
             2.25                    93.1                  103.2
             1.8                     93.7                  101.9
                                                           101.9
                                                                                  defective FVIII (DF8) is used. Briefly, 100                100 µIul antibody
             1.35                    91.4                  103.4
                                                           103.4
                                                                                  samples are incubated with either 100           100 µIul of
                                                                                                                                            of DF8 plasma or
             O.9
             0.9                     94.4                  102.2
                                                                               15
                                                                                   FVIII deficient
                                                                                   FVIII  deficient plasma
                                                                                                        plasma as as well
                                                                                                                      well as
                                                                                                                            as with
                                                                                                                                 with 100
                                                                                                                                       100 µ1 ul of
                                                                                                                                                 of DAPTTIN
                                                                                                                                                      DAPTTIN
             0.45
             O45                     98.1                  101.9
                                                           101.9                  reagent, in a KC10A clotting analyzer. In addition, a total
             0.34
             O.34                    97.1                  103.9
                                                           103.9                  amount
             0.23
             O.23                    99.3                  103.7
                                                           103.7
                                                                                   amount of of 5050 ng
                                                                                                      ng activated
                                                                                                           activated FIXa
                                                                                                                       FIXa isis included
                                                                                                                                   included in  in the
                                                                                                                                                    the reaction
                                                                                                                                                         reaction
                                                                                  mixture.
                                                                                   mixture. After a short incubation, the reaction will be started
                                                                                  by the
                                                                                  by   the addition
                                                                                           addition of  of 100
                                                                                                             100 µlul CaCl2
                                                                                                                      CaCl (25 (25 mM).
                                                                                                                                     mM). To ensureensure equal
                                                                                                                                                            equal
Table 1:1: Clotting times of FVIII deficient plasma in an APTT conditions, the experiment employing FVIII deficient
based clotting assay employing various amounts of proco              proco- 20 plasma and DF8 plasma is done side by side.
agulant (193/AD3) and control antibody (mouse IgG) in the
presence of 50 ng activated FIX (0.01UFIX).   (0.01 UFIX). The molar                                                Example 9
ratio of
ratio  of antibody
           antibody in the the reaction
                                 reaction and
                                            and activated
                                                 activated FIXFIX isis 10:1.
                                                                       10:1.               Anti-FIX/FIXa-antibodies with Procoagulant
The   molar ratio
The molar       ratio between
                       between antibody
                                   antibody and      total FIX
                                               and total    FIX (FIX
                                                                  (FIX and
                                                                         and
                                                                                           Activity in the Presence of        of FIXa Distinguish
FIXa, assuming that human FVIII deficient plasma contains 25                   25
                                                                                                   Between Human and Bovine FIXa
1 U (5% g) FIX) varies between 6:1 (9% g antibody in
1
reaction) and
reaction)    and 1:61:6 (0.23%
                         (0.23% g antibody in       in reaction).
                                                        reaction). AtAt the
                                                                          the         FIX/FIXa
                                                                                      FIX/FIXa specific
                                                                                                    specific monoclonal
                                                                                                                monoclonal antibodies
                                                                                                                                  antibodies selected
                                                                                                                                                 selected from
                                                                                                                                                            from
optimal shortening of the clotting time, the molar ratio                            the 198" fusion experiment were purified from the respec
                                                                                  the 198th fusion experiment were purified from the respec-
between antibody and total FIX is 1:1. The clotting time                                                 Supernatant and quantified as described in
                                                                                  tive hybridoma supernatant
                                                                               30
without the
without    the addition
                addition ofof FIXa
                               FIXa isis in the
                                             the range
                                                 range ofof 120
                                                             120 seconds.
                                                                   seconds. 30     Example 3. These antibodies were analyzed in a modified
   FIG. 9 is a graphical representation of the clotting times                     one-stage clotting assay (as described in Example 6) and
of FVIII deficient plasma in an aPTT based clotting assay                          Some showed procoagulant activity.
                                                                                  some
employing various amounts of procoagulant (193/AD3) and                               The chromogenic activity of these antibody preparations
control (mouse IgG) antibody in the presence of 50 ng
                                                                                        measured in the following FXa generation kinetic assay:
                                                                               35 was measured
activated FIX.
activated    FIX. There is  is aa clear
                                  clear dose-dependent
                                          dose-dependent reduction
                                                              reduction of of 35 10µg
                                                                                   10  ug of monoclonal
                                                                                          of  monoclonal antibody
                                                                                                               antibody (in(in 2525 µ1)
                                                                                                                                     ul) were
                                                                                                                                          were transferred
                                                                                                                                                  transferred toto
the clotting time in samples supplementedSupplemented with antibody microtiter plate wells and warmed to 37° C. Chromogenic
193/AD3. These results imply that antibody 193/AD3            193/AD3 is substrate
procoagulant in the presence of FIXa.
                                                                                   substrate (S-2222),
                                                                                                (S-2222), synthetic
                                                                                                              synthetic thrombin
                                                                                                                           thrombin inhibitor
                                                                                                                                          inhibitor (I-2581),
                                                                                                                                                        (I-2581),
                                                                                  factor IXa and FX were reconstituted in sterile water and
                                 Example 7                                         FIXa/FX (both
                                                                               40 FIXa/FX        (both bovine)
                                                                                                          bovine) werewere mixed
                                                                                                                              mixed with with phospholipids
                                                                                                                                                 phospholipids
                                                                                  according to the supplier's protocol. Per reaction, 50 µI                  ul of
                                                                                  the phospholipid/FIXa/FX solution were combined with 25
      Anti-FIX/FIXa-antibodies are Procoagulant
     Anti-FIX/FIXa-antibodies                 Procoagulant in   in the
                                                                    the           µ1
                                                                                   ul CaCl2
                                                                                       CaCl (25  (25 mM)
                                                                                                       mM) and and 50 50 µIul ofof the
                                                                                                                                     the substrate/inhibitor
                                                                                                                                           substrate/inhibitor
              Presence of FVIII Inhibitors and FIXa
                                                                                  cocktail.
                                                                                   cocktail. ToTo start
                                                                                                    start the
                                                                                                            the reaction,
                                                                                                                reaction, 125 125 µIul of
                                                                                                                                        of the
                                                                                                                                             the premix
                                                                                                                                                  premix werewere
   A
   A severe     complication of
      severe complication         of the
                                       the standard
                                           standard FVIII
                                                       FVIII substitution
                                                               substitution 45 45 added
                                                                                   added toto the
                                                                                               the monoclonal
                                                                                                    monoclonal antibody
                                                                                                                     antibody solution
                                                                                                                                  solution in in the
                                                                                                                                                 the microtiter
                                                                                                                                                       microtiter
therapy is the development of alloantibodies directed against plates               plates and
                                                                                           and incubated
                                                                                                  incubated atat 37°37° C.
                                                                                                                         C. Absorbance
                                                                                                                             Absorbance at     at 405
                                                                                                                                                   405 nmnm and
                                                                                                                                                              and
FVIII,
FVIII, leading
         leading to to FVIII
                       FVIII neutralization
                               neutralization and aa condition where  where 490    490 nmnm of
                                                                                             of the
                                                                                                  the samples
                                                                                                       samples was was read
                                                                                                                        read at at various
                                                                                                                                    various times
                                                                                                                                               times (5(5 min
                                                                                                                                                           mintoto
the patient's
    patient’s blood will  will not
                                 not clot.                                        22 h)
                                                                                     h) against
                                                                                         against aa reagent
                                                                                                      reagent blank
                                                                                                                 blank (25(25 mlml TBS
                                                                                                                                     TBS instead
                                                                                                                                             instead ofof mono-
                                                                                                                                                           mono
   To demonstrate that certain anti-FIXa-antibodies have                           clonal antibodies)
                                                                                  clonal    antibodies) in   in aa Labsystems
                                                                                                                     Labsystems iEMS  iEMS Reader
                                                                                                                                                Reader MFTMMFTM
FVIII-like activity even in the presence of FVIII inhibitors, 50               50 microtiter
                                                                                   microtiter plate
                                                                                                  plate reader
                                                                                                           reader using
                                                                                                                     using GENESISTM
                                                                                                                              GENESISTM software. software. In  In
                                                                                  parallel, the same reactions were performed except that 50
the following experiment was carried out. Different amounts ng
of antibody 193/AD3
of antibody      193/AD3 or,      as aa control,
                             or, as     control, mouse
                                                  mouse IgGIgG were
                                                                 were used
                                                                        used that  ng human
                                                                                       human FIXa FIXa were
                                                                                                         were added
                                                                                                                added perper reaction.
                                                                                                                               reaction. Those antibodies
                                                                                                                                                      antibodies
in a standard APTT based one-stage clotting assay. Briefly,                              showed procoagulant activity had no chromogenic
100 µIul antibody samples were incubated with either 100
100                                                                        ul activity
                                                                      100 µI                  in the case of    of bovine FIX, but displayed high
of
of FVIII
    FVIII deficient
              deficient plasma (FIG. 10A)     10A) or or FVIII
                                                          FVIII inhibitor
                                                                   inhibitor 5555 activity when human FIXa was present.
plasma
plasma (inhibitor
          (inhibitor potency 400 BU/ml), BU/ml), FIG.
                                                    FIG. 10B)
                                                          10B) as well
                                                                     well as          FIG.
                                                                                      FIG. 1111 shows
                                                                                                  shows thethe time
                                                                                                                time course
                                                                                                                       course of of the
                                                                                                                                     the FVIII-like
                                                                                                                                           FVIII-like activity
                                                                                                                                                         activity
with 100
with   100 µ1  ul of
                   of DAPTTIN
                       DAPTTIN reagent,reagent, in
                                                 in aa KC10A
                                                         KC10A clotting
                                                                    clotting      exhibited
                                                                                   exhibited by by the
                                                                                                    the monoclonal
                                                                                                         monoclonal antibodies
                                                                                                                         antibodies 198/A1,
                                                                                                                                         198/A1, 198/B1
                                                                                                                                                     198/B1 and
                                                                                                                                                              and
analyzer. In
analyzer.    In addition,
                 addition, a total
                              total amount
                                      amount of 50 ng  ng activated    FIXa 198/AP1
                                                           activated FIXa          198/AP1 withwith (+)
                                                                                                      (+) and
                                                                                                            and without
                                                                                                                 without (-)(-) addition
                                                                                                                                  addition of of 50
                                                                                                                                                  50 ng
                                                                                                                                                      ng human
                                                                                                                                                          human
was included in the reaction mixture. After a 4 minute                             FIXaf3. Non-specific polyclonal mouse IgG was used as a
                                                                                   FIXaIl.
incubation,
incubation, the the reaction
                     reaction was
                                was started
                                      started by
                                              by the
                                                  the addition of 100 100 µIul 60 control.     198/A1 and 198/B1
                                                                                              198/Al             198/B1 show procoagulant activity
CaCl (25
CaCl2    (25 mM).
              mM). To    ensure equal
                      To ensure    equal conditions,
                                           conditions, the
                                                         the experiments
                                                              experiments         (similar
                                                                                   (similar as
                                                                                             as 193/AD3
                                                                                                   193/AD3 in  in example
                                                                                                                    example 6)  6) whereas
                                                                                                                                    whereas 198/AP1
                                                                                                                                                 198/AP1 doesdoes
employing FVIII deficient plasma and FVIII inhibitor                                                  198/BB1 had the same activity pattern (data
                                                                                  not. Antibody 198/BB1
plasma
plasma werewere done
                   done side
                          side by side.
                                      side. The results
                                                   results are    shown in not
                                                            are shown              not shown).
                                                                                        shown).
FIGS. 10A
FIGS.    10A andand 10B.
                      10B. As
                            As already
                                 already shown in    in Example
                                                        Example 6,  6, there
                                                                       there          Further monoclonal antibodies selected from the 198                   198"th
is a clear dose-dependent reduction of the clotting time in 65 fusion              fusion experiment
                                                                                           experiment include
                                                                                                            include 198/DI
                                                                                                                      198/Dl (ECACC
                                                                                                                                (ECACCNO.           99121616),
                                                                                                                                              NO. 99121616),
samples supplemented with antibody 193/AD3 in the pres-                pres 198/T2 198/T2 (ECACC
                                                                                               (ECACC No.     No. 99121617),
                                                                                                                      99121617), 198/G2   198/G2 (ECACC(ECACC
ence of FVIII inhibitors.                                                         No.9912118),
                                                                                   No. 9912118), 198/U2
                                                                                                      198/U2 (ECACC
                                                                                                                 (ECACC No.    No. 99121620).
                                                                                                                                     99121620).




                                                                      Appx149
                                                                      Appx149
          Case: 22-1461                          Document: 25                           Page: 137                  Filed: 11/04/2022




                                                                US 7,033,590 B1
                                   19
                                   19                                                                                  20
                                      10
                              Example 10                                             light chain variable region. The protein sequence of the
                                                                                                                                       DGGHGYGSS
                                                                                     CDR3 of the heavy chain has the sequence DGGHGYGSS-
     Structure and Procoagulant Activity of Antibody                                 FDY (SEQ
                                                                                     FDY    (SEQ ID ID NO:6),
                                                                                                         NO:6), and
                                                                                                                 and isis given
                                                                                                                          given in
                                                                                                                                 in bold
                                                                                                                                     bold letters.
                                                                                                                                            letters. The
         Derivatives Derived from Anti-FIX/FIXa-
                                  Anti-FIX/FIXa                                      artificial linker
                                                                                     artificial  linker sequence
                                                                                                          sequence (G4SGGRASG4S;
                                                                                                                     (GSGGRASGS: SEQ           SEQ ID  ID
    antibodies; Subcloning Antibody Variable Domains                            5    NO:111)
                                                                                     NO:111) isis shown.
                                                                                                   shown.
                                  193/AD3, 193/K2,
      from Hybridoma Cell Lines 193/AD3,    193/K2,                                              16, the DNA and the deduced protein sequence of
                                                                                        In FIG. 16,
             198/Al
             198/A1 and
                     and 19881
                         198/B1 (Clone AB2)
                                        AB2)                                         the scFv derived from the hybridoma cell line 198/AB2     198/AB2
   Cloning procedure: Messenger RNA was prepared from                                                           198/B1) are depicted. Nucleotides 11
                                                                                     (derived from antibody 198/B1)
1x10 hybridoma cells of the respective cell line (either
1x10-6                                                                               to
                                                                                     to 366
                                                                                        366 code
                                                                                             code for
                                                                                                   for the
                                                                                                       the heavy
                                                                                                           heavy chain
                                                                                                                 chain variable
                                                                                                                         variable domain,
                                                                                                                                  domain, nucleotides
                                                                                                                                            nucleotides
                                                                                10   367 to 411 code for the artificial flexible linker, and nucle-
193/AD3,
193/AD3, 193/K2,
               193/K2, 198/Al
                          198/A1 or or 19881
                                        198/B1 (clone
                                                  (clone AB2))     employ-
                                                           AB2)) employ                                                                            nucle
             “QickPrep (R) Micro mRNA Purification Kit"
ing the "QickPrep®                                                     Kit'                  412–747 code for the light chain variable
                                                                                     otides 412-747                               variable region. The
(Pharmacia) according to the
(Pharmacia)                         the manufacturer's
                                          manufacturers instructions.
                                                              instructions.          protein sequence of the CDR3 region of    of the heavy chain has
The corresponding cDNA was produced by retro transcrip-          transcrip           the sequence
                                                                                     the  sequence EGGGFTVNWYFDV
                                                                                                     EGGGFTVNWYFDV (SEQ        (SEQ IDID NO:7)
                                                                                                                                          NO:7) andand isis
tion ofof mRNA using the "Ready-To-Go-You-Prime-First-
                                    “Ready-To-Go-You-Prime-First                     given in bold letters. The artificial linker sequence
                                                                                15   (G4SGGRASG4S;
Strand Beads kit"  kit' (Pharmacia)
                          (Pharinacia) according to the manufac-  manufac            (GSGGRASGS: SEQ       SEQ IDID NO:111)
                                                                                                                    NO:111) isis also
                                                                                                                                  also shown.
                                                                                                                                        shown.
turers
turer's instructions. Heavy and light chain encoding                                             17, the DNA and the deduced protein sequence of
                                                                                        In FIG. 17,
sequences were converted to the corresponding cDNA                                   the scFv
                                                                                     the  scFv derived
                                                                                                derived from
                                                                                                          from the
                                                                                                               the hybridoma
                                                                                                                   hybridoma cellcell line
                                                                                                                                       line 198/Al
                                                                                                                                             198/A1 are
                                                                                                                                                      are
employing a set of primers. To reverse transcribe heavy                              depicted. Nucleotides 11 to 366 code for the heavy chain
chain-specific mRNA (VH), an equimolar mixture of the                                variable domain, nucleotides 367 to 411 code for an artificial
oligonucleotides MOCG1-2FOR (5' CTC AAT TTT CTT                                 20   flexible
                                                                                     flexible linker,
                                                                                              linker, and
                                                                                                       and nucleotides
                                                                                                            nucleotides 412-747
                                                                                                                          412–747 code
                                                                                                                                     code for
                                                                                                                                           for the
                                                                                                                                                the light
                                                                                                                                                    light
GTC
GTC CACCAC CTT       GGT GC 3') (SEQ.ID.NO.
               CTTGGTGC                (SEQ.I.D.N.O. 1), 1), MOCG3FOR                chain variable region. The protein sequence of       of the CDR3
(5'CTC
(5'CTC GAT GAT TCT  TCT CTT CTT GAT GAT CAA CAA CTC  CTC AGT AGT CT CT 3')3)                 of the heavy chain has the sequence EGGGYYVN-
                                                                                     region of                                          EGGGYYVN
(SEQ.ID.NO.
(SEQ.I.D.NO. 2)    2) and   MOCMFOR (5'
                      and MOCMFOR             (5' TGG
                                                  TGG AATAAT GGG
                                                               GGG CAC CAC           WYFDV (SEQ
                                                                                     WYFDV      (SEQ ID ID NO:8)
                                                                                                            NO:8) and
                                                                                                                   and isis given in
                                                                                                                                   in bold
                                                                                                                                      bold letters.
                                                                                                                                            letters. The
ATG
ATG CAG CAG ATC  ATC TCT  TCT 3') 3) (SEQ.ID.NO.
                                        (SEQ.ID.NO. 3)      3) was
                                                                was used
                                                                       used     25
                                                                                     artificial linker
                                                                                     artificial  linker sequence
                                                                                                          sequence (G4SGGRASG4S;
                                                                                                                     (GSGGRASGS: SEQ           SEQ ID  ID
(RTmix1). In the same reaction tube, light chain-specific                       25   NO:111)
                                                                                     NO:111) isis also
                                                                                                   also shown.
                                                                                                         shown.
cDNA (VL) was synthesized using primer MOCKFOR-              MOCKFOR
(5'CTC
(5'CTC ATT  ATT CCT  CCT GTT GTT GAA   GAA GCT  GCT. CTT CTT GAC GAC 3')  3')                                             11
                                                                                                                  Example 11
(SEQ.ID.NO.
(SEQ.I.D.NO. 4).   4).
                                                                                                                 of Peptides Derived from
                                                                                           Procoagulant Activity of
   The coding sequences for VH were amplified by PCR                            30
                                                                                30          CDR3 Regions of Anti-FIX/FIXa-Antibodies
using the primer-sets depicted in FIG. 12            12 and the specific
cDNA, derived
cDNA,      derived fromfrom the       reverse transcription
                                the reverse       transcription mixture
                                                                   mixture              In principle,
                                                                                        In  principle, the
                                                                                                         the antibody
                                                                                                              antibody molecule
                                                                                                                          molecule cancan bebe envisioned
                                                                                                                                                envisioned as
                                                                                                                                                            as
(RTmix1) described
(RTmixl)      described above, as    as the
                                         the template.
                                             template. VK-chain
                                                          VK-chain genes             a biological device for the presentation of         of a combinatorial
were amplified using the primer sets depicted in FIG. 13             13 and          array ofof peptide elements in three dimensional space (see
also employing RtmixlRtmix1 as a template. The VF-PCR product                   35   Gao
                                                                                     Gao etet al.,
                                                                                               al., 1999,
                                                                                                    1999, PNAS,
                                                                                                            PNAS, 96:6025).
                                                                                                                       96:6025). Therefore,
                                                                                                                                   Therefore, an  an antibody
                                                                                                                                                     antibody
                                                                                35
was   cleaved Sfil-AscI
was cleaved      SfiI-Ascl andand inserted
                                     inserted into     Sfil-Ascl digested
                                                into Sfil-AscI     digested          (or an
                                                                                     (or an antibody
                                                                                              antibody derivative,
                                                                                                          derivative, e.g.
                                                                                                                        e.g. scFv,
                                                                                                                              Sclv, Fab,
                                                                                                                                     Fab, etc.)
                                                                                                                                            etc.) can
                                                                                                                                                  can be
                                                                                                                                                      be used
                                                                                                                                                          used
vector
vector pDAP2
          pl)AP2 (GeneBank             accession no.:
                     (GeneBank accession             no. U35316).
                                                           U35316). The The          either as a tool for the detection of       of functionally important
pI)AP2-VH constructs obtained thereby were named
pDAP2-VH                                                                             domains of  of a specific target protein, or on the other hand, for
pDAP2-193
pDAP2-193AD3/VH,  AD3/VH, pIDAP2-198A1/VH,
                                   pDAP2-198A1/VH, pIDAP2         pDAP2-             the delineation of amino acid sequences specifically medi-          medi
198AB2/VH (derived from antibody 198/B1)           198/B1) and pDAP2-
                                                                   plDAP2       40   ating certain interactions, i.e. activating or enhancing the
                                                                                40
193/K2/VH, respectively. The plasmids were subsequently
193/K2/VH,                                                                           activity of FIXa towards the physiological substrate FX. The
cleaved
cleaved with
           with Ascl-NotI
                   AscI-NotI and  and thethe corresponding
                                              corresponding Ascl-Notl
                                                                 AscI-NotI           latter process
                                                                                     latter process hashas led
                                                                                                            led to
                                                                                                                 to the
                                                                                                                    the evaluation of of aa number
                                                                                                                                            number ofof heavy
                                                                                                                                                        heavy
digested VK-gene PCR product was inserted. The resultant                             chain CDR3 region (CDR3H) derived peptide sequences as
vectors were designated pDAP2-193/AD3scFv,
                                    pL)AP2-193/AD3scFv, pdAP2      pDAP2-            FIXa enhancing agents.
198/A1sclv,
198/A1            pIDAP2-198/AB2scFv (derived from antibody
          scFv, pDAP2-198/AB2scFv                                               as
                                                                                45      Enhancing the procoagulant activity of           of peptides which
198/B1) and pL)AP2-193/K2scFv
                 pDAP2-193/K2scFv and code for the VH-gene                                     Such activity may be accomplished through sequence
                                                                                     exhibit such
and
and the
      the VL-gene
           VL-gene of    of the
                            the monoclonal
                                  monoclonal antibodies
                                                   antibodies 193/AD3,
                                                                 193/AD3,            variation within the peptide regions critical for mediating the
198/Al,
198/A1, 198/AB2
             198/AB2 (derived
                           (derived from antibody
                                                antibody 198/B1)
                                                             198/B1) and and         FIXa activity enhancement. As a possible step towards
193/K2. Heavy and light chains are linked by the coding
193/K2.                                                                              peptide sequences with enhanced procoagulant activity, the
sequence
sequence for      an artificial,
              for an  artificial, flexible
                                    flexible linker
                                               linker (G4SGGRASG4S
                                                        (GSGGRASGS              50
                                                                                50   binding site
                                                                                     binding    site of
                                                                                                     of an
                                                                                                         an antibody,
                                                                                                             antibody, i.e.
                                                                                                                          i.e. 198/Al
                                                                                                                                198/A1 or or 198/B1,
                                                                                                                                              198/B1, onon the
                                                                                                                                                           the
(SEQ ID
(SEQ     ID NO:111);
               NO:111); Engelhardt
                            Engelhardt et   et al.,   1994) and
                                                al., 1994)    and enables
                                                                    enables          FIXa molecule is mappedmapped by employing sequence compari-    compari
expression of the scFv  schv variant of   of the respective antibody.                son analyses, competitive binding assays, Western blot
   In FIG.
   In  FIG. 14,
              14, the
                   the DNA
                        DNA andand the
                                     the deduced
                                          deduced protein sequence
                                                              sequence of            analyses and competitive ELISA analyses. Since the crystal
the scFv
the sclv derived
            derived from
                       from the    hybridoma cell
                              the hybridoma       cell line
                                                        line 193/AD3
                                                             193/AD3 are are         structure
                                                                                     structure of of FIX
                                                                                                      FIX isis known,
                                                                                                                known, molecular
                                                                                                                          molecular modeling
                                                                                                                                        modeling isis subse-
                                                                                                                                                        subse
depicted. Nucleotides 11 to 357 code for the heavy chain                        55
                                                                                55
                                                                                     quently used to improve the fitting of         of i.e. 198/B1
                                                                                                                                              198/B1 derived
variable
variable domain, nucleotides
                        nucleotides 358 358 toto 402
                                                  402 code
                                                        code for
                                                              for the
                                                                   the arti-
                                                                        arti                             198/B1 binding site on human FIXa.
                                                                                     peptides in the 19881
ficial flexible linker and nucleotides 403 to 726 code for the                          On
                                                                                        On the
                                                                                             the other
                                                                                                   other hand,
                                                                                                          hand, methodical
                                                                                                                   methodical mutational
                                                                                                                                  mutational analysis
                                                                                                                                                analysis of
                                                                                                                                                          of aa
light chain variable region. The protein sequence of the                             given peptide sequence such as 198/Al     198/A1 or 198/B1
                                                                                                                                             198/B1 CDR3H
CDR3 region of the heavy chain has the sequence YGNSP-            YGNSP              derived peptide sequences by, e.g,     e.g., "alanine
                                                                                                                                  “alanine scanning
                                                                                                                                              Scanning muta-
                                                                                                                                                         muta
KGFAY (SEQ  (SEQ ID ID NO:5)
                         NO:5) and and is given in       bold letters.
                                                     in bold   letters. The     60   tional analysis"
                                                                                     tional   analysis’ allows
                                                                                                           allows for for the
                                                                                                                           the identification
                                                                                                                                 identification of of peptide
                                                                                                                                                      peptide
artificial
artificial linker sequence              (G4SGGRASG4S; SEQ
                        sequence (GSGGRASGS:                      SEQ ID  ID         residues critical for procoagulant activity. Another way to
NO:111) is
NO:111)      is shown.
                shown.                                                               improve the activity of    of a certain peptide sequence is the use
   In FIG.
   In  FIG. 15,
              15, the
                   the DNA
                        DNA andand the
                                     the deduced
                                          deduced protein sequence of                of peptide libraries combined with high throughput screen-        screen
     scFv derived
the sclv     derived from
                        from thethe hybridoma
                                      hybridoma cell line  line 193/K2
                                                                 193/K2 isis         ing.
shown.
shown. Nucleotides
           Nucleotides 11 to    to 363
                                    363 code for   for the
                                                        the heavy chain         65      The antigen binding site of      of an antibody is derived from
variable    domain, nucleotides
variable domain,        nucleotides 364 364 toto 408
                                                  408 code
                                                        code for
                                                              for the
                                                                   the arti-
                                                                        arti         the juxtaposition of     of the six "complement
                                                                                                                               "complement determining
ficial flexible
ficial flexible linker,
                  linker, and
                           and nucleotides
                                 nucleotides 409409 toto 747  code for
                                                          747 code   for the
                                                                         the         regions
                                                                                     regions (CDR's)"
                                                                                               (CDR's) at   at the
                                                                                                               the N-terminal     end of
                                                                                                                     N-terminal end    of the
                                                                                                                                           the VL-HL
                                                                                                                                                VL-HL dimer
                                                                                                                                                         dimer




                                                                     Appx150
                                                                     Appx150
            Case: 22-1461                  Document: 25                      Page: 138                  Filed: 11/04/2022




                                                        US 7,033,590 B1
                                21
                                21                                                                          22
(or FvFV region). The contribution of a single CDR to the                 FVIII assay was developed (see examples 2 and 4). The
antibody specificity for a given antigen may vary                         basic principle
                                                                          basic  principle is, is, that
                                                                                                   that without
                                                                                                         without aa cofactor, FIXa
                                                                                                                                 FIXa will
                                                                                                                                        will have
                                                                                                                                               have
considerably, but in general it is thought that the CDR3                  very limited activity towards its natural natural substrate FX. Only
region ofof the heavy chain (CDR3H) is of special influence,              in the presence of a substance Substance having FIXa activation
                                         CDR3 region may be
i.e. the particular protein sequence of CDR3H                        5    properties, i.e. FVIII or a substance exhibiting FVIII-like
highly important for antigen recognition. The length of                   activity, a substantial amount of      of FXa is produced by cleav-cleav
CDR3H regions has been reported to vary considerably and                       of FX through the FIXa/activator complex. The amount
                                                                          age of
is in the range
is         range of
                  of 4-25
                     4–25 amino
                           amino acids
                                  acids (Borrebaeck,
                                         (Borrebaeck, p. 16).
                                                            16).          of FXa generated is monitored by cleavage of a chromoge-    chromoge
   An example of a methodical mutational analysis of pep      pep-
                                                                               Substrate. The principle of
                                                                          nic substrate.                         of the revised chromogenic
                                                                          assay is described for two representative peptides: A1/3 and
tide sequences is given below. To improve the solubility/            10
                                                                          A1/5 (Table 2). Briefly,
                                                                          Al/5                    Briefly, 25 µlul aliquots of of peptide stock
procoagulant efficacy of peptides derived from the CD3-     CD3           solution
region
                                                                          solution (in(in imidazole
                                                                                           imidazole buffer
                                                                                                         buffer (IZ)
                                                                                                                  (IZ) 50
                                                                                                                       50 mMmM imidazole,
                                                                                                                                 imidazole, 100 100
region of   anti FIX/FIXa
         of anti            antibodies, the
                 FIX/FIXa antibodies,    the N-terminal
                                             N-terminal asas well
                                                              well        mM NaCI,
                                                                          mM    NaCl, pH7.2)
                                                                                         pH7.2) were
                                                                                                   were transferred
                                                                                                          transferred toto microtiter
                                                                                                                           microtiter plate
                                                                                                                                      plate wells
                                                                                                                                              wells
as the C-terminal amino acid sequences were changed. In                   and warmed
                                                                          and  warmed to   to 37°
                                                                                              37° C.
                                                                                                   C. Chromogenic
                                                                                                       Chromogenic FXa  FXa substrate
                                                                                                                             substrate (S-2222),
                                                                                                                                        (S-2222),
addition, a series of mutated peptides was constructed and                synthetic thrombin inhibitor (I-2581), bovine FIXa and
analyzed.                                                            15
                                                                          bovine FX were reconstituted in sterile water and FIXa/FX
   The principle of such a study is exemplified by a series of            mixed with phospholipids according to the supplier's    Supplier's pro
                                                                                                                                               pro-
peptides derived from CDR3H region of      of antibodies 198/Al
                                                          198/A1          tocol.
                                                                          tocol. Since
                                                                                  Since the the peptides
                                                                                                 peptides do do not
                                                                                                                 not react
                                                                                                                      react with
                                                                                                                             with bovine
                                                                                                                                   bovine FIXa,
                                                                                                                                             FIXa,
      198/B1. The original peptide Al
and 198/B1.                          A1 (see table 2) is derived          (which
                                                                          (which comes as    as aa mixture
                                                                                                    mixture with
                                                                                                              with bovine
                                                                                                                    bovine FXFX in
                                                                                                                                 in the
                                                                                                                                    the Test Kit)
                                                                                                                                                Kit)
from the CDR3H region of antibody 198/Al 198/A1 and peptide B1            2,9
                                                                          2.9 nM
                                                                               nM (in(in most
                                                                                          most cases
                                                                                                  cases 2.3
                                                                                                          2.3 nM)
                                                                                                               nM) human
                                                                                                                     human FIXa
                                                                                                                              FIXa (ERL)
                                                                                                                                     (ERL) were
                                                                                                                                              were
is derived from the CDR3H region of antibody 198/B1,      198/B1,    20   added (see
                                                                          added   (see Example
                                                                                         Example 11,  11, FIG.
                                                                                                          FIG. 19).
                                                                                                                 19). Per
                                                                                                                      Per reaction,
                                                                                                                           reaction, 50
                                                                                                                                     50 µlul of
                                                                                                                                             of the
                                                                                                                                                 the
respectively (see example 10, FIGS. 16    16 and 17).
                                                   17). The term          phospholipid/FIXa/FX solution were combined with 251
“scrambled version"
"scrambled     version” means
                         means that
                                 that aa peptide has
                                                   has the
                                                        the same
                                                             same         CaCl2
                                                                          CaCl (25(25 mM)
                                                                                        mM) andand 50 µl ul of
                                                                                                            of the
                                                                                                               the substrate/inhibitor
                                                                                                                    substrate/inhibitor cocktail.
                                                                                                                                         cocktail.
amino acids but in random order.                                          To start
                                                                          To  start the
                                                                                    the reaction,
                                                                                          reaction, 125
                                                                                                      125ul   of the
                                                                                                           µ1 of  the premix
                                                                                                                      premix were
                                                                                                                               were added
                                                                                                                                     added toto the
                                                                                                                                                 the


                                                    Amino- MW
Peptide        Sequence                              acids    (D)    pI Remark
A.
Al             EGGGYYVNWYFDV                         (13aa)   1569 7.2 Decreased
               (SEQ
               (SEQ ID
                    ID NO:8)
                       NO:8)                                           solubility
                                                                       solubility
A1f1
A1/1           VYOGFGWGYEVNDY
               VYGFGWGYEVNDY                         (13aa)   1569 7.1 Scrambled
               (SEQ
               (SEQ ID
                    ID NO:10)
                       NO:10)                                                   of
                                                                       version of
                                                                       Al,
                                                                       A1,
A1.2
Al/2           EEEEGGGYYVNWYFDEEE                    (18aa)            Acidic p,
                                                              2244 5.8 Acidic  pI,
               (SEQ
               (SEQ ID
                    ID NO:11)
                       NO:11)                                          soluble,
                                                                       soluble,
A1.3
Al/3           RRREGGGYYVNWYFDRRR                    (18aa)            Basic pI,
                                                              2407 9.9 Basic  p,
               (SEQ ID NO:12)
               (SEQ ID NO:12)                                          soluble,
                                                                       soluble,
A1f4
Al/4           EYGEGYGEVNEYDEFEWE                    (18aa)   2244 5.8 Scrambled
               (SEQ
               (SEQ ID
                    ID NO:13)
                       NO:13)                                          version of
                                                                                of
                                                                       A1/2
                                                                       A1.2
A1.5
Al/5           VRYRNRYRWGYRGRFGDE                    (18aa)   2407 9.9 Scrambled
               (SEQ
               (SEQ ID
                    ID NO:14)
                       NO:14)                                                   of
                                                                       version of
                                                                       A1/3
                                                                       A1.3
A1 3-scr3
Al/3-scr3      RRRGEYGVYWNGDFYRRR                    (18aa)   2407 9.9 Scrambled
               (SEQ
               (SEQ ID
                    ID NO:15)
                       NO:15)                                          version of
                                                                                of
                                                                       A1.3
                                                                       A1/3
A1 3-Rd
Al/3-Rd        RRREGGGYYVNWYFDRRR
               RdRdRdEGGGYYVNWYFDRdRdRd              (18aa)            Peptide
                                                              2407 9.9 Peptide
                                                                       A1/3
                                                                       A1.3 but
                                                                       substitute
                                                                       D-Arg for
                                                                       L-Arg
A1 3-Rd-srnb
Al/3-Rd-srmb   RdRRGEYGVYWNGDFYRRRd
               RdRdRdGEYGVYWNGDFYRdRdRd              (18aa)   2407 9.9 Scrambled
                                                                       version of
                                                                                of
                                                                       A1/3-Rd
                                                                       A1 3-Rd



Table 2                                                                peptide solution
                                                                       peptide  solution in
                                                                                          in the
                                                                                             the microtiter
                                                                                                  microtiter plate
                                                                                                              plate and
                                                                                                                    and incubated
                                                                                                                         incubated at
                                                                                                                                    at 37°
                                                                                                                                       37°
   List of
   List  of a series
                series of
                        of antibody
                           antibody 198/Al
                                      198/A1 derived
                                                derived peptizes. C.   C. Absorbance
                                                                           Absorbance atat 405
                                                                                            405 nmnm and
                                                                                                      and 490
                                                                                                            490 nm
                                                                                                                 nm of
                                                                                                                     of the
                                                                                                                        the samples
                                                                                                                             samples was
                                                                                                                                       was
Listed are the length
Listed            length of
                         of the
                            the peptide
                                peptide (aa,
                                         (aa, amino
                                               amino acids it), the 55 read at various times (5 min
                                                            #), the                                min to 2 h) against
                                                                                                                 against aa reagent
                                                                                                                            reagent blank
                                                                                                                                     blank
calculated
calculated molecular
              molecular weight
                          weight (MW,
                                  (MW, in Dalton
                                              Dalton (D)
                                                      (D) and
                                                           and the
                                                                the in in aa Labsystems
                                                                             Labsystems   iEMS
                                                                                         iEMS     Reader
                                                                                                  Reader   MFTM
                                                                                                           MFTM   microtiter
                                                                                                                  microtiter  plate
                                                                                                                              plate reader
                                                                                                                                    reader
statistical
statistical isoelectric
            isoelectric point (pI).D-Arg
                               (pl).D-Arg isis abbreviated
                                               abbreviated as
                                                            as Rd.
                                                                Rd. using
                                                                       using GENESISTM
                                                                              GENESISTM software.
                                                                                              software.
   In a first series of experiments we improved the solubility
of the original CDR3H peptide sequence (Al;           (A1: EGG-
                                                             EGG FIG.                 of this experiment are shown in Example 11,
                                                                          The result of                                                 11,
GYYVNWYFDV: SEQ
GYYVNWYFDV;              SEQ ID ID NO:8)
                                    NO:8) by   by removing
                                                   removing the        FIG. 18.
                                                                              18. Peptide
                                                                the 60 generation Peptide Al/3
                                                                                            A1/3 induced
                                                                                                   induced aa readily
                                                                                                                readily measurable
                                                                                                                        measurable FXa FXa
C-terminal
C-terminal ValVal residue
                   residue and
                           and adding
                                adding several
                                        several charged
                                                 charged residues the  generation in
                                                                                   in the
                                                                                      the presence
                                                                                           presence ofof 2.9
                                                                                                         2.9 nM
                                                                                                              nM human
                                                                                                                  human FIXa,
                                                                                                                           FIXa, whereas
                                                                                                                                  whereas
at                                                                          scrambled version A1/5 was inactive. hi      In addition, the
at the
   the N—
        N—as  as well
                 well as the
                         the C-terminal
                             C-terminal end
                                          end of
                                               of the
                                                  the peptide.
                                                      peptide. The
                                                               The acidic
                                   pl), A1/3 (basic pl)
resulting peptides, A1/2 (acidic p1),                 pI) and their    acidic peptide
                                                                               peptide Al/2
                                                                                       A1/2 as as well
                                                                                                  well as
                                                                                                        as the
                                                                                                           the scrambled
                                                                                                               scrambled versions
                                                                                                                            versions A1/4
                                                                                                                                      A1/4
respective
respective scrambled
              scrambled versions
                           versions A1/4,
                                    A1/4, Al/5
                                             A1/5 and    A1/3scr3 and
                                                    and A1/3scr3             A1/3-scr3 did not give any significant chromogenic
                                                                             Al/3-scr3
were readily soluble in a variety of buffer systems at                 activity when
                                                                       activity  when tested
                                                                                       tested under
                                                                                                under comparable
                                                                                                       comparable conditions
                                                                                                                     conditions (data
                                                                                                                                 (data not
                                                                                                                                        not
physiological pH.                                                   65 shown). To prove that the peptide Al/3    A1/3 like the parental
   To analyze the FVIII-like (FIXa activating) activity of the         antibody
                                                                       antibody 198/Al
                                                                                  198/A1 does
                                                                                           does not
                                                                                                  not react
                                                                                                       react with
                                                                                                             with bovine
                                                                                                                   bovine FIXa
                                                                                                                            FIXa and
                                                                                                                                  and FXFX
peptides, an assay system based on a commercial available              the experiment shown in FIG. 19       19 was done. The peptide




                                                              Appx151
                                                              Appx 151
         Case: 22-1461                         Document: 25                      Page: 139                   Filed: 11/04/2022




                                                            US 7,033,590 B1
                                   23                                                                           24
A1/3 was incubated as described above with (A1/3 (24 µM),                      clotting time indicating that they lack procoagulant activity
+hFIXa) and without (A1/3 (24 µM), w/o hFIXa) 2.3 nM                           (data not shown).
human FIXa (hFIXa). In a control experiment we added
plain dilution buffer (IZ) supplemented with 2.3 nM hFIXa
to the reaction mixture. As shown in FIG. 19, the reaction                5
takes place only in the presence of human FIXa.                                                     w/o     w/o            2.2 nIVI   2.2 nIVI
   FIG. 18 demonstrates the chromogenic FVIII-like activity                              Final      FIXa    FIXa average    FIXa       FIXa      average
                                                                                         conc.       sec     sec   sec       sec        sec        sec
of peptide A1/3 in the presence of 2.9 nM human FIXa
(hFIXa). The scrambled version of peptide A1/3, peptide                        IZ           0       131.8   132.1   132    107.9      108.7       108
A1/5 does not give rise to any FXa generation. FIG. 19                         FVIII   12.5 mU/m1    68.9    69      69     52.9       53.6       53
                                                                          10
demonstrates the dependence of the chromogenic FVIII-like                              6.25 mU/m1    77.8    77.9   78      58.6       58.9       59
                                                                               A1/3       15 µM     152.8   149.3   151     75.4       75.2       75
activity of peptide Al/3 on the presence of human FIXa                                    10µM      135.7   134.6   135     76.2       79.8       78
(hFIXa). In the absence of human FIXa, peptide A1/3 does                                   5µM      152.6   155.6   154     86.6       90.2        88
not give rise to any FXa generation. The buffer control, plain                             1µM      138.3   138.8   139    103.7      105.9       105
imidazole buffer is designated IZ.                                        15
   The peptides were also analyzed for their potential to                         Table 3B. Clotting activity of peptide Al/3 in FVIII
reduce the clotting time in a FVIII deficient plasma. The                      deficient plasma when Pathromtin SL (DADE Bebring) is
aPTT based one stage clotting assay was essentially done as                    used as an aPTT reagent. The experiments were done in
described (see example 6). Clotting times (time from start-                    duplicate, either in the presence or in the absence (w/o) of
ing the reaction to the "clot"-formation were compared                    20   2.2 nM human FIXa. Given are the clotting times for the
either against FVIII, a buffer control (IZ) or a control peptide               individual experiments and the average clotting time in
(scrambled version). The results of two typical clotting
                                                                               seconds (sec). Factor VIII and imidazole buffer (IZ) were
experiments done with two different aPTT reagents                              included as positive and negative control respectively.
(DAPTTIN and Pathromtin SL) are shown in table 3A and                             In contrast to the experiments shown in table 3A the
table 3B.                                                                 25   experiments shown in table 3B have been done employing
                                                                               the aPTT reagent Pathromtin SL. In the presence of FIXa,
                                                                               the peptide A1/3 gave rise to a dose dependent reduction in
                    w/o     w/o               2.2 nM   2.2 nM
                                                                               the clotting time whereas in the absence of FIXa no reduc-
          peptide   FIXa    FIXa    average    FIXa     FIXa    average        tion of the clotting time was detectable.
           conc.     sec     sec      sec       sec      sec      sec     30      In another series of experiments we set out to improve the
Exp. 1
                                                                               plasma stability (protection from, e.g., proteolytic
                                                                               degradation) of peptide Al/3. One approach was to substi-
IZ           0      107.7   106.8    107       93.1     94.5      94           tute the N- and C-terminal L-Arg residues with D-Arg
A1/3      15 µM      78.2    77.1     78       59.3     59.9      60           residues (exemplified by peptides Al/3-rd and Al/3-Rd-
         12.5 µM     80.2    80.6     80       60.2     58.9      60
          7.5 µNI    97.8    97.9     98       73.1     72.7      73
                                                                          35   srmb). Peptides A1/3-rd and Al/3-Rd-srmb (scrambled ver-
          2.5 µM    105.2   104.8    105       91.1     91        91           sion of the peptide) were then analyzed in a chromogenic as
A1/3-     15 µM     122.5   122      122      106.1    105.5     106           well as in the aPTT based clotting assay. These experiments
scr3     12.5 µM    116     117.6    117      103.1    104.5     104           revealed that exchanging the terminal L-Arg residues for
          7.5 µM    114.2   113.9    114      100.8    100.6     101
          2.5 µM    107.8   107.4    108       96.3     95.2      96
                                                                               D-Arg residues did not change the FVIII-like activity as
Exp. 2                                                                    40   measured in the chromogenic assay, indicating that chirality
                                                                               of the Arg-residues does not play a major role in chromoge-
IZ           0      111     109.7    110       94.7     95.5      95           nic activity (FIG. 20). In addition, the aPTT based one-stage
A1/3     12.5 µM     83.6    85.5     85       56.7     56.7      57
           10 µNI    79.1    78.5     79       63.1     62.5      63
                                                                               clotting activity, although somewhat reduced, was still easily
          7.5 µM    100.1   100.5    100       71.6     73.9      73           detectable (Table 4).
            5 µM    103.4   104.8    104       77       76        77      45
          2.5 µM    110.1   108.9    110       88       88.8      88
         1.25 µM    108.7   109.3    109       90.7     90.8      91
                                                                                                    w/o   w/o              2.2 nM     2.2 nM
                                                                                         Peptide    FIXa FIXa, average      FIXa       FIXa      average
   Table 3A. Clotting activity of peptides A1/3 and Al/3-scr                              conc.      sec  sec    sec         sec        sec        sec
(scrambled version of A1/3) in FVIII deficient plasma either 50
in the presence or in the absence (w/o) of 2.2 nM human                        IZ            0      110     109.1   110     96         96          96
                                                                               Al/3        15 µM     77.8    78      78     56.1       55.5        56
FIXa. Shown are two independent representative experi-                                   12.5 µM     99.4   100.5   100     65         68          67
ments (Exp. 1 and Exp. 2). All clotting experiments have                                   10 µM    104.4   104.5   104     72         73.2        73
been done in duplicate. Given are the clotting times for the                              7.5 µM    105.2   105.2   105     80.7       80.5        81
individual experiments and the average clotting time in 55                                  5 µM    108.4   107.7   108     89.7       88.3        89
                                                                                          2.5 µM    107.9   107.6   108     93.6       93.3        93
seconds (sec). Experiments shown in table 3A have been                                   1.25 µM    106.7   107     107     94.4       95          95
done employing the aPTT reagent DAPTTIN (Baxter                                A1/3-       15 µM     96.4    95.4    96     76.1       74.4        75
Hyland Immuno). Compared to the buffer control (IZ,                            Rd        12.5 µM     98      98.6    98     72.3       73.7        73
imidazole buffer) the peptide Al/3 gave rise to a dose                                     10 µM     93.5    95.8    95     74.2       77.2        76
                                                                                          7.5 µM     97.6    98.1    98     80.9       82.2        82
dependent reduction in the clotting time. The reduction in 60                               5 µM     99.2    99.1    99     86         85.1        86
the clotting time became much more pronounced by the                                      2.5 µM    102.7   103.4   103     94.4       94.7        95
addition of 2.2 nM activated human FIX to the reaction mix.                              1.25 µM    107.5   107.7   108     96.6       96          96
The scrambled version of peptide Al/3, A1/3-scr3 did not                       A1/3-       15 µM    121.9   121.3   122    112.7      112.4       113
                                                                               Rd        12.5 µM    117.2   118     118    108.1      107.8       108
show any reduction of the clotting time. In fact, at concen-                   srmb        10 µM    115.8   115.3   116    107.2      107.8       108
trations above 2.5 µM, the scrambled peptide became inhibi- 65                            7.5 µM    114.6   113.6   114    107.6      106.6       107
tory and therefore prolonged the clotting time. Peptides                                    5 µM    113.1   112.4   113    108.5      108.2       108
A1/1, Al/2, A1/4 and Al/5 did not give any reduction in the




                                                                 Appx152
                                                                 Appx152
         Case: 22-1461                      Document: 25                         Page: 140             Filed: 11/04/2022




                                                            US 7,033,590 B1
                                25                                                                         26
                                                                        100
                                                                         100 mM
                                                                              mM NaCl,
                                                                                     NaCl, 1%1% human
                                                                                                  human albumin,
                                                                                                           albumin, pH7.4)
                                                                                                                       pH7.4) to to the
                                                                                                                                    the desired
                                                                                                                                        desired
                              -continued                                final concentration. The peptides were analyzed for their
                                                                        chromogenic activity as well as for their potential to reduce
                        w/o
                        wo    w/o
                              wo           2.2 nM    2.2 nM
                                                nM 2.2nM
            Peptide FIXa FIXa, average FIXa FDXa FIXa average 5 the clotting time in a FVIII deficient plasma. The one-stage
             conc.
             COC.       sec
                        SeC   sec
                              SEC    sec
                                     SCC     sec
                                             SeC.      sec
                                                       SeC.    sec
                                                               SeC      clotting assay was essentially done as described (see
                                                                        example 6). Clotting times (time from starting the reaction
             2.5 µM
                  M    111.9 111.9
                             111.9   112    105       104.2
                                                      104.2    105
           1.25 µMM 107.2 107.1 107         101.1
                                            101.1     105.3
                                                      105.3    103                “clot-formation were compared either against a
                                                                        to the "clot"-formation
                                                                        buffer
                                                                        buffer control
                                                                                control or or aa control
                                                                                                 control peptide
                                                                                                          peptide (scrambled
                                                                                                                    (scrambled version).
                                                                                                                                   version).
                                                                           Some
                                                                           Some of of the
                                                                                       the results
                                                                                           results of
                                                                                                    of the
                                                                                                       the "Alanine
                                                                                                           “Alanine scan"
                                                                                                                       scan are
                                                                                                                              are given
                                                                                                                                  given for
                                                                                                                                         for the
                                                                                                                                             the
   Table 4. One stage clotting activity of      of peptides A1/3, 10 to
A1/3-Rd and
A1/3-Rd     and A1/3-Rd-srmb
                   A1/3-Rd-Srmb (sequences
                                    (sequences seesee table
                                                       table 2).  IZ. peptides
                                                             2). IZ,    peptides A1/3-2
                                                                                    A1/3-2 and
                                                                                             and Al/3-3.
                                                                                                   A1/3-3. The
                                                                                                            The change
                                                                                                                  change ofof G3-A3
                                                                                                                              G-A as  as exem-
                                                                                                                                         exem
buffer  control.
buffer control.                                                         plified in the peptide A1/3-2 yields high chromogenic activ-      activ
   FIG. 20 demonstrates the unchanged chromogenic activ-                ity
                                                                        ity and
                                                                             and aa strong
                                                                                     strong reduction
                                                                                             reduction ofof the
                                                                                                             the one-stage
                                                                                                                 one-stage clotting
                                                                                                                             clotting time
                                                                                                                                       time (34
                                                                                                                                             (34
                                                                        seconds at a concentration of 12.5 µM) in the presence of 2.2
ity of peptide A1/3-Rd. Peptides at a final concentration of seconds at a concentration of 12.S.M) in the presence of 2.2
ity of peptide Al/3-Rd. Peptides at a final concentration of
12 µM or the buffer control (IZ) were incubated in the is nM human FIXa. Peptide Al/3-3 (G4-A4) exhibits an opti-
12 M or the buffer control (IZ) were incubated in the 15 nM human FIXa. Peptide A1/3-3 (GA-AA) exhibits an opti
presence of of 2.3 nM human FIXa (+). The chromogenic mum               mum of of chromogenic
                                                                                   chromogenic activity
                                                                                                    activity around
                                                                                                              around aa final
                                                                                                                        final concentration
                                                                                                                              concentration ofof
activity of peptide A1/3 and A1/3-Rd was found to be
activity of peptide A1/3 and Al/3-Rd was found to be                    12 µM with decreased activity at either higher or lower
                                                                           12 uM with decreased activity at either higher or lower
virtually unchanged and gave almost identical results in the            concentrations.
                                                                        concentrations. The  The peptide
                                                                                                    peptide isis somewhat
                                                                                                                 somewhat inhibitory
                                                                                                                               inhibitory in1 aa
chromogenic assay. The Scrambled version of peptide A1/3,
chromogenic assay. The scrambled version of peptide A1/3,               one-stage clotting assay at higher concentrations (12.5 µM)
                                                                           one-stage clotting assay at higher concentrations (12.5 L.M)
A1/5 as well as the buffer gave no significant FXa genera- 20 in        in the
                                                                            the absence
                                                                                absence of  of FIXa
                                                                                                FIXa but
                                                                                                       but becomes
                                                                                                            becomes strongly
                                                                                                                       strongly active
                                                                                                                                  active in
                                                                                                                                          in the
                                                                                                                                             the
tion.                                                                   presence
                                                                        presence of  of 2.2
                                                                                        2.2 nM
                                                                                             nM FIXa
                                                                                                   FIXa (31
                                                                                                         (31 seconds,
                                                                                                               seconds, 12.5
                                                                                                                          12.5 µM).
                                                                                                                                 LM).
   In the next series of experiments we set out to determine               In the next series of  of experiments we set out to determine
the individual role of any amino acid of the peptide core               the individual role of    of any amino acid of the peptide core
                  Substituting each residue for the amino acid sequence by substituting
sequence by substituting                                                                 Substituting each core residue for the amino
Alanine (Table
Alanine   (Table 5).5).                                                 acid glutamic
                                                                        acid  glutamic acid
                                                                                          acid (E)
                                                                                                 (E) (see
                                                                                                      (see Table
                                                                                                           Table 6).
                                                                                                                   6).


                                          Amino      MW
Peptide Sequence                          acid #      (D)      pI    Remark

A1.3
A1/3    RRREGGGYYVNWYFDRRR                 (18aa)    2407      9.9   Basic pI,
        (SEQ ID
        (SEQ ID NO:12)
                NO:12)                                               soluble.
                                                                     soluble.
A1 3-13 RRRAGGGYYVNWYFDRRR
A1/3-13                                    (18aa)    2349     10.4
                                                              10.4   E-A
                                                                     Ei  Al
        (SEQ ID NO:19)
        (SEQ ID NO:19)
A1 3-1
A1/3-1  RRREAGGYYVNWYFDRRR                 (18aa)    2421
                                                     2421      9.9   G2-A22
                                                                     G2—A
        (SEQ
        (SEQ ID
             ID NO:20)
                NO:20)
A1 3-2
A1/3-2  RRREGAGYYVNWYFDRRR
        RR_REGAGYYVNWYFDRAR                (18aa)    2421
                                                     2421      9.9   G-A
                                                                     G3—A3
        (SEQ ID NO:21)
        (SEQ ID NO:21)
A1 3-3 RRREGGAYYWNWYFDRRR
A1/3-3  RRREGGAYYVNWYFDRRR                 (18aa)    2421
                                                     2421      9.9   G-A
                                                                     G4—A4
        (SEQ
        (SEQ ID
             ID NO:22)
                NO:22)
A1 3-4 RRREGGGAYWNWYFDRRR
A1/3-4  RRREGGGYYVNWYFDRRR                 (18aa)    2315      9.9   Ys-As
                                                                     Y5—A5
        (SEQ ID NO:23)
        (SEQ ID NO:23)
A1 3-5 RRREGGGYAVNWYFDRRR
A1/3-5                                     (18aa)    2315      9.9   Y. As
                                                                     Y6—A6
        (SEQ
        (SEQ ID
             ID NO:24)
                NO:24)
A1 3-6 RRREGGGYYANWYFDRRR
A1/3-6  RRREGGGYYANWYFDRRR.                (18aa)    2379      9.9   V-A,
                                                                     V7—A7
        (SEQ ID NO:25)
        (SEQ ID NO:25)
A1 3-7 RRREGGGYYVAWYFDRRR
A1/3-7  RR_REGGGYYVAWYFDRAR                (18aa)    2364      9.9   Ns. As
                                                                     N8—A5
        (SEQ
        (SEQ ID
             ID NO:26)
                NO:26)
A1 3-8 RRREGGGYYVNAYFDRRR
A1/3-8                                     (18aa)    2292      9.9   W-A
                                                                     Ws—A5
        (SEQ ID NO:27)
        (SEQ ID NO:27)
A1 3-9 RRREGGGYYVNWAFDRRR
A1/3-9                                     (18aa)    2315      9.9   Yo Ao
                                                                     Yao—Aw
        (SEQ
        (SEQ ID
             ID ND:28)
                ND:28)
A1 3-10 RRREGGGYYVNWYADRRR
A1/3-10                                    (18aa)    2331
                                                     2331      9.9   F-A11
                                                                     F11—A11
        (SEQ
        (SEQ ID
             ID NO:29)
                NO:29)
A1 3-11 RRREGGGYYVNWYFARRR
A1/3-11                                    (18aa)    2363     10.5
                                                              10.5   D12-A12
                                                                     D12—Al2
        (SEQ
        (SEQ ID
             ID NO:30)
                NO:30)
A1.3- RRRYWYNGWGYFEGARRR
A1/3-   RR_RYVYNGWGYFEGARRR                (18aa)    2363     10.4
                                                              10.4   Scrambled
12smib
12srmb (SEQ
        (SEQ ID
             ID NO:31)
                NO:31)                                               version
                                                                      55

   Table 5.
         5. Listed
            Listed are the
                       the peptides designed
                                    designed to
                                             to elucidate
                                                elucidate the
                                                          the
role of any single amino acid within the peptide core
sequence
sequence (E,G2G,G4Y,Y,V,N3W9Y,0F,AD12;
            (EGGGYYV,NWYFD, SEQ                     SEQ ID ID
NO:112). The subscripted numbers describe the position of                                                          Amino-    MW
the amino acid within the peptide. Alanine, an uncharged 60   60 Peptide
                                                                 Peptide Sequence
                                                                         Sequence                                  Acids
                                                                                                                    Acids    (D)
                                                                                                                             (D)   pI
                                                                                                                                   pl Remark
                                                                                                                                      Remark
small
Small amino acid, was substituted for each amino acid Al/3
                                                     the peptides A1.3
                                                                                   RRREGGGYYVNWYFDRRR               (18aa)   2407 9.9 Basic
(“Alanine scan").
("Alanine  scan). Also
                    Also listed
                          listed are
                                 are the
                                     the lengths
                                         lengths of the                            (SEQ
(amino                                                                             (SEQ ID
                                                                                        ID NO:12)
                                                                                           NO:12)                                     pI,
                                                                                                                                      pI,
(amino acids
        acids #),
              it), the
                   the calculated molecular
                                    molecular weights
                                               weights (MW,
                                                         (MW, in                                                                      soluble,
                                                                                                                                      soluble,
Dalton
Dalton (D)
        (D) and
            and the
                  the statistical
                      statistical isoelectric
                                  isoelectric points
                                              points (pI).
                                                      (pl).           A1 3-22
                                                                      Al/3-22      RRREEGGYYVNWYFDRRR               (18aa)            G-E,
                                                                                                                             2479 9.5 G2—E2
  Each of the
  Each      the peptides was
                           was dissolved
                                 dissolved individually in  in inn-
                                                               imi 65              (SEQ
                                                                                   (SEQ ID
                                                                                        ID NO:32)
                                                                                           NO:32)
dazole buffer (50
dazole buffer (50 mM
                   mM imidazole,
                        imidazole, 100
                                     100 mM
                                          mM. NaCI,   pH7.2) and
                                               NaCl, pH7.2)     and   A1 3-23
                                                                      A1/3-23      RRREGEGYYVNWYFDRRR
                                                                                   RRREGGGYYVNWYFDRRR               (18aa)   2479 9.5 G3—E3
                                                                                                                                      G. E.
subsequently diluted in clotting buffer (50 mM imidazole,




                                                              Appx153
                                                              Appx153
          Case: 22-1461                   Document: 25                         Page: 141                   Filed: 11/04/2022




                                                        US 7,033,590 B1
                                                                     B1
                               27                                                                               28

                           -continued
                                        Amino- MW                                                                      Amino-     MW
Peptide   Sequence                      Acids    (D)   pI Remark          Peptide   Sequence                            acids     (D)     pl Remark
                                                                                                                                          pI
                                                                     5
        (SEQ ID
        (SEQ ID NO:33)
                NO:33)                                                    B1
                                                                          B1        EGGGFTVNWYFDV                       (13aa)    1491 6.0 Decreased
                                                                                                                                  1491
A1 3-24 RRREGGEYYVNWYFDRRR
A1/3-24 RRREGGEYYVNWYFDRIIR             (18aa)   2479 9.5 Gs—
                                                          G. E4
                                                              E.                    (SEQ ID NO:7)                                          solubility
        (SEQ ID
        (SEQ ID NO:34)
                NO:34)                                                    B1.f4
                                                                          B1/4      REGGGFTVNWYFDR                      (14aa)    1704 7.9 Soluble,
                                                                                                                                  1704
A1 3-26 RRREGGGEYVNWYFDRRR
Al/3-26                                 (18aa)   2373 9.4 Ys—Es
                                                          Ys-Es                     (SEQ
                                                                                    (SEQ ID
                                                                                         ID NO:45)
                                                                                            NO:45)
        (SEQ
        (SEQ ID
             ID NO:35)
                NO:35)                                                    B1.5
                                                                          B1/5      FGVGYRGETRNFDW                      (14aa)    1704 8.0 Scrambled
                                                                                                                                  1704
A1 3-27 RRREGGGYEVNWYFDRRR
A1/3-27 RRREGGGYEVNWYFDRRII             (18aa)            YE
                                                 2373 9.4 Y6
                                                           -E 6      10             (SEQ ID NO:46)
                                                                                    (SEQ ID NO:46)                                         version,
                                                                                                                                           version,
        (SEQ ID
        (SEQ ID NO:36)
                NO:36)                                                                                                                     soluble
A1 3-28 RRREGGGYYENWYFDRRR
A1/3-28                                 (18aa)   2437 9.5 Vs—Es
                                                          V, E,           B1.6
                                                                          B1/6      EEEEGGGFTVNWYFDEEE
                                                                                    EEEEGGGFTVNWYEDEEE                  (18aa)
                                                                                                                        (18aa)    2166 5.0
                                                                                                                                  2166 5.0 Acidic
                                                                                                                                           Acidic pI
        (SEQ ID
        (SEQ ID NO:37)
                NO:37)                                                              (SEQ ID NO:47)                                         soluble
A1 3-29 RRREGGGYYVEWYFDRRR
A1/3-29                                 (18aa)            Ns-Es
                                                 2422 9.5 N$—Es           B1/7
                                                                          B1.7      RRREGGGFTVNWYFDRRR
                                                                                    RRREGGGFTVNWYFDRRR                  (18aa)
                                                                                                                        (18aa)    2329 9.9 Basic pI
                                                                                                                                  2329 9.9 Basic pI
        (SEQ ID NO:38)
        (SEQ ID NO:38)                                                              (SEQ ID NO:48)                                         soluble
A1 3-3O RRREGGGYYVNEYFDRRR
A1/3-30 RRREGGGYYVNEYFDARR              (18aa)   2350 9.5 W9-E9
                                                          Wo E          B1.7
                                                                     15 B1/7        RRRFGVGYGETNFDWRRR
                                                                                    RRREGVGYGETNEDWRRR                  (18aa)
                                                                                                                        (18aa)    2329 9.9
                                                                                                                                       9.9 Basic
                                                                                                                                           Basic pI,
        (SEQ ID
        (SEQ ID NO:39)
                NO:39)                                                  scr3
                                                                        scri        (SEQ
                                                                                    (SEQ ID
                                                                                         ID NO:49)
                                                                                            NO:49)                                         soluble,
                                                                                                                                           soluble,
A1/3-31 RRREGGGYYVNWEFDRRR
        RRREGGGYYVNWEFDRRR              (18aa) 2373 9.4 Yio-
                                                        Yo-EoEto                                                                           scrambled
        (SEQ ID NO:40)
        (SEQ ID NO:40)                                                                                                                     version
A1/3-32 RRREGGGYYVNWYEDRAR
        RRREGGGYYVNWYEDRRR              (18aa) 2389 9.5 F11
                                                        F-EE11
        (SEQ ID NO:41)
        (SEQ    NO:41)
A1/3-33 RRREGGGYYVNWYFERRR
        RRREGGGYYVNWYFERRR              (18aa) 2421 9.9 D12-E12
                                                        D-E,         20      Table 77 isis aa list
                                                                             Table               list of
                                                                                                      of aa series
                                                                                                              series of of antibody
                                                                                                                           antibody 198/B1
                                                                                                                                         198/B1 derived
                                                                                                                                                   derived
        (SEQ ID NO:42)
        (SEQ ID NO:42)                                                    peptides. Listed are the length of              of the peptide (aa, amino
A1 3- RRRGEYGEYWNGDFYRRR
Al/3-    RRRGEYGEYWNGDFYRRR             (18aa)   2437 9.5 Scram-
                                                          Scram           acids
                                                                          acids #),
                                                                                  it), the
                                                                                       the calculated
                                                                                              calculated molecular
                                                                                                              molecular weight
                                                                                                                             weight (MW,(MW, in in Dalton
                                                                                                                                                    Dalton
34srmb (SEQ
34srmb  (SEQ ID
             ID NO:43)
                NO:43)                                    bled            (D) and the statistical isoelectric point (pI).          (pl).
                                                          version
                                                                             Peptides B1/4
                                                                             Peptides      B1/4 andand B1/5
                                                                                                         B1/5 were
                                                                                                                 were soluble
                                                                                                                         soluble in in 50
                                                                                                                                        50 mM
                                                                                                                                            mM Tris, 100100
                                                                          mM NaCl, pH=6.5. Both            Both peptides were analyzed in a
                                                                     25   chromogenic FVIII assay. Peptide B1/4                     B1/4 but not  not the
   Table 6. Listed are the peptides designed to elucidate the                             version B1/5 was found to have some chromoge-
                                                                          scrambled version                                                    chromoge
role of any single amino acid within the peptide core                     nic activity (data not    not shown).
             (EGGGYYV,NWYFD, SEQ ID
sequence (E,G2G,G,Y,Y,V7N,W9Y„FI,D,2;                                        Subsequently peptides B1/6, B1/7 and BI/7scr3                B1/7scr3 were
NO:112). The subscripted numbers describe the position of                 analyzed. Each of the peptides was solved individually in 50
the amino acid within the peptide. Glutamic acid, a nega-  nega
                                                                     30
                                                                     3°
                                                                          mM imidazole, 100        100 mM NaCI,   NaCl, pH7.2 and subsequently
tively  charged large
tively charged    large amino   acid, was
                         amino acid,  was substituted
                                           substituted for
                                                       for each
                                                            each          diluted either in
                                                                          diluted             in clotting
                                                                                                  clotting buffer
                                                                                                              buffer (50(50 mM
                                                                                                                             mM imidazole,
                                                                                                                                    imidazole, 100
                                                                                                                                                 100 mMmM
                                                                          NaCl,
                                                                          NaCl, 1% 1% human
                                                                                         human albumin,
                                                                                                    albumin, pH7.4)
                                                                                                                  pH7.4) or  or in
                                                                                                                                 in imidazole
                                                                                                                                     imidazole buffer
                                                                                                                                                 buffer to
                                                                                                                                                         to
amino
amino acid
         acid of
               of the
                  the core
                       core sequence ("Glutamic
                                       (“Glutamic acid
                                                   acid scan").
                                                         Scan').          the desired
                                                                          the  desired final
                                                                                           final concentration.
                                                                                                  concentration. The    The peptides
                                                                                                                              peptides werewere analyzed
                                                                                                                                                 analyzed
Also listed are the
Also             the lengths
                     lengths of
                             of the
                                the peptide (amino
                                            (amino acids
                                                   acids it), the
                                                          #), the         for their chromogenic activity as well as for their potential
calculated
calculated molecular
             molecular weights
                         weights (MW,
                                  (MW, inin Dalton
                                            Dalton (D)
                                                    (D) and
                                                        and the
                                                              the    35
                                                                     35   to reduce
                                                                          to reduce the the clotting
                                                                                             clotting timetime inin aa FVIII
                                                                                                                       FVIII deficient
                                                                                                                                deficient plasma
                                                                                                                                            plasma (table
                                                                                                                                                     (table
statistical isoelectric
statistical isoelectric points (pI).
                               (pl).                                      8 & 9). The one stage clotting assay was essentially done as
                                                                          described (see
                                                                          described      (see example
                                                                                                example 6).   6). Clotting
                                                                                                                   Clotting times
                                                                                                                               times (time
                                                                                                                                        (time from
                                                                                                                                               from start-
                                                                                                                                                      start
                                                inimodazole
   Each of the peptides was solved individually in imodazole              ing the
                                                                          ing   the reaction
                                                                                      reaction to   to the
                                                                                                         the "clot"-formation
                                                                                                                “clot-formation were     were compared
                                                                                                                                                compared
buffer (50
       (50 mMmM imidazole, 100 100 mM
                                    mM NaCI,
                                         NaCl, pH7.2) and                 either against a buffer control or a control peptide
subsequently diluted in clotting buffer (50 mM imidazole,
                                                   imidazole,        40   (scrambled
                                                                          (scrambled version).
                                                                                           version).
100
100 mM
     mM NaCl,
         NaCl, 1%    human albumin,
                 1% human              pH7.4) to
                              albumin, pH7.4)  to the
                                                  the desired
                                                       desired               The FIXa activating activity (FVIII cofactor-like activity)
final concentration. The peptides derivedderived from the  the            from peptide B1/7    B1/7 was first measured in the chromogenic
"Glutamic   acid scan"
“Glutamic acid   scan series
                        series were
                               were analyzed
                                    analyzed for
                                              for their
                                                   their chro-
                                                         chro             assay described
                                                                          assay   described above.above.
                                                                             As
                                                                             As shown
                                                                                  shown in   in FIG.
                                                                                                 FIG. 21,
                                                                                                        21, the
                                                                                                             the addition
                                                                                                                   addition of of 2.4
                                                                                                                                  2.4LM µM peptide
                                                                                                                                             peptide B1/7
                                                                                                                                                      B1/7
mogenic FVIII-like activity as well as for their potential to        45
                                                                     45   to
                                                                          to the
                                                                             the reaction
                                                                                   reaction mixture
                                                                                                mixture led led toto aa well
                                                                                                                         well measurable
                                                                                                                               measurable generation
                                                                                                                                               generation
reduce the clotting time in a FVIII deficient plasma. The                 of
one-stage clotting assay was essentially done as described
                                                                          of FXa.
                                                                              FXa. In In contrast,
                                                                                           contrast, the the addition
                                                                                                              addition of  of 35
                                                                                                                               35 µMuM Pefabloc
                                                                                                                                          Pefabloc Xa,
                                                                                                                                                     Xa, aa
                                                                          specific inhibitor of      of FXa protease activity, resulted in a
(see example 6).                                                          significant reduction of       of the chromogenic substrate Substrate cleavage
                                                                          reaction
                                                                          reaction (FIG.
                                                                                      (FIG. 22) 22) thereby
                                                                                                      thereby proving
                                                                                                                  proving thatthat there
                                                                                                                                     there was
                                                                                                                                            was indeed
                                                                                                                                                 indeed aa
   The peptide Al/3-24
                 A1/3-24 showed some interesting properties.         50
                                                                     50   peptide-FIXa mediatedmediated FXa generation. IfIf there was no
The molecule
      molecule exhibited
                exhibited high chromogenic
                                 chromogenic FVIII-like
                                              FVIII-like activ
                                                          activ-          addition
                                                                          addition of of FIXa
                                                                                          FIXa andand FX FX toto the
                                                                                                                  the reaction
                                                                                                                       reaction mixture,
                                                                                                                                  mixture, no no FXa
                                                                                                                                                 FXa was
                                                                                                                                                       was
ity
ity at
    at concentrations
       concentrations between
                       between 6.5  µM-12 µM
                                 6.5uM-12    M but lost
                                                   lost activity
                                                        activity          synthesized (FIG. (FIG.22).
                                                                                                    22). Peptide B1/6 and the control peptides
at higher
at         concentrations (up
   higher concentrations    (up to
                                to 24
                                   24 µM).
                                       LM). The
                                            The peptide
                                                peptide had   no
                                                         had no           B1/5
                                                                          B1/5 and
                                                                                 and Bl/7scr3          exhibited no
                                                                                        B1/7scr3 exhibited            no activity
                                                                                                                          activity (data
                                                                                                                                      (data not
                                                                                                                                             not shown).
                                                                                                                                                 shown).
procoagulant activity
procoagulant   activity in
                        in the absence
                               absence of
                                        of human
                                           human FIXa
                                                  FIXa but
                                                        but was
                                                            was              FIG. 21 demonstrates the chromogenic activity of                   of peptide
strongly active in the presence of 2.2 nM hFIXa.                     55   B1/7.
                                                                          B1/7. The
                                                                                  The peptide
                                                                                         peptide at  at aa final
                                                                                                            final concentration
                                                                                                                    concentration of    of 2.4
                                                                                                                                           2.4 µM
                                                                                                                                                uM oror the
                                                                                                                                                        the
                                                                          buffer
                                                                          buffer control
                                                                                   control (IZ)(IZ) were
                                                                                                     were incubated
                                                                                                             incubated in  in the
                                                                                                                               the presence
                                                                                                                                    presence of of 2.3
                                                                                                                                                   2.3 nM
                                                                                                                                                        nM
   In a second series of experiments we set out to improve                human FIXa.
the procoagulant activity ofof the antibody-198/B1 CDR3H                     In
                                                                             In FIG.
                                                                                 FIG.22 22 peptide
                                                                                              peptide B1/7B1/7 atat aa final
                                                                                                                       final concentration
                                                                                                                             concentration of   of 2.4
                                                                                                                                                   2.4 µM
                                                                                                                                                        uM
                                                                          or
                                                                          or the
                                                                              the buffer
                                                                                   buffer control
                                                                                             control (IZ)(IZ) were
                                                                                                                were incubated
                                                                                                                        incubated in  in the
                                                                                                                                          the presence
                                                                                                                                              presence ofof
derived peptide sequence B B1.
                             1. In a first step we improved the
                                                                     60   2.3
solubility of the original peptide sequence (B1; EGGG-   EGGG        60   2.3 nM
                                                                               nM human
                                                                                    human FIXa  FIXa (as(as indicated
                                                                                                             indicated either
                                                                                                                          either asas "+2.3
                                                                                                                                       “+2.3 nM
                                                                                                                                              nM hFIXa"
                                                                                                                                                   hFIXa'
FTVNWYFDV;
FTVNWYFDV: SEQ    SEQIDID NO:7)
                          NO:7) byby removing
                                       removing the
                                                  the C-terminal
                                                      C-terminal             “+) The chromogenic activity of peptide B1/7 was found
                                                                          or "+")
                                                                          to be dependent on the presence of               of FIXa and FX since no
Val residue
Val residue and
             and adding several
                        several charged residues
                                            residues at the N-
                                                            N- as
                                                               as         reaction is detectable when FIXa and FX are left out of                    of the
well as the —C-terminal
               C-terminal end of the peptide. The resulting               reaction
peptides
                                                                          reaction (w/o(w/o FIXa/FX).
                                                                                                FIXa/FX). To     To prove
                                                                                                                      prove thatthat the
                                                                                                                                       the peptide
                                                                                                                                            peptide B1/7
                                                                                                                                                      B1/7
peptides B1/4, B1/6 (acidic pl),
                               pI), B1/7 (basic pI) pl) and their    65
                                                                     65   mediates indeed FXa generation, the FXa specific protease
scrambled
scrambled versions
            versions B1/5,
                     B1/5, B1/7scr3
                            B1/7scr3 are readily
                                             readily soluble
                                                     soluble in
                                                             in aa        inhibitor
                                                                          inhibitor Pefabloc
                                                                                       Pefabloc Xa   Xa was
                                                                                                          was added
                                                                                                                 added to to the
                                                                                                                             the reaction
                                                                                                                                  reaction mixmix (35  µM
                                                                                                                                                   (35uM
        of buffer systems at physiological pH.
variety of                                                                Pefabloc Xa). In a second set of            of experiments, the procoagu-
                                                                                                                                                procoagu




                                                             Appx154
                                                             Appx154
          Case: 22-1461                                Document: 25                         Page: 142                    Filed: 11/04/2022




                                                                       US 7,033,590 B1
                                        29                                                                                   30
lant effect
     effect of peptides B1/6,
                        B1/6, B1/7
                              B1/7 and B1/7scr3
                                       B1/7scr3 were
                                                were tested
                                                     tested                              presence (FIXa)
                                                                                         presence   (FIXa) of
                                                                                                            of 2.2
                                                                                                               2.2 nM
                                                                                                                   nM FIXa
                                                                                                                        FIXa oror in
                                                                                                                                  in the
                                                                                                                                     the absence
                                                                                                                                          absence (w/o  (w/o
in a aPTT based one-step coagulation assay. The experi
                                                    experi-                                            negative control, plain buffer was added to the
                                                                                         FIXa). As a negative
ments were done essentially as described in Example 6. The                               plasma (IZ). Experiments were done in duplicate and the
results are shown in tables 8 and 9.                                                     average (aver.) was calculated. The clotting times (in
                                                                                    5    seconds) for
                                                                                         seconds)  for the
                                                                                                       the various
                                                                                                           various combinations
                                                                                                                   combinations are
                                                                                                                                  are given.
                                                                                                                                      given. ItIt isis easily
                                                                                                                                                       easily
                                                                                                                       A1/3 reduces (in a dose depen-
                                                                                         appreciable that the peptide Al/3                            depen
                                                                                         dent manner) the clotting time of FVIII inhibitor plasma in
Pep-
Pep-     12.5 µM
         12.5  M      1.25 µM
                      1.25  M      0.125 µM
                                   0.125  M          12.5 nM
                                                     12.5 nM    Buffer
                                                                Buffer
                                                                                                                                           much lesser
                                                                                         the presence of FIXa but, although albeit to a much
tide       (-)
           (—)          (-)
                        (—)              (-)           (-)
                                                       (—)        (-)
                                                                  (—)     remarks
                                                                                         extent, also in the absence of
                                                                                                                      of FIXa.
B1.6
B1/6       115          110
                        110              111           111       110                10
B1.7
B117       157          112
                        112              109           110       110                                                           13
                                                                                                                       Example 13
B1.7
B1/7       115          105
                        105              106           105       107
                                                                 107
scr3
scri                                                                                                           of the 196/C4
                                                                                                    Conversion of     196/C4 IgM into IgG1
                                                                                            Since some
                                                                                            Since    some IgM
                                                                                                            IgM antibodies
                                                                                                                  antibodies demonstrate
                                                                                                                                 demonstrate highhigh FVIII-like
                                                                                                                                                        FVIII-like
                                                                                         activity in chromogenic assays, attempts were made to
   Table 8:
          8: FVIII
             FVIII deficient
                    deficient plasma
                              plasma was
                                     was incubated
                                          incubated either with
                                                           with                     is
                                                                                    15
                                                                                         convert such IgM antibodies into IgG antibodies (though
peptides   B1/6, B1/7scr3
peptides B1/6,   B1/7scr3 oror B1/7
                               B1/7 in
                                    in the
                                       the absence of activated
                                           absence of activated
human FIX. As a negative control, plain buffer was added to                              antibody derivatives
                                                                                         antibody     derivatives such
                                                                                                                     such as
                                                                                                                           as Fab,
                                                                                                                                Fab, F(ab)2,
                                                                                                                                       F(ab), scFv,
                                                                                                                                                scFV, etc. could
                                                                                                                                                               could
the deficient plasma. The clotting times for the various                                 also be
                                                                                         also  be produced).
                                                                                                   produced). Described
                                                                                                                 Described in  in detail
                                                                                                                                  detail below
                                                                                                                                          below isis the
                                                                                                                                                     the rescue
                                                                                                                                                          rescue ofof
combinations are given. Under these conditions, peptide                                  the IgM variable region genes. Expression vector pBax-               pBax
B1/7 at
B1/7  at its
         its highest
             highest concentration (12.5
                                    (12.5 µM)
                                            M) becomes inhibi-
                                                        inhibi                      20
                                                                                         IgG1 (FIG. 23) was first constructed from vectors            vectors pSI
tory to the coagulation process as indicated by the extended                                                pl. F/Bsd (Invitrogen) through multiple clon-
                                                                                         (Promega) and pEF/Bsd                                                 clon
                                                                                         ing steps. B-lymphocytes of a donor are purified from blood
clotting time ofof 157
                   157 seconds.                                                          and mature mRNA purified from these cells using the
                                                                                         “micro-mRNA purification-kit"
                                                                                         "micro-mRNA        purification-kit' (Pharmacia). The cDNA of
                                                                                         a human kappa chain and a human gamma 11 chain are
                                                                                    25
Pep-     12.5 µM
         12.5   M     1.25 µM
                      1.25   M     0.125 µM
                                   0.125  M          12.5 nM
                                                     12.5  nM   Buffer
                                                                Buffer                                                  "you-primefirst-strand-cNA-"kit
                                                                                         prepared employing the "you-primefirst-strand-cDNA-"kit"
tide        (+)          (+)
                         (+)          (+)               (+)
                                                        (+)       (+)     remarks        (Pharmacia) using specific primers.
B1/6
B1.6       103          100
                        1OO              101           100
                                                       1OO       100
                                                                 1OO                        The coding sequence of a human kappa light chain
B1/7
B1.7        83           92               99            99       100
                                                                 1OO                     constant domain is amplified from the cDNA by PCR using
B1.7
B1/7       102           94               94            94        94                     specific primers.
scri
scr3                                                                                30
                                                                                            The gene of a human gamma 11 chain constant region
                                                                                         (CH1-hinge-CH2—CH3) is amplified from the cDNA by
   Table 9:
   Table 9: FVIII
            FVIII deficient
                    deficient plasma
                              plasma was
                                      was incubated   either with
                                           incubated either  with                        PCR using specific primers.
                B1/7scr3 or B1/7 in the presence of activated
peptides B1/6, BI/7scr3                                                                     The PCR
                                                                                            The    PCR product
                                                                                                          product ofof the
                                                                                                                        the light
                                                                                                                             light chain
                                                                                                                                     chain constant
                                                                                                                                             constant domain
                                                                                                                                                         domain isis
human FIX.
        FIX. As
              As aa negative
                    negative control, plain
                                       plain buffer
                                             buffer was
                                                    was added toto 3,35                  digested with Xbal and Nhel   NheI and inserted into digested pSI.
the deficient
     deficient plasma. The clotting
                                clotting times
                                         times for
                                                 for the
                                                     the various
                                                          various                        The resultant vector is cleaved with EcoRI and Xbal and
combinations are given. In the presence of FIXa, peptide                                 annealed oligonucleotides are inserted, resulting in vector
B1/7 becomes procoagulant as indicated by the reduced                                    pSI-Ckappa. The annealed oligonucleotides provide for the
clotting time (83 seconds compared to 102   102 seconds for the                          leader
                                                                                         leader and
                                                                                                  and the
                                                                                                        the Sacl-Xbal
                                                                                                             SacI-Xbal sitessites for
                                                                                                                                   for insertion
                                                                                                                                        insertion ofof the
                                                                                                                                                         the kappa
                                                                                                                                                              kappa
scrambled
scrambled peptide
            peptide and
                      and 100
                           100 seconds
                                seconds for
                                         for the
                                             the buffer control).
                                                         control). 40
                                                                   40
                                                                                         chain variable
                                                                                         chain    variable region.
                                                                                                             region. TheThe PCR PCR product
                                                                                                                                       product of of the
                                                                                                                                                       the human
                                                                                                                                                             human
                                                                                         gamma 11 chain constant region is digested with Spel and
                                         12
                                 Example 12
                                                                                         BamHI and
                                                                                         BamHI      and inserted
                                                                                                         inserted into
                                                                                                                    into digested
                                                                                                                          digested pSI.
                                                                                                                                      pSI. The
                                                                                                                                           The resultant
                                                                                                                                                 resultant vector
                                                                                                                                                              vector
         Procoagulant Activity of Peptide Derivatives
                                                                                         is cleaved with Spel and Notl  NotI and annealed oligonucleotides
                                                                                         are inserted resulting in vector pSI-Cgamma. The annealed
       Obtained
       Obtained from
                from CDR3
                     CDR3 Regions
                            Regions of
                                     of Anti-FIX/FIXa-
                                        Anti-FIX/FIXa
             Antibodies in FVIII Inhibitor Plasma                                   45   oligonucleotides provide for the leader and the Xhol-BstEI   XhoI-BstEI
                                                                                         sites for
                                                                                         sites  for insertion
                                                                                                     insertion of
                                                                                                               of the
                                                                                                                   the heavy
                                                                                                                        heavy chain
                                                                                                                                 chain variable
                                                                                                                                         variable region.
                                                                                                                                                   region. Vector
                                                                                                                                                              Vector
   To assay for the procoagulant activity of peptide A1/3 in                             pEF/Bsd is digested Nhel   Nhe and SfiI,Sfil, blunt ended by Klenow
FVIII inhibitor plasma the following experiment was carried                              treatment and the whole expression cassette of           of pSI-Ckappa,
out. We performed a standard aPTT based one stage clotting                               excised
                                                                                         excised with
                                                                                                    with BglII
                                                                                                           BglII and
                                                                                                                   and BamHI,
                                                                                                                         BamHI, isis inserted
                                                                                                                                        inserted (after
                                                                                                                                                   (after Klenow
                                                                                                                                                            Klenow
assay, but instead of
                    of FVIII deficient plasma we employed so 50                          treatment).
                                                                                         treatment). TheThe resultant
                                                                                                             resultant vector
                                                                                                                         vector isis digested
                                                                                                                                      digested with
                                                                                                                                                 with EcoRI
                                                                                                                                                        EcoRI andand
FVIII inhibitor plasma. The inhibitory potency of the plasma                             HindIII
                                                                                         HindIII and and treated
                                                                                                          treated with
                                                                                                                    with Klenow.
                                                                                                                            Klenow. The whole whole expression
                                                                                                                                                        expression
was
was 8.1 Bethesda
         Bethesda Units
                   Units per ml.
                             ml.                                                         cassette of
                                                                                         cassette   of pSI-Cgamma
                                                                                                        pSI-Cgamma isis excised
                                                                                                                             excised with
                                                                                                                                        with BglII
                                                                                                                                              BglII and
                                                                                                                                                      and BamHI
                                                                                                                                                             BamHI
                                                                                         and
                                                                                         and isis inserted
                                                                                                    inserted (after
                                                                                                               (after Klenow
                                                                                                                        Klenow treatment).
                                                                                                                                    treatment). TheThe resultant
                                                                                                                                                           resultant
                                 TABLE 10
                                       10                                                                     pBax-IgG1.
                                                                                         vector is named pBax-IgGl.
                                                                                    55      The
                                                                                            The light
                                                                                                  light chain
                                                                                                        chain variable
                                                                                                                variable region
                                                                                                                           region can
                                                                                                                                    can be
                                                                                                                                         be inserted
                                                                                                                                             inserted in
                                                                                                                                                       in between
                                                                                                                                                           between
                        w/o
                        wo       w/o
                                 wo
           Peptide     FIXa      FIXa      Average       FIXa   FIXa     average
                                                                                              SacI-Xbal sites, yielding the complete coding-sequence
                                                                                         the Sacl-Xbal
            conc.
            COC.        sec
                        SeC       sec
                                  SEC        sec
                                             SeC.         sec
                                                          SCC    sec
                                                                 SC        sec
                                                                           SeC.
                                                                                         of a kappa light chain. The heavy chain variable region can
                                                                                         be
                                                                                         be cloned
                                                                                              cloned inin between
                                                                                                           between thethe Xhol-BstEI
                                                                                                                            XhoI-BstEI sites,
                                                                                                                                            sites, resulting
                                                                                                                                                    resulting in in aa
IZ
IZ.            0
               O       104.9     103.6         104       94.2   94.1       94            complete IgG1 heavy chain gene. Both open reading frames
A1/3
A1.3       12.5 µM
                 M      85.8      85.3          86       61     60.2
                                                                6O2        61
                                                                           61
             10
             10 µM
                 IM     88.4      87.9          88       61.3   61.8       62       60   are expressed under the control of        of the SV40-promoter and
            7.5 µM
                 M      93.7      92.7          93       68.8   70.9       70            harbour the coding sequence of a signal peptide at the 5' end
              5 µM
                 M     101.5     101.1         101       81     82         82            of the
                                                                                         of  the genes
                                                                                                 genes for
                                                                                                         for secretion
                                                                                                             secretion of of the
                                                                                                                              the heavy
                                                                                                                                   heavy and
                                                                                                                                           and light
                                                                                                                                                light chains
                                                                                                                                                       chains into
                                                                                                                                                                 into
            2.5 µM
                 M     106.1     105.3         106       90.2   90.5       90
                                                                                         the endoplasmatic
                                                                                         the                      reticulum. Transfection
                                                                                               endoplasmatic reticulum.         Transfection intointo COS
                                                                                                                                                        COS cells
                                                                                                                                                                cells
           1.25 µM
                 M     104.5     104.3         104       91.3   91.4       91
                                                                                         allows the expression of      of an IgG1
                                                                                                                                IgG1 with the same binding
                                                                                    65   properties as the parental IgM.
  Table 10:
  Table 10: Various amounts of
            Various amounts of peptide
                               peptide A1/3
                                       A1/3 (12.5
                                            (12.5 µM-1.25
                                                   LM-1.25                                  Construction of   of the plasmid pBax-196/C4
                                                                                                                                      pbax-196/C4 is further
µM)
uM) were
     were added
           added to
                  to FVIII
                     FVIII inhibitor plasma (either
                           inhibitor plasma  (either in
                                                     in the
                                                        the                              accomplished by amplifying the VH of              of the 196/C4
                                                                                                                                                     196/C4 scFvschv




                                                                           Appx155
                                                                           Appx155
          Case: 22-1461                          Document: 25                          Page: 143                 Filed: 11/04/2022




                                                               US 7,033,590 B1
                                                                            B1
                                   31
                                   31                                                                                32
(subcloned as described in Experiment 10)  10) by PCR using
specific primers. The PCR product is digested with Xhol
                                                    XhoI and                                              TABLE 11-continued
                                                                                                                11-continued
BstEII and inserted into XhoI
                            Xhol and BstEII digested pBax
                                                                                       STEP     BUFFER
                                                                                                BUFFER      Flow rate
                                                                                                            Flow rate      Wol.
                                                                                                                           Vol.     CV Fractions
IgG1.
IgGl. The VL of the 196/C4
                      196/C4 sclv
                              scFv is amplified by PCR using
                                                     SacI and 5 3.
specific primers. The PCR product is digested with Sacl                                Sample- sample
                                                                                       sample-  Sample      1.0 ml/min
                                                                                                            1.0 ml/min      X ml
                                                                                                                            x        x    flow-through
Xbal and inserted into Sad
                         SacI and Xbal-digested
                                  XbaLdigested pBax IgG1IgG1-                          load
VH. The resultant vector (pBax-196/C4) is transfected into        4.                   wash 11 equi-        1.0 ml/min
                                                                                                            1.0            20 ml    10
                                                                                                                                    10    flow-through
                                                                                                buffer
COS cells by electroporation, and hybrid IgG1IgG1 molecules 5.                         wash 2 wash-         1.0 ml/min
                                                                                                            1.0 ml/min     10 ml
                                                                                                                           10 ml     5    flow-through
(murine variable
(murine  variable region
                  region and
                         and human   constant region)
                             human constant   region) with
                                                      with the
                                                           the                                  buffer
same specificity as the parental IgM is expressed.             10 6.                   elution elution-     1.0 ml/min
                                                                                                            1.0 ml/min     15 ml
                                                                                                                           15 ml         10 ml fractions-
                                                                                                                                     7.5 1,0   fractions
                                                                                                buffer
                                                                                  7.   neutral- wash-
                                                                                       neutral-             2.0 ml/min     10 ml
                                                                                                                           10        5    waste
                                      14
                              Example 14
                                                                                       ization buffer

      Activation of FIXa Amydolytic Activity by Anti-
                                                Anti
                      FIXa Antibodies                                        15
                                                                             is    Table 1111
               20+1 factor IXa (containing 20 mU FIXa (Stago)) mM imidazole,
    Briefly, 20±1
                                                                                                  198/A1 Fab preparation was dialyzed against 50
                                                                                      The final 198/Al
were
                                                                                                        100 mM
                                                                                                        100   mM NaCl, pH7.4 and analyzed in a
were incubated
        incubated at 37° 37° C., with
                                    with 200
                                          200 µl ul of
                                                     of reaction
                                                        reaction buffer (50(50 chromogenic FVIII assay as described above (FIG. 25).
mM Tris HC1
mM            HCl pH7.4,
                   pH7.4, 100  100 mM
                                    mM. NaCl,
                                          NaCl, 5 mM  mM CaCl2
                                                            CaCl andand 40% Compared to an intact antibody, the 198/Al             198/A1 Fab fragment
Ethyleneglycol), 25ul   25 µl ofof FIXa substrate (CH,SO2-D-CHG-
                                                        (CHSO-D-CHG has somewhat less activity; however, the Fab fragment still
Gly-Arg-pNA, AcOH, 10M/ml,        10M/ml,     Pentapharm       LTD)     in the 20
                                                                                   gives rise to FIX dependent FXa generation.
absence
absence or   or presence
                 presence of   of various
                                   various amounts of     of anti-FIX anti-
                                                                          anti        FIG. 25 demonstrates the chromogenic FVIII-like activity
bodies 198/B1
            198/B1 (IgG isotype) or 196/AF1 (IgM isotype). of the antibody 198/Al                      198/A1 Fab fragment in the presence of          of 2.3
Specific cleavage of FIXa substrate was monitored at 405
nm in an ELISA reader.                                                             nM human
                                                                                   nM   human FIXa.
                                                                                                  FIXa. AsAs aa positive
                                                                                                                 positive control
                                                                                                                             control wewe used
                                                                                                                                           used the
                                                                                                                                                  the intact
                                                                                                                                                        intact
                                                                                   antibody 198/Al
                                                                               255 antibody    198/A1 as  as well
                                                                                                              well as
                                                                                                                    as 7.5
                                                                                                                        7.5 pMpM FVIII.
                                                                                                                                   FVIII. Buffer
                                                                                                                                            Buffer control
                                                                                                                                                      control
    The presence
           presence of  of the
                             the anti-FIX
                                   anti-FIX antibodies
                                               antibodies enhanced the     the 2 (IZ) instead of   of 198/Al
                                                                                                      198/A1 Fab fragment or FVIII was used as
amydolytic activity of FIXa at least 2 fold. FIG. 24 shows                         a negative control.
the increase of    of the amidolytic activity of FIXa in the
presence of    of antibody 198/B1 (FIG. 24A) and antibody                                                       Example 16    16
198/AF1
 198/AF1 (FIG.(FIG. 24B).
                      24B).                                                    30
                                                                                         FVIII-like Activity Exhibited by Fusion Proteins
                                 Example 15   15                                             Between scFv Fragments of         of Anti-FIX/FIXa
                                                                                            Antibodies
                                                                                            Antibodies and and E.
                                                                                                                E. coli
                                                                                                                    coli Alkaline
                                                                                                                          Alkaline Phosphatase
                                                                                                                                      Phosphatase
        FVIII-like Activity Exhibited by Fab Fragments
                                                                                      The single chain Fv fragment (see example 10)            10) ofof anti-
                                                                                                                                                         anti
              Derived from Anti FIX/FIXa-antibodies
                                                                               35 body
                                                                                   body 198/B1
                                                                                         198/B1 (subclone
                                                                                                    (subclone AB2)
                                                                                                                AB2) waswas fused
                                                                                                                              fused to
                                                                                                                                     to the
                                                                                                                                        the N-terminus
                                                                                                                                            N-terminus of   of
    Fab fragments
    Fab   fragments of  of anti-FIX/FIXa
                           anti-FIX/FIXa antibodies were      were prepared E.     E. coli alkaline phosphatase employing the pDAP2        pl)AP2 vector
                                                                                                                                                       vector
and purified according to standard protocols. Briefly, 11 ml                       system
                                                                                   system (Kerschbaumer
                                                                                             (Kerschbaumer et    et al.,
                                                                                                                     al., 1996).
                                                                                                                           1996). Two identical
                                                                                                                                          identical clones
                                                                                                                                                       clones
               198/A1(4 mg/ml in 50 mM imidazole, 100
antibody 198/A1(4                                                    100 mM were isolated and designated pDAP2-198AB2#1        pl)AP2-198AB2#1 and
NaCl, pH7.4) was incubated overnight with 87 µl                     fragmen pDAP2-198AB2#100 (FIG. 26). The resulting fusion pro-
                                                                 ul fragmen-                                                                              pro
tation buffer (1M  (1M Na Na Acetate,
                                Acetate, 10 10 mM
                                                mM EDTA EDTA 67.5      mg/ml 40 teins were expressed in E.
                                                                67.5 mg/ml                                         E. coli, purified by metal affinity
L-cysteine) and 0.25 mg papain (immobilized on agarose                             chromatography (Kerschbaumer et al., 1997)        1997) and analysed
beads),
beads), at  at 37°
               37°C.
                   C. The
                        The preparation
                               preparation waswas filtered
                                                     filtered to
                                                              to remove    the in a standard chromogenic assay (FIG. 27).
                                                                  remove the
papain.
papain. L-histidine
            L-histidine waswas added
                                  added (final     concentration 50
                                          (final concentration       50 mM)
                                                                          mM)         FIG. 27 demonstrates the chromogenic FVIII-like activity
and afterwards the pH was adjusted to 7.0. Finally, solid                          of two antibody 198B1  198/B1 (subclone AB2) scFv fragment-    fragment
NaCl
NaCl isis added to   to give
                         give a final concentration of 1M.      1M.            45 alkaline phosphatase fusion proteins (198AB2#1 and
    Subsequently, the 198/Al  198/A1 Fab fragment was purified by 198AB2#100)      198AB2#100) in    in the
                                                                                                         the presence
                                                                                                              presence of of 2.3
                                                                                                                              2.3 nM
                                                                                                                                  nM human
                                                                                                                                       human FIXa.
                                                                                                                                                 FIXa. AsAs aa
binding to   to protein L:  L: wewe used
                                     used ImmunoPure           Immobilized positive control we used 7.5 pM FVIII.
                                             ImmunoPure Immobilized
PROTEIN LL, Plus (Pierce)  (Pierce) in in aa PHARMACIA
                                              PHARMACIA XK         XK 16/20
                                                                         16/20                                  Example 17    17
Column (gel-volume: 2 ml) Buffers for chromatography
were: 1) 1)  equilibration-buffer:      50  mM     L-histidine   pH   7.0; 1M  50
                                                                                             FVIII-like Activity
                                                                                             FVIII-like    Activity Exhibited
                                                                                                                      Exhibited by by aa Bivalent
                                                                                                                                          Bivalent
NaCl; 0,1%
NaCl;     0,1% (w/v)
                 (w/v) NaN3;
                         NaNs; 2)  2) wash-buffer:
                                      wash-buffer: 50   50 mM
                                                           mM L-Histidine
                                                                 L-Histidine                                    Miniantibody
pH 7.0;
      7.0; 0.1 (w/v)
                 (w/v) NaN3;
                         NaNs; 3)  3) elution-buffer: 100  100 mM
                                                                mM glycine            In
pH 2.5;
      2.5; 0.1%
             0.1% (w/v)
                   (w/v) NaN3;
                            NaNs; and 4)   4) neutralization
                                               neutralization buffer: 2M   2M fragmentIn order
                                                                                          order toto obtain
                                                                                                      obtain aa bivalent
                                                                                                                    bivalent miniantibody,
                                                                                                                                miniantibody, the  the scFv
                                                                                                                                                         scFv
Tris/C1 pH 8,0;
Tris/Cl     pH  8,0;                                                                           of antibody     198/B1
                                                                                                               198/B1    (subclone    AB2)    was   fused to
    Chromatography was essentially done by following steps 55                  55 a amphipatic helical structure employing the pZipl         pzip1 vector
11 to
   to 7 described in  in table
                          table 11.
                                  11. In
                                      In order
                                         order to to neutralize
                                                     neutralize the
                                                                  the low
                                                                      low pH
                                                                                   system (Kerschbaumer et al. (Analytical Biochemistry
                                                                           pH 219-227,                                                 Biochemistry 249,
of the
of  the elution
          elution buffer
                   buffer "Fraction-tubes"
                             “Fraction-tubes were    were pre-loaded               219–227, 1997).
                                                                          with fragment
                                                            pre-loaded with                     1997). Briefly,
                                                                                                           Briefly, the
                                                                                                                      the gene
                                                                                                                            gene ofof the
                                                                                                                                       the 198/B1
                                                                                                                                             198/B1 scFv scFv
0.2   ml   2M   Tris
0.2 ml 2M Tris pH 8.0. pH   8.0.                                                                 was isolated from the plasmid pDAP-                 pL)AP
                                                                                   198AB2#100 (example 16)
                                                                                   198AB2#1OO                    16) by digestion with Sfil  SfiI and NotI.
                                                                               60 The DNA fragment was gel purified and inserted in the
                                  TABLE 11
                                                                                   Sfil/NotI digested vector pZipl.
                                                                                   SfiI/Notl                       pZip 1. The resulting plasmid was
      STEP      BUFFER Flow rate             Vol.
                                             Wol.      CV Fractions                sequenced and designated pZip-198AB2#102 (FIG. 28). In
                                                                                   parallel, we constructed a miniantibody version from an
1. column- elution-           2.0 ml/min     10
                                             10 ml      5 waste
      wash      buffer
                                                                                   irrelevant
                                                                                   irrelevant monoclonal
                                                                                               monoclonal antibody
                                                                                                               antibody termed
                                                                                                                           termed #8860.
                                                                                                                                    #8860. InIn aa first
                                                                                                                                                   first step,
                                                                                                                                                         step,
2. equil-       equi-         2.0 ml/min     10 ml
                                             10         5 waste                65 the single chain Fv fragment of antibody #8860 was
      ibration buffer                                                              assembled in the vector pDAP2.    pl)AP2. The cloning was done
                                                                                   essentially as described in example 10.        10. The construct was




                                                                     Appx156
                                                                     Appx156
         Case: 22-1461                          Document: 25                    Page: 144                Filed: 11/04/2022




                                                            US 7,033,590 B1
                                    33                                                                      34
          pL)AP2-8860scFvii.11 (FIG. 29). Subcloning of the
named pDAP2-8860scFv#11                                                    #8860 were expressed employing the pMycHis6 vector     vector
schv fragment contained within pDAP2-8860scFv#11
scFv                                     pl)AP2-8860scFvil 11 into         system. Vector pMycHis6 (FIGS. 32 & 33) was constructed
plasmid pZip
           pZipl1 (see above) yielded the miniantibody con-       con      by cleaving vector pCOCK (Engelhardt et al., 1994,      1994,
         p8860-Zipii 1.2
struct p8860-Zip#1.2       (FIG.  30).  Since  antibody #8860 does
                                                                                            17:44–46)
                                                                           Biotechniques, 17:               NotI and EcoRI and inser-
                                                                                               44-46) with Notl                    inser
not react with FIX/FIXa (as judged by Western Blot and
not   react  with  FIX/FIXa     (as  judged    by  Western   Blot  and   5
                                                                                                                   mychis0-co: 5'5'ggc
                                                                         5 tion of the following oligonucleotides: mychis6-co:      ggc-
ELISA analysis) it represents an appropriate negative con-        con
trol. Subsequently, the miniantibody proteins were                         CgCagaacaaaaactCatcticagaagaggatCt gaatggggcggcacatcac-
                                                                           cgcagaacaaaaactcatctcagaagaggatct     gaatgggg.cggCaCatCaC
expressed in E. E. coli and purified from bacterial Supernatants
                                                         supernatants                                    ID.N.O.
                                                                           catcaccatcactaataag 3' (SEQ. ID.NO.
by binding to Protein L according to the following protocol:
For affinity chromatography we used ImmunoPure Immo-            Immo                      mycehis-ic: 5'aattcttattagtgatggtgatggtgat-
                                                                               79) and mycchis-ic:       5'aattcttattagtgatggtgatggtgat
bilized PROTEIN
bilized   PROTEIN L,L Plus Plus (Pierce)
                                 (Pierce) in
                                           in aa PHARMACIA
                                                  PHARMACIA XK     XK       gtgcc.gc.cccattcagatcctict tctgagatgagtttttgttctgc
                                                                         10 gtgccgccccattcagatcctct        tctgagatgagttitttgttctgc 3'
 16/20
16/20     Columns     having    a  gel-volume      of  4  ml   Buffers      (SEQ.ID.N.O. 80) FIG. 32 shows a schematic representation
                                                                            (SEQ.ID.NO.
employed were: 1)    1)  equilibration-buffer:    5  mM   L-Histidine       of the plasmid pMycHis6. The c-myc-tag sequence is used
pH 7.0,
pH    7.0, 1M
           1M NaCl,
                NaCl, 0.1%
                        0.1% (w/v)
                               (w/v) NaN3,
                                       NaN, wash-buffer:
                                                wash-buffer: 5050 mM
                                                                   mM
L-histidine pH 7.0, 0.1%
L-histidine    pH   7.0,  0.1% (w/v)
                                 (w/v) NaN3;      elution-buffer: 100
                                         NaNs; elution-buffer:     100      to detect
                                                                            to detect the
                                                                                      the scFv
                                                                                          scFv fragment
                                                                                                fragment in
                                                                                                          in an
                                                                                                             an ELISA
                                                                                                                ELISA or or aa Western
                                                                                                                               Western Blot
                                                                                                                                         Blot
mM glycine pH 2.5, 0.1% (w/v) NaN, and neutralization
mM     glycine  pH   2.5,  0.1%   (w/v)   NaN3;    and  neutralization                                 Mol.Cell. Biol., 1985,
                                                                            analysis (Evan et al., Mol.Cell.Biol.,       1985, 5(12), pp.
buffer: 2M Tris/C1 pH 8.0.
buffer:   2M   Tris/Cl  pH   8.0.                                           3610–6). The His6-tag sequence was included to facilitate
                                                                         15 3610-6).

    Samples were prepared as follows: The bacterial culture                                  of scFv
                                                                            the purification of ScFV fragments by metal ion chromatog-
                                                                                                                                 chromatog
Supernatant was obtained by centrifugation of the bacterial
supernatant                                                                                        1988. Biotechnology,
                                                                            raphy (Hochuli et al., 1988.  Biotechnology, 6: 1321-1325).
                                                                                                                                1321–1325).
expression culture (11,000xg, 4°C.,           10 minutes). 470 g of
                                      4° C., 10                             The plasmid contains the lacZ gene promoter (PlacZ)  (Placz) the
ammonium-Sulphate was added to 11 liter of supernatant
ammonium-sulphate                                     Supernatant and       PelB-leader
                                                                            PeIB-leader  sequence (see legend FIG. 26) an E.   E. coli origin
the solution stirred on ice for 11 hour to precipitate the               zo of replication (colElori) and a M13 phage origin of replica-
                                                                               replication                                        of replica
protein. The precipitate was pelleted at 14,000xg   14,000xg for 35
minutes                                                                     tion (M13ori). To allow for specific selection, the plasmid
minutes at 2°    C. and
              2°C.   and re-dissolved
                          re-dissolved in 100100 nil
                                                  ml 20
                                                      20 mM
                                                         mM Tris
                                                              Tris pH       also carries the gene for the enzyme p-lactamase
7.0. Subsequently the concentrate was dialyzed against 20                                                             B-lactamase (AmpR)
                                                                                                                                    (Ampk)
mM     Tris pH   7.0,  L-histidine   was  added    to a
mM Tris pH 7.0, L-histidine was added to a final concen final concen-                                                     amplicillin.
                                                                            mediating resistance against the antibiotic ampicillin.
tration of 50 mM and the pH was adjusted to 7.0. Finally,                        The
solid
solid NaCl
        NaCl was    added to
              was added        give aa final
                            to give    final concentrations
                                              concentrations of of 1M.
                                                                   1M.   25
                                                                         25      The gene
                                                                                      gene of
                                                                                            of the
                                                                                               the 198/B1
                                                                                                    198/B1 (clone
                                                                                                             (clone AB2)-scFv
                                                                                                                    AB2)-scFv was was rescued
                                                                                                                                       rescued
Before loading on the column, a sample was first centrifuged                                  pl)AP2-198AB2#100 (example 16)
                                                                              from plasmid pDAP2-198AB2#100                      16) by diges-
                                                                                                                                         diges
at 16,000xg for 15 min at room temperature and then filtered                  tion with SfiI
                                                                                         Sfil and Notl
                                                                                                   Not and inserted into SfiI/Notl
                                                                                                                            Sfi/Not cleaved
through a 0.45 pm   um sterile filter.                                        pMycHis6. The resultant
                                                                                                resultant plasmid was designated pMycHis-
                                                                                                                                    pMycHis
    Chromatography was essentially done by following steps                    198AB2#102.
                                                                              198AB2#102. FIG. 34 shows the nucleotide and amino acid
11 to
   to 7 described inin table
                       table 12.
                              12. In
                                  In order
                                     order to
                                            to neutralize
                                               neutralize the
                                                           the low
                                                               low pH
                                                                    pH   30
of the
of  the elution buffer
                  buffer "Fraction-tubes"
                          “Fraction-tubes were were pre-loaded with
                                                                  with                      198AB2 scFv (linked to the c-myc-tag and the
                                                                              sequence of 198AB2
0.2 ml
0.2   ml 2M Tris pH 8.0.                                                      His6tag):the resulting ORF of    of the expression vector is
                                                                              named pMycHisG-198AB2#102. Vector pMycHis6 was
                                                                              constructed by cleaving vector pCOCK (Engelhardt O. et al,     al.
                                                                         35
                                                                              BioTechniques 17,17, 44-46,
                                                                                                    44–46, 1994)
                                                                                                            1994) Notl-EcoRI
                                                                                                                   Noti-EcoRI and inserting
     STEP       BUFFER           Flow rate    Vol.
                                              Wol.    CV Fractions            the following annealed oligonucleotides: (5'-
1.   column-    elution-buffer   2.0 ml/min   20 ml   5   waste               GGCCGCAGAACAAAAACTCATCTCAGAA-
                                                                              G GCC G CAGAA CAAAAACT CAT CT CAGAA
     wash                                                                     GAGGAT
                                                                              GAG GAT CT GAATGGG GAAT G. G. G.
2.   equil-     equi-buffer      2.0 ml/min   20 ml   5   waste               GCGGCACATCACCATCACCATCACTAATAAG-3'
                                                                              GCGGCACAT CACCATCACCATCACTAATAAG-3'
     ibration
                                                                         40   (SEQ.ID.No.
                                                                              (SEQ.I.D.No. 103)
                                                                                              103) and
                                                                                                    and 5'-TTATTAGTGATGGTGATGGT
                                                                                                          5'-TTATTAGTGATGGTGATGGT
3.   Sample-
     sample-    Sample
                sample           1.0 ml/min    X ml
                                               x      x   flow-through   40
     load                                                                     GATGTGCCGCCCCATTCAGATCCTCTTCTGAGATGA
4.   wash 11    equi-buffer      1.0 ml/min   40 ml 10    flow-through        GTTTTTGTTCTGC-3'(SEQ.ID.NO.
                                                                              GTTTTTGTTCTGC-3'(SEQ.I.D.N.O. 104)).     104)). The
                                                                                                                                The resultant
                                                                                                                                      resultant
5.   wash 2     wash-buffer      1.0 ml/min   20 ml   5 flow-through
                                                                              vector,
                                                                              vector, named
                                                                                       named pMycHis6,
                                                                                               pMycHis6, was was cleaved
                                                                                                                  cleaved SfiI-Notl
                                                                                                                           Sfil-NotI and
                                                                                                                                       and the
                                                                                                                                            the
6.   elution    elution-buffer   1.0 ml/min   30 ml   7.5 1.0 ml
                                                          fractions-
                                                          fractions           gene of
                                                                              gene  of scFv
                                                                                        sclv 198AB2
                                                                                              198AB2 waswas swapped
                                                                                                             swapped into
                                                                                                                       into this
                                                                                                                             this vector
                                                                                                                                  vector from
                                                                                                                                          from
7.   neutral-
     neutral- wash-buffer        2.0 ml/min   20 ml   5 waste            45           plDAP2-198AB2#100.
                                                                              vector pDAP2-198AB2#100.
     ization
                                                                        In
                                                                        In analogy
                                                                            analogy to to the
                                                                                           the 198AB2        construct, the
                                                                                                 198AB2 construct,       the #8860
                                                                                                                              #8860 scFv
                                                                                                                                       scFv
                                                                     fragment was cloned from a plasmid designated pDAP2-         pCAP2
   Table 12.
          12. The final
                    final 198/B1
                          198/B1 (subclone
                                  (subclone AB2)
                                              AB2) miniantibody
                                                   miniantibody 8860scFv
                                                                     8860scFv clone
                                                                                  clone 11.
                                                                                          11. The
                                                                                               The pure
                                                                                                     pure scFv
                                                                                                            scFv protein
                                                                                                                   protein of
                                                                                                                           of #8860
                                                                                                                               #8860 waswas
preparation (designated 198AB-Zip#102)
                            198AB-Zipii 102) and the negative designated
control 8860-Zipii
           8860-Zip#1.2 1.2 were dialyzed against 50 mM 50        50                8860-M/HH4c (plasmid p8860-M/H#4c,
                                                                                    8860-M/H#4c                    p8860-M/HH4c, FIG.
imidazole,
imidazole, 100100 mM
                   mM NaCI,
                         NaCl, pH7.4 and analyzed
                                             analyzed in    chro 35). The scFv
                                                      in a chro-               sclv proteins were expressed in E.      E. coli and affinity
mogenic FVIII
mogenic    FVIII assay
                  assay as described
                            described above
                                        above (FIG.
                                               (FIG. 31).
                                                     31).            purified from bacterial supernatants on Protein L columns
   As
   As can be be seen inin FIG.
                          FIG. 31,
                                31, the
                                    the miniantibody
                                         miniantibody construct (see example 17).       17). The final MycHis-198AB2#102 and
198AB-Zipii 102 gives rise to substantial FXa generation 8860-M/H#4c
198AB-Zip#102                                                        8860-M/Hi4c       preparations were dialyzed against 50 mM
(compare to FVIII) whereas the negative control minianti-
                                                       minianti 5555
body 8860-Zipii    1.2 does not.
       8860-Zip/11.2                                                 imidazole, 100
                                                                     imidazole,    100 mM
                                                                                        mM NaCI,
                                                                                               NaCl, pH7.4
                                                                                                       pH7.4 andand analyzed
                                                                                                                     analyzed inin aa chro-
                                                                                                                                      chro
   FIG. 31 demonstrates the chromogenic FVIII-like activity          mogenic FVIII
                                                                     mogenic    FVIII assay
                                                                                        assay asas described
                                                                                                   described above
                                                                                                                above (FIG.
                                                                                                                        (FIG. 36).
                                                                                                                               36).
of the
of  the 198/B1
          198/B1 (subclone       AB2) miniantibody
                     (subclone AB2)      miniantibody 198AB-
                                                         198AB          As
                                                                        As can
                                                                            can bebe seen
                                                                                      seen in
                                                                                            in FIG.
                                                                                                FIG. 36,
                                                                                                       36, the
                                                                                                            the scfv  construct MycHis-
                                                                                                                 scfv construct   MycHis
Zip#102
Zipii 102 inin the  presence of
               the presence    of 2.3
                                  2.3 nM
                                       nM human
                                             human FIXa.
                                                    FIXa. AsAs aa 198AB2#102
                                                                      198AB2#102       gave   rise
                                                                                              rise  to
                                                                                                    to  aa substantial
                                                                                                            substantial   FXa generation
                                                                                                                         FXa    generation
positive  control  we  used 4.8  pM FVIII   whereas an unrelated
positive control we used 4.8 pM FVIII whereas an unrelated whereas
                (8860-Zipii 1.2) and plain reaction buffer (IZ)
miniantibody (8860-Zip#1.2)                                          whereas the
                                                             (IZ) 60 tion      the negative
                                                                                    negative controls
                                                                                               controls 8860-M/H#4c
                                                                                                          8860-M/Hi4c and  and plain reac-
                                                                                                                                      reac
                                                                     tion  buffer
                                                                           buffer  (IZ)
                                                                                   (IZ)  did
                                                                                         did not.
                                                                                             not.
served as negative controls.
served   as negative   controls.
                                                                        FIG. 36 demonstrates the chromogenic FVIII-like activity
                           Example 18 18                                      198/B1 (subclone AB2) scFv fragment (MycHis-
                                                                     of the 198/B1                                               (MycHis
      FVIII-like
       FVIII-like Activity
                   Activity Exhibited
                             Exhibited byby Anti-FIXa/FIX
                                            Anti-FIXa/FIX            198AB2#102)
                                                                     198AB2#102)       in
                                                                                       in the
                                                                                          the  presence
                                                                                               presence   of
                                                                                                          of  2.3
                                                                                                              2.3 nM
                                                                                                                   nM  human
                                                                                                                       human   FIXa.
                                                                                                                                FIXa.  As
                                                                                                                                       As aa
                   Antibody schv
                              scFv  Fragments                     65 positive
                                                                     positive control
                                                                               control wewe used
                                                                                             used 4.8
                                                                                                   4.8 pMpM FVIII
                                                                                                              FVIII whereas
                                                                                                                     whereas aa unrelated
                                                                                                                                 unrelated
   The single chain Fv fragment of         of antibody 198/B1
                                                          198/B1     scfv
                                                                     scfv (8860-M/H#4c)
                                                                           (88.60-M/Hi4c) and and plain
                                                                                                   plain reaction
                                                                                                           reaction buffer
                                                                                                                     buffer (IZ)
                                                                                                                            (IZ) served
                                                                                                                                 served as
                                                                                                                                         as
(subclone AB2) as well as the scfv fragment of      of antibody negative controls.




                                                                  Appx157
                                                                  Appx157
          Case: 22-1461               Document: 25               Page: 145          Filed: 11/04/2022




                                                 US 7,033,590
                                                 US 7,033,590 B1
                                                              B1
                            35                                                       36


                                    SEQUENCE LISTING
                                    SEQUENCE LISTING


<160> NUMBER
<160> NUMBER OF
             OF SEQ
                SEQ ID
                    ID NOS:
                       NOS : 112
                             112
<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 11
&2 11s
<211>    LENGTH 26
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:primer
                                                        Sequence: primer
         oligonucleotide
         oligonuc          MOCG1-2FOR
                  leotide MOCG1-2FOR

<400 SEQUENCE:
<400> SEQUENCE: 11
citcaattittc ttgtccacct tggtgc
ctcaattttc              toggtgc                                                26
                                                                               26



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 2
                    2
&2 11s
<211>    LENGTH 26
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:primer
                                                        Sequence: primer
         O ligonucleotide
         oligonuc          MOCG3FOR
                  leotide MOCG3FOR

<400 SEQUENCE:
<400> SEQUENCE: 2
                2
citcg attcto ttgatcaact cagtct
ctcgattctc                                                                     26
                                                                               26



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 33
<211&
<211>    LENGTH 24
         LENGTH:  24
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:              Sequence
                     Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                               Description of
                                           of Artificial Sequence:primer
                                                         Sequence: primer
         O ligonucleotide
         oligonuc           MOCMFOR
                  leotide MOCMFOR

<400 SEQUENCE:
<400> SEQUENCE: 33
tggaatgggc acatgcagat
tggaatgggc acatgcagat ctct
                      citct                                                    24
                                                                               24



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 44
<211&
<211>    LENGTH 24
         LENGTH:  24
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:              Sequence
                     Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                               Description of
                                           of Artificial Sequence:primer
                                                         Sequence: primer
         MOCKFOR

<400 SEQUENCE:
<400> SEQUENCE: 44
citcattcctg ttgaagctct tgac
ctcattcctg             togac                                                   24
                                                                               24



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 5
                    5
&2 11s
<211>    LENGTH 10
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:hybridoma
                                                        Sequence: hybridoma
         cell line 193/AD3 heavy chain CDR3 region
         cell line 193/AD3 heavy chain CDR3 region

<400>
<400 SEQUENCE:
      SEQUENCE: 5
                5
Tyr Gly
Tyr Gly Asn Ser
            Ser Pro
                Pro Lys
                    Lys Gly
                        Gly Phe
                            Phe Ala Tyr
                                    Tyr
  1               5
                  5                  10


<210>
<210>    SEQ
         SEQ ID
              ID NO
                 NO 66
<211&
<211>    LENGTH: 12
         LENGTH:  12
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:              Sequence
                     Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                               Description of
                                           of Artificial Sequence:hybridoma
                                                         Sequence: hybridoma
         cell line 193/K2 heavy chain CDR3 region
         cell line 193/K2 heavy chain CDR3 region




                                                     Appx158
                                                     Appx158
          Case: 22-1461             Document: 25             Page: 146       Filed: 11/04/2022




                                               US 7,033,590
                                               US 7,033,590 B1
                                                            B1
                           37
                           37                                                 38

                                                 -continued
                                                 -continued

<400 SEQUENCE:
<400> SEQUENCE: 66
Asp Gly
    Gly Gly
        Gly His
            His Gly
                Gly Tyr
                    Tyr Gly
                        Gly Ser
                            Ser Ser
                                Ser Phe
                                    Phe Asp Tyr
  1                  5
                     5                  10



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 77
&2 11s
<211>    LENGTH 13
         LENGTH:  13
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: hybridoma
<223>    OTHER INFORMATION: Description of Artificial Sequence:hybridoma
      cell line 193/AB2 (derived from antibody 198/B1) heavy chain CDR3
         cell line 193/AB2 (derived from antibody 198/B1) heavy chain CDR3
      region, peptide B1
         region, peptide B1


<400 SEQUENCE:
<400> SEQUENCE: 77
Glu Gly Gly Gly Phe Thr Val Asn Trp Tyr Phe Asp Val
Glu Gly Gly Gly Phe Thr Val Asn Trp Tyr Phe Asp Val
  1               5
                  5                  10



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 88
&2 11s
<211>    LENGTH 13
         LENGTH:  13
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: hybridoma
<223>    OTHER INFORMATION: Description of Artificial Sequence:hybridoma
      cell line 198/A1 heavy chain CDR3 region, peptide A1
         cell line 198/A1 heavy chain CDR3 region, peptide Al


<400 SEQUENCE:
<400> SEQUENCE: 88
Glu Gly Gly Gly Tyr Tyr Val Asn Trp Tyr Phe Asp Val
Glu Gly Gly Gly Tyr Tyr Val Asn Trp Tyr Phe Asp Val
  1               5
                  5                  10



<210> SEQ
<210> SEQ ID
          ID NO
             NO 99
<400 SEQUENCE:
<400> SEQUENCE: 99
OOO
000



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 10
                     10
&2 11s
<211>    LENGTH 13
         LENGTH:  13
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutated peptide A1/1 scrambled versioon of A1
         198/A1 derived mutated peptide A1/1 scrambled versioon of Al


<400 SEQUENCE:
<400> SEQUENCE: 10
                10
Val Tyr
    Tyr Gly
        Gly Phe
            Phe Gly
                Gly Trp
                    Trp Gly
                        Gly Tyr Glu Val
                                    Val Asn
                                        Asn Asp
                                            Asp Tyr
  1                  5
                     5                  10



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 11
                    11
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutated peptide A1/2
         198/A1 derived mutated peptide A1/2


<400 SEQUENCE:
<400> SEQUENCE: 11
                11
Glu Glu Glu Glu Gly Gly Gly Tyr Tyr Val Asn Trp Tyr Phe Asp Glu
Glu Glu Glu Glu Gly Gly Gly Tyr Tyr Val Asn Trp Tyr Phe Asp Glu
  1               5
                  5                  10                  15
                                                         15

Glu Glu



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 12
                    12
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutated peptide A1/3
         198/A1 derived mutated peptide Al/3




                                                  Appx159
                                                  Appx159
          Case: 22-1461               Document: 25              Page: 147     Filed: 11/04/2022




                                                US 7,033,590 B1
                            39                                                 40

                                                   -continued
                                                   -continued


<400 SEQUENCE:
<400> SEQUENCE: 12
                12
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 13
                    13
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutated peptide A1/4 scrambled version of A1/2
         198/A1 derived mutated peptide A1/4 scrambled version of A1/2

<400 SEQUENCE:
<400> SEQUENCE: 13
                13
Glu Tyr Gly
Glu     Gly Glu
            Glu Gly
                Gly Tyr Gly
                        Gly Glu
                            Glu Val Asn
                                    Asn. Glu
                                         Glu Tyr Asp
                                                 Asp Glu
                                                     Glu Phe
                                                         Phe Glu
                                                             Glu
  1               5
                  5                  10                   15
                                                          15

Trp Glu
Trp Glu

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 14
                    14
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence:antibody
                                                       Sequence: antibody
         198/A1 derived mutated peptide A1/5 scrambled version of A1/3
         198/A1 derived mutated peptide Al/5 scrambled version of A1/3

<400 SEQUENCE:
<400> SEQUENCE: 14
                14
Val Arg
    Arg Tyr
        Tyr Arg Asn Arg
                    Arg Tyr
                        Tyr Arg Trp Gly
                                    Gly Tyr
                                        Tyr Arg
                                            Arg Gly
                                                Gly Arg
                                                    Arg Phe
                                                        Phe Gly
                                                            Gly
  1                  5
                     5                    10                   15
                                                               15

Asp Glu
Asp Glu


<210>
<210     SEQ
         SEQ ID
              ID NO
                 NO 15
                    15
<211>
&2 11s   LENGTH:
         LENGTH 18
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutated peptide A1/3-scr3 scrambled version of A1/3
         198/A1 derived mutated peptide Al/3-scr3 scrambled version of A1/3

<400 SEQUENCE:
<400> SEQUENCE: 15
                15
Arg
Arg Arg Arg Gly
    Arg Arg Gly Glu
                Glu Tyr
                    Tyr Gly
                        Gly Val Tyr Trp
                            Val Tyr Trp Asn Gly Asp
                                        Asn Gly Asp Phe
                                                    Phe Tyr
                                                        Tyr Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210> SEQ
<210> SEQ ID
          ID NO
             NO 16
                16
<400 SEQUENCE:
<400> SEQUENCE: 16
                16
OOO
000


<210>
<210 SEQ
      SEQ ID
          ID NO
             NO 17
                17
<400>
<400 SEQUENCE:
      SEQUENCE: 17
                17
OOO
000


<210>
<210> SEQ
      SEQ ID
          ID NO
             NO 18
                18
<400 SEQUENCE:
<400> SEQUENCE: 18
                18
OOO
000



<210 SEQ
<210> SEQ ID
          ID NO
             NO 19
                19




                                                    Appx160
                                                    Appx160
          Case: 22-1461               Document: 25              Page: 148    Filed: 11/04/2022




                                                US 7,033,590 B1
                            41                                                42

                                                   -continued
                                                   -continued

&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE  PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER INFORMATION:  Description of Artificial Sequence: antibody
                                            Artificial Sequence:antibody
         198/A1 derived mutant peptide A1/3-13 Alanine scan E-1-A-1
         198/A1 derived mutant peptide A1/3-13 Alanine scan E-1-A-1

<400 SEQUENCE:
<400> SEQUENCE: 19
                19
Arg Arg Arg
        Arg Ala Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 20
                    20
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence:antibody
                                                       Sequence: antibody
         198/A1 derived mutant peptide A1/3-1 Alanine scan G-2-A-2
         198/A1 derived mutant peptide A1/3-1 Alanine scan G-2-A-2

<400 SEQUENCE:
<400> SEQUENCE: 20
                20
Arg
Arg Arg Arg Glu
    Arg Arg Glu Ala Gly Gly
                Ala Gly Gly Tyr Tyr Val
                            Tyr Tyr Val Asn
                                        Asn Trp Tyr Phe
                                            Trp Tyr Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 21
                    21
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-2 Alanine scan G-3-A-3
         198/A1 derived mutant peptide A1/3-2 Alanine scan G-3-A-3

<400 SEQUENCE:
<400> SEQUENCE: 21
                21
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Ala
                    Ala Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 22
                    22
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-3 Alanine scan G-4-A-4
         198/A1 derived mutant peptide A1/3-3 Alanine scan G-4-A-4

<400>
<400 SEQUENCE:
      SEQUENCE: 22
                22
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Ala
                        Ala Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 23
                    23
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION:  Description of Artificial Sequence: antibody
                                             Artificial Sequence:antibody
         198/A1 derived mutant peptide A1/3-4 Alanine scan Y-5-A-5
         198/A1 derived mutant peptide A1/3-4 Alanine scan Y-5-A-5

<400 SEQUENCE:
<400> SEQUENCE: 23
                23
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Ala Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg




                                                    Appx161
                                                    Appx161
          Case: 22-1461               Document: 25              Page: 149    Filed: 11/04/2022




                                                US 7,033,590 B1
                            43                                                44

                                                   -continued
                                                   -continued

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 24
                    24
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-5 Alanine scan Y-6-A-6
         198/A1 derived mutant peptide A1/3-5 Alanine scan Y-6-A-6

<400 SEQUENCE:
<400> SEQUENCE: 24
                24
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Ala
                                Ala Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 25
                    25
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION: Description of Artificial Sequence: antibody
                                            Artificial Sequence:antibody
         198/A1 derived mutant peptide A1/3-6 Alanine scan V-7-A-7
         198/A1 derived mutant peptide A1/3-6 Alanine scan V-7-A-7

<400 SEQUENCE:
<400> SEQUENCE: 25
                25
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Ala
                                    Ala Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg
Arg Arg
    Arg



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 26
                    26
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence:antibody
                                                       Sequence: antibody
         198/A1 derived mutant peptide A1/3-7 Alanine scan N-8-A-8
         198/A1 derived mutant peptide A1/3-7 Alanine scan N-8-A-8

<400>
<400 SEQUENCE:
      SEQUENCE: 26
                26
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Ala
                                        Ala Trp Tyr Phe
                                            Trp Tyr Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 27
                    27
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-8 Alanine scan W-9-A-9
         198/A1 derived mutant peptide A1/3-8 Alanine scan W-9-A-9

<400>
<400 SEQUENCE:
      SEQUENCE: 27
                27
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Ala
                                            Ala Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ
         SEQ ID
              ID NO
                 NO 28
                    28
&2 11s
<211>    LENGTH 18
         LENGTH:
<212>
&212>    TYPE: PRT
         TYPE   PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-9 Alanine scan Y-10-A-10
         198/A1 derived mutant peptide A1/3-9 Alanine scan Y-10-A-10

<400 SEQUENCE:
<400> SEQUENCE: 28
                28
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Ala
                                                Ala Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg




                                                    Appx162
                                                    Appx162
          Case: 22-1461             Document: 25             Page: 150      Filed: 11/04/2022




                                               US 7,033,590 B1
                           45                                                46
                                                 -continued


<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 29
                    29
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutant peptide A1/3-10 Alanine scan F-11-A-11
         198/A1 derived mutant peptide Al/3-10 Alanine scan F-11-A-11


<400 SEQUENCE:
<400> SEQUENCE: 29
                29
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Ala
                                                    Ala Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 30
                    30
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutant peptide A1/3-11 Alanine scan D-12-A-12
         198/A1 derived mutant peptide A1/3-11 Alanine scan D-12-A-12

<400 SEQUENCE:
<400> SEQUENCE: 30
                30
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Ala
                                                        Ala Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 31
                    31
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutant peptide A1/3-12 srmb scrambled version
         198/A1 derived mutant peptide A1/3-12srmb scrambled version


<400 SEQUENCE:
<400> SEQUENCE: 31
                31
Arg Arg Arg
        Arg Tyr Val Tyr
                    Tyr Asn
                        Asn Gly
                            Gly Trp
                                Trp Gly
                                    Gly Tyr Phe
                                            Phe Glu
                                                Glu Gly
                                                    Gly Ala
                                                        Ala Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 32
                    32
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutant peptide A1/3-22 Glutamic acid scan G-2-E-2
         198/A1 derived mutant peptide A1/3-22 Glutamic acid scan G-2-E-2


<400 SEQUENCE:
<400> SEQUENCE: 32
                32
Arg Arg Arg
        Arg Glu
            Glu Glu
                Glu Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 33
                    33
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/A1 derived mutant peptide A1/3-23 Glutamic acid scan G-3-E-3
         198/A1 derived mutant peptide A1/3-23 Glutamic acid scan G-3-E-3


<400 SEQUENCE:
<400> SEQUENCE: 33
                33
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Glu
                    Glu Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg




                                                  Appx163
                                                  Appx163
          Case: 22-1461             Document: 25             Page: 151       Filed: 11/04/2022




                                               US 7,033,590 B1
                           47                                                 48

                                                 -continued
                                                 -continued



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 34
                    34
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence:antibody
                                                       Sequence: antibody
         198/A1 derived mutant peptide A1/3-24 Glutamic acid scan G-4-E-4
         198/A1 derived mutant peptide A1/3-24 Glutamic acid scan G-4-E-4

<400 SEQUENCE:
<400> SEQUENCE: 34
                34
Arg
Arg Arg Arg Glu
    Arg Arg Glu Gly
                Gly Gly
                    Gly Glu
                        Glu Tyr Tyr Val
                            Tyr Tyr Val Asn
                                        Asn Trp Tyr Phe
                                            Trp Tyr Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 35
                    35
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-26 Glutamic acid scan Y-5-E-5
         198/A1 derived mutant peptide A1/3-26 Glutamic acid scan Y-5-E-5

<400 SEQUENCE:
<400> SEQUENCE: 35
                35
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Glu
                            Glu Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 36
                    36
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence:antibody
                                                       Sequence: antibody
         198/A1 derived mutant peptide A1/3-27 Glutamic acid scan Y-6-E-6
         198/A1 derived mutant peptide A1/3-27 Glutamic acid scan Y-6-E-6

<400 SEQUENCE:
<400> SEQUENCE: 36
                36
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Glu
                                Glu Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210>
<210     SEQ
         SEQ ID
              ID NO
                 NO 37
                    37
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION:  Description of Artificial Sequence: antibody
                                             Artificial Sequence:antibody
         198/A1 derived mutant peptide A1/3-28 Glutamic acid scan V-7-E-7
         198/A1 derived mutant peptide A1/3-28 Glutamic acid scan V-7-E-7

<400 SEQUENCE:
<400> SEQUENCE: 37
                37
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Glu
                                    Glu Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg Arg

<210>
<210     SEQ
         SEQ ID
             ID NO
                 NO 38
                    38
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-29 Glutamic acid scan N-8-E-8
         198/A1 derived mutant peptide A1/3-29 Glutamic acid scan N-8-E-8

<400>
<400 SEQUENCE:
      SEQUENCE: 38
                38
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Glu
                                        Glu Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15




                                                  Appx164
                                                  Appx164
          Case: 22-1461               Document: 25              Page: 152     Filed: 11/04/2022




                                                US 7,033,590
                                                US 7,033,590 B1
                                                             B1
                            49
                            49                                                 50

                                                   -continued
                                                   -continued

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 39
                    39
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION: Description of Artificial Sequence: antibody
                                            Artificial Sequence:antibody
         198/A1 derived mutant peptide A1/3-30 Glutamic acid scan W-9-E-9
         198/A1 derived mutant peptide A1/3-30 Glutamic acid scan W-9-E-9

<400 SEQUENCE:
<400> SEQUENCE: 39
                39
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Glu
                                        Glu Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 40
                    40
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence:antibody
                                                       Sequence: antibody
         198/A1 derived mutant peptide A1/3-31 Glutamic acid scan Y-10-E-10
         198/A1 derived mutant peptide A1/3-31 Glutamic acid scan Y-10-E-10

<400 SEQUENCE:
<400> SEQUENCE: 40
                40
Arg
Arg Arg Arg Glu
    Arg Arg Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr Val
                            Tyr Tyr Val Asn
                                        Asn Trp Glu Phe
                                            Trp Glu Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 41
                    41
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-32 Glutamic acid scan F-11-E-11
         198/A1 derived mutant peptide A1/3-32 Glutamic acid scan F-11-E-11

<400 SEQUENCE:
<400> SEQUENCE: 41
                41
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Glu
                                                    Glu Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ
         SEQ ID
              ID NO
                 NO 42
                    42
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-33 Glutamic acid scan D12-E-12
         198/A1 derived mutant peptide A1/3-33 Glutamic acid scan D12-E-12

<400 SEQUENCE:
<400> SEQUENCE: 42
                42
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Tyr Tyr
                                Tyr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Glu
                                                        Glu Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15

Arg Arg

<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 43
                    43
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
<220>
&220s    FEATURE:
         FEATURE
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:antibody
                                                        Sequence: antibody
         198/A1 derived mutant peptide A1/3-34 srmb scrambled version
         198/A1 derived mutant peptide Al/3-34srmb scrambled version

<400>
<400 SEQUENCE:
      SEQUENCE: 43
                43
Arg
Arg Arg Arg Gly
    Arg Arg Gly Glu
                Glu Tyr
                    Tyr Gly
                        Gly Glu
                            Glu Tyr
                                Tyr Trp
                                    Trp Asn Gly Asp
                                        Asn Gly Asp Phe
                                                    Phe Tyr
                                                        Tyr Arg
                                                            Arg
  1                  5
                     5                    10                   15
                                                               15




                                                    Appx165
                                                    Appx165
          Case: 22-1461             Document: 25             Page: 153    Filed: 11/04/2022




                                               US 7,033,590
                                               US 7,033,590 B1
                                                            B1
                           51                                              52

                                                 -continued
                                                 -continued


Arg Arg

<210> SEQ
<210> SEQ ID
          ID NO
             NO 44
                44
<400 SEQUENCE:
<400> SEQUENCE: 44
                44
OOO
000



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 45
                     45
<211&
<211>    LENGTH: 14
         LENGTH:  14
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/B1 derived mutated peptide B1/4
         198/B1 derived mutated peptide B1/4


<400 SEQUENCE:
<400> SEQUENCE: 45
                45
Arg Glu Gly Gly Gly Phe Thr Val Asn Trp Tyr Phe Asp Arg
Arg Glu Gly Gly Gly Phe Thr Val Asn Trp Tyr Phe Asp Arg
  1               5
                  5                  10



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 46
                     46
<211&
<211>    LENGTH: 14
         LENGTH:  14
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/B1 derived mutated peptide B1/5 scrambled version
         198/B1 derived mutated peptide B1/5 scrambled version


<400 SEQUENCE:
<400> SEQUENCE: 46
                46
Phe Gly Val Gly Tyr Arg Gly Glu Thr Arg Asn Phe Asp Trp
Phe Gly Val Gly Tyr Arg Gly Glu Thr Arg Asn Phe Asp Trp
  1               5
                  5                  10



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 47
                    47
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/B1 derived mutated peptide B1/6
         198/B1 derived mutated peptide B1/6


<400 SEQUENCE:
<400> SEQUENCE: 47
                47
Glu Glu Glu Glu Gly Gly Gly Phe Thr Val Asn Trp Tyr Phe Asp Glu
Glu Glu Glu Glu Gly Gly Gly Phe Thr Val Asn Trp Tyr Phe Asp Glu
  1               5
                  5                  10                  15
                                                         15

Glu Glu



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 48
                    48
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/B1 derived mutated peptide B1/7
         198/B1 derived mutated peptide B1/7


<400 SEQUENCE:
<400> SEQUENCE: 48
                48
Arg Arg Arg
        Arg Glu
            Glu Gly
                Gly Gly
                    Gly Gly
                        Gly Phe
                            Phe Thr
                                Thr Val
                                    Val Asn Trp Tyr
                                                Tyr Phe
                                                    Phe Asp
                                                        Asp Arg
                                                            Arg
  1                  5
                     5                  10                  15
                                                            15

Arg
Arg Arg
    Arg



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 49
                    49
&2 11s
<211>    LENGTH 18
         LENGTH:
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: antibody
<223>    OTHER INFORMATION: Description of Artificial Sequence:antibody
      198/B1 derived mutated peptide B1/7 scr3 scrambled version
         198/B1 derived mutated peptide B1/7scr3 scrambled version




                                                  Appx166
                                                  Appx166
          Case: 22-1461              Document: 25               Page: 154       Filed: 11/04/2022




                                                US 7,033,590 B1
                           53                                                    54
                                                   -continued
<400 SEQUENCE:
<400> SEQUENCE: 49
                49
Arg Arg Arg
        Arg Phe
            Phe Gly
                Gly Val
                    Val Gly
                        Gly Tyr Gly
                                Gly Glu
                                    Glu Thr Asn
                                            Asn. Phe
                                                 Phe Asp
                                                     Asp Trp
                                                         Trp Arg
                                                             Arg
  1                  5
                     5                   10                    15
                                                               15

Arg Arg

<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 50
                     50
&2 11s
<211>    LENGTH 57
         LENGTH:  57
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH1BACK-Sfil
         back primer VH1BACK-SfiI

<400 SEQUENCE:
<400> SEQUENCE: 50
                50
catgcc atga ctcgcggccc
catgccatga  citc.gcggc.cc agccggccat
                          agc.cggc.cat ggccsaggts
                                       ggcc saggts marctgcags agtcwgg
                                                              agtcwgg      57
                                                                           57



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 51
                    51
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH1BACKSfi
         back primer VH1BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 51
                51
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gccgaggtgc
                                    gcc gaggtgc agcttcagga
                                                agcttcagga gtcagg
                                                           gttcagg         56
                                                                           56



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 52
                    52
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH2BACKSfi
         back primer VH2BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 52
                52
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gccgatgtgc
                                    gcc gatgtgc agcttcagga gtcrgg
                                                           gttcrgg         56
                                                                           56



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 53
                    53
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH3BACKSfi
         back primer VH3BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 53
                53
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gcccaggtgc
                                    gcc caggtgc agctgaagsa
                                                agctdaags a gtcagg
                                                            gttcagg        56
                                                                           56



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 54
                    54
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH4/6BACKSfi
         back primer VH4/6BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 54
                54
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gccgaggtyc
                                    gcc gagg tyc agctgcarca
                                                 agctocarca rtctgg
                                                            rtctgg         56
                                                                           56



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 55
                    55
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H




                                                    Appx167
                                                    Appx167
          Case: 22-1461              Document: 25                Page: 155       Filed: 11/04/2022




                                                US 7,033,590
                                                US 7,033,590 B1
                                                             B1
                           55
                           55                                                     56

                                                    -continued
                                                    -continued

         back primer VH5/9BACKSfi
         back primer VH5/9BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 55
                55
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gcccaggtyc
                                    gcc cagg tyc arctgcagca
                                                 arctocago a gyctgg
                                                             glyctogg       56



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 56
                    56
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH7BACKSfi
         back primer VH7BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 56
                56
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gccgargtga
                                    gcc gargtga agctggtgga
                                                agctdgtgga rtctgg
                                                           ritctgg          56



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 57
                    57
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH8BACKSfi
         back primer VH8BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 57
                57
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gccgaggttc
                                    gcc gaggttc agcttcagca
                                                agcttcago a gtctgg
                                                            gttctgg         56



<210>     EQ ID
         SEQ ID NO
                 NO 58
                     58
<211>     ENGTH 56
         LENGTH:  56
<212>     YPE DNA
         TYPE:
<213>     RGANISM: Artificial Sequence
         ORGANISM: Artificial Sequence
<220>     EATURE
         FEATURE:
<223>     THER INFORMATION: Description of Artificial Sequence: mouse V-H
         OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
          ack primer VH1 OBACKSfi
         back primer VH10BACKSfi


       EQUENCE: 58
<400> SEQUENCE: 58
gtoctogcaa citgcggcc.ca gcc.ggccatg gcc galagtgc agctdktgga gwctgg
gtcctcgcaa ctgcggccca gccggccatg gccgaagtgc agctgktgga gwctgg               56



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 59
                    59
&2 11s
<211>    LENGTH 56
         LENGTH:
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse V-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse V-H
      back primer VH11BACKSfi
         back primer VH11BACKSfi


<400 SEQUENCE:
<400> SEQUENCE: 59
                59
gtoctogcaa ctgcggccca
gtcctcgcaa citgcggcc.ca gccggccatg
                        gcc.ggccatg gcccagatcc
                                    gcc.ca.gatcc agttgctgca
                                                 agttgctgca gtctgg
                                                            gttctgg         56



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 60
                     60
&2 11s
<211>    LENGTH: 68
         LENGTH:  68
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse J-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse 3-H
      forward primer VH1FOR2LiAsc
         forward primer VH1FOR2LiAsc


<400 SEQUENCE:
<400> SEQUENCE: 60
                60
accgc.cagag gcgcgcccac
accgccagag  gogc.gc.ccac ctgaaccgcc
                         citgaaccqcc tccacctgag
                                     toccacct gag gagacggtga
                                                  gaga.cggtga ccgtggtccc
                                                              cc.gtggtocc   60

ttggcc cc
ttggcccc                                                                    68



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 61
                     61
&2 11s
<211>    LENGTH 60
         LENGTH:  60
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:




                                                     Appx168
                                                     Appx168
          Case: 22-1461              Document: 25                Page: 156       Filed: 11/04/2022




                                                US 7,033,590 B1
                           57                                                     58
                                                   -continued
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse J-H
<223> OTHER INFORMATION: Description of Artificial Sequence:mouse J-H
      forward primer JH1FORLiAsc
      forward primer JH1FORLiAsc


<400 SEQUENCE:
<400> SEQUENCE: 61
                61
accgc.cagag gcgcgcccac
accgccagag  gogc.gc.ccac ctgaaccgcc
                         citgaaccqcc tccacctgag
                                     toccacct gag gagacggtga
                                                  gaga.cggtga ccgtggtccc
                                                              cc.gtggtocc   60
                                                                            60



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 62
                     62
&2 11s
<211>    LENGTH 60
         LENGTH:  60
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse J-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse J-H
      forward primer JH2FORLiAsc
         forward primer JH2FORLiAsc

<400 SEQUENCE:
<400> SEQUENCE: 62
                62
accgc.cagag gcgcgcccac
accgccagag  gogc.gc.ccac ctgaaccgcc
                         citgaaccqcc tccacctgag
                                     toccacct gag gagactgtga
                                                  gag actotga gagtggtgcc
                                                              gagtggtgcc    60
                                                                            60



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 63
                     63
&2 11s
<211>    LENGTH 60
         LENGTH:  60
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse J-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse J-H
      forward primer JH3FORLiAsc
         forward primer JH3FORLiAsc


<400 SEQUENCE:
<400> SEQUENCE: 63
                63
accgc.cagag gcgcgcccac
accgccagag  gogc.gc.ccac ctgaaccgcc
                         citgaaccqcc tccacctgca
                                     toccaccitgca gagacagtga
                                                  gag acagtga ccagagtccc
                                                              ccagagtcc c   60
                                                                            60



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 64
                     64
&2 11s
<211>    LENGTH 60
         LENGTH:  60
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse J-H
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse J-H
      forward primer JH4FORLiAsc
         forward primer JH4FORLiAsc


<400 SEQUENCE:
<400> SEQUENCE: 64
                64
accgc.cagag gcgcgcccac
accgccagag  gogc.gc.ccac ctgaaccgcc
                         citgaaccqcc tccacctgag
                                     toccacct gag gagacggtga
                                                  gaga.cggtga ctgaggttcc
                                                              citgaggttcc   60
                                                                            60



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 65
                     65
&2 11s
<211>    LENGTH 60
         LENGTH:  60
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK2BACK-LiAscI
         V-kappa back primer VK2BACK-LiAscl


<400 SEQUENCE:
<400> SEQUENCE: 65
                65
           ggcgc.gc.citc tggcggtggc
ggttcagatg ggcgcgcctc    togcggtggc ggatcggaca ttgagctcac
                                               ttgagct cac ccagtctcca
                                                           coagt citcca     60
                                                                            60



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 66
                     66
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK1BACKLi Asc
         V-kappa back primer VKlBACKLi Asc


<400 SEQUENCE:
<400> SEQUENCE: 66
                66
ggttcagatg ggcgcgcctc
ggttcagatg ggcgc.gc.citc tggcggtggc
                         togcggtggc ggatcggaca
                                    ggatcggaca ttgtgatgwc
                                               ttgttgatgwc acagtctcc
                                                           acagt citcc      59
                                                                            59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 67
                     67
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse




                                                    Appx169
                                                    Appx169
          Case: 22-1461              Document: 25              Page: 157      Filed: 11/04/2022




                                               US 7,033,590 B1
                           59                                                  60
                                                  -continued
                                                  -continued

         V-kappa back
                 back primer VK2BACKLi
                             VK2BACKLi Asc
<400 SEQUENCE:
<400> SEQUENCE: 67
                67
ggttcagatg ggcgc.gc.citc togcggtggc ggatcggatg ttktgatgac coaaacticc
ggttcagatg ggcgcgcctc tggcggtggc ggatcggatg ttktgatgac ccaaactcc         59
                                                                         59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 68
                     68
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK3BACKLi Asc
         V-kappa back primer VK3BACKLi Asc


<400 SEQUENCE:
<400> SEQUENCE: 68
                68
ggttcagatg ggcgc.gc.citc togcggtggc ggatcggata ttgttgatirac boaggcwgc
ggttcagatg ggcgcgcctc tggcggtggc ggatcggata ttgtgatrac bcaggcwgc         59
                                                                         59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 69
                     69
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK4BACKLi Asc
         V-kappa back primer VK4BACKLi Asc


<400 SEQUENCE:
<400> SEQUENCE: 69
                69
ggttcagatg ggcgcgcctc
ggttcagatg ggcgc.gc.citc tggcggtggc
                         togcggtggc ggatcggaca
                                    ggatcggaca ttgtgctgac
                                               ttgttgctgac mcartctcc
                                                           mcartcitcc    59
                                                                         59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 70
                     70
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK5BACKLi Asc
         V-kappa back primer VK5BACKLi Asc


<400 SEQUENCE:
<400> SEQUENCE: 70
                70
ggttcagatg ggcgc.gc.citc togcggtggc ggatcgsaaa wtgtkct cac coagt citcc
ggttcagatg ggcgcgcctc tggcggtggc ggatcgsaaa wtgtkctcac ccagtctcc         59
                                                                         59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 71
                     71
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK6BACKLi Asc
         V-kappa back primer VK6BACKLi Asc


<400 SEQUENCE:
<400> SEQUENCE: 71
                71
ggttcagatg ggcgcgcctc
ggttcagatg ggcgc.gc.citc tggcggtggc
                         togcggtggc ggatcggaya
                                    ggatcggaya tyvwgatgac
                                               tyv watgac mcagwctcc
                                                          mcagwcticc     59
                                                                         59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 72
                     72
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK7 BACKLi Asc
         V-kappa back primer VK7BACKLi Asc


<400 SEQUENCE:
<400> SEQUENCE: 72
                72
ggttcagatg ggcgcgcctc
ggttcagatg ggcgc.gc.citc tggcggtggc
                         togcggtggc ggatcgcaaa
                                    ggatcgcaaa ttgttctcac
                                               ttgttcticac ccagtctcc
                                                           coagt citcc   59
                                                                         59



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 73
                     73
&2 11s
<211>    LENGTH 59
         LENGTH:  59
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      V-kappa back primer VK8BACKLi Asc
         V-kappa back primer VK8BACKLi Asc




                                                   Appx170
                                                   Appx170
          Case: 22-1461              Document: 25               Page: 158   Filed: 11/04/2022




                                                 US 7,033,590 B1
                           61
                           61                                                62
                                                       -continued


<400 SEQUENCE:
<400> SEQUENCE: 73
                73
ggttcagatg ggcgcgcctc
ggttcagatg ggcgc.gc.citc tggcggtggc
                         togcggtggc ggatcgtcat
                                    ggatcgtcat tattgcaggt
                                               tattgcaggit gcttgtggg
                                                           gcttgtggg   59
                                                                       59



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 74
                     74
<211&
<211>    LENGTH 42
         LENGTH:  42
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      J-kappa forward primer JK1NOT10
         J-kappa forward primer JK1NOT10


<400 SEQUENCE:
<400> SEQUENCE: 74
                74
gagt cattct gcggccgccc
gagtcattct  gcggcc.gc.cc gtttgatttc
                         gtttgattitc cagcttggtg
                                     cagcttggtg cc
                                                cc                     42



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 75
                     75
<211&
<211>    LENGTH 42
         LENGTH:  42
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      J-kappa forward primer JK2NOT10
         J-kappa forward primer JK2NOT10


<400 SEQUENCE:
<400> SEQUENCE: 75
                75
gagt cattct gcggccgccc
gagtcattct  gcggcc.gc.cc gttttatttc
                         gttittatt to cagcttggtc
                                      cagcttgg to cc
                                                  co                   42
                                                                       42



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 76
                     76
<211&
<211>    LENGTH 42
         LENGTH:  42
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
      J-kappa forward primer JK3NOT10
         J-kappa forward primer JK3NOT10


<400 SEQUENCE:
<400> SEQUENCE: 76
                76
gagt cattct gcggccgccc
gagtcattct  gcggcc.gc.cc gttttatttc
                         gttittatt to cagtctggtc
                                      cagtctgg to cc
                                                  co                   42
                                                                       42



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 77
                     77
<211&
<211>    LENGTH 42
         LENGTH:  42
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
       -kappa forward primer JK4NOT10
         J-kappa forward primer JK4NOT10


<400 SEQUENCE:
<400> SEQUENCE: 77
                77
gagtcattct gcggcc.gc.cc
gagtcattct              gttittattitc caactttgtc
           gcggccgccc gttttatttc     caactttgtc. cc
                                                 cc                    42
                                                                       42



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 78
                     78
<211&
<211>    LENGTH 42
         LENGTH:  42
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence: mouse
<223>    OTHER INFORMATION: Description of Artificial Sequence:mouse
       -kappa forward primer JK5NOT10
         J-kappa forward primer JK5NOT10


<400 SEQUENCE:
<400> SEQUENCE: 78
                78
gagt cattct gcggccgccc
gagtcattct  gcggcc.gc.cc gtttcagctc
                         gtttcagotc cagcttggtc
                                    cagcttgg to cc
                                                co                     42
                                                                       42



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 79
                     79
&2 11s
<211>    LENGTH 74
         LENGTH:  74
&212>
<212>    TYPE
         TYPE: DNA
<213> ORGANISM: Artificial Sequence
<213>    ORGANISM: Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence:
<223>    OTHER INFORMATION: Description of Artificial Sequence:
      oligonucleotide mychisé-co
         oligonucleotide mychis6-co




                                                       Appx171
                                                       Appx171
          Case: 22-1461                Document: 25             Page: 159           Filed: 11/04/2022




                                                US 7,033,590 B1
                            63                                                       64

                                                   -continued
                                                   -continued
<400 SEQUENCE:
<400> SEQUENCE: 79
                79
ggcc.gcagaa caaaaactca
ggccgcagaa  caaaaactica tctcagaaga
                        totcagaaga ggatctgaat
                                   ggatctgaat ggggcggcac
                                              gggg.cgg cac atcaccatca
                                                           atcaccatca         60
                                                                              60

            taag
ccatcactala taag
ccatcactaa                                                                     74
                                                                               74



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 80
                     80
&2 11s
<211>    LENGTH 74
         LENGTH:  74
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION: Description of Artificial Sequence:
                                            Artificial Sequence:
         oligonucleotide mycchis-ic
         oligonucleotide  mycochis-ic
<400 SEQUENCE:
<400> SEQUENCE: 80
                80
aattcttatt agtgatggtg atggtgatgt gccgccccat
                                 gcc.gc.cc cat tcagatcctc
                                               toagatcctic ttctgagatg
                                                           ttctgagatg         60
                                                                              60

agttitttgtt ctgc
agtttttgtt  citgc                                                              74
                                                                               74



<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 81
                    81
&2 11s
<211>    LENGTH 726
         LENGTH:  726
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                              Description of
                                          of Artificial Sequence:scFv
                                                        Sequence: scFv from
                                                                       from
         hybridoma cell line 193/AD3
         hybridoma cell line 193/AD3

<400 SEQUENCE:
<400> SEQUENCE: 81
                81
gaggtgaagc tggtggagtc
gaggtgaagc tggtggagtC tggacctgag
                      tgg acctgag ctgaagaagc
                                  citgaagaagc ctggagagac
                                              Ctggagagac agtcaagatc
                                                         agt caagatc          60
                                                                              60

             cittctgggta tatcttcaca
to citgcaagg cttctgggta
tcctgcaagg                            aactatogaa tgaactgggt
                         tat cittcaca aactatggaa tgaactgggit gaagcaggct
                                                             galagcaggct      120
                                                                              120

cCaggaaagg gtttaaagtg gatgggctgg ataaacacct
ccaggaaagg                                              gccaa.catat
                                 ataalacacct acactggaga gccaacatat            18O
                                                                              180

                       gtttgcctitc tctttggaaa
           tda agggacg gtttgccttc
gctgatgact tcaagggacg              totttggaaa cctctgccag
                                              ccitctgc.ca.g cactgcctat
                                                            cactgccitat       240
                                                                              240

ttgcagat.ca acaacctcaa
ttgcagatca                                                 attatatggit
            aca accitcaia aaatgaggac acggctacat atttctgtgc attatatggt         300

                                    caagggactic tggtcactgt
aacticciccita aggggtttgc ttactggggc caagggactc
aactccccta                                                   citctgcaggt
                                                tgg to actot ctctgcaggt       360
                                                                              360

ggaggcggitt caggtgggcg
ggaggcggtt  Caggtggg.cg cgcctctggc
                        cgc.citctggc ggtggcggat
                                     ggtgg.cggat cggatattca
                                                 cggatatto a gatgacacag       420
                                                                              420

tctcccaaat
totc.ccalaat tcctgcttgt   atcagoagga gacagggtta
             toctd cittgt atcagcagga gacagggitta ccataacctg caaggccagt
                                                            caaggcc agt       480
                                                                              480

Cagagtgttga gtaatgatgt agcttggtac caacagaagc cggggcagtc
cagagtgtga                                   Cgggg Cagtic tcctaaacta
                                                          toctaalacta         540
                                                                              540

citgatgtact atgcatccaa
ctgatgtact  atgcatccala tcgctacact
                        togctacact ggagtccctg  atc.gcttcac tggcagtgga
                                   ggagtcc ctd atcgcttcac  tgg cagtgga        600
                                                                              600

                        cac catcago actgtgcagg ctgaagacct
           attitcactitt caccatcagc
tatgggacgg atttcacttt                                       ggcagttitat
                                               citgaag acct ggcagtttat        660
                                                                              660

ttctgtcago aggattatgg ctctcctccc
ttctgtcagc                                        ggggcaccala gctggaaatt
                      citotic citc.co. acgttcggag ggggcaccaa                  720
                                                                              720

aaacgg                                                                        726
                                                                              726


<210>
<210>    SEQ ID
         SEQ  ID NO
                 NO 82
                    82
<211&
<211>    LENGTH: 242
         LENGTH:  242
&212>
<212>    TYPE
         TYPE: PRT
                PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION:  Description of Artificial Sequence: scFv from
                                             Artificial Sequence:scFv  from
         hybridoma cell line 193/AD3
         hybridoma cell line 193/AD3

<400 SEQUENCE:
<400> SEQUENCE: 82
                82
Glu Wall
Glu      Lys Leu
    Val Lys  Lieu Val Glu Ser
                  Val Glu Ser Gly
                              Gly Pro
                                  Pro Glu
                                      Glu Leu  Lys Lys
                                          Lieu Lys Lys Pro Gly Glu
                                                       Pro Gly Glu
  1                 5
                    5                  10                   15
                                                            15

Thr Val
Thr Val Lys Ile Ser
        Lys Ile Ser Cys Lys
                        Lys Ala
                            Ala Ser
                                Ser Gly
                                    Gly Tyr
                                        Tyr Ile Phe     Asn Tyr
                                                Phe Thr Asn Tyr
             20                  25                  3O
                                                     30

Gly Met
Gly Met Asn Trp Val Lys
        Asn Trp     Lys Gln
                        Glin Ala Pro
                                 Pro Gly
                                     Gly Lys Gly Leu
                                         Lys Gly Lieu Lys
                                                      Lys Trp
                                                          Trp Met
                                                              Met
         35
         35                   40                  45

Gly Trp
Gly Trp Ile
        Ile Asn Thr Tyr
            Asn Thr Tyr Thr Gly Glu
                        Thr Gly Glu Pro
                                    Pro Thr Tyr Ala
                                        Thr Tyr Ala Asp
                                                    Asp Asp
                                                        Asp Phe
                                                            Phe




                                                    Appx172
                                                    Appx172
          Case: 22-1461                 Document: 25              Page: 160         Filed: 11/04/2022




                                                    US 7,033,590 B1
                              65                                                     66
                                                      -continued
         5O
         50                   55                     60
                                                     60

Lys Gly
Lys Gly Arg Phe Ala
        Arg Phe Ala Phe
                    Phe Ser
                        Ser Leu
                            Leu Glu
                                Glu Thr
                                    Thir Ser
                                         Ser Ala
                                             Ala Ser
                                                 Ser Thr
                                                     Thr Ala
                                                         Ala Tyr
                                                             Tyr
 65
 65                  70                   75                  8O
                                                              80

Leu Gln
Leu Glin Ile
         Ile Asn
             Asn. Asn Leu
                      Lieu Lys
                           Lys Asn. Glu Asp
                               Asn Glu  Asp Thr Ala
                                                Ala Thr
                                                    Thr Tyr
                                                        Tyr Phe
                                                            Phe Cys
                                                                Cys
                   85                    90                  95
                                                             95

Ala Leu Tyr
Ala Leu Tyr Gly
            Gly Asn. Ser Pro
                Asn Ser  Pro Lys
                             Lys Gly
                                 Gly Phe
                                     Phe Ala
                                         Ala Tyr Trp Gly
                                             Tyr Trp Gly Gln
                                                         Glin Gly
                                                              Gly
                100                    105                  110

Thr Leu
Thr Leu Val Thr Val
                Val Ser
                    Ser Ala Gly
                            Gly Gly
                                Gly Gly
                                    Gly Gly
                                        Gly Ser
                                            Ser Gly
                                                Gly Gly
                                                    Gly Arg
                                                        Arg Ala
                                                            Ala
        115                 120                 125

Ser Gly
Ser Gly Gly
        Gly Gly
            Gly Gly
                Gly Ser
                    Ser Asp Ile
                            Ile Gln
                                Gln Met
                                    Met Thr Gln
                                            Glin Ser
                                                 Ser Pro
                                                     Pro Lys
                                                         Llys Phe
                                                              Phe
    130
    130                 135                 140
                                            140

Leu Leu
Leu Lieu Val
         Val Ser
             Ser Ala Gly Asp
                 Ala Gly  Asp Arg
                              Arg Val Thir Ile
                                  Val Thr  Ile Thr Cys Lys
                                               Thr Cys Lys Ala
                                                           Ala Ser
                                                               Ser
145                  15 O
                     150                   155                 160
                                                               160

Gln Ser
Gln Ser Val Ser
            Ser Asn
                Asn Asp
                     Asp Val Ala Trp Tyr
                                     Tyr Gln
                                         Glin Gln
                                              Gln Lys
                                                  Lys Pro
                                                      Pro Gly
                                                          Gly Gln
                                                              Glin
                1.65
                165                  170                  175
                                                          175

Ser Pro
Ser Pro Lys
        Llys Leu
             Leu Leu
                 Leu Met
                     Met Tyr Tyr Ala
                                 Ala Ser
                                     Ser Asn Arg
                                             Arg Tyr
                                                 Tyr Thr
                                                     Thr Gly
                                                          Gly Val
                                                              Val
             18O
             180                 185                 19 O
                                                     190

Pro Asp
Pro Asp Arg Phe
            Phe Thr
                Thr Gly
                    Gly Ser
                        Ser Gly
                            Gly Tyr Gly
                                    Gly Thr
                                        Thr Asp
                                            Asp Phe
                                                Phe Thr
                                                    Thr Phe
                                                        Phe Thr
                                                            Thr
        195                 200                 2O5
                                                205

Ile Ser
Ile Ser Thr
        Thr Val Glin Ala
            Val Gln      Glu Asp
                     Ala Glu     Leu Ala
                             Asp Leu Ala Val
                                         Val Tyr Phe Cys
                                             Tyr Phe Cys Gln
                                                         Glin Gln
                                                              Glin
    210
    210                  215                 220

Asp Tyr
    Tyr Gly
        Gly Ser
            Ser Pro
                Pro Pro
                    Pro Thr
                        Thr Phe
                            Phe Gly
                                Gly Gly
                                    Gly Gly
                                        Gly. Thir Lys Leu
                                             Thr Lys  Leu Glu
                                                          Glu Ile
                                                              Ile
225
225                     230                   235                    240
                                                                     240

Lys Arg
Lys



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 83
                    83
&2 11s
<211>    LENGTH 747
         LENGTH:  747
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
<220>
&220s    FEATURE:
         FEATURE
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION:  Description of Artificial Sequence: scFv from
                                             Artificial Sequence:scFv  from
          hybridoma cell line 193/K2
         hybridoma cell line 193/K2

<400>
<400 SEQUENCE:
      SEQUENCE: 83
                83
galagtgcago tggtggagtc
gaagtgcagc  toggtggagtc. tgggggaggc
                         togggggaggc ctagtgaagc
                                     Ctagtgaagc ctggagggtc
                                                Ctggagggit C cctgaaactc
                                                             C Ctgaaactic     60
                                                                              60

to citgtgcag cctctggatt
tcctgtgcag   cctotggatt cactttcagt
                        cactittcagt acctatacca
                                    accitatacca tgtcttgggt
                                                totcittgggit tcgccagact
                                                             togccagact       120
                                                                              120

cc.ggagaaga ggotggagtg
ccggagaaga  ggctggagtg ggtcgcaacc
                       g g togcaa.cc attagtagtg
                                     attagtag to gtggtagtta
                                                 gtggtagitta cacctactat
                                                             caccitacitat     18O
                                                                              180

           tdagggg.ccg attcaccatc
ccagacagtg tgaggggccg  attcaccatc. tccagagaca
                                   tccagagaca atgccaagaa caccctgtac
                                                         caccctgtac           240
                                                                              240

citgcaaatga gcagtctgaa gtctgaggac acagccatgt
ctgcaaatga                        acago catgt attactgtac aagagatggg           3OO
                                                                              300

ggacacgggit acgg
ggacacgggt       tagtag ctttgactac
            acggtagtag  citttgactac tggggccaag
                                    togggccaag gcaccactct
                                               goaccactct cacagtctcc
                                                          cacagtc.tcc         360
                                                                              360

tdaggtggag gcggttcagg
tcaggtggag gcqgttcagg tgggcgcgcc
                      toggg.cgc.gcc tctggcggtg
                                    totgg.cggtg gcggatcgca
                                                gcqgatcgca aattgtgctc
                                                           aattgtgctic        420
                                                                              420

acco agtc.tc. cactctccct
acccagtctc    cactcitcc cit gcctgtcagt
                            gcctdtcagt cttggagatc
                                       cittggagatc aagcctccat
                                                   aag cotc.cat ctcttgcaga
                                                                citcttgcaga   480
                                                                              480

totagt caga gcattgtaca
tctagtcaga  gcattgtaca tagtaatgga
                       tagtaatgga aacacctatt
                                  aac accitatt tagaatggta
                                               tagaatggta cctgcagaaa
                                                          cct gcagaaa         540
                                                                              540

ccaggc.cagt ctccaaagct
ccaggccagt  citccaaagct cctgatctac
                        cotgatctac aaagtttcca accgattttc
                                              accgattittctggggtocca
                                                         tggggtccca           600
                                                                              600

gacaaattica gtggcagtgg atcagggaca gatttcacac
gacaaattca                        gattt cacac tcaagatcag
                                              toaagat cag cagagtggag
                                                          cagagtggag          660
                                                                              660

           tdggagttta ttactgcttt
gctgaggatc tgggagttta ttact gottt caaggttcac atgttccgtg
                                             atgttcc.gtg gacgttcggt
                                                         gacgttcggit          720
                                                                              720

ggaggcacca agctggaaat caaacgg                                                 747
                                                                              747


<210>
<210>    SEQ
         SEQ ID
              ID NO
                 NO 84
                     84
&2 11s
<211>    LENGTH 249
         LENGTH:  2.49
&212>
<212>    TYPE   PRT
         TYPE: PRT
<213>
<213>    ORGANISM: Artificial
         ORGANISM:              Sequence
                     Artificial Sequence




                                                      Appx173
                                                      Appx173
          Case: 22-1461                Document: 25              Page: 161          Filed: 11/04/2022




                                                   US 7,033,590 B1
                              67                                                     68
                                                     -continued
&220s FEATURE:
<220> FEATURE
<223> OTHER
<223> OTHER INFORMATION:
            INFORMATION: Description
                         Description of
                                     of Artificial Sequence:scF),
                                                   Sequence: scFv from
                                                                  from
          hybridoma cell line 193/K2
      hybridoma cell line 193/K2

<400 SEQUENCE:
<400> SEQUENCE: 84
                84
Glu Val Gln
Glu     Glin Leu
             Leu Val Glu
                     Glu Ser
                         Ser Gly
                             Gly Gly
                                 Gly Gly
                                     Gly Leu
                                         Lieu Val Lys
                                                  Lys Pro
                                                      Pro Gly
                                                          Gly Gly
                                                              Gly
  1                5
                   5                  10                   15
                                                           15

Ser Leu
Ser Leu Lys
        Lys Leu
            Leu Ser
                Ser Cys
                    Cys Ala Ala Ser
                                Ser Gly
                                    Gly Phe
                                        Phe Thr Phe
                                                Phe Ser
                                                    Ser Thr
                                                        Thr Tyr
                                                            Tyr
             2O
             20                  25                  3O
                                                     30

Thr Met
Thr Met Ser
        Ser Trp Val Arg
            Trp Val Arg Gln
                        Gln Thr Pro Glu
                            Thr Pro Glu Lys
                                        Lys Arg
                                            Arg Leu
                                                Leu Glu
                                                    Glu Trp
                                                        Trp Val
                                                            Val
         35
         35                  40                  45

Ala Thr
    Thr Ile
        Ile Ser
            Ser Ser
                Ser Gly
                    Gly Gly
                        Gly Ser
                            Ser Tyr Thr
                                    Thr Tyr
                                        Tyr Tyr Pro
                                                Pro Asp
                                                    Asp Ser
                                                        Ser Val
                                                            Val
         5O
         50                   55                    60
                                                    60

Arg Gly
    Gly Arg
        Arg Phe
            Phe Thr Ile
                    Ile Ser
                        Ser Arg Asp
                                Asp Asn
                                    Asn Ala Lys
                                            Lys Asn
                                                Asn. Thir Lieu. Tyr
                                                     Thr Leu    Tyr
 65
 65                      70                   75                     8O
                                                                     80

Leu Gln
Leu Gln Met Ser Ser
        Met Ser Ser Leu
                    Leu Lys
                        Lys Ser
                            Ser Glu
                                Glu Asp
                                    Asp Thr
                                        Thr Ala
                                            Ala Met
                                                Met Tyr
                                                    Tyr Tyr
                                                        Tyr Cys
                                                            Cys
                 85                  90                  95
                                                         95

Thr Arg
Thr Arg Asp Gly
            Gly Gly
                Gly His
                    His Gly
                        Gly Tyr Gly
                                Gly Ser
                                    Ser Ser
                                        Ser Phe
                                            Phe Asp
                                                Asp Tyr
                                                    Tyr Trp
                                                        Trp Gly
                                                            Gly
            100                 105                 110

Gln Gly
Gln Gly. Thir
         Thr Thr Leu
                 Leu Thr
                     Thr Val Ser
                             Ser Ser
                                 Ser Gly
                                     Gly Gly
                                         Gly Gly
                                             Gly Gly
                                                 Gly Ser
                                                     Ser Gly
                                                         Gly Gly
                                                             Gly
         115                 120                 125

Arg Ala Ser
Arg Ala Ser Gly
            Gly Gly
                Gly Gly
                    Gly Gly
                        Gly Ser
                            Ser Gln
                                Glin Ile
                                     Ile Val
                                         Val Leu
                                             Leu Thr Glin Ser
                                                 Thr Gln  Ser Pro
                                                              Pro
      130
      130                     135                  140
                                                   140

Leu Ser
Leu Ser Leu
        Lieu Pro
             Pro Val Ser
                     Ser Leu
                          Leu Gly
                              Gly Asp Gln
                                      Glin Ala Ser
                                               Ser Ile
                                                   Ile Ser
                                                       Ser Cys
                                                           Cys Arg
                                                               Arg
145                  15 O
                     150                   155                 160
                                                               160

Ser Ser
Ser Ser Gln
        Glin Ser
             Ser Ile
                 Ile Val
                      Val His
                          His Ser
                              Ser Asn
                                  Asn Gly
                                      Gly Asn
                                          Asn Thr Tyr Leu
                                              Thr Tyr Leu Glu
                                                          Glu Trp
                                                              Trp
                 1.65
                 165                  170                 175
                                                          175

Tyr Leu
Tyr Lieu Gln
         Gln Lys
             Lys Pro
                 Pro Gly
                     Gly Gln
                         Glin Ser
                              Ser Pro
                                  Pro Lys
                                      Lys Leu
                                          Lieu Leu
                                               Lleu. Ile
                                                     Ile Tyr
                                                         Tyr Lys
                                                              Lys Val
                                                                  Wal
             18O
             180                  185                    19 O
                                                         190

Ser Asn
Ser Asn Arg Phe
            Phe Ser
                Ser Gly
                    Gly Val Pro
                            Pro Asp
                                Asp Lys
                                    Llys Phe
                                         Phe Ser
                                             Ser Gly
                                                 Gly Ser
                                                     Ser Gly
                                                         Gly Ser
                                                             Ser
        195                 200                  2O5
                                                 205

Gly Thr
Gly     Asp Phe
    Thr Asp Phe Thr Lieu Lys
                Thr Leu  Lys Ile
                             Ile Ser
                                 Ser Arg
                                     Arg Val Glu Ala
                                         Val Glu Ala Glu
                                                     Glu Asp
                                                         Asp Leu
                                                             Lieu
    210
    210                  215                 220

Gly Val
Gly Val Tyr Tyr Cys
                Cys Phe
                    Phe Gln
                        Glin Gly
                             Gly Ser
                                 Ser His
                                     His Val
                                         Val Pro
                                             Pro Trp Thr
                                                     Thr Phe
                                                         Phe Gly
                                                             Gly
225
225                 230                  235                 240
                                                             240

Gly Gly
Gly Gly. Thr
         Thir Lys
              Lys Leu
                  Lieu Glu
                       Glu Ile
                           Ile Lys
                               Lys Arg
                                   Arg
                  245


<210>
<210     SEQ
         SEQ ID
              ID NO
                 NO 85
                    85
<211>
&2 11s   LENGTH:
         LENGTH 747
                  747
&212>
<212>    TYPE
         TYPE: DNA
<213>
<213>    ORGANISM: Artificial
         ORGANISM:             Sequence
                    Artificial Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION: Description of
         OTHER  INFORMATION:  Description of Artificial Sequence: scFv from
                                             Artificial Sequence:scF), from
          hybridoma cell line 198/AB2 (subclone of 198/B1)
         hybridoma cell line 198/AB2 (subclone of 198/B1)

<400 SEQUENCE:
<400> SEQUENCE: 85
                85
gaggtgcago ttcaggagtc
gaggtgcagc ttcaggagtc. agggggaggc ttagtgaagc
                                  titagtgaagc ctggagggtc
                                              Ctggagggit C cctgaaactc
                                                           C Ctgaaactic       60
                                                                              60

to citgtgcag cctctggatt
tcctgtgcag   cctotggatt cactttcagt
                        cactittcagt agctatacca tgtcttgggt
                                               totcittgggit tcgccagact
                                                            togccagact        120
                                                                              120

cc.ggagaaga ggctggagtg
ccggagaaga  ggctggagtg ggtcgcaacc
                       g g togcaa.cc attagtagtg
                                     attagtag to gtggtagttc
                                                 gtgg tagttc. cacctactat
                                                              caccitacitat    18O
                                                                              180

           tdaaggg.ccg attcaccatc
ccagacagtg tgaagggccg  attcaccatc. tccagagaca
                                   tccagagaca atgccaagaa
                                              atgccaagaa caccctgtac
                                                         caccctgtac           240
                                                                              240

citgcaaatga gcagtctgag gtctgaggac acagccatgt
ctgcaaatga                        acago catgt attactgtac aagagagggg           3OO
                                                                              300

ggtggtttca ccgtcaactg
ggtggtttca cc.gtoaactg. gtacttcgat
                        gtactitcg at gtctggggcg
                                     gtctgggg.cg cagggactct
                                                 caggg actot ggtcactgtc
                                                             got cactgtc.     360
                                                                              360

totgcaggtg gaggcggttc aggtgggcgc
tctgcaggtg            aggtggg.cgc gcctctggcg gtggcggatc
                                             gtggcggat.c ggaaaatgtg           420
                                                                              420




                                                     Appx174
                                                     Appx174
         Case: 22-1461               Document: 25              Page: 162          Filed: 11/04/2022




                                               US 7,033,590 B1
                           69                                                      70
                                                  -continued
                                                  -continued
citcacccagt ctccagcttc
ctcacccagt  citccagottc tttggctgtg
                        tittggctgtg tctctagggc
                                    totctagggc agagggccac
                                               agagggCCaC catatcctgc
                                                          catatoct9.c       480
                                                                            480

agagcc agtg aaagtgttga
agagccagtg  aaagttgttga tagttatggc
                        tagittatggc tataatttta             totagoagata
                                    tataattitta tgcactggta tcagcagata       540
                                                                            540

ccaggacago cacccaaact cctcatctat
ccaggacagc                        cgtgcatcca acctagagtc
                      cct catctat cgtgcatcca accitagagtic tgggatccct
                                                          tgg gatc.cct      600
                                                                            600

gcc aggttca gtggcagtgg gtctaggaca
gccaggttca             gtotaggaca gacttcaccc
                                  gactitcacco tcaccattaa  to citgtggag
                                              toaccattaa. tcctgtggag        660
                                                                            660

gctgatgatg ttgcaaccta
gctgatgatg ttgcaaccta ttactgtcag
                      ttactgtcag caaagtaatg
                                 caaagtaatg aggatccgct
                                            aggat.ccgct cacgttcggt
                                                        cacgttcggit         720
                                                                            720

actgggacca gactggaaat aaaacgg                                               747
                                                                            747



<210>   SEQ ID
        SEQ ID NO
                NO 86
                    86
<211>   LENGTH 249
        LENGTH:  2.49
<212>   TYPE PRT
        TYPE:  PRT
<213>   ORGANISM: Artificial Sequence
        ORGANISM:            Sequence
<220>   FEATURE:
        FEATURE:
<223>   OTHER INFORMATION:
        OTHER  INFORMATION: Description
                            Description of
                                        of Artificial
                                           Artificial Sequence:scFv
                                                      Sequence: scFv from
                                                                     from
        hybridoma cell line 198/AB2 (subclone of 198/B1)
        hybridoma cell line 198/AB2 (subclone of 198/B1)

<400 SEQUENCE:
<400> SEQUENCE: 86
                86
Glu Wall Glin Leu Gln
    Val Gln            G lu Ser
                  Glin Glu  Ser Gly Gly Gly
                                Gly Gly Gly Leu
                                            Lieu Val Lys
                                                     Lys Pro Gly Gly
                                                         Pro Gly Gly
  1                  5
                     5                   10                   15
                                                              15

             Leu Ser
    Telu Lys Leu
Ser Leu          Ser Cys Ala Ala
                     Cys Ala     Ser Gly
                             Ala Ser Gly Phe
                                         Phe Thr Phe Ser Ser
                                                         Ser Tyr
                                                             Tyr
              20                  25                  3O
                                                      30

Thr Met     Trp Val
    Met Ser Trp Val Arg Gln Thr
                    Arg Gln Thr Pro
                                Pro Glu
                                    Glu Lys Arg Leu
                                        Lys Arg Lieu Glu Trp Val
                                                     Glu Trp Val
         35
         35                  40                  45

                    G ly Gly
Ala Thr Ile Ser Ser Gly  Gly Ser
                             Ser Ser
                                 Ser Thr
                                     Thr Tyr
                                         Tyr Tyr Pro Asp Ser
                                                         Ser Val
                                                             Wall
     5O
     50                   55                  60
                                              60

Lys Gly Arg Phe
Lys Gly             I le Ser
            Phe Thr Ile  Ser Arg Asp Asn Ala
                                 Asp Asn Ala Lys
                                             Lys Asn
                                                 Asn Thr Leu Tyr
                                                     Thr Leu Tyr
 65
 65                   70                  75                  8O
                                                              80

Leu Glin Met
Teu Gln              L. eu Arg
         Met Ser Ser Leu   Arg Ser Glu Asp
                               Ser Glu     Thr Ala
                                       Asp Thr Ala Met
                                                   Met Tyr     Cys
                                                       Tyr Tyr Cys
                  85                    90                  95
                                                            95

            Gly Gly
Thr Arg Glu Gly Gly Gly
                    G ly Phe Thr Val
                         Phe Thr     Asn Trp
                                 Val Asn     Tyr Phe
                                         Trp Tyr Phe Asp
                                                     Asp Val
                                                         Val Trp
                                                             Trp
            100                  105                 110

Gly Ala Gly
Gly     Gly Thr
            Thir Leu
                 Lieu. W all Thr Wall
                       Val            Ser Ala
                                 Val Ser          Gly Gly
                                              Gly Gly
                                          Ala Gly     Gly Gly
                                                          Gly Ser
                                                              Ser Gly
                                                                  Gly
        115                      120                  125

Gly Arg Ala Ser
Gly         Ser Gly G ly Gly
                Gly Gly  Gly Gly
                             Gly Ser Glu Asn Wall Leu. Thr Gln
                                             Val Leu       Glin Ser
    130
    130                  135                 140
                                             140

Pro Ala Ser Leu Ala W
Pro                   al Ser Leu
                    Val           Gly Gln
                             Lieu Gly Glin Arg
                                           Arg Ala Thir    Ser Cys
                                                   Thr Ile Ser Cys
145                 1 50
                    150                    155                 160
                                                               160

Arg Ala   Ser Glu Ser W al Asp
                       Val Asp Ser Tyr Gly
                               Ser Tyr Gly Tyr Asn Phe     His Trp
                                                   Phe Met His Trp
                  1.65
                  165                  170                 175
                                                           175

    Glin Gln
Tyr Gln               G ly Gln
         Glin Ile Pro Gly  Gln Pro
                               Pro Pro
                                   Pro Lys
                                       Llys Leu  Leu Ile
                                            Lieu Leu Ile Tyr  Arg Ala
                                                         Tyr Arg  Ala
              18O
              180                  185                   19 O
                                                         190

Ser Asn Leu          G ly Ile
        Telu Glu Ser Gly      Pro Ala
                          Ile Pro Ala Arg Phe Ser
                                      Arg Phe Ser Gly
                                                  Gly Ser Gly Ser
                                                      Ser Gly Ser
        195                   200                 2O5
                                                  205

Arg Thr Asp Phe Thr Leu
                    L eu. Thr
                          Thir Ile Asin Pro Wall
                                   Asn Pro       Glu Ala
                                            Val Glu  Ala Asp Asp Val
                                                         Asp Asp Wall
    210
    210                    215                  220

            Tyr Cys
Ala Thr Tyr Tyr Cys Gln
                    G ln Gln
                         Glin Ser Asn Glu Asp
                                  Asn Glu                 Phe Gly
                                          Asp Pro Leu Thr Phe Gly
225
225                 230
                    2 30                  235                 240
                                                              240

    Gly Thr Arg
Thr Gly              G lu Ile
                Lieu Glu
            Arg Leu       Ile Lys
                              Lys Arg
                245



<210>   SEQ ID
        SEQ ID NO
                NO 87
                   87
<211>   LENGTH 747
        LENGTH:  747
<212>   TYPE:
        TYPE DNA
<213>   ORGANISM: Artificial
        ORGANISM:             Sequence
                   Artificial Sequence
<220>   FEATURE:
        FEATURE:
<223>   OTHER INFORMATION: Description of
        OTHER  INFORMATION:  Description of Artificial
                                            Artificial Sequence:scFv
                                                       Sequence: scFv derived
                                                                      derived
        from hybridima cell line 198/A1
        from hybridima cell line 198/A1




                                                   Appx175
                                                   Appx175
          Case: 22-1461                  Document: 25          Page: 163         Filed: 11/04/2022




                                                     US 7,033,590 B1
                              71
                              71                                                  72

                                                      -continued
                                                      -continued

&220s
<220>    FEATURE
         FEATURE:
<221
<221>    NAME/KEY: modified
         NAME/KEY:            base
                   modified_base
<222>
<222>    LOCATION: (1)..(747)
         LOCATION: (1) . . (747)
<223>
<223>    OTHER INFORMATION:
         OTHER INFORMATION: nn = = g,
                                   g, aa, cc or
                                             or tt
<400 SEQUENCE:
<400> SEQUENCE: 87
                87
gaggtgcago ttcaggagtc agggggaggc
gaggtgcagc                                  Ctggagggtc. cctgaaactc
                      agggggaggC ttagtgaagc ctggagggtc  cctgaaactic        60
                                                                           60

             cctctggatt catttttagt
to citgtgcag cctctggatt
tcctgtgcag              catttittagt agttatacca
                                    agittatacca tgtcttgggt
                                                tgtc.ttgggit tcgccagact
                                                             togccagact    120
                                                                           120

                       ggtogcaacc attagtagtg gtggtagttc
CCggagalaga ggctggagtg ggtcgcaacc
ccggagaaga                                   gtgg tagttc cacctactat
                                                         caccitacitat      18O
                                                                           180

ccagacagtg tgaagggccg
ccagacagtg tgaaggg.ccg attcaccatc               atgccaagaa caccctgtac
                                   to cagaga.ca atgccaagaa
                       attcaccatc. tccagagaca              caccotgitac    240
                                                                          240

citgcaaatga gcagtctgaa gtctgaggac
ctgcaaatga             gtotgaggac acagccatgt
                                  acago catgt atcactgtac aagagagggg
                                                         alagagagggg       300

ggtggittatt acgtcaactg
ggtggttatt  acgtoaactg gtacttcgat   gtotgggg.cg caggcaccac tctcacagtc
                       gtactitcg at gtctggggcg             totcacagtc      360
                                                                           360

             gaggcggttc aggtgggcgc
to citcaggtg gaggcggttc
tcctcaggtg              aggtggC gC gcctctggcg
                                   gcc totggcg gtggcggatc
                                               gtggcggatc ggacattgag
                                                          gga cattgag      420
                                                                           420

citcacncagt ctccagcttc
ctcacncagt  citccagottc tttggctgtg
                        tittggctgtg tctctagggc
                                    totctagggc agagggccac
                                               agagggCCaC catatcctgc
                                                          catatoct9.c      480
                                                                           480

agagcc agtg aaagtgttga
agagccagtg  aaagttgttga tagttatggc
                        tagittatggc aagagtttta
                                    aag agttitta tgcactggta
                                                 tgcactggta ccagcagaaa
                                                            ccago agaaa   540
                                                                          540

cCaggg Cagc cacccaaact cctcatctat
ccagggcagc                                    accitagaatc tgggatccct
                       cct catctat cgtgcatcca acctagaatc  tgg gatc.cct    600
                                                                          600

gcc aggttca gtggcagtgg gtctaggaca
gccaggttca             gtotaggaca gacttcaccc
                                  gactitcacco tcaccattaa  to citgtggag
                                              toaccattaa. tcctgtggag      660
                                                                          660

gctgatgatg ttgcnaccta
gctgatgatg ttgcnaccita ttactgtcag
                       ttactgtcag caaagtaatg
                                  caaagtaatg aggatcccct
                                             aggat.ccc.ct cacgttcggt
                                                          cacgttcggit      720
                                                                           720

gctgggacca gactggaaat aaaacgg                                              747
                                                                           747



<210
<210>    SEQ ID
         SEQ  ID NO
                 NO 88
                     88
&2 11s
<211>    LENGTH 249
         LENGTH:  2.49
&212>
<212>    TYPE
         TYPE: PRT
                PRT
<213>
<213>    ORGANISM: Artificial Sequence
         ORGANISM:            Sequence
&220s
<220>    FEATURE
         FEATURE:
<223>
<223>    OTHER INFORMATION:
         OTHER  INFORMATION: Description
                             Description of
                                         of Artificial Sequence: scFv derived
                                            Artificial Sequence:scFv  derived
         from hybridima cell line 198/A1
         from hybridima cell line 198/A1

<400 SEQUENCE:
<400> SEQUENCE: 88
                88
Glu Wall Glin Leu Gln
    Val Gln            G lu Ser
                  Glin Glu  Ser Gly Gly Gly
                                Gly Gly Gly Leu
                                            Lieu Val Lys Pro
                                                 Val Lys     Gly Gly
                                                         Pro Gly Gly
  1                  5
                     5                   10                   15
                                                              15

Ser Leu
Ser Lieu Lys Leu Ser
         Lys Leu Ser Cys Ala Ala
                     Cys Ala     Ser Gly
                             Ala Ser Gly Phe
                                         Phe Ile Phe     Ser Tyr
                                                 Phe Ser Ser Tyr
              20                  25                  3O
                                                      30

Thir Met
Thr          Trp Val
     Met Ser Trp Val Arg Gln
                         Gln Thr
                             Thr Pro
                                 Pro Glu
                                     Glu Lys Arg Leu
                                         Lys Arg Lieu Glu Trp Val
                                                      Glu Trp Val
          35
          35                  40                  45

Ala Thir            G ly Gly
    Thr Ile Ser Ser Gly  Gly Ser
                             Ser Ser
                                 Ser Thr
                                     Thr Tyr
                                         Tyr Tyr
                                             Tyr Pro
                                                 Pro Asp
                                                     Asp Ser
                                                         Ser Val
                                                             Wall
     5O
     50                   55                  60
                                              60

Lys Gly
Lys Gly Arg
        Arg Phe     I le Ser
            Phe Thr Ile  Ser Arg
                             Arg Asp
                                 Asp Asn Ala Lys
                                     Asn Ala Lys Asn
                                                 Asn Thr
                                                     Thr Leu
                                                         Leu Tyr
                                                             Tyr
 65
 65                   70                  75                  8O
                                                              80

Leu Gln Met Ser Ser Leu
                    L. eu Lys
                          Lys Ser Glu Asp
                              Ser Glu     Thr Ala
                                      Asp Thr Ala Met
                                                  Met Tyr His Cys
                                                      Tyr His Cys
                 85                    90                  95
                                                           95

Thr Arg
Thr Arg Glu Gly Gly
        Glu Gly     G ly Tyr Tyr Val Asn
                Gly Gly              Asn Trp Tyr Phe
                                         Trp Tyr Phe Asp
                                                     Asp Val
                                                         Val Trp
                                                             Trp
            100                  105                 110

Gly Ala Gly
Gly     Gly Thr
            Th Thir I eu. Thr
                Thr Leu   Thir Wall Ser Ser
                               Val Ser  Ser Gly Gly Gly
                                            Gly Gly Gly Gly
                                                        Gly Ser
                                                            Ser Gly
                                                                Gly
        115                    120                  125

Gly Arg
Gly     Ala Ser
    Arg Ala Ser Gly G ly Gly
                Gly Gly  Gly Gly
                             Gly Ser
                                 Ser Asp Ile Glu Leu
                                     Asp Ile     Lieu. Thr Gln
                                                           Glin Ser
    130
    130                  135                 140
                                             140

Pro Ala Ser Leu Ala W al Ser Leu
                    Val           Gly Gln
                             Lieu Gly Glin Arg
                                           Arg Ala Thir    Ser Cys
                                                   Thr Ile Ser Cys
145                 1 50
                    150                    155                 160
                                                               160

Arg
Arg Ala Ser
    Ala Ser     Glu Ser W al Asp
                         Val Asp Ser Tyr Gly
                                 Ser Tyr Gly Lys
                                             Lys Ser Phe Met His
                                                             His Trp
                                                                 Trp
                    1.65
                    165                  170                 175
                                                             175

Tyr Gln
Tyr Glin Gln
         Glin Lys
              Lys Pro G ly Gln
                  Pro Gly  Gln Pro
                               Pro Pro
                                   Pro Lys
                                       Llys Leu  Leu Ile
                                            Lieu Leu Ile Tyr  Arg Ala
                                                         Tyr Arg  Ala
              18O
              180                  185                   19 O
                                                         190




                                                       Appx176
                                                       Appx176
         Case: 22-1461             Document: 25             Page: 164        Filed: 11/04/2022




                                             US 7,033,590 B1
                          73                                                  74
                                                -continued

Ser Asn Leu Glu Ser Gly Ile Pro Ala Arg Phe Ser Gly Ser Gly Ser
        195                 200                 205

Arg Thr Asp Phe Thr Leu Thr Ile Asn Pro Val Glu Ala Asp Asp Val
    210                 215                 220

Ala Thr Tyr Tyr Cys Gln Gln Ser Asn Glu Asp Pro Leu Thr Phe Gly
225                 230                 235                 240

Ala Gly Thr Arg Leu Glu Ile Lys Arg
                245



<210>   SEQ ID NO 89
<211>   LENGTH: 2199
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:198A2
        scFv-alkaline phosphatase fusion protein (ORF of expression
        vector pDAP2-198AB2#100)
<220>   FEATURE:
<221>   NAME/KEY: modified_base
<222>   LOCATION: (228)
<223>   OTHER INFORMATION: n = g, a, c or t

<400> SEQUENCE: 89

atgaaatacc tattgcctac ggcagccgct ggattgttat tactcgcggc ccagccggcc      60

atggcggagg tgaagctggt ggagtctggg ggaggcttag tgaagcctgg agggtccctg      120

aaactctcct gtgcagcctc tggattcact ttcagtagct ataccatgtc ttgggttcgc      180

cagactccgg agaagaggct ggagtgggtc gcaaccatta gtagtggngg tagttccacc     240

tactatccag acagtgtgaa gggccgattc accatctcca gagacaatgc caagaacacc      300

ctgtacctgc aaatgagcag tctgaggtct gaggacacag ccatgtatta ctgtacaaga      360

gaggggggtg gtttcaccgt caactggtac ttcgatgtct ggggcgcagg aacctcagtc     420

accgtctcct caggtggagg cggttcaggt gggcgcgcct ctggcggtgg cggatcggac     480

attgtgctga cacagtctcc agcttctttg gctgtgtctc tagggcagag ggccaccata     540

tcctgcagag ccagtgaaag tgttgatagt tatggctata attttatgca ctggtatcag     600

cagataccag gacagccacc caaactcctc atctatcgtg catccaacct agagtctggg     660

atccctgcca ggttcagtgg cagtgggtct aggacagact tcaccctcac cattaatcct     720

gtggaggctg atgatgttgc aacctattac tgtcagcaaa gtaatgagga tccgctcacg     780

ttcggtactg ggaccagact ggaaataaaa cgggcggccg cagcccgggc accagaaatg     840

cctgttctgg aaaaccgggc tgctcagggc gatattactg cacccggcgg tgctcgccgt     900

ttaacgggtg atcagactgc cgctctgcgt gattctctta gcgataaacc tgcaaaaaat     960

attattttgc tgattggcga tgggatgggg gactcggaaa ttactgccgc acgtaattat     1020

gccgaaggtg cgggcggctt ttttaaaggt atagatgcct taccgcttac cgggcaatac     1080

actcactatg cgctgaataa aaaaaccggc aaaccggact acgtcaccga ctcggctgca     1140

tcagcaaccg cctggtcaac cggtgtcaaa acctataacg gcgcgctggg cgtcgatatt     1200

cacgaaaaag atcacccaac gattctggaa atggcaaaag ccgcaggtct ggcgaccggt     1260

aacgtttcta ccgcagagtt gcaggatgcc acgcccgctg cgctggtggc acatgtgacc     1320

tcgcgcaaat gctacggtcc gagcgcgacc agtgaaaaat gtccgggtaa cgctctggaa     1380

aaaggcggaa aaggatcgat taccgaacag ctgcttaacg ctcgtgccga cgttacgctt     1440

ggcggcggcg caaaaacctt tgctgaaacg gcaaccgctg gtgaatggca gggaaaaacg     1500




                                                Appx177
                                                Appx177
         Case: 22-1461             Document: 25             Page: 165        Filed: 11/04/2022




                                             US 7,033,590 B1
                          75                                                  76
                                                -continued
ctgcgtgaac aggcacaggc gcgtggttat cagttggtga gcgatgctgc ctcactgaat     1560

tcggtgacgg aagcgaatca gcaaaaaccc ctgcttggcc tgtttgctga cggcaatatg     1620

ccagtgcgct ggctaggacc gaaagcaacg taccatggca atatcgataa gcccgcagtc     1680

acctgtacgc caaatccgca acgtaatgac agtgtaccaa ccctggcgca gatgaccgac     1740

aaagccattg aattgttgag taaaaatgag aaaggctttt tcctgcaagt tgaaggtgcg     1800

tcaatcgata aacaggatca tgctgcgaat ccttgtgggc aaattggcga gacggtcgat     1860

ctcgatgaag ccgtacaacg ggcgctggaa ttcgctaaaa aggagggtaa cacgctggtc     1920

atagtcaccg ctgatcacgc ccacgccagc cagattgttg cgccggatac caaagctccg     1980

ggcctcaccc aggcgctaaa taccaaagat ggcgcagtga tggtgatgag ttacgggaac     2040

tccgaagagg attcacaaga acataccggc agtcagttgc gtattgcggc gtatggcccg     2100

catgccgcca atgttgttgg actgaccgac cagaccgatc tcttctacac catgaaagcc     2160

gctctggggg atatcgcaca ccatcaccat caccattaa                            2199


<210>   SEQ ID NO 90
<211>   LENGTH: 732
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:198A2
        scFv-alkaline phosphatase fusion protein (ORF of expression
        vector pDAP2-198AB2#100)

<400> SEQUENCE: 90

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Glu Val Lys Leu Val Glu Ser Gly Gly Gly
             20                  25                  30

Leu Val Lys Pro Gly Gly Ser Leu Lys Leu Ser Cys Ala Ala Ser Gly
         35                  40                  45

Phe Thr Phe Ser Ser Tyr Thr Met Ser Trp Val Arg Gln Thr Pro Glu
     50                  55                  60

Lys Arg Leu Glu Trp Val Ala Thr Ile Ser Ser Gly Gly Ser Ser Thr
 65                  70                  75                  80

Tyr Tyr Pro Asp Ser Val Lys Gly Arg Phe Thr Ile Ser Arg Asp Asn
                 85                  90                  95

Ala Lys Asn Thr Leu Tyr Leu Gln Met Ser Ser Leu Arg Ser Glu Asp
            100                 105                 110

Thr Ala Met Tyr Tyr Cys Thr Arg Glu Gly Gly Gly Phe Thr Val Asn
        115                 120                 125

Trp Tyr Phe Asp Val Trp Gly Ala Gly Thr Ser Val Thr Val Ser Ser
    130                 135                 140

Gly Gly Gly Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser Asp
145                 150                 155                 160

Ile Val Leu Thr Gln Ser Pro Ala Ser Leu Ala Val Ser Leu Gly Gln
                165                 170                 175

Arg Ala Thr Ile Ser Cys Arg Ala Ser Glu Ser Val Asp Ser Tyr Gly
            180                 185                 190

Tyr Asn Phe Met His Trp Tyr Gln Gln Ile Pro Gly Gln Pro Pro Lys
        195                 200                 205

Leu Leu Ile Tyr Arg Ala Ser Asn Leu Glu Ser Gly Ile Pro Ala Arg
    210                 215                 220

Phe Ser Gly Ser Gly Ser Arg Thr Asp Phe Thr Leu Thr Ile Asn Pro




                                                Appx178
                                                Appx178
            Case: 22-1461               Document: 25               Page: 166   Filed: 11/04/2022




                                                    US 7,033,590 B1
                              77                                                78
                                                      -continued
225                     230                   235                   240

Val Glu Ala Asp Asp Val Ala Thr Tyr Tyr Cys Gln Gln Ser Asn Glu
                245                 250                 255

Asp Pro Leu Thr Phe Gly Thr Gly Thr Arg Leu Glu Ile        Lys Arg Ala
            260                 265                        270

Ala Ala Ala Arg Ala Pro Glu Met Pro Val Leu Glu Asn Arg Ala Ala
        275                 280                 285

Gln Gly Asp Ile     Thr Ala Pro Gly Gly Ala Arg Arg Leu Thr Gly Asp
    290                     295                 300

Gln Thr Ala Ala Leu Arg Asp Ser Leu Ser Asp Lys Pro Ala Lys Asn
305                 310                 315                 320

Ile   Ile   Leu Leu Ile Gly Asp Gly Met Gly Asp Ser Glu Ile    Thr Ala
                    325                 330                    335

Ala Arg Asn Tyr Ala Glu Gly Ala Gly Gly Phe Phe Lys Gly Ile         Asp
            340                 345                 350

Ala Leu Pro Leu Thr Gly Gln Tyr Thr His Tyr Ala Leu Asn Lys Lys
        355                 360                 365

Thr Gly Lys Pro Asp Tyr Val Thr Asp Ser Ala Ala Ser Ala Thr Ala
    370                 375                 380

Trp Ser Thr Gly Val Lys Thr Tyr Asn Gly Ala Leu Gly Val Asp Ile
385                 390                 395                 400

His Glu Lys Asp His Pro Thr Ile        Leu Glu Met Ala Lys Ala Ala Gly
                405                        410                 415

Leu Ala Thr Gly Asn Val Ser Thr Ala Glu Leu Gln Asp Ala Thr Pro
            420                 425                 430

Ala Ala Leu Val Ala His Val Thr Ser Arg Lys Cys Tyr Gly Pro Ser
        435                 440                 445

Ala Thr Ser Glu Lys Cys Pro Gly Asn Ala Leu Glu Lys Gly Gly Lys
    450                 455                 460

Gly Ser Ile     Thr Glu Gln Leu Leu Asn Ala Arg Ala Asp Val Thr Leu
465                     470                 475                 480

Gly Gly Gly Ala Lys Thr Phe Ala Glu Thr Ala Thr Ala Gly Glu Trp
                485                 490                 495

Gln Gly Lys Thr Leu Arg Glu Gln Ala Gln Ala Arg Gly Tyr Gln Leu
            500                 505                 510

Val Ser Asp Ala Ala Ser Leu Asn Ser Val Thr Glu Ala Asn Gln Gln
        515                 520                 525

Lys Pro Leu Leu Gly Leu Phe Ala Asp Gly Asn Met Pro Val Arg Trp
    530                 535                 540

Leu Gly Pro Lys Ala Thr Tyr His Gly Asn Ile Asp Lys Pro Ala Val
545                 550                 555                 560

Thr Cys Thr Pro Asn Pro Gln Arg Asn Asp Ser Val Pro Thr Leu Ala
                565                 570                 575

Gln Met Thr Asp Lys Ala Ile        Glu Leu Leu Ser Lys Asn Glu Lys Gly
            580                        585                 590

Phe Phe Leu Gln Val Glu Gly Ala Ser Ile       Asp Lys Gln Asp His Ala
        595                 600                       605

Ala Asn Pro Cys Gly Gln Ile Gly Glu Thr Val Asp Leu Asp Glu Ala
    610                 615                 620

Val Gln Arg Ala Leu Glu Phe Ala Lys Lys Glu Gly Asn Thr Leu Val
625                 630                 635                 640

Ile   Val Thr Ala Asp His Ala His Ala Ser Gln Ile      Val Ala Pro Asp
                  645                 650                      655




                                                      Appx179
                                                      Appx179
         Case: 22-1461              Document: 25             Page: 167        Filed: 11/04/2022




                                              US 7,033,590 B1
                          79                                                   80
                                                -continued

Thr Lys Ala Pro Gly Leu Thr Gln Ala Leu Asn Thr Lys Asp Gly Ala
            660                 665                 670

Val Met Val Met Ser Tyr Gly Asn Ser Glu Glu Asp Ser Gln Glu His
        675                 680                 685

Thr Gly Ser Gln Leu Arg Ile Ala Ala Tyr Gly Pro His Ala Ala Asn
    690                 695                 700

Val Val Gly Leu Thr Asp Gln Thr Asp Leu Phe Tyr Thr Met Lys Ala
705                 710                 715                 720

Ala Leu Gly Asp Ile Ala His His His His His His
                725                 730


<210>   SEQ ID NO 91
<211>   LENGTH: 978
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:plasmid
        pZip-198AB2#102
<220>   FEATURE:
<221>   NAME/KEY: modified_base
<222>   LOCATION: (1)..(978)
<223>   OTHER INFORMATION: n = g, a, c or t

<400> SEQUENCE: 91

atgaaatacc tattgcctac ggcagccgct ggattgttat tactcgcggc ccagccggcc       60

atggcggagg tgaagctggt ggagtctggg ggaggcttag tgaagcctgg agggtccctg       120

aaactctcct gtgcagcctc tggattcact ttcagtagct ataccatgtc ttgggttcgc       180

cagactccgg agaagaggct ggagtgggtc gcaaccatta gtagtggngg tagttccacc       240

tactatccag acagtgtgaa gggccgattc accatctcca gagacaatgc caagaacacc       300

ctgtacctgc aaatgagcag tctgaggtct gaggacacag ccatgtatta ctgtacaaga       360

gaggggggtg gtttcaccgt caactggtac ttcgatgtct ggggcgcagg aacctcagtc       420

accgtctcct caggtggagg cggttcaggt gggcgcgcct ctggcggtgg cggatcggac       480

attgtgctga cacagtntcc agcttctttg gctgtgtctc tagggcagag ggccaccata       540

tcntgcagag ccagtgaaag tgttgatagt tatggctata attttatgca ctggtatcag       600

cagataccag gacagccacc caaactcctc atctatcgtg catccaacct agagtctggg       660

atccctgcca ggttcagtgg cagtgggtct aggacagact tcaccctcac cattaatcct       720

gtggaggctg atgatgttgc aacctattac tgtcagcaaa gtaatgagga tccgctcacg       780

ttcggtactg ggaccagact ggaaataaaa cgggcggccg caccgaagcc ttccactccg       840

cccgggtctt cccgtatgaa acagctggaa gacaaagtag aggagctcct tagcaagaac       900

taccatctag aaaacgaggt agctcgtctg aaaaagcttg ttggtgaacg tggtggtcac       960

catcaccatc accattaa                                                     978


<210>   SEQ ID NO 92
<211>   LENGTH: 325
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:plasmid
        pZip-198AB2#102
<220>   FEATURE:
<221>   NAME/KEY: MOD_RES
<222>   LOCATION: (166)
<223>   OTHER INFORMATION: Xaa = Cys, Tyr, Ser or Phe

<400> SEQUENCE: 92




                                                 Appx180
                                                 Appx180
         Case: 22-1461             Document: 25             Page: 168          Filed: 11/04/2022




                                              US 7,033,590 B1
                          81                                                    82
                                                -continued

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Glu Val Lys Leu Val Glu Ser Gly Gly Gly
             20                  25                  30

Leu Val Lys Pro Gly Gly Ser Leu Lys Leu Ser Cys Ala Ala Ser Gly
         35                  40                  45

Phe Thr Phe Ser Ser Tyr Thr Met Ser Trp Val Arg Gln Thr Pro Glu
     50                  55                  60

Lys Arg Leu Glu Trp Val Ala Thr Ile Ser Ser Gly Gly Ser Ser Thr
 65                  70                  75                  80

Tyr Tyr Pro Asp Ser Val Lys Gly Arg Phe Thr Ile Ser Arg Asp Asn
                 85                  90                  95

Ala Lys Asn Thr Leu Tyr Leu Gln Met Ser Ser Leu Arg Ser Glu Asp
            100                 105                 110

Thr Ala Met Tyr Tyr Cys Thr Arg Glu Gly Gly Gly Phe Thr Val Asn
        115                 120                 125

Trp Tyr Phe Asp Val Trp Gly Ala Gly Thr Ser Val Thr Val Ser Ser
    130                 135                 140

Gly Gly Gly Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser Asp
145                 150                 155                 160

Ile Val Leu Thr Gln Xaa Pro Ala Ser Leu Ala Val Ser Leu Gly Gln
                165                 170                 175

Arg Ala Thr Ile Ser Cys Arg Ala Ser Glu Ser Val Asp Ser Tyr Gly
            180                 185                 190

Tyr Asn Phe Met His Trp Tyr Gln Gln Ile Pro Gly Gln Pro Pro Lys
        195                 200                 205

Leu Leu Ile Tyr Arg Ala Ser Asn Leu Glu Ser Gly Ile Pro Ala Arg
    210                 215                 220

Phe Ser Gly Ser Gly Ser Arg Thr Asp Phe Thr Leu Thr Ile Asn Pro
225                 230                 235                 240

Val Glu Ala Asp Asp Val Ala Thr Tyr Tyr Cys Gln Gln Ser Asn Glu
                245                 250                 255

Asp Pro Leu Thr Phe Gly Thr Gly Thr Arg Leu Glu Ile Lys Arg Ala
            260                 265                 270

Ala Ala Pro Lys Pro Ser Thr Pro Pro Gly Ser Ser Arg Met Lys Gln
        275                 280                 285

Leu Glu Asp Lys Val Glu Glu Leu Leu Ser Lys Asn Tyr His Leu Glu
    290                 295                 300

Asn Glu Val Ala Arg Leu Lys Lys Leu Val Gly Glu Arg Gly Gly His
305                 310                 315                 320

His His His His His
                325


<210>   SEQ ID NO 93
<211>   LENGTH: 2190
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:mAB#8860
        scFv-alkaline phosphatase fusion protein (vector construct
        pDAP2-8860scFv#11)

<400> SEQUENCE: 93

atgaaatacc tattgcctac ggcagccgct ggattgttat tactcgcggc ccagccggcc        60

atggccgagg ttcagcttca gcagtctgga cctgagctgg tgaagcccgg ggcctcagtg        120




                                                 Appx181
                                                 Appx 181
         Case: 22-1461             Document: 25             Page: 169           Filed: 11/04/2022




                                              US 7,033,590 B1
                          83                                                     84
                                                -continued

aagatttcct gcaaagcttc tggctacgca ttcagtagct cttggatgaa ctgggtgaag         180

cagaggcctg gacagggtct tgagtggatt ggacggattt atcctggaaa tggagatact         240

aactacaatg ggaagttcaa gggcaaggcc acactgactg cagacaaatc ctccagcaca         300

gcctacatgc agctcagcag cctgacctct gtggactctg cggtctattt ctgtgcagat         360

ggtaacgtat attactatgc tatggactac tggggtcaag gaacctcagt caccgtctcc         420

tcaggtggag gcggttcagg tgggcgcgcc tctggcggtg gcggatcgca aattgttctc         480

acccagtctc ctgcttcctt agctgtatct ctggggcaga gggccaccat ctcatgcagg        540

gccagcaaaa gtgtcagtac atctggctat agttatatgc actggtacca acagaaacca         600

ggacagccac ccaaactcct catctatctt gcatccaacc tagaatctgg ggtccctgcc         660

aggttcagtg gcagtgggtc tgggacagac ttcaccctca acatccatcc tgtggaggag         720

gaggatgctg caacctatta ctgtcagcac agtagggagc ttcctcggac gttcggtgga         780

ggcaccaagc tggaaatcaa acgggcggcc gcagcccggg caccagaaat gcctgttctg         840

gaaaaccggg ctgctcaggg cgatattact gcacccggcg gtgctcgccg tttaacgggt         900

gatcagactg ccgctctgcg tgattctctt agcgataaac ctgcaaaaaa tattattttg         960

ctgattggcg atgggatggg ggactcggaa attactgccg cacgtaatta tgccgaaggt        1020

gcgggcggct tttttaaagg tatagatgcc ttaccgctta ccgggcaata cactcactat        1080

gcgctgaata aaaaaaccgg caaaccggac tacgtcaccg actcggctgc atcagcaacc        1140

gcctggtcaa ccggtgtcaa aacctataac ggcgcgctgg gcgtcgatat tcacgaaaaa        1200

gatcacccaa cgattctgga aatggcaaaa gccgcaggtc tggcgaccgg taacgtttct        1260

accgcagagt tgcaggatgc cacgcccgct gcgctggtgg cacatgtgac ctcgcgcaaa        1320

tgctacggtc cgagcgcgac cagtgaaaaa tgtccgggta acgctctgga aaaaggcgga        1380

aaaggatcga ttaccgaaca gctgcttaac gctcgtgccg acgttacgct tggcggcggc        1440

gcaaaaacct ttgctgaaac ggcaaccgct ggtgaatggc agggaaaaac gctgcgtgaa        1500

caggcacagg cgcgtggtta tcagttggtg agcgatgctg cctcactgaa ttcggtgacg        1560

gaagcgaatc agcaaaaacc cctgcttggc ctgtttgctg acggcaatat gccagtgcgc        1620

tggctaggac cgaaagcaac gtaccatggc aatatcgata agcccgcagt cacctgtacg        1680

ccaaatccgc aacgtaatga cagtgtacca accctggcgc agatgaccga caaagccatt        1740

gaattgttga gtaaaaatga gaaaggcttt ttcctgcaag ttgaaggtgc gtcaatcgat        1800

aaacaggatc atgctgcgaa tccttgtggg caaattggcg agacggtcga tctcgatgaa        1860

gccgtacaac gggcgctgga attcgctaaa aaggagggta acacgctggt catagtcacc        1920

gctgatcacg cccacgccag ccagattgtt gcgccggata ccaaagctcc gggcctcacc        1980

caggcgctaa ataccaaaga tggcgcagtg atggtgatga gttacgggaa ctccgaagag        2040

gattcacaag aacataccgg cagtcagttg cgtattgcgg cgtatggccc gcatgccgcc        2100

aatgttgttg gactgaccga ccagaccgat ctcttctaca ccatgaaagc cgctctgggg        2160

gatatcgcac accatcacca tcaccattaa                                         2190



<210>   SEQ ID NO 94
<211>   LENGTH: 729
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:mAB#8860
        scFv-alkaline phosphatase fusion protein (vector construct




                                                 Appx182
                                                 Appx182
      Case: 22-1461              Document: 25            Page: 170   Filed: 11/04/2022




                                           US 7,033,590 B1
                           85                                         86
                                              -continued
      pDAP2-8860scFv#11)

<400> SEQUENCE: 94

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Glu Val Gln Leu Gln Gln Ser Gly Pro Glu
             20                  25                  30

Leu Val Lys Pro Gly Ala Ser Val Lys Ile Ser Cys Lys Ala Ser Gly
         35                  40                  45

Tyr Ala Phe Ser Ser Ser Trp Met Asn Trp Val Lys Gln Arg Pro Gly
     50                  55                  60

Gln Gly Leu Glu Trp Ile Gly Arg Ile Tyr Pro Gly Asn Gly Asp Thr
 65                  70                  75                  80

Asn Tyr Asn Gly Lys Phe Lys Gly Lys Ala Thr Leu Thr Ala Asp Lys
                 85                  90                  95

Ser Ser Ser Thr Ala Tyr Met Gln Leu Ser Ser Leu Thr Ser Val Asp
            100                 105                 110

Ser Ala Val Tyr Phe Cys Ala Asp Gly Asn Val Tyr Tyr Tyr Ala Met
        115                 120                 125

Asp Tyr Trp Gly Gln Gly Thr Ser Val Thr Val Ser Ser Gly Gly Gly
    130                 135                 140

Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser Gln Ile Val Leu
145                 150                 155                 160

Thr Gln Ser Pro Ala Ser Leu Ala Val Ser Leu Gly Gln Arg Ala Thr
                165                 170                 175

Ile Ser Cys Arg Ala Ser Lys Ser Val Ser Thr Ser Gly Tyr Ser Tyr
            180                 185                 190

Met His Trp Tyr Gln Gln Lys Pro Gly Gln Pro Pro Lys Leu Leu Ile
        195                 200                 205

Tyr Leu Ala Ser Asn Leu Glu Ser Gly Val Pro Ala Arg Phe Ser Gly
    210                 215                 220

Ser Gly Ser Gly Thr Asp Phe Thr Leu Asn Ile His Pro Val Glu Glu
225                 230                 235                 240

Glu Asp Ala Ala Thr Tyr Tyr Cys Gln His Ser Arg Glu Leu Pro Arg
                245                 250                 255

Thr Phe Gly Gly Gly Thr Lys Leu Glu Ile Lys Arg Ala Ala Ala Ala
            260                 265                 270

Arg Ala Pro Glu Met Pro Val Leu Glu Asn Arg Ala Ala Gln Gly Asp
        275                 280                 285

Ile Thr Ala Pro Gly Gly Ala Arg Arg Leu Thr Gly Asp Gln Thr Ala
    290                 295                 300

Ala Leu Arg Asp Ser Leu Ser Asp Lys Pro Ala Lys Asn Ile Ile Leu
305                 310                 315                 320

Leu Ile Gly Asp Gly Met Gly Asp Ser Glu Ile Thr Ala Ala Arg Asn
                325                 330                 335

Tyr Ala Glu Gly Ala Gly Gly Phe Phe Lys Gly Ile Asp Ala Leu Pro
            340                 345                 350

Leu Thr Gly Gln Tyr Thr His Tyr Ala Leu Asn Lys Lys Thr Gly Lys
        355                 360                 365

Pro Asp Tyr Val Thr Asp Ser Ala Ala Ser Ala Thr Ala Trp Ser Thr
    370                 375                 380

Gly Val Lys Thr Tyr Asn Gly Ala Leu Gly Val Asp Ile His Glu Lys
385                 390                 395                 400




                                              Appx183
                                              Appx183
         Case: 22-1461             Document: 25            Page: 171        Filed: 11/04/2022




                                             US 7,033,590 B1
                          87                                                 88
                                                -continued
Asp His Pro Thr Ile Leu Glu Met Ala Lys Ala Ala Gly Leu Ala Thr
                405                 410                 415

Gly Asn Val Ser Thr Ala Glu Leu Gln Asp Ala Thr Pro Ala Ala Leu
            420                 425                 430

Val Ala His Val Thr Ser Arg Lys Cys Tyr Gly Pro Ser Ala Thr Ser
        435                 440                 445

Glu Lys Cys Pro Gly Asn Ala Leu Glu Lys Gly Gly Lys Gly Ser Ile
    450                 455                 460

Thr Glu Gln Leu Leu Asn Ala Arg Ala Asp Val Thr Leu Gly Gly Gly
465                 470                 475                 480

Ala Lys Thr Phe Ala Glu Thr Ala Thr Ala Gly Glu Trp Gln Gly Lys
                485                 490                 495

Thr Leu Arg Glu Gln Ala Gln Ala Arg Gly Tyr Gln Leu Val Ser Asp
            500                 505                 510

Ala Ala Ser Leu Asn Ser Val Thr Glu Ala Asn Gln Gln Lys Pro Leu
        515                 520                 525

Leu Gly Leu Phe Ala Asp Gly Asn Met Pro Val Arg Trp Leu Gly Pro
    530                 535                 540

Lys Ala Thr Tyr His Gly Asn Ile Asp Lys Pro Ala Val Thr Cys Thr
545                 550                 555                 560

Pro Asn Pro Gln Arg Asn Asp Ser Val Pro Thr Leu Ala Gln Met Thr
                565                 570                 575

Asp Lys Ala Ile Glu Leu Leu Ser Lys Asn Glu Lys Gly Phe Phe Leu
            580                 585                 590

Gln Val Glu Gly Ala Ser Ile Asp Lys Gln Asp His Ala Ala Asn Pro
        595                 600                 605

Cys Gly Gln Ile Gly Glu Thr Val Asp Leu Asp Glu Ala Val Gln Arg
    610                 615                 620

Ala Leu Glu Phe Ala Lys Lys Glu Gly Asn Thr Leu Val Ile Val Thr
625                 630                 635                 640

Ala Asp His Ala His Ala Ser Gln Ile Val Ala Pro Asp Thr Lys Ala
                645                 650                 655

Pro Gly Leu Thr Gln Ala Leu Asn Thr Lys Asp Gly Ala Val Met Val
            660                 665                 670

Met Ser Tyr Gly Asn Ser Glu Glu Asp Ser Gln Glu His Thr Gly Ser
        675                 680                 685

Gln Leu Arg Ile Ala Ala Tyr Gly Pro His Ala Ala Asn Val Val Gly
    690                 695                 700

Leu Thr Asp Gln Thr Asp Leu Phe Tyr Thr Met Lys Ala Ala Leu Gly
705                 710                 715                 720

Asp Ile Ala His His His His His His
                725


<210>   SEQ ID NO 95
<211>   LENGTH: 969
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:mAB #8660
        scFv-leucine zipper fusion protein (miniantibody vector construct
        p8860-Zip#1.2)

<400> SEQUENCE: 95

atgaaatacc tattgcctac ggcagccgct ggattgttat tactcgcggc ccagccggcc      60

atggcggagg ttcagcttca gcagtctgga cctgagctgg tgaagcccgg ggcctcagtg     120




                                                Appx184
                                                Appx184
         Case: 22-1461             Document: 25            Page: 172        Filed: 11/04/2022




                                             US 7,033,590 B1
                          89                                                 90
                                                -continued
aagatttcct gcaaagcttc tggctacgca ttcagtagct cttggatgaa ctgggtgaag     180

cagaggcctg gacagggtct tgagtggatt ggacggattt atcctggaaa tggagatact     240

aactacaatg ggaagttcaa gggcaaggcc acactgactg cagacaaatc ctccagcaca     300

gcctacatgc agctcagcag cctgacctct gtggactctg cggtctattt ctgtgcagat     360

ggtaacgtat attactatgc tatggactac tggggtcaag gaacctcagt caccgtctcc     420

tcaggtggag gcggttcagg tgggcgcgcc tctggcggtg gcggatcgca aattgttctc     480

acccagtctc ctgcttcctt agctgtatct ctggggcaga gggccaccat ctcatgcagg     540

gccagcaaaa gtgtcagtac atctggctat agttatatgc actggtacca acagaaacca     600

ggacagccac ccaaactcct catctatctt gcatccaacc tagaatctgg ggtccctgcc     660

aggttcagtg gcagtgggtc tgggacagac ttcaccctca acatccatcc tgtggaggag     720

gaggatgctg caacctatta ctgtcagcac agtagggagc ttcctcggac gttcggtgga     780

ggcaccaagc tggaaatcaa acgggcggcc gcaccgaagc cttccactcc gcccgggtct     840

tcccgtatga aacagctgga agacaaagta gaggagctcc ttagcaagaa ctaccatcta     900

gaaaacgagg tagctcgtct gaaaaagctt gttggtgaac gtggtggtca ccatcaccat     960

caccattaa                                                             969


<210>   SEQ ID NO 96
<211>   LENGTH: 322
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:mAB #8860
        scFv-leucine zipper fusion protein (miniantibody vector construct
        p8860-Zip#1.2)

<400> SEQUENCE: 96

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Glu Val Gln Leu Gln Gln Ser Gly Pro Glu
             20                  25                  30

Leu Val Lys Pro Gly Ala Ser Val Lys Ile Ser Cys Lys Ala Ser Gly
         35                  40                  45

Tyr Ala Phe Ser Ser Ser Trp Met Asn Trp Val Lys Gln Arg Pro Gly
     50                  55                  60

Gln Gly Leu Glu Trp Ile Gly Arg Ile Tyr Pro Gly Asn Gly Asp Thr
 65                  70                  75                  80

Asn Tyr Asn Gly Lys Phe Lys Gly Lys Ala Thr Leu Thr Ala Asp Lys
                 85                  90                  95

Ser Ser Ser Thr Ala Tyr Met Gln Leu Ser Ser Leu Thr Ser Val Asp
            100                 105                 110

Ser Ala Val Tyr Phe Cys Ala Asp Gly Asn Val Tyr Tyr Tyr Ala Met
        115                 120                 125

Asp Tyr Trp Gly Gln Gly Thr Ser Val Thr Val Ser Ser Gly Gly Gly
    130                 135                 140

Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser Gln Ile Val Leu
145                 150                 155                 160

Thr Gln Ser Pro Ala Ser Leu Ala Val Ser Leu Gly Gln Arg Ala Thr
                165                 170                 175

Ile Ser Cys Arg Ala Ser Lys Ser Val Ser Thr Ser Gly Tyr Ser Tyr
            180                 185                 190

Met His Trp Tyr Gln Gln Lys Pro Gly Gln Pro Pro Lys Leu Leu Ile




                                                Appx185
                                                Appx185
         Case: 22-1461               Document: 25            Page: 173         Filed: 11/04/2022




                                              US 7,033,590 B1
                          91                                                    92
                                                -continued
          195                  200                205

Tyr Leu Ala Ser Asn Leu Glu Ser Gly Val Pro Ala Arg Phe Ser Gly
    210                 215                 220

Ser Gly Ser Gly Thr Asp Phe Thr Leu Asn Ile His Pro Val Glu Glu
225                 230                 235                 240

Glu Asp Ala Ala Thr Tyr Tyr Cys Gln His Ser Arg Glu Leu Pro Arg
                245                 250                 255

Thr Phe Gly Gly Gly Thr Lys Leu Glu Ile Lys Arg Ala Ala Ala Pro
            260                 265                 270

Lys Pro Ser Thr Pro Pro Gly Ser Ser Arg Met Lys Gln Leu Glu Asp
        275                 280                 285

Lys Val Glu Glu Leu Leu Ser Lys Asn Tyr His Leu Glu Asn Glu Val
    290                 295                 300

Ala Arg Leu Lys Lys Leu Val Gly Glu Arg Gly Gly His His His His
305                 310                 315                 320

His His


<210>   SEQ ID NO 97
<211>   LENGTH: 270
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:part of
        plasmid pMycHis6 differing from vector pCOCK

<400> SEQUENCE: 97

caggaaacag ctatgaccat gattacgcca agcttccatg aaaattctat ttcaaggaga         60

cagtcataat gaaataccta ttgcctacgg cagccgctgg attgttatta ctcgcggccc       120

agccggccat ggcccaggtg cagctgcagg cgcgcctgca ggtcgacctc gagatcaaac       180

gggcggccgc agaacaaaaa ctcatctcag aagaggatct gaatggggcg gcacatcacc       240

atcaccatca ctaataagaa ttcactggcc                                        270



<210>   SEQ ID NO 98
<211>   LENGTH: 61
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:part of
        plasmid pMycHis6 differing from vector pCOCK

<400> SEQUENCE: 98

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Gln Val Gln Leu Gln Ala Arg Leu Gln Val
             20                  25                  30

Asp Leu Glu Ile Lys Arg Ala Ala Ala Glu Gln Lys Leu Ile Ser Glu
         35                  40                  45

Glu Asp Leu Asn Gly Ala Ala His His His His His His
     50                  55                  60


<210> SEQ ID NO 99
<211> LENGTH: 888
<212> TYPE: DNA
<213> ORGANISM: Artificial Sequence
<220> FEATURE:
<223> OTHER INFORMATION: Description of Artificial Sequence:198AB2 scFv
      linked to c-myc-tag and His6 tag (ORF of expression vector
      pMycHis6-198A32#102)
<220> FEATURE:




                                                 Appx186
                                                 Appx186
         Case: 22-1461              Document: 25            Page: 174            Filed: 11/04/2022




                                              US 7,033,590 B1
                          93                                                      94
                                                -continued

<221> NAME/KEY: modified_base
<222> LOCATION: (228)
<223> OTHER INFORMATION: n = g, a, c or t

<400> SEQUENCE: 99

atgaaatacc tattgcctac ggcagccgct ggattgttat tactcgcggc ccagccggcc           60

atggccgagg tgaagctggt ggagtctggg ggaggcttag tgaagcctgg agggtccctg       120

aaactctcct gtgcagcctc tggattcact ttcagtagct ataccatgtc ttgggttcgc       180

cagactccgg agaagaggct ggagtgggtc gcaaccatta gtagtggngg tagttccacc       240

tactatccag acagtgtgaa gggccgattc accatctcca gagacaatgc caagaacacc       300

ctgtacctgc aaatgagcag tctgaggtct gaggacacag ccatgtatta ctgtacaaga       360

gaggggggtg gtttcaccgt caactggtac ttcgatgtct ggggcgcagg aacctcagtc       420

accgtctcct caggtggagg cggttcaggt gggcgcgcct ctggcggtgg cggatcggac       480

attgtgctga cacagtctcc agcttctttg gctgtgtctc tagggcagag ggccaccata       540

tcctgcagag ccagtgaaag tgttgatagt tatggctata attttatgca ctggtatcag       600

cagataccag gacagccacc caaactcctc atctatcgtg catccaacct agagtctggg       660

atccctgcca ggttcagtgg cagtgggtct aggacagact tcaccctcac cattaatcct       720

gtggaggctg atgatgttgc aacctattac tgtcagcaaa gtaatgagga tccgctcacg       780

ttcggtactg ggaccagact ggaaataaaa cgggcggccg cagaacaaaa actcatctca       840

gaagaggatc tgaatggggc ggcacatcac catcaccatc actaataa                    888


<210>   SEQ ID NO 100
<211>   LENGTH: 294
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:198AB2 scFv
        linked to c-myc-tag and His6 tag (ORF of expression vector
        pMycHis6-198AB2#102)

<400> SEQUENCE: 100

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Glu Val Lys Leu Val Glu Ser Gly Gly Gly
             20                  25                  30

Leu Val Lys Pro Gly Gly Ser Leu Lys Leu Ser Cys Ala Ala Ser Gly
         35                  40                  45

Phe Thr Phe Ser Ser Tyr Thr Met Ser Trp Val Arg Gln Thr Pro Glu
     50                  55                  60

Lys Arg Leu Glu Trp Val Ala Thr Ile Ser Ser Gly Gly Ser Ser Thr
 65                  70                  75                  80

Tyr Tyr Pro Asp Ser Val Lys Gly Arg Phe Thr Ile Ser Arg Asp Asn
                 85                  90                  95

Ala Lys Asn Thr Leu Tyr Leu Gln Met Ser Ser Leu Arg Ser Glu Asp
            100                 105                 110

Thr Ala Met Tyr Tyr Cys Thr Arg Glu Gly Gly Gly Phe Thr Val Asn
        115                 120                 125

Trp Tyr Phe Asp Val Trp Gly Ala Gly Thr Ser Val Thr Val Ser Ser
    130                 135                 140

Gly Gly Gly Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser Asp
145                 150                 155                 160

Ile Val Leu Thr Gln Ser Pro Ala Ser Leu Ala Val Ser Leu Gly Gln




                                                 Appx187
                                                 Appx187
         Case: 22-1461              Document: 25            Page: 175           Filed: 11/04/2022




                                              US 7,033,590 B1
                          95                                                     96
                                                -continued
                  165                 170                  175

Arg Ala Thr Ile Ser Cys Arg Ala Ser Glu Ser Val Asp Ser Tyr Gly
            180                 185                 190

Tyr Asn Phe Met His Trp Tyr Gln Gln Ile Pro Gly Gln Pro Pro Lys
        195                 200                 205

Leu Leu Ile Tyr Arg Ala Ser Asn Leu Glu Ser Gly Ile Pro Ala Arg
    210                 215                 220

Phe Ser Gly Ser Gly Ser Arg Thr Asp Phe Thr Leu Thr Ile Asn Pro
225                 230                 235                 240

Val Glu Ala Asp Asp Val Ala Thr Tyr Tyr Cys Gln Gln Ser Asn Glu
                245                 250                 255

Asp Pro Leu Thr Phe Gly Thr Gly Thr Arg Leu Glu Ile Lys Arg Ala
            260                 265                 270

Ala Ala Glu Gln Lys Leu Ile Ser Glu Glu Asp Leu Asn Gly Ala Ala
        275                 280                 285

His His His His His His
    290


<210>   SEQ ID NO 101
<211>   LENGTH: 876
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:mAB #8860
        scFv linked to c-myc-tag and His6-tag designated 8860-M/H#4c
        (plasmid vector p8860-M/H#4c)

<400> SEQUENCE: 101

atgaaatacc tattgcctac ggcagccgct ggattgttat tactcgcggc ccagccggcc         60

atggccgagg ttcagcttca gcagtctgga cctgagctgg tgaagcccgg ggcctcagtg         120

aagatttcct gcaaagcttc tggctacgca ttcagtagct cttggatgaa ctgggtgaag         180

cagaggcctg gacagggtct tgagtggatt ggacggattt atcctggaaa tggagatact         240

aactacaatg ggaagttcaa gggcaaggcc acactgactg cagacaaatc ctccagcaca         300

gcctacatgc agctcagcag cctgacctct gtggactctg cggtctattt ctgtgcagat         360

ggtaacgtat attactatgc tatggactac tggggtcaag gaacctcagt caccgtctcc         420

tcaggtggag gcggttcagg tgggcgcgcc tctggcggtg gcggatcgca aattgttctc         480

acccagtctc ctgcttcctt agctgtatct ctggggcaga gggccaccat ctcatgcagg         540

gccagcaaaa gtgtcagtac atctggctat agttatatgc actggtacca acagaaacca         600

ggacagccac ccaaactcct catctatctt gcatccaacc tagaatctgg ggtccctgcc         660

aggttcagtg gcagtgggtc tgggacagac ttcaccctca acatccatcc tgtggaggag         720

gaggatgctg caacctatta ctgtcagcac agtagggagc ttcctcggac gttcggtgga         780

ggcaccaagc tggaaatcaa acgggcggcc gcagaacaaa aactcatctc agaagaggat         840

ctgaatgggg cggcacatca ccatcaccat cactaa                                   876



<210>   SEQ ID NO 102
<211>   LENGTH: 291
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:mAB #8860
        scFv linked to c-myc-tag and His6-tag designated 8860-M/H#4c
        (plasmid vector p8860-M/H#4c)

<400> SEQUENCE: 102




                                                 Appx188
                                                 Appx188
         Case: 22-1461              Document: 25            Page: 176         Filed: 11/04/2022




                                              US 7,033,590 B1
                           97                                                  98
                                                -continued

Met Lys Tyr Leu Leu Pro Thr Ala Ala Ala Gly Leu Leu Leu Leu Ala
  1               5                  10                  15

Ala Gln Pro Ala Met Ala Glu Val Gln Leu Gln Gln Ser Gly Pro Glu
             20                  25                  30

Leu Val Lys Pro Gly Ala Ser Val Lys Ile Ser Cys Lys Ala Ser Gly
         35                  40                  45

Tyr Ala Phe Ser Ser Ser Trp Met Asn Trp Val Lys Gln Arg Pro Gly
     50                  55                  60

Gln Gly Leu Glu Trp Ile Gly Arg Ile Tyr Pro Gly Asn Gly Asp Thr
 65                  70                  75                  80

Asn Tyr Asn Gly Lys Phe Lys Gly Lys Ala Thr Leu Thr Ala Asp Lys
                 85                  90                  95

Ser Ser Ser Thr Ala Tyr Met Gln Leu Ser Ser Leu Thr Ser Val Asp
            100                 105                 110

Ser Ala Val Tyr Phe Cys Ala Asp Gly Asn Val Tyr Tyr Tyr Ala Met
        115                 120                 125

Asp Tyr Trp Gly Gln Gly Thr Ser Val Thr Val Ser Ser Gly Gly Gly
    130                 135                 140

Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser Gln Ile Val Leu
145                 150                 155                 160

Thr Gln Ser Pro Ala Ser Leu Ala Val Ser Leu Gly Gln Arg Ala Thr
                165                 170                 175

Ile Ser Cys Arg Ala Ser Lys Ser Val Ser Thr Ser Gly Tyr Ser Tyr
            180                 185                 190

Met His Trp Tyr Gln Gln Lys Pro Gly Gln Pro Pro Lys Leu Leu Ile
        195                 200                 205

Tyr Leu Ala Ser Asn Leu Glu Ser Gly Val Pro Ala Arg Phe Ser Gly
    210                 215                 220

Ser Gly Ser Gly Thr Asp Phe Thr Leu Asn Ile His Pro Val Glu Glu
225                 230                 235                 240

Glu Asp Ala Ala Thr Tyr Tyr Cys Gln His Ser Arg Glu Leu Pro Arg
                245                 250                 255

Thr Phe Gly Gly Gly Thr Lys Leu Glu Ile Lys Arg Ala Ala Ala Glu
            260                 265                 270

Gln Lys Leu Ile Ser Glu Glu Asp Leu Asn Gly Ala Ala His His His
        275                 280                 285

His His His
    290



<210>   SEQ ID NO 103
<211>   LENGTH: 74
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:annealed
        oligonucleotide

<400> SEQUENCE: 103

ggccgcagaa caaaaactca tctcagaaga ggatctgaat ggggcggcac atcaccatca        60

ccatcactaa taag                                                          74


<210>   SEQ ID NO 104
<211>   LENGTH: 69
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:




                                                 Appx189
                                                 Appx189
         Case: 22-1461              Document: 25            Page: 177           Filed: 11/04/2022




                                              US 7,033,590 B1
                          99                                                     100
                                                -continued
<223> OTHER INFORMATION: Description of Artificial Sequence:annealed
      oligonucleotide

<400> SEQUENCE: 104

ttattagtga tggtgatggt gatgtgccgc cccattcaga tcctcttctg agatgagttt          60

ttgttctgc                                                                  69


<210>   SEQ ID NO 105
<211>   LENGTH: 16
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:CDR3 peptide
<220>   FEATURE:
<221>   NAME/KEY: MOD RES
<222>   LOCATION: (1)..(16)
<223>   OTHER INFORMATION: Xaa = any amino acid

<400> SEQUENCE: 105

Cys Xaa Xaa Tyr Gly Asn Ser Pro Lys Gly Phe Ala Tyr Xaa Xaa Cys
  1               5                  10                  15


<210>   SEQ ID NO 106
<211>   LENGTH: 16
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:CDR3 peptide

<400> SEQUENCE: 106

Phe Arg Asn Arg Gly Met Thr Ala Leu Leu Lys Val Ser Ser Cys Asp
  1               5                  10                  15


<210>   SEQ ID NO 107
<211>   LENGTH: 30
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:portion of
        plasmid pMycHis6 with pe1B-leader, polylinker and c-myc tag

<400> SEQUENCE: 107

Leu Ala Ala Gln Pro Ala Met Ala Gln Val Gln Leu Gln Ala Arg Leu
  1               5                  10                  15

Gln Val Asp Leu Glu Ile Lys Arg Ala Ala Ala Glu Gln Lys
             20                  25                  30



<210>   SEQ ID NO 108
<211>   LENGTH: 90
<212>   TYPE: DNA
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:portion of
        plasmid pMycHis6 with pe1B-leader, polylinker and c-myc tag

<400> SEQUENCE: 108

ctcgcggccc agccggccat ggcccaggtg cagctgcagg cgcgcctgca ggtcgacctc          60

gagatcaaac gggcggccgc agaacaaaaa                                           90



<210>   SEQ ID NO 109
<211>   LENGTH: 12
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description of Artificial Sequence:c-myc-tag




                                                 Appx190
                                                 Appx190
         Case: 22-1461                  Document: 25                 Page: 178              Filed: 11/04/2022




                                                    US 7,033,590 B1
                            101                                                               102

                                                       -continued

<400> SEQUENCE: 109

Glu Gln Lys Leu Ile Ser Glu Glu Asp Leu Asn Gly
  1                5                 10



<210>   SEQ ID NO 110
<211>   LENGTH: 6
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description      of Artificial   Sequence:His6-tag

<400> SEQUENCE: 110

His His His His His His
  1               5



<210>   SEQ ID NO 111
<211>   LENGTH: 15
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description      of Artificial   Sequence:flexible
        linker

<400> SEQUENCE: 111

Gly Gly Gly Gly Ser Gly Gly Arg Ala Ser Gly Gly Gly Gly Ser
  1               5                  10                  15



<210>   SEQ ID NO 112
<211>   LENGTH: 12
<212>   TYPE: PRT
<213>   ORGANISM: Artificial Sequence
<220>   FEATURE:
<223>   OTHER INFORMATION: Description      of Artificial   Sequence:Al   peptide
        core sequence

<400> SEQUENCE: 112

Glu Gly Gly Gly Tyr Tyr Val Asn Trp Tyr Phe Asp
  1               5                  10




   What is claimed is:                                                7. The antibody or antibody fragment according to claim
   1. An isolated antibody or antibody fragment thereof that       6 that additionally comprises an artificial linker sequence.
binds Factor IX or Factor IXa and increases the procoagu-             8. The antibody or antibody fragment according to claim
lant activity of Factor IXa.                                    45 1, wherein the variable region of said antibody or antibody
   2. The antibody or antibody fragment according to claim         fragment comprises amino acids 1-121 and amino acids
1 that increases the procoagulant activity of Factor IXa in the    137-249 as listed in SEQ ID NO:84.
presence of Factor VIII inhibitors.                                   9. The antibody or antibody fragment according to claim
   3. The antibody or antibody fragment according to claim         8 that additionally comprises an artificial linker sequence.
1 wherein the antibody is an IgG, IgM, IgA or IgE antibody. 50        10. The antibody or antibody fragment according to claim
   4. The antibody or antibody fragment according to claim         1, wherein the variable region of said antibody or antibody
1, wherein said antibody or antibody fragment is selected          fragment comprises amino acids 1-122 and amino acids
from the group consisting of a monoclonal antibody, a              138-249 as listed in SEQ ID NO:86.
chimeric antibody, a humanized antibody, a single chain               11. The antibody or antibody fragment according to claim
antibody, a bispecific antibody, a diabody, and di-, oligo- or 55 10 that additionally comprises an artificial linker sequence.
multimers thereof                                                     12. A hybridoma cell line secreting an antibody that binds
                                                                   Factor LX or Factor IXa and increases the procoagulant
   5. A CDR3 peptide of the antibody or antibody fragment
                                                                   activity of Factor IXa.
according to claim 1 consisting of an amino acid sequence
                                                                      13. The hybridoma cell line according to claim 12 that is
selected from the group consisting of:                             selected from the group consisting of cell lines having
   Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phe-Ala-Tyr (SEQ ID 6o ECACC deposit numbers 99090924, 99090925, 99090926,
      NO:5); and                                                   99121614, 99121615, 99121616, 99121617, 99121618,
   Asp-Gly-Gly-His-Gly-Tyr-Gly-Ser-Ser-Phe-Asp-Tyr                 99121619 and 99121620.
      (SEQ ID NO:6).                                                  14. An antibody that is secreted by a hybridoma cell line
   6. The antibody or antibody fragment according to claim         according to claim 12.
1, wherein the variable region of said antibody or antibody 65        15. A preparation comprising an antibody or antibody
fragment comprises amino acids 1-119 and amino acids               fragment according to claim 1 and a pharmaceutically
135-242 as listed in SEQ ID NO:82.                                 acceptable carrier.




                                                        Appx191
                                                        Appx191
        Case: 22-1461                  Document: 25                 Page: 179              Filed: 11/04/2022




                                                   US 7,033,590 B1
                           103                                                               104
  16. The preparation according to claim 15, additionally              hybridoma cells which exhibit an increase in the pro-
comprising Factor IXaa and/or Factor IXaI3.                            coagulant activity of Factor IXa.
  17. A method of obtaining an antibody that interacts with          18. The antibody or antibody fragment according to claim
Factor IX or Factor IXa and increases the procoagulant            4, wherein  the antibody fragment is a single chain antibody.
activity of Factor IXa, comprising the steps of:               5     19. The antibody or antibody fragment according to claim
                                                                  4, wherein the antibody is a humanized antibody.
  immunizing an immunocompetent mouse with an antigen                20. The antibody or antibody fragment according to claim
     selected from the group consisting of FIX, FIXaa,            2 wherein the antibody is selected from the group consisting
     FIXal3 or fragments thereof,                                 of an IgG, IgM, IgA or IgE antibody.
  isolating spleen cells of the immunized mouse,                     21. The antibody or antibody fragment of claim 1,
                                                               10 wherein the antibody fragment comprises a CDR3 peptide.
  producing hybridoma cells,                                         22. The antibody or antibody fragment of claim 1,
  screening the hybridoma cell supernatants for an increase       wherein the antibody fragment is a CDR3 peptide.
     in the procoagulant activity of Factor IXa, isolating and
     purifying the antibody from a supernatant from the                                  *   *  *   *   *




                                                       Appx192
                                                       Appx192
           Case: 22-1461          Document: 25           Page: 180      Filed: 11/04/2022

                                                                                            APPEAL,PATENT
                                    U.S. District Court
                            District of Delaware (Wilmington)
                    CIVIL DOCKET FOR CASE #: 1:17-cv-00509-TBD
                                                   1:17−cv−00509−TBD

Baxalta Incorporated et al v. Genentech, Inc. et al                  Date Filed: 05/04/2017
Assigned to: Judge Timothy Belcher Dyk                               Jury Demand: Plaintiff
Case in other court: Federal Circuit, 19−01527
                                       19—01527                      Nature of Suit: 830 Patent
                                      22−01461
                     Federal Circuit, 22—01461                       Jurisdiction: Federal Question
Cause: 35:271 Patent Infringement
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            Case: 22-1461   Document: 25      Page: 181    Filed: 11/04/2022

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                                    Appx194
                                    Appx194
         Case: 22-1461   Document: 25      Page: 182     Filed: 11/04/2022

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         Case: 22-1461       Document: 25      Page: 183     Filed: 11/04/2022

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                                     Appx196
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         Case: 22-1461        Document: 25      Page: 184      Filed: 11/04/2022

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                                      Appx197
                                      Appx197
         Case: 22-1461   Document: 25      Page: 185    Filed: 11/04/2022

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V.

                                 Appx198
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         Case: 22-1461   Document: 25      Page: 186    Filed: 11/04/2022

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                                                    Amy Michele Dudash
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Caroline Lourgos
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Colm F. Connolly
                                                    Cohn
                                                    (See above for address)
                                                    TERMINATED: 11/07/2018

                                                    Jason C. White
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Jennifer M. Dienes
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Jesse T. Dyer
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Karon N. Fowler
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Maria E. Doukas
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Sanjay K. Murthy
                                                    (See above for address)
                                                    PRO HAC VICE
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

Counter Defendant
Baxalta Incorporated                    represented by Jody Barillare
a Delaware corporation                                 (See above for address)
                                                              ATTORNEY
                                                       LEAD ATTORNEY
                                                       ATTORNEY TO BE NOTICED
                                                       ATTORNEY

                                                    Michael J. Abernathy
                                                    (See above for address)
                                                           ATTORNEY
                                                    LEAD ATTORNEY
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY

                                                    Amanda S. Williamson
                                                    (See above for address)
                                                    ATTORNEY TO BE NOTICED
                                                    ATTORNEY
                                 Appx199
                                 Appx199
             Case: 22-1461        Document: 25         Page: 187       Filed: 11/04/2022
                                                                   Amy Michele Dudash
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY

                                                                   Caroline Lourgos
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY

                                                                   Colm F. Connolly
                                                                   Cohn
                                                                   (See above for address)
                                                                   TERMINATED: 11/07/2018

                                                                   Jason C. White
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY

                                                                   Jennifer M. Dienes
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY

                                                                   Jesse T. Dyer
                                                                   (See above for address)
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY

                                                                   Karon N. Fowler
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY

                                                                   Maria E. Doukas
                                                                   (See above for address)
                                                                   ATTORNEY TO BE NOTICED
                                                                   ATTORNEY


Date Filed   #   Docket Text
05/04/2017    1 COMPLAINT FOR PATENT INFRINGEMENT AND DECLARATORY JUDGMENT OF
                PATENT INFRINGEMENT -− filed with Jury Demand against Chugai Pharmaceutical Co., Ltd.,
                Genentech, Inc. —− Magistrate Consent Notice to Pltf. ( Filing fee $ 400, receipt number
                0311−2134340.) -− filed by Baxalta Incorporated, Baxalta GmbH. (Attachments: # 1 Exhibit A, #
                0311-2134340.)
                2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit
                H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                                                                                    B Exhibit M, # 14 Civil Cover
                Sheet)(rwc) (Entered: 05/04/2017)
05/04/2017    2 Notice, Consent and Referral forms re: U.S. Magistrate Judge jurisdiction. (rwc) (Entered:
                05/04/2017)
05/04/2017    3 Report to the Commissioner of Patents and Trademarks for Patent/Trademark Number(s)
                7,033,590. (rwc) (Entered: 05/04/2017)
05/04/2017    4 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Shire plc for Baxalta
                Incorporated; Corporate Parent Baxalta Incorporated for Baxalta GmbH filed by Baxalta GmbH,
                Baxalta Incorporated. (rwc) (Entered: 05/04/2017)
05/04/2017       No Summons Issued. (rwc) (Entered: 05/04/2017)
05/10/2017       Case Assigned to Judge Gregory M. Sleet. Please include the initials of the Judge (GMS) after
                 the case number on all documents filed. (rjb) (Entered: 05/10/2017)
05/11/2017       Summons Issued with Magistrate Consent Notice attached as to Genentech, Inc. on 5/11/2017.
                 (sar) (Entered: 05/11/2017)
05/11/2017    5 MOTION for Pro Hac Vice Appearance of Attorney Michael J. Abernathy, Christopher J. Betti,
                                                                                              − filed by
                Amanda S. Williamson, Jennifer M. Dienes, Maria E. Doukas and Jessica A. Stow —



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                                              Appx200
             Case: 22-1461        Document: 25        Page: 188        Filed: 11/04/2022

                 Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Michael Abernathy Certification by
                 Counsel to be Admitted Pro Hac Vice, # 2 Christopher J. Betti Certification by Counsel to be
                 Admitted Pro Hac Vice, # 3 Amanda Williamson Certification by Counsel to be Admitted Pro
                 Hac Vice, # 4 Jennifer Dienes Certification by Counsel to be Admitted Pro Hac Vice, # 5 Maria
                 Doukas Certification by Counsel to be Admitted Pro Hac Vice, # 6 Jessica Stow Certification by
                 Counsel to be Admitted Pro Hac Vice)(Connolly, Colm) (Entered: 05/11/2017)
05/12/2017    6 Return of Service Executed by Baxalta Incorporated, Baxalta GmbH. Genentech, Inc. served on
                5/11/2017, answer due 6/1/2017. (Connolly, Colm) (Entered: 05/12/2017)
05/16/2017       SO ORDERED —    − re 5 MOTION for Pro Hac Vice Appearance of Attorney Michael J.
                 Abernathy, Christopher J. Betti, Amanda S. Williamson, Jennifer M. Dienes, Maria E. Doukas
                 and Jessica A. Stow filed by Baxalta GmbH, Baxalta Incorporated. Ordered by Judge Gregory
                 M. Sleet on 5/16/2017. (mdb) (Entered: 05/16/2017)
05/16/2017       Pro Hac Vice Attorney Amanda S. Williamson for Baxalta GmbH,Amanda S. Williamson for
                 Baxalta Incorporated added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware
                 counsel shall be the registered users of CM/ECF and shall be required to file all papers. (crb)
                 (Entered: 05/16/2017)
05/22/2017       Pro Hac Vice Attorney Jennifer M. Dienes,Maria E. Doukas for Baxalta GmbH,Jennifer M.
                 Dienes,Maria E. Doukas for Baxalta Incorporated added for electronic noticing. Pursuant to
                 Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall be
                 required to file all papers. (crb) (Entered: 05/22/2017)
06/01/2017    7 STIPULATION TO EXTEND TIME by which defendant Genentech, Inc. must answer, move,
                or otherwise respond to the complaint to June 30, 2017, -− filed by Genentech, Inc.. (Balick,
                Steven) (Entered: 06/01/2017)
06/01/2017       SO ORDERED —     − re 7 STIPULATION TO EXTEND TIME by which defendant Genentech, Inc.
                 must answer, move, or otherwise respond to the complaint to June 30, 2017, filed by Genentech,
                 Inc., Set/Reset Answer Deadlines: Genentech, Inc. answer due 6/30/2017. Ordered by Judge
                 Gregory M. Sleet on 6/1/2017. (mdb) (Entered: 06/01/2017)
06/02/2017       Summons Issued with Magistrate Consent Notice attached as to Chugai Pharmaceutical Co., Ltd.
                 on 6/2/2017. (nmg) (Entered: 06/02/2017)
06/20/2017    8 WAIVER OF SERVICE returned executed by Baxalta Incorporated, Baxalta GmbH: For Chugai
                Pharmaceutical Co., Ltd. waiver sent on 6/15/2017, answer due 9/13/2017. (Connolly, Colm)
                (Entered: 06/20/2017)
06/30/2017                     Complaint,, with Jury Demand , COUNTERCLAIM against Baxalta GmbH,
              9 ANSWER to 1 Complaint„
                Baxalta Incorporated by Genentech, Inc..(Balick, Steven) (Entered: 06/30/2017)
06/30/2017   10 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Roche Holdings, Inc.
                for Genentech, Inc. filed by Genentech, Inc.. (Balick, Steven) (Entered: 06/30/2017)
06/30/2017   11 MOTION for Pro Hac Vice Appearance of Attorney Nicholas P. Groombridge, Eric Alan Stone,
                                                                            − filed by Genentech, Inc..
                Kenneth A. Gallo, Jennifer Gordon, Ph.D., and David E. Cole —
                (Balick, Steven) (Entered: 06/30/2017)
06/30/2017   12 Amended Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Roche
                Holdings, Inc. for Genentech, Inc. filed by Genentech, Inc.. (Mayo, Andrew) (Entered:
                06/30/2017)
07/05/2017   13
             B ORDER REGARDING CASE MANAGEMENT IN CIVIL CASES. Signed by Judge Gregory
                M. Sleet on 7/5/2017. (asw) (Entered: 07/05/2017)
07/06/2017       SO ORDERED, re 11 MOTION for Pro Hac Vice Appearance of Attorney Nicholas P.
                 Groombridge, Eric Alan Stone, Kenneth A. Gallo, Jennifer Gordon, Ph.D., and David E. Cole
                 filed by Genentech, Inc. Signed by Judge Gregory M. Sleet on 7/6/2017. (asw) (Entered:
                 07/06/2017)
07/06/2017       Pro Hac Vice Attorney Eric A. Stone for Genentech, Inc. added for electronic noticing. Pursuant
                 to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall be
                 required to file all papers. (crb) (Entered: 07/06/2017)
07/10/2017       Pro Hac Vice Attorney Jennifer Gordon, David E. Cole, Kenneth A. Gallo for Genentech, Inc.
                 added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the

                                             Appx2011
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             Case: 22-1461        Document: 25         Page: 189        Filed: 11/04/2022

                 registered users of CM/ECF and shall be required to file all papers. (nmg) (Entered: 07/10/2017)
07/21/2017   14 ANSWER to 9 Answer to Complaint, Counterclaim by Baxalta GmbH, Baxalta
                Incorporated.(Connolly, Colm) (Entered: 07/21/2017)
08/04/2017   15 Joint STATUS REPORT by Baxalta GmbH, Baxalta Incorporated. (Connolly, Colm) (Entered:
                08/04/2017)
08/04/2017   16 PROPOSED ORDER −     — Scheduling Order by Baxalta GmbH, Baxalta Incorporated. (Connolly,
                Colm) (Entered: 08/04/2017)
08/04/2017   17 Amended STATUS REPORT (Submitted Jointly) by Baxalta GmbH, Baxalta Incorporated.
                (Connolly, Colm) Modified on 8/14/2017 (mdb). (Entered: 08/04/2017)
08/14/2017       Pro Hac Vice Attorney Nicolas P. Groombridge for Genentech, Inc. added for electronic
                 noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of
                 CM/ECF and shall be required to file all papers. (crb) (Entered: 08/14/2017)
09/13/2017   18 MOTION to Dismiss for Lack of Jurisdiction Over the Person — − filed by Chugai Pharmaceutical
                Co., Ltd.. (Attachments: # 1 Text of Proposed Order)(Fry, David) (Entered: 09/13/2017)
09/13/2017   19 OPENING BRIEF in Support re 18 MOTION to Dismiss for Lack of Jurisdiction Over the
                Person filed by Chugai Pharmaceutical Co., Ltd..Answering Brief/Response due date per Local
                Rules is 9/27/2017. (Fry, David) (Entered: 09/13/2017)
09/13/2017   20 DECLARATION of Tetsuya Yamaguchi re 18 MOTION to Dismiss for Lack of Jurisdiction
                Over the Person by Chugai Pharmaceutical Co., Ltd.. (Fry, David) Modified on 9/14/2017
                (mdb). (Entered: 09/13/2017)
09/13/2017   21 Disclosure Statement pursuant to Rule 7.1: identifying Corporate Parent Roche Holding Ltd. for
                Chugai Pharmaceutical Co., Ltd. filed by Chugai Pharmaceutical Co., Ltd.. (Fry, David)
                (Entered: 09/13/2017)
09/14/2017                                                                                        −
             22 MOTION for Pro Hac Vice Appearance of Attorney David C. Doyle and Brian M. Kramer —
                filed by Chugai Pharmaceutical Co., Ltd.. (Keller, Karen) (Entered: 09/14/2017)
09/15/2017       SO ORDERED —   − re 22 MOTION for Pro Hac Vice Appearance of Attorney David C. Doyle and
                 Brian M. Kramer filed by Chugai Pharmaceutical Co., Ltd.. Ordered by Judge Gregory M. Sleet
                 on 9/15/2017. (mdb) (Entered: 09/15/2017)
09/19/2017       ORAL ORDER re 17 Joint Status Report —      − Because defendant Chugai Pharmaceutical Co., Ltd.
                 did not participate in the telephone conference prior to submitting the joint status report,
                 defendant Chugai shall file a letter indicating their positions on the contents of the joint status
                 report and proposed schedule within seven days of this order. Ordered by Judge Gregory M.
                 Sleet on 9/19/2017. (mdb) (Entered: 09/19/2017)
09/20/2017       Pro Hac Vice Attorney David C. Doyle and Brian M. Kramer for Chugai Pharmaceutical Co.,
                 Ltd. added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be
                 the registered users of CM/ECF and shall be required to file all papers. (ceg) (Entered:
                 09/20/2017)
09/26/2017   23 Letter to The Honorable Gregory M. Sleet from David M. Fry. (Fry, David) (Entered:
                09/26/2017)
09/27/2017   24 ANSWERING BRIEF in Opposition re 18 MOTION to Dismiss for Lack of Jurisdiction Over
                the Person filed by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is
                10/4/2017. (Connolly, Colm) (Entered: 09/27/2017)
09/27/2017   25 DECLARATION of Amanda S. Williamson re 24        N Answering Brief in Opposition by Baxalta
                GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4
                Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit
                10, # 11 Exhibit 11, # 12 Exhibit 12)(Connolly, Colm) Modified on 10/2/2017 (mdb). (Entered:
                09/27/2017)
09/29/2017   26 NOTICE OF SERVICE of Plaintiffs' Rule 26(a)(1) Initial Disclosures filed by Baxalta GmbH,
                Baxalta Incorporated.(Connolly, Colm) (Entered: 09/29/2017)
09/29/2017   27 NOTICE OF SERVICE of Defendant Genentech, Inc.'s Initial Disclosures Pursuant to Fed. R.
                Civ. P. 26(a)(1) filed by Genentech, Inc..(Mayo, Andrew) (Entered: 09/29/2017)

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                                              Appx202
             Case: 22-1461       Document: 25         Page: 190       Filed: 11/04/2022

10/02/2017   28 NOTICE OF SERVICE of Defendant Chugai Pharmaceutical Co., Ltd.'s Initial Disclosures
                Pursuant to Federal Rule of Civil Procedure 26(a)(1) filed by Chugai Pharmaceutical Co.,
                Ltd..(Keller, Karen) (Entered: 10/02/2017)
10/04/2017       ORAL ORDER re 17 Joint Status Report —     − The parties' proposed schedule is ADOPTED, with
                 the following additions: The Markman Hearing (1/2 day) is set for 7/16/2018 at 9:30 AM in
                 Courtroom 4A, the Final Pretrial Conference is set for 8/26/2019 at 10:00 AM in Courtroom 4A,
                 and a 7−day
                       7—day Jury Trial is set for 9/9/2019 at 9:30 AM in Courtroom 4A. This case is referred to
                 the Magistrate Judge for exploring ADR. The plaintiff shall file an amended scheduling order
                 incorporating the full case schedule by 10/11/2017. Ordered by Judge Gregory M. Sleet on
                 10/4/2017. (mdb) (Entered: 10/04/2017)
10/04/2017   29 REPLY BRIEF re 18 MOTION to Dismiss for Lack of Jurisdiction Over the Person filed by
                Chugai Pharmaceutical Co., Ltd.. (Keller, Karen) (Entered: 10/04/2017)
10/11/2017   30 Letter to The Honorable Gregory M. Sleet from Colm F. Connolly regarding jointly submitting a
                                                               − re Oral Order,,. (Attachments: # 1 Text of
                scheduling order for the Court's consideration —
                Proposed Order −— Scheduling Order)(Connolly, Colm) (Entered: 10/11/2017)
10/12/2017       SO ORDERED —    − re 30 Scheduling Order: Case referred to the Magistrate Judge for the purpose
                 of exploring ADR. (Motions for Joinder of Parties and Amended Pleadings due by 6/7/2018.,
                 Claim Construction Opening Briefs due by 5/11/2018., Claim Construction Answering Briefs
                 due by 6/15/2018., A Markman Hearing (1/2 day) is set for 7/16/2018 at 09:30 AM in
                 Courtroom 4A., Fact Discovery completed by 8/31/2018., Opening Expert Reports due by
                 10/5/2018., Rebuttal Expert Reports due by 11/9/2018., Reply Expert Reports due by
                 12/7/2018., Expert Discovery due by 1/31/2019., Opening Summary Judgment Letter Briefs due
                 by 2/14/2019., Answering Letter Briefs due 2/28/2019., Reply Letter Briefs due 3/7/2019.,
                 Proposed Pretrial Order due by 8/16/2019., A Final Pretrial Conference is set for 8/26/2019 at
                                                    7−day Jury Trial is set for 9/9/2019 at 09:30 AM in
                 10:00 AM in Courtroom 4A., and a 7—day
                 Courtroom 4A. See Scheduling Order ( 30 ) for more details). Ordered by Judge Gregory M.
                 Sleet on 10/12/2017. (mdb) (Entered: 10/12/2017)
10/17/2017   31 NOTICE OF SERVICE of Plaintiffs' First Set of Requests for Production of Documents and
                             1−107) filed by Baxalta GmbH, Baxalta Incorporated.(Connolly, Colm) (Entered:
                Things (Nos. 1-107)
                10/17/2017)
10/23/2017       CASE REFERRED to Chief Magistrate Judge Mary Pat Thynge for Mediation. Please see
                 Standing Order dated January 20, 2016, regarding disclosure of confidential ADR
                 communications. A link to the standing order is provided here for your convenience at
                 http://www.ded.uscourts.gov/general−orders/magistrate−judges−standing−order−adr−mediation
                 http://www.ded.uscourts.gov/general—orders/magistrate—judges—standing—order—adr—mediation
                 (cak) (Entered: 10/23/2017)
10/23/2017   32 STIPULATION Seeking to Extend the Deadline by which the Parties Must Submit a Proposed
                Protective Order, by Genentech, Inc.. (Balick, Steven) (Entered: 10/23/2017)
10/24/2017   33 ORDER Setting Teleconference: Plaintiffs' counsel to initiate the call. A Telephone Conference
                is set for 11/30/2017 at 11:00 AM Eastern Time before Judge Mary Pat Thynge to discuss ADR.
                Signed by Judge Mary Pat Thynge on 10/24/17. (cak) (Entered: 10/24/2017)
10/26/2017       SO ORDERED —    − re 32 Stipulation Seeking to Extend the Deadline by which the Parties Must
                 Submit a Proposed Protective Order filed by Genentech, Inc.. Ordered by Judge Gregory M.
                 Sleet on 10/26/2017. (mdb) (Entered: 10/26/2017)
11/02/2017   34 STIPULATION TO EXTEND TIME to Submit a Proposed Protective Order to November 9,
                2017 -− filed by Chugai Pharmaceutical Co., Ltd.. (Shaw, John) (Entered: 11/02/2017)
11/02/2017       SO ORDERED —   − re 34 STIPULATION TO EXTEND TIME to Submit a Proposed Protective
                 Order to November 9, 2017 filed by Chugai Pharmaceutical Co., Ltd.. Ordered by Judge
                 Gregory M. Sleet on 11/2/2017. (mdb) (Entered: 11/02/2017)
11/02/2017   35 NOTICE OF SERVICE of Genentech, Inc.'s First Set of Requests for the Production of
                Documents and Things to Baxalta Incorporated and Baxalta GmbH filed by Genentech,
                Inc..(Mayo, Andrew) (Entered: 11/02/2017)
11/03/2017   36 NOTICE OF SERVICE of Defendant Genentech, Inc.'s Initial Disclosures Pursuant to Section 3
                of the Default Standard for Discovery filed by Genentech, Inc..(Balick, Steven) (Entered:
                11/03/2017)

                                            Appx203
                                            Appx203
             Case: 22-1461         Document: 25         Page: 191       Filed: 11/04/2022

11/06/2017   37 NOTICE OF SERVICE of Chugai Pharmaceutical Co., Ltd.'s Initial Disclosures Pursuant to
                Paragraph 3 of the Default Standard for Discovery filed by Chugai Pharmaceutical Co.,
                Ltd..(Keller, Karen) (Entered: 11/06/2017)
11/09/2017   38 PROPOSED ORDER −     — Stipulated Protective Order by Baxalta GmbH, Baxalta Incorporated.
                (Connolly, Colm) (Entered: 11/09/2017)
11/13/2017        SO ORDERED —    − re 38 (Proposed) Stipulated Protective Order filed by Baxalta GmbH, Baxalta
                  Incorporated. Ordered by Judge Gregory M. Sleet on 11/13/2017. (mdb) (Entered: 11/13/2017)
11/17/2017   39 NOTICE OF SERVICE of Plaintiffs' Initial Disclosure of Infringement Contentions Pursuant to
                October 11, 2017 Scheduling Order filed by Baxalta GmbH, Baxalta Incorporated.(Connolly,
                Colm) (Entered: 11/17/2017)
12/12/2017   40 NOTICE of Appearance by Amy Michele Dudash on behalf of All Plaintiffs (Dudash, Amy)
                (Entered: 12/12/2017)
12/14/2017   41 MOTION for Preliminary Injunction —− filed by Baxalta GmbH, Baxalta Incorporated.
                (Connolly, Colm) (Entered: 12/14/2017)
12/14/2017   42 [SEALED] MEMORANDUM in Support re 41 MOTION for Preliminary Injunction filed by
                Baxalta GmbH, Baxalta Incorporated.Answering Brief/Response due date per Local Rules is
                12/28/2017. (Attachments: # 1 Text of Proposed Order)(Connolly, Colm) (Entered: 12/14/2017)
12/14/2017   43 [SEALED] DECLARATION re 42 MEMORANDUM in Support of Plaintiffs' Memorandum in
                Support of Their Motion for Preliminary Injunction by Baxalta GmbH, Baxalta Incorporated.
                (Attachments: # 1 Exhibit Exhibits M, EE, JJ and PP that are Sealed)(Connolly, Colm) Modified
                on 12/15/2017 (mdb). (Entered: 12/14/2017)
12/14/2017   44   EXHIBIT A re 43 Declaration by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
                  Exhibit B, # 2 Exhibit C, # 3 Exhibit D, # 4 Exhibit E, # 5 Exhibit F, # 6 Exhibit G, # 7 Exhibit
                  H, # 8 Exhibit I, # 9 Exhibit J, # 10 Exhibit K, # 11 Exhibit L, # 12 Exhibit N, # 13
                                                                                                     B Exhibit O, #
                  14 Exhibit P, # 15 Exhibit Q, # 16 Exhibit R, # 17 Exhibit S)(Connolly, Colm) Modified on
                  12/15/2017 (mdb). (Entered: 12/14/2017)
12/14/2017   45   EXHIBIT T re 44 Exhibit to a Document, 43 Declaration by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit U, # 2 Exhibit V, # 3 Exhibit W, # 4 Exhibit X, # 5
                  Exhibit Y, # 6 Exhibit Z, # 7 Exhibit AA, # 8 Exhibit BB, # 9 Exhibit CC, # 10 Exhibit DD, # 11
                  Exhibit FF, # 12 Exhibit GG, # 13
                                                  B Exhibit HH, # 14 Exhibit II, # 15 Exhibit KK, # 16 Exhibit
                  LL, # 17 Exhibit MM, # 18 Exhibit NN, # 19 Exhibit OO, # 20 Exhibit QQ, # 21 Exhibit RR, #
                                                    24 Exhibit UU, # 25 Exhibit VV, # 26 Exhibit
                  22 Exhibit SS, # 23 Exhibit TT, # N
                  WW)(Connolly, Colm) Modified on 12/15/2017 (mdb). (Entered: 12/14/2017)
12/14/2017   46 DECLARATION of Dr. Louis M. Aledort re 42 MEMORANDUM in Support by Baxalta
                GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit
                J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O)(Connolly,
                Colm) Modified on 12/15/2017 (mdb). (Entered: 12/14/2017)
12/14/2017   47 DECLARATION of Krishnaswamy, Ph.D. re 42 MEMORANDUM in Support by Baxalta
                GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit H, # 8 Exhibit I, # 9 Exhibit K, # 10 Exhibit
                L, # 11 Exhibit M, # 12 Exhibit N, # 13 Exhibit O, # 14 Exhibit P, # 15 Exhibit Q, # 16 Exhibit
                R, # 17 Exhibit S, # 18 Exhibit T, # 19 Exhibit U, # 20 Exhibit V, # 21 Exhibit W, # 22 Exhibit
                X, # 23 Exhibit Y, # 24                         AA)(Connolly, Colm) Modified on 12/15/2017
                                     N Exhibit Z, # 25 Exhibit AA)(Cormolly,
                (mdb). (Entered: 12/14/2017)
12/14/2017   48 DECLARATION of Anthony A. Kossiakoff, Ph.D. re 42 MEMORANDUM in Support by
                Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C,
                # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10
                Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16
                Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22
                Exhibit V, # 23 Exhibit W, # N24 Exhibit X, # 25 Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, #
                28 Exhibit BB, # 29 Exhibit CC, # 30 Exhibit DD, # 31 Exhibit EE, # 32 Exhibit FF, # 33
                                          HH)(Connolly, Colm) Modified on 12/15/2017 (mdb). (Entered:
                Exhibit GG, # 34 Exhibit HH)(Cormolly,
                12/14/2017)


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                  Case: 22-1461         Document: 25         Page: 192       Filed: 11/04/2022

12/14/2017   49    DECLARATION of Juan Carlos Almagro, Ph.D. re 42 MEMORANDUM in Support by Baxalta
                   GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
                   Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit
                   J, # 11 Exhibit K, # 12 Exhibit L)(Connolly, Colm) Modified on 12/15/2017 (mdb). (Entered:
                   12/14/2017)
12/15/2017   50 NOTICE OF SERVICE of Genetech's Preliminary Invalidity Contentions filed by Genentech,
                Inc..(Mayo, Andrew) (Entered: 12/15/2017)
12/18/2017         ORAL ORDER re 41 Motion for Preliminary Injunction —   − A Telephone Conference is set for
                   today, December 18, 2017 at 2:00 PM (EST). The plaintiffs shall arrange the call and contact
                               302−573−4559 once all parties are on the line. Ordered by Judge Gregory M. Sleet
                   Chambers at 302-573-4559
                   on 12/18/2017. (mdb) (Entered: 12/18/2017)
12/18/2017   51 NOTICE of Appearance by Jody Barillare on behalf of All Plaintiffs (Barillare, Jody) (Entered:
                12/18/2017)
12/18/2017         Minute Entry for proceedings held before Judge Gregory M. Sleet —  − Telephone Conference held
                   on 12/18/2017, (A Status Telephone Conference regarding the Motion for Preliminary
                   Injunction ( 41 ) is set for Friday, December 22, 2017 at 3:00 PM. Counsel for plaintiffs shall
                                                             302−573−4559 once all parties are on the line. (Court
                   arrange the call and contact Chambers at 302-573-4559
                   Reporter Kevin Maurer.) (mdb) (Entered: 12/18/2017)
12/18/2017   52 NOTICE OF SERVICE of Defendant Chugai Pharmaceutical Co., Ltd.'s Preliminary Invalidity
                Contentions filed by Chugai Pharmaceutical Co., Ltd..(Fry, David) (Entered: 12/18/2017)
12/18/2017   53 NOTICE OF SERVICE of Genentech's Objections and Responses to Baxalta's First Set of
                Requests for Production filed by Genentech, Inc..(Mayo, Andrew) (Entered: 12/18/2017)
12/19/2017         ORAL ORDER CANCELLING TELECONFERENCE: The Status Telephone Conference
                   regarding 41 Motion for Preliminary Injunction previously set for Friday, December 22, 2017 at
                   3:00 PM is CANCELLED. The parties shall submit a Stipulation with a proposed schedule and
                   include a date the parties are available to attend a hearing on the Motion for Preliminary
                   Injunction. If the parties are unable to agree on a proposed schedule, the court shall set a
                   Telephone Conference on Friday, January 5, 2018 at 10:00 AM. The parties shall contact
                   chambers if a Teleconference is not necessary. Ordered by Judge Gregory M. Sleet on
                   12/19/2017. (asw) (Entered: 12/19/2017)
12/20/2017         Set/Reset Hearings: A Telephone Conference re: Motion for Preliminary Injunction is
                   TENTATIVELY set for 1/5/2018 at 10:00 AM before Judge Gregory M. Sleet. (asw) (Entered:
                   12/20/2017)
12/20/2017   54 NOTICE OF SERVICE of Defendant Chugai Pharmaceutical Co., Ltd.'s Responses to Plaintiffs'
                First Set of Requests for Production of Documents and Things (Nos. 1-107)
                                                                                   1−107) filed by Chugai
                Pharmaceutical Co., Ltd..(Fry, David) (Entered: 12/20/2017)
12/20/2017         Pro Hac Vice Attorney Michael J. Abernathy and Christopher J Betti for Baxalta Incorporated
                   added for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the
                   registered users of CM/ECF and shall be required to file all papers. (lmm) (Entered: 12/20/2017)
12/21/2017   55 REDACTED VERSION of 42 MEMORANDUM in Support of its Motion for Preliminary
                Injunction by Baxalta GmbH, Baxalta Incorporated. (Connolly, Colm) Modified on 12/21/2017
                (mdb). (Entered: 12/21/2017)
12/21/2017   56 REDACTED VERSION of [Proposed] Preliminary Injunction Order by Baxalta GmbH, Baxalta
                Incorporated. (Connolly, Colm) Modified on 12/21/2017 (mdb). (Entered: 12/21/2017)
12/21/2017   57 REDACTED VERSION of 43 Declaration of W. Christopher Bakewell Regarding Irreparable
                Harm and Balance of Hardships in Support of Plaintiffs' Memorandum in Support of Their
                Motion for Preliminary Injunction by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
                Public Versions of Exhibits M, EE, JJ, and PP)(Connolly, Colm) Modified on 12/21/2017
                (mdb). (Entered: 12/21/2017)
12/22/2017   58 Official Transcript of Telephone Conference held on 12 18 17 before Judge Sleet. Court
                Reporter/Transcriber Maurer. Transcript may be viewed at the court public terminal or
                purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                Restriction. After that date it may be obtained through PACER. Redaction Request due
                1/12/2018. Redacted Transcript Deadline set for 1/22/2018. Release of Transcript Restriction set
                for 3/22/2018. (kjm) (Entered: 12/22/2017)
                                                   Appx205
                                                   Appx205
                Case: 22-1461         Document: 25         Page: 193       Filed: 11/04/2022

01/02/2018   59 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GMBH Responses and Objections
                to Genentech, Inc.'s First Set of Requests for the Production of Documents and Things filed by
                Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 01/02/2018)
01/04/2018   60 Joint STIPULATION Regarding Scheduling for Plaintiffs' Motion for Preliminary Injunction re
                     Order,, Set/Reset Hearings by Baxalta Incorporated. (Dudash, Amy) (Entered: 01/04/2018)
                Oral Order„
01/05/2018   61 SO ORDERED —     − re 60 Stipulation and Proposed Scheduling Order re Motion for Preliminary
                Injunction ( 41 ): Answering Brief due 4/6/2018, Reply Brief due 4/24/2018, Oral Argument is
                set for 5/24/2018 at 09:00 AM in Courtroom 4A. See stipulation for more details. The January 5,
                2018 telephone conference is CANCELLED. Signed by Judge Gregory M. Sleet on 1/5/20158.
                (mdb) (Entered: 01/05/2018)
01/05/2018   62 NOTICE OF SERVICE of Plaintiffs' First Set of Expedited Requests for Production of
                Documents and Things to Defendant (Nos. 1-13)
                                                          1−13) Relating to the Motion for Preliminary
                Injunction filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 01/05/2018)
01/05/2018   63 NOTICE OF SERVICE of Genentech's Discovery Requests Related to Plaintiffs' Motion for a
             O
                Preliminary Injunction filed by Genentech, Inc..(Mayo, Andrew) (Entered: 01/05/2018)
01/09/2018   64 ORAL ORDER Setting Teleconference: Plaintiffs' counsel to initiate the call. A Telephone
                Conference is set for 6/29/2018 at 11:00 AM Eastern Time before Judge Mary Pat Thynge to
                discuss the status of the case, the parties to be involved in mediation in March 2019 and
                submissions. Ordered by Judge Mary Pat Thynge on 1/9/18. (cak) (Entered: 01/09/2018)
01/09/2018   65 MOTION for Pro Hac Vice Appearance of Attorney Caroline S. Lourgos —
             O                                                                     − filed by Baxalta
                GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 01/09/2018)
01/10/2018       SO ORDERED —    − re 65 MOTION for Pro Hac Vice Appearance of Attorney Caroline S.
                 Lourgos filed by Baxalta GmbH, Baxalta Incorporated. Ordered by Judge Gregory M. Sleet on
                 1/10/2018. (mdb) (Entered: 01/10/2018)
01/10/2018       Pro Hac Vice Attorney Caroline Lourgos for Baxalta GmbH,Baxalta Incorporated added for
                 electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                 users of CM/ECF and shall be required to file all papers. (crb) (Entered: 01/10/2018)
01/10/2018   66 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GmbH Responses and Objections
                to Genentech, Inc.'s Discovery Requests Related to Plaintiffs' Motion for a Preliminary
                Injunction filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 01/10/2018)
01/10/2018   67 NOTICE OF SERVICE of Genentech's Objections and Responses to Plaintiffs' Expedited
                Requests for Production filed by Genentech, Inc..(Balick, Steven) (Entered: 01/10/2018)
01/12/2018   68 MOTION for Pro Hac Vice Appearance of Attorney Sanjay K. Murthy −
                                                                                — filed by Baxalta
                GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 01/12/2018)
01/16/2018       SO ORDERED —    − re 68 MOTION for Pro Hac Vice Appearance of Attorney Sanjay K. Murthy
                 filed by Baxalta GmbH, Baxalta Incorporated. Ordered by Judge Gregory M. Sleet on
                 1/16/2018. (mdb) (Entered: 01/16/2018)
01/17/2018       Pro Hac Vice Attorney Sanjay K. Murthy for Baxalta GmbH added for electronic noticing.
                 Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and
                 shall be required to file all papers. (ceg) (Entered: 01/17/2018)
01/17/2018   69 NOTICE OF SERVICE of Plaintiffs' First Set of Interrogatories (1-20)
                                                                              (1−20) filed by Baxalta GmbH,
                Baxalta Incorporated.(Dudash, Amy) (Entered: 01/17/2018)
01/19/2018   70 NOTICE OF SERVICE of Plaintiffs' List of Claim Terms in Need of Construction filed by
                Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 01/19/2018)
01/19/2018   71 NOTICE to Take Deposition of Genentech, Inc. and Chugai Pharmaceutical Co., Ltd. on
                mutually agreeable date in accordance with the scheduling order filed by Baxalta GmbH,
                Baxalta Incorporated.(Dudash, Amy) (Entered: 01/19/2018)
01/19/2018   72 NOTICE OF SERVICE of Genentech's Identification of Claim Terms that Need to be Construed
                filed by Genentech, Inc..(Mayo, Andrew) (Entered: 01/19/2018)
01/22/2018   73 NOTICE OF SERVICE of (1) Chugai Pharmaceutical Co., Ltd.'s Identification of Claim Terms
                that Need to be Construed filed by Chugai Pharmaceutical Co., Ltd..(Fry, David) (Entered:
                01/22/2018)
                                                 Appx206
                                                 Appx206
             Case: 22-1461        Document: 25         Page: 194       Filed: 11/04/2022

01/31/2018   74 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GmbH's Supplemental Responses
                                                                        1−2 and Requests for Admission Nos. 3,
                and Objections to Genetech, Inc.'s Interrogatories Nos. 1-2
                4, 7 and 8 filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 01/31/2018)
02/06/2018                                                                   − filed by Baxalta GmbH,
             75 MOTION for Pro Hac Vice Appearance of Attorney Jesse T. Dyer —
                Baxalta Incorporated. (Dudash, Amy) (Entered: 02/06/2018)
02/06/2018   76 NOTICE OF SERVICE of Genentech, Inc.'s Notice of Subpoenas to Kilpatrick Townsend &
                Stockton LLP filed by Genentech, Inc..(Mayo, Andrew) (Entered: 02/06/2018)
02/06/2018       ORAL ORDER —    − A Discovery Dispute Telephone Conference (#1) is set for Monday, February
                 12, 2018 at 10:00 AM (EST). Counsel for the plaintiffs shall arrange the call and contact
                              302−573−4559 once all parties are on the line. A non—argumentative
                 Chambers at 302-573-4559                                       non−argumentative Joint Agenda
                 Letter (see www.ded.uscourts.gov for an example) is due by noon on Thursday, February 8,
                 2018. Ordered by Judge Gregory M. Sleet on 2/6/2018. (mdb) (Entered: 02/06/2018)
02/07/2018   77 NOTICE OF SERVICE of Genentech, Inc.'s Second Set of Requests for the Production of
                Documents and Things to Baxalta Incorporated and Baxalta GmbH (Nos. 99-101)99−101) and
                Genentech, Inc.'s First Set of Interrogatories (Nos. 3-11)
                                                                     3−11) filed by Genentech, Inc..(Mayo,
                Andrew) (Entered: 02/07/2018)
02/07/2018       SO ORDERED —   − re 75 MOTION for Pro Hac Vice Appearance of Attorney Jesse T. Dyer filed
                 by Baxalta GmbH, Baxalta Incorporated. Ordered by Judge Gregory M. Sleet on 2/7/2018.
                 (mdb) (Entered: 02/07/2018)
02/08/2018       Pro Hac Vice Attorney Jesse T. Dyer for Baxalta GmbH,Baxalta Incorporated added for
                 electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                 users of CM/ECF and shall be required to file all papers. (crb) (Entered: 02/08/2018)
02/08/2018   78 NOTICE OF SERVICE of Genentech, Inc.'s Notice of Subpoena to Haematologic Technologies,
                Inc. filed by Genentech, Inc..(Mayo, Andrew) (Entered: 02/08/2018)
02/08/2018   79 Letter to The Honorable Gregory M. Sleet from Steven J. Balick regarding the Parties' Joint
                Agenda for the Teleconference on February 12, 2018 at 10:00 a.m.. (Balick, Steven) (Entered:
                02/08/2018)
02/08/2018   80 NOTICE OF SERVICE of Notice of Subpoenas to Thomas A. Larmondra filed by Genentech,
                Inc..(Mayo, Andrew) (Entered: 02/08/2018)
02/08/2018                                                                      − filed by Chugai
             81 MOTION for Pro Hac Vice Appearance of Attorney Stephen D. Keane —
                Pharmaceutical Co., Ltd.. (Keller, Karen) (Entered: 02/08/2018)
02/09/2018       SO ORDERED —    − re 81 MOTION for Pro Hac Vice Appearance of Attorney Stephen D. Keane
                 filed by Chugai Pharmaceutical Co., Ltd. Ordered by Judge Gregory M. Sleet on 2/9/2018.
                 (mdb) (Entered: 02/09/2018)
02/09/2018   82 NOTICE OF SERVICE of Genentech, Inc.'s Notice of Subpoenas to Shire LLC filed by
                Genentech, Inc..(Balick, Steven) (Entered: 02/09/2018)
02/09/2018   83 NOTICE OF SERVICE of Genentech, Inc.'s Notice of Subpoenas to Shire US Inc. filed by
                Genentech, Inc..(Balick, Steven) (Entered: 02/09/2018)
02/12/2018       Minute Entry for proceedings held before Judge Gregory M. Sleet —  − Telephone Conference held
                 on 2/12/2018. Discussion on the disputed item listed in the Joint Agenda submission; extending
                 the briefing schedule regarding the preliminary injunction and amending the schedule. The court
                            2−day Hearing Re: Preliminary Injunction on 6/13/2018 at 9:30 AM through
                 will set a 2—day
                 6/14/2018. The court ordered the parties to file an Amended Scheduling Order as discussed
                 during the Teleconference. (Court Reporter: Kevin Maurer.) (asw) (Entered: 02/12/2018)
02/12/2018       Set/Reset Hearings: An Oral Argument (2 days) re 41 Motion for Preliminary Injunction is set
                 for 6/13/2018 at 9:30 AM in Courtroom 4A before Judge Gregory M. Sleet. (mdb) (Entered:
                 02/12/2018)
02/12/2018       Pro Hac Vice Attorney Stephen D. Keane for Chugai Pharmaceutical Co., Ltd. added for
                 electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                 users of CM/ECF and shall be required to file all papers. (ceg) (Entered: 02/12/2018)
02/16/2018   84
             M NOTICE OF SERVICE of Genentech, Inc.'s Objections and Responses to Baxalta's First Set of
                                      1−20) filed by Genentech, Inc..(Mayo, Andrew) (Entered: 02/16/2018)
                Interrogatories (Nos. 1-20)

                                             Appx207
                                             Appx207
             Case: 22-1461        Document: 25        Page: 195        Filed: 11/04/2022

02/19/2018   85 NOTICE OF SERVICE of (1) Defendant Chugai Pharmaceutical Co., Ltd.'s Responses to
                                                               1−20) filed by Chugai Pharmaceutical Co.,
                Plaintiffs' First Set of Interrogatories (Nos. 1-20)
                Ltd..(Keller, Karen) (Entered: 02/19/2018)
02/23/2018   86 Official Transcript of Teleconference held on 2/12/18 before Judge Sleet. Court
                Reporter/Transcriber Maurer. Transcript may be viewed at the court public terminal or
                purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
                Restriction. After that date it may be obtained through PACER. Redaction Request due
                3/16/2018. Redacted Transcript Deadline set for 3/26/2018. Release of Transcript Restriction set
                for 5/24/2018. (kjm) (Entered: 02/23/2018)
02/23/2018   87 NOTICE OF SERVICE of Defendant Genentech, Inc.'s Preliminary Identification of Claim
                Terms and Proposed Constructions filed by Genentech, Inc..(Mayo, Andrew) (Entered:
                02/23/2018)
02/23/2018   88 NOTICE OF SERVICE of Plaintiffs' Proposed Claim Constructions filed by Baxalta GmbH,
                Baxalta Incorporated.(Dudash, Amy) (Entered: 02/23/2018)
02/26/2018   89 NOTICE OF SERVICE of (1) Defendant Chugai Pharmaceutical Co., Ltd.'s Preliminary
                Identification of Claim Terms and Proposed Constructions filed by Chugai Pharmaceutical Co.,
                Ltd..(Keller, Karen) (Entered: 02/26/2018)
02/28/2018       Case Reassigned to Judge Leonard P. Stark. Please include the initials of the Judge (LPS) after
                 the case number on all documents filed. (rjb) (Entered: 02/28/2018)
02/28/2018   90 NOTICE OF SERVICE of Defendant Genentech's Notice of Deposition of Plaintiffs Baxalta
                Incorporated and Baxalta GmbH Related to Plaintiffs' Motion for Preliminary Injunction filed by
                Genentech, Inc..(Mayo, Andrew) (Entered: 02/28/2018)
03/01/2018   91 NOTICE OF SERVICE of Non—Parties
                                           Non−Parties Shire LLC, Shire US, Inc., and Thomas A. Larmondra's
                Objections and Responses to Genentech, Inc.'s Subpoenas re 83 Notice of Service, 80 Notice of
                Service, 82 Notice of Service filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy)
                (Entered: 03/01/2018)
03/02/2018                                                                     − filed by Genentech, Inc..
             92 MOTION for Pro Hac Vice Appearance of Attorney James V. Razick —
                (Mayo, Andrew) (Entered: 03/02/2018)
03/02/2018   93 Joint STIPULATION Regarding Revised Schedule for Plaintiffs' Motion for Preliminary
                Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/02/2018)
03/05/2018       SO ORDERED, re 92 MOTION for Pro Hac Vice Appearance of Attorney James V. Razick
                 filed by Genentech, Inc. Signed by Judge Leonard P. Stark on 3/5/18. (ntl) (Entered:
                 03/05/2018)
03/05/2018   94 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GmbH's Responses and Objections
                to Genentech's Notice of Deposition re 90 Notice of Service filed by Baxalta GmbH, Baxalta
                Incorporated.(Dudash, Amy) (Entered: 03/05/2018)
03/09/2018   95 SO ORDERED, re 93 Amended Stipulation and Scheduling Order --  −− the Markman Hearing is
                rescheduled for 8/2/2018 at 10:00 AM in Courtroom 6B. Signed by Judge Leonard P. Stark on
                3/9/18. (ntl) (Entered: 03/09/2018)
03/09/2018   96 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GmbH Responses and Objections
                to Genentech, Inc.'s Second Set of Interrogatories and Baxalta Incorporated and Baxalta GmbH's
                Responses and Objections to Genentech, Inc.'s Second Set of Requests for the Production of
                Documents and Things filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
                03/09/2018)
03/23/2018   97 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GmbH's First Set of Requests for
                                                                   1−6) and Baxalta Incorporated and Baxalta
                Admission to Chugai Pharmaceutical Co., Ltd. (Nos. 1-6)
                GmbH's First Set of Requests for Admission to Genentech, Inc. (Nos. 1-3)
                                                                                    1−3) filed by Baxalta
                GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 03/23/2018)
03/23/2018   98 DECLARATION of   of Gallia Levy, M.D., Ph.D. in Opposition to Plaintiffs' Motion for
                                                                                                  for a
                Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
03/23/2018   99 DECLARATION of   of Harvey Liverman in Opposition to Plaintiffs' Motion for
                                                                                         for a Preliminary
                Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)

                                             Appx208
                                             Appx208
             Case: 22-1461         Document: 25        Page: 196       Filed: 11/04/2022

03/23/2018 100 [SEALED] DECLARATION of      of Gina Chapman in Opposition to Plaintiffs' Motion for
                                                                                                 for a
               Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
03/23/2018 101    REDACTED VERSION of 100 Declaration of      of Gina Chapman in Opposition to Plaintiffs'
                          for a Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
                  Motion for
03/23/2018 102 [SEALED] DECLARATION of      of Greg Hogan in Opposition to Plaintiffs' Motion for
                                                                                               for a
               Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
03/23/2018 103    REDACTED VERSION of 102 Declaration of       of Greg Hogan in Opposition to Plaintiffs' Motion
                   for a Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
                  for
03/23/2018 104 [SEALED] DECLARATION of      of Chelsey Serrano in Opposition to Plaintiffs' Motion for
                                                                                                    for a
               Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
03/23/2018 105    REDACTED VERSION of 104 Declaration of      of Chelsey Serrano in Opposition to Plaintiffs'
                  Motion for
                          for a Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/23/2018)
03/29/2018 106 NOTICE of Asserted Claim In Baxalta's Opening Memorandum In Support of Its Motion for a
               Preliminary Injunction by Baxalta GmbH, Baxalta Incorporated re 42 MEMORANDUM in
               Support, (Dudash, Amy) (Entered: 03/29/2018)
                                                                                    of Dr. Aledort
03/29/2018 107 Amended EXHIBIT re 46 Declaration, Amended Exhibit B to Declaration of      Aledort by
               Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 03/29/2018)
03/30/2018 108 [SEALED] DECLARATION of      of Jerry A.
                                                     A. Hausman, Ph.D. in Opposition to Plaintiffs' Motion for
                                                                                                            for
               a Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/30/2018)
03/30/2018 109 [SEALED] DECLARATION of        of Michael U. Callaghan, M.D. In Support ofof Genentech, Inc.'s
               Opposition to Plaintiffs' Motion for
                                                 for a Preliminary Injunction by Genentech, Inc.. (Mayo,
               Andrew) (Entered: 03/30/2018)
03/30/2018 110 [SEALED] DECLARATION of      of Guy A. Young, M.D. in Opposition to Plaintiffs' Motionfor
                                                                                                      for a
               Preliminary Injunction by Genentech, Inc.. (Mayo, Andrew) (Entered: 03/30/2018)
03/30/2018 111 [SEALED] DECLARATION of        of John P. Sheehan, M.D. in Support ofof Genentech's Opposition to
                                 for a Preliminary Injunction by Genentech, Inc.. (Attachments: # 1 Exhibit A,
               Baxalta's Motion for
               # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8
               Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                                                                                           B Exhibit M, # 14
               Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, # 20
               Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25 Exhibit Y, # 26
               Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB, # 29 Exhibit CC, # 30 Exhibit DD, # 31 Exhibit
               EE, # 32 Exhibit FF, # 33 Exhibit GG, # 34 Exhibit HH, # 35 Exhibit II, # 36 Exhibit JJ, # 37
               Exhibit KK)(Mayo, Andrew) (Entered: 03/30/2018)
03/30/2018 112 [SEALED] DECLARATION of        of William R. Strohl, Ph.D. in Support of
                                                                                      of Genentech, Inc.'s
               Opposition to Baxalta's Motion for
                                                for a Preliminary Injunction by Genentech, Inc.. (Attachments:
               # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
               Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13
                                                                                                          B
               Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19
               Exhibit S, # 20 Exhibit T, # 21 Exhibit U, # 22 Exhibit V, # 23 Exhibit W, # 24 Exhibit X, # 25
               Exhibit Y, # 26 Exhibit Z, # 27 Exhibit AA, # 28 Exhibit BB, # 29 Exhibit CC, # 30 Exhibit DD,
               # 31 Exhibit EE, # 32 Exhibit FF, # 33 Exhibit GG, # 34 Exhibit HH, # 35 Exhibit II, # 36
               Exhibit JJ, # 37 Exhibit KK, # 38 Exhibit LL, # 39 Exhibit MM, # 40 Exhibit NN, # 41 Exhibit
               OO, # 42 Exhibit PP, # 43 Exhibit QQ, # 44 Exhibit RR, # 45 Exhibit SS, # 46 Exhibit TT, # 47
               Exhibit UU, # 48 Exhibit VV, # 49 Exhibit WW, # 50 Exhibit XX, # 51 Exhibit YY, # 52
               Exhibit ZZ, # 53 Exhibit AAA, # 54 Exhibit BBB, # 55 Exhibit CCC, # 56 Exhibit DDD, # 57
               Exhibit EEE, # 58 Exhibit FFF, # 59 Exhibit GGG, # 60 Exhibit HHH, # 61 Exhibit III, # 62
                              63 Exhibit KKK, # 64 Exhibit LLL, # 65 Exhibit MMM, # 66 Exhibit NNN, # 67
               Exhibit JJJ, # O
               Exhibit OOO, # 68 Exhibit PPP, # 69 Exhibit QQQ, # 70 Exhibit RRR, # 71 Exhibit SSS, # 72
               Exhibit TTT, # 73 Exhibit UUU, # 74 Exhibit VVV, # 75 Exhibit WWW, # 76 Exhibit XXX, #
               77 Exhibit YYY, # 78 Exhibit ZZZ, # 79 Exhibit AAAA, # 80 Exhibit BBBB)(Mayo, Andrew)
               (Entered: 03/30/2018)
04/03/2018 113 NOTICE OF SERVICE of Chugai Pharmaceutical Co., Ltd.'s First Amended Preliminary
               Identification of Claim Terms that Need to be Construed filed by Chugai Pharmaceutical Co.,
               Ltd..(Keller, Karen) (Entered: 04/03/2018)

                                              Appx209
                                              Appx209
             Case: 22-1461          Document: 25         Page: 197       Filed: 11/04/2022

04/04/2018 114 NOTICE to Take Deposition of Gallia Levy on April 5, 2018 filed by Baxalta GmbH, Baxalta
               Incorporated.(Dudash, Amy) (Entered: 04/04/2018)
04/04/2018 115 NOTICE to Take Deposition of Gina Chapman on April 6, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 04/04/2018)
                                                    (of Jerry A. Hausman, Ph.D.) by Genentech, Inc..
04/06/2018 116 REDACTED VERSION of 108 Declaration (of
               (Mayo, Andrew) (Entered: 04/06/2018)
04/06/2018 117     REDACTED VERSION of 109 Declaration (of    (of Michael U. Callaghan, M.D.) by Genentech,
                   Inc.. (Mayo, Andrew) (Entered: 04/06/2018)
                                                    (of Guy A.
04/06/2018 118 REDACTED VERSION of 110 Declaration (of      A. Young, M.D.) by Genentech, Inc..
               (Mayo, Andrew) (Entered: 04/06/2018)
04/06/2018 119     REDACTED VERSION of 111 Declaration,,, (of  (of John P. Sheehan, M.D.) by Genentech, Inc..
                   (Attachments: # 1 Exhibit A—Z,
                                             A−Z, # 2 Exhibit AA—KK)(Mayo,
                                                              AA−KK)(Mayo, Andrew) (Entered: 04/06/2018)
04/06/2018 120     REDACTED VERSION of 112 Declaration,,,,,, (of  (of William R. Strohl, Ph.D.) by Genentech,
                   Inc.. (Attachments: # 1 Exhibit A—K,
                                                   A−K, # 2 Exhibit L—Z,
                                                                    L−Z, # 3 Exhibit AA—LL,
                                                                                     AA−LL, # 4 Exhibit
                   MM−GGG, # 5 Exhibit HHH—SSS,
                   MM—GGG,                 HHH−SSS, # 6 Exhibit TTT−BBBB)(Mayo,
                                                                  TTT—BBBB)(Mayo, Andrew) (Entered:
                   04/06/2018)
04/06/2018 121 NOTICE to Take Deposition of Gallia Levy (REVISED) on April 5, 2018 filed by Baxalta
               GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 04/06/2018)
04/06/2018 122 NOTICE to Take Deposition of Gina Chapman (REVISED) on April 6, 2018 filed by Baxalta
               GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 04/06/2018)
04/06/2018 123     CLAIM Construction Chart by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered:
                   04/06/2018)
04/11/2018 124 DECLARATION —      − Rebuttal of
                                              of Juan Carlos Almagro, Ph.D., in Support of  of Plaintiffs' Reply
               Brief for Preliminary Injunction by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
               Brieffor
               Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 8, # 6 Exhibit 9, # 7 Exhibit 10,
               # 8 Exhibit 11, # 9 Exhibit 12, # 10 Exhibit 13, # 11 Exhibit 14, # 12 Exhibit 15, # 13 Exhibit
               16, # 14 Exhibit 17, # 15 Exhibit 18, # 16 Exhibit 19, # 17 Exhibit 20, # 18 Exhibit 21, # 19
               Exhibit 22, # 20 Exhibit 23, # 21 Exhibit 24, # 22 Exhibit 25)(Dudash, Amy) (Entered:
               04/11/2018)
04/11/2018 125 [SEALED] EXHIBIT re 124 Declaration„
                                          Declaration,, Exhibits 5, 6, and 7 to Rebuttal Declaration of
                                                                                                      of Juan
               Carlos Almagro, PhD., in Support of
                                                of Plaintiffs' Reply Brieffor
                                                                     Brief for Preliminary Injunction by
               Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 04/11/2018)
04/11/2018 126 [SEALED] DECLARATION by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
               Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7,
               # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, # 12 Exhibit 12, # 13 Exhibit 13, #
               14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit 17, # 18 Exhibit 18, # 19 Exhibit
               19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23 Exhibit 23, # 24 Exhibit 24, # 25
               Exhibit 27, # 26 Exhibit 28, # 27 Exhibit 29, # 28 Exhibit 30, # 29 Exhibit 31, # 30 Exhibit 32, #
               31 Exhibit 33, # 32 Exhibit 34, # 33 Exhibit 35, # 34 Exhibit 36, # 35 Exhibit 37, # 36 Exhibit
               38, # 37 Exhibit 39, # 38 Exhibit 40)(Dudash, Amy) Modified on 4/12/2018 (etg). (Entered:
               04/11/2018)
04/11/2018 127 [SEALED] EXHIBIT re 126 Declaration„,
                                           Declaration,,, Exhibits 25 and 26 to Rebuttal Declaration of  of
                          Kossiakoff, Ph.D., in Support of
               Anthony A. Kossiakoff                    of Plaintiffs' Reply Brief
                                                                             Brief for
                                                                                    for Preliminary Injunction by
               Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 04/11/2018)
04/11/2018 128 [SEALED] DECLARATION of      of Sriram Krishnaswamy in Support of
                                                                               of Plaintiffs
                                                                                  Plaintiff's Reply Brieffor
                                                                                                    Brief for
               Preliminary Injunction by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 5, #
               2 Exhibit 7)(Dudash, Amy) (Entered: 04/11/2018)
04/11/2018 129     EXHIBIT re 128 Declaration Exhibit 1   1 by Baxalta GmbH, Baxalta Incorporated. (Attachments:
                   # 1 Exhibit 2, # 2 Exhibit 3, # 3 Exhibit 4, # 4 Exhibit 6, # 5 Exhibit 8)(Dudash, Amy) (Entered:
                   04/11/2018)
04/12/2018         CORRECTING ENTRY: As per the request of counsel, D.I. 126 has been placed under seal.
                   (etg) (Entered: 04/12/2018)

                                               Appx210
                                               Appx2 10
                Case: 22-1461          Document: 25         Page: 198        Filed: 11/04/2022

04/12/2018 130 [SEALED] Amended EXHIBIT re 126 Declaration,,, 127 Exhibit to a Document, Exhibit 26 to
                                    of Anthony A. Kossiakoff, PhD, in Support of
               Rebuttal Declaration of                                        of Plaintiffs'
                                                                                 Plaintiffs' Reply Brieffor
                                                                                                   Brief for
               Preliminary Injunction by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered:
               04/12/2018)
04/16/2018 131 AMENDED DOCUMENT by Baxalta GmbH, Baxalta Incorporated. Amendment to 123 Claim
               Construction Chart . (Dudash, Amy) (Entered: 04/16/2018)
04/16/2018 132 NOTICE to Take Deposition of Guy Young on April 25, 2018 filed by Baxalta GmbH, Baxalta
               Incorporated.(Dudash, Amy) (Entered: 04/16/2018)
04/16/2018 133 NOTICE to Take Deposition of Jerry Hausman on April 18, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 04/16/2018)
04/16/2018 134 NOTICE to Take Deposition of Michael Callaghan on April 20, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 04/16/2018)
04/16/2018 135 NOTICE to Take Deposition of William Strohl on April 18, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 04/16/2018)
04/16/2018 136 NOTICE to Take Deposition of John Sheehan on April 23, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 04/16/2018)
04/17/2018 137 MOTION for Pro Hac Vice Appearance of Attorney Jason C. White —
                                                                             − filed by Baxalta GmbH,
               Baxalta Incorporated. (Dudash, Amy) (Entered: 04/17/2018)
04/18/2018 138 SEALED DECLARATION re 126 Declaration,,, of      of Anthony Kossiakoffby
                                                                           Kossiakoff by Baxalta GmbH,
               Baxalta Incorporated. (Attachments: # 1 Exhibit 25 —− REDACTED, # 2 Exhibit 26 — −
               REDACTED)(Dudash, Amy) (Entered: 04/18/2018)
04/18/2018 139 DECLARATION re 128 Declaration of  of Sriram Krishnaswamy − — REDACTED by Baxalta
               GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 5 —
                                                                       − REDACTED, # 2 Exhibit 7 —
                                                                                                 −
               REDACTED)(Dudash, Amy) (Entered: 04/18/2018)
04/19/2018        SO ORDERED, re 137  13'7 MOTION for Pro Hac Vice Appearance of Attorney Jason C. White
                  filed by Baxalta GmbH, Baxalta Incorporated. Signed by Judge Leonard P. Stark on 4/19/18.
                  (ntl) (Entered: 04/19/2018)
04/23/2018 140 NOTICE OF SERVICE of (1) Defendant Chugai Pharmaceutical Co., Ltd.'s Responses and
               Objections to Plaintiffs First Set of Requests for Admission (Nos. 1-3)
                                                                                  1−3) filed by Chugai
               Pharmaceutical Co., Ltd..(Keller, Karen) (Entered: 04/23/2018)
04/23/2018 141 NOTICE OF SERVICE of Genentech's Objections and Responses to Baxalta's First Set of
               Requests for Admission filed by Genentech, Inc..(Mayo, Andrew) (Entered: 04/23/2018)
04/24/2018 142 NOTICE to Take Deposition of Juan Carlos Almagro, Ph.D. on April 26, 2018 filed by
               Genentech, Inc..(Mayo, Andrew) (Entered: 04/24/2018)
04/26/2018        Pro Hac Vice Attorney Jason C. White for Baxalta GmbH, Baxalta Incorporated added for
                  electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                  users of CM/ECF and shall be required to file all papers. (crb) (Entered: 04/26/2018)
04/26/2018 143 NOTICE OF SERVICE of Defendant Genentech, Inc.'s Amended Initial Disclosures Pursuant to
               Section 3 of the Default Standard for Discovery filed by Genentech, Inc..(Balick, Steven)
               (Entered: 04/26/2018)
04/30/2018 144 NOTICE to Take Deposition of W. Christopher Bakewell on May 2, 2018 filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 04/30/2018)
04/30/2018 145 NOTICE to Take Deposition of Sriram Krishnaswamy, Ph.D. on May 3, 2018 filed by
               Genentech, Inc..(Mayo, Andrew) (Entered: 04/30/2018)
04/30/2018 146 NOTICE to Take Deposition of Louis M. Aledort, M.D. on May 4, 2018 filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 04/30/2018)
                                                         Briefing Schedule, by Genentech, Inc.. (Balick,
05/02/2018 147 STIPULATION Seeking to Revise the Markman Briefmg
               Steven) (Entered: 05/02/2018)
05/04/2018        Case Reassigned to Judge Timothy Belcher Dyk of the U.S. Court of Appeals for Federal
                  Circuit. Please include the initials of the Judge (TBD) after the case number on all documents

                                                  Appx211
                                                  Appx2 11
             Case: 22-1461         Document: 25         Page: 199        Filed: 11/04/2022

                  filed. (rjb) (Entered: 05/04/2018)
05/08/2018 148 NOTICE to Take Deposition of Anthony A. Kossiakoff, Ph.D. on May 10, 2018 filed by
               Genentech, Inc..(Mayo, Andrew) (Entered: 05/08/2018)
05/09/2018        ORAL ORDER: Status conference to be held at 2:00 p.m., Monday, May 14, 2018, in
                  Courtroom 203 of the U.S. Court of Appeals for the Federal Circuit, Washington, DC. The
                  parties should be prepared to discuss the following at the status conference: resetting the date for
                                                                      claim−construction issues will need to be
                  the Markman hearing and for trial and what if any claim—construction
                                            preliminary−injunction proceedings. The deadlines for Markman
                  addressed as part of the preliminary—injunction
                  briefing are extended as stipulated at ECF No. 147 to May 18, 2018, for the opening briefs and
                  to July 2, 2018, for the responsive briefs. Ordered by Judge Timothy B. Dyk on 5/9/2018. (nmg)
                  (Entered: 05/09/2018)
05/09/2018 149 STIPULATION Requesting Additional Pages for Preliminary Injunction Answering and Reply
               Briefs, by Genentech, Inc.. (Balick, Steven) (Entered: 05/09/2018)
05/11/2018 150 ORDER: Going forward, the parties shall provide two copies of all filings made on the docket in
               this action to the following address:Chambers of Hon. Timothy B. Dyk, United States Court of
               Appeals for the Federal Circuit, 717 Madison Place N.W., Washington, DC 20439. Signed by
               Judge Timothy Belcher Dyk on 5/11/2018. (fms) (Entered: 05/11/2018)
05/11/2018 151 ORDER approving 149 Stipulation Requesting Additional Pages for Preliminary Injunction
               Answering and Reply Briefs. Signed by Judge Timothy Belcher Dyk on 5/11/2018. (fms)
               (Entered: 05/11/2018)
05/14/2018        Minute Entry for proceedings held before Judge Timothy Belcher Dyk —  − Status Conference held
                  on 5/14/2018. The Markman Hearing set for 8/2/2018 is rescheduled for 9/13/2018 at 10:00 AM
                  at the U.S. Court of Appeals for the Federal Circuit, Washington, DC. The parties will submit
                  additional proposed revisions to the schedule by Friday, May 18, 2018. (Court Reporter present.)
                  (crb) (Entered: 05/14/2018)
                                                                                  − filed by Baxalta
05/15/2018 152 MOTION for Pro Hac Vice Appearance of Attorney Julie S. Goldemberg —
               GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 05/15/2018)
05/15/2018 153 [SEALED] DECLARATION of        of David E. Cole in Support of
                                                                           of Genentech's Memorandum of
                                                                                                      of Law
               in Opposition to Plaintiffs
                                Plaintiff's Motion for
                                                    for a Preliminary Injunction, by Genentech, Inc..
                                           1−25)(Balick, Steven) (Entered: 05/15/2018)
               (Attachments: # 1 Exhibit 1-25)(Balick,
05/15/2018 154 [SEALED] ANSWERING BRIEF in Opposition re 41 MOTION for Preliminary Injunction ,,
               filed by Genentech, Inc..Reply Brief due date per Local Rules is 5/22/2018. (Balick, Steven)
               (Entered: 05/15/2018)
05/16/2018 155 Official Transcript of Status Conference held on 5/14/2018 before Judge Dyk. Court
                                                           1−800−211−3376. Transcript may be viewed at the
               Reporter/Transcriber Keith A. Wilkerson, 1—800-211-3376.
               court public terminal or purchased through the Court Reporter/Transcriber before the deadline
               for Release of Transcript Restriction. After that date it may be obtained through PACER
               Redaction Request due 6/6/2018. Redacted Transcript Deadline set for 6/18/2018. Release of
               Transcript Restriction set for 8/14/2018. (nmf) (Entered: 05/17/2018)
05/18/2018 156 ORDER granting 152 MOTION for Pro Hac Vice Appearance of Attorney Julie S. Goldemberg
               filed by Baxalta GmbH, Baxalta Incorporated. Signed by Judge Timothy Belcher Dyk on
               5/18/2018. (fms) (Entered: 05/18/2018)
           157 STIPULATION Seeking to Modify Scheduling Order, by Genentech, Inc.. (Balick, Steven)
05/18/2018 15'7
                (Entered: 05/18/2018)
05/18/2018 158 CLAIM CONSTRUCTION OPENING BRIEF filed by Baxalta GmbH, Baxalta Incorporated.
               (Dudash, Amy) (Entered: 05/18/2018)
05/18/2018 159 DECLARATION re 158 Claim Construction Opening Brief of        of Amy Dudash by Baxalta GmbH,
               Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D,
               # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Exhibit I)(Dudash, Amy)
               (Entered: 05/18/2018)
05/18/2018 160 [SEALED] CLAIM CONSTRUCTION OPENING BRIEF filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 05/18/2018)


                                               Appx212
                                               Appx2 12
             Case: 22-1461          Document: 25          Page: 200        Filed: 11/04/2022

05/18/2018 161 [SEALED] DECLARATION re 160 Claim Construction Opening Brief (Declaration of         of William
                                                                               A−J)(Balick, Steven) (Entered:
               R. Strohl, Ph.D.) by Genentech, Inc.. (Attachments: # 1 Exhibit A—J)(Balick,
               05/18/2018)
05/18/2018 162 [SEALED] DECLARATION re 160 Claim Construction Opening Brief (Declaration of        of David
               E. Cole) by Genentech, Inc.. (Attachments: # 1 Exhibit 1-3)(Balick,
                                                                      1−3)(Balick, Steven) (Entered:
               05/18/2018)
05/18/2018 163 [SEALED] DECLARATION re 160 Claim Construction Opening Brief (Declaration of       of John P.
                                                                            A−H)(Balick, Steven) (Entered:
               Sheehan, M.D.) by Genentech, Inc.. (Attachments: # 1 Exhibit A—H)(Balick,
               05/18/2018)
05/18/2018 164 JOINDER by Chugai Pharmaceutical Co., Ltd., joining in 160 Claim Construction Opening
               Brief . (Keller, Karen) (Entered: 05/18/2018)
05/21/2018 165 SCHEDULING ORDER: The parties shall file any comments by joint letter, not to exceed five
               double−spaced pages, by May 21, 2018, by 6:00 p.m. ( Joinder of Parties due by 6/7/2018.,
               double—spaced
               Amended Pleadings due by 6/7/2018., Fact Discovery completed by 10/5/2018., Opening Expert
               Reports due by 11/9/2018., Rebuttal Expert Reports due by 12/14/2018., Expert Discovery due
               by 2/15/2019., Reply expert reports shall be served on or before January 11, 2019. A two—day
                                                                                                        two−day
               Motion Hearing on the motion for a preliminary injunction is set for 6/13/2018 at 09:30 AM in
               Courtroom 4A before Judge Timothy Belcher Dyk of the U.S. District Court for the District of
               Delaware, Wilmington, DE., AN Oral Argument on the motion to dismiss is set for 6/12/2018 at
               03:30 PM before Judge Timothy Belcher Dyk at the U.S. District Court for the District of
               Delaware, Wilmington, DE., Claim Construction Answering Brief due by 7/2/2018., A half—day  half−day
               Markman Hearing is set for 9/13/2018 at 10:00 AM before Judge Timothy Belcher Dyk at the
               U.S. Court of Appeals for the Federal Circuit, Washington, DC.), Set Briefing Schedule: re 41
               MOTION for Preliminary Injunction (Reply Brief due 5/25/2018.). Any party seeking leave to
                                                                                       double−spaced pages, by
               file a dispositive motion shall file a letter brief, not to exceed five double—spaced
               March 1, 2019. Date for trial to be scheduled at a later date. (See order for further details and
               deadlines). Signed by Judge Timothy Belcher Dyk on 5/18/2018. (fms) (Entered: 05/21/2018)
05/21/2018 166 AMENDED DOCUMENT by Baxalta GmbH, Baxalta Incorporated. —          − Second Amended Joint
               Claim Construction Chart for
                                         for '590 Patent. (Dudash, Amy) (Entered: 05/21/2018)
05/21/2018 167 Letter to Honorable Timothy B. Dyk from Baxalta Incorporated, Baxalta GmbH and Chugai
               Pharmaceutical Co., Ltd. regarding May 18, 2018 Proposed Order Modifying Schedule —    − re 165
               Scheduling Order,,,,,, Set Briefing Schedule,,,,,. (Dudash, Amy) (Entered: 05/21/2018)
05/22/2018 168 REDACTED VERSION of 153 Declaration of    of David E. Cole by Genentech, Inc.. (Attachments:
               # 1 Exhibit 1-25)(Mayo,
                           1−25)(Mayo, Andrew) (Entered: 05/22/2018)
05/22/2018 169 REDACTED VERSION of 154 Answering Brief in Opposition by Genentech, Inc.. (Mayo,
               Andrew) (Entered: 05/22/2018)
                                                                              − filed by Baxalta GmbH,
05/22/2018 170 MOTION for Pro Hac Vice Appearance of Attorney Karon N. Fowler —
               Baxalta Incorporated. (Dudash, Amy) (Entered: 05/22/2018)
05/22/2018         ORAL ORDER: A teleconference has been set in this matter for Wednesday, May 23, 2018, at
                   4:00 PM. Counsel for plaintiffs shall initiate the call to chambers once all participants are on the
                   line. Ordered by Judge Timothy B. Dyk on 5/22/2018. (Entered: 05/22/2018)
05/22/2018 171 ORDER granting 170 MOTION for Pro Hac Vice Appearance of Attorney Karon N. Fowler
               filed by Baxalta GmbH, Baxalta Incorporated. Signed by Judge Timothy Belcher Dyk on
               5/22/2018. (fins)
                          (fms) (Entered: 05/22/2018)
05/22/2018 172 NOTICE of Supplemental Developments Regarding Baxalta's Motion for a Preliminary
               Injunction, by Genentech, Inc. re 154 Answering Brief in Opposition (Balick, Steven) (Entered:
               05/22/2018)
05/22/2018 173 DECLARATION re 154 Answering Brief in Opposition (Supplemental Declaration of         of David E.
               Cole in Support of
                               of Genentech's Opposition to Plaintiffs' Motion for
                                                                                for a Preliminary Injunction),
                                                             26−28)(Balick, Steven) (Entered: 05/22/2018)
               by Genentech, Inc.. (Attachments: # 1 Exhibit 26-28)(Balick,
05/23/2018         Pro Hac Vice Attorney Karon N. Fowler for Baxalta GmbH, Baxalta Incorporated added for
                   electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                   users of CM/ECF and shall be required to file all papers. (crb) (Entered: 05/23/2018)


                                                Appx213
                                                Appx2 13
                 Case: 22-1461          Document: 25         Page: 201       Filed: 11/04/2022

05/23/2018         Minute Entry for proceedings held before Judge Timothy Belcher Dyk —   − Telephone Conference
                   held on 5/23/2018. (Court Reporter present.) (sar) (Entered: 05/24/2018)
05/23/2018 174 ORDER MODIFYING SCHEDULE : All jurisdictional discovery for purposes of Defendant
               Chugai's pending motion to dismiss shall be completed by May 23, 2018. Set Briefmg Briefing Schedule:
               re 41 MOTION for Preliminary Injunction (Reply Brief due 5/25/2018.) Joinder of Parties due
               by 6/7/2018. Amended Pleadings due by 6/7/2018. Fact Discovery completed by 10/5/2018.
               Expert Discovery due by 2/15/2019. A Motion Hearing is set for 6/13/2018 at 09:30 AM in
               Courtroom 4A at the U.S. District Court for the District of Delaware, Wilmington, DE before
               Judge Timothy Belcher Dyk An Oral Argument is set for 6/12/2018 at 03:30 PM in Courtroom
               4A at the U.S. District Court for the District of Delaware, Wilmington, DE before Judge
               Timothy Belcher Dyk. Claim Construction Answering Brief due by 7/2/2018. A Markman
               Hearing is set for 9/13/2018 at 10:00 AM before Judge Timothy Belcher Dyk at the U.S. Court
               of Appeals for the Federal Circuit, Washington DC. Any party seeking leave to file a dispositive
               motion shall file a letter brief, not to exceed five double—spaced
                                                                    double−spaced pages, by March 1, 2019. Date
               for trial to be scheduled at a later date. (See order for further details and deadlines). Signed by
               Judge Timothy Belcher Dyk on 5/23/18. (sar) (Entered: 05/24/2018)
05/24/2018 175 NOTICE OF SERVICE of Defendant Chugai Pharmaceutical Co., Ltd.'s Supplemental
                                                                           6−7) filed by Chugai Pharmaceutical
               Responses to Plaintiffs' First Set of Interrogatories (Nos. 6-7)
               Co., Ltd..(Keller, Karen) (Entered: 05/24/2018)
05/25/2018 176 REDACTED VERSION of 160 Claim Construction Opening Brief by Genentech, Inc.. (Mayo,
               Andrew) (Entered: 05/25/2018)
05/25/2018 177 REDACTED VERSION of 161 Declaration of   of William R. Strohl, Ph.D. by Genentech, Inc..
               (Attachments: # 1 Exhibit A—J)(Mayo,
                                         A−J)(Mayo, Andrew) (Entered: 05/25/2018)
05/25/2018 178 REDACTED VERSION of 162 Declaration of    of David E. Cole by Genentech, Inc.. (Attachments:
                           1−3)(Mayo, Andrew) (Entered: 05/25/2018)
               # 1 Exhibit 1-3)(Mayo,
05/25/2018 179 REDACTED VERSION of 163 Declaration of  of John P. Sheehan, M.D. by Genentech, Inc..
               (Attachments: # 1 Exhibit A—H)(Mayo,
                                         A−H)(Mayo, Andrew) (Entered: 05/25/2018)
05/25/2018 180 [SEALED] REPLY to Response to Motion re 41 MOTION for Preliminary Injunction filed by
               Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Affidavit Amy Dudash, # 2 Exhibit A,
               # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9
               Exhibit H, # 10 Exhibit I, # 11 Exhibit J, # 12 Exhibit K, # 13
                                                                            B Exhibit L, # 14 Exhibit M, # 15
               Exhibit N, # 16 Exhibit O, # 17 Exhibit P, # 18 Exhibit Q, # 19 Exhibit R, # 20 Exhibit S, # 21
               Exhibit T, # 22 Exhibit U, # 23 Exhibit V, # 24 Exhibit W, # 25 Exhibit X, # 26 Exhibit Y, # 27
               Exhibit Z, # 28 Exhibit AA, # 29 Exhibit BB, # 30 Exhibit CC, # 31 Exhibit DD, # 32 Exhibit
               EE, # 33 Exhibit FF, # 34 Exhibit GG, # 35 Exhibit HH, # 36 Exhibit II, # 37 Exhibit
               JJ)(Dudash, Amy) (Entered: 05/25/2018)
05/25/2018 181 CERTIFICATE OF SERVICE of Baxalta's Sealed Reply in Support of Motion for Preliminary
               Injunction by Baxalta GmbH, Baxalta Incorporated re 180 Reply to Response to Motion,,,
               (Dudash, Amy) (Entered: 05/25/2018)
05/29/2018 182 MOTION for Leave to permit Patients for Access to Advanced Hemophilia Therapy to File an
                            − filed by Patients for Access to Advanced Hemophilia Therapy. (Attachments: #
               Amicus Brief —
                                                                Plaintiff's Motion for a Preliminary
               1 Proposed Amicus Curiae Brief in Opposition to Plaintiffs
               Injunction)(nmf) (Entered: 05/30/2018)
05/30/2018 183 ORDER re 182 MOTION for Leave to permit to File an Amicus Brief filed by Patients for
               Access to Advanced Hemophilia Therapy. No later than June 6, 2018, Plaintiffs shall file a
               letter, not to exceed one page, containing any objections to the filing of the proposed amicus
               brief. Signed by Judge Timothy Belcher Dyk on 5/30/2018. (fins)
                                                                             (fms) (Entered: 05/30/2018)
05/30/2018 184 Official Transcript of Telephone Conference held on 5/23/2018 before Judge Timothy Belcher
               Dyk. Court Reporter/Transcriber Cynthia J. Conforti, CSR, CRR, Telephone number
               800.211.3376. Transcript may be viewed at the court public terminal or purchased through the
               Court Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that
               date it may be obtained through PACER. Redaction Request due 6/20/2018. Redacted Transcript
               Deadline set for 7/2/2018. Release of Transcript Restriction set for 8/28/2018. (fms) (Entered:
               05/30/2018)
05/30/2018 185 ORDER denying the request to conduct a Rule 30(b)(6) deposition of Chugai on jurisdictional
               matters. See order for further details. Signed by Judge Timothy Belcher Dyk on 5/30/2018.

                                                   Appx214
                                                   Appx2 14
             Case: 22-1461          Document: 25         Page: 202        Filed: 11/04/2022

                   (nmf) (Entered: 05/31/2018)
06/01/2018 186 REDACTED VERSION of 180 Reply to Response to Motion,,, by Baxalta GmbH, Baxalta
                                                                                 A−JJ)(Dudash, Amy)
               Incorporated. (Attachments: # 1 Affidavit Amy Dudash, # 2 Exhibit A—JJ)(Dudash,
               (Entered: 06/01/2018)
06/05/2018 187 [SEALED] Letter to Honorable Timothy B. Dyk from Amy Dudash regarding Motion to
                       − re 18 MOTION to Dismiss for Lack of Jurisdiction Over the Person . (Attachments: #
               Dismiss —
               1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
               G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12 Exhibit L, # 13 Exhibit M, #
               14 Exhibit N, # 15 Exhibit O, # 16 Exhibit P, # 17 Exhibit Q, # 18 Exhibit R, # 19 Exhibit S, #
               20 Exhibit T)(Dudash, Amy) (Entered: 06/05/2018)
06/05/2018 188 CERTIFICATE OF SERVICE of Letter to The Honorable Timothy B. Dyk by Baxalta GmbH,
               Baxalta Incorporated re 187 Letter„
                                           Letter,, (Dudash, Amy) (Entered: 06/05/2018)
06/06/2018 189 Letter to The Honorable Timothy B. Dyk from Amy M. Dudash regarding plaintiffs
                                                                                       plaintiff's submission
               of objections to Patents for Access to Advanced Hemophilia Therapy's ("PAAHT") Motion (D.I.
               182) −
                    — re 183 Order, 182 MOTION for Leave to permit to File an Amicus Brief. (Dudash, Amy)
               (Entered: 06/06/2018)
06/06/2018         ORAL ORDER: The parties have raised a dispute concerning a privilege issue. No later than
                   5:00 PM on June 8, 2018, the parties shall file simultaneous letter briefs on this issue no longer
                   than five double—spaced
                             double−spaced pages each. Ordered by Judge Timothy B. Dyk on 6/6/2018. (nmg)
                   (Entered: 06/07/2018)
06/07/2018         ORAL ORDER: On May 29, 2018, Patients for Access to Advanced Hemophilia Therapy
                   (PAAHT) moved for leave to file an amicus brief in opposition to plaintiffs motion for a
                   preliminary injunction. ECF No. 182 . Plaintiffs responded with their objections to the filing of
                   the amicus brief. ECF No. 189 . Having considered plaintiffs objections, PAAHTs motion is
                   GRANTED. Ordered by Judge Timothy B. Dyk on 6/7/2018. (nmg) (Entered: 06/07/2018)
06/07/2018 190 Amicus Curiae Answering Brief in Opposition to D.I. 41 MOTION for Preliminary Injunction
               filed by Patients for Access to Advanced Hemophilia Therapy. Modified on 6/7/2018 (nmg).
               (Entered: 06/07/2018)
06/07/2018         NOTE: We have removed the deadline for a reply brief that was automatically generated by the
                   system at ECF No. 190 . (nmg) (Entered: 06/07/2018)
                                                                        Motion,,, Exhibit B by Baxalta
06/07/2018 191 [SEALED] Amended EXHIBIT re 180 Reply to Response to Motion„,
               GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 06/07/2018)
06/07/2018 192 REDACTED VERSION of 191 Exhibit to a Document by Baxalta GmbH, Baxalta Incorporated.
               (Dudash, Amy) (Entered: 06/07/2018)
                                                          Complaint,, —
06/07/2018 193 [SEALED] MOTION to Amend/Correct 1 Complaint„          − filed by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Affidavit of Amy Dudash, # 2 Amended Complaint, # 3 Exhibit
               B, # 4 Exhibit C, # 5 Exhibit D)(Dudash, Amy) (Entered: 06/07/2018)
06/07/2018 194 CERTIFICATE OF SERVICE of Motion to Amend by Baxalta GmbH, Baxalta Incorporated re
                                             Complaint,, (Dudash, Amy) (Entered: 06/07/2018)
               193 MOTION to Amend/Correct 1 Complaint„
06/07/2018 195 [SEALED] MEMORANDUM in Support re 193 MOTION to Amend/Correct 1 Complaint„ Complaint,,
               filed by Baxalta GmbH, Baxalta Incorporated.Answering Brief/Response due date per Local
               Rules is 6/21/2018. (Dudash, Amy) (Entered: 06/07/2018)
06/08/2018 196 [SEALED] Letter to Honorable Timothy B. Dyk from Amy Dudash regarding Privilege Claim.
               (Attachments: # 1 Exhibit A)(Dudash, Amy) (Entered: 06/08/2018)
06/08/2018 197 CERTIFICATE OF SERVICE of Letter to The Honorable Timothy B. Dyk by Baxalta GmbH,
               Baxalta Incorporated re 196 Letter (Dudash, Amy) (Entered: 06/08/2018)
06/08/2018 198 [SEALED] Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding the
               Disputed Privilege Claim. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Balick, Steven) (Entered:
               06/08/2018)
06/08/2018 199 NOTICE OF SERVICE of Plaintiffs' Supplemental Disclosure of Infringement Contentions filed
               by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 06/08/2018)


                                                Appx215
                                                Appx2 15
             Case: 22-1461         Document: 25         Page: 203       Filed: 11/04/2022

                                                                                 − re 187 Letter,,. (Keller,
06/08/2018 200 Letter to The Honorable Judge Timothy B. Dyk from Karen E. Keller —
               Karen) (Entered: 06/08/2018)
06/09/2018 201 [SEALED] Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding Claim
               Construction for Purposes of Baxalta's Motion for a Preliminary Injunction. (Balick, Steven)
               (Entered: 06/09/2018)
06/09/2018 202 Letter to Honorable Timothy B. Dyk from Amy M. Dudash regarding Supplemental Claim
               Construction Brief for Purposes of Preliminary Injunction. (Attachments: # 1 Exhibit 1 to
               Supplemental Claim Construction Letter Brief, # 2 Exhibit 2 to Supplemental Claim
               Construction Letter Brief)(Dudash, Amy) (Entered: 06/09/2018)
06/11/2018 203 REDACTED VERSION of 201 Letter by Genentech, Inc.. (Mayo, Andrew) (Entered:
               06/11/2018)
06/12/2018 204 REDACTED VERSION of 187 Letter„ Letter,, to The Honorable Timothy B. Dykfrom
                                                                                        from Amy M M. Dudash
               by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Redacted Exhibit A, # 2 Redacted
               Exhibit B, # 3 Redacted Exhibit C, # 4 Redacted Exhibit D, # 5 Redacted Exhibit E, # 6
               Redacted Exhibit F, # 7 Redacted Exhibit G, # 8 Redacted Exhibit H, # 9 Redacted Exhibit I, #
               10 Redacted Exhibit J, # 11 Redacted Exhibit K, # 12 Redacted Exhibit L, # 13
                                                                                          B Redacted
               Exhibit M, # 14 Redacted Exhibit N, # 15 Redacted Exhibit O, # 16 Redacted Exhibit P, # 17
               Redacted Exhibit Q, # 18 Redacted Exhibit R, # 19 Redacted Exhibit S, # 20 Redacted Exhibit
               T)(Dudash, Amy) (Entered: 06/12/2018)
06/12/2018        Minute Entry for proceedings held before Judge Timothy B. Dyk −   — Oral Argument held on
                  6/12/2018. Parties to provide additional supplemental briefing with respect to Exhibit JJ by close
                  of business on 6/13/2018. (Court Reporter Susan Marie Migatz.)(fms) (Entered: 06/13/2018)
06/13/2018 205 [SEALED] Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding the
               Disputed Privilege Claim. (Balick, Steven) (Entered: 06/13/2018)
06/13/2018 206 [SEALED] Letter to Honorable Timothy B. Dyk from Amy Dudash regarding the Disputed
               Privilege Claim. (Attachments: # 1 Exhibit A)(Dudash, Amy) (Entered: 06/13/2018)
06/13/2018        Minute Entry for proceedings held before Judge Timothy Belcher Dyk — − Motion Hearing held
                  on 6/13/2018 re 41 Motion for Preliminary Injunction. (Court Reporter Susan Marie Migatz.)
                  (ceg) (Entered: 06/14/2018)
06/14/2018 207 REDACTED VERSION of 193 MOTION to Amend/Correct 1 Complaint„ Complaint,, by Baxalta GmbH,
               Baxalta Incorporated. (Attachments: # 1 Affidavit of Amy Dudash, # 2 Amended Complaint, # 3
               Exhibit B, # 4 Exhibit C, # 5 Exhibit D)(Dudash, Amy) (Entered: 06/14/2018)
06/14/2018 208 REDACTED VERSION of 195 MEMORANDUM in Support of          of Motion to Amend/Correct
                                                                                      Amend/Correct
               Complaint by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 06/14/2018)
06/14/2018 209 REDACTED VERSION of 196 Letter to Honorable Timothy B. Dyk from   from Amy Dudash
               regarding Privilege Claim by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit
               A)(Dudash, Amy) (Entered: 06/14/2018)
06/14/2018        Minute Entry for proceedings held before Judge Timothy Belcher Dyk — − Motion Hearing held
                  on 6/14/2018 re 41 Motion for Preliminary Injunction. (Court Reporter Susan Marie Migatz.)
                  (ceg) (Entered: 06/15/2018)
06/15/2018 210 REDACTED VERSION of 198 Letter by Genentech, Inc.. (Attachments: # 1 Exhibit
               1−2)(Mayo, Andrew) (Entered: 06/15/2018)
               1-2)(Mayo,
06/19/2018        ORAL ORDER: Oral argument regarding the motion for a preliminary injunction has been set in
                  this matter for Monday, July 2, 2018, at 1:30 PM at the U.S. Court of Appeals for the Federal
                  Circuit, Washington, DC. The parties shall file proposed findings of fact and conclusions of law
                                                                          double−spaced pages, by the close of
                  concerning the preliminary injunction, not to exceed 25 double—spaced
                  business on July 9, 2018. The parties shall simultaneously file reply proposed findings of fact
                                                            double−spaced pages, by the close of business on July
                  and conclusions of law, not to exceed 10 double—spaced
                  16, 2018. Ordered by Judge Timothy B. Dyk on 6/19/2018. (nmf) (Entered: 06/19/2018)
06/19/2018 211 REDACTED VERSION of 205 Letter by Genentech, Inc.. (Balick, Steven) (Entered:
               06/19/2018)
06/19/2018 212 REDACTED VERSION of 206 Letter by Baxalta GmbH, Baxalta Incorporated. (Attachments: #
                           − REDACTED)(Dudash, Amy) (Entered: 06/19/2018)
               1 Exhibit A —
                                              Appx216
                                              Appx2 16
             Case: 22-1461         Document: 25        Page: 204       Filed: 11/04/2022

                                                                  06−12−18 before Judge Timothy B. Dyk. Court
06/20/2018 213 Official Transcript of Motion to Dismiss held on 06-12-18
               Reporter/Transcriber Susan Migatz. Transcript may be viewed at the court public terminal or
               purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
               Restriction. After that date it may be obtained through PACER. Redaction Request due
               7/11/2018. Redacted Transcript Deadline set for 7/23/2018. Release of Transcript Restriction set
               for 9/18/2018. (lad) (Entered: 06/20/2018)
                                                                                       06−13−18 before Judge
06/20/2018 214 Official Transcript of Preliminary Injunction Hearing (Day 1) held on 06-13-18
               Timothy B. Dyk. Court Reporter/Transcriber Susan Migatz. Transcript may be viewed at the
               court public terminal or purchased through the Court Reporter/Transcriber before the deadline
               for Release of Transcript Restriction. After that date it may be obtained through PACER.
               Redaction Request due 7/11/2018. Redacted Transcript Deadline set for 7/23/2018. Release of
               Transcript Restriction set for 9/18/2018. (lad) (Entered: 06/20/2018)
                                                                                       06−14−18 before Judge
06/20/2018 215 Official Transcript of Preliminary Injunction Hearing (Day 2) held on 06-14-18
               Timothy B. Dyk. Court Reporter/Transcriber Susan Migatz. Transcript may be viewed at the
               court public terminal or purchased through the Court Reporter/Transcriber before the deadline
               for Release of Transcript Restriction. After that date it may be obtained through PACER.
               Redaction Request due 7/11/2018. Redacted Transcript Deadline set for 7/23/2018. Release of
               Transcript Restriction set for 9/18/2018. (lad) (Entered: 06/20/2018)
06/21/2018 216 [SEALED] ANSWERING BRIEF in Opposition re 193 MOTION to Amend/Correct 1
               Complaint,, filed by Genentech, Inc..Reply Brief due date per Local Rules is 6/28/2018. (Balick,
               Complaint„
               Steven) (Entered: 06/21/2018)
06/21/2018 217 [SEALED] DECLARATION re 216 Answering Brief in Opposition (Declaration of        of Eric Alan
               Stone), by Genentech, Inc.. (Attachments: # 1 Exhibit A)(Balick, Steven) (Entered: 06/21/2018)
06/25/2018 218 AMENDED DOCUMENT by Baxalta GmbH, Baxalta Incorporated. Amendment to 42
                                                − Proposed Order. (Dudash, Amy) (Entered:
               MEMORANDUM in Support, Exhibit A —
               06/25/2018)
06/26/2018 219 STIPULATION Regarding Extension of Deadlines for Submission of Opening and Responsive
               Proposed Findings of Fact and Conclusions of Law with Respect to the Pending Motion for
               Preliminary Injunction, and Regarding Deadline for Submission of Responsive Markman Briefs,
               by Genentech, Inc.. (Balick, Steven) (Entered: 06/26/2018)
06/26/2018 220 Joint STIPULATION re Chugai Pharmaceutical Co. Ltd. by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Dudash,
               Amy) (Entered: 06/26/2018)
06/27/2018 221 AMENDED DOCUMENT by Baxalta GmbH, Baxalta Incorporated. Amendment to 220
               Stipulation −
                           — Corrected Exhibit B. (Dudash, Amy) (Entered: 06/27/2018)
06/27/2018 222 ORDER approving 219 STIPULATION Regarding Extension of Deadlines for Submission of
               Opening and Responsive Proposed Findings of Fact and Conclusions of Law with Respect to the
               Pending Motion for Preliminary Injunction, and Regarding Deadline for Submission of
               Responsive Markman Briefs. The deadlines by which plaintiffs and defendant Genentech, Inc.
               shall file proposed findings of fact and conclusions of law with respect to the pending motion for
                                                                                     19, 2018 oral order, are
               preliminary injunction, as originally established in the Court's June 19,2018
                                                                               double−spaced pages due by 6:00
               extended, with simultaneous opening papers not to exceed 25 double—spaced
                                  11, 2018, and simultaneous responsive papers not to exceed 10 double—spaced
               p.m. EDT on July 11,2018,                                                           double−spaced
               pages due by 6:00 p.m. EDT on July 18,2018.
                                                      18, 2018. ORDER Re—setting
                                                                         Re−setting Scheduling Order deadlines:
               ( Claim Construction Answering Briefs due by 7/16/2018.) Signed by Judge Timothy Belcher
               Dyk on 6/26/2018. (nmf) (Entered: 06/27/2018)
06/28/2018 223 REDACTED VERSION of 216 Answering Brief in Opposition by Genentech, Inc.. (Mayo,
               Andrew) (Entered: 06/28/2018)
                                                   of Eric Alan Stone by Genentech, Inc.. (Mayo,
06/28/2018 224 REDACTED VERSION of 217 Declaration of
               Andrew) (Entered: 06/28/2018)
                                                                                            Complaint,,
06/28/2018 225 [SEALED] REPLY to Response to Motion re 193 MOTION to Amend/Correct 1 Complaint„
               filed by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 06/28/2018)
06/28/2018 226 CERTIFICATE OF SERVICE of Baxalta's Sealed Reply Brief in Support of Motion to Amend
               the Complaint by Baxalta GmbH, Baxalta Incorporated re 225 Reply to Response to Motion
               (Dudash, Amy) (Entered: 06/28/2018)
                                              Appx217
                                              Appx2 17
                 Case: 22-1461         Document: 25         Page: 205       Filed: 11/04/2022

07/02/2018        Minute Entry for proceedings held before Judge Timothy B. Dyk Oral argument held on
                  7/2/2018. Pursuant to the parties stipulation, Chugai shall make available a witness or witnesses
                  for a Rule 30(b)(6) deposition. If the deposition is taken outside the United States, it shall be
                  taken in accordance with the appropriate foreign law. Within five days of completion of the
                  deposition, Baxalta shall file a proposed order dismissing Chugai in accordance with the
                  stipulation. As stated on the record, Baxaltas motion for leave to amend its complaint is
                  GRANTED. (Court Reporter Kenneth Norris present.) (nmg) (Entered: 07/02/2018)
07/05/2018 227 REDACTED VERSION of 225 Reply to Response to Motion by Baxalta GmbH, Baxalta
               Incorporated. (Dudash, Amy) (Entered: 07/05/2018)
07/09/2018 228 NOTICE of Withdrawal of Appearance of Jessica A. Stow as counsel for Plaintiffs by Baxalta
               GmbH, Baxalta Incorporated (Dudash, Amy) (Entered: 07/09/2018)
07/10/2018 229 Official Transcript of Oral Argument held on 7/2/2018 before Judge Timothy B. Dyk. Court
                                                                          1−800−211−3376. Transcript may be
               Reporter/Transcriber Kenneth Norris,Telephone number 1—800-211-3376.
               viewed at the court public terminal or purchased through the Court Reporter/Transcriber before
               the deadline for Release of Transcript Restriction. After that date it may be obtained through
               PACER Redaction Request due 7/31/2018. Redacted Transcript Deadline set for 8/10/2018.
               Release of Transcript Restriction set for 10/9/2018. (crb) (Entered: 07/10/2018)
07/11/2018 230 [SEALED] Proposed Findings of Fact by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy)
               (Entered: 07/11/2018)
07/11/2018 231 CERTIFICATE OF SERVICE of Sealed Findings of Fact and Conclusions of Law by Baxalta
               GmbH, Baxalta Incorporated re 230 Proposed Findings of Fact (Dudash, Amy) (Entered:
               07/11/2018)
07/11/2018 232 Proposed Findings of Fact by Genentech, Inc.. (Balick, Steven) (Entered: 07/11/2018)
07/16/2018 233 DECLARATION of     of David E. Cole in Support of
                                                              of Genentech's Responsive Claim Construction
               Brief Regarding Remaining Claim Terms, by Genentech, Inc.. (Attachments: # 1 Exhibit 1, # 2
               Brief
               Exhibit 2)(Balick, Steven) (Entered: 07/16/2018)
07/16/2018 234 CLAIM CONSTRUCTION ANSWERING BRIEF re 160 Claim Construction Opening Brief
               filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Affidavit of Amy Dudash, # 2
               Exhibit 1)(Dudash, Amy) (Entered: 07/16/2018)
07/16/2018 235 [SEALED] CLAIM CONSTRUCTION ANSWERING BRIEF filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 07/16/2018)
07/17/2018 237 JOINDER by Chugai Pharmaceutical Co., Ltd., joining in 235 Claim Construction Answering
               Brief . (Keller, Karen) (Entered: 07/17/2018)
07/17/2018 238 NOTICE OF SERVICE of Genentech, Inc.'s Third Set of Requests for the Production of
               Documents and Things to Baxalta Incorporated and Baxalta GmbH filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 07/17/2018)
07/18/2018 239 First AMENDED COMPLAINT for     for Patent Infringement and Declaratory Judgment ofof Patent
                                                                                Inc.− filed by Baxalta GmbH,
               Infringement against Chugai Pharmaceutical Co., Ltd., Genentech, Inc.—
               Baxalta Incorporated.(Dudash, Amy) (Entered: 07/18/2018)
07/18/2018 240 ANSWER to Amended Complaint, re: 239 Amended Complaint with Jury Demand,
               COUNTERCLAIM against Baxalta GmbH, Baxalta Incorporated by Genentech, Inc.(nmf)
               (Entered: 07/18/2018)
07/18/2018        CORRECTING ENTRY: The answer which was previously docketed as a statement has been
                              re−docketed as an answer to the amended complaint with counterclaim and jury
                  deleted and re—docketed
                  demand now that the amended complaint has been filed. (SEE D.I. 240 ) (nmf) (Entered:
                  07/18/2018)
07/18/2018 241 REDACTED VERSION of 230 Proposed Findings of Fact by Baxalta GmbH, Baxalta
               Incorporated. (Dudash, Amy) (Entered: 07/18/2018)
07/18/2018 242 [SEALED] STATEMENT re 232 Proposed Findings of Fact by Baxalta GmbH, Baxalta
               Incorporated. (Dudash, Amy) (Entered: 07/18/2018)
07/18/2018 243 CERTIFICATE OF SERVICE of Baxalta's Sealed Response to Genentech's Findings of Fact
               and Conclusions of Law by Baxalta GmbH, Baxalta Incorporated re 242 Statement (Dudash,
               Amy) (Entered: 07/18/2018)
                                                  Appx218
                                                  Appx2 18
             Case: 22-1461        Document: 25        Page: 206       Filed: 11/04/2022

                              [Defendant Genentech's Reply to Baxalta's Proposed Findings of
07/18/2018 244 STATEMENT [Defendant                                                       of Fact and
               Conclusions of
                           of Law (D.I.
                                  (D.I 230)] by Genentech, Inc.. (Mayo, Andrew) (Entered: 07/18/2018)
07/18/2018 245 [SEALED] Letter to The Honorable Timothy B. Dyk from Amy Dudash regarding Preliminary
               Injunction Exhibits. (Attachments: # 1 Exhibit A −— Joint Exhibit List, # 2 Exhibit Vol. 1, # 3
               Exhibit Vol. 2, # 4 Exhibit Vol. 3, # 5 Exhibit Vol. 4, # 6 Exhibit Vol. 5)(Dudash, Amy)
               (Entered: 07/18/2018)
07/18/2018 246 CERTIFICATE OF SERVICE of Letter to The Honorable Timothy B. Dyk by Baxalta GmbH,
               Baxalta Incorporated re 245 Letter, (Dudash, Amy) (Entered: 07/18/2018)
07/23/2018 247 Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding Genentech's Response
                                                                          − re 245 Letter,. (Attachments: # 1
               to Baxalta's Objections to Preliminary Injunction Exhibits —
                        A−D)(Balick, Steven) (Entered: 07/23/2018)
               Exhibit A—D)(Balick,
                               Follow−up Teleconference: Plaintiffs' Counsel to initiate the call. A Telephone
07/23/2018 248 ORDER Setting Follow—up
               Conference is set for 10/9/2018 at 10:30 AM Eastern Time before Judge Mary Pat Thynge to
               discuss ADR.Signed by Judge Mary Pat Thynge on 7/23/2018. (fms) (Entered: 07/23/2018)
07/23/2018 249 REDACTED VERSION of 235 Claim Construction Answering Brief by Genentech, Inc..
               (Mayo, Andrew) (Entered: 07/23/2018)
07/23/2018 250 PROPOSED ORDER and Commission for Depositions to be Taken in Japan by Baxalta GmbH,
               Baxalta Incorporated. (Dudash, Amy) (Entered: 07/23/2018)
07/23/2018 251 Letter to The Honorable Timothy B. Dyk from Amy Dudash regarding the Confidential
               Preliminary Injunction Hearing Exhibits. (Attachments: # 1 Exhibit B)(Dudash, Amy) (Entered:
               07/23/2018)
07/25/2018 252 REDACTED VERSION of 245 Letter, regarding Preliminary Injunction Exhibits by Baxalta
                                                                       − Joint Exhibit List, # 2 Exhibit Vol.
               GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A —
               1 REDACTED, # 3 Exhibit Vol. 2 REDACTED, # 4 Exhibit Vol. 3 REDACTED, # 5 Exhibit
               Vol. 4 REDACTED, # 6 Exhibit Vol. 5 REDACTED)(Dudash, Amy) (Entered: 07/25/2018)
07/25/2018 253 REDACTED VERSION of 242 Statement [Response to Genentech's Post—Hearing
                                                                               Post−Hearing Proposed
                        of Fact and Conclusions of
               Findings of                      of Law] by Baxalta GmbH, Baxalta Incorporated. (Dudash,
               Amy) (Entered: 07/25/2018)
                                                                    co−counsel.. (Balick, Steven)
07/27/2018 254 NOTICE requesting Clerk to remove James V. Razick as co—counsel..
               (Entered: 07/27/2018)
07/30/2018 255 ORDER re 251 Letter to The Honorable Timothy B. Dyk from Amy Dudash regarding the
               Confidential Preliminary Injunction Hearing Exhibits. (SEE ORDER FOR FURTHER
               DETAILS). Signed by Judge Timothy Belcher Dyk on 7/26/2018. (crb) (Entered: 07/30/2018)
07/30/2018 256 ORDER and Commission for Depositions to be Taken in Japan. Signed by Judge Timothy
               Belcher Dyk on 7/25/2018. (crb) (Entered: 07/30/2018)
08/01/2018 257 Amended PROPOSED ORDER and Commission for Depositions to be Taken in Japan by
               Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 08/01/2018)
08/01/2018 258 [SEALED] Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding Response
               to the Court's July 30, 2018 Order −
                                                  — re 255 Order. (Balick, Steven) (Entered: 08/01/2018)
08/01/2018 259 [SEALED] DECLARATION re 258 Letter (Declaration of       of Gina Chapman in Support of
                                                                                                    of
               Genentech's Request to Maintain Confidentiality of
                                                                of Certain Materials Containing Competitively
               Sensitive Information) by Genentech, Inc.. (Attachments: # 1 Exhibit A—B)(Balick,
                                                                                    A−B)(Balick, Steven)
               (Entered: 08/01/2018)
08/03/2018 261 Corrected ORDER and Commission for Depositions to be Taken in Japan. Signed by Judge
               Timothy Belcher Dyk on 8/3/2018. (nmg) (Entered: 08/06/2018)
                                                                            [Plaintiffs' Answer to the
08/06/2018 260 ANSWER to 240 Answer to Amended Complaint, Counterclaim [Plaintiffs'
               Counterclaims of
                             of Defendant Genentech, Inc]
                                                     Inc.] by Baxalta GmbH, Baxalta Incorporated.(Dudash,
               Amy) (Entered: 08/06/2018)
08/07/2018 262 OPINION & ORDER denying 41 MOTION for Preliminary Injunction Signed by Judge
               Timothy Belcher Dyk on 8/7/2018. (nmf) (Entered: 08/07/2018)


                                             Appx219
                                             Appx2 19
             Case: 22-1461        Document: 25        Page: 207       Filed: 11/04/2022

08/07/2018 263 NOTICE of Withdrawal of Appearance of Colm F. Connolly by Baxalta GmbH, Baxalta
               Incorporated (Barillare, Jody) (Entered: 08/07/2018)
08/08/2018 264 REDACTED VERSION of 258 Letter by Genentech, Inc.. (Balick, Steven) (Entered:
               08/08/2018)
08/08/2018 265 REDACTED VERSION of 259 Declaration, (Declaration of     of Gina Chapman) by Genentech,
               Inc.. (Attachments: # 1 Exhibit A—B)(Balick,
                                               A−B)(Balick, Steven) (Entered: 08/08/2018)
08/08/2018 266 NOTICE to Take Deposition of Friedrich Scheiflinger filed by Genentech, Inc..(Balick, Steven)
               (Entered: 08/08/2018)
           267 NOTICE to Take Deposition of Randolf Kerschbaumer filed by Genentech, Inc..(Balick, Steven)
08/08/2018 2O
               (Entered: 08/08/2018)
08/08/2018 268 NOTICE to Take Deposition of Thomas Larmondra filed by Genentech, Inc..(Balick, Steven)
               (Entered: 08/08/2018)
08/08/2018 269 NOTICE to Take Deposition of Noah Brown filed by Genentech, Inc..(Balick, Steven) (Entered:
               08/08/2018)
08/08/2018 270 NOTICE to Take Deposition of Michael Moye filed by Genentech, Inc..(Balick, Steven)
               (Entered: 08/08/2018)
08/08/2018 271 NOTICE to Take Deposition of Gabi Gerstenbauer filed by Genentech, Inc..(Balick, Steven)
               (Entered: 08/08/2018)
08/08/2018 272 NOTICE to Take Deposition of Michael Dockal filed by Genentech, Inc..(Balick, Steven)
               (Entered: 08/08/2018)
08/08/2018 273 NOTICE OF SERVICE of (1) Defendant Genentech's Notice of Deposition of Baxalta Pursuant
               to Fed. R. Civ. P. 30(b)(6); (2) Genentech's Responses and Objections to Baxalta's 30(b)(6)
               Notice; and (3) Genentech, Inc.'s Fourth Set of Requests for the Production of Documents and
               Things to Baxalta Incorporated and Baxalta GmbH filed by Genentech, Inc..(Balick, Steven)
               (Entered: 08/08/2018)
08/09/2018 274 MOTION for Pro Hac Vice Appearance of Attorney Josephine Young, Naz Wehrli, Marissa
                                                   − filed by Genentech, Inc.. (Balick, Steven) (Entered:
               C.M. Doran, and Alexander F. Atkins —
               08/09/2018)
                                                                                              254−1, are
08/10/2018 275 ORDER, The documents listed in Exhibit A to the parties' joint letter, ECF No. 254-1,
               ADMITTED and are part of the preliminary injunction record. The parties' objections to
               inclusion of these documents are OVERRULED. Signed by Judge Timothy Belcher Dyk on
               8/10/2018. (crb) (Entered: 08/10/2018)
08/15/2018 276 [SEALED] Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding
               Genentech's Request for an Order Compelling Baxalta to Respond to Discovery. (Attachments:
               # 1 Exhibit 1-10)(Balick,
                           1−10)(Balick, Steven) (Entered: 08/15/2018)
08/17/2018 277 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Genentech's Third Requests
               for Production of Documents and Things re 238 Notice of Service filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 08/17/2018)
08/20/2018 278 ORDER granting 274 MOTION for Pro Hac Vice Appearance of Attorney Josephine Young,
               Naz Wehrli, Marissa C.M. Doran, and Alexander F. Atkins. Signed by Judge Timothy Belcher
               Dyk on 8/17/2018. (crb) (Entered: 08/20/2018)
08/21/2018        Pro Hac Vice Attorney Marissa C.M. Doran for Genentech, Inc. added for electronic noticing.
                  Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and
                  shall be required to file all papers. (crb) (Entered: 08/21/2018)
08/21/2018        Pro Hac Vice Attorney Alexander F. Atkins for Genentech, Inc. added for electronic noticing.
                  Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and
                  shall be required to file all papers. (crb) (Entered: 08/21/2018)
08/21/2018        Pro Hac Vice Attorney Josephine Young for Genentech, Inc. added for electronic noticing.
                  Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and
                  shall be required to file all papers. (crb) (Entered: 08/21/2018)


                                             Appx220
                                             Appx220
             Case: 22-1461         Document: 25        Page: 208        Filed: 11/04/2022

08/21/2018        Pro Hac Vice Attorney Naz Wehrli for Genentech, Inc. added for electronic noticing. Pursuant to
                  Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and shall be
                  required to file all papers. (crb) (Entered: 08/21/2018)
08/21/2018 279 NOTICE OF SERVICE of Genentech, Inc.'s Second Set of Interrogatories (Nos. 12-24)
                                                                                              12−24) and
               Genentech, Inc.'s Second Set of Requests for Admission to Baxalta Incorporated and Baxalta
               GmbH filed by Genentech, Inc..(Mayo, Andrew) (Entered: 08/21/2018)
08/22/2018 280 [SEALED] Letter to Honorable Timothy B. Dyk from Amy Dudash regarding Opposition to
                                                                                           − re 276 Letter.
               Genentech's Request for an Order Compelling Baxalta to Respond to Discovery —
               (Attachments: # 1 Exhibit A)(Dudash, Amy) (Entered: 08/22/2018)
08/23/2018 281 NOTICE OF SERVICE of Notice of Deposition of Qasim Rizvi and Notice of Deposition of
               Cristin Hubbard filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
               08/23/2018)
08/23/2018 282 NOTICE OF SERVICE of Genentech, Inc.'s Fifth Set of Requests for the Production of
               Documents and Things to Baxalta Incorporated and Baxalta GmbH filed by Genentech,
               Inc.(Mayo, Andrew) Modified on 9/7/2018 (nmf). (Main Document 282 replaced on 9/7/2018)
               (nmf, ). (Entered: 08/23/2018)
08/23/2018 283 REDACTED VERSION of 276 Letter by Genentech, Inc.. (Attachments: # 1 Exhibit
               1−10)(Mayo, Andrew) (Entered: 08/23/2018)
               1-10)(Mayo,
08/24/2018 284 NOTICE OF SERVICE of Plaintiffs' Second Set of Requests for Production of Documents and
                            108−117) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
               Things (Nos. 108-117)
               08/24/2018)
08/27/2018 285 NOTICE OF SERVICE of Defendant Genentech, Inc.'s First Amended Initial Disclosures
               Pursuant to Fed. R. Civ. P. 26(a)(1) filed by Genentech, Inc..(Mayo, Andrew) (Entered:
               08/27/2018)
08/29/2018        ORAL ORDER: The parties should be prepared to argue the discovery dispute raised in parties
                  letters dated August 15, 2018, ECF No. 276 , and August 22, 2018, ECF No. 280 , at the
                  Markman hearing scheduled for Thursday, September 13, 2018, at 10:00AM in Courtroom 203
                  of the U.S. Court of Appeals for the Federal Circuit, Washington, DC. Ordered by Judge
                  Timothy B. Dyk on 8/19/18. (crb) (Entered: 08/29/2018)
08/29/2018 286 REDACTED VERSION of 280 Letter by Baxalta GmbH, Baxalta Incorporated. (Attachments: #
               1 Exhibit A)(Dudash, Amy) (Entered: 08/29/2018)
09/05/2018 287 NOTICE OF SERVICE of Plaintiffs' Second Set of Interrogatories (Nos. 21-27)
                                                                                    21−27) filed by
               Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 09/05/2018)
09/05/2018 288 NOTICE OF SERVICE of Plaintiffs' Notices of Deposition Directed to Nancy Valente, Kate
               Skrable, Glenn Pierce, Bea Lavery, Gina Chapman, and Gallia Levy filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 09/05/2018)
09/07/2018        CORRECTING ENTRY: Per request of counsel, the pdf of D.I. 282 has been replaced and the
                  docket text corrected to reflect that this is the "Fifth" Set of Requests for the Production of
                  Documents. (nmf) (Entered: 09/07/2018)
09/07/2018 289 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Genentech's Fourth Set of
               Requests for Production of Documents and Things (No. 108) filed by Baxalta GmbH, Baxalta
               Incorporated.(Dudash, Amy) (Entered: 09/07/2018)
09/07/2018 290 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Defendants' Notice of
                                  1−45) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy)
               Deposition (Topics 1-45)
               (Entered: 09/07/2018)
09/12/2018        ORAL ORDER: The Markman Hearing set for September 13, 2018, is rescheduled for
                  September 21, 2018, at 11:00AM in Courtroom 203 of the U.S. Court of Appeals for the Federal
                  Circuit, Washington, DC. Ordered by Judge Timothy B. Dyk on 9/12/18. (nmg) (Entered:
                  09/12/2018)
09/13/2018 291 PROPOSED ORDER Dismissing Defendant Chugai Pharmaceutical Co., Ltd. [Stipulated]
                                                                                       [Stipulated] by
               Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 09/13/2018)


                                              Appx2211
                                              Appx22
             Case: 22-1461        Document: 25        Page: 209       Filed: 11/04/2022

09/18/2018                                                                           − Status Conference held
                  Minute Entry for proceedings held before Judge Timothy Belcher Dyk —
                  on 9/18/2018. (ceg) (Entered: 09/19/2018)
09/19/2018 292 Amended PROPOSED ORDER Dismissing Defendant Chugai Pharmaceutical Co., Ltd. and
               Stipulation by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 09/19/2018)
09/19/2018        ORAL ORDER: The Markman hearing scheduled for 9/21/2018 is cancelled and will be
                  rescheduled for a later date. Ordered by Judge Timothy Belcher Dyk on 9/19/2018. (ceg)
                  (Entered: 09/19/2018)
09/19/2018 293 SO ORDERED, 292 First Amended Stipulation and Order Dismissing Defendant Chugai
               Pharmaceutical Co., Ltd. Signed by Judge Timothy Belcher Dyk on 9/19/2018. (ceg) (Entered:
               09/19/2018)
09/20/2018 294 Official Transcript of the Status Teleconference held on 9/18/2018 before Judge Timothy B.
               Dyk. Court Reporter Carol Connolly. Transcript may be viewed at the court public terminal or
               purchased through the Court Reporter/Transcriber before the deadline for Release of Transcript
               Restriction. After that date it may be obtained through PACER. Redaction Request due
               10/11/2018. Redacted Transcript Deadline set for 10/22/2018. Release of Transcript Restriction
               set for 12/19/2018. (nmg) (Entered: 09/20/2018)
09/20/2018 295 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Genentech, Inc.'s Second Set
               of Requests for Admission (Nos. 9-23)
                                               9−23) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash,
               Amy) (Entered: 09/20/2018)
09/21/2018 296 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Genentech, Inc.'s Second Set
               of Interrogatories (Nos. 12-24)
                                        12−24) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy)
               (Entered: 09/21/2018)
09/24/2018 297 NOTICE OF SERVICE of Genentech's Objections and Responses to Baxalta's Second Set of
               Requests for Production filed by Genentech, Inc..(Mayo, Andrew) (Entered: 09/24/2018)
09/24/2018 298 NOTICE to Take Deposition of Gabi Gerstenbauer on September 28, 2018 filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 09/24/2018)
09/24/2018 299 NOTICE OF SERVICE of Baxalta Incorporated and Baxalta GmbH Responses and Objections
               to Genetech, Inc.'s Fifth Set of Requests for the Production of Documents and Things filed by
               Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 09/24/2018)
09/25/2018        ORAL ORDER: The Markman hearing previously scheduled for September 21, 2018, is now
                  rescheduled for October 16, 2018, at 10:00 a.m. in Courtroom 203 of the U.S. Court of Appeals
                  for the Federal Circuit, Washington, DC. Ordered by Judge Timothy B. Dyk on 9/25/18. (ceg)
                  (Entered: 09/25/2018)
09/26/2018 300 NOTICE to Take Deposition of Michael Moye on October 3, 2018 filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 09/26/2018)
09/26/2018 301 NOTICE to Take Deposition of Cristin Hubbard on October 2, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 09/26/2018)
10/01/2018 302 NOTICE OF SERVICE of Plaintiffs' Supplemental Responses and Objections to Genentech,
               Inc.'s Second Set of Interrogatories filed by Baxalta GmbH, Baxalta Incorporated.(Dudash,
               Amy) (Entered: 10/01/2018)
10/01/2018 303 NOTICE OF SERVICE of Genentech, Inc.'s Supplemental Objections and Responses to
               Baxalta's Interrogatory No. 13 filed by Genentech, Inc..(Mayo, Andrew) (Entered: 10/01/2018)
10/04/2018 304 Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding the Parties' Proposed
               Amendments to the Case Schedule (D.I. 174). (Balick, Steven) (Entered: 10/04/2018)
10/04/2018 305 STIPULATION Regarding the Parties' Proposed Amendments to the Case Schedule (D.I. 174),
               by Genentech, Inc.. (Balick, Steven) (Entered: 10/04/2018)
10/08/2018 306 NOTICE OF SERVICE of Genentech, Inc.'s Objections and Responses to Baxalta's Second Set
               of Interrogatories (Nos. 21-27)
                                        21−27) filed by Genentech, Inc..(Mayo, Andrew) (Entered: 10/08/2018)
10/12/2018 307 MOTION for Issuance of Letters Rogatory Requiring the Testimony ofof Named Inventor Dr.
               Randolf Kerschbaumer (Unopposed) —
               Randolf                           − filed by Genentech, Inc.. (Attachments: # 1 Exhibit 1 &
               2)(Mayo, Andrew) (Entered: 10/12/2018)

                                             Appx222
                                             Appx222
             Case: 22-1461        Document: 25         Page: 210       Filed: 11/04/2022

10/12/2018 308 Letter to The Honorable Timothy B. Dyk from Andrew C. Mayo regarding request that the
               Court: 1) deem Baxalta to have admitted certain Requests for Admission; and 2) compel Baxalta
               to respond to certain Interrogatories and Document Requests. (Attachments: # 1 Exhibit
               1−12)(Mayo, Andrew) (Entered: 10/12/2018)
               1-12)(Mayo,
10/15/2018 309 NOTICE OF SERVICE of Plaintiffs' Supplemental Responses and Objections to Genentech,
               Inc.'s Interrogatory No. 11 filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy)
               (Entered: 10/15/2018)
10/16/2018        Minute Entry for proceedings held before Judge Timothy Belcher Dyk —  − Markman Hearing held
                  on 10/16/2018. As stated on the record, Genentech's motion to compel discovery of Baxalta's
                  2015 collaboration agreement with Novimmune S.A. to research and develop bispecific
                                                                                   bispecific−antibody
                  antibodies for the treatment of hemophilia A using Novimmune's bispecific—antibody
                  technology, and Baxalta's 2017 license agreement with Novimmune to develop and
                  commercialize those bispecific antibodies is GRANTED, but is DENIED without prejudice as to
                  experimental data and the royalty rates and compensation paid to Novimmune. (Court Reporter:
                  Ronda Thomas of Epiq Court Reporting). (ceg) (Entered: 10/17/2018)
10/19/2018 310 [SEALED] Letter to Honorable Timothy B. Dyk from Amy Dudash regarding Response to
               Genentech's letter Motion to Compel —
                                                   − re 308 Letter,. (Attachments: # 1 Exhibit A [SEALED], #
               2 Exhibit B [SEALED], # 3 Exhibit C [SEALED], # 4 Exhibit D [SEALED])(Dudash, Amy)
               (Entered: 10/19/2018)
                                                  E−H] by Baxalta GmbH, Baxalta Incorporated. (Attachments:
10/19/2018 311 EXHIBIT re 310 Letter, [Exhibits E—H]
               # 1 Exhibit Exhibit F, # 2 Exhibit Exhibit G, # 3 Exhibit H)(Dudash, Amy) (Entered:
               10/19/2018)
10/23/2018 312 Letter to Honorable Judge Timothy B. Dyk from Amy M. Dudash regarding regarding Case
               Schedule. (Dudash, Amy) (Entered: 10/23/2018)
10/23/2018 313 PROPOSED ORDER to Amend the Schedule [STIPULATED]
                                                    [STIPULATED] by Baxalta Incorporated.
               (Dudash, Amy) (Entered: 10/23/2018)
10/23/2018 314 PROPOSED ORDER (Stipulated Protective Order), by Genentech, Inc.. (Balick, Steven)
               (Entered: 10/23/2018)
10/24/2018        ORAL ORDER: The parties are directed to attempt to resolve the discovery disputes reflected in
                  their letters dated October 12, 2018 (ECF No. 308),
                                                                 308 ), and October 19, 2018 (ECF No. 310).
                                                                                                        310 ). The
                  parties are to present any unresolved disputes at a telephonic status conference on November 2,
                  2018 at 11:00 a.m. Ordered by Judge Timothy B. Dyk on 10/24/2018. (*a status conference is
                  set for 11/2/2018 at 11:00 a.m.) (ceg) (Entered: 10/24/2018)
10/26/2018 315 REDACTED VERSION of 310 Letter, Response to Genentech's Letter Motion to Compel by
                                                       A−D [REDACTED])(Dudash, Amy) (Entered:
               Baxalta GmbH. (Attachments: # 1 Exhibit A—D
               10/26/2018)
10/29/2018 316 ORDER Approving D.I. 314 Stipulated Protective Order filed by Genentech, Inc. Signed by
               Judge Timothy Belcher Dyk on 10/26/2018. (nmg) (Entered: 10/29/2018)
10/30/2018 317 ORDER Setting Mediation Conferences: A Mediation Conference is set for 4/10/2019 at 10:00
               AM in Courtroom 2B before Judge Mary Pat Thynge. SEE ORDER FOR DETAILS. Signed by
               Judge Mary Pat Thynge on 10/30/18. (cak) (Entered: 10/30/2018)
10/30/2018 318 NOTICE OF SERVICE of Genentech, Inc.'s Supplemental Objections and Responses to
               Baxalta's First Set of Interrogatories (Nos. 120) filed by Genentech, Inc..(Mayo, Andrew)
               (Entered: 10/30/2018)
11/01/2018 319 NOTICE OF SERVICE of Plaintiffs' Supplemental Responses and Objections to Genentech,
               Inc.'s Interrogatory Nos. 4 and 7 and Plaintiffs' Supplemental Responses and Objections to
               Genentech's Interrogatory Nos. 15, 16, and 21-23
                                                            21−23 filed by Baxalta GmbH, Baxalta
               Incorporated.(Dudash, Amy) (Entered: 11/01/2018)
11/02/2018 320 Official Transcript of Markman Hearing held on 10/16/2018 before Judge Timothy Dyk. Court
               Reporter/Transcriber Ronda J. Thomas,Telephone number 312-386-2000.
                                                                            312−386−2000. Transcript may be
               viewed at the court public terminal or purchased through the Court Reporter/Transcriber before
               the deadline for Release of Transcript Restriction. After that date it may be obtained through
               PACER Redaction Request due 11/23/2018. Redacted Transcript Deadline set for 12/3/2018.
               Release of Transcript Restriction set for 1/31/2019. (crb) (Entered: 11/02/2018)

                                              Appx223
                                              Appx223
             Case: 22-1461        Document: 25       Page: 211       Filed: 11/04/2022

11/02/2018        ORAL ORDER: The telephonic status conference scheduled for November 2, 2018 at 11AM is
                  canceled. Ordered by Judge Timothy B. Dyk on 11/2/2018. (crb) (Entered: 11/02/2018)
11/05/2018 321 NOTICE to Take Deposition of Gallia Levy on November 13, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 11/05/2018)
11/05/2018 322 NOTICE to Take Deposition of Gina Chapman on November 15, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 11/05/2018)
11/05/2018 323 NOTICE to Take Deposition of Kate Skrable on November 16, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 11/05/2018)
11/05/2018 324 NOTICE to Take Deposition of Qasim Rizvi on December 4, 2018 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 11/05/2018)
11/07/2018 325 ORDER Amending Schedule: Fact Discovery completed by 12/14/2018. Opening Expert
               Reports due by 1/18/2019. Rebuttal Expert Reports due by 2/15/2019. Reply Expert Reports due
               by 3/8/2019. Expert Discovery due by 4/19/2019. Motions for Summary Judgment due by
               5/3/2019. Responses to Motions for Summary Judgment due by 5/17/2019. Reply to Motions for
               Summary Judgment due by 5/24/2019. Signed by Judge Timothy Belcher Dyk on 11/7/2018.
               (nmg) (Entered: 11/07/2018)
11/08/2018 326 NOTICE OF SERVICE of Letter Rogatory to Compel the Testimony of Dr. Randolf
               Kerschbaumer, filed by Genentech, Inc..(Balick, Steven) (Entered: 11/08/2018)
11/27/2018 327 NOTICE OF SERVICE of Plaintiffs' First Supplemental Responses and Objections to Genetech,
               Inc.'s Second Set of Requests for Admission (Nos. 10-13)
                                                                 10−13) filed by Baxalta
               Incorporated.(Dudash, Amy) (Entered: 11/27/2018)
11/27/2018 328 NOTICE OF SERVICE of Plaintiffs' Second Supplemental Response and Objections to
               Genentech, Inc.'s interrogatory No. 4 filed by Baxalta Incorporated.(Dudash, Amy) (Entered:
               11/27/2018)
11/30/2018 329 NOTICE OF SERVICE of Plaintiffs' Second Supplemental Responses and Objections to
               Genentech, Inc.'s Interrogatory No. 11 filed by Baxalta GmbH, Baxalta Incorporated.(Dudash,
               Amy) (Entered: 11/30/2018)
12/03/2018 330 OPINION AND ORDER. Signed by Judge Timothy Belcher Dyk on 12/3/2018. (nmg) (Entered:
               12/03/2018)
12/12/2018 331 STIPULATION Seeking to Amend Case Schedule, by Genentech, Inc.. (Balick, Steven)
               (Entered: 12/12/2018)
12/14/2018 332 STIPULATION Seeking to Amend Case Schedule, by Genentech, Inc.. (Balick, Steven)
               (Entered: 12/14/2018)
12/17/2018 333 Stipulation and Order to Amend the Schedule: ( Fact Discovery completed by 2/8/2019,
               Opening Expert Reports due by 3/15/2019, Rebuttal Expert Reports due by 4/12/2019, Expert
               Discovery due by 6/14/2019.) (See Order for Additional Deadlines). Signed by Judge Timothy
               Belcher Dyk on 12/17/2018. (nmg) (Entered: 12/17/2018)
01/25/2019 334 STIPULATION AND FINAL JUDGMENT, by Genentech, Inc.. (Balick, Steven) (Entered:
               01/25/2019)
01/31/2019 335 STIPULATION AND FINAL JUDGMENT by Baxalta GmbH, Baxalta Incorporated. (Dudash,
               Amy) (Entered: 01/31/2019)
01/31/2019 336 Amended Disclosure Statement pursuant to Rule 7.1: identifying Other Affiliate Takeda
               Pharmaceutical Company Limited for Baxalta GmbH, Baxalta Incorporated filed by Baxalta
               GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 01/31/2019)
02/01/2019 337 FINAL JUDGMENT is entered in favor of Genentech, Inc. and against Baxalta Incorporated on
               all claims asserted in the operative complaint. Genetech's counterclaims for declaratory
                            non−infringement and a declaratory judgment of invalidity are dismissed without
               judgment of non—infringement
               prejudice (*see Order for further details) (*CASE CLOSED). Signed by Judge Timothy Belcher
               Dyk on 1/31/2019. (ceg) (Entered: 02/01/2019)
02/01/2019 338 Report to the Commissioner of Patents and Trademarks for Patent/Trademark Number(s)
               7,033,590. (Attachments: # 1 Approved Final Judgment)(ceg) (Entered: 02/01/2019)

                                            Appx224
                                            Appx224
             Case: 22-1461        Document: 25         Page: 212       Filed: 11/04/2022

02/08/2019 339 NOTICE OF APPEAL to the Federal Circuit of 330 Memorandum and Order, 337 Judgment, .
               Appeal filed by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 02/08/2019)
02/08/2019        APPEAL −  — Credit Card Payment of $505.00 received re 339 Notice of Appeal (Federal Circuit)
                  filed by Baxalta GmbH, Baxalta Incorporated. ( Filing fee $505, receipt number
                  0311−2565602.) (Dudash, Amy) (Entered: 02/08/2019)
                  0311-2565602.)
02/08/2019        Notice of Appeal and Docket Sheet to US Court of Appeals for the Federal Circuit re 339 Notice
                  of Appeal (Federal Circuit). (ddp) (Entered: 02/08/2019)
02/12/2019 340 NOTICE of Docketing Record on Appeal from USCA for the Federal Circuit re 339 Notice of
               Appeal (Federal Circuit) filed by Baxalta GmbH, Baxalta Incorporated. USCA Case Number
               19−1527. Entry of Appearance due 02/26/2019. Certificate of Interest is due on 02/26/2019.
               19-1527.
               Docketing Statement due 02/26/2019. Appellants' brief is due 04/15/2019. (bkb) (Entered:
               02/12/2019)
02/13/2019 341 ORAL ORDER re 317 Order Setting Mediation Conferences: The mediation scheduled for
               4/10/19 and the mediation submission due date of 3/25/19 are cancelled. Ordered by Judge Mary
               Pat Thynge on 2/13/19. (cak) (Entered: 02/13/2019)
02/20/2019 342 TRANSCRIPT REQUEST by Baxalta GmbH, Baxalta Incorporated for proceedings held on
               June 12, 2018, June 13, 2018, June 14, 2018, September 18, 2018, and October 16, 2018 before
               Judge Timothy Belcher Dyk, (Dudash, Amy) (Entered: 02/20/2019)
09/03/2019 343 MOTION (Genentech's Unopposed Motion to Perpetuate the Testimony of Austrian Citizen and
               Named Inventor Dr. Randolf Josef Kerschbaumer) −  — filed by Genentech, Inc.. (Attachments: # 1
               Text of Proposed Order)(Balick, Steven) (Entered: 09/03/2019)
09/03/2019 344 [SEALED] MEMORANDUM in Support re 343 MOTION (Genentech's Unopposed Motion to
               Perpetuate the Testimony of Austrian Citizen and Named Inventor Dr. Randolf Josef
               Kerschbaumer) filed by Genentech, Inc..Answering Brief/Response due date per Local Rules is
                                                    A−C)(Balick, Steven) (Entered: 09/03/2019)
               9/17/2019. (Attachments: # 1 Exhibit A—C)(Balick,
09/03/2019 345 REDACTED VERSION of 344 MEMORANDUM in Support, by Genentech, Inc..
                                         A−C)(Balick, Steven) (Entered: 09/03/2019)
               (Attachments: # 1 Exhibit A—C)(Balick,
09/10/2019 346 ORDER granting 343 MOTION (Genentech's Unopposed Motion to Perpetuate the Testimony
               of Austrian Citizen and Named Inventor Dr. Randolf Josef Kerschbaumer). Signed by Judge
               Timothy Belcher Dyk on 9/10/2019. (lam) (Entered: 09/10/2019)
11/04/2019 347 MOTION (Genentech's Unopposed Motion for Issuance of a Letter Request to the Austrian
               District Court for Permission to Use a Stenographer During the Austrian Hearing to Take the
               Testimony of Named Inventor Dr. Randolf Josef Kerschbaumer) —   − filed by Genentech, Inc..
               (Attachments: # 1 Exhibit A, # 2 Text of Proposed Order)(Balick, Steven) (Entered: 11/04/2019)
11/06/2019 348 ORDER granting 347 MOTION (Genentech's Unopposed Motion for Issuance of a Letter
               Request to the Austrian District Court for Permission to Use a Stenographer During the Austrian
               Hearing to Take the Testimony of Named Inventor Dr. Randolf Josef Kerschbaumer). The
               requested letter in revised form is available for pickup. Signed by Judge Timothy Belcher Dyk
               on 11/6/19. (lam) (Entered: 11/06/2019)
02/11/2020        ORDER The court has received an untranslated copy of the transcript from the deposition of Dr.
                  Randolf Josef Kerschbaumer. The parties should advise as to how they would like to proceed.
                  Signed by Judge Timothy Belcher Dyk on 2/11/2020. (lam) (Entered: 02/11/2020)
02/20/2020        ORDER Per the request of both parties, the court has transmitted the untranslated copy of the
                  transcript from the deposition of Dr. Randolf Josef Kerschbaumer to counsel for Genentech.
                  Signed by Judge Timothy Belcher Dyk on 2/20/2020. (lam) (Entered: 02/20/2020)
05/26/2020 349 NOTICE of Withdrawal of Appearance of Jesse T. Dyer as counsel for Plaintiffs by Baxalta
               GmbH, Baxalta Incorporated (Dudash, Amy) (Entered: 05/26/2020)
10/05/2020 350 MANDATE of USCA as to 339 Notice of Appeal (Federal Circuit) filed by Baxalta GmbH,
               Baxalta Incorporated. USCA Decision: Vacated and Remanded. (Attachments: # 1 Opinion, # 2
               Judgment)(kmd) (Entered: 10/05/2020)
10/05/2020 351 NOTICE of of Withdrawal of Certain Pro Hac Vice Counsel by Baxalta GmbH, Baxalta
               Incorporated (Dudash, Amy) (Entered: 10/05/2020)

                                              Appx2255
                                              Appx22
             Case: 22-1461          Document: 25         Page: 213       Filed: 11/04/2022

10/08/2020 352 ORAL ORDER: On August 27, 2020, the U.S. Court of Appeals for the Federal Circuit issued
               its decision vacating this court's judgment of noninfringement and remanding the case to this
               court. Baxalta Inc. v. Genentech, Inc., 972 F.3d 1341, 1349 (Fed. Cir. 2020). The Federal
               Circuit's mandate issued on October 5, 2020. ECF No. 350. Given the Federal Circuit's decision,
               a telephonic status conference is scheduled for October 14, 2020, at 2:00 PM. The parties should
               be prepared to discuss a new scheduling order and related matters. Counsel for plaintiffs shall
               initiate the call to chambers once all participants are on the line. Counsel shall also arrange for a
               court reporter. Ordered by Judge Timothy Belcher Dyk on 10/8/2020. (kmd) Modified on
               10/8/2020 (kmd). (Entered: 10/08/2020)
10/13/2020 353 Joint Letter to Honorable Timothy B. Dyk from Amy M. Dudash regarding Scheduling for Case
               Going Forward −  — re 352 Oral Order,,,, Order Setting Teleconference,,,. (Dudash, Amy)
               (Entered: 10/13/2020)
10/14/2020 354 ORAL ORDER: As discussed during today's telephonic status conference, the parties shall file
               an updated proposed scheduling order on or before October 21, 2020. Ordered by Judge
               Timothy B. Dyk on October 14, 2020. (cna, ) (Entered: 10/14/2020)
10/21/2020 355 Joint PROPOSED ORDER Joint Proposed Scheduling Order re 354 Oral Order by Baxalta
               GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 10/21/2020)
10/23/2020 356 SCHEDULING ORDER. Signed by Judge Timothy Belcher Dyk on 10/23/2020. (amf)
               (Entered: 10/23/2020)
11/11/2020 357 NOTICE OF SERVICE of Genentech, Inc.'s Third Set of Requests for Admission (Nos. 24-42)  24−42)
               and Genentech, Inc.'s Third Set of Interrogatories (Nos. 25-27)
                                                                        25−27) filed by Genentech, Inc..(Mayo,
               Andrew) (Entered: 11/11/2020)
11/13/2020 358 NOTICE OF SERVICE of Genentech, Inc.'s Second Amended Initial Disclosures Pursuant to
               Fed. R. Civ. P. 26(a)(1) filed by Genentech, Inc..(Mayo, Andrew) (Entered: 11/13/2020)
11/20/2020 359 SUBPOENA filed by Baxalta GmbH, Baxalta Incorporated directed to Qasim Rizvi for
               December 16, 2020 at 9:00 AM Central (Dudash, Amy) (Entered: 11/20/2020)
11/24/2020 360 SUBPOENA Returned Executed as to Qasim Rizvi on 11/21/2020 (Dudash, Amy) (Entered:
               11/24/2020)
11/25/2020 361 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Third Set of Requests for
                                24−42) and Responses and Objections to Third Set of Interrogatories (Nos.
               Admission (Nos. 24-42)
               25−27) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 11/25/2020)
               25-27)
11/25/2020 362 NOTICE OF SERVICE of Genentech, Inc.'s Amended Initial Disclosures Pursuant to Paragraph
               3 of the Default Standard for Discovery and Genentech, Inc.'s Third Amended Initial
               Disclosures Pursuant to Fed. R. Civ. P. 26(a)(1) filed by Genentech, Inc..(Balick, Steven)
               (Entered: 11/25/2020)
11/30/2020 363 NOTICE OF SERVICE of Plaintiffs' First Amended Rule 26(a)(1) Initial Disclosures filed by
               Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 11/30/2020)
12/04/2020         Minute Entry for proceedings held before Judge Timothy Belcher Dyk — − a Telephonic Status
                   Conference held on 10/14/2020, at 2:00 PM (Call lasted for 12 minutes). (Court Reporter was
                   present) (myr) (Entered: 12/04/2020)
12/07/2020 364 NOTICE OF SERVICE of Plaintiffs' (i) Supplemental Responses and Objections to Genentech
               Inc.'s Interrogatory Nos. 3, 7, 10 and 11 of Genentech's First Set of Interrogatories, (ii)
               Supplemental Responses and Objections to Genentech Inc.'s Interrogatory Nos. 15, 16, 19 and
               21−24 of Genentech Inc.'s Second Set of Interrogatories, and (iii) First Supplemental Responses
               21-24
                                                                                                  14−23) filed by
               and Objections to Genentech Inc.'s Second Set of Requests for Admission (Nos. 14-23)
               Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 12/07/2020)
12/08/2020 365 NOTICE OF SERVICE of Genentech, Inc.'s Sixth Set of Requests for the Production of
                                                  113−117) filed by Genentech, Inc..(Balick, Steven)
               Documents and Things (Request Nos. 113-117)
               (Entered: 12/08/2020)
12/18/2020 366 Joint STIPULATION and Proposed Order Concerning the Protocol for Conducting Remote
               Depositions by Baxalta GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 12/18/2020)
12/22/2020 367 STIPULATION AND ORDER Concerning the Protocol for Conducting Remote Depositions.
               Signed by Judge Timothy Belcher Dyk on 12/22/2020. (amf) (Entered: 12/22/2020)
                                               Appx226
                                               Appx226
                 Case: 22-1461         Document: 25          Page: 214        Filed: 11/04/2022

01/06/2021 368 NOTICE to Take Deposition of David Chaudry on January 27, 2021 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 01/06/2021)
01/07/2021 369 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Genentech's Sixth Set of
               Requests for the Production of Documents and Things (Nos. 113-117)
                                                                         113−117) filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 01/07/2021)
01/13/2021 370 NOTICE OF SERVICE of Plaintiffs' Second Supplemental Disclosure of Infringement
               Contentions filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
               01/13/2021)
01/14/2021 371 NOTICE to Take Deposition of Friedrich Dorner on January 28, 2021 filed by Genentech,
               Inc..(Balick, Steven) (Entered: 01/14/2021)
01/14/2021 372 NOTICE to Take Deposition of Rebecca Carty on February 10, 2021 filed by Genentech,
               Inc..(Balick, Steven) (Entered: 01/14/2021)
01/14/2021 373 NOTICE to Take Deposition of Friedrich Scheiflinger on February 17, 2021 filed by Genentech,
               Inc..(Balick, Steven) (Entered: 01/14/2021)
01/14/2021 374 NOTICE OF SERVICE of Genentech, Inc.'s Amended Notice of Rule 30(b)(6) Deposition to
               Baxalta Incorporated and Baxalta GmbH filed by Genentech, Inc..(Balick, Steven) (Entered:
               01/14/2021)
01/18/2021 375 MOTION for Pro Hac Vice Appearance of Attorney Olga Berson, Ph.D. —   − filed by Baxalta
               GmbH, Baxalta Incorporated. (Attachments: # 1 Certification of Olga Berson, Ph.D.)(Dudash,
               Amy) (Entered: 01/18/2021)
01/19/2021 376 NOTICE to Take Deposition of Suha Patel on February 12, 2021 filed by Baxalta GmbH,
               Baxalta Incorporated.(Dudash, Amy) (Entered: 01/19/2021)
01/20/2021 377 NOTICE OF SERVICE of Plaintiffs' Third Set of Requests for the Production of Documents and
               Things (Nos. 117-138),
                            117−138), Third Set of Interrogatories (No. 28), and Second Set of Requests for
                              4−39) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
               Admission Nos. 4-39)
               01/20/2021)
01/21/2021 378 NOTICE OF SERVICE of Genentech, Inc.'s Seventh Set of Requests for the Production of
               Documents and Things (Request No. 118) filed by Genentech, Inc..(Balick, Steven) (Entered:
               01/21/2021)
01/21/2021 379 NOTICE OF SERVICE of Plaintiffs' Fourth Set of Interrogatories (Nos. 29-30)
                                                                                    29−30) filed by Baxalta
               GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered: 01/21/2021)
01/22/2021 380 SO ORDERED, re D.I. 375 MOTION for Pro Hac Vice Appearance of Attorney Olga Berson,
               Ph.D. filed by Baxalta GmbH, Baxalta Incorporated. Signed by Judge Timothy Belcher Dyk on
               1/22/2021. (myr) (Entered: 01/22/2021)
01/25/2021        Pro Hac Vice Attorney Olga Berson for Baxalta GmbH and Baxalta Incorporated added for
                  electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered
                  users of CM/ECF and shall be required to file all papers. (kmd) (Entered: 01/25/2021)
01/28/2021 381 NOTICE OF SERVICE of Plaintiffs' Second Supplemental Response to Second Set of
               Interrogatories (No. 24), Supplemental Response to First Set of Interrogatories (No. 10-11)
                                                                                                    10−11) and
               Response to Third Set of Interrogatories (No. 26) filed by Baxalta GmbH, Baxalta
               Incorporated.(Dudash, Amy) (Entered: 01/28/2021)
01/29/2021 382 NOTICE OF SERVICE of Genentech Inc.'s Supplemental Objections and Responses to Baxalta
               Incorporated's and Baxalta GmbH's Interrogatory Nos. 10, 23, and 24 filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 01/29/2021)
02/03/2021        ORAL ORDER, On February 2, 2021, the parties notified the court that they are at an impasse
                  regarding various discovery disputes. It is hereby ORDERED that (1) defendants shall file an
                  opening letter brief on or before Friday, February 5, 2021, addressing the disputes; and (2)
                  plaintiffs shall file a responsive letter brief on or before Friday, February 12, 2021, addressing
                  the disputes. The parties' letter briefs shall be no longer than seven pages, double spaced. It is
                  further ORDERED that a telephonic hearing on the discovery disputes is scheduled for
                  Wednesday, February 17, 2021, at 2:00 PM. Counsel for defendants shall initiate the call to
                  chambers once all participants are on the line. Counsel for defendants shall also arrange for a
                  court reporter. Entered by Judge Timothy Belcher Dyk on 2/3/2021. (nmg) (Entered:

                                                   Appx227
                                                   Appx227
             Case: 22-1461          Document: 25         Page: 215       Filed: 11/04/2022

                   02/03/2021)
02/03/2021 383 NOTICE OF SERVICE of Defendant Genentech, Inc.'s Initial Non—Infringement
                                                                             Non−Infringement Contentions
               and Defendant Genentech, Inc.'s First Supplemental Invalidity Contentions filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 02/03/2021)
02/05/2021 384 NOTICE OF SERVICE of Notice of Subpoenas filed by Genentech, Inc..(Mayo, Andrew)
               (Entered: 02/05/2021)
02/05/2021 385 [SEALED] Letter to The Honorable Timothy B. Dyk from Andrew C. Mayo regarding request
               that the Court compel Baxalta to supplement certain Interrogatories Responses and Renewed
               Request for Production of collaboration agreement with Novimmune S.A.. (Attachments: # 1
               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit
               G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J)(Mayo, Andrew) (Entered: 02/05/2021)
02/12/2021 386 [SEALED] Letter to Honorable Timothy B. Dyk from Amy M. Dudash regarding pursuant to
               Court's February 3, 2021 Oral Order. (Attachments: # 1 Exhibit 1 SEALED, # 2 Exhibit 2
               SEALED, # 3 Exhibit 3 SEALED, # 4 Exhibit 4 SEALED, # 5 Exhibit 5 SEALED, # 6 Exhibit
               6 SEALED)(Dudash, Amy) (Entered: 02/12/2021)
02/12/2021 387 CERTIFICATE OF SERVICE of Plaintiffs' Letter and Exhibits 1-61−6 filed under seal [D.I. 386]
               by Baxalta GmbH, Baxalta Incorporated re 386 Letter, (Dudash, Amy) (Entered: 02/12/2021)
02/12/2021 388 REDACTED VERSION of 385 Letter, by Genentech, Inc.. (Attachments: # 1 Exhibit
               A−J)(Mayo, Andrew) (Entered: 02/12/2021)
               A—J)(Mayo,
02/17/2021 389 NOTICE OF SERVICE of Plaintiffs' Responses and Objections to Defendant's Amended Notice
                                              1−28) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash,
               of 30(b)(6) Deposition (Topics 1-28)
               Amy) (Entered: 02/17/2021)
02/17/2021         Minute Entry for proceedings held before Judge Timothy Belcher Dyk —      − A Telephonic Hearing
                   on the parties' discovery dispute held on February 17, 2021, at 2:00 PM. Baxalta Inc. ordered to
                   supplement its response to Genentech, Inc.'s Interrogatory 9. Remaining relief requested denied
                   without prejudice to the filing of a renewed motion at a later date. (Call lasted for 25 minutes)
                   (Court Report was present) (myr) (Entered: 02/19/2021)
02/19/2021 390 REDACTED VERSION of 386 Letter, to Honorable Timothy B. Dyk by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
               5, # 6 Exhibit 6)(Dudash, Amy) (Entered: 02/19/2021)
02/22/2021 391 NOTICE OF SERVICE of Plaintiffs' Validity Contentions filed by Baxalta GmbH, Baxalta
               Incorporated.(Dudash, Amy) (Entered: 02/22/2021)
02/22/2021 392 NOTICE OF SERVICE of Plaintiffs' Second Supplemental Objections and Responses to
               Interrogatory No. 1, Fourth Supplemental Objections and Responses to Second Set of
               Interrogatories (Nos. 7, 9), Fourth Supplemental Objections and Responses to Third Set of
               Interrogatories (Nos. 21, 22, 23) and Objections and Response to Seventh Set of Requests for
               Production (No. 118) filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
               02/22/2021)
02/23/2021 393 NOTICE OF SERVICE of (1) Genentech's Objections and Responses to Baxalta's Second Set of
                                              4−39); (2) Genentech, Inc.'s Objections and Responses to
               Requests for Admission (Nos. 4-39);
                                                            29−30); (3) Genentech, Inc.'s Objections and
               Baxalta's Fourth Set of Interrogatories (No. 29-30);
               Responses to Baxalta's Third Set of Interrogatories (No. 28); and (4) Genentech's Objections and
               Responses to Baxalta's Third Set of Requests for Production (Nos. 117-138)
                                                                                   117−138) filed by Genentech,
               Inc..(Mayo, Andrew) (Entered: 02/23/2021)
02/23/2021 394 NOTICE OF SERVICE of Plaintiffs' Third Supplemental Disclosure of Infringement
               Contentions filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy) (Entered:
               02/23/2021)
02/26/2021 395 NOTICE OF SERVICE of Genentech's Amended and Supplemental Responses and Objections
               to Baxalta's Rule 30(b)(6) Notice filed by Genentech, Inc..(Mayo, Andrew) (Entered:
               02/26/2021)
03/11/2021 396 NOTICE OF SERVICE of (1) Defendant Genentech, Inc.'s Second Supplemental Invalidity
                                                                         Non−Infringement Contentions; and
               Contentions; (2) Defendant Genentech, Inc.'s Supplemental Non—Infringement
               (3) Genentech Inc.'s Supplemental Objections and Responses to Baxalta Incorporated's and
                                                                  21−23, 25 & 27) filed by Genentech,
               Baxalta GmbH's Second Set of Interrogatories (Nos. 21-23,
                                               Appx228
                                               Appx22 8
             Case: 22-1461        Document: 25         Page: 216       Filed: 11/04/2022

                  Inc..(Mayo, Andrew) (Entered: 03/11/2021)
03/11/2021 397 NOTICE OF SERVICE of Plaintiffs' Supplemental Responses and Objections to First Set of
                                              9−11); Supplemental Responses and Objections to Second Set of
               Interrogatories (Nos. 3, 5, 7, 9-11);
                                     12−20, 23-24);
               Interrogatories (Nos. 12-20,   23−24); Supplemental Responses and Objections to Third Set of
               Interrogatories (Nos. 25, 27); Second Supplemental Responses and Objections to Second Set of
               Requests for Admission (Nos. 10, 11, 13); First Supplemental Responses and Objections to
               Third Set of Requests for Admission (Nos. 24, 31) and Fourth Supplemental Disclosure of
               Infringement Contentions filed by Baxalta GmbH, Baxalta Incorporated.(Dudash, Amy)
               (Entered: 03/11/2021)
03/11/2021 398 NOTICE OF SERVICE of Genentech, Inc.'s Supplemental Objections and Responses to Baxalta
                                                                                                   15−20) filed
               Incorporated's and Baxalta GmbH's First Set of Interrogatories (Nos. 3, 8, 11, 12 & 15-20)
               by Genentech, Inc..(Mayo, Andrew) (Entered: 03/11/2021)
04/02/2021 399 STIPULATION Regarding Supplementation of Protective Order, by Genentech, Inc.. (Balick,
               Steven) (Entered: 04/02/2021)
04/05/2021 400 ORDER Approving D.I. 399 Supplementation of Protective Order (Supplementing D.I. 316 ).
               Signed by Judge Timothy Belcher Dyk on 4/5/2021. (kmd) (Entered: 04/05/2021)
                                                                    Wan−Shon Lo -− filed by Baxalta GmbH,
07/12/2021 401 MOTION for Pro Hac Vice Appearance of Attorney Wan-Shon
               Baxalta Incorporated. (Attachments: # 1 Certification)(Dudash, Amy) (Entered: 07/12/2021)
                                                                                     Wan−Shon Lo.
07/12/2021 402 ORDER granting 401 MOTION for Pro Hac Vice Appearance of Attorney Wan—Shon
               Signed by Judge Timothy Belcher Dyk on 7/12/2021. (nmg) (Entered: 07/12/2021)
07/13/2021                                 Wan−Shon Lo for Baxalta GmbH, and for Baxalta Incorporated added
                  Pro Hac Vice Attorney Wan—Shon
                  for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the
                  registered users of CM/ECF and shall be required to file all papers. (twk) (Entered: 07/13/2021)
                                                                                − filed by Genentech,
07/23/2021 403 MOTION for Pro Hac Vice Appearance of Attorney Catherine Nyarady —
               Inc.. (Balick, Steven) (Entered: 07/23/2021)
07/27/2021 404 ORDER, granting D.I. 403 Motion to Appear Pro Hac Vice Appearance of Attorney Catherine
               Nyarady. Signed by Judge Timothy Belcher Dyk on 7/27/2021. (myr) (Entered: 07/27/2021)
07/28/2021        Pro Hac Vice Attorney Catherine Nyarady for Genentech, Inc. added for electronic noticing.
                  Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the registered users of CM/ECF and
                  shall be required to file all papers. (twk) (Entered: 07/28/2021)
08/24/2021 405 STIPULATION Regarding Briefing of Dispositive Motions, by Genentech, Inc.. (Balick,
               Steven) (Entered: 08/24/2021)
08/25/2021 406 STIPULATION AND ORDER re D.I. 405 . Signed by Judge Timothy Belcher Dyk on
               08/25/2021. (smg) (Entered: 08/25/2021)
09/03/2021 407 MOTION for Summary Judgment —    − filed by Genentech, Inc.. (Attachments: # 1 Text of
               Proposed Order)(Balick, Steven) (Entered: 09/03/2021)
09/03/2021 408 [SEALED] OPENING BRIEF in Support re 407 MOTION for Summary Judgment filed by
               Genentech, Inc..Answering Brief/Response due date per Local Rules is 9/17/2021. (Balick,
               Steven) (Entered: 09/03/2021)
09/03/2021 409 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of      of David E. Cole,
               Volume 11 of
                         of 2) by Genentech, Inc.. (Attachments: # 1 Exhibit 1-14
                                                                             1−14 (Volume 1 of 2))(Balick,
               Steven) (Entered: 09/03/2021)
09/03/2021 410 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of      of David E. Cole,
               Volume 2 of
                         of 2) by Genentech, Inc.. (Attachments: # 1 Exhibit 15-28
                                                                             15−28 (Volume 2 of 2))(Balick,
               Steven) (Entered: 09/03/2021)
09/03/2021 411 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of       of John P. Sheehan,
                                                                   1−2)(Balick, Steven) (Entered: 09/03/2021)
               M.D.) by Genentech, Inc.. (Attachments: # 1 Exhibit 1-2)(Balick,
09/03/2021 412 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of       of Stephanie A.
                                                                                  1−2)(Balick, Steven)
               Smith, D.V.M., M.S.) by Genentech, Inc.. (Attachments: # 1 Exhibit 1-2)(Balick,
               (Entered: 09/03/2021)


                                              Appx229
                                              Appx229
             Case: 22-1461         Document: 25         Page: 217        Filed: 11/04/2022

09/03/2021 413 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of        of William R.
                                                                            1−3)(Balick, Steven) (Entered:
               Strohl, Ph.D.) by Genentech, Inc.. (Attachments: # 1 Exhibit 1-3)(Balick,
               09/03/2021)
09/03/2021 414 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of       of Guy A.
                                                                                                  A. Young,
               M.D.) by Genentech, Inc.. (Attachments: # 1 Exhibit 1)(Balick, Steven) (Entered: 09/03/2021)
09/03/2021 415 [SEALED] DECLARATION re 408 Opening Brief in Support (Declaration of      of Dr. K
                                                                                                K.
               Christopher Garcia) by Genentech, Inc.. (Attachments: # 1 Exhibit 1-2)(Balick,
                                                                                 1−2)(Balick, Steven)
               (Entered: 09/03/2021)
09/10/2021 416 REDACTED VERSION of 408 Opening Brief in Support by Genentech, Inc.. (Mayo, Andrew)
               (Entered: 09/10/2021)
09/10/2021 417    REDACTED VERSION of 409 Declaration of     of David E. Cole (Volume 1
                                                                                      1 of
                                                                                        of 2) by Genentech,
                  Inc.. (Mayo, Andrew) (Entered: 09/10/2021)
09/10/2021 418 REDACTED VERSION of 410 Declaration of     of David E. Cole (Volume 2 of
                                                                                     of 2) by Genentech,
               Inc.. (Mayo, Andrew) (Entered: 09/10/2021)
09/10/2021 419                                         of John P. Sheehan, M.D. by Genentech, Inc..
                  REDACTED VERSION of 411 Declaration of
                  (Mayo, Andrew) (Entered: 09/10/2021)
09/10/2021 420    REDACTED VERSION of 412 Declaration of     of Stephanie A.
                                                                          A. Smith, D.V.M., M.S. by Genentech,
                  Inc.. (Mayo, Andrew) (Entered: 09/10/2021)
09/10/2021 421                                         of William R. Strohl, Ph.D. by Genentech, Inc..
                  REDACTED VERSION of 413 Declaration of
                  (Mayo, Andrew) (Entered: 09/10/2021)
09/10/2021 422                                        of Guy A. Young, M.D. by Genentech, Inc.. (Mayo,
                  REDACTED VERSION of 414 Declaration of
                  Andrew) (Entered: 09/10/2021)
09/10/2021 423    REDACTED VERSION of 415 Declaration of
                                                       of Dr. K
                                                              K. Christopher Garcia by Genentech, Inc..
                  (Mayo, Andrew) (Entered: 09/10/2021)
10/01/2021 424 [SEALED] ANSWERING BRIEF in Opposition re 407 MOTION for Summary Judgment filed
               by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is 10/8/2021.
               (Attachments: # 1 Index of Exhibits, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit 3, # 5 Exhibit 4, #
               6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit 9, # 11 Exhibit 10, # 12
               Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, # 16 Exhibit 15, # 17 Exhibit 16, #
               18 Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19, # 21 Exhibit 20, # 22 Exhibit 21, # 23 Exhibit
               22, # 24 Exhibit 23, # 25 Exhibit 24, # 26 Exhibit 25, # 27 Exhibit 26, # 28 Exhibit 27, # 29
               Exhibit 28, # 30 Certificate of Service)(Dudash, Amy) (Entered: 10/01/2021)
10/15/2021 425 [SEALED] REPLY BRIEF re 407 MOTION for Summary Judgment filed by Genentech, Inc..
               (Balick, Steven) (Entered: 10/15/2021)
10/22/2021 426 REDACTED VERSION of 425 Reply Brief by Genentech, Inc.. (Mayo, Andrew) (Entered:
               10/22/2021)
10/27/2021 427    REDACTED VERSION of 424 Answering Brief in Opposition,,, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                  5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10, # 11 Exhibit 11, #
                  12 Exhibit 12, # 13 Exhibit 13, # 14 Exhibit 14, # 15 Exhibit 15, # 16 Exhibit 16, # 17 Exhibit
                  17, # 18 Exhibit 18, # 19 Exhibit 19, # 20 Exhibit 20, # 21 Exhibit 21, # 22 Exhibit 22, # 23
                  Exhibit 23, # 24 Exhibit 24, # 25 Exhibit 25, # 26 Exhibit 26, # 27 Exhibit 27, # 28 Exhibit
                  28)(Dudash, Amy) (Entered: 10/27/2021)
10/27/2021 428 MOTION for Pro Hac Vice Appearance of Attorney William R. Peterson —   − filed by Baxalta
               GmbH, Baxalta Incorporated. (Attachments: # 1 Certification by Counsel to be Admitted Pro
               Hac Vice)(Dudash, Amy) (Entered: 10/27/2021)
10/29/2021        SO ORDERED, re 428 MOTION for Pro Hac Vice Appearance of Attorney William R.
                  Peterson filed by Baxalta GmbH, Baxalta Incorporated. Signed by Judge Timothy Belcher Dyk
                  on 10/29/2021. (myr) (Entered: 10/29/2021)
10/29/2021        Pro Hac Vice Attorney William R. Peterson for Baxalta GmbH and Baxalta Incorporated added
                  for electronic noticing. Pursuant to Local Rule 83.5 (d)., Delaware counsel shall be the
                  registered users of CM/ECF and shall be required to file all papers. (twk) (Entered: 10/29/2021)

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                                              Appx23
             Case: 22-1461          Document: 25        Page: 218        Filed: 11/04/2022

11/18/2021 429 MOTION to Seal Courtroom and Transcript Regarding Summary Judgment Hearing
               (UNOPPOSED) —− filed by Genentech, Inc.. (Balick, Steven) (Entered: 11/18/2021)
11/18/2021 430 [SEALED] MEMORANDUM in Support re 429 MOTION to Seal Courtroom and Transcript
               Regarding Summary Judgment Hearing (UNOPPOSED) filed by Genentech, Inc..Answering
               Brief/Response due date per Local Rules is 12/2/2021. (Balick, Steven) (Entered: 11/18/2021)
11/22/2021         Minute Entry for proceedings held before Judge Timothy Belcher Dyk. Motion Hearing re 407
                   Motion for Summary Judgment held on 11/19/2021, at 10:00 AM. As stated on the record, 429
                   Genentechs Motion to Seal is DENIED. Parties to file stipulation by 12/03/21. (Court reporter
                   was present) (nmg) (Entered: 11/22/2021)
11/24/2021 431 Official Transcript of Hearing held on 11/19/2021 before Judge Timothy B. Dyk. Transcript may
               be viewed at the court public terminal or order/purchased through the Court
               Reporter/Transcriber before the deadline for Release of Transcript Restriction. After that date, it
               may be obtained through PACER. Redaction Request due 12/15/2021. Redacted Transcript
               Deadline set for 12/27/2021. Release of Transcript Restriction set for 2/22/2022. (cna, )
               (Entered: 11/29/2021)
11/29/2021 432 REDACTED VERSION of 430 MEMORANDUM in Support, by Genentech, Inc.. (Mayo,
               Andrew) (Entered: 11/29/2021)
12/01/2021 433 [SEALED] Proposed Pretrial Order by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
               Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6)(Dudash, Amy)
               (Entered: 12/01/2021)
12/01/2021 434 CERTIFICATE OF SERVICE of Proposed Final Pretrial Order and Exhibits 1-6 1−6 by Baxalta
               GmbH, Baxalta Incorporated re 433 Proposed Pretrial Order (Dudash, Amy) (Entered:
               12/01/2021)
12/02/2021 435 MOTION to Seal (Unopposed Renewed and Narrowed Motion to Seal Portions of      of Summary
               Judgment Hearing Transcript) —
                                            − filed by Genentech, Inc.. (Balick, Steven) (Entered:
               12/02/2021)
12/02/2021 436 [SEALED] MEMORANDUM in Support re 435 MOTION to Seal (Unopposed Renewed and
                                                 of Summary Judgment Hearing Transcript) filed by
               Narrowed Motion to Seal Portions of
               Genentech, Inc..Answering Brief/Response due date per Local Rules is 12/16/2021.
               (Attachments: # 1 Exhibit A)(Balick, Steven) (Entered: 12/02/2021)
                                                                                             Anti−Factor
12/03/2021 437 STIPULATION of Fact Regarding Hybridoma Technology and the Number of Anti—Factor
               IX/IXa Antibodies Disclosed In The '590 Patent, by Genentech, Inc.. (Balick, Steven) (Entered:
               12/03/2021)
12/08/2021 438 [SEALED] MOTION in Limine to Exclude Evidence of         of Post—
                                                                           Post−Priority
                                                                                 Priority Development Efforts — −
               filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
               Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Text of
               Proposed Order, # 10 Certificate of Service)(Dudash, Amy) (Entered: 12/08/2021)
12/08/2021 439 [SEALED] MOTION in Limine No. 2 to Exclude John P. Sheehan, M.D. and William R. Strohl
               Reliance on Confidential Documentsfor  for Written Description, Enablement and Indefiniteness —
                                                                                                             −
               filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
               Exhibit 3, # 4 Exhibit 4, # 5 Text of Proposed Order, # 6 Certificate of Service)(Dudash, Amy)
               (Entered: 12/08/2021)
12/08/2021 440 [SEALED] MOTION in Limine No. 3 to Exclude Certain Evidence of        of Japanese Proceedings
               Concerning the Japanese Counterpart of  of the Patent—
                                                              Patent−in−Suit  − filed by Baxalta GmbH, Baxalta
                                                                      in—Suit —
               Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5
               Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Text of Proposed Order, # 10
               Certificate of Service)(Dudash, Amy) (Entered: 12/08/2021)
12/08/2021 441 [SEALED] MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 1       1 Regarding Literal
               Infringement) −
                             — filed by Genentech, Inc.. (Balick, Steven) (Entered: 12/08/2021)
12/08/2021 442 [SEALED] MOTION in Limine No. 4 to Exclude Any      Any Genentech, Chugai, and Roche Patents
               Relating to Hemlibra — − filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit
               1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Text of Proposed Order, # 5 Certificate of Service)(Dudash,
               Amy) (Entered: 12/08/2021)


                                               Appx2311
                                               Appx23
             Case: 22-1461         Document: 25        Page: 219       Filed: 11/04/2022

12/08/2021 443 [SEALED] MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 2 to Preclude
                                 of Willfulness) −
               Improper Evidence of              — filed by Genentech, Inc.. (Balick, Steven) (Entered:
               12/08/2021)
12/08/2021 444 [SEALED] MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 3 to Preclude Named
               Inventor Dr. Scheiflinger From Offering Expert Opinions) —
                                                                        − filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 12/08/2021)
12/08/2021 445 [SEALED] MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 4 to Preclude Baxalta
               From Offering Written−Description
                               Written—Description Testimony that Factor X  X is an Obvious Choice for
                                                                                                     for a Second
                        for a Bispecific Antibody) —
               Antigen for                         − filed by Genentech, Inc.. (Balick, Steven) (Entered:
               12/08/2021)
12/08/2021 446 [SEALED] MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 5 to Preclude Baxalta
                                 Arguments and Evidence Regarding Certain Deposited Hybridomas) —
               From Presenting Arguments                                                        − filed by
               Genentech, Inc.. (Balick, Steven) (Entered: 12/08/2021)
12/08/2021 447 [SEALED] MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 6 to Preclude Baxalta
               From Offering Testimony Regarding scFv Derivatives) —
                                                                   − filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 12/08/2021)
12/08/2021 448 [SEALED] MOTION to Preclude (Genentech, Inc.'s Daubert Motion to Exclude Certain
               Opinions of
                        of Baxaltas Expert Leonard Paul Freedman) —
                                                                  − filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 12/08/2021)
12/08/2021 449 [SEALED] MOTION in Limine No. 5 to Preclude Genentech from      from Introducing Evidence or
               Testimony Relating to Antibodies Falling Outside the Scope of of the Claims to Support Its Written
               Description Defense — − filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit
               1, # 2 Exhibit 2, # 3 Text of Proposed Order, # 4 Certificate of Service)(Dudash, Amy) (Entered:
               12/08/2021)
12/08/2021 450 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to Exclude the Opinions of    of Baxalta's
               Expert Witness
                      Witness Dr. Jeffrey J. Gray and Related Opinions ofof Baxalta's Expert Witness Dr. Wayne
               A. Marasco) −
                           — filed by Genentech, Inc.. (Balick, Steven) (Entered: 12/08/2021)
12/08/2021 451 [SEALED] MOTION to Preclude (Genentech, Inc.'s Daubert Motion to Exclude Certain
               Opinions of
                         of Baxalta's Expert Witness Dr. Sriram Krishnaswamy) —
                                                                              − filed by Genentech, Inc..
               (Balick, Steven) (Entered: 12/08/2021)
12/08/2021 452 [SEALED] MOTION to Preclude (Genentech, Inc.'s Daubert Motion to Exclude Certain
               Opinions of
                        of Baxalta's Expert James E. Malackowski) −
                                                                  — filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 12/08/2021)
12/08/2021 453 [SEALED] MOTION to Preclude (Genentech, Inc.'s Daubert Motion to Exclude Certain
               Opinions of
                        of Baxalta's Expert Dr. Wayne A. Marasco) −
                                                                  — filed by Genentech, Inc.. (Balick,
               Steven) (Entered: 12/08/2021)
12/08/2021 454 [SEALED] DECLARATION (Declaration of       of David E. Cole in Support of
                                                                                      of Genentech, Inc.'s
               Motions In Limine and Daubert Motions, Volume II of
                                                                 of II) by Genentech, Inc.. (Attachments: # 1
                       1−37)(Balick, Steven) (Entered: 12/08/2021)
               Exhibit 1-37)(Balick,
12/08/2021 455 MOTION in Limine No. 6 to Exclude References to Plaintiffs' Motion for
                                                                                   for a Preliminary
               Injunction and Certain Related Materials —
                                                        − filed by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Text of Proposed Order)(Dudash, Amy) (Entered: 12/08/2021)
12/08/2021 456 [SEALED] DECLARATION (Declaration of      of David E. Cole in Support of
                                                                                      of Genentech, Inc.'s
               Motions In Limine and Daubert Motions, Volume IIII of
                                                                  of II), by Genentech, Inc.. (Attachments: # 1
                       38−57)(Balick, Steven) (Entered: 12/08/2021)
               Exhibit 38-57)(Balick,
12/08/2021 457 [SEALED] MOTION in Limine No. 7 to Preclude Genentech from    from Relying on the Court's Claim
               Construction Order to Refute Willfulness —− filed by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Exhibit 1, # 2 Text of Proposed Order, # 3 Certificate of Service)(Dudash,
               Amy) (Entered: 12/08/2021)
12/08/2021 458 [SEALED] MOTION to Exclude Certain Opinions and Testimony of Drs. Steven Schwartz and
               Guy Young −  — filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2
               Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Text of
               Proposed Order, # 9 Certificate of Service)(Dudash, Amy) (Entered: 12/08/2021)

                                              Appx232
                                              Appx232
             Case: 22-1461         Document: 25         Page: 220        Filed: 11/04/2022

12/08/2021 459 [SEALED] MOTION to Exclude Certain Opinions and Testimony of Dr. Richard Manning —         −
               filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
               Text of Proposed Order, # 4 Certificate of Service)(Dudash, Amy) (Entered: 12/08/2021)
12/08/2021 460 [SEALED] MOTION to Exclude Opinions and Testimony of Dr. Dougald M. Monroe, III —        −
               filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3
               Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Text of Proposed Order, # 7 Certificate of
               Service)(Dudash, Amy) (Entered: 12/08/2021)
12/08/2021 461    REDACTED VERSION of 433 Proposed Pretrial Order by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                  5, # 6 Exhibit 6)(Dudash, Amy) (Entered: 12/08/2021)
12/09/2021 462    REDACTED VERSION of 436 MEMORANDUM in Support, by Genentech, Inc.. (Balick,
                  Steven) (Entered: 12/09/2021)
12/13/2021 463    Joint STIPULATION of Fact Regarding Hybridoma Technology and the Number of
                  Anti−Factor IX/IXa Antibodies Disclosed In The '590 Patent. Signed by Judge Timothy Belcher
                  Anti—Factor
                  Dyk on 12/13/2021. (nmg) (Entered: 12/13/2021)
12/15/2021 464    REDACTED VERSION of 441 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 1       1
                  Regarding Literal Infringement) by Genentech, Inc.. (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 465    REDACTED VERSION of 443 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 2
                  to Preclude Improper Evidence of
                                                of Willfulness) by Genentech, Inc.. (Mayo, Andrew) (Entered:
                  12/15/2021)
12/15/2021 466 REDACTED VERSION of 444 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 3
               to Preclude Named Inventor Dr. Scheiflinger From Offering Expert Opinions) by Genentech,
               Inc.. (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 467    REDACTED VERSION of 445 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 4
                  to Preclude Baxalta From Offering Written−Description
                                                       Written—Description Testimony that Factor XX is an Obvious
                  Choice for
                          for a Second Antigen for
                                                for a Bispecific Antibody) by Genentech, Inc.. (Mayo, Andrew)
                  (Entered: 12/15/2021)
12/15/2021 468 REDACTED VERSION of 446 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 5
               to Preclude Baxalta From Presenting Arguments
                                                   Arguments and Evidence Regarding Certain Deposited
               Hybridomas) by Genentech, Inc.. (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 469    REDACTED VERSION of 447 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 6
                  to Preclude Baxalta From Offering Testimony Regarding scFv Derivatives) by Genentech, Inc..
                  (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 470    REDACTED VERSION of 448 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
                  Exclude Certain Opinions of
                                           of Baxaltas Expert Leonard Paul Freedman) by Genentech, Inc..
                  (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 471    REDACTED VERSION of 451 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
                  Exclude Certain Opinions of
                                           of Baxalta's Expert Witness Dr. Sriram Krishnaswamy) by
                  Genentech, Inc.. (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 472    REDACTED VERSION of 452 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
                  Exclude Certain Opinions of
                                           of Baxalta's Expert James E. Malackowski) by Genentech, Inc..
                  (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 473    REDACTED VERSION of 453 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
                  Exclude Certain Opinions of
                                           of Baxalta's Expert Dr. Wayne A. Marasco) by Genentech, Inc..
                  (Mayo, Andrew) (Entered: 12/15/2021)
12/15/2021 474    REDACTED VERSION of 454 Declaration of   of David E. Cole in Support of
                                                                                        of Genentech, Inc.'s
                  Motions In Limine and Daubert Motions (Volume I of
                                                                  of II) by Genentech, Inc.. (Attachments: # 1
                          1−37)(Mayo, Andrew) (Entered: 12/15/2021)
                  Exhibit 1-37)(Mayo,
12/15/2021 475    REDACTED VERSION of 456 Declaration of   of David E. Cole in Support of
                                                                                        of Genentech, Inc.'s
                  Motions In Limine and Daubert Motions (Volume II of
                                                                   of II) by Genentech, Inc.. (Attachments: # 1
                          38−57)(Mayo, Andrew) (Entered: 12/15/2021)
                  Exhibit 38-57)(Mayo,


                                              Appx233
                                              Appx233
                  Case: 22-1461         Document: 25         Page: 221       Filed: 11/04/2022

12/15/2021 476 REDACTED VERSION of 438 MOTION in Limine to Exclude Evidence of               of Post—Priority
                                                                                                Post−Priority
               Development Efforts by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2
               Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8,
               # 9 Text of Proposed Order)(Dudash, Amy) (Entered: 12/15/2021)
12/15/2021 477 REDACTED VERSION of 439 MOTION in Limine No. 2 to Exclude John P. Sheehan, M.D.
               and William R. Strohl Reliance on Confidential Documentsfor  for Written Description, Enablement
               and Indefiniteness by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2
               Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Text of Proposed Order)(Dudash, Amy) (Entered:
               12/15/2021)
12/15/2021 478 REDACTED VERSION of 440 MOTION in Limine No. 3 to Exclude Certain Evidence of             of
               Japanese Proceedings Concerning the Japanese Counterpart of    of the Patent—in—Suit
                                                                                     Patent−in−Suit by Baxalta
               GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4
               Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7 Exhibit G, # 8 Exhibit H, # 9 Text of Proposed
               Order)(Dudash, Amy) (Entered: 12/15/2021)
12/15/2021 479 REDACTED VERSION of 442 MOTION in Limine No. 4 to Exclude Any Genentech, Chugai,
               and Roche Patents Relating to Hemlibra by Baxalta GmbH, Baxalta Incorporated. (Attachments:
               # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Text of Proposed Order)(Dudash, Amy) (Entered:
               12/15/2021)
12/15/2021 480 REDACTED VERSION of 449 MOTION in Limine No. 5 to Preclude Genentech from        from
               Introducing Evidence or Testimony Relating to Antibodies Falling Outside the Scope of
                                                                                                   of the
               Claims to Support Its Written Description Defense by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Text of Proposed Order)(Dudash, Amy) (Entered:
               12/15/2021)
12/15/2021 481 REDACTED VERSION of 457 MOTION in Limine No. 7 to Preclude Genentech from       from Relying
               on the Court's Claim Construction Order to Refute Willfulness by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Exhibit 1, # 2 Text of Proposed Order)(Dudash, Amy) (Entered:
               12/15/2021)
12/15/2021 482 REDACTED VERSION of 458 MOTION to Exclude Certain Opinions and Testimony of Drs.
               Steven Schwartz and Guy Young by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
               Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7,
               # 8 Text of Proposed Order)(Dudash, Amy) (Entered: 12/15/2021)
12/15/2021 483 REDACTED VERSION of 459 MOTION to Exclude Certain Opinions and Testimony of Dr.
               Richard Manning by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2
               Exhibit 2, # 3 Text of Proposed Order)(Dudash, Amy) (Entered: 12/15/2021)
12/15/2021 484 REDACTED VERSION of 460 MOTION to Exclude Opinions and Testimony of Dr. Dougald
               M. Monroe, III by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit A, # 2
               Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Text of Proposed Order)(Dudash,
               Amy) (Entered: 12/15/2021)
12/16/2021 485 [SEALED] ANSWERING BRIEF in Opposition re 441 MOTION in Limine (Genentech, Inc.'s
               Motion In Limine No. 11 Regarding Literal Infringement) filed by Baxalta GmbH, Baxalta
               Incorporated.Reply Brief due date per Local Rules is 12/27/2021. (Attachments: # 1 Exhibit 1, #
               2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Certificate of Service)(Dudash, Amy) (Entered:
               12/16/2021)
12/16/2021 486 [SEALED] ANSWERING BRIEF in Opposition re 443 MOTION in Limine (Genentech, Inc.'s
               Motion In Limine No. 2 to Preclude Improper Evidence of    of Willfulness) filed by Baxalta GmbH,
               Baxalta Incorporated.Reply Brief due date per Local Rules is 12/27/2021. (Attachments: # 1
               Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Certificate of
               Service)(Dudash, Amy) (Entered: 12/16/2021)
12/16/2021 487 [SEALED] ANSWERING BRIEF in Opposition re 444 MOTION in Limine (Genentech, Inc.'s
               Motion In Limine No. 3 to Preclude Named Inventor Dr. Scheiflinger From Offering Expert
               Opinions) filed by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is
               12/27/2021. (Attachments: # 1 Certificate of Service)(Dudash, Amy) (Entered: 12/16/2021)
12/16/2021 488 [SEALED] ANSWERING BRIEF in Opposition re 445 MOTION in Limine (Genentech, Inc.'s
               Motion In Limine No. 4 to Preclude Baxalta From Offering Written−Description
                                                                           Written—Description Testimony that
                      X is an Obvious Choice for
               Factor X                       for a Second Antigen for
                                                                    for a Bispecific Antibody) filed by Baxalta
               GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is 12/27/2021. (Attachments:

                                                    Appx2344
                                                    Appx23
             Case: 22-1461          Document: 25        Page: 222       Filed: 11/04/2022

                   # 1 Certificate of Service)(Dudash, Amy) (Entered: 12/16/2021)
12/16/2021 489 [SEALED] ANSWERING BRIEF in Opposition re 438 MOTION in Limine to Exclude
                        of Post—Priority
               Evidence of Post−Priority Development Efforts filed by Genentech, Inc..Reply Brief due date
               per Local Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 490 [SEALED] ANSWERING BRIEF in Opposition re 439 MOTION in Limine No. 2 to Exclude
               John P. Sheehan, M.D. and William
                                           William R. Strohl Reliance on Confidential Documentsfor
                                                                                                 for Written
               Description, Enablement and Indefiniteness filed by Genentech, Inc..Reply Brief due date per
               Local Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 491 [SEALED] ANSWERING BRIEF in Opposition re 440 MOTION in Limine No. 3 to Exclude
               Certain Evidence ofof Japanese Proceedings Concerning the Japanese Counterpart of  of the
               Patent−in−Suit
               Patent— in— Suit filed by Genentech, Inc..Reply Brief due date per Local Rules is 12/27/2021.
               (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 492 [SEALED] ANSWERING BRIEF in Opposition re 446 MOTION in Limine (Genentech, Inc.'s
               Motion In Limine No. 5 to Preclude Baxalta From Presenting Arguments and Evidence
               Regarding Certain Deposited Hybridomas) filed by Baxalta GmbH, Baxalta Incorporated.Reply
               Brief due date per Local Rules is 12/27/2021. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3
               Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9,
               # 10 Exhibit 10, # 11 Certificate of Service)(Dudash, Amy) (Entered: 12/16/2021)
12/16/2021 493 [SEALED] ANSWERING BRIEF in Opposition re 442 MOTION in Limine No. 4 to Exclude
               Any Genentech, Chugai, and Roche Patents Relating to Hemlibra filed by Genentech, Inc..Reply
               Brief due date per Local Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 494 [SEALED] ANSWERING BRIEF in Opposition re 449 MOTION in Limine No. 5 to Preclude
               Genentech from
                           from Introducing Evidence or Testimony Relating to Antibodies Falling Outside the
                      of the Claims to Support Its Written Description Defense filed by Genentech, Inc..Reply
               Scope of
               Brief due date per Local Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 495 [SEALED] ANSWERING BRIEF in Opposition re 447 MOTION in Limine (Genentech, Inc.'s
               Motion In Limine No. 6 to Preclude Baxalta From Offering Testimony Regarding scFv   scFv
               Derivatives) filed by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules
               is 12/27/2021. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Certificate of
               Service)(Dudash, Amy) (Entered: 12/16/2021)
12/16/2021 496 ANSWERING BRIEF in Opposition re 455 MOTION in Limine No. 6 to Exclude References to
                                   for a Preliminary Injunction and Certain Related Materials filed by
               Plaintiffs' Motion for
               Genentech, Inc..Reply Brief due date per Local Rules is 12/27/2021. (Balick, Steven) (Entered:
               12/16/2021)
12/16/2021 497 [SEALED] ANSWERING BRIEF in Opposition re 457 MOTION in Limine No. 7 to Preclude
               Genentech from
                          from Relying on the Court's Claim Construction Order to Refute Willfulness filed by
               Genentech, Inc..Reply Brief due date per Local Rules is 12/27/2021. (Balick, Steven) (Entered:
               12/16/2021)
12/16/2021 498 [SEALED] ANSWERING BRIEF in Opposition re 448 MOTION to Preclude (Genentech, Inc.'s
               Daubert Motion to Exclude Certain Opinions of  of Baxaltas Expert Leonard Paul Freedman) filed
               by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is 12/27/2021.
               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Certificate of Service)(Dudash,
               Amy) (Entered: 12/16/2021)
12/16/2021 499 [SEALED] ANSWERING BRIEF in Opposition re 458 MOTION to Exclude Certain Opinions
               and Testimony of Drs. Steven Schwartz and Guy Young filed by Genentech, Inc..Reply Brief
               due date per Local Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 500 [SEALED] ANSWERING BRIEF in Opposition re 450 MOTION to Preclude (Genentech, Inc.'s
               Daubert Motion to Exclude the Opinions of of Baxalta's Expert Witness Dr. Jeffrey J. Gray and
               Related Opinions of
                                 of Baxalta's Expert Witness Dr. Wayne A. Marasco) filed by Baxalta GmbH,
               Baxalta Incorporated.Reply Brief due date per Local Rules is 12/27/2021. (Attachments: # 1
               Exhibit 1, # 2 Certificate of Service)(Dudash, Amy) (Entered: 12/16/2021)
12/16/2021 501 [SEALED] ANSWERING BRIEF in Opposition re 459 MOTION to Exclude Certain Opinions
               and Testimony of Dr. Richard Manning filed by Genentech, Inc..Reply Brief due date per Local
               Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)


                                               Appx2355
                                               Appx23
             Case: 22-1461         Document: 25        Page: 223        Filed: 11/04/2022

12/16/2021 502 [SEALED] ANSWERING BRIEF in Opposition re 460 MOTION to Exclude Opinions and
               Testimony of Dr. Dougald M. Monroe, III filed by Genentech, Inc..Reply Brief due date per
               Local Rules is 12/27/2021. (Balick, Steven) (Entered: 12/16/2021)
12/16/2021 503 [SEALED] DECLARATION of      of Naz Wehrli in Support of
                                                                     of Genentech, Inc.'s Oppositions to
               Baxalta's Motions In Limine and Daubert Motions by Genentech, Inc.. (Attachments: # 1
                       1−28)(Balick, Steven) (Entered: 12/16/2021)
               Exhibit 1-28)(Balick,
12/16/2021 504 [SEALED] ANSWERING BRIEF in Opposition re 451 MOTION to Preclude (Genentech, Inc.'s
               Daubert Motion to Exclude Certain Opinions of   of Baxalta's Expert Witness Dr. Sriram
               Krishnaswamy) filed by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local
               Rules is 12/27/2021. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5
               Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Certificate of Service)(Dudash, Amy)
               (Entered: 12/16/2021)
12/16/2021 505 [SEALED] ANSWERING BRIEF in Opposition re 452 MOTION to Preclude (Genentech, Inc.'s
               Daubert Motion to Exclude Certain Opinions of  of Baxalta's Expert James E. Malackowski) filed
               by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is 12/27/2021.
               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Certificate of Service)(Dudash, Amy) (Entered:
               12/16/2021)
12/16/2021 506 [SEALED] ANSWERING BRIEF in Opposition re 453 MOTION to Preclude (Genentech, Inc.'s
               Daubert Motion to Exclude Certain Opinions of  of Baxalta's Expert Dr. Wayne A. Marasco) filed
               by Baxalta GmbH, Baxalta Incorporated.Reply Brief due date per Local Rules is 12/27/2021.
               (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Certificate of Service)(Dudash,
               Amy) (Entered: 12/16/2021)
12/23/2021 507 [SEALED] Joint MOTION to Postpone Jury Trial −     — filed by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 508 [SEALED] REPLY BRIEF re 441 MOTION in Limine (Genentech, Inc.'s Motion In Limine No.
               1 Regarding Literal Infringement) filed by Genentech, Inc.. (Attachments: # 1 Exhibit
               1
               A−B)(Mayo, Andrew) (Entered: 12/23/2021)
               A—B)(Mayo,
12/23/2021 509 [SEALED] REPLY BRIEF re 443 MOTION in Limine (Genentech, Inc.'s Motion In Limine No.
               2 to Preclude Improper Evidence of
                                               of Willfulness) filed by Genentech, Inc.. (Attachments: # 1
               Exhibit A)(Mayo, Andrew) (Entered: 12/23/2021)
12/23/2021 510 [SEALED] REPLY BRIEF re 444 MOTION in Limine (Genentech, Inc.'s Motion In Limine No.
               3 to Preclude Named Inventor Dr. Scheiflinger From Offering Expert Opinions) filed by
               Genentech, Inc.. (Attachments: # 1 Exhibit A)(Mayo, Andrew) (Entered: 12/23/2021)
12/23/2021 511    REPLY BRIEF re 445 MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 4 to
                  Preclude Baxalta From Offering Written−Description
                                                     Written—Description Testimony that Factor X X is an Obvious
                  Choice for
                          for a Second Antigen for
                                                for a Bispecific Antibody) filed by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/23/2021)
12/23/2021 512 [SEALED] REPLY BRIEF re 446 MOTION in Limine (Genentech, Inc.'s Motion In Limine No.
               5 to Preclude Baxalta From Presenting Arguments and Evidence Regarding Certain Deposited
                                                                               A−D)(Mayo, Andrew)
               Hybridomas) filed by Genentech, Inc.. (Attachments: # 1 Exhibit A—D)(Mayo,
               (Entered: 12/23/2021)
12/23/2021 513 [SEALED] REPLY BRIEF re 447 MOTION in Limine (Genentech, Inc.'s Motion In Limine No.
               6 to Preclude Baxalta From Offering Testimony Regarding scFv
                                                                       scFv Derivatives) filed by
                                                          A−C)(Mayo, Andrew) (Entered: 12/23/2021)
               Genentech, Inc.. (Attachments: # 1 Exhibit A—C)(Mayo,
12/23/2021 514 [SEALED] REPLY BRIEF re 448 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
               Exclude Certain Opinions of
                                        of Baxaltas Expert Leonard Paul Freedman) filed by Genentech, Inc..
               (Mayo, Andrew) (Entered: 12/23/2021)
12/23/2021 515 [SEALED] REPLY BRIEF re 450 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
               Exclude the Opinions of
                                    of Baxalta's Expert Witness Dr. Jeffrey J. Gray and Related Opinions of
                                                                                                         of
               Baxalta's Expert Witness Dr. Wayne A.
                                                   A. Marasco) filed by Genentech, Inc.. (Mayo, Andrew)
               (Entered: 12/23/2021)
12/23/2021 516 [SEALED] REPLY BRIEF re 451 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
               Exclude Certain Opinions of
                                        of Baxalta's Expert Witness Dr. Sriram Krishnaswamy) filed by
                                                          A−B)(Mayo, Andrew) (Entered: 12/23/2021)
               Genentech, Inc.. (Attachments: # 1 Exhibit A—B)(Mayo,

                                              Appx236
                                              Appx236
             Case: 22-1461         Document: 25        Page: 224      Filed: 11/04/2022

12/23/2021 517 [SEALED] REPLY BRIEF re 452 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
               Exclude Certain Opinions of
                                        of Baxalta's Expert James E. Malackowski) filed by Genentech, Inc..
               (Mayo, Andrew) (Entered: 12/23/2021)
12/23/2021 518 [SEALED] REPLY BRIEF re 453 MOTION to Preclude (Genentech, Inc.'s Daubert Motion to
               Exclude Certain Opinions of
                                         of Baxalta's Expert Dr. Wayne A. Marasco) filed by Genentech, Inc..
               (Attachments: # 1 Exhibit A)(Mayo, Andrew) (Entered: 12/23/2021)
12/23/2021 519 [SEALED] REPLY BRIEF re 438 MOTION in Limine to Exclude Evidence of      of Post—
                                                                                           Post−Priority
                                                                                                 Priority
               Development Efforts filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
               Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 520 [SEALED] REPLY BRIEF re 439 MOTION in Limine No. 2 to Exclude John P. Sheehan, M.D.
               and William R. Strohl Reliance on Confidential Documents for
                                                                         for Written Description, Enablement
               and Indefiniteness filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, #
               2 Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 521    REPLY BRIEF re 440 MOTION in Limine No. 3 to Exclude Certain Evidence of     of Japanese
                  Proceedings Concerning the Japanese Counterpart of
                                                                  of the Patent—
                                                                         Patent−in−Suit
                                                                                 in— Suit filed by Baxalta
                  GmbH, Baxalta Incorporated. (Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 522 [SEALED] REPLY BRIEF re 442 MOTION in Limine No. 4 to Exclude Any Genentech,
               Chugai, and Roche Patents Relating to Hemlibra filed by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 523 [SEALED] REPLY BRIEF re 449 MOTION in Limine No. 5 to Preclude Genentech from        from
               Introducing Evidence or Testimony Relating to Antibodies
                                                               Antibodies Falling Outside the Scope of
                                                                                                    of the
               Claims to Support Its Written Description Defense filed by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 524 [SEALED] REPLY BRIEF re 455 MOTION in Limine No. 6 to Exclude References to
                                   for a Preliminary Injunction and Certain Related Materials filed by Baxalta
               Plaintiffs' Motion for
               GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, # 2 Certificate of Service)(Dudash,
               Amy) (Entered: 12/23/2021)
12/23/2021 525    REPLY BRIEF re 457 MOTION in Limine No. 7 to Preclude Genentech from    from Relying on the
                  Court's Claim Construction Order to Refute Willfulness filed by Baxalta GmbH, Baxalta
                  Incorporated. (Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 526 [SEALED] REPLY BRIEF re 458 MOTION to Exclude Certain Opinions and Testimony of
               Drs. Steven Schwartz and Guy Young filed by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 527 [SEALED] REPLY BRIEF re 459 MOTION to Exclude Certain Opinions and Testimony of Dr.
               Richard Manning filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Exhibit 1, #
               2 Certificate of Service)(Dudash, Amy) (Entered: 12/23/2021)
12/23/2021 528 [SEALED] REPLY BRIEF re 460 MOTION to Exclude Opinions and Testimony of Dr.
               Dougald M. Monroe, III filed by Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1
               Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Certificate of Service)(Dudash, Amy)
               (Entered: 12/23/2021)
12/23/2021        ORAL ORDER granting 507 the parties Joint Motion to Postpone Trial. The Pretrial Conference
                  scheduled for January 19, 2022, and the Trial scheduled for January 24, 2022, are hereby
                  postponed. Ordered by Judge Timothy B. Dyk on 12/23/2021. (smg) (Entered: 12/27/2021)
12/27/2021 529    REDACTED VERSION of 489 Answering Brief in Opposition by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 530    REDACTED VERSION of 490 Answering Brief in Opposition, by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 531    REDACTED VERSION of 491 Answering Brief in Opposition, by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 532    REDACTED VERSION of 493 Answering Brief in Opposition, by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)


                                              Appx237
                                              Appx237
             Case: 22-1461         Document: 25         Page: 225        Filed: 11/04/2022

12/27/2021 533    REDACTED VERSION of 494 Answering Brief in Opposition, by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 534    REDACTED VERSION of 497 Answering Brief in Opposition, by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 535    REDACTED VERSION of 499 Answering Brief in Opposition, by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 536 REDACTED VERSION of 501 Answering Brief in Opposition by Genentech, Inc.. (Mayo,
               Andrew) (Entered: 12/27/2021)
12/27/2021 537    REDACTED VERSION of 502 Answering Brief in Opposition by Genentech, Inc.. (Mayo,
                  Andrew) (Entered: 12/27/2021)
12/27/2021 538 REDACTED VERSION of 503 Declaration of   of Naz Wehrli by Genentech, Inc.. (Attachments: #
               1 Exhibit 1-28)(Mayo,
                         1−28)(Mayo, Andrew) (Entered: 12/27/2021)
12/27/2021 539    REDACTED VERSION of 485 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4)(Dudash,
                  Amy) (Entered: 12/27/2021)
12/27/2021 540    REDACTED VERSION of 486 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                  5)(Dudash, Amy) (Entered: 12/27/2021)
12/27/2021 541    REDACTED VERSION of 487 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Dudash, Amy) (Entered: 12/27/2021)
12/27/2021 542    REDACTED VERSION of 488 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Dudash, Amy) (Entered: 12/27/2021)
12/27/2021 543    REDACTED VERSION of 492 Answering Brief in Opposition„ Opposition,, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                  5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8, # 9 Exhibit 9, # 10 Exhibit 10)(Dudash, Amy)
                  (Entered: 12/27/2021)
12/27/2021 544    REDACTED VERSION of 495 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Dudash, Amy) (Entered:
                  12/27/2021)
12/27/2021 545    REDACTED VERSION of 498 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Dudash, Amy) (Entered:
                  12/27/2021)
12/27/2021 546 REDACTED VERSION of 500 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Exhibit 1)(Dudash, Amy) (Entered: 12/27/2021)
12/27/2021 547    REDACTED VERSION of 504 Answering Brief in Opposition„
                                                                       Opposition,, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit
                  5, # 6 Exhibit 6, # 7 Exhibit 7, # 8 Exhibit 8)(Dudash, Amy) (Entered: 12/27/2021)
12/27/2021 548 REDACTED VERSION of 505 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2)(Dudash, Amy) (Entered: 12/27/2021)
12/27/2021 549    REDACTED VERSION of 506 Answering Brief in Opposition, by Baxalta GmbH, Baxalta
                  Incorporated. (Attachments: # 1 Exhibit 1, # 2 Exhibit 2, # 3 Exhibit 3)(Dudash, Amy) (Entered:
                  12/27/2021)
01/03/2022 550    REDACTED VERSION of 508 Reply Brief by Genentech, Inc.. (Mayo, Andrew) (Entered:
                  01/03/2022)
01/03/2022 551    REDACTED VERSION of 509 Reply Brief by Genentech, Inc.. (Mayo, Andrew) (Entered:
                  01/03/2022)
01/03/2022 552    REDACTED VERSION of 510 Reply Brief, by Genentech, Inc.. (Mayo, Andrew) (Entered:
                  01/03/2022)
01/03/2022 553    REDACTED VERSION of 512 Reply Brief, by Genentech, Inc.. (Mayo, Andrew) (Entered:
                  01/03/2022)

                                              Appx238
                                              Appx23 8
             Case: 22-1461         Document: 25         Page: 226       Filed: 11/04/2022

01/03/2022 554 REDACTED VERSION of 513 Reply Brief, by Genentech, Inc.. (Mayo, Andrew) (Entered:
               01/03/2022)
01/03/2022 555 REDACTED VERSION of 514 Reply Brief by Genentech, Inc.. (Mayo, Andrew) (Entered:
               01/03/2022)
01/03/2022 556 REDACTED VERSION of 515 Reply Brief, by Genentech, Inc.. (Mayo, Andrew) (Entered:
               01/03/2022)
01/03/2022 557 REDACTED VERSION of 516 Reply Brief, by Genentech, Inc.. (Mayo, Andrew) (Entered:
               01/03/2022)
01/03/2022 558 REDACTED VERSION of 517 Reply Brief by Genentech, Inc.. (Mayo, Andrew) (Entered:
               01/03/2022)
01/03/2022 559 REDACTED VERSION of 518 Reply Brief, by Genentech, Inc.. (Mayo, Andrew) (Entered:
               01/03/2022)
01/03/2022 560 [SEALED] MEMORANDUM in Support re 519 Reply Brief [CORRECTED [CORRECTED D.I. 519, Reply in
                       of Baxalta's Motion in Limine No. 1
               Support of                                 1 to Exclude Evidence of
                                                                                of Post—Priority
                                                                                   Post−Priority Date
               Development Efforts] filed by Baxalta GmbH, Baxalta Incorporated.Answering Brief/Response
               due date per Local Rules is 1/18/2022. (Attachments: # 1 Exhibit A, # 2 Certificate of
               Service)(Dudash, Amy) (Entered: 01/03/2022)
01/03/2022 561 [SEALED] EXHIBIT re 528 Reply Brief, [Corrected
                                                        [Corrected Exhibit A to Baxalta's Reply in Support of
                                                                                                           of
               Its Motion to Exclude Certain Opinions and Testimony of
                                                                    of Dr. Douglad M. Monroe, III] by
               Baxalta GmbH, Baxalta Incorporated. (Attachments: # 1 Certificate of Service)(Dudash, Amy)
               (Entered: 01/03/2022)
01/03/2022 562 REQUEST for Oral Argument by Genentech, Inc. re 450 MOTION to Preclude (Genentech,
               Inc.'s Daubert Motion to Exclude the Opinions of of Baxalta's Expert Witness Dr. Jeffrey J. Gray
               and Related Opinions of of Baxalta's Expert Witness Dr. Wayne A. Marasco), 442 MOTION in
               Limine No. 4 to Exclude Any Genentech, Chugai, and Roche Patents Relating to Hemlibra, 446
               MOTION in Limine (Genentech, Inc.'s Motion In Limine No. 5 to Preclude Baxalta From
               Presenting Arguments and Evidence Regarding Certain Deposited Hybridomas), 441 MOTION
               in Limine (Genentech, Inc.'s Motion In Limine No. 1   1 Regarding Literal Infringement), 440
               MOTION in Limine No. 3 to Exclude Certain Evidence of       of Japanese Proceedings Concerning
               the Japanese Counterpart of of the Patent—in—Suit,
                                                  Patent−in−Suit, 451 MOTION to Preclude (Genentech, Inc.'s
               Daubert Motion to Exclude Certain Opinions of   of Baxalta's Expert Witness Dr. Sriram
               Krishnaswamy), 458 MOTION to Exclude Certain Opinions and Testimony of Drs. Steven
               Schwartz and Guy Young , 455 MOTION in Limine No. 6 to Exclude References to Plaintiffs'
                        for a Preliminary Injunction and Certain Related Materials, 447 MOTION in Limine
               Motion for
               (Genentech, Inc.'s Motion In Limine No. 6 to Preclude Baxalta From Offering Testimony
               Regarding scFv Derivatives), 445 MOTION in Limine (Genentech, Inc.'s Motion In Limine No.
               4 to Preclude Baxalta From Offering Written−Description
                                                       Written—Description Testimony that Factor X     X is an
               Obvious Choice forfor a Second Antigen for
                                                       for a Bispecific Antibody),
                                                                        Antibody), 443 MOTION in Limine
               (Genentech, Inc.'s Motion In Limine No. 2 to Preclude Improper Evidence of      of Willfulness), 448
               MOTION to Preclude (Genentech, Inc.'s Daubert Motion to Exclude Certain Opinions of           of
               Baxaltas Expert Leonard Paul Freedman), 460 MOTION to Exclude Opinions and Testimony
               of Dr. Dougald M. Monroe, III , 444 MOTION in Limine (Genentech, Inc.'s Motion In Limine
               No. 3 to Preclude Named Inventor Dr. Scheiflinger From Offering Expert Opinions), 457
               MOTION in Limine No. 7 to Preclude Genentech from    from Relying on the Court's Claim
               Construction Order to Refute Willfulness, 453 MOTION to Preclude (Genentech, Inc.'s Daubert
               Motion to Exclude Certain Opinions of  of Baxalta's Expert Dr. Wayne A. Marasco), 459 MOTION
               to Exclude Certain Opinions and Testimony of Dr. Richard Manning , 452 MOTION to Preclude
               (Genentech, Inc.'s Daubert Motion to Exclude Certain Opinions of      of Baxalta's Expert James E.
               Malackowski), 438 MOTION in Limine to Exclude Evidence of
               MalackowskO,                                                      of Post—
                                                                                    Post−Priority
                                                                                          Priority Development
               Efforts, 439 MOTION in Limine No. 2 to Exclude John P. Sheehan, M.D. and William R. Strohl
               Reliance on Confidential Documentsfor  for Written Description, Enablement and Indefiniteness,
               449 MOTION in Limine No. 5 to Preclude Genentech from     from Introducing Evidence or Testimony
               Relating to Antibodies Falling Outside the Scope of of the Claims to Support Its Written
               Description Defense. (Mayo, Andrew) (Entered: 01/03/2022)
01/04/2022 563 REDACTED VERSION of 520 Reply Brief, by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Exhibit 1)(Dudash, Amy) (Entered: 01/04/2022)


                                               Appx239
                                               Appx239
             Case: 22-1461        Document: 25        Page: 227       Filed: 11/04/2022

01/04/2022 564 REDACTED VERSION of 522 Reply Brief, by Baxalta GmbH, Baxalta Incorporated. (Dudash,
               Amy) (Entered: 01/04/2022)
01/04/2022 565 REDACTED VERSION of 523 Reply Brief, by Baxalta GmbH, Baxalta Incorporated. (Dudash,
               Amy) (Entered: 01/04/2022)
01/04/2022 566 REDACTED VERSION of 524 Reply Brief, by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Exhibit 1)(Dudash, Amy) (Entered: 01/04/2022)
01/04/2022 567 REDACTED VERSION of 526 Reply Brief by Baxalta GmbH, Baxalta Incorporated. (Dudash,
               Amy) (Entered: 01/04/2022)
01/04/2022 568 REDACTED VERSION of 527 Reply Brief by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Exhibit 1)(Dudash, Amy) (Entered: 01/04/2022)
01/04/2022 569 REDACTED VERSION of 528 Reply Brief, by Baxalta GmbH, Baxalta Incorporated.
               (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C, # 4 Exhibit D)(Dudash, Amy)
               (Entered: 01/04/2022)
01/04/2022 570 REDACTED VERSION of 560 MEMORANDUM in Support, by Baxalta GmbH, Baxalta
               Incorporated. (Attachments: # 1 Exhibit A)(Dudash, Amy) (Entered: 01/04/2022)
01/05/2022 571 ORDER denying 435 Motion to Seal. (See Order for further details). Signed by Judge Timothy
               Belcher Dyk on 01/05/2022. (smg) (Entered: 01/06/2022)
01/12/2022 572 NOTICE requesting Clerk to remove Alexander F. Atkins as co—counsel..
                                                                        co−counsel.. (Mayo, Andrew)
               (Entered: 01/12/2022)
01/13/2022 573 [UNSEALED] MEMORANDUM OPINION. Signed by Judge Timothy Belcher Dyk on
               1/13/2022.This order has been emailed to local counsel. (myr) (Entered: 01/13/2022)
01/13/2022 574 ORDER granting 407 Genentech Inc.'s Motion for Summary Judgment. See the accompanying
               Memorandum Opinion for additional details. The parties shall meet and confer and propose any
               redactions to the Memorandum Opinion on or before January 18, 2022. Signed by Judge
               Timothy Belcher Dyk on 1/13/2022. (myr) (Entered: 01/13/2022)
01/13/2022 575 ORAL ORDER. In light of the court's 574 Order granting Genentech Inc.'s Motion for Summary
                                                  pre−trial motions, ECF Nos. 438-453,
               Judgment, the parties' outstanding pre—trial                   438−453, 455, 457-460,
                                                                                            457−460, are
               hereby denied as moot. Entered by Judge Timothy Belcher Dyk on 1/13/2022. (nmg) (Entered:
               01/13/2022)
01/18/2022 576 Letter to The Honorable Timothy B. Dyk from Steven J. Balick regarding the Parties' Joint
               Position Concerning Redaction of the Court's January 13, 2022 Memorandum Opinion (D.I
               573). (Balick, Steven) (Entered: 01/18/2022)
01/19/2022 577 ORAL ORDER: In light of 576 the parties' January 18, 2022, Letter informing the court that
               they have not requested redactions to the January 13, 2022, Memorandum Opinion, the clerk is
               hereby directed to unseal the Memorandum Opinion 573 in its entirety. Signed by Judge
               Timothy Belcher Dyk on 1/19/2022. (myr) (Entered: 01/19/2022)
01/19/2022        Remark: D.I. 573 Memorandum Opinion UNSEALED per Oral Order D.I. 577 (myr) (Entered:
                  01/19/2022)
02/08/2022 578 NOTICE OF APPEAL to the Federal Circuit of 574 Order on Motion for Summary Judgment,
               573 Memorandum Opinion . Appeal filed by Baxalta GmbH, Baxalta Incorporated. (Dudash,
               Amy) (Entered: 02/08/2022)
02/08/2022        APPEAL −  — Credit Card Payment of $505.00 received re 578 Notice of Appeal (Federal Circuit)
                  filed by Baxalta GmbH, Baxalta Incorporated. ( Filing fee $505, receipt number
                  ADEDC−3798835.) (Dudash, Amy) (Entered: 02/08/2022)
                  ADEDC-3798835.)
02/09/2022        Notice of Appeal and Docket Sheet to US Court of Appeals for the Federal Circuit re 578 Notice
                  of Appeal (Federal Circuit). (srs) (Entered: 02/09/2022)
02/10/2022 579 NOTICE of Docketing Record on Appeal from USCA for the Federal Circuit re 578 Notice of
               Appeal (Federal Circuit) filed by Baxalta GmbH and Baxalta Incorporated. USCA Case Number
               22−1461. (nmg) (Entered: 02/10/2022)
               22-1461.
02/24/2022 580 TRANSCRIPT REQUEST by Baxalta GmbH, Baxalta Incorporated TRANSCRIPT IS
               ALREADY ON FILE (Dudash, Amy) (Entered: 02/24/2022)
                                             Appx240
                                             Appx240
             Case: 22-1461       Document: 25        Page: 228        Filed: 11/04/2022

03/31/2022      CASE NO LONGER REFERRED to Chief Magistrate Judge Thynge for the purpose of
                                                                              2022−2, dated March 14, 2022,
                exploring ADR. Pursuant to the Court's Standing Order No. 2022-2,
                "[u]nless otherwise directed by the Court, Magistrate Judges will no longer engage in alternative
                dispute resolution of patent and securities cases." See also 28 U.S.C. § 652(b). (Taylor, Daniel)
                (Entered: 03/31/2022)




                                            Appx2411
                                            Appx24
      Case: 22-1461            Document: 25         Page: 229        Filed: 11/04/2022

                                                                PageID #: 1
  Case 1:17-cv-00509-GMS Document 1 Filed 05/04/17 Page 1 of 12 PagelD




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE




BAXALTA INCORPORATED, a Delaware
corporation; and BAXALTA GMBH, a Swiss
company,

                               Plaintiffs,

     v.

GENENTECH, INC., a Delaware corporation; and                C.A. No.
CHUGAI PHARMACEUTICAL CO., LTD., a
Japanese company,                                           JURY TRIAL DEMANDED


                               Defendants.



                  COMPLAINT FOR PATENT INFRINGEMENT AND
               DECLARATORY JUDGMENT OF PATENT INFRINGEMENT

           Baxalta Incorporated and Baxalta GmbH (collectively, "Baxalta"), by its attorneys,

alleges as follows for its Complaint for Patent Infringement and Declaratory Judgment of Patent

Infringement against Genentech, Inc. ("Genentech") and Chugai Pharmaceutical Co., Ltd.

("Chugai") (collectively, "Defendants"):

                                 NATURE OF THE ACTION

          1.    This is an action for patent infringement and for a declaratory judgment of patent

infringement of United States Patent No. 7,033,590. This action arises out of Defendants'

current and/or imminent manufacture, use, sale, offer to sell within the United States, and/or

importation into the United States of Defendants' humanized bispecific antibody that binds

Factor IX/IXa and Factor X to treat hemophilia A. Defendants developed this antibody under the

name "emicizumab." Emicizumab is also known as ACE910.




                                             Appx242
                                             Appx242
              Case: 22-1461              Document: 25             Page: 230          Filed: 11/04/2022

                                                                  PageID #: 153
Case 1:17-cv-00509-GMS Document 1-5 Filed 05/04/17 Page 7 of 2235 PagelD

billion (US $2.413 billion) annually from 2012 and cost CHF 2.7 billion (US $2.715 billion).

In March 2010, Roche planned to strengthen its position in oncology and expand its metabolism, inflammation and
central nervous system disease therapeutic areas.

In February 2007, Roche introduced a new operating model for its global R&D activities, organized around Disease
Biology Areas (DBAs). Roche expected to increase its R&D staff numbers and $4.8 billion budget in 2007. The DBAs
would be divided into oncology, virology, inflammation, metabolism and central nervous system, with leadership teams
located in Basel, Switzerland, Nutley, NJ and Palo Alto, CA. The teams would manage compounds from drug discovery
through to medical proof-of-concept, and to the market. Therapeutic protein research would also be stepped up at the
company's Penzberg, Germany site, and R&D activities at its site in Shanghai, China, would be expanded. This new
model was implemented in July 2007.

In October 2002, Roche acquired a majority ownership of Chugai Pharmaceutical following Chugai's merger with
Roche's subsidiary, Nippon Roche, with Chugai as the surviving company.

In September 1990, Roche acquired a majority interest in Genentech.

COMPANY LOCATION

In November 2015, the company planned to exit four manufacturing sites in Clarecastle, Ireland; Leganes, Spain;
Segrate, Italy; and Florence, US, to restructure its manufacturing network for small molecules which are produced in
lower volumes than traditional medicines and require novel manufacturing technologies. In an effort to minimise job
reductions, the company was actively looking into divestment opportunities for these facilities. Also, Roche planned to
invest CHF 300 million (US $298.510 million) to strengthen development and launch capabilities for specialised
medicines at Kaiseraugst, Switzerland.

In October 2014, Roche planned to invest CHF 3 billion (US $3.17 billion) over the next 10 years in its Basel site for the
construction of a new R&D centre which was scheduled for completion by end of 2018, a new office building which was
expected to be ready for occupation by 2021, in upgrading the infrastructure and to renovate the historic Salvisberg
building.

In December 2012, Roche planned to invest over CHF 240 million (US $258 million) in its Penzberg biotechnology
center near Munich, Germany, to construct a new three-structured, 26,000-square metered production facility, to be
known as Diagnostics Operations Complex II (DOCII). The facility was scheduled to be operational in December 2014.

In September 2012, Roche planned to establish a Translational Clinical Research Center (TCRC) at the Alexandria
Center for Life Science in New York, NY. Roche agreed an 11-year lease and was to relocate its TCRC team to the
facility in the fourth quarter of 2013. In October 2013, the TCRC was opened, with 250 staff are to move in on January
02, 2014.

In July 2012, it was announced that Roche would employ an additional 1000 people in China during the following year.

In September 2011, Roche opened a clinical supply manufacturing facility at its site in Nutley, NJ.

In August 2011, the company's subsidiary, Roche Canada, was to invest CAD $190 million (US $193.3 million) over five
years in a global development site in Mississauga, Ontario, Canada.

In June 2011, Roche launched a new R&D Institute in France focused on collaborative translational research and
medicine.

In May 2009, Roche opened a Joint Science & Technology Laboratory in Basel, Switzerland, to investigate in vitro
hepatic and cardiac toxicities in vitro using Roche Diagnostics' cell analysis technology.

In January 2009, the company began construction of a new R&D building in Basel, Switzerland, which would cost CHF
250 million (US $219 million). The facility would conduct work on solid and liquid dosage forms for new active
substances and supply investigational drugs for global clinical trials.

In November 2008, Roche planned to investigate alternatives to its planned high-rise development in Basel, Switzerland.

In April 2007, Roche planned to build a new $60 million production unit in order to expand its Florence, CA
manufacturing facility. Construction would start in mid-2007 with completion by the end of 2008.

In October 2001, Roche dedicated a new research center for its pharmaceuticals and diagnostics divisions in Penzberg,
Germany. The new buildings provided space for 360 employees and represented an investment by Roche of over 140
million Deutschmarks.

By June 2001, Roche had announced its plans to discontinue all research activities at its UK site in Welwyn.


                                                                                               Return to Table of Contents


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                                                       Appx394
                                                       Appx394
               Case: 22-1461             Document: 25             Page: 231          Filed: 11/04/2022

                                                                   PageID #: 156
Case 1:17-cv-00509-GMS Document 1-5 Filed 05/04/17 Page 10 of 2235 PagelD

serve as a centre for the discovery of innovative biotherapeutics. Roche planned to use ARIUS' FunctionFIRST antibody
technology to strengthen its development pipeline, initially within the areas of oncology and inflammatory diseases. The
deal was expected to close in the third quarter of 2008. In September 2008, RiskMetrics ISS Canada, an independent
proxy firm, stated they had no objection to the transaction and recommended that ARIUS Research shareholders vote
for the acquisition. In September 2008, ARIUS' shareholders approved the acquisition. At that time, the deal was to
close 'shortly'. Later in September 2008, Roche completed its acquisition of ARIUS.

Also in July 2008, Roche entered into a definitive agreement for the acquisition of Mirus Bio for $125 million. Roche
would gain access to several nucleic acid-based technologies from Mirus, including its RNAi delivery platform. Roche
planned to maintain an RNAi research center at Mirus' site in Madison, WI. Mirus' transfection reagents business would
be divested into a standalone business to be known as Mirus Bio LLC. The deal was expected to close in the second
half of 2008.

Earlier in July 2008, Roche planned to acquire all of Genentech's outstanding shares priced at $89 each for $43.7 billion.
Genentech would merge with a Roche subsidiary and operate as an independent R&D center within Roche in South San
Francisco, CA. . Roches
                   Roche's Palo Alto Virology R&D activities and Pharma commercial operations would relocate to South
                              Roche's Palo Alto Inflammation group would become part of its Nutley, NJ, R&D
San Francisco. In addition, Roches
organization. The merger was subject to Genentech shareholder approval. Later in July 2008, Genentech announced
                                                                  Roche's proposal. In August 2008, the shareholders of
that it had formed a special committee of its Board to assess Roches
                          Roche's proposal, claiming it was 'unfair and inappropriate.
Genentech objected to Roches                                               inappropriate'. Later that month, Genentech's
                                     Roche's offer undervalued the company. In January 2009, Roche planned to start a
special committee concluded that Roches
cash tender offer for all of Genentech's stock, priced at $86.50 per share, within 2 weeks. The offer is conditional upon
the majority of shares being tendered, and Roche obtaining sufficient funds to finance the deal. Approval of Genentech's
Board or special committee was not required. In February 2009, Roche began its tender offer for Genentech. The offer
was scheduled to expire on March 12, 2009, unless extended. At that time, Genentech advised its shareholders to take
no action and planned to issue its formal position on the offer within 10 days [982828]. Later that month, Genentech
                                    Roche's offer as it was inadequate. In March 2009, Roche offered $93 per share and
advised its shareholders to reject Roches
entended the offer until March 20, 2009. By that time, 0.5 million shares had been tendered. However, Genentech
advised its shareholders to take no action. It intended to take a formal position on the offer 'promptly'. Later in March
2009, Roche and Genentech agreed to a $95 per share deal worth $46.8 billion. Roche would amend the existing tender
offer to reflect the increased price; by that time a total of 2.9 million shares had been tendered. If the tender offer is
completed, Roche would consummate a second-step merger in which all remaining public shareholders would receive
$95 per share for their shares. Later that month, Roche completed the tender offer with 395.7 million shares (84.7%)
tendered. A further 3% of the stock had been guaranteed to be delivered within the next 3 days. This would bring
Roche's stake in Genentech to 96.2%. The merger completed later that month. Genentech became a wholly-owned
Roches
subsidiary of Roche and its stock was removed the the NYSE.

In September 1990, Roche acquired a majority interest (60%) in Genentech. The collaboration between the companies
was strengthened in July 1995 with an agreement to extend Roches
                                                              Roche's option to purchase the outstanding redeemable
common stock of Genentech. In June 1999, Roche acquired the remaining outstanding shares of Genentech for $3.8
billion. In October 1999, Genentech reported the offering of 20 million shares of its common stock in a public offering by
Roche Holdings. The underwriters of the offering had an option to purchase an additional two million shares of
                                                                                Roche's ownership of Genentech was to
Genentech common stock to cover over-allotments. As a result of the offering, Roches
be reduced to approximately 66 percent. In March 2000, Genentech offered 17.3 million shares of its common stock in
public offering by Roche Holdings. The Genentech common stock was being offered to the public at a price of $163 per
share. The underwriters of the offering had an option to purchase an additional 1.7 million shares to cover over
                                     Roche's ownership of Genentech to approximately 58% if the over allotment option
allotments. This offer would reduce Roches
was exercised, or 59% if it was not.

In April 2008, Roche Holding agreed to acquire Piramed in a $160 million cash deal. Roche would purchase 100% of
Piramed's shares and would gain rights to the company's oncology program. Piramed would receive a $15 million
milestone payment upon initiation of phase II trials. The transaction was expected to close in the second quarter of 2008.
In May 2008, the acquisition was completed.

In February 2008, Roche completed its tender offer for 93.7% of Ventana Medical System's outstanding shares. In June
2007, Roche offered to buy Ventana Medical Systems for $3 billion in a cash tender offer. However, Ventana's Board
refused to enter discussions with the company and advised its shareholders not to act on the offer until it had considered
it. Roche planned to buy Ventana's outstanding shares for $75 each, a 44% premium on its closing price on June 22,
2007 and a 55% premium to its 3-month average. Ventana would become a part of Roche Diagnostics. In September
2007, Roche extended its offer to acquire all of the outstanding common shares of Ventana at $75 per share in cash to
November 01, 2007. The tender offer was previously due to expire on September 19, 2007. Ventana's Board
recommended that stockholders not tender any of their shares. This followed earlier attempts in July and August 2007 by
Roche to acquire Ventana's outstanding shares and the subsequent recommendation by the Ventana Board that
stockholders reject the offer. In October 2007, Roche extended its offer to acquire all of the outstanding common shares
of Ventana to January 17, 2008, other terms and conditions of the offer remained unchanged. At this time, 99.5% of
                                        Roche's offer. In November 2007, the companies entered into a confidentiality
Ventana's investors had turned down Roches
agreement, which allowed Roche to commence due diligence and have appropriate access to non-public information
regarding Ventana. There was no assurance that a definitive agreement would be reached. In January 2008, Roche
extended its unsolicited tender offer for the fifth time, to March 14, 2008. By January 16, 2008, approximately 62,401
                                                                                             Return to Table of Contents


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                                                       Appx397
                                                       Appx397
         Case: 22-1461     Document: 25        Page: 232       Filed: 11/04/2022

Case 1:17-cv-00509-GMS Document 41 Filed 12/14/17 Page 11 of 3 PageID
                                                               PagelD #: 3288



                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE




BAXALTA INCORPORATED, a Delaware
corporation; and BAXALTA GMBH, a Swiss
company,

                          Plaintiffs,

    v.

GENENTECH, INC., a Delaware corporation; and           C.A. No. 17-509-GMS
CHUGAI PHARMACEUTICAL CO., LTD., a
Japanese company,                                      JURY TRIAL DEMANDED

                                                       ORAL ARGUMENT REQUESTED

                          Defendants.



            BAXALTA’S MOTION FOR A PRELIMINARY INJUNCTION
            BAXALTA'S

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 Amy M. Dudash (#5741)                         Christopher J. Betti
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                                        Appx3150
                                        Appx3150
          Case: 22-1461         Document: 25        Page: 233      Filed: 11/04/2022

                                41 Filed 12/14/17 Page 2 of 3 PagelD
Case 1:17-cv-00509-GMS Document 41                            PageID #: 3289



       Pursuant to Fed. R. Civ. P. 65, Baxalta Incorporated and Baxalta GmbH ("Plaintiffs")
                                                                             (“Plaintiffs”)

hereby move for a preliminary injunction. The reasons for Plaintiffs'
                                                          Plaintiffs’ Motion are set forth in the

Memorandum of Law being filed contemporaneously herewith, which Plaintiffs incorporate

herein by reference.


Date: December 14, 2017                      /s/ Colm F. Connolly
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                                          Appx3151
                                          Appx3151
               Case: 22-1461       Document: 25        Page: 234      Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 47 Filed 12/14/17 Page 11 of 45 PageID
                                                                PagelD #: 4484



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE




BAXALTA INCORPORATED, a Delaware
corporation; and BAXALTA GMBH, a Swiss
company,

                                 Plaintiffs,

     v.

GENENTECH, INC., a Delaware corporation; and                  C.A. No. 17-509-GMS
CHUGAI PHARMACEUTICAL CO., LTD., a
Japanese company,


                                 Defendants.



                                   SRIRAM KRISHNASWAMY,
                   DECLARATION OF SRIRA1VI ICRISHNASWAMY, PH.D.
                                  PLAINTIFFS’ MEMORANDUM IN
                    IN SUPPORT OF PLAINTIFFS'
               SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION
I, Sriram Krishnaswamy, Ph.D., declare as follows:

I.        INTRODUCTION

          1.      I make this Declaration at the request of Baxalta Incorporated and Baxalta GMBH

               “Baxalta”) in support of Plaintiffs'
(collectively, "Baxalta")               Plaintiffs’ Motion for Preliminary Injunction.

          2.      My educational background, qualifications, and professional experience are

summarized in ¶¶
              ¶¶ 7 to 20 below, and are described more fully in my curriculum vitae which is

attached hereto as Exhibit A.

          3.      In this Declaration, I provide my opinions regarding the infringement of claims 1,

                        (“Asserted Claims")
2, 3, 4, 15, 19, and 20 ("Asserted Claims”) of U.S. Patent No. 7,033,590 ("the
                                                                         (“the ’590 Patent”),
                                                                               '590 Patent"),

which is attached hereto as Exhibit B, by Genentech, Inc.’s (“Genentech’s”) emicizumab, also
                                                     Inc.'s ("Genentech's")

known as ACE910 and sold under the tradename HEMLIBRA®. I am also providing my

                                                  1



                                               Appx4343
                                               Appx4343
            Case: 22-1461         Document: 25         Page: 235     Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 47 Filed 12/14/17 Page 2 of 45 PagelD
                                                               PageID #: 4485



opinions concerning the validity of the Asserted Claims of the ’590
                                                               '590 Patent, specifically, lack of

anticipation, non-obviousness, and definiteness.

       4.      I am being compensated for my work in this litigation at my standard consulting

rate of $1,000 an hour. My compensation does not depend in any way on the opinions that I

express in this Declaration or on the outcome of this litigation.

       5.      In reaching the opinions in this Declaration, I have considered, among other

things, the materials identified in the body of this Declaration and in the List of Materials

Reviewed attached hereto as Exhibit C. These materials include the ’590
                                                                   '590 Patent, publications

about ACE910, and the prior art reference identified in a patent infringement litigation

concerning the Japanese counterpart to the ’590
                                           '590 Patent now pending in the Tokyo District Court

in Japan, Case No. Heisi 28 (Wa) 11475, between Baxalta and Chugai (the "Japanese
                                                                        “Japanese

Litigation”). Additionally, I have relied upon my professional and academic expertise in the
Litigation").

fields of blood coagulation biochemistry, thrombosis, and hemostasis.

       6.      All of the opinions stated in this Declaration are based on my own personal

knowledge and professional judgment; if called as a witness in this matter, I am prepared to

testify competently about them.

II.    QUALIFICATIONS

       7.      As I noted above, a full listing of my qualifications as a technical expert for this

litigation are detailed in my curriculum vitae, which is attached hereto as Exhibit A.

       8.      I have a Bachelor of Science degree in biology (1979) and a Ph.D. in

biochemistry (1984), both from Syracuse University. My undergraduate and graduate research

dealt with the enzymology of amino acid metabolism.            In 1984, I received the Alexander

Gourevitch Award for Excellence in Graduate Research from Syracuse University.



                                                   2


                                            Appx4344
                                            Appx4344
             Case: 22-1461      Document: 25       Page: 236       Filed: 11/04/2022

                                                               PageID #: 4486
Case 1:17-cv-00509-LPS Document 47 Filed 12/14/17 Page 3 of 45 PagelD



       9.      After receiving my Ph.D., I was a postdoctoral fellow ("postdoc")
                                                                     (“postdoc”) in the

Department of Biochemistry at the University of Vermont (1984-1987).           My postdoctoral

training was done in the laboratory of Kenneth Mann, which at the time was one of the premier

laboratories in the world investigating the biochemistry of blood coagulation.      During my

postdoctoral training, I studied the enzymologic mechanisms involved in the reactions of blood

coagulation, including the activation of human prothrombin to thrombin, which is essential to

blood clot formation.

       10.     After obtaining the first FIRST grant awarded by the NHLBI, I was promoted to

Research Assistant Professor (1987-1989) in the same department that I worked in as a postdoc.

As a Research Assistant Professor, I continued my work studying the proteins and mechanisms

involved in blood coagulation.     I used purified proteins in reconstituted systems to draw

mechanistic conclusions regarding the proteolytic activation steps in the coagulation cascade. I

also employed biophysical and spectroscopic approaches to study the protein-protein and

protein-membrane interactions that lead to enzyme complex and function. I expanded my

approaches to include rapid kinetic measurements of these processes on the millisecond time

scale. These and related strategies have formed the basis of my research throughout the rest of

my career. Further, in 1989 I received the Brinkhous Young Investigator Prize in Thrombosis

from the American Heart Association.

       11.     I was promoted to Assistant Professor on the tenure track in 1989 and held that

position at the University of Vermont for one year. During that time, I continued my work with

blood coagulation. I also taught courses on Enzymology and Physical Biochemistry.

       12.     I next took a position as an Assistant Professor in the Department of Medicine at

Emory University (1990-1997). While an Assistant Professor, I continued my coagulation



                                               3


                                          Appx4345
                                          Appx4345
             Case: 22-1461         Document: 25     Page: 237        Filed: 11/04/2022

                                                               PageID #: 4487
Case 1:17-cv-00509-LPS Document 47 Filed 12/14/17 Page 4 of 45 PagelD



research and taught the Medical Student Biochemistry class.          I also lectured on Physical

Biochemistry and Enzymology to graduate students and undergraduates.

       13.     I was promoted to Associate Professor of Medicine in 1997 (1997-1998).

       14.     In 1998, I left Emory University to become an Associate Professor (1998-2011) in

the Department of Pediatrics and in the Department of Pharmacology at the University of

Pennsylvania. I was also appointed as the Stokes Investigator at the Children's
                                                                     Children’s Hospital of

Philadelphia Research Institute.

       15.     In 2011, I was promoted to Tenured Professor in the Department of Pediatrics and

Professor (Secondary) in the Department of Pharmacology. At the University of Pennsylvania, I

have continued my research in blood coagulation. I have expanded my repertoire of approaches

to include other biophysical approaches, such as calorimetry and analytical ultracentrifugation. I

have also used x-ray crystallography, small angle x-ray scattering, and single molecule cryo-EM.

I have lectured in team-taught courses in Cardiovascular Pharmacology.

       16.     I continued in my role as Professor (Secondary) in the Department of

Pharmacology until 2014, when I became a Professor (Secondary) in Systems Pharmacology and

Translational Therapeutics and in the Department of Biochemistry and Biophysics as a member

of the Structural Biology Group at the University of Pennsylvania.

       17.     I have continued my work at the University of Pennsylvania and currently hold

the following positions: Professor in the Department of Pediatrics, Professor (Secondary) in

Systems Pharmacology and Translational Therapeutics, and Professor (Secondary) in the

Department of Biochemistry and Biophysics as a Member of the Structural Biology Group.

Additionally, I have retained my appointment as Stokes Investigator. Throughout my academic




                                                4


                                           Appx4346
                                           Appx4346
       Case: 22-1461            Document: 25           Page: 238         Filed: 11/04/2022

                                         12/14/17 Page 11 of 28 PagelD
Case 1:17-cv-00509-LPS Document 48 Filed 12/14117               PageID #: 5241
                                                                          5241
                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE




  BAXALTA INCORPORATED, a Delaware
  corporation; and BAXALTA GMBH, a Swiss
  company,

                                  Plaintiffs,

       V.

  GENENTECH, INC., a Delaware corporation; and                       No. I7-509-GMS
  CHUGAI PHARMACEUTICAL CO., LTD., a
  Japanese company,


                                  Defendants.



                   DECLARATION OF ANTHONY A. KOSSIAKOFF,
                PILD, IN SUPPORT OF PLAINTIFFS' MEMORANDUM IN
             SUPPORT OF THEIR MOTION FOR PRELIMINARY INJUNCTION




  I declare under penalty of perjury under the laws of the United States that the foregoing is true and

  correct.



  Date: December 13, 2017
                                                       Anthony Kossiakoff, Ph.D.




                                            Appx5100
                                            Appx5100
              Case: 22-1461              Document: 25              Page: 239            Filed: 11/04/2022

     Case 1:17-cv-00509-LPS Document 48-14 Filed 12/14/17 Page 2 of 11
                                                                    11 PagelD
                                                                       PageID #: 5577



NOVEMBER/DECEMBER 1998
                                                         Bioconjugate
Volume 9, Number 6

ot   Copyright 1998 by the American Chemical Society        hemistry

REVIEWS
Bispecific Antibodies as Novel Bioconjugates
Y. Cao and M. R. Suresh*

Faculty of Pharmacy and Pharmaceutical Sciences, University of Alberta,
Edmonton, Alberta, Canada, T6G 2N8. Received April 30, 1998



          Bispecific antibodies are unique ma cromolecular heterobifunctional cross-linkers with two different
          binding specificities within a single molecule. As ideal bioconjugates, they can specifically glue any
          two different molecules together without the need for chemical conjugation. With this unique feature,
          they have immense potential in biological and immunological fields. Their applications range from
          immunohistochemistry, immunoassays, radioimmunodiagnosis, radioimmunotherapy, and immuno-
          therapy. Recently, a new second generation of bispecific molecules, bispecific single chain Fv and
          diabodies, has been produced by DNA recombinant technology. They can be considered as the ultimate
          magic bullets for in vivo applications. They may theoretically improve tumor or pathogen targeting
          and minimize side effects, eventually replacing the full-length bispecific antibodies. Emphasizing on
          developmental methodology and clinical applications of bispecific antibodies, this review gives a bird's-
          eye view of these unique bioconjugates.




INTRODUCTION                                                          A number of applications using monoclonal antibody
   IVIonospecific antibodies exemplified by the naturally          (MAb) involve chemical manipulation of the antibody to
occurring major IgG class have two identical antigen-              create covalent immunoconjugates with radioisotopes,
binding paratopes due to their makeup with two identical           enzymes, toxins, drugs, and a variety of other haptens.
heavy and light chains. On the contrary, bispecific                Early chemical conjugation methods using homobifunc-
antibodies are artificially engineered immunoglobulins             tional cross-linkers generated complex aggregates of the
with two distinct binding specificities. They were first           two entities. Refinement in chemical conjugation meth-
generated 37 years ago by chemical methods (Nisonoff               ods, employing heterobifunctional cross-linkers, has miti-
and Rivers, 1961). In the past two decades, hybridoma              gated the problems but not entirely eliminated them
technology established itself as one of the cornerstones           (Tlermanson, 1996). BsIVIAb with intrinsic binding sites
of modern biotechnology (Kohler and Milstein, 1975), and           to any two antigens has the capability to form uniform,
bispecific monoclonal antibody cbsMAb) represents sec-
                                                                   homogeneous, and reproducible immunoconjugates with
ond generation monoclonals developed for a variety of in
                                                                   one or two entities in a predetermined order (Suresh et
vivo and in vitro uses.
                                                                   al., 1986a). Since such binding is noneovalent and
  *Author to whom correspondence should be addressed. Tel:         dependent on the affinity of the epitope—paratope inter-
403-492-9233. Fax: 403-492-1217. E-mail: msureshg                  action, bsMAb has a singular advantage to cross-link two
pharmacy.ualberta.ea.                                              cells for targeting in vivo (Staerz and Bevan, 1989). The
                                 10.1021/hc980044I CCC: $15.00 © 1998 American Chemical Society
                                                    Published on Web 10/20/1998




                                                                                                                 BXLACE_0000492




                                                      Appx5436
                                                      Appx5436
             Case: 22-1461                    Document: 25                        Page: 240                   Filed: 11/04/2022

  Case 1:17-cv-00509-LPS Document 48-14 Filed 12/14/17 Page 3 of 11
                                                                 11 PagelD
                                                                    PageID #: 5578
636 Bioconjugate Chem., Vol. 9, No. 6, 1998                                                                                                    Cao and Suresh



                     Method                                        Types of bsMAb constructed



                                                          0
                     Genetic
                     Engineering
                                                                               bs Mab with
                                                                                                      v
                                       bs(scFv)2          Diabodies                                     bs (Fab')2" k
                                                                              Leucine Zipper




                    Somatic
                    Hybridization   bs IgO (Rodent, Chimeric
                                         or Humanized)                 bs IgA dimer
                                                                                                     bs IgM -IgA




                     Chemical                                                         I
                     Conjugation
                                     bs bis Fab Fc   Trispecific Tetrameric   Trispecific Trimeric    bs Protein A      bs Cyclic Tetrameric
                                                             (Fab')4                F(ab')3          Heteroconjugate         Complexes

Figure 1. A schematic representation of a variety of bsMAbs. (*) This has also been constructed by chemical and genetic methods.
(**) This has also been constructed by chemical methods.

latter feature has not been described to date using                              tional reagents. Ho.mobifunct onal reagents react with.
chemical conjugation for in vivo applications.                                   the free thi.ols generated upon reduction of inter heavy
   Current applications of bs.MAb range from immuno-                             chain disulfide bonds. 5,5'-Dithiobis(2-nitrobenzoic acid)
histoche.mistry (Milstein and Cuello, 1983), immunoas-                           (DTNB) or o-phen.ylenedimaleimide (O-PDM) can acti-
says (Kreutz and Suresh, 1995, 1997; Suresh et al.,                              vate thiol groups on Fab' fragments of MAb (Brenner et
1986a; Cao et al., 1998), complement-mediated cytotox-                           al., 1985; Glennie et al., 1987 Shalaby et al., 1992).
icity (Wong and Colvin., 1987), and in vivo retargeting                          DTNB acts to regenerate disulfide bonds between the two
(Fanger et al., 1995; Demanet et al., 1996; Soma-                                Fabs, whereas O-PDM acts to form a thioether bond
sundaram. et al., 1996). BsMAb has great potential in a                          between the two Fab'. Generally, the thioether bond of
wide variety of research and eventually, clinical uses.                          O-PDM could be more stable than the disulfide bond
Some of these exciting explorations include redirecting                          regenerated by DTNB (Glennie et al., 1987). in addition
cytotoxicity to tumor cells, HIV virus, and infectious                           to dimeric bsIVIAbs, trimeric and tetrameric antibodies
agents, targeting enzyme and site-specific activation of                         with two or three specificities have been constructed
anticancer prodrugs and localizing fibrinogen activator                          using O-PDM and shown to have more potent redirecting
to dissolve fibrin clots.                                                        effector cell tumor cytotoxicity than corresponding dimer-
                                                                                 ic antibodies (Tutt et al., 1991a,b).
PRODUCTION OF BISPECIFIC ANTIBODIES                                                 Heterobifunctional reagents can introduce a reactive
   Many different types of bsMAb have been made (Figure                          group onto a protein that will enable it to react with a
1) by one of the three general methods: (1) chemically                           second protein. N-Succinimidy.1-3-(2-pyridyldithio) pro-
cross-linking two antibody molecules or antibody frag-                           pionate (SPDP) has been used to react with primary
ments, (2) fusion of two different cell lines to form a                          amino groups to introduce free thiol groups (Segal et al.,
qua.droma or trioma, (3) recombinant DNA based ap-                               1988; Jung et al., 1991). SPDP can combine any two
proaches.                                                                        proteins that have exposed amino groups including
   1. Chemically Coupling. More than 30 years ago,                               antibodies and Fab' fragments, regardless of class or
the first bispecific polyclonal antibodies were produced                         isotype (Van Dijk et al., 1989). Unfortunately, this
by chemically coupling two different polyclonal antibodies                       approach causes random cross-linking of the molecules
(Nisonoff and Rivers, 1961). This chemical manipulation                          and hence exhibits batch to batch variations.
involved the dissociation of the two different antibodies                           The improvements in cross-linking technology has led
and reassociation of the two-half molecules. A portion                           at least one biotechnology company (Medarex Inc., N.J)
of th.e reassembled antibodies was shown to be bispecific                        to develop bispecific (F ab')2 antibodies and evaluate their
in nature by immunoh.istochemistry. With the advent                              utility in FDA-approved human clinical trials. Chemical
of IVIAb and improvements in the chemistry of preferen-                          linking that has been highly refined is more straightfor-
tial formation of heteroeonjugates, developing bispecific                        ward and faster, produces higher yields, and the products
mon.oclona Is became a reality eliminating the heteroge-                         are comparatively easier to purify (Glennie et al., 1987).
neous polyclonal reagents.                                                       However, denaturation of either protein or loss of anti-
   To prepare bsMAb, a large number of bifunctional                              body activity are concerns during these types of chemical.
reagents reactive with c-amino groups or hinge region                            reactions.
thiol groups have been used. These cross-linkers can be                             2. Somatic Hybridization. Somatic hybridization
classified into two categories, homo- and heterobifunc-                          for generating bispecific antibodies first appeared in 1973




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                                                                Appx5437
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Case: 22-1461   Document: 25   Page: 241   Filed: 11/04/2022




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         FROM THE FOLLOWING PAGES:
              Appx6253, Appx6606
           Case: 22-1461      Document: 25           Page: 242      Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 2 of 70 PageID #: 12338


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               AUSTRIAN PATENT OFFICE [illegible entry WIPO/PCT.]

 5                        A-1014 VIENNA, KOHLMARKT 8 – 10

                                                                Handwritten entry - EP00/8936.]



                                                     Application number A 1576/99


                                                     [handwritten entry – E – JU.


     [Republic of Austria revenue stamps]


           The Austrian Patent Office confirms that

                  The company BAXTER AKTIENGESELLSCHAFT

10                        In A-1221 Vienna, Industriestrasse 67,

     submitted a patent application of September 14, 1999 concerning

                 “Antibodies and Antibody Derivatives Activating

                                  Factor IX / Factor IXa”,

     and that the attached specification and drawings coincide with the original
15   specification and drawings submitted at the same time with this patent application.

                                   Austrian Patent Office

                                    Vienna, July 7, 2000

                                                 1



                                       Appx9931
          Case: 22-1461       Document: 25       Page: 243    Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 3 of 70 PageID #: 12339




                                     The president:

                                   in behalf of




   [Austrian Patent Office]
                                   [Austrian Patent Office]
                                                         HRNCIR
                                                    Area upper inspector




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                                     Appx9932
          Case: 22-1461     Document: 25                  Page: 244              Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 4 of 70 PageID #: 12340




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                          [Republic of Austria revenue stamps]



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                                        Appx9933
            Case: 22-1461      Document: 25         Page: 245      Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 5 of 70 PageID #: 12341
                                                          ....
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     A1576 / 99 – 1                (51) Int. Cl.:                  R 35954


           AT PATENT                         (11) No. ORIGINAL TEXT



 5   (73) Patent holder:     BAXTER AKTIENGESELLSCHAFT

                             Vienna (AT)




     (54) Subject matter: Antibodies and Antibody Derivatives Activating Factor IX /
10                                           Factor IXa



     (61) Addition to patent No.

     (67) Conversion from utility model

     (62) Division from:

15   (22) (21) Filed on:    11 4. SEP. 1999 [illegible – 1/4/Sept. 1999]

     (33) (32) (31) Union priority:



     (42) Beginning of patent term:

           Longest possible term:

20   (45) Issued on:

     (72) Inventor(s):

     60) Dependence


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                                        Appx9934
           Case: 22-1461      Document: 25                            Page: 246           Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 6 of 70 PageID #: 12342

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     (56) References used for the evaluation of patentability:



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     Printed form PA 31. – Cover page of the specification – 5,000 – Zl. 3090/präs. 94

                                                                                            DVR: 0078018

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                                          Appx9935
            Case: 22-1461      Document: 25        Page: 247      Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 7 of 70 PageID #: 12343
                                                         .....
                                                             ..
     The invention relates to factor IX / factor IXa antibodies and antibody derivatives.


     Blood clots (thrombi) form by a series of zymogen activations. During the course of
     this enzymatic cascade the activated form of a factor catalyzes the activation of the
 5   next one. Thrombi are deposits of blood components on the surface of the vessel
     wall and consist for the most part of aggregations of blood platelets and insoluble,
     cross-linked fibrin. The formation of fibrin takes place by thrombin by limited
     proteolysis of fibrinogen. Thrombin is the end product of the clotting cascade, a
     course of zymogen activations on the surface of platelets, leukocytes and a plurality
10   of vascular cells (K. G. Mann, Blood, 1990, vol. 76, pp. 1-16).


     The activation of factor X by the complex consisting of the activated factor IX (fXa)
     and activated factor VIII (FVIIIa) constitutes a key step in the clotting. A lack of or
     a disturbed function of the components of this complex is associated with the blood
15   clotting disturbance designated as hemophilia (J. E. Sadler & E.W. Davie:
     Hemophilia     A, Hemophilia B, and von                Willebrand’s disease, in     G.
     Stamatoyannopoulos et al. (eds) : The molecular basis of blood diseases. W.B.
     Saunders Co, Philadelphia, 1987, pp. 576-602). Hemophilia A designates a
     (functional) lack of the factor VIII activity, hemophilia B designates a lack of the
20   factor IX activity.


     The treatment of hemophilia A currently takes place by a replacement therapy by
     the administration of factor VIII concentrates, wherein in approximately 20-30% of
     the hemophilia A patients there is a formation of factor VIII inhibitors (i.e.,
25   antibodies against factor VIII), which inhibits the effect of the administered factor
     VIII preparations.


     The treatment of factor VIII inhibitor patients is very difficult and associated with
     risks and previously there was only a limited number of special methods for treating

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                                        Appx9936
            Case: 22-1461      Document: 25         Page: 248        Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 8 of 70 PageID #: 12344
                                                          .....
                                                              ..
     these patients.


     However, it is possible in the case of patients with a low FVIII inhibitor content to
     administer very expensive, high doses of factor VIII and to neutralize in this manner
 5   the factor VIII antibodies. The excess factor VIII then acts hemostatically. In many
     cases a desensitizing takes place and it is again possible to use standard factor VIII
     treatments. However, such a treatment with a high dosage requires large amounts of
     factor VIII, is time-consuming and can be associated with severe anaphylactic side
     reactions. Alternatively, the treatment can take place with porcine factor VIII
10   molecules.


     Another cost-intensive method for the removal of the factor VIII inhibitors works
     with the extra-corporal immunoadsorption                      on lectins which bond to
     immunoglobulins (protein A, protein G) or to immobilized factor VIII. Since the
15   patient must be connected during this treatment to the apheresis machine, this
     method is also very stressful for the patient and it is not possible to treat an acute
     bleeding with it.


     However, the therapy of choice was previously the administration of activated
20   prothrombin complex concentrates (activated prothrombin complex concentrates,
     APCC) such as FEIBA® and AUTOPLEX® which is suitable even for patients with
     a high inhibitor titer for the treatment of acute bleedings (DE 31 27 318).


     In the intravascular system of blood clotting the last step is the activation of factor
25   X by factor IXa, a reaction which is stimulated by the bonding of the factor VIIIa to
     factor IXa. At this time a “tenase” complex is formed consisting of the factors IXa,
     VIIIa, X and phospholipid. Without the bonding of FVIIIa, fIXa shows no or only a
     very slight enzymatic activity against FX.



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                                        Appx9937
            Case: 22-1461       Document: 25               Page: 249          Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 9 of 70 PageID #: 12345
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                                                    ..........
                                       ......... .... ... ... ...
     A number of possible bonding sites of factor VIIIa to factor IXa was characterized
     in recent years and showed that antibodies or peptides which bond to these regions
     inhibits the activity of the FIXa (Fay et al., J. Biol. Chem., 1994, vol. 269, pp. 20522-
     20527, Lenting et al., J. Biol. Chem., 1996, vol. 271, pp. 1935-1940, Jorquera et al.,
 5   Circulation, 1992, vol. 86, abstract 2725).


     An inhibition of clotting factors, among others also factor IX, was also be achieved
     by monoclonal antibodies with the goal of preventing the formation of thrombosis
     (WO 97/ 26010).
10

     An opposite effect, namely the reinforcing of the activation of factor X brought
     about by factor IXa is described by Liles, D.K. et al., Blood, 1997, vol. 90, Suppl. 1,
     2054) by the bonding of a factor VIII peptide (Amino acids 698-712). However, this
     effect only occurs in the absence of factor VIIIa, in the presence of factor VIIIa the
15   splitting of factor X brought about by the factor IXa/factor VIIIa is inhibited by this
     peptide.


     Particularly in view of the possible risks and side effects that can occur in the
     treatment of hemophilia patients, there is a great need for a possible therapy which
20   also makes possible in particular an effective treatment of FVIII inhibitor patients.
     Therefore, a problem of this invention is to find a preparation for the treatment of
     blood clotting disturbances which also has special advantages for factor VIII
     patients.


25   The invention solves this problem in that antibodies or antibody derivatives against
     factor IX/factor IXa were produced which comprise a factor VIIIa cofactor activity
     and/or a an activity activating factor IXa and which result in an increasing of the
     procoagulant activity of the factor IXa.



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                                          Appx9938
            Case: 22-1461      Document: 25                            Page: 250                           Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 10 of 70 PageID #: 12346

                                        ................................. .................... .....
     Surprisingly, the action of these antibodies and antibody derivatives which activate
     factor IX/factor IXa in accordance with the invention is not adversely affected by
     the presence of inhibitors such as, for example, inhibitors against factor VIII/factor
     VIIIa but even reinforces the procoagulant activity of the factor IXa in this case.
 5

     Another advantage of this invention is that the administration of the preparation
     according to the invention makes a rapid blood clotting possible even given a lack
     of the factor VIII or of factor VIIIa even if an FVIII inhibitor patient is concerned.
     These agents are also surprisingly effective in the presence of factor VIIIa.
10

     The FVIII-like cofactor activity of the agents according to the invention is that the
     manner of acting of the agent is comparable to the manner of acting of factor VIIIa
     as regards the generation of factor Xa.


15   The antibodies or antibody derivatives according to the invention accordingly have
     an FVIII cofactor activity which have a ratio of background (background noise) to
     measured value of at least 3 in an FVIII assay (e.g. COATEST® test or immuno-
     chrome test) after two hours incubation. The calculation of this ratio can take place,
     e.g., according to the following scheme:
20

     antibody     measured      value            (OD                      405)                         -   empty     reagent   value
                                                                                                              >                   3
     mouse- IgG measured value (OD 405) - empty reagent value


25   after two hours incubation.


     The antibodies according to the invention have an in vivo half-life of at least 5 days,
     preferably at least 10 days, especially preferably at least 20 days.



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                                              Appx9939
            Case: 22-1461      Document: 25                          Page: 251                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 11 of 70 PageID #: 12347

                                      ................................. .................... .....
     Another aspect of this invention is a preparation containing antibodies and or
     antibody derivatives against factor IX/factor IXa and a pharmaceutically acceptable
     carrier substance. Furthermore, the preparation according to the invention can
     additionally contain factor IX and/or factor IXa.
 5

     The present invention also comprises the nucleic acids coding for the antibodies and
     antibody derivatives according to the invention, expression vectors, the hybridoma
     cell lines and methods of their preparation.


10   Antibodies are immunoglobulin molecules with a specific amino acid sequence
     which only bind to antigens which induce the synthesis (or its immunogen) and/or
     to antigens (or immunogen) which are very similar to the first ones. Each
     immunoglobulin molecule consists of two types of polypeptide chains. Each
     molecule consists of large, identical heavy chains (H chain) and two light, also
15   identical chains (L chain). The polypeptides are connected via disulfide bridges and
     non-covalent bonds. In vivo, the heavy and light chains are formed on different
     ribosomes, joined together in the cell and secreted as intact immunoglobulins (Roitt,
     I. et al., in: Immunology, second ed., 1989).


20   The antibodies, antibody derivatives and organic compounds derived from them
     according to the invention comprise human and animal monoclonal antibodies or
     fragments of them, individual chain antibodies and mini-antibodies (fragments of
     individual chain antibodies), bispecific antibodies, “diabodies”, triabodies” or di-,
     oligo- or multimers of them. Peptidomimetica or peptides which are derived from
25   the antibodies according to the invention are also comprised, for example, they
     comprise one or more of the CDR regions, preferably the CDR3 region.


     Completely human monoclonal antibodies are also comprised. Furthermore, peptide
     sequences which, based on a structure activity compound, were subjected to an

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                                            Appx9940
              Case: 22-1461    Document: 25                          Page: 252                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 12 of 70 PageID #: 12348

                                      ................................. .................... .....
     artificial modelling process are also comprised (Greer, J., et al., J. Med. Chem.,
     1994, vol. 37, pp. 1035-1054.


     The concept antibodies and antibody derivatives activating factor IXa can also
 5   comprise proteins which are produced by expression of a changed, immunoglobulin-
     coding region in a host cell, for example “technologically modified antibodies”, e.g.,
     synthetic antibodies, chimeral or humanized antibodies or their mixtures, or
     antibody fragments which partially or entirely lack the constant region, e.g., Fv, Fab,
     Fab’ or F (ab) ‘ 2, etc. For example, a part or parts of the light and/or heavy chain
10   can be replaced in these technologcally modified antibodies. For example, such
     molecules can comprise antibodies which consist of a humanized, heavy chain and
     of an unmodified, light chain (or chimeral light chain or vice versa. The concepts
     Fv, Fc, Fd, Fab, Fab’ or F (ab) 2 are used as described in the prior art. (Harlow, E.
     and Lane, D. in “Antibodies, a Laboratory Manual), Cold Spring Harbor Laboratory,
15   1988).


     The present invention also comprises the use of Fab fragments or F (ab) 2 fragments
     stemming from monoclonal antibodies (mAb) which are directed against factor
     IX/factor IXa and bring about an increase of the procoagulant activity of the factor
20   IXa.


     The heterological framework regions and constant regions are preferably selected
     from the human immunoglobulin classes and isotes such as IgG (subtypes 1 to 4),
     IgM, IgA and IgE. During the course of the immuno reaction a “class switch” of the
25   immunoglobulins can also take place, for example, a switch from IgM to IgG, during
     which the constant regions are exchanged, e.g. from μ to γ. A class which can also
     be induced in a quite purposeful manner by technological gene methods (directed
     class switch recombination”) such as is known from the prior art (Esser, C. and
     Radbruch, A., Annu. Rev. Immunol., 1990, vol. 8, pp. 717-735).

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                                            Appx9941
             Case: 22-1461     Document: 25                         Page: 253                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 13 of 70 PageID #: 12349

                                     ................................. .................... .....
     However, the antibodies and antibody derivatives according to the present invention
     must not comprise only human sequences of the immunoglobulin proteins.


 5   In a particular embodiment a humanized antibody contains “complement
     determining regions” (CDRs) consisting of murine monoclonal antibodies which are
     inserted into the framework areas of selected human antibody sequences. However,
     even human CDR regions can be used. The variable regions in the human light and
     heavy chains are preferably technically changed by one or more CDR exchanges. It
10   is also possible to use all six CDRs or very different combinations of less than six
     CDRs.


     The humanized antibody according to the present embodiment preferably has the
     structure of a human antibody or of a fragment of it and comprises the combination
15   of qualities which are necessary for an efficient therapeutic usage, i.e., e.g., the
     treatment of clotting disturbances in patients, preferably of factor VIII inhibitor
     patients.


     A chimeral antibody differs from the humanized antibody in that it contains the
20   entire variable regions including the framework regions of the heavy and light chains
     of non-human origin in combination with the constant regions of both chains from
     human immunoglobulin. For example, a chimeral antibody consisting of murine and
     human sequences can be produced.


25   According to the present invention the antibodies and antibody derivatives can also
     be individual chain antibodies (“single-chain antibody”) or mini-antibodies (scFv
     fragments which are linked, for example, with proline-rich sequences and
     oligomerizing domains, see Pluckthun, A. and Pack, P., Immunotechology, 1997,
     vol. 3, pp. 83-105) or individual chains Fv (sFv) which incorporate the entire

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                                           Appx9942
               Case: 22-1461     Document: 25                           Page: 254            Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 14 of 70 PageID #: 12350

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     antibody bonding region in a single polypeptide chain. For example, the individual
     chain antibodies can be represented by linking the V genes with an oligonucleotide
     which was constructed as a linker sequence and connects the C terminal of the first
     V region to the N terminal of the second V region, for example in the arrangement
 5   VH -linker-VL or LV-linker-HV; therefore, VH as well as VL can represent the N-
     terminal domains. (Huston JS et al., Int. Rev. Immunol., 1993, vol. 10, pp. 195-217;
     Raag, R. and Whitlow, M., FASEB, J., 1995, vol. 9, pp. 73-80). The protein that can
     be used as a linker sequence can have, for example, a length of up to 150 Å,
     preferably up to 80 Å, especially preferably up to 40 Å. Linker sequences which
10   contain glycine and serine or glutamine and lysine on account of the solubility are
     especially preferred on account of their flexibility. The selection of the amino acids
     also takes place according to the criteria of immunogenicity and stability even
     independently of whether these individual chain antibodies should be suitable for
     physiological or industrial applications (e.g., immunoaffinity chromatography). The
15   individual chain antibodies can also be present as aggregates, for example as trimers,
     oligomers or multimers.


     However, the linker sequence can also be lacking and the linking of the VH and VL
     chains can take place directly.
20

     Bispecific anti-bodies are macromolecular, heterobifunctional “cross linkers” with
     two different bonding specificities inside an individual molecule. This group
     includes, for example, bispecific (bs) IgGs, bs I gM- Ig As . bs IgA-Di -
                bs (Fa~ --:, 2 , hs (ecFv }2 , Diab c -t ie.s , Cs bis ? ab Fe etc.                              (Cao
     mers,
     '.l'.   and Suresh M.n . , Bicconjug a t e Chem ., 1998, Yol. S , ~p . 535-
     641) .

25

     The term “peptidomimetica: denotes protein components with a low molecular
     weight which imitates the structure of a natural peptide component or of
     confirmation templates “(templates”) which induce a specific structural formation
                                                                  13



                                              Appx9943
            Case: 22-1461      Document: 25                          Page: 255                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 15 of 70 PageID #: 12351

                                      ................................. .................... .....
     in an adjacent peptide sequence (Kemp, DS, Trends Biotechnol. 1990, pp. 249-255).
     The peptidomimetica can stem, for example from CDR3 domains.


     The concept antibodies and antibody derivatives can also comprise agents which
 5   were obtained by a determination of data on the structure-activity relationship. These
     compounds can also be used as peptidomimetics (Grassy, G. et al., Nature
     Biotechnol., 1998, vol. 16, pp 748-752; Greer, J. et al., J. Med. Chem., 1994, vol.
     37, pp. 1035-1054).


10   Examples for the antibodies or antibody derivatives according to the invention were
     deposited on 9 September, 1999 under the numbers 99090924 (#198/A1), 99090925
     (#198/B1) and 99090926 (#198/BB1) according to the Budapest Treaty.


     METHOD FOR THE PRODUCTION:
15

     The antibodies of the present invention can be produced by the methods known from
     the prior art, for example by conventional hybridoma techniques or by phage display
     gene banks, immunoglobulin chain “shuffling” or humanizing techniques (Aharlow,
     B. and Lane D. in: Antibodies, a Laboratory Manual, Cold Spring Harbor
20   Laboratory, 1988).


     The production of the antibodies and antibody derivatives according to the invention
     can take place by any method known from the prior art. For example, by
     conventional hybridoma techniques (Antibodies, a Laboratory Manual, Cold Spring
25   Harbor Laboratory, 1988, eds. Harlow and Lane, pp. 148-242). According to the
     present invention human or also non-human species can be used for this such as, for
     example, cattle, pigs, monkeys, chickens or rodents (mice, rats). For example,
     normally immunocompetent Balb/c mice or FIX-deficient mice can be used. (The
     factor IX-deficient mice stem from Dr. Darrel Stafford of the University of North

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                                            Appx9944
            Case: 22-1461     Document: 25                          Page: 256                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 16 of 70 PageID #: 12352

                                     ................................. .................... .....
     Carolina, Chapel Hill). The immunization can take place here, for example, by factor
     IX, factor IXaα or completely activated factor IXaβ or with fragments of them.


     The hybridomas are selected in such a manner that the antibodies and antibody
 5   derivatives -in the supernatants of the hybridoma cells bond to factor IX/factor IXa
     and bring about an increase of the procoagulant activity of the factor IXa. The
     increase of the procoagulant activity can be demonstrated, for example, by test
     methods such as those known from the prior art for the measuring of factor VIII-like
     activity, for example, chromogenic assays.
10

     Alternatively to the above, the antibodies and antibody derivatives according to the
     invention can also be produced by recombinant production methods. The DNA
     sequence of the antibodies according to the invention can be determined in them by
     known techniques and parts or the totality of the antibody DNA can be expressed in
15   suitable systems. Recombinant production methods can be used such as, for
     example, the using of phage display, synthetic and natural libraries; expression of
     the antibody proteins in known expression systems, expression in transgenic
     animals, etc. (Jones et al., Nature, 1986, vol. 321, pp. 522-525; Phase Display of
     Peptides and Proteins, A Laboratory Manual, 1996, eds. Kay et al., pp. 127-139; US
20   4, 873, 316).


     The expression of the recombinantly produced antibodies can take place by
     conventional expression vectors such as, for example, bacterial vectors such as
     pBR322 and its derivatives, pSKF or eukaryotic factors such as pMSG, SV40
25   vectors, etc. Those sequences coding for the antibody can be provided with
     regulatory sequences which regulate the replication and expression and furthermore
     the secretion from the host cell. These regulatory sequences comprise promoters,
     e.g., CMV or SV40; and signal sequences.



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                                           Appx9945
            Case: 22-1461      Document: 25                            Page: 257                        Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 17 of 70 PageID #: 12353

                                        ................................. .................... .....
     The expression vectors can also contain selection markers and amplification markers
     such   as   the    dihydrofolate          reductase                            gene               (DHFR),   hygromycin   B-
     phosphotransferase, thymidine kinase, etc.


 5   The components of the vectors used such as selection markers, replicons, enhancers,
     etc. can either be commercially acquired or produced by conventional methods. The
     vectors can be constructed for the expression in very different cell cultures, e.g., for
     mammalian cells such as CHO, COS; fibroblasts, insect cells, yeast or bacteria such
     as E. coli, etc. Those cells are preferably used which allow an optimal glycosylation
10   of the expressed protein. The vector pBax (see fig. 17), which is expressed in CHO
     cells or SK-Hep, is especially preferred.


     The production of Fab fragments or F (ab)2 fragments can take place according to
     method like those known from the prior art, e.g., by splitting of mAb with proteolytic
15   enzymes such as papain and/or pepsin, or by recombinant methods.


     These Fab fragments and F (ab)2 fragments can also be produced by a phage display
     gene bank (Winter et al., 1994, Ann. Rev. Immunol., 12:433-455).


20   The antibody derivatives can also be produced by methods like those known from
     the prior art, for example by molecular modelling, e.g., from Grassy, G. et al., Nature
     Biotechnol., 1998, vol. 16, pp. 748-752, or Greer, J. et al., J.Med.Chem., vol. 37, pp.
     1035-1054, or Rees, A. et al., in: “Protein Structure Predicition. A practical
     approach”, ed. Sternberg, M.J.E., IRL press, 1996, chapt. 7-10, pp. 141-261.
25

     The purification of the antibodies and antibody derivatives according to the
     invention can also be carried out by methods like those described in the prior art,
     e.g., ammonium sulfate precipitation, affinity purification (protein G-sepharose), ion
     exchange chromatography, gel chromatography, etc.

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                                              Appx9946
            Case: 22-1461      Document: 25                          Page: 258                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 18 of 70 PageID #: 12354

                                      ................................. .................... .....
     For example, the following methods can be used as test methods in which it is
     demonstrated that the produced antibodies and antibody derivatives bond to factor
     IX/factor IXa increase the procoagulant activity of the factor IXa and have an
 5   activity similar to factor VIII: One stage clotting test (Mikaelsson and Oswaldson,
     Scand. J. Haematol. Suppl., 33,k pp. 79-86, 1984) or chromogenic tests such as
     COATEST VIII:C® (Chromogenix) or immunochrom (IMMUNO). In principle, all
     methods can be used like those also use for determining the factor VIII activity. Non-
     specific mouse-IgG-antibodies can be used as blank reading check for the
10   measurements.


     The present antibodies and antibody derivatives are suitable for being
     therapeutically used in the treatment of clotting disturbances, e.g., in hemophilia A,
     factor VIII inhibitor patients, etc. The administration can take place by any method
15   which is suitable for rendering the therapeutic agent effective for being used in
     patients, e.g., by administration such as, for example, orally, subcutaneously,
     intramuscularly, intravenously or intranasally.


     Therapeutic means according to the invention can be produced as preparations
20   containing a sufficient amount of antibodies or antibody derivatives as active agent
     in a pharmaceutically acceptable carrier substance. These means can be present in
     liquid as well as in powdery form. However, furthermore, the preparations according
     to the invention can also contain mixtures of different antibodies, their derivatives
     and/or organic compounds derived from them or also mixtures consisting of
25   antibodies and factor IX and/or factor IXa. Factor IXa can be present here as factor
     IXaα and/or factor IXaβ. Aqueous carrier substance can be, for example, saltern.
     The solutions are sterile and the sterilization takes place by conventional methods.


     The antibodies or antibody derivatives according to the invention can be present

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                                            Appx9947
            Case: 22-1461      Document: 25                          Page: 259                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 19 of 70 PageID #: 12355

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     lyophilized for storage and be suspended in a suitable solvent before administration.
     This method proved to be generally advantageous for the conventional
     immunoglobulins and known lyophilizing methods and reconstitution methods can
     be used in it.
 5

     Moreover, the antibodies and antibody derivatives can also be used for industrial
     applications, for example for the purification of factor IX/factor IXa by affinity
     chromatography, or as a component of demonstration methods (e.g., ELISA assays),
     or as agent for the identification of and interaction with functional domains from a
10   target protein.


     The present invention is described in detail by the following examples and drawing
     figure but is of course not limited by them:


15   The figures show:


     Fig. 1. Results of a screening on FVIII-like activity of supernatants from hybridoma
     cell cultures. Preselected clones from fusion experiments, #193, #195 and #196 were
     tested in a chromogenic assay.
20

     Fig. 2: Result of a screening of an IgG-mediated factor VIII-like activity in
     supernatants of a hybridoma cell culture of a “master” plate.


     Fig. 3: Subcloning of the clone 193/CO, results of the first cloning round.
25

     Fig. 4: Comparison of the chromatographic FVIII -like activity and factor IX-ELISA
     reactivity of the hybridoma cultures, derived from the initial clone 193/CO.


     Fig. 5: Results of the measuring of the chromatographic activity of a few master

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                                            Appx9948
            Case: 22-1461      Document: 25                          Page: 260                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 20 of 70 PageID #: 12356

                                      ................................. .................... .....
     clones and subclones.


     Fig. 6A: FVIII-like activity of anti-FIX/FIXa antibodies 193/AD3 and 196/AF2.


 5   Fig. 6B: Comparison of the chromatographic activity of factor FVIII, 196/AF1,
     198/AC1/1 and mouse IgG.


     Fig. 7A: Comparison of the kinetics of the factor Xa generation by factor FVIII and
     196/AF2 with and without the addition of a factor Xa specific inhibitor.
10

     Fig. 7B: Comparison of the kinetics of the factor Xa generation by factor FVIII,
     mouse IgG and anti-factor IX/IXa-antibodies 198/AM1 with and without the
     addition of a factor Xa specific inhibitor.


15   Fig. 8A: Measuring the dependence of the factor FVIII-like activity of purified
     antifactor I X/IXa-antibody 198/AC1/1 in the presence in the absence of
     phospholipids, FIXa/FX and calcium ions.


     Fig. 8B: Measuring the dependence of the FXa generation by anti-FIXa antibody
20   196/AF1 on the presence of phospholipids, Ca2+ in FIXa/FX.


     Fig. 8C: Measuring the FXa generation by non-specific mouse IgG antibodies.


     Fig. 9: Graphic representation of the clotting times of factor FVIII-deficient plasma
25   in an APTT assay using different concentrations of anti-factor IX/IXa antibody
     193/AD3.


     Fig. 10A: Antibody 193/AD3 results given the presence of factor IXa in a reduction
     of the clotting time of factor FVIII-deficient plasma.

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                                            Appx9949
            Case: 22-1461            Document: 25                             Page: 261            Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 21 of 70 PageID #: 12357

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     Fig. 10B: Dosage-dependent reduction of the clotting time by the anti-body
     193/AD3 in the presence of factor IXa- and factor FVIII inhibitors.


 5   Fig. 11: Chromogenic activity of the antibodies 198/A1, 198/B1 and 198/AP1 in the
     presence and the absence of human FIXa.


     Fig. 12: Primer sequences for the amplification of the genes of the variable, heavy
     chain of the mouse antibody.
10

     Fig. 13: Primer sequences for the amplification of the genes of the variable, light
     (kappa-) chain of the mouse antibody.


     Fig. 14: DNA and derived protein sequence of the scFv from the hybridoma cell line
15   193/AD3.


     Fig. 15: DNA and derived protein sequence of the scFv from the hybridoma cell line
     193/K2.


20   Fig. 16: DNA and derived protein sequence of the scFv from the hybridoma cell line
     198/B1/1.


     Fig. 17: Vector pBax-IgG1.


          Ex~.mple 1: I:?ru:nmhat i oc of i1mwico1C1P~i Gut :nice and generation c-f
          an~i-FIX/ IXa antibody soer e t ing hybridoma cell s

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          wu.ro.:i i m1n.un iz;.id v i t h l OOµ g- .; mtiger. {100#1 ~k , eec'.• v .1~ t he 1 .-p .
          :rou:.0 . I n :l t yp i:::al experi me nt mice we r e i noculated with ci~h e r
          :::-c c cmbina.nt human c!:iaguh t.ion tac t.~, !Fl I X ,: s"ne fi xr...! , hu1J1.<1.n
          -~ cthrated ( P[Xa._l r'lzaa (« n:r.yme R~l!l~.ar:"¢h r,s bor ~ t o r ~@s , Lvt:

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           Case: 22-1461           Document: 25                              Page: 262            Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 22 of 70 PageID #: 12358

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           ~ Prxao J l 90L) o ~ h uman FIXa~ ( Enzy.r,e Re oe~rc~ L~bor~tories , Lo:.:
           HFIXAal:I l l32 AL,) ~djuvan ted ...,ith Al{OH} 1 o:r KFA,

           Individ.l:al mi ea- ,...,~rQ l:Oo3ted at ·,t.ario:.1.s time~ :+fith 100µ9 ar.t.i;~r1
           (lC~•.i.tl dooes, S..p; a nd i:;acd! i ca:i t·,.,o day:ai l a :.er. Splee.:1 ce lls
          -.,H:?T'e r e1r.o·,:e.C anti f u sed t o F3 X6 J-AgS G. 5.3 mye l ortai c~ll ~
          eaeent i .: 1lly as described by Lane e:. a l. , 1985 (J . lmrn\lnol.
          Hetho:is,. •.101 e1, pp . .223 • 228 ) . Each fusion experin1<:r1::. was
          .i n d ivid.taa : ) y ,~t:m.h~ t.>ed i. ,:i . !il93, 195 , 1 9 6                      <>r: l95 .

          Y.ybi.·idOf!I~ ecllG were grown !.n 96 ·1cll pl~:::cs e n ;). mae-r~J-.age
          !eedei leiye:r (app . 10~ cel l-s/ rnl t and select{::d i u :JAT-rneC.:.um
          (RPMI - 1€4 0 mediul'll aupi:,:-lc:;r:ie.rH:.<id with :u:tibiot ici;,, l C€ FCS, lla -
          pynivatF.., r.,-glutanine, 2-mer.c a ptcetha nol and 91.T (F..~T l OOx:
          l , Ox10 · 2 M hyponnthiri~ in H;:• (136,1 ffi.£/lOO m.l H:-0), •l, C·xl ◊·~ lo!
          .aminopte rin in H;)o ,:1, , , mg/ ::.ooml E20) an¢. 1 , ~xi,:,•~ M tbyi1i.idine
          in Rp (38, 7 mg/ 110:rtl Klo:, . M~dium was ::irst chang1~d after 6 da•1 s
          xnd t h•r wa.£t.e:i r t w.ice • w~.,.k . 1-.fttJ t ' 4,'. .. 3 ••:"eki,; H.A.T - ir.edium w.-s
          changed to JIT- mediura (~PM! - 16 1 ◊ ~mppJ eme.nte:t with ;mr.ibictiC$ ,
          1 0\PCS , N.,,_¥py-:n1V:ltC, L · 9lu t~-:r,.i ne, 2 -me rc:\P,t•:iei:h.~n o l                        t1nd HT~ ;md
           later o n (after addi tional l - 2 ..·eeks! tc• norn1ail growt h i1tcdh.2m
           {nPMI-1640 ne::Hum auppl gment ed '-lith l OtFCS , N'a - pyruv·a te, L -
          ·g l ute.mir.e and 1-rnen:::Apt:.oethan ol) (i,:e~ : 1-JV'B!lIO:)t,~. 'rECW.HQUES,
          EMBO, SKMB Cour$e. 1980, Bae~ l ).


          In another set. -~ f exr;=e=ime:nts PIX def i c ien:. CS?e.1::. mice ( Lin et:
          .t\l, , 199-;, Bl ood. 3·:0 : 3.962) wer~ used for imnr.:.nh:~.t icn ~nd
          s 1Jb8eqt1ent h7b i-id01'.la i>roduction. S-ioce F'IX k .o . m!.ce do not
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          c,xpresa endo:1cnou.s Pl.X , the ar~~i { a } .. p1:r ani:!..'.:,:,dy 3pe ct=um
          c:.chiev~le .i• 111.1pposed to be e.:.£:=t:.reot cc•1r.p~e:l to                                    11u1'trtitl   Ectlb/c
          rnice. { l ack of tcJerance).


          hample 21 Assay of FVIlI -l ike a.o tivi t.y in ciu,ernataute of anti-
          FIX/PIX.. antibody secreting hybridoma calla

          In oi:de1.· to .aes~y tt.e fr.1 1 11 - lik.e "cth~i ty of a.nti-FlXa
          antibodi es secret.ed by :"lybr.S dc-:ril:l cellsi, t:.h e co':n1ercia l ly
          ~v-'i l .!1.1>1~ t~s.t ... k i t: C'O.\TRST iHII :C/~@ ~Chrt.4'T'Og~n 1X) ..-as
          em;?loy ed. The assay wao d oiie e:;;se ot i ally ao descr ibed by t he
          r.:a n ufactur'l:?r wich the fo l lowing r.iodificacions:




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                                                    Appx9951
           Case: 22-1461             Document: 25                          Page: 263          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 23 of 70 PageID #: 12359

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         To a lto•..· a h i-g-h thro 1.1ghput screer.!.ng , the assay was dcwnsca::.ie-d
         tu microt :Ot er p late format. tk i eC~{. 25 ,, 1 a liquots o f hybri Ccn-.a
         s._.1.?ernataut..s were r.ransfe~red to nicrotiter p l a t e {~ostar,
         ti?,;;e} ,."Cl i s alnd w;;.rmc-¢. tc :;7cc . Ch:.·omogeni~ subat~ ate <S • ✓.,.1:>..>                     ,
         e;,--:tth~ t.ic thrmnbin inhibi.t=::r <I - 2S0l), fact.or (F) IX.,_ ~..nd .PA
         ,o1ere r ·ec-0~1.st.it.uted in s.ce rile wal:i.;:r ~ld i,~1x...i./FX ir.ixed w.1c:1
         p'.'\OSpholipi ds: ~ccording t c t h~ euFplie re protocol. Per rci:lct.i ·::>n ,
         S•J µl of thi:a phospholipidiPlXa./FX s olu':icn •,.·e::'."e combined wlth
         2s.,,1 CaCl- 2 {?.SmM) arid 50,ul of t he sobst rat.e/inhibitor CO(_•k.:.:.a.i.l.
         To s:art the r eaction , l2Sµi of the premix were added ~o the
         h yb.t: idonta fJ upc•raatant in t he ro:icro t it~r p l ale::i .:t:nd incubate:! at


   t     37°C . Abscrbency at 405n.il and 490nn of t'.:le sam;,les •,:a.e read at:
         va~ioue timei (30min to l2h) against a ?:ea9ent bla.."'lk •:t-:Ui. ceE.
         culture medium i netead of i ybridoma e,upernatant(
         iEl-1S Rea.dot· ~"· microti t e ~ plate :reader . FVlZI -lika act i vity cf
                                                                                                    ~~   a Laboy~te~$

         th-. &3!r.pl!>g Wei.$ e alcul.-.t:'!d by eomp$.ri ng 1::i.e -: 1.bsorbec.cy c,f tho;
         samples aga:.nst the absorbency o f a dilut ed FVlll refere ncP.
         et<:1ndard 0MMIJ'f,.'0 bG t S.'l"'1A..1WO) osi r ,g G&rBSIS"" ~oEtwat·e.


         The r~sul t.!l of a ::.c r ee::->ing f o::: FVl:I -like acti,,.it.y i n hybridom.i
         cell culture supernatants are sho~r. in Fig . 1 . Pre-selected
         clon'.?::1 dc:-ive6 tr~ru. tuDion expe::-irner..ts i#:~n. ll-195 and # 1 96 (see
         ,:1bove) wi,n~ examined i:11 a chromog~n:.c F'\'!II ;,.ssa.y as tle:~cribed.
         Clones 1:,~iMl . 19J/!U ar.O 1 ?3/Fl arc subclon~s dcl:'i vc<i f rcrr, t he
         mattter clone 193/CO (nee below). N,!V~,t:e ::- c l nne 195/IO ••·a s derived
         f r oin fu ~io~ 1:1,:.peri111ent t4:95 a o d <:l o:::~;;; 196/A.O, l~S /BO aJ:d 196/CO
         "-'l:re deri vad from t'us i or" exp@ r im~nt ~196 . I n a. ty:piea.: scr~~ning
         ex.pe::-imenr., approximate l ~· 1000 clor:e.s ti:i. 36 we l ls) f ror::i a
         single fus i o~ experi:ne:.1t were p~e - s c reened f o:: FV llI - l i Ke
         activi.ty. Subsequantly , sel ected clor.es '"ere gro·,m on a larger
         scale (:?.- 5rn1 sup~rnatQnt! ~nd re ~an~lyli:r:-d :.n n c h:rornogenic
         a e6ay. t.s a n ega.tive control cell culi:.m.·e: medium w-~ s assayed. c •n
         each plat.e     (Mliw·, •


         Welle either exh.ibitit19 tu-:::h PVIII • li~a acti •; il:.y in the f irc t
         place oi· eubs:antial FVII:-1 :0 ke activicy or. a s~ecnd e-ccasi◊':t
         .,.,ere sauhj ect.ed ~c subclnni r.g procedu~ea. 'Ihe s e lection .:and ·
         subcl cning process is exenplifi ed for c:he $Creening and
         Embcl::-ning of an Ig·~ prod:.1c!.:ig cell l ine Ci. e . 193/C0:1 but has




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                                                  Appx9952
           Case: 22-1461           Document: 25                             Page: 264          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 24 of 70 PageID #: 12360

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        b '!~n done exactly the .s~rne way for ~n l9M ( i. e. 1~6/CO, ee~
        be:.<=:'-', Fig . ;;, p r oducing clone.

        The 1;1el :ction p r o,::ess was do:tf! Zy inithi.lly p l a::ir..g a l l
         bybrido1T,a ce ll clones deri v ed from a. eir.gl e fua ion expe::::-iment on
       • t en 96 '1tc, ll p l .:!1 !.8.S. the rt:by Ct'ea t.ing t.he ~o :::a.l led " m§ISter
         plat f!s". S i.:ic_;i..tl ~ r pciitJon ~ (w~ l h ) oo a rr.a.i r.e r p lat:f! 'Jl!'i>"lly <io
         c<:1nc.a .:n more t h.:.n one hybridorua cell ::::c-ne {u::;1,.;al.ly J t o LS
        d iff~rent c lones). S ubsequent l y , th:: zantibody secret ed. by 0:1.l y
        se'.''=Jt'a.1 100◊ cel lr; .!.~ te:eted. The~e cel l s g1.·o--.,; under c onditio r:a
        acbopcirn~l fer a.,tibedy prOducti on. whic h i e. k no..m to be beet ir.
        dyir!9' cells. So ~he c xp!eted s pecif i c ant i - FJ X 3 n t. i body
        conce.nt:::-atic,n in the .eupl!rnat ant rt.ti.)' t,., in t t-.e t'ti..t\SIIO! of 10 1 ~ t o
        10 ·~• M. ':'hie -iil ao v:pla. i ns why ir.cubat ion p erl odo have t.o be
        ":xt =;.nd:ed ca mpareci .:~ si:.andard PV-I II UG:'J"-YG .

        Raaults ot a $Creen1n~ for a                      lg~ mediated FVI!I -l i ke ~ct i vity                in
        hyb ridO':'l'M e::11 c ulture euperna t an~e c -f a miister p l ar.e are aho.,_TI
        in f'ig . 1. Sup ernatants 'lfer-, ttx.~mi n,;d i n i;. ch1-coo9eni c I;'V ! IJ
        tlt'lG"Y· S hovn ar.~ r.he results derived. £ 1:om th.:: fi!~b ro~:.t-:::r pl.:.;.e
        o f f usion exper.i rrient. number #193 (Balb/c nLice irutt1un12ed. '.Y!.tl'.
        FIX~o.). A.b,11:>r.·l)~ocy w ;h1 rei=.d cf::-::= ~ hours o f i.neub~ti or: 3t 37°C .
        Posi t ion ES ..-a, idinti!ied to exhibh F"!II I liko1? act.i:rit y
        Gig:,.H!Ca..").t l y l'ti g .he r than 'the b l ank ()lLW) . l'hia cell pool w.:.i.r.
        d~.e.i gnatll!d 1 93/CO "'n:.i w.,s t\1:'tb~ r suh :- lon e d ( Pigur e 3 J . ks ~a c h
        w~l l cf t he mas ter p lat"! cont~ ir•~ more than e n..: hybridoma c-e l l
        c l one, cell..i o f s a i ngle posit iva w-=111 were ox-;,a::-.ded and p ll.t=c1
        ~.t~ l:'f ca=:.cul ated cell densi:.y c f 2 • 0 .2 c ells/-..el l on~ 96 well
        plat.a . Ag.'.:1:1.n, th'1 S\lpC.t 'll~tantc \i'~l:e :;;eteC. :for FVI I I-lik.e
        a c tivit}' :md p csitivc posi':iOt'I$ i,obj~:;!:.ed to P.nother round ::)f
        subclor_i ng. Tj,,::•ic.,,l l y thrC'e t¢ f-:,\lt' roond~ o f " '!bc:lon .i.ng ..,,erg
        p ,~rfor med with e -: tch t'l o n e display ing FVI IJ - }. ik~ acti •J 'ity r.o
        ohtair, hcmogenoue cell popu lat.ions . Hc1·e c.he 1'eGalto ot the
        :.-:h ro~o<;en ic ~~1H1.y o r t hf! 19 :3 /CC aubc lvncs .ir,: sho•,m . .Ab30 r bency
        wae read aft.c.r iW 4 twu::'8 iocubatlon pe~iod a.~ l,~c. Posicions
        AG and OS exhibited 1,ul:u:>t.a n ti.:il f ·VIII - liXe a ,;tivity a."ld. .,..e!.'e
        named 1 93/Ml. and 1 ~3/Pl , t'espceti vely. Th ese two c ~cnee were
        G'Ubjected to another 1;,~und. of £.•. J.tcl·o ning. As ~ nfit98.t. i v e cori t.rol
        p l ~in eell culture mediu.m wae .saaayed on eacl". pl.ate (J.t;:.W (H l) .




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                                                   Appx9953
          Case: 22-1461            Document: 25                             Page: 265          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 25 of 70 PageID #: 12361

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          $.   C{,:t:•p<ll.r i scn of chroTr.ogenic FVIl I- l ike acti·.ri::y ruld P l X-IH,ISA
           r~activ ity of .c:rnall "<:ale (31nl> hybr i dom" cul t u r es i:11 '11h¢1,::i ir:
           P:.g . 4 . Befo.t·; a. licci~i::w wag made whether ~ masce:: t.'.:.:.on., (or
           eubclone) :..i..ifJ !lZ.ct.her ~w;clcned., c l onec v,:r .~ g r own i o '" J-S ml
           eca~e aud the ~u.y~:nt<a.tanr.1:1 w~re c:ie-:::ked "-9ai.ir. . Thi s 9 :-~fh sho\,,.C
           the F:i:X :r.pco1 ! 1·C ELISA r€aul ta and the PVI:I - like c h 1't)lt1:.: 9enic
          activity of the mast.er clone l S'J/CO an::I .:all ic3 31.::::.)c;.<-)~l~$ whi c h
          •, .;cct identified as pne:.r.i v-!!e !Ind r~ - checkcd. Bl ank:a '.ab~::,r:·l:eoncy
          o! th~ chrcmo;enic reagent. i ~e:elf) w~r~ s ubi:racted i n ::.he ¢-,_,;;.,
          o~ Lirli ELISA ;.;,i wel l aa the chTClll09enie ~ssay r oa?aciing-:1 depict;":J
          ber~ . Clone 193/ Ml w .=t;:; 1:11.1bcl oned .!Ind. y::.e lded clon<=s 193/V:t,
          1 93/M.3 and 1 9 3/02. The other c l cneo ot the 2 ;."' roun:!: cc.:ne ::rem
          ::B/PL 193/>~2 .;r.d 1~:i/P2 wet'e G\lbc l oned. 193/AP3 , 1!13/;.S) and
          !.~l/AE3 are s 1.Jbclv:iea o f 193 /1\SC, t he othe r e l on-:a o f the yo1
          rou.n.:i come frcrn l!:IJ/ P:i . f'in9l l y 193/AFJ ~~.:. 93/J,.F, ) . A83
           (-41 '13/AE'-: , 193/AL~, 1 9:!/A.°'14 and 193/A.04 1 a nd 1S2,iAD:?
           r- n93/AG'-: ,   193/.:i.H~. 19:!/AI:'4 , 19:l/1\.H , 193/AX4 :• were SU:Ocl•~ncd .


          Fr◊l'lll!:ilcl~ f us ion cx_perirrt3n t s e veral ( 5 - lS} maeter ~l er";eS
           ~r;el~Ct¢<.l. trom t.h<i m~~l:.Qr platal were identified a;nd e.ubjected
          to QUIZ·ClC•nin9. V.O'-t ly a.fta!" 3 rounds of sub::l oni ng ::hF. ce ll
          l i nes ,,..e~·e hornoge:n::tus aa dGr:a:::nstratad by £Lrn.c. and chrcmogen i-c
          activit y analJ'G1s ~see F19 . ~) aa ·A'ell ai;;, by cDl~A aequence
          ana::::ysi s. A :;.pco1r1c 11·.c.~:.e1· :::10,te and all its subclonea p rod uce
          tne- ' Oaflie PIX/ FIX.a :bin.ding .:.utlbOOy llCWi!YC1' , t £1ere a.re !luge


   I      dif!e:re1:ce;.1 10 tile 0::1\t.llnxty p:oteiJ\ aeqlli:mcea :>f clone-a deri V!!.d
          f::rom i!itte.t·e:nt Daster clones ( st:Je Exampli: 1 1 :, . t1csr. !ly!'.lri dom;;.
          cell Uneo exproi;;eo ant1l:iO<IJ.eo r.::v..in t he IgG aubclasa U. e. clones
          #133 , lilj8, :.1Ke 19~/Al, l!le=/Bl, 1 9e/SB1). rlowe·.:er, ·,r n ,,..e=e a l s::·
          a.bl e to select Gcco~ Cl•~nca c xprefi~ing lg!•l ant: it:odi;;is.

          Tile c1:ro 11109cni::: acti•J i c y o! hyl::::lC.cma i:iup e=-na:.ar.t of s-:.:•m':!
          iaq:,01.·t.::1:t r:IJ.Gter ClOfl.C:al a:ntl ~®cl oi-1-.:li. Absorbancies .-.·e!'l:3
          :nea.cu::.-oa. atc.o~- ;z.1:i. li) lO ltalr• .11:ad 31) 30 rn: in inciJbat io:, pcri-o tl .at
          37~C ( Fig . S l . ln eor.tr:ri:;t. t~ :ri ll t ho clon.as Eron the 1 ~3~;
          tud-on, c l cr.e 1$6/C·:O ~n.d it:; :;ubelono 19€/AP2 pi·-odu..::e a f'IX;'P:X~
          ~i::-c eifie IgM :.ntibody Chii.t gives .:.. atr,;:,ng- ch.rcr.~o g-en i c: a ctivity
          >.e;•J"en ~ttei· ~ 3ho::r-: p~riod of i ncubation.




                                                                    24



                                                   Appx9954
           Case: 22-1461             Document: 25                             Page: 266                     Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 26 of 70 PageID #: 12362

                                             ............................ ....................
                                             .......
          To do lit ni,:,re b      d~1)t.l: t1rit1. l y ~i ,:1 of t:.ht:. biochemi cal ~ r c pcrtics of
          certain ant:J;odiet. , hcmcgenous h ybridom:1. c Ell 1:.nea e Y.precc1.l'lg
          differer.t ant.ibodies with FVIII-like activit.y >;ere expanded ~nd
          ·., oed to expreGe: t he antibody i n queotion on~ le.rger .sc.:,lc (100 -
          1o oom1 1 . Thcoe "-t"i.tibedies were ~ffi:Hty p·,.1ri !i-::i (oce Bxampl e :'.>)
          ~ rio~ cO iurthc= e xpcr imento,

          :£)t.ampl e 3 1 Fao~or IX/PIXa,.,,,., b inding p r opert i es of antibodies
          exhibiting F'lIII-Hke act:ivit.y


          Factor I X ll.n :l t he t "-o a c t i vit.: ll!ld f◊f'm :Er; c:: f U!X . ? (Y.na a n<:                           r 1xaf!
          -: FIX/ FIXa:..,,,) were d ilu ted in 'JBS (:~ srnrt. T r:ia H:::l , l SO"l'IM r.iac:l . pll
          7 . -': I t o a f i nail com;entr ai t icn o f 2:;.t9/n1l . Nu r'I(: fll(nd !i!Or'p ELI .SA
          p l at:eR were ccated ,dt.h 1 00;.1 FIX/?IXa :c..~: ~oluC.i◊:n ;11::00:rdil\9 to
          et.andard pr-ocedures (4°'C . ovtu:ni ght.) .:and •~.;.:;Jht::1 r.i~,•C1\:.tl t i 1;ic:;;
          v, i th TBS"l' (T3S, O .ll lY/v~ Tween 2 0} . SOol hyb~i d on-:a. eupernt\t.a nt
          ,, ,as clilui:.ed 1 : 1 ..,,ith 50µ1 TBST/:2'.BSA and .'.'l dded te• tl'l.e co~te.d
          E~ISA p late. Mter an inc\:.'.baticn period of 2h at room
          teirip@r~ture !RT), plat.ee w~re .iraehed 4 icime-s ..,,ith 'r'BST aind
          incubdc ~d (2:\, RT) whh 10:ii;il /well o f a 1 : 2SOOC d !.l·.i.tion ti n
          T89T i U·BSA} of an a.., t i - D:,use IgG ( Fc - .e.pec if i -::) permt:.daae
          conjugated. a nt i body (Sigrn-, ,                  tl".- Ol.68 ),                     ,-.ens   were ·,,,:a 1Sl1ad 5 t i meo
          •.-itb 1'BST ~ nd (h1l'illl' $t(li.c)e,<l ,.,..i t:h 100~1 f~eshl:,, prepared
          s t ~i ning .l!loh1t..i.¢rt (lOml 5 0111M 1Jodiu1ri c i trat.e, pH S supt:•l emcnted
          with 100;,l Oi'D (6C1t.g ◊P0/101 ) a~\d 10;.c.1 lOl' H)O)) . The =cact io::i "-'tu:,
          atopped by the ~dd1i; lon o t SC•.1,tl H,so. a:.,d. t he optical density
          r e corde d oit i92ntr, and -s2:inl'!1 in a L~bcyotems iENS Reader MF11
          micrctit.er p late rc.,_d~r c;r:ploying 031'1ES! S'T'J 6◊ f t,.:are.
                                                                                                                                         I
          I n c ertain cases !.nstl:aa~ o f c.n anti - mouse I s() ELISA, ~n ~nt.i-
          mo1Jce I gM El.ISA t-Jat: czin·ie<l O\l'; .
                                                               ---- ------- ----
          ?ur if i c & t 1 on of r..ouGc - I gO fr01r; hyb~idoma c ell oul~ure
          su,.erna t.ant e:

          Hybr idoma eupel·natant. 110 0-50 ~ ml ) w~s ,:n1pph,mi,r..t.4'd with :.:!OOmM
          Tri i;/ F.Cl buffe~ (P:.:J 7 . , :, and sol id traCl t o gi',,e f foa l
          eoneentr.ltionG o f 20m!·1 Tl:"ie and 3M NaCl, rf!specc ively. T he
          3\l[)t?rnat.ant l(~s then •:: l arified bj• i::enr.ri fugat.i c r, at SSOO.xg for
          1, min ut es , A l ml protein G ~f {itiit.y d n'<:ma.t.c ~ ~a.phy col ua1n.




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                                                     Appx9955
          Case: 22-1461              Document: 25                              Page: 267          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 27 of 70 PageID #: 12363

                                              ............................ ....................
                                              .......
           ( Pr'o tei1: G Sopll;t&'OG~ Fil.a t F l ow, .11.ne::aharr-Ft\a r~~,ci;:1. '.> w~s 1'·asil:€!:C
          Wlt t. 1 5 nl 20tr,}1 Tri s/Cl pH 7 . 0 .:.11d aft~&·•:to.r r1~ eg1Ji librated wi t h
          l V ml of 20m11 T t•is/:1 buffer pH 7 . :l CC::Ot.(, i nin3 3M th.Cl. Th~
          l"~yZri ::.o:n~. super:1atant cc11.taini n 9' 3M tJaCl "-'~JS t:,"'n ::.0¢1;.deC onto
          t h ~ c olumn :by g 1·a vity. C~l uuin •,oia f. ..,,ur:1(::<l ,..,it h 1 S ml o f ✓. Ofl'J-f
          'l'r i siCl buffe r pr. 7 . o co r.t.1i n ing 3M t~acl. B::r.md l gG ,.,er e l:urthcr
          eluted •dth 12ml g l )•e i nc/HCl tr..1ffor pH 2 . 8 a!\d 1 n1l ::t'tsct.i.<>n!!>
          ·•c-:rc ~ollcctcd . 1(+0;.-1 of B ~ Tris pH !LO •,.;er!'! adde d t.o ~ a eh
          frac t ion f .~r neut1.·al i za::ion. Fractio ns ccn ~.a j r1i n~ t !H:. J:9G w~r"
          i dent ified b y fl".!.x ing S0.:.1 wi th 1~oi:,.:. or a sto.inir:9 $Olu t.io~
          \ BioJ..a<i concsa:m:.rac~. l :5 dilute d with wai;er! in -..·~ llo of a
          rdero;:.:ite. Poci tive frac i:icnc ·,.ier.e p0¢led, eo n,: :cntr~t c d t o lm.L


   I      i n a uit~~fil trat ion concentr ?ltor devi ce (Centri con P.iUG 2•),
          Al'!ieon I !lecord.i ng t o th~ m..,nutactur-er . Tl:e concent ~~te was
          d ilutf!"d .. it h 19 tnl TBS (201n!-1: 'T.rh,,'Cl ln.:: (1:1r pH 7 . 0 contal nir1~
          150:rJ-t n~cl) ~ nd i;g~i n ¢()n:::eott'At e d 7.¢ 1m: . Thr,c di l 1,1t. i!'lf1 -
          con~·:(;:.:-,tr.lt. i n9 l1t:ep \\•a c re-pe:tt.ecl fo::' two ~ O:t' e :. i mee; in c t·do;;:1· c.o
          bt iog I 9 G i nt o TS Sc.



          Puri f i c~tion of fflOU$e-IgM t ~ hyhridoma cell eupernatants :

          100- soo 11.l <.) { hybri <l.otr~ cell :::ul t u:-e $upern<?.tant. wen.
          cvnc"!ntr<'ltt!'d t o 5 - l Onil t- i th,:,r ":i t '.:) a «H.r ,:i[i) t. ::.•f tt i o:1
          c oncentr atcr device (Cerl'tricon Pl u !/ 2( , Ant:Oc o ct! .;i¢Cf.>Nl ng ::.o t.lH:l


   I      mar:ufac~ur'O!r er by a.mrr.onium aul fat.e p rec!.pl.t.a t ion (4 1:~
          sa::.urar.ic r., ;) "C) and redi sao:.v.!.ng eha p r<ic.!.pi::.at.G "•it h S - H •ml o r
          TB$. I n ..?it her case the concentrat~ ·.tv.s d i..i.lyz:ed i'i~inizt 20.TJ<
          T::-is Cl b uffer p H 7 .i containing 1 . 2 5H N.:i.Cl -~nd £1.Jrth.er
          con =en trac>:id t:.o 1ml in a C~ntri co:l Plu s 2~, (!.mic-crJ
          ult.r af~ ltr-.ii:ion d evic1: . IgM ~er~ :;urified from t his c oncentr t-lte
          ..,1th t1'.e I a:mun o?'- Jr~ Igl•: Pur ificat i -o n Ki t {Pier ce:• a coor din9 t o
          the m.-.n-.1ta:; ::.u r e r . Fra<:tio:'.l.e <::ollect.ed during e :Ou t. ion ::rom the
          r:a l t oGe binding :prcte i n - colum.r. ~e::-e teat e d f or :i;g ~,. poc-l~d,
          <::·; mcent.t"ttted -,.-nd b r o ught. :..,, r.n TGS as d~s c r ibed fe r rgG .

          D•t•nni nation o f I gG e o ~e~ntrationa in purifi ed preparationa:




                                                                       26



                                                      Appx9956
          Case: 22-1461               Document: 25                              Page: 268          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 28 of 70 PageID #: 12364

                                               ............................ ....................
                                               .......

           2e:inm - ext i nc~icr. cf ?1.pprop~i ate dili:.ti o r1t -;...-e:re •11ci.:::~1.u:od. E220
           = l. 4 cor respooda to l mg/ml p rotein .

           Factor IXa specific lgG ( quantitati ve ELISA):


           wrdls of ;. 1nic::"O:pl .::to (}junc: H.axiso:p) ~·e r e ir.cubated wi t h ZJAg/ml
            to1ctvt' r xa dl l ui::.ed 1::-l Tl!-S (25,rM Tri~/ HCl i;B 1 ,S containir.g l 50m:'·1
           l\'it.Cl j cwe:r r.i ght ~t 4 ec. \iella v ~ :re 1.,.1.'t,:c;hed f ou:- t.i ~6 wi t:t ':'BS'l'
            { 25f!'IM T r i s /liCl p.\J 7 -~ ccnr.a i 1li.flg 1 50-:iit,1 NisCl. ~ rd (:, . t % (,,-/v) ':'Wf!'ll!"O
           io:,. A~ n M:-:!ndat·(: r11ono-::l o r:ial 1'8 t h~ JU Xl i:mt.i FJX fac:::u nttc} i 1,;,
           u~ed . Ste.nd~rd ~nd e~mpl e e ve::re di l uted in 'I'BS'I eontai nirig-
            2\- (•..,/v) as.:.. 'The etandsrd. di lutior. e-e :-i e$ •S.rod a.rn:,ropri-)i:c
           dilutions of t.taf! sacr:plee were i ncubai:ed or. t '.:l~ E:LI.Sn.-pl ate t o r 2
           h-ours a~ room•temper at\tre. Pl a t.~s w~re xae.h~d '1 tirr.e a •.rith T3$T
           ,:md inc '-tbat cd ( 2h , RT j with 1 <10.ul /.rcll of -al 1 : 2SOOC· dil u tio n
           ! in T6ST/lt;SS71..} of 3!'\ Ant.i-rno,.1.c e I gG :cc - s~cHici peroxidt.s.~
                                                                                                                        e
          conjl)gat.!=!d antibody ISi gms, ttP.- Ol GR) FlXl'I. Nell~ were ..,ael\e<i 5
          tim~s wi th TSST ~ n d f i nally st.ain@d ~ith LOOµ l f resh ly p repared
          g,tt1.i.nin9 ~ol ut.i o l\ ( 10ml 5 0mN ~::>dil:.m citrl!l.t.tt, pH 5 s upphmeoted
          wi t h l OOpl OPD ( 1".iOm.g OPO/tdl tmd 101.1l 30 ~ l-;::):), Th" r ea{~t i o.ri wa8
          1;,r.-npped h y i::he add ir.ion -:,f s oµ) Hi :.iO( t!n d a f t.er :io mi n·.1t.ee. the
          optical dansity rec orda d at ':9Jr:ir. ar.d 6:H1 :im in • Labsyste ms i Br•~S
          Read ~t' MF™ <l\!.arot: il:.c~r p l;;&tB t c)e-1.~~<:t.t· ;ili-npl oylog: <.:EKESIS™ £i(J(:t,..,:n "'t'.I.



          E~ample 4; Anti-PIX/FIXa a n tibodies exhibi t ing FVIII-like
          activiey in a ch r cmog~nie FVIII 3esay

          S:v':ral anti-.:JIX/!'l .X~; am.ibody p rcd'.lcing h.ybr idotD,a clone s ~=re
                                                                                                                        I
          s uJ:x: loned up to tout.· ti:nee a..,d. t h e ree'\:.l ':in g incncclcr.al
          11yliri d c nia cell line uced. to ~reduce rnonoc !.on~l ~n::ib ody
          con t a i ning eup ern~e~nt. IgG le~t~e ¼n~ib6dieo der1~ea _fOffi
          t.heee aupern,cante were purifi.ed. ever a ft'j n t t.•t co!t:.'lt'1r.s and
          di~l y zed a gainac 1'5.S (s ee a.k,ove) . ~gM ant.ib~ ie 5- ,•er~ just. used
          a s unpurifi ed aupern~ta n': f rac ~ions. Th~ fello wing e xpe ~ime~t$
          "-'l! r e done xith t ~c sets cf r e pr~senta t i •,e a nt.i.bodiea i 19'l/AD3
          a:id 1 98/ACl/l (IgG i sotyp) .:ind L96/AP2 and 19 6/.~Fl (IgM isOt}"p)
           ( Fi g . 6A -,n~ P i g. 63) . Briefl y, 2Sµl o li('J\1.0to or monoclono.l
          a.'"'ltibcdy cor.t~ir.ing =~~le i~np·J.rit i cd n•;J>tidQTU, aupern&.t:,.n~ or,
          o::l,ir,e indicat e d , a ,co;rt ain amount o! F!X tpecific .a.'lt.1body ! wer~




                                                                        27



                                                       Appx9957
           Case: 22-1461            Document: 25                             Page: 269          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 29 of 70 PageID #: 12365

                                            ............................ ....................
                                            .......

         trar..ef e rre:C. t c microtiter place ,...ell s and warmed t o 3·; 0 t .
         c h1·ornogenic s·JbE.tri!ltl!t L9· Z222! , i;:ynth P.t ic t hroG"l.bin inhibhot· {I -
         ?.5-3 1) , factor (P) n:a ane. rx •,:ere :rc c-:institi:ited. 1 n stc ~ile •~att<:1.·
         a r.d FJXsi?X Dixed with ::;,1-.osphol ipid a ti.GC:~tding t.c tne auppliera
         p rotocol. Per rir,;act.i on, so,:l o! the ph◊::':lpil oHpld/TTX:i/FX
         1;:)l ur.icn were combined ·-,it,h 25µ1 CaCl : 125mm i'l~d S0;,1 of th.e
         *1..:.~st.t·,iit <:!/ inhibito r cock::~11 . Tc ::,tart: c t-~ r eac,.i or,, l i 5Hl of
         the p r e mix were aa:le:l to the tnonoclon.ll .1:1tibody colu:i:: ion in t he
         r1licrotiter p ~<'!lt .e.i:o; {lid incuba.t€,d At. 37"C. J,.b3.:•r :C-cncy ~t 4C 5nm a.>1d
         4SVr.ro. cf c he sampl e~ ·..ia:s l'ead i<t t vt.rfr,·. Js t. imes (Smin to 6hl
         aqai!u:-t a ~c .r,9ent. t.: ,nJ.: •:ce ll cul t~•.u e 1Tted:Ou111 i n stG.;.d er
         hyhriC.c:ti;;;i a...:pe,:u atanc; ir. -:I L-.at:•syste n is it::MS ~.~1t<.!.c?' '.\l~«
         ("lic rotit.~t· pla c.e read,;:-r uoing GEtlESISN .-:;of-t·..iaC'e .



         -:-t-~e 'time c cur.Sf!': ~-,r <:hromog:':riic :FVI:I - likc uct i..,·ity ::dtl~ited b:t
         rn:.,:i.oclcnal .:-intib<1di.ee 193 iAD3 { [gG i aot yp.:> an~ l 9G/f1PZ .;ig:,1
         i sot}-pc) cott.pared to h wnatt FVII I (12 i\Jld l OtriUir.ill , TBS and to
         cell culture med iuir1 i ,; ,sh o1om in t-";i.9. f A. Afte:: a lu9 p h.;i.oe-, both
         ~nt.i bodi ~g give rioe to chr<::r.11::sen.ic eubst.rat e c l c :w..1.9e, ~o
          jodged l::y c.he in:re~eing eptieal d.e.nei t.y .ne :;1~ 1,1 1:':Jhlf: 3C aosnn
         waveler.gth.

          '[·he t i me C01Jl"Bf! .: ,f cll::"VU'/Ogcni•O F"'t/I I :-111-;e activi e y exh'lb:i r,.ed by
          cr.ono:::1¢,tie;l ant.iC-odi':11:1 1 9$/1.;'.:1./ L t:9G icot~?e , l O.u9/tul1 a nd


   I       L96/ AF1 (lgM iect yp . uflpu.:!. fied $U:f:'=l:natant) eom:o"-:-ed to },umar,
          F\'Ill (16m!J/mH and 1cµg/m7. cf rnci.:.Ea 19·3 1:J s:lown i:l rig. &ti .
          A!Ler a lag phase, bcc h ~ntibod i ~ ~ g i ve r~se to chr crncge nic
          ~ubs;it.rata cleava g'.:', <'!II:( j 1.1dge<l h;f t.ho:i increasing -optical deneit.Y
          a eaS1ura.ble at .; OSnm wavelength .

          ~ p l e 5: FVI 1%•lik~ ac~i vlt.y exhibited b y ~nti FIX/~IXa •
          an~ibodies gene r• t•• £act or xa. aod is phospbolip id. Fixa/PX ~ud
          c a.2' d ependent .

          fact er VII I -.cc.!.vity is usual ly choract.ed ::ced in a -c ht:omc'i'Cnie
          and/or i n a hPl'T based. cl-:>-:.ting aoc~y. &c':h t ypes o f .,i;;G".a;·::
          r elay on the 1n/ I!la/FIXa media ted tactcr Xl'I. ger.e:n,1;.,iqn. tu the
          ,:;:a~e of a chromc91:l:\ic f ...;l!I assay the fact.o r XR produced will
          subscq\lcncly re~ct with a c hro'll'Og..tsi-:i.ic .=i,;;b=tt'9.t<e , which c~n b*




                                                                     28



                                                    Appx9958
          Case: 22-1461            Document: 25                              Page: 270                 Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 30 of 70 PageID #: 12366

                                            ............................ ....................
                                           .......

          m~nitorad ~ p,ec trO$COpic~lly i.e. i n an Et.IS~ re~der. I n a n AfTT
          b;u1ed clo t tin g il$$<:'I )' Cteet fac tor xa ,·U l ascea1J>1c wi th P'la o n i1
          ? I., su rfa ce in t h !! iso <.~<'-lled proth:-cn'lbi nase co:np lex a n d .,.c t ivute
          ,, i·otli:r<>11\b in t o t.hrombi n . T:lrOOlbi:t in r.u r n g i •;{t,; !'ise co tiJ;·r !.r.
          gen e rat ion a nd.. fin.:'llly to i:hc clot f m-rnf. t ) :'.!u, c~n tr31! t~ thta t wo
          31ceay s ystems is th~ f .ai.ctcr Xa ge:n e r.at~o-r, h }· t h~ FVl!Ia/FIY.~
          coin?: ex .

          To d ~monst rate "'ha t che FVIII- 'like eictivity cxbibit.e d by ;,,~t i -
          Fl X/f l xa.--: 1.ncibcd ies i:1deed gen e~~i;eg !;ictor Xa ::he fcllmdng
          exp~ri ~nt ~as car~ied out :

           Several 25µ1 3 l i quots cf c.he (ur.pv:ri£ie d; h yC:ridcma : -u pe1;nat aut.
           196/AP2 ( ! gM i sot.ype; were t:r An,c f 4'r.'::"N.ld t o microti ter p b.te •~e l li;
           a u d. wa , ·1n~d to 3 7 4 C . .:=.s a poe i r.i ve col'.!t rol , 16!'1'.U o~ Rceomt,inat.~·m
           were dilr.ited i fltQ b.yb1·! Uow.a1. medium (196 I-IM 0 07/9 5 '.' ~nd. trca~ed
                                                                                                                                   e
           exact l y r.he Sla.."l'.e ..,.,). as t.h~ ::.ybridcott su~@::::natant. he a !'le9ci;:.i..-~
          control , p l a i n h yh rid.ou,a. c11~d i um •Aaot5 use d. Chrotr.og.anic c:ubotrat c
           (S- 2222), a:i.,-nt.het i c t!'lr-onililn i nhi b i t o r n.2ss1:, . facc o r (F ) 1 Xa
          and PX were reconstitu r.ed in .$t~rile va t e :r zi.nd FIY.~/PX mixed
          wit l: phcspho lipids scc:nr<i i ng 'tO t he t::u~l i e rz p r •~toccl. 1'efa.bloc
          X~@ ~ factor xa apecif~c p rete~n:;ec tehibiter ( Paneapharm, LTD)
          w•~     n 1c o m~tit ut@d wi':.h water t o a f inal coacen.trac.ion of 1mt1/l.
          Fer r eactioo, SOi!il of <t,~_e ph.oopho lip id/FTX,'l/FX i:;olui; ioo we rte
          c o mbi ned i.·it h 2 5µ.l C~Cli (lSrnM.) a nd so~l of' r.he $l.!h~t.n.llt.e/
          t hromhin -inhiJ,itor c o cktail . ·ro sta:t:t t he t•~a<:t ion , 125~ l o f tb~
          premix wer e .::idded. to t.~e aamplea i ll th-e 1t1i¢ r·:;,t it~ c· p l ate ::; ;;-:.nd
          inc~a teC. a t 37 9 C , Whe r e indic;;at.ed 3 Sti!'. Pet a b loc ;;3.® "'ere
          added . 1-boo r:b ency ,r.i;:. 40Sfuu and 49 Umn                                 w;ia ::-e;id a t   v~:deu ~ t if!'leG
          ,: every s mirn! tei-1 t<: Qh) tiC?.!l i n~ t                 ~
                                                      r e agent. b l ank. (cHl Ct,:..lt.\!.1·e
          medium} i n a L.;.b$y.l:4t~i:t•~ i BMS Reader MF'1" mi cro':.ii:ar p late r e ader
          ~rnploying t :'le GEl·'1~SISN sofh•<trfl:1.

          T:le reau lt.e o f t h e f a c ~or IX~ o timul~ti on b y the PV !ll- Ek-:
          ,'!ICt i v i t.y exhibi ;e-d by ;J;e Ig}ol ant1 Fl X/ F:xo:-a r.t:Obody 19 6 / A.F:?
          9to,nerate.:J face.o r Xa ae judgt::d by t.ha rea dily neasurablF.: cleavage
          of U •. e chrom::igeni c ~ ub i.tr~ta S - 2222 (corapare • 1.;;mu ?''.'Ill " and
          • t96/A.F2 •) iS: ~h()'wtl i n Fi 9 . 7A. Fact o r Y.a a c ~i -.:ic.y i ~
          c-!fe cc.iv e l y b l<:(:lcei:i b y t.h ~ FX.... speci fic inhibi':.cr "Pefabl oc




                                                                     29



                                                    Appx9959
             Case: 22-1461                Document: 25                               Page: 271          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 31 of 70 PageID #: 12367

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            X'4®" (c:::opare " 1 %/AF2 ' ' ve~e--Je. "196/A:?2 35j-(t~ Pefabloc x-,®u)
            lndl(~it.•·. ;i ng t J1~1: j mlt1ed FXa ic genet' ate :.L


            l '"n.,i garr.e experiment wae ~~for~ed. usi ng p urif i ~d : gG-
            p r"p;'!lr~tiot1s o f clon'! 198/AMl (? i g . 7&:, . !11.11:i.Ci~:-.i l 5C we re
            di l ut ed i n TBS ~o a tin..i.l conc entration cf 0 ,4·ni)/111l <'I nd 2Sµ l
             (i.e . ~ tot.al ot 101,1,gl "'er~ t 1'.aua:ferr e d r.o inicrot.iter. p !.atc
            ~~11:;, o.od wo1n ned ::o ~7 "C . 1'.i,s i,, pc.-.it i ~ contrc•l 6m:J pl.a:c 1r.a -
            derivad ?VII: •,t,;,a 'Jsed , 10,c:g u~11$pt!cific ,r.v u::.e Is(l 1Si·;111',n., ! •
            Sle-1! ltarvt.:d af.l ;.i :u;9at.i\'e c c m:.rol . ,,.esay v ~e yerfc rllj.ed .!IG
            des cri b~d above .

            F'. n:r,h ~'t' "1X(U:lri. tn~r', t.~ s how t :;'? f act-~ r                    l Xa e timul~.tion by t h~
            U'.J 1T t - Eke Fo:~r.i v i t.y exhSbi. t~C by th~ l g<; ~nt i ?IX/? U:~-antibc,~y
            1 98/.:i..t11 ;enerates factor xa 11s :.udg~d by t.tte r e.,ClilY tt,e-,$Ur:i.blc
            cle~v~9-e o f t he c h r omog!'nic Htb.strate s - 2222 (? ig. 76 ]. Ar_,raln
            f a c t.or Vt ~l ancl ant: i.br:dy 1 55/Ar11 gene:"<:l.te PXa wh.kb 1::1
            r:-ffEc::iv e l y bl◊cked b y t he FX« specific inhibicor "Fefablo:::
            X<:.®". A!:I a nE;,;ative c ::ir,t:t·ol u ,~i:;1)e:::ific:: 11".<.>~<si,, l9G (S i gl<''!I , l•
            s.381) was a~a~ yaQ.


            lri anothe1: sat. of e xpaz i m.ent.e \~he d~p~nd~n(:e of t:lH:~ r'Vl t l - lik!!
            .i<.:t i .., ity o r:· -0Hh er pur•H .i e:.-!. ..in ti F! X/ F J.Xo1.• «11t i bodia.; (Igl,< ,
            P i'iJ.!I~! Ct' o: ":..IJ)puri ::ied a n ~ib:.xl.i,e:!,,s d~d•.,ed frorn <:e 11 c ult.1,1n:=
            s upe::na t.ants ClgG, !'i g . a:a, on t.l:e pree e nce of p "nosp:ml !..pi ds


   I        (PLJ , F I Y.ii-/PX a od o.I• <:01.1l d b~ d~mcmst n .ted. Mou~e l 1:.<C:. ·•:C's \l.~ed
            aa n c;:mtt·ol {f i g . SC). Po c:-.-:,t· VIlT - like .:ic t.i.vit)' w .!'Ji;i ~ !'lfli,y~d
            aase nt i a lly ..-a d<Jscribod ~bo•..-e . h'hen i nd icat.e:3, eir.h.er the
            rn x~/FX mlx.t,'.,l r.~ , t'.he Pl,     -:)r.'    CH'" ....,,.~ Oll' l.t,ted fmm t h,e t"'!"-Ction .
           ,\bsorben•~Y a1:. 4 C-5nT, An:i 490r,ir, ::;f t.he sa1t1.p l.,es ·.-,~~ t·etid at variou~
   - - -~ t~i=it~ a 3(J!linst a l::'ea9@nt bh.?lk :buffer inste.aC o :: p·J.rified
          .!'l n t i~o:.i;•:, in .:. Latu;y,;t @ms. iBMS R.@o\der HF~" m.icro'ti te1· p l~t e
            rt!.{\det• , Tl'le r e ~u ~-::.,s, ~ r e r..ho.,,r., in f'i g . SA, Pig . 8B ,i\nd. Pig . l\C ,

            '1':1c dcpcnden::e of t he FVIII - :. ikc ~ct i vity c f purifi ed. anti FiXli-
             s nt ibQd.y :..se/ !\~l/l ( I -gG i eoc.ype, c on::~n~:::-~t!.ee ucee thro1.1;hout.
             t h e assay was 10µ9/ml ) I o n th~ p res ence o f p hospholipide. (PL!,
             PTi<.l'!:/FX. t'IT'ld :::at- i~ f \1re~er et\oWi'I i n Pig. e,• . Ao e"-l'li l y
             r !!cognizable , onl y the comp l ete assay, includ!.ng antibod}•, PL ,
             c.,.>·, ?IX,:,(F:< 9h·~c: r h:1e to <:\ r e,:,oonMJle F~ 9 ener,:,.ti:.:n.




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                                                             Appx9960
           Case: 22-1461             Document: 25                             Page: 272          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 32 of 70 PageID #: 12368

                                             ............................ ....................
                                             .......

          T"ne clf'![!en d!'!lnce of the F'J ltl - l i k e aeti·.rity of c e l l c u ltw.·~
          :..u~~rn ata r.t. c o o tai a l 119 unp·. 1dfi1:?d I gN isot:ype anti FJX/F : X."1. -
          :m tibody {196iA? l J e n the ? 1:caer.c~ of ph:::.~pholipi~ , FIXa /?.X and.
          :.'a t • i s ~hm•n in Pig. Su .


          A·; Jnin, aG a l re.o.dz· .shO"Wn f o r tt-~ p u1·ified IgC preparat ion (Fi g .
          ,SA), ~ t ib ody 1 90 /P.Cl/ 1 , en.Ly th': ccmpli:'::; aseay , i:.a.cl..:.din9 PL,
          ea~· , F iXa /f'X , wil l g i •.-e a naasio ,tebl1::: it1:1<.n.r11t. of FXtii ge rn:,x•-ei.ti on .
          To ~e1r.ol:u::trate t he specific i ty o f t h e ,·ea<.:tio.o , tot,;a~ Js,-G
          prP.p~r-'l"d f r c:m nor·1t1?1l n:c:n.o~f! p l ~!:'™'- was ase.a yed under t h'!' sane
          con:lit.!.ons ae abc-v e. Tha .results are sh::i>.'?l ir. F'i g . SC: r-:c
          l ik~ a c c ivity c ould be detec t~d. There i$, a~ ~x.pecte ~ no
          act. ivi t.y detect.able in che at:eence n f phcep h ol :i.p i d,;, Ft:<a/PX
          Ca.2·. l\11 experimenta \o!erE done in a mi c:ro t i t.e::.-µ late a1td t l\¢
         <JU'l -::-s -4aa ec;1nned every S roinu cea f er Gh .


          zxample 6 : cer t ain an~i FIX/rxxa-ancihodiea a re procoagul.ant in
          thQ prQOeACe of FIX.S.

          D'llk' lng tt?t'irt..!l he:nost.lo io . FIX 00.::::.:r:ieu i nl. ::.ially a c1. i vat ed. -21 t h~r
          by t he tise u~ fac t o r (TF)/faetor VI I .a patb xay or l at~r on b )'"
          il.Ct.i.v.)~ed. fact.or XI (?XI.i.l , S·J.baequa.ntl y t.o i ta act.i '-'aticn , FIX~
          assoch..": eS on the s>lat:e l8t si.;rfae& in a meirbrar.e bou:,,d ce~l ~x
          wi th ~ct ivatad FVIII. F-ctor I Xa by i tsel f has l i ttl~ er no
          e n zyrncttic activity tol\'a..rds f X, but. becomeG higti. ly ac<: iv-e in the
          presence -o f P°lf IJ l a . Tc Cemonet.rat e t hait :::er ta t n a n t.i F IX/F IXa.-
          i.'ln tibo:iiec ha.viJ: f'Vll l -li kc ;ict.ivity a nd h EJ1c~ a re p.roco~9ul.:.1~t
          i n a F\+I II defici ent hurn-,r. pl3.::rtr:a, t he fol l owing c r.peri ment. '-'a s
                                                                                                                     I
         -uetlrried out : Di ffe r ent amounti:t of ant ibody t93/AD-3 e r aa a
         -::ont~ol mouse lgO "W•: :re :.:.s~d in a -3 tau-da1.-d AP'M' basoa'!d one s :..age
         clot.ti ng a e,say. Br i e fly, l•~•Oµ l a ne 1b::xiy ce-r .t:a:.n ing ea.mp~ee ·... e t !
          inc:.lba.t:*d 11.· i th 1 00µ 1 o: ?\.'J I! d e: f jci1H1t. p l • .t1:m~ (DP) a nd ,, ,i t h
          l.OC•µ.l o :: DA.P'ITIN (?'TT Rea g e r.t f¢ r -:fee e::mi nin9 ac-: i va-:ed.
         'l'h r.o :'nhc_pl • ~t. i n T iw~ ; {).1 ~0 AO) re~gl!'nt, i n ~ KC1CA c : :.:,t.t:.in9
         "n.:i.l yzer. Wbc t·e indi c a t ed, a total aD:iWlt of SOn.g aci: i 'l<7~tcd P I X
         w~& i n clu d ed into the rea~t i cn mi>ct.ur e . !.!:.er i minui:e s
         incubat. i o n , t.he re=-,c t i on ·• a~ s, r.;:r i;.e ~i by t.h,:o; a d d.it io.'.ul o f l.OC•,ul
         C.3 Cl ~ (2S;r::,1) . The r~eu l t.s .ar e sho·, n in t.abl~ l a n j Fig . 9 .




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                                                     Appx9961
           Case: 22-1461             Document: 25                          Page: 273          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 33 of 70 PageID #: 12369

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                               ,,.   AB
                                               e l otti no time ( SOC)
                                            19qaf'l3
                                            s ong FI Xa
                                                           11,,ouae IgO
                                                                 no FlXa
                               9              01 , 6        }02,5
                               4, S         gs, 6           103 ,2
                               2,2 5        93,1            103,Z
                               1, 6         93,7            101.9
                               1,35         Sl,4            103,4
                               0,'9         94,4            l    ,2
                                            98• I           101,9
                               0,' '345     S7,1            l    ,9
                               0,23         99,3            103,7



          Tl:U>l t' :. 1 Clot.ting tim-=s o f f.",/1 1! <ieficient. pl.:u;,u.1. in ac APT'£'
          l:ie.eed. c lot.t::ng .-as~y e mp l oy ing varioue Rn>ou nt~ fJ C ptocca;,i9v l;::.nc
           (lS~,/ADl > ;,,nd c ·o ntrol i:i.ritiOOd;' t ir.ou.:;e I ;GI i n l:.h~ 1YreeeM:~ ,,.£
          s o ng ~ct i vated PIX (C• .Vl OFIX). The molar :rat.io of a.n:ibc-dy in
          the r eaci::.ion .aind il.Ctiv;;i.ted F I X !.s 1 0 : 1 . The mola r rat io l;et.w::er.
          1.mtibcdy a.ml tc-tal Fl l i ?t:,~ and FIX.;i., a~i;i,::ir;ir.g t hat human F".'Ill
          Q"'f;.c ie,111;. p l.as.ma contains :u (Si:-9: FIX v a1:ies be":1.-ee :1 6: 1 ( !ip.g
          9n~: bcdy i n r eac tion) to 1:6 (0, 23µ9 a n e ibOdy in re~ction :. At
          the o pi: im.al sho t·t ~,1i o g or t he c l ◊c. t;i.n:; d me t.he mola1· rat io
          tct1Jeen '-'nt ibo,dy .;.nd t.otal PI X i e l r l . Tt:e clo:.t ing t:.i11,8 wi t hout
          the aa<Ji t 1on :if Flxa i s i n the r a...,ge of 120 s eoo:ids .


   I      Fi;-. !:I a:'lows a gr-.phical t e prQl:!Qn t.a t.iort of t ile c l otting t 1rnee ~t
          FVIII d efi ci.,r,t pltH-u::ia i n a n A.PT!' l;,,.,u~d r:lot.t. ing assay c m:cloyi ng
          vA~io•.tG -'mount s o f p:rn~o.;gul a.nt { 193/.\03 ) and cont rol (1r.oua.;
          Ig:.1! ant ibody i n t he pres •mce of 5Gng activa :.e d fI X. -rr.~ rt i :1' it
          cle:u: {3nd r cp~od·.Je i b1e > •: iOGC d ependent reductior. o f t.!-.i.~
          clott.i:19 t iinr:.t i;, ~.0.11'.pl~~ ~uppl emii.in::.c d with anti:O::idy l93 i liD3 .
          ':'hc-se !'e ::;ult~ i rnt1.ly t.h u a:it.i:);x1>· t 9:)iAD3 is p~o c ~agul ~nt in the
          prcs~r.c c of FIX~.

          Ex.ample ? : Anti PIX/FIX:t.~~ntibo4ioo :.re proeoogul aoe in t.hq.
          p r esen c e of F'VI.I I inhibit.or• e:od. PIXa

          A Gevere ccmplicat i on o f the st.a.ndard f VIIJ ~l.l.bSJtlt~t.!.•:.:-n the rapy
          i s the d evelopmc:i.t of alloantibodieo d irected agai nst 1•·vn: .




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                                                  Appx9962
          Case: 22-1461              Document: 25                             Page: 274          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 34 of 70 PageID #: 12370

                                             ............................ ....................
                                             .......
          1-ead.il'\9 to FVJ I I ne'.ltr:t.li:.i.ti on wnd ;., conditi on whe~e the
          patient6. blood becoir-.et: inelot t ~l e .

          To .e~mcnatn1..t~ tJ-:.~t c ert ain ant:. FIXai- a ntib;idiec h a.ve FVIll -1 i k~
          ac t.h·i t y ll!Vt' ::t i n t.h~ pres~nce of FV:I! bhi:Oitorc , the !~l lcwi.ng
          <!tXpt1r-irn"nt ,,:a,i- ~,.rd,-.,1: ovt : (li ff l!'rera.t. .amount.s of an::ibociy
          193/AD.l o= .ts a cOJJt rol mou~rn 1-gC were use:!: in a stan:i-,r<;t APTT
          b:atse:J one stage c lot c i rl9 & 11so1.y. Brie.fly, LOCµ.l antibody asmple
          w,ere i n,:"u.t,ntcd •, 1ith eith~r 1 :iOµl of FV!II defi.: ient. pl;..s1rt os
           i Fi 9 .1C·A) 01· n,-nI inJ\i.bi::or p l as:n.a iinbibi::01· potenci'
          i •:iOBV/ ml;o . Fig.10B)     nz ·i,ell as wi::h lOCµ l of U1.Pr:"Il~ r.:a.gen't,
          in i!I. KC101' clo t ting Mill y~to-r . In <'!'lddi tion, a t ct~ l .-,ocun:: o t
          SOng a e t i v~t e d FIX!!. w,i,l.S iTlcl uded into th-., re!lction mi xtu re .
          Aft er 4 oinu~e G 1~cubation$ tha reaction was s t a r t ed by the
          ~d.dii;ion o f 1 00µ1 Ca::l? (2SOOH . To en~ure equal cof"..d!.tiona . t hG:
          expe~irn:nt employing r.n11 oetictent pl aerr~ ana ?V-IlI 1nh1b1tor
          plaBm!II wer e done s i -0:a by side . The ~F.u l,t.B -,re ahowt'l i n Pi g. lCA
          and 10B . As already ahown in E:xample. 6, there i a a c l ear. i am!
          rep1·;::ducib lc) dos;: dependent red~ci:.ion of t.bc clo::t i ng t: i me in
          a,.;;:mpl c:s supplcll'.cnted with ~n1:ibcdy 19 3/1'!>3 J:.:.vc in the prc:aie nc~-
          of ~!III i nhibi t oro .


          E~4.t11pl e 8: Ant i P1Xa-an~ibodia¥ &re procoagul ant in the presence
          ot defective FV7I l a r.d Fix.a

          1'o -deTl)()n.at r:::it~ t.l;.o?t cet't ain ant i f'IXa •a r,ti!>odi ee ~.av..- ? VIJl- l i ka
          ~c ::.ivity i n t he prosencs of defective PVIII, the f o l :o..·ing
          expe riment might be c a~ricd out: ~ncre~s i ng ~m~uneo                                      or   ~ntil>c6y
          193/AD.:, 0!' .!10 a control D:IUSC lgC atrc UGCi in .a st~r:.d:trd l-l.Pl'T
          b..~eed ~ne e tage e l ctting ~oe~y. In t~i o c l ottincr ~o~ay,
          h~r:,ophJ li., A p at.lent,;; z-,l a .-::m.1'. having v e q• lo-., clc t t 3.r.g .:,,ct h •j.t:y,
          due t (> t.he p:r:-e s ence c f <i.ehctfve FVnr 7Jf'M           ,:sect. B=-t td;J.y,   1~

          100µ1 antitody sa1r;ple a r ·e i ncuba t.ed .... itll ei t her- tOOµl of. Dr-"f!
          pla~ma oi- ?VJ!l deficieni; plaGma ..:~ well .~c with lOCµl of
          D!\PTTIN :i:e.agent , i n a ICClOI\ clott i ng al"l-J.l yz~~. In ;iddii;.lon, a
          total arncuni: of song .a ctivated. Pix.a wil l. '.be in.: ,lucie~ into t:he
          re~ction mi xture . A!t:.er a $hOr~ l ncob a cion, the reac tion will ba
          star ted. by :::h.e addition of lOOµl cacl; (JSnH) . Tc ~naure equal
          c ondic iona, the ex:perime1tt. ..:,nplo:r•ing f n.;I!I d~fici ent plasma a.'1C
          Df'8 p l asw.a is done site by site .




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                                                     Appx9963
          Case: 22-1461                 Document: 25                               Page: 275               Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 35 of 70 PageID #: 12371

                                                  ............................ ....................
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          Exampl~ 9; Anti P!X/FIX-ei - ~tihod.ies with proco•gula.nt aotivit.y
          in     the presence ot FIX-a di~~ingui9h b$tween huna.., ana OQvina
          FlXa

          FlXt'F:;x a scpi!clf i c nv.mocl:)n!fll ~.ntibodie s 1:@l::ct:ed f ~oro. the 11.10•:..
          fusi on e xperiln':n t w::re pu r ified trom :he rcspc•: cb•o hybr :. :::.c.~m.:.:
          aup,ernat.lLl~ .;.;nd quanci fiad aa d~r;<:ril~(i h • (:!)(~mp le J . Tt.csc
          ant ibo-:iitts 'lf@re !llnalyzed i n a :ncd ified one ~ca;ge c l oc.t::l.1"19 .tssay
           (.az d~:-ct·.:.i,ea 1r. &x~u-,p:.e 6) .:.r.i.t l li"cme sho"'e:i procca-g·.J l ant
          n cti.•.1i ty .


          Tht<i chYornngfmi c act.!.v!.cy o !' t:.tl.:'.ll:'19 an:.l'.t>ody p r~p.arat:ions wae
          me.;;surr:.d in tho r ~>l l c ·..,i r19 l?Xa genera cicn k i r.~tic e.e.s .9 .y:
           l Ot,.g cf n::,:,~cl ori,1 1 , nti.:Cody ( i:1 2SpU ·"'ere :: ::-ansfcrrc:d t.o
          microt.it.er p l a t e wella an::l wtt rrted to .l~°C . Chr'omc:ige;,n i.c subst rate
           (S - 22:l:?) , ,;1yr1el t8l.dc thrcr:tbi.n int.i bitor (I- 2581) , fac t or (F : IX¥>
          and FX were recons~ituted in c~er!.le w:.i:er ~nd FI:<~/PX lbO'.:. b.
          bo~.tine) mixed wi th ~hospho lipids according ::o ::.he supp,Ee~i,i:
          p r::>r.oc<>l . Pf!l' t:eaction. s~,u l ()f cl,e phc,,ph◊llp t<i/ F JX~./f'):
          r:c:·Jtion .(ece c011lr,;i ned wit:h 25µ1 ca.cl~ \ a s :rM) ar.d. so,;.l of the
          t •.1.b=tr~eeiinhil:·itor cockt•' -i l . ':'o at.;irt the rc.let i o r,, l.25,:.1 of
          t h=: ?remi x were .ad ded to t ~e monccl cna:. ant iOOd y ao: u tion iJl th~
          i:n.i:::rotit.ll!ir p l itl~,t,.i, 11:11i i.ncub~t e d at J'1"C. AhsorP~.ncy ~t 4C•S:1m a nd
          4?0nn ct tU~ aampl-:s wac read. ~t 'lar·lO'.lc t 11llt$ ( St11n t~ '1~:•


   I      a gain&t. a reagent blank (2S(1.1 '!'US inat:ead of reonc<:lon;,l
          .:intibod:..eo) i n ~ L~l;i:ly~ttmo iEH.S Rc ~dcr MF"" .nic-rctit c r p l -~ ~c
          reader us.i ng ~ta:srsn'f ~cft•..r.1.i·e . rn p ,u -.ail l e l , the name r eac:t.:IL"!,~$
          ·• ere p.=!rfo:,nad excep t that S!lng human FJXa we~ added per
           re~ct icn. Thoze a~tib~die~ t h-~~ 3howcd p=oco~ifJla~t ~ctivity bad
          no chrcrn::iqe:-iic a -::t.i v icy in :i:b~ r.:as1:1 i::t bovine F: :<, b)_n:. dh1pl6l'' "d



          P i g . l.l. ~h:)•JJsi :-.lY.e tirne COlt::'$!ot of ~ h e c:hr-::,rnogent-:; r.--.J i l t :. n~
          activ ity exhlbi t.P.d :Cy t ill:? mor:=c lonal antiboiiee !.93/Al , lS.3/Bl
          ~nd :ss/Af.1 w1~h I• ) and witb:ut (                                      4
                                                                                        }    ~ddit~on of       s,ng    hun~~
          FT X;,.f,\. Nc1: - 1:1pl'lcif i c p<>l ycl n ,~;,.l            (1)1) 1.,,;;~      Ig3 vti s i.u;,,ed -,,:; ~ c~::,;H;.t'ol .
          :.,99/J,.1 ar.d U8/Bl 15.ho..., p r ·oco:1.~1.1lant act i·Ji ty <similar as 1 93/!u>3
          il"l example 6) wl°'&1·:as 1 ? 8/A.P l. dO ~)) ,,ot. . :'l.ni:.ibocy 1 98/BlU                                      harJ t. !H"-:
          sane activity patt.arn (d ata r:o t                                enown:,




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                                                          Appx9964
          Case: 22-1461                Document: 25                             Page: 276          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 36 of 70 PageID #: 12372

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           Exa.mple 10 : Stxuctur e and procoagulan.t. a.ce h•ity 0£ l:llnti::,ody
           derivatives derive d frOEI a n ti ?IX/ FIXa-antibodies


           s ubclo~ing ancibody variable doa:nains i ro~ hybcid00ta. c ell linec
           193/AD3, 193/X2 and 198/Slt

           c l o:ii11g p roced ure : Mess<!::ng e r RNA. w1:1.-.c p r~r:1n~d f ro111 l. x:10'
           b yl;irid.orr-~; c·e-l lt- ,of the 1·e"'p -:cthre cell line {e- it:ler 193 / AD.l,
           19~/K?. t.:.-c- 190/n :. } "'mph"l}•.i.119 ':.h" "Qi c k P:r"p'!o Ni<: ,:o mR.NA
           Pt:.ri fic:at i::m Ki~" (Ph~rnaci.H ;i::cording to t:,a irz.nufacc.ure r ~
           instruct.ion. The corrc s1?0nding cDttA was produced ~y :::etr o


                                                                                                                         C
           t:::a nsc r ipt ion c f ;rlU~ using th~ .. R.~ady-To-Oo-You-Pr:.m~-Firc,;-
           at:rand Daads k i t " (Pharlliicia} accor:ling t o the rn.umfac::u~et'e
           i nst.ructi 0-"lo. Hc.;~vy ~nd l i ght. c:'lai n cncod:.ng s c-quer.ccs -..*t·~
           c,::.mve:r·t8d t:-.> th~ ,:;:orr -,spondi., g cDtJ1.. employ ing Ill s~t of ?r:.mers .
           To r-OVQr~c trol1a n.::ribe heavy ch,.i;1 speci!ic rnRJ,t,; (V'3-I) a r:
           equ iMOl:1.1'.' m:txt\l.t'"e OJ: tne oligon ucle ot i de~ MOCGl - i:POR (S' CTC' AAT
           TTT CTT' Gl'C CJ..C r.tT GGT C,c :) • j , M0003 FOR {5' CTC Gs..T TCT CTT G>.T
         .. ·cAA C'T2 - ~ Cl' 3' ! ~nd ?-:·0 01FOR rs · TC-0 AAT G:::-G CJ,.c J;,.'XJ CAB .:..'I':::
           TCT 3 ' )   '"'!I~   Ull'i!t<l (RTl'n:i.x l) . ti: t:.h,; e air~ r"t'lt:t i on r.uh ~.            l i 9h t-
           cha11n :,pec!.Uc cOtlt. {VL:• wao OYJ~t heohed u dng -prime1· MOCK?OR
           ( S' CTC ATT CCT GIT G/iA, GCT c.-TT GAC 3 ' > .


           The coding sequences f o r \l'H o.ere amplified by PC:l using t.hE
           primer-sate dep-i cted i n Pig:. 12 a nd t..he spacifh : ·::O:NA, ·: !erived
           form t he reverse t rar.3c:d p :.ic,n mi:xtu1·e (RTrr,ixlJ d:::scrii:~ d abov e ,
           as template . Vt:-chair: g~nes to;ere ~mplified usi ng the p r irner sets
           d1::picted i n Fi g. 1.3 and ~t!"tpl eyi .rig -,1ao RTmixl ae a te.mr,ilat.e . 'l'h e
           'JH-FCR pro::luc r.. ~•~s c lt:=ft•T~d Sflt · >.~c I ilf)d ) n13~r t,"d i~to S-f i! - Asc:
           <1.i9:,$ted v eetor p0~.P2 •.Genc3::m'.-t ~ccessi on 110 . ; U35316 I , Tt'I~
           ~bt.~ i rted E)CAP2 -~il-! con~t.=-iJ.ct.t!I, w~r e nan-,eo:i g,DA.Pl - 193~ 0 3 ,hn{ An
           po1~P2 -1~3/K2t'VH, r~ap<:=:::chol y . aoi:h 9 l aQmi ds we:'c :::.·..ibscq•.i.cnt lY
           cle!'l·.1ed 1'i' itl'"i AscI- Not:I ~d t he: •=orre~-po:id.1n~ Aec l-t;'ot l d.:.~coted
           '1H;- 9 i,n.e PCR pt'Qdvct ..,..a~ .\ n~"'rted, Tt-.o:- r~s-.1lt.e-n t v~c t.o r~ were
           d C8i 9:1;:..t.Gd p DA(•2 • 193 / AD3scPv and pDA.P2 - l 9:3/ K.2:)cf•✓ and Oode for
           t he V}i• 9cnc ~nd 'the VL • genc c f the monoe lon,11 antibodies 1 S3/ALH
           ~nd 1 93/IO. P.o t.h c :td ns <\rl' l inlc(ld b}• th!! codi ng s~gu.@ric"'" fo r ..-
           •=~i f i c i al, f l e x i ble l i nker (G~SGGRA.SG~S ; E3gUlha.L'ot. at al, l9~4 )




                                                                        35



                                                       Appx9965
           Case: 22-1461            Document: 25                             Page: 277          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 37 of 70 PageID #: 12373

                                            ............................ ....................
                                            .......
         and f!n&b l tJ~ i,xp£e:tlH$icn. o f th~ g<.:Fv v<tt:r.i.il:lt o f t h i:, n;,:cpective
         antibody.

          In f!.g. 14, tl::-e Dt.i.A .,_rtd t htt ~educ,..,d r,:rct~ i:i ~,;.quen.•:::~ o f the G..:Pv
         d~:dved f r om t he hybdd◊M c ell linll! 1 9J/A:;3 i~ depicted.
         Nucleoi:ides 1 t.o 35':' c ode f or t:le hea·.ry <.:Min vtt.r!.eibl e donain ,
         n~cleot.ides 353 to i ·: .2 ·:::ode for t M" art ifi<..:it11l (l.,x...ii;,l ,e Enk=r
         aml 11\Jcl eoti ,j ee '101 to 725 c o d e for the light c M .:O n vttri a ble
          regiu;). The p rotein as:guence of the CDR3 region o f t he h@a&.vy
         d1ain h.i!.9 the e:equenc~ 'i3N'SPKGE'AY and ie. giv e n i n tol d ! e t tet·s .
         '!'he ai:-t.Hici~l lir..:<e 1: seq-,.J.s n-:e i G,S GGR.;B,';,S) iB s ho wn in :.talir:~ .

         In Fl9 . J.5, the D~!A .and t h<: d.e.d.1.tced prote in s~quf:'lm.: "' r., E t hf:' i;cF..,
         do::'ived fro:r. t:he hybr idoma c'l!'ll line 1 93/1:\2 i11t 11th(>wn .
         N'uclaot i dee l t.o 365: c;od~ for t h~ hl!a'.ry <.:b~io ,,a,· i i:ibl11:t d◊mti1 in ,
         nuclli!Cti deo ~64, to t1 ❖ 8 cod ~ for th'!" -! lrti:':.:ici•l (le>::Ot:l e linker
         a nd n ucl oot.ide.e 409 t.o 7-=. i' c,:,d e for th~ lig ht ,::;ht1 i n v u ·ia.ble
         :=eg ion . Th.e ~~otein s~que n~e of th~ CDRJ o f the heAvy <;hatn t:..,:.
         t:,e saquCJ"..¢:li: t'GGii':"r:'OSS.ft-Y', ar~d i s 9!.V4!'111 in bo:) l d l ~t t.ersi. The
         artif i cial lin.icer seque nc<: · (O.SGGRi\...SG~S) j~ Stho·...-n ir. i t.a l i.c l"I.

         tn Fig. 1E, tl::e DI~ ~r.d t h!<) :1tu.hic;ed prots.i11 s e quence cf :.he seF\'
         de:rived f r om t he hybc-i <k)11.1ft <:e, ll li ne 19 8/!!1/1 iG depicted.
         l~Jcl ~o':ides 1 t o JGG r;:c ::ie (or· t he he a'l...t' choa=.in v~1·!.~ble C.O:n~i n ,
         ~ucl eot.ides 361 t o 4l l code for c...~e ar~ific i"l tlexi~le i iTiker


   t     .anc! nucle otid"s 4l ?. - 74'i c:o:1e fn:r t:he ligt".t chain ..,ariab l e
         r~gion . Tht!t pr.◊t.ei ,t se-;uence cf t.he CD~3 r cgi.o:, ot c ne h ea."Y
         chain h ar,; thf:.'!. ~eque:nce !:>:';GGt-""l'VN\\"'tFDV ~nd is g i ven in bol d
          lnters . The ,i'r't i f ic i.a l linke:: s€quence •.0 4 SGORASG,~.H ir.1 ,eihmm ir.
         itc.lic-s .

         The d e r ivati·.re s ~=-e l;.~~t..ed i:sncl s,ho·~ procoag,.Jl~nt ~ct:.\' l ty ) TI t hP.
         cb~~11.ogenic c.ss!l.y .

         Exa.caple 1 1 1 Proco~gul•nt •ctivi ty of peptides d erived from CDR3
         regions o f anti PtX/P?X•••nt i badi~s

         The ant.ig e n binding ~ 1 t.t:-. c.>£ ~n i:,nt,ibcdy i s d -erivcd ~r om ;:n.e
         j ·Jx.ta.pos i t ion of the six • c.:>tr.plement. di:--:ermin.i ng ':':'egi ona
         ,;coR ' s J '' a t the N- terruina l end of the VL-Ht. d i ne r <nr F".,.




                                                                     36



                                                    Appx9966
          Case: 22-1461              Document: 25                              Page: 278          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 38 of 70 PageID #: 12374

                                              ............................ ....................
                                             .......
           regi-O-')} . ?hr!e CDR'.G a r,s, d erived froltl t Le lig h \: •: ;;hain ;;.nd ;:h ree
           are -der i v e d f~Olll tho h eavy c hain . The r.on t rihot i on o ~ a s i ngulcu:•
           CD!{ to the antibody spec:: ifi cicy fer t. g iven ~nt i gen m.i.y vary
           eo:1s i der~bl y, but in s-~ner :\l it i s ~hou~ht t hat t.he emu rC:s-!.on
           o f -:.h~ !\ea'- )' .c:hai:: (CO::t3.1.) i~ o :: spec i al :·':l fl uen(:~ i," · t.he-
           part i cuh ,r prott!lin i:.tiquence o f CDJ~~. regio:\ 11\a y be highl y
           important ::or thi: ~::i.t i g,:n recognit i o n . 'l'he length o f CC-P..3)1
           r cgioo::1 hl~ b een r ·e pc:!:t cd to v,:u·y c•::m sidtH.'a.bl y .:,,t.d lQ in th~
           range c f 4-2 5 a~Uno acid~ (Eorrebaeck , p .16 ) .

           f'',.' CII dcrh••~d peptides e h o ·.., sorne proco ag.::lant                            uct i vity in an in
          v itro .,._,s~~Y - f?Ot' a lf i n9 l e :\1:t:m
                                                       . .:>ph il i a ;::~t i eot.$ p h 1*!'ne- ,            ~

          r~duct i o n o f. t he APTT b3Ee d clotting r ime o= 20 seconds comp~r e d
          to bas e l ice could be d emon&t t"a,;ed {1.Uee e t al . • 19 97). ln a
          ah11i htr ex~ed.ir.en:; 'l('e l.lse c.bc peptido:.=£. de1.·ivea !r:ou\ t h e COR3,..
          reg.!.on (t.ha p u t...tt iv-::: FIX.:.. lnu::ract i ny- ria9io:1.) {;! .:&ttt.il:odi ea
          1 93/Jt:i , 19:l/AD3 ar.d 1 9E-/Bl :i:.o dem::-ne.:.rat:e a doee depende nt
          reduct~o~ ¢f t he c l otti ng tim~ of~ P'Vl tI d e f ieient p l ~c~~ as
          c cmparcd t o ~ eont r¢l pep tide .




                                                                       37



                                                      Appx9967
          Case: 22-1461           Document: 25                            Page: 279            Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 39 of 70 PageID #: 12375

                                         ............................ ....................
                                         .......




                    193/ ru,3                         YGNSPKGF/1.Y                             CDR3H 193/A03 f 6
                                                                                               CDRJH 19 3 A03 f6
                                                     G!\NGYI<YPFS                             s crambled versi on
                                                                                                   (cont r ol)

                                           CXXYGl~$i'XG~;.YXXC                                CDRJH 193/Al,)346
                                                                                              cyciic pep tide l
                                                                                               CUR3H 193/A.1)31
                                                     YG?ISP;<GfAY                             cycl ic peptide 2

                                                  DGGHG'!GSSFDY                                 CDR3H    19$2ffl
                                                                                                CDR31t 19 K2 fl
                                                 SCHE>::SYF"fGDC                              scr.lllll>led version
                                                                                                    (conti=ol)
                                                EGGCl'T'll>WYFDV                                 CDR3H 19~1
                                                                                                 CDR H           l
                                                 GE'\;"WGVECGYTF                              scral!\bled version
                                                                                                    control)

                    hfVI II                FRNRGMTi\LLl<VSSCD                                   FVIII 697-?12
                                                                                             (Lile• ot               97)
                                                                                                FVI I
                                           SVl<LFGNMSDRIJ'.l\CT                               ccra.JDQled versi on
                                                                                                   Icontro l




   t     T.a ble 2 : ?eptldea ·.1.Sied i n an one-et.~ge i\PT":' b,!1,0('d c l o t t ing
         assay. x cao be any ~m1no ~ciC.

         &xa.m;plo 12: P~o~oa_gula~t activity oe <»cpti de) derivative•
         obtained from COR3 regiona of anti FIZ/ ~IX~- antibodies

         I n pdnc:i.pl'? , t h~ ~n': i'.:iody m~locul a can be ar.visior:.ed a p, t'I
         biolo:ical d evi ca for t.h e pJ:"et-en"~"ic,n o f u cc!Ci :..a t:">r ial ~.r:ay
         of p •: ipti de ~le:-nents fr. th::-~" C::.imer.sion-a l e,p.a c~ Cs~<:: :-.ao et a l .,
         1 999, P'N'M, 96:C-0ls). 7htJr:'6 €:.:r ~ , an antibody (or ar. sr.tJ.bOOy
         d erivative i.e . s c Fv , Fab c c.::: t can b6 used either P.~ A t.¢01 for
         t:he der.ection of 1unct i e'1.:-il i mp¢1:tant doma ins of ..i ~()4,,<: .i. fic
         t u !:gct prot e i n and O.."l lh" oth..,r h and, for ;:he Celine..tc io1) o:
         a mino c.cid .seque nce:; :;~ecif i cally rnef.-i;:rr.ing cer t~in
         i nteractiona , i. e. a ct i v ac1n9 or e!l.bancing t'."le activ i ty or: FIX~




                                                                  38



                                                 Appx9968
          Case: 22-1461           Document: 25                             Page: 280          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 40 of 70 PageID #: 12376

                                          ............................ ....................
                                          .......

           tor.:c>.rde th~ pl"iysiclogi c al $Ub$t.ra.te ?X. 'l 'he l.;1.tt..er p r •:>·: :e.sa hae
           lcud t c the cvuluat i on of a n u mber o f CDR:~H d~t: i •1~d p ~pt :.de-
          oequeooe:. a.~ F!Jo:a enho.ucitlg agenta •:er.ample 11). Cn t:he other
          hand, the procoagula~t act.iv ity of the pept i des cbt ai~e~ oo : ar
          i s r..ot c-r;titt.al b u t iE- ft:rt.her i mprO":ed by sequence varia t.ion
          '-'i t.hi.:':. t.ne papt. i d,e r egi.one e i:-itic:.,,.:. r o i· mcdi ~tir.!J the PlKa
          activi ~y e~h~nc:.~g reg ion .

          ~      a fir$t e t~p ":.o•..,•ards pe.p~id e cequ-ence~ w:.th enhal)Cc¢.
           p r o ccagul.:i.nt ucti-ri":.y , t.he b i n ding si::e of antibocl:,,· 19u/s1 >1 t
            Lh Y FIX.:t iUC·l Qcule ig (n..-:tp pud t:imploy.i n.9 s~qu GiJl.ce t:.J1ttparis:::-r•
           .rm<l lysi Sl, ~cm~t:iti•JA h i :,ding ~Ji.t:~ys , •••~stt.e rn h ).ot. ~M l ys 1.s and.
          -c~rnp;;itit ive RLlSA ;rn.:i l ysi~. Since the cry eta l arx uccure of FIX
           i s known, mcl@cular modo!li ng is u sed to i mp ~c,v e t h& fitting of
           1 98/31 derived peptide:£ in t.he, 1:/A/'Bl bindin·; - s.i r.e o n 'n\(ll\iU)
           FU:~ . The d"-tA "!lO ote.ai n.ed 'N ill a l l o~ ut, t.o do ~ rne thodi-c.:tl
          rn-..ita tiona l anal ygis of i:he peptide CDR3H 1 9E/Bl. Briefly ,
          peptJde a (or p~p~i d~ li.br airie.:; ;,n ~ ee of ~ high tl'lrr>ughput
          s ereer-i ng approaeh> ::ontain i n g epeeific ffi'.'lt~t i o ns lracional f o 1·
          a ::1peci fi c tm.lta tion lo given i . e . by mo lecula r ir.odeling l ·Nill b e
          q,asayeC. ! o r p r ocoagi.ilant. a<:t i.vi t y .

          ;._ exo mplc o f A «,e t hodi e.:i.1 11:u i:ac i,on:1l a..i.~ly.sis oE the wild~ypc
          COR) H lYS/Bl amino acid Of:(f\,l¢rl.Ce {£GOO~•l'1Jh1':i'~?DV:• ic giv,;m t:-::l ow.
          The pept i de ~e quence wus varied o nly in o ne po~i tio n ucroe 3 t bc
          core ,;eqiJ.e.nce <changes a.re oho....n in bol e! lect erei . All t he
          p t::p":.id~s c:a n be a ssaye d f o r p=-cco ayulat:t act .i.vi":.}' it:1. a APTT
          bal:fed 01\c st..e.s e clc~t ing- d.aisa.y ~nd ol!lt!d a t the l:f:l111e
          c::ncent:=at.ion. Cl-: ::tt.i ng AC':tiv j::::y o f che wildtype seq.Jenee i s
          arbrit:11=ily s~t a.a lOOt· .




          EGGOFT.,'NtJY.FDV


          BOGGRYVl<rlY?DV


          EOOGS'TR:.V.,r/FDV
          rmo::n:·T..~ w-.•pov
          E003FT'.r.:.JR'lPD\I




                                                                   39



                                                  Appx9969
           Case: 22-1461         Document: 25                           Page: 281          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 41 of 70 PageID #: 12377

                                       ............................ ....................
                                       .......

          E:GGGFTJ?-n.."R.?I>V
          eoo:;Fl'Vl'llv!RDV



          EOOGFJ..VNWYB'D'l
          EGGGf"l'Affi·IYIYOV
          EGGGl"'l 'Vhl'IYL"OV
          mGGGFTVNAYFOV
          BCGGFT\.'N'll.AFOV
          BCGGITv'Niin'ADV


          8GGOCrn'NWYPDV
          EGGGPDVKW'Y?DV
          BG-:;(;'FTDl.\~DV
          EC-OGFTVDWYPDV
          EG-JGFT'lNDYPDV
          EaOGFTVNWDFOV
          EGQGM'VNW\'DCV


          E•: ;GGf·TVM'1YFC·V
          l?GGGf PVNt,,-YYFDV
         EGGGFTPNWYFCV
         EGGGFTVPWYFDV
         EGOOFTVNPYFOV
          P.GGGP'l'VNt'i'PFnV

   It    EGGGFTVNtiYPDV

         'Iabl e 3 : Generation o f 196/Bl derived peptide var!.a.nt:.s.


          Example 131 Conversion of the 196/Ci IgM into IgGl:

         S i nce OOD':e IgM ant i bod:.e~ demo:in:ltr~tc ;l.:l ex~rcm~ly h i gh
         ehro:nogenic PVIII - 1!.ke act ivity, ~t.t .ern.pti, '-'ere ro~de to -::onve rt.
         I gM antibod i ee tn I:gG (bi.rt a l s o i n a recomb:.nant f~b. t' t a b j 2 .
         !;1.Cfv et~·: ::). Ct!scr ibed i n (:er.ail ia; t hP. r e act:.~ o f: the lg:M variable
         r4'g ien g~nl!I!;:

          Conat ruct .ion o :£ tho ~reaaiic-n placmid pBa.x .. I9•~ :




                                                                40



                                               Appx9970
          Case: 22-1461               Document: 25                              Page: 282          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 42 of 70 PageID #: 12378

                                               ............................ ....................
                                               .......

            \lect:or pBax- lgGl ( Fig. 17:, •,1ae C•: m$truc:ed from vcet.o rs psr
            ( .L'r o triega: and pili'/~~d {lnvi ::.1'0 ·f!C n ) t ht·ough multiple ::: loni:-i.g
            etepe.

            S -lyrr.phocytee ct a don cr a~e purified t'ron-, ble<i-:1 c.n6 'J':a t.,Jre ir!RNA
           ·~;;aQ' ~.,;::rified f rott. t h co<: t,;¢1la u::;-in9 t !ie "1nicrc - r.tRl~A-
           pvr!.t ic3tio n-:lc:it."          cet-.ar~cia> . 'l':-i.c cO!'JA of c.: ht:l!l.:lll k.:..ppa c h~ i n.
           a nO. a :'.l.Ufll.a!l g J.i"ru.n~ ~ :::h~it~ .:.!'e p~G9u.c ed U,ipl oyi t1g t:&e ''you -prht1e-
           Uret- e trand-cCNJ'.- "kit <Pt.e.rm&.ch> .!'.nd. ~h.e tou owing p rim,~rs:

           Ti:le cc-:,,t ng e equer;ce ot a numtar. ~tappa light cr-1~in conot"nt d::r.,ain
           i:ai ,1ruplilied !roc.l tho cD){A b y PCR u s i t19 ~pe<:i!icprirm::r.a :

           The gene oC a b':.111'.a:n g~Ifilil;. l. ch.:.i !.r1 <::on ::it.;i.111. regic.r>. (CH1 • hir.ge-
           cu2 - cH1j i a a::npl if i e d f::-om t he cDN]I. by FCP. ualng s p ecit!.c
           prim~rc:
                                                                                                                       t
           The eCR prod~ct of thE light chain consta.~t d o~i~ 1$ d ige ~t~d
           , •ith and i i:.ae,:u~d iut.c dis sst6d pS l . 1·:-ie r a sult.a.ll':. vec1:or ja
           c h:avec:l xith a:1(:l ti"~ follo;,i ng annealed oligonucle,: ,tidec were
           i nserted reault.in3 :.n v ac-:.or pt.I -Ckas;pa. ·rhe anneo.latl
           oligonucle o t i d e s provide for th~ l ead.Er ~nd t h ~ Sac l~Xba: ~it e e
           :or .i.nw~ct.l.Of1 ot the: ►. ;;;.pp"° c hai n v;...d ..Wle x'og.i.<m. ThQe PCft
           pr:.:,d 1! (:I;. of :.he h:num g Mr.rat-". l. c::Cv.du o:;o~tiu: t. ~gi.cn j.,-; ,::\ig"!"ete d
           ixith a nd in.&erced int:::, dige:Jtt::d pS!. The r e cultant vectot· i~
           cle.,r;ed -...ith a11d t.he: fol l ('.)wi og ••lnealt'!C c li9o nucl€=or. :idi!t" .!llt''tl
           tr.~~rt~d r~~ulting in v-.c t or pS!-Cgamt.a. Th ~ a n n@a l e d
           el i9onuclcetides p~o ~ide i~r the l e ader u nd the XhcI -Sst B: sites
             f o r i n sert ion o f t :, I!!' h '!'&vy c hain vari .3 ble r~3i on . Vec~ot· p EF'/lkl
             i~. d !.gcstcd NhcI &1d Sfil , b lun t end ed by Klcr.ow trea:m~r.t n r~d
           the wbol • •w.:::-@gio i on C<'!'! Sette o f pSl•Cki!11ppa, l!XCised 'j('ith Sgll !
           .:imi e-c.mHl i~ in3 ~r:~d ( a.t eer Klenow t.reatrr,cntl. The ~e;;u l t.~.nt
            \'11,ct.or i E d i gestl!d ecoRI and Hi:idIII and tr':'!tte:l wi-:h t<lenox.
           The wh.ol ~ cxp~c3zion c as9ette of pSI ~Cg~.mma i& ~xc ised ~ith
           B3lII ~nd P.~mHl i6 i n.s'!'1.· ted. l att~::- Kl eno·,11 t r@a't:rt.<ent:. The
            r c s ·~l tant vcctc r ia nam~d pGax.• r.gGl.

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                                                       Appx9971
          Case: 22-1461          Document: 25                             Page: 283          Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 43 of 70 PageID #: 12379

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                                                 Appx9972
            Case: 22-1461      Document: 25                          Page: 284                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 44 of 70 PageID #: 12380

                                      ................................. .................... .....
                                                      Claims :
     1. Antibody or antibody derivative against factor IX/factor FIXa, characterized in
     that it reinforces the procoagulant activity of the FIXa.


 5   2. Antibody or antibody derivative against FIX/FIXa, characterized in that it
     comprises factor FVIIIa (FVIIIa)-like cofactor activity.


     3. Antibody or antibody derivative against FIX/FIXa, characterized in that it
     reinforces the procoagulant activity of the FIXa, obtainable by a method comprising
10   the steps:
      -   Immunization of an immunocompetent mouse with an antigen selected from
          the group consisting of FIX, FIXaα, FIXaβ or of fragments of them,
      -   Isolation of the spleen cells of the immunized mouse
      -   Production of hybridoma clones
      -   Screening of the hybridoma cell supernatants for reinforcement of the
          procoagulant activity of the factor IXa and selection of the sought antibodies
          or antibody derivative
      -   Isolation and purification of the antibodies or antibody derivatives.


     4. The antibody or antibody derivative according to one of the Claims 1 to 3,
     characterized in that it reinforces the procoagulant activity of the FIXa in the
     presence of FVIII inhibitors.
15

     5. The antibody according to one of Claims 1 to 4, characterized in that that it is
     from the class of IgG-, IgM-, IgA- or IgE antibodies.


     6. The antibody or antibody derivative according to one of Claims 1 to 5,
20   characterized in that that it was selected from the group consisting of monoclonal
     antibodies, antibody fragments, chimeral antibodies, humanized antibodies, end

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                                            Appx9973
             Case: 22-1461      Document: 25                            Page: 285            Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 45 of 70 PageID #: 12381

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     chain antibodies, bispecific antibodies, diabodies and di-, oligo- or multimers of
     them.


     7. The antibody derivative according to one of Claims 1 to 4, selected from the group
 5   consisting of peptidomimetica and peptides stemming from CDR.


     8. The antibody derivative according to Claim 7, characterized in that it is a CDR3
     peptide.


10   9. The antibody derivative according to Claim 8, characterized in that the CDR3
     peptide contains an amino acid sequence selected from the group consisting of:
     Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phe-Ala-Tyr
                                                                                                                  or
     cys- X -X - Tyr- Gl )" - P.Sn - ser - Pro - Lys - Gly - Fhe - Ala - Tyr - X - X - Cye,

     wherein         X         can               be                           any            amino        acid,   or

15   Tyr -Gly-Asn-Ser -Pro-Lys-Gly- Phe-Ala- Tyr                                                                  or
     As p-Gly -Gly-His-Gly - Tyr-Gly-Ser-Ser-Phe-1\sp- Tyr                                                        or
     Phe-Arg - As n- iu:g-G l y - Met.-Thr-A l a- Leu-Leu--Lys - Val - ser-Ser- cya -.As p .



     10. The antibody or antibody derivative according to one of Claims 1 to 7,
20   characterized in that the variable region contains the amino acids 1 to 357 and/or
     403 to 726 according to fig. 14.


     11. The antibody or antibody derivative according to Claim 10, characterized in that
     an artificial linker sequence is additionally contained.
25

     12. The antibody or antibody derivative according to one of Claims 1 to 7,
     characterized in that the variable region contains the amino acids 1 to 363 and/or
     409 to 747 according to fig. 15.


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                                              Appx9974
            Case: 22-1461      Document: 25                          Page: 286                   Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 46 of 70 PageID #: 12382

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     13. The antibody or antibody derivative according to Claim 12, characterized in that
     an artificial linker sequence is additionally contained.


     14. The antibody or antibody derivative according to one of Claims 1 to 7,
 5   characterized in that the variable region contains the amino acids 1 to 366 and/or
     412 to 747 according to fig. 16.


     15. The antibody or antibody derivative according to Claim 14, characterized in that
     an artificial linker sequence is additionally contained.
10

     16. Hybridoma cell line which expresses an antibody or antibody derivative against
     factor IX/factor IXa according to one of Claims 1 to 15.


     17. The hybridoma cell line according to Claim 16, characterized in that it is selected
15   from          the          group                             of                           #196/AF1,             #196/AF2,
     #J.93 /JuJ3, #l.93/l<.2-'.i., #198/ACJ./ 1 , #J.98/At41 , # 1 98/lU, #J.9€/Bl ,

     #J.98A P1 ,   198/Al ,    198/81 ,              1 9 8 / 8 81                         with     the     deposit    numbers
     55090924      (198/Al ), 9909C925 (1 98/B1 ), 9909 0 926 ( l SB/BBl).



20   18. An antibody or antibody derivative according to one of Claims 1 to 15, expressed
     by a hybridoma cell line according to one of Claims 14 or 15.


     19. A DNA molecule, characterized in that it codes for an antibody or an antibody
     derivative against FIX/FIXa according to one of Claims 1 to 15.
25

     20. A preparation containing an antibody or antibody derivative against FIX/FIXa
     according to one of Claims 1 to 15.


     21. A preparation according to Claim 20, characterized in that FIXaα and/or FIXaβ

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                                              Appx9975
            Case: 22-1461      Document: 25                          Page: 287                       Filed: 11/04/2022

 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 47 of 70 PageID #: 12383

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     are additionally contained.


     22. The use of a preparation according to one of Claims 20 or 18 for treating patients
     with blood clotting disturbances.
 5

     23. The use of a preparation according to one of Claims 18 to 22, characterized in
     that the blood clotting disturbances are selected from the group comprising
     hemophilia A, hemorrhagic diathesis.


10   24. The use of a preparation according to Claim 22, characterized in that the
     treatment of hemophilia inhibitor patients takes place.


     25. The use of a preparation according to one of Claims 20 or 21, for the treatment
     of complications in anticoagulant therapies.
15

     26. The use of the antibodies in antibody derivatives according to one of Claims 1
     to 15 as detection agents for the identification of functional domains in target
     proteins.


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                                            Appx9976
           Case: 22-1461      Document: 25                            Page: 288                 Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 48 of 70 PageID #: 12384

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                                                  Abstract :
    An antibody or antibody derivative against factor IX/activated factor IX (FIXa)
    which reinforces the procoagulant activity of the FIXa.



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                                            Appx9977
                              Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 49 of 70 PageID #: 12385
                                          Case: 22-1461  Document: 25 Page: 289 Filed: 11/04/2022




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           A1576/99-1                                                                                                                        ORIGINAL TEXT


                               Factor VIII-like activity in hybridoma cell supernatants




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                     Fig. 1




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                                  Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 50 of 70 PageID #: 12386
                                              Case: 22-1461  Document: 25 Page: 290 Filed: 11/04/2022




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           A1576/99-1                                                                               ORIGINAL TEXT

           OD405
                                   IgG mediated FVIII-similar activity in hybridoma cell supernatants of a master plate




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           Fig. 2




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Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 51 of 70 PageID #: 12387




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                           Document: 25 Page: 291 Filed: 11/04/2022




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            Case: 22-1461




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                                 Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 52 of 70 PageID #: 12388
                                             Case: 22-1461  Document: 25 Page: 292 Filed: 11/04/2022




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Appx9981
           Fig. 4




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                                              Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 53 of 70 PageID #: 12389
                                                          Case: 22-1461  Document: 25 Page: 293 Filed: 11/04/2022




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Appx9982
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                        Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 54 of 70 PageID #: 12390
                                    Case: 22-1461  Document: 25 Page: 294 Filed: 11/04/2022




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           A1576/99-1                                                                                                                     ORIGINAL TEXT



                                               FVIII-like activity of the antibodies 193/AD3 and 196/AF2




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                        Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 55 of 70 PageID #: 12391
                                    Case: 22-1461  Document: 25 Page: 295 Filed: 11/04/2022... .
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           A1576/99-1                                                                                        ORIGINAL TEXT

                                          Comparison of FVIII, 196/AF1, 198/AC1/1 and mouse IgG

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                                                                                                   •--FVIII Slandald 16mWml

                               ~      2t
                                                       -                        --                 ---1961AF1
                                                                                                   ...-198/AC \11 (10pg/ml)
                               ~ 1,5                                                               - -1Mouse IOG /10pghnl)
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                            fig. 6B



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                        Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 56 of 70 PageID #: 12392
                                    Case: 22-1461  Document: 25 Page: 296 Filed: 11/04/2022




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           A1576/99-1                                                                              ORIGINAL TEXT

                                                      Generation Kinetics of FXa




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                                      Case: 22-1461  Document: 25 Page: 297 Filed: 11/04/2022           ...
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           A1576/99-1                                                                                                            ORIGINAL TEXT



                                                                        Generation Kinetics of FXa

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                                                                                                              Mouse IgG 35μM pefabloc Xa
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                          Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 58 of 70 PageID #: 12394
                                      Case: 22-1461  Document: 25 Page: 298 Filed: 11/04/2022




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           A1576/99-1                                                                                            ORIGINAL TEXT

                        Dependence of the 198/AC1/1 mediated FXa generation on the presence of PL, FIXa and Ca2+




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                                                                                                     Total assay




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                                                                                           (without antibody)
                                                                                           (without PL)
                                                                                           without Ca2+)



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           Fig. 8A

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                           Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 59 of 70 PageID #: 12395
                                       Case: 22-1461  Document: 25 Page: 299 Filed: 11/04/2022
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           A1576/99-1                                                                                      ORIGINAL TEXT

                        Dependence of the 196/AF1 mediated FXa generation on the presence of PL, Ca2+ and FIXa/FX

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                                                             ---                         --196/AFI Total assay
                                      2,5                                                ..,._.198/AFJ (without mAb)
                                                                                         -1,-1116/AF, (without PL)
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                              Fig. 88

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                        Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 60 of 70 PageID #: 12396
                                    Case: 22-1461  Document: 25 Page: 300 Filed: 11/04/2022
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           A1576/99-1                                                                                          ORIGINAL TEXT

                                                    FXa generation by mouse IgG

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                                           I                                              Mouse lgG (10μg/ml) total assay`
                                       3f                                           1-
                                                                                     ---  Mouse lgG (without antibody)
                                                                                          Mouse lgO (without PL)
                                                                                         Mouse lgG (without Ca2+
                                                                                    1-----
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                                    Case: 22-1461  Document: 25 Page: 301 Filed: 11/04/2022




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           A1576/99-1                                                                                        ORIGINAL TEXT

                                                      Clotting activity of the antibody 193/AD3 in the presence of FIXa




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                                                                                                                  Mouse IgG
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Appx9990
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                                Clotting time (sec)
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           Fig. 9

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                            Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 62 of 70 PageID #: 12398
                                        Case: 22-1461  Document: 25 Page: 302 Filed: 11/04/2022




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           A1576/99-1                                                                         ORIGINAL TEXT

                        Procoagulant activity of the antibody 193/AD3 in FVIII deficient plasma in the presence of FIXa

                                         Clotting time (sec)




                                                 0
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                                           -
                                                                                                   Mouse




                                              i!,
                                              o. CJ


                                           - -g




Appx9991
                                                                   ...
                                                                           "'

                                                                   μg antibody


           Fig. 10A


                                                                      61
                             Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 63 of 70 PageID #: 12399
                                         Case: 22-1461  Document: 25 Page: 303 Filed: 11/04/2022
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           A1576/99-1                                                                                     ORIGINAL TEXT

                         Procoagulant activity of the antibody 193/AD3 in FVIII deficient plasma in the presence of FIXa

           Clotting time (sec)

             108,0                                                   ,--- -- - - - - ~
                                                                       - - Mouse lgG DP + FIX3 :
             106,0                                                      9-1931A03 OP + FIXa 'i
                                                                                                ·------
             104,0

             102.0

             100,0




Appx9992
              98,0

              96,0

              !M,O
                     0       2        •        6        8         10


                                                                    μg antibody

           Fig. 10B

                                                                              62
                           Case 1:17-cv-00509-LPS
                                      Case: 22-1461 Document 129-3
                                                      Document:  25 Filed 04/11/18
                                                                       Page:       Page 64
                                                                             304 Filed:    of 70 PageID #: 12400
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           A1576/99-1                                                                                  ORIGINAL TEXT

               Chromogenic activity of the antibodies 198/A1, 198/B1 and 198/AP1 the presence and the absence of human FIXa

                                        ~      198/A1 ~-I                                                    I     ~
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                                  _._ , 98181•
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                                       --      Mouse+




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Appx9993
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                                  C
                                       5   10 15 20 25 30 a!i 40 4o 60 56 80 8S 70 7S 60 8S 90 95 100 105 110 115 120
                                                                              Minutes


           Fig. 11




                                                                               63
                                  Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 65 of 70 PageID #: 12401
                                              Case: 22-1461  Document: 25 Page: 305 Filed: 11/04/2022
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           A1576/99-1                                                                                                    ORIGINAL TEXT



           Primer for the cloning of mouse VH genes

           Mouse VH reverser primer (containing the SFil page):

                           Vl!IBACK-Sf~ ;•c ATilO::A TGACTC GCO CCC CAOCCOGCC ATO OCC SAOGTSMARCTOCAG SAOTCW GO J'
                           VHIBACKS5      l' G~l.'TCGCI\ ACrocoocc CAGCCGCCC ATOGCC GAG GTGCAOCTT CAO GAO TC.\ oo:,·
                           W08ACX.Sfi     l' C'fCCTCGCA ACT OC'OGCC tAOCCOOCC ATO OCCOATOTOCAOCTTCAG GAOTCRGG 3'
                           VIOBA.l'KSfi   l' GTCCTCGCAACT GCvGCC CAGCCGOCC ATOOCC CAOOTOCAOC'TG >.AG SAGTCAOOJ'
                           VH<llalACKSR   s· OTCCTCOCA ACT GCG ()CC CAGCCGOCC ATO GCCOAG orv CAO CTOCAR CAR TCT 0G )'
                           VIDt98ACKSfi   l ' ctrccrcoCA ACT OCOQCC CAOCCGGCCATG r,ec CAC CTY CARCTG CACCAG YCTGGJ'
                           \'lm)ACKS6     s• ;CTCGCA ACT COO C.CC CAGCCGGCC Al-0 GCCOAJI.GTO AAGCTOGTO GAR TCf OC )"
                           \'mBA.C.KSA    l'      CTCQCA ACT GOOGCC CAOCC<l CCC ATG GCCGAG GITCAOCITCAGCI\G TCT O(IJ'
                           VH IOHACXSti   l ' CCTCGCA At,- OCO CJCC CAOCCOOCCATG OCCOAA OTC CAO CTOKTG GAO 11/CTGG 3•
                           Vl-t11RACKS6   s• l'CCTCGCA ACT GOOOCC CAOCCGGCC A10 OCCCAO A'fCC'.A01' ffi CT()CAO TCTGG J'

                Mouse JH forward primer (containing ½ linker sequence and Ascl
                page




Appx9994
                           \'l-llfO!UUAs<     S.   m::C C'oCC AGA GGC GOO CCC ACC TOA ACC OCC TCC ACC TCA GGA GAC OCT GAC COT oor CCC TIO
                                                    CCC   t'C l '
                           nnroJU.wc          l'    • CCCACA oocoooccc ACCTGA ACCGCCTCC ACC 'l'OAOGAOACOOT OACC(l'l' C.GTCCCJ'
                           Jll'2FORLwc        s· ACCOCC AGA ooci= CCCACCTG.• ACCOOC rec AOCTOAGOAGACTOTGAO AGTOOTOCC ) '
                           nDFORLlAJc         l' ACC  c;ccAGA 00<: GCO CCC ACC TGA ACC         AOC TGC A()A OAC ACT GAC CAO AGT CCC l.
                                                                                                 ooc rec
                           ,,..roRLwc         , • +-c CCC AOA OGC GCG CCC ACC TOA AOC c;cc TCC AOC TOA 00A OAC oo·r OAC TOA 00T TCC 3"

               ll/PAC-Cod:: M•.VC, W• AIT.R-..vr, Y=C/1', S--CIO, K=GIT. ltoA/C/T, !>-A/GIT, V- ,V<:/0, 8-1"/CJO.



           Fig. 12




                                                                                                       64
                                Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 66 of 70 PageID #: 12402
                                            Case: 22-1461  Document: 25 Page: 306 Filed: 11/04/2022                ...
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           A1576/99-1                                                                                                                             ORIGINAL TEXT



           Primer for the cloning of mouse VK genes

           Mouse VK reverse primer (containing the Ascl page and ½ linker sequence)
                                  IIK28ACK-UAscl s'        ~===========-~===~~=)•
                                  \IK1DACICLI MC 5'          (;1'
                                                                'l'CI\ QA'(' OC-.G CGC ('..CC '?CT GGC GGT' GGC GC'JI. TCG GAC P. TT GTG A'l'G tfCA CAG 7CT CC 3 •
                                  vt<2.BACIU.iAs      s·   ~ GT TC/\ GJ\T GGG CGC GCC TCT GGC GGr GGC G"".,,A TCG GAT G'IT tcrG hTG AC-C CAA N:r CC 3'
                                  \IK3DACKLI MC       s·   ~-=-==--=~--   -=~~ K•=~~3•
                                  \IK4BAC!<Li Aoc     5'    T==-==-~----=~-=-==cr    J•
                                  1/KSBACKLI AN:.     s·      T 'i'CA G.ti.1' GOO CGC GCC TCT GIX GGT GC.C Ge.A TCG SM J.MT GTK C'l"C ACC CAG TCT C:C 3'
                                  \IK6DACl<Li MC      5'
                                                              T TCA GAT GGG CCC GCC TCT GQC GGT CGC GGA. TCG CAA. J..TT GTT CTC A.CC CAG TCT CC 3 1
                                  VKIBACKLI As;       5'
                                                            T====~ ----~-=---~--crl'
                                  IIKIIDACKLi MC      s·   iT=~=-~=-=-- ---=~~==••
                     Mouse JK forward primer (containing the Notl page




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                                  JK1NOT10            5' rA.G 'I('.A    TTC TGC      CGC CGC CCC TTT            GAT      TTC     CAC CTT GCT GCC !'
                                  JK2NOT10            $. (i..G '1'CA        '1.'GC
                                                                        ·r-rc        G(;C (.'(iC:
                                                                                              cca ·.a:TT        'l'AT    T'f(;   c>..G C'M' fifiT CCC J .
                                  J1<3NOT10           s~ ,GAC TCA       TTC T«       GCC cc;c CCG TM'           TAT      TTC':   aG TCT C"..CT co: l'
                                  JK4NOT10            5 • GAG '?CA      TTC TGC      GGC CGC CCG 'ITT           TAT      TTC     C>.A CTT T G'l" CCC 3 •
                                  JK5NOT10            S•       T('J \
                                                           k.A.G        TTC TGC      GGC CGC CCG TM'            Cl\G     CTC     O.G C1'T GGT CCC 3 •

                       IUPAC-Cude: K"GIT, llt• NC,   w=ljrr, R=NG, '(•CfT, S•CIG, H=A/C/1', 0-AIGIT. V-1'/CIG, B-TIC/G.


           Fig. 13




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                       Case: 22-1461                                    Document: 25                             Page: 307                        Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 67 of 70 PageID #: 12403
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  A1576/99-1                                                                                                                                      ORIGINAL TEXT
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  Fig. 14




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                                                                                         Appx9996
                   Case: 22-1461                                  Document: 25                         Page: 308                    Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 68 of 70 PageID #: 12404

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  A1576/99-1                                                                                                                        ORIGINAL TEXT

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  Fig. 15




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                     Case: 22-1461                            Document: 25                            Page: 309                   Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 69 of 70 PageID #: 12405

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        •l      •
                w y                       ,        0     V     w        G              G          T       L    V     T       V
      316 AA~ f QI; 'l'AC             u~       C.,.'1' G'l'C 'l'G:G QGC G<:A  '       o;c    11.~     r:r:;   G'l'C ACT     ere

        ., •
      ltil
           """
                      A
                     GCA
                                ·-·•
                                G
                           oar aa>. ~c oar
                                ,1,
                                                   G
                                                         • • r.m• • •
                                                             TC>.
                                                                                                  A
                                                                            00G' COC GCC !CJ' GGC &.;1'
                                                                                                          • •        C        G
                                                                                                                            ooc

        •1
      •••
                G     s         • •                V     L     T        0
                                                                               ' •
               GGA TOG GM MT GTG CTC 1.CC C>.G '!'CJ cc.\ GC'r TC'l' "l:'Jl3 GC'I' C1l"G
                                                                                                  A       s    L     A        V




      ...., •
        •l            L      0            Q
                                                   •     A     T        l
                                                                               '       C
              1-C'I' C'I'A OGG CII.G AGG GCC 1'.CC A'I'A 1'C.C t GC >,J;;,. GOC AG'l GAA .\~':'
                                                                                                  R       A    &
                                                                                                                     • •

      •••
                V      D
                                •  y
               G'l"l' OA'I' I.Gt T AT          GOC •     y
                                                               • •
                                                        T l\'!' 11,\T TTT
                                                                              K
                                                                                       "          K
                                                                            ATG C.r..C TCX: TAT Cao CM MA
                                                                                                          y    0     0        J


        •I
      !.O
                •    G   0    p        K   L    L
                                                   •     y
               Cg.A OOA.C>.G cc,. CC~ AAA C'rC CTC A7C T A'!·
                                                                              •              oo,
                                                                                                          A    $
                                                                                                                     •
                                                                                                      Gt.A TCC. M C CTA
                                                                                                                              L


        •1
      $&6       •     s         G
               GAG 1'Ct' CGC .'~'l'C
                                          1        p     A     R
                                                                        ' ' • • <.cc
                                               cc-, CCC NlC TIC ,..,.,.,._. ;;;.: ,,.: AC'I
                                                                                                          G    8      •
                                                                                                              TC:7 ,V.7:-
                                                                                                                              T
                                                                                                                             ACA

        ••                                                     • '             .,      • •                                    •
      Bl
                0
               CAC    '
                     TY~ AO=
                                T

                                      =
                                          L    T                              D   0    V
                                               A~ kT'l' Mt CC'l' GtG Gi\GGC, GU IJA'T Gt 'I' Gel.

        •t      T               y
                                                                • • •        p                                          ,
      s·;"            '
               ACC TAT TAC TGT
                                          C
                                               CM;
                                                   Q     Q                C·   L
                                                        CM. 1,.~'! M'CGla&TCCGCX.                             .,.
                                                                                                               T
                                                                                                                    :'TC OGT
                                                                                                                              G



        •l T   C   t    P.                 l       ,. •                 • '
      'nl AC! GOG AC.=.A:.1. e7'l.'l CU J,,.'rA AAA COG



  Fig. 16




                                                                                           68



                                                                                  Appx9998
          Case: 22-1461      Document: 25                Page: 310      Filed: 11/04/2022

Case 1:17-cv-00509-LPS Document 129-3 Filed 04/11/18 Page 70 of 70 PageID #: 12406
                                 .
                                ..........................
                                 .... ..... ... . .... ............ .

  A1576/99-1                                                            ORIGINAL TEXT




                                          Sac I              Xbal
                                                   \I



                  colE1orl


                                              pBax-lgG1                            NEO
                    AMP                       7630 bp



                              leader ,
                                          I                CH1•hinge Ctt2-Cff3
                                      /
                                Xhol             Sstell
                  Fig. 17




                                                 69



                                          Appx9999
          Case: 22-1461        Document: 25         Page: 311   Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 158 Filed 05/18/18 Page 1 of 27 PagelD
                                                                PageID #: 13194



                      IN THE
                      IN THE UNITED
                             UNITED STATES DISTRICT COURT
                                    STATES DISTRICT COURT
                         FOR
                         FOR THE DISTRICT OF
                             THE DISTRICT OF DELAWARE
                                             DELAWARE


 BAXALTA INCORPORATED,
 BAXALTA                    a Delaware
              INCORPORATED, a Delaware
 corporation; and
 corporation; and BAXALTA
                  BAXALTA GMBH, a Swiss
                          GMBH, a Swiss
 company,
 company,

                              Plaintiffs,
                              Plaintiffs,

     v.
     v.

 GENENTECH, INC.,
 GENENTECH,    INC., aa Delaware
                        Delaware corporation; and
                                 corporation; and        C.A. No.
                                                         C.A. No. 17-509-TBD
                                                                  17-509-TBD
 CHUGAI PHARMACEUTICAL
 CHUGAI    PHARMACEUTICAL CO.,   CO., LTD.,
                                      LTD., aa
 Japanese company,
 Japanese company,


                             Defendants.
                             Defendants.



                        BAXALTA’S OPENING
                        BAXALTA'S OPENING MARKMAN BRIEF
                                          MARKMAN BRIEF




                                            Appx10620
                                            Appx10620
             Case: 22-1461              Document: 25            Page: 312          Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 158 Filed 05/18/18 Page 22 of 27 PagelD
                                                                 PageID #: 13215



  activity of
  activity of
  Factor IXa"
  Factor  IXa”
  “increases the
  "increases  the        Increases the rate
                         Increases the rate of
                                            of Enhances  the ability
                                               Enhances the  ability of
                                                                     of Factor
                                                                        Factor IXa  to activate
                                                                               IXa to  activate Factor
                                                                                                Factor
  procoagulant
  procoagulant           clot
                         clot formation
                              formation        X to
                                               X to Factor
                                                    Factor Xa
                                                           Xa by
                                                              by any
                                                                  any amount
                                                                       amount asas determined
                                                                                   determined byby any
                                                                                                   any
  activity of
  activity of            promoted by
                         promoted  by Factor
                                       Factor assay
                                               assay used
                                                     used to
                                                          to measure
                                                             measure Factor
                                                                       Factor VIII-like
                                                                              VIII-like activity
                                                                                         activity
  Factor IXa”
  Factor  IXa"           IXa
                         IXa

          The parties agree
          The parties agree that
                            that "increases"
                                 “increases” should
                                             should be
                                                    be given
                                                       given its
                                                             its plain
                                                                 plain and
                                                                       and ordinary
                                                                           ordinary meaning.
                                                                                    meaning. D.I.
                                                                                             D.I. 131,
                                                                                                  131,

 Amended Joint
 Amended       Chart at
         Joint Chart at 6. They dispute
                        6. They dispute whether
                                        whether "the
                                                “the procoagulant
                                                     procoagulant activity
                                                                  activity of
                                                                           of Factor
                                                                              Factor IXa” (i)
                                                                                     IXa" (i)

 explicitly
 explicitly incorporates only one
            incorporates only one of
                                  of the
                                     the activation
                                         activation steps
                                                    steps of
                                                          of the
                                                             the coagulation cascade, 13 and
                                                                 coagulation cascade,13  and (ii)
                                                                                             (ii)

 requires aa particular
 requires    particular method
                        method to
                               to measure
                                  measure that
                                          that activation
                                               activation step.
                                                          step. As
                                                                As their
                                                                   their 26-word
                                                                         26-word construction
                                                                                 construction

 demonstrates, Defendants
 demonstrates, Defendants propose
                          propose to
                                  to fundamentally
                                     fundamentally rewrite
                                                   rewrite the
                                                           the claim—a
                                                               claim—a practice
                                                                       practice that
                                                                                that the
                                                                                     the Federal
                                                                                         Federal

 Circuit has
 Circuit has repeatedly rejected. See
             repeatedly rejected. See Resonate
                                      Resonate Inc.
                                               Inc. v. Alteon Websystems,
                                                    v. Alteon                   338 F.3d
                                                                          Inc., 338
                                                              Websystems, Inc.,     F.3d 1360, 1365
                                                                                         1360, 1365

 (Fed. Cir.
 (Fed. Cir. 2003)
            2003) ("Courts
                  (“Courts may
                           may not
                               not rewrite
                                   rewrite claim
                                           claim language based on
                                                 language based on what
                                                                   what has
                                                                        has been
                                                                            been omitted
                                                                                 omitted from
                                                                                         from aa
                                                                           14
 claim, and
 claim, and the
            the district
                district court's
                         court's attempt
                                 attempt to
                                         to do
                                            do so
                                               so here
                                                  here was
                                                       was legal
                                                           legal error.").
                                                                 error.”). 14

                   1.
                   1.       The Intrinsic Record
                            The Intrinsic Record Supports
                                                 Supports Baxalta's
                                                          Baxalta’s Construction
                                                                    Construction

          The specification supports
          The specification supports Baxalta's
                                     Baxalta’s construction that "the
                                               construction that “the procoagulant
                                                                      procoagulant activity
                                                                                   activity of
                                                                                            of Factor
                                                                                               Factor

 IXa” is "the
 IXa" is “the rate
              rate of
                   of clot
                      clot formation promoted by
                           formation promoted by Factor
                                                 Factor IXa.”
                                                        IXa." The specification teaches
                                                              The specification teaches that
                                                                                        that the
                                                                                             the

 inventors tested for
 inventors tested for procoagulant
                      procoagulant activity
                                   activity by
                                            by analyzing
                                               analyzing the
                                                         the Disclosed
                                                             Disclosed Antibodies
                                                                       Antibodies in
                                                                                  in aa one-stage
                                                                                        one-stage




 13
 13   The   human body
      The human       body uses
                             uses aa complex
                                       complex mechanism
                                                  mechanism called
                                                                 called the
                                                                        the coagulation
                                                                             coagulation cascade
                                                                                            cascade to to promote
                                                                                                          promote thethe
  clotting of
  clotting   of blood
                blood in in response
                            response to to aa vascular
                                              vascular injury.
                                                        injury. D.I.
                                                                 D.I. 47
                                                                      47 ¶
                                                                         ¶ 38.
                                                                            38. The   coagulation cascade
                                                                                The coagulation      cascade includes
                                                                                                               includes
 aa series
     series of
            of reactions
                reactions involving
                            involving numerous
                                         numerous factors,      whereby the
                                                      factors, whereby   the activation
                                                                              activation ofof one
                                                                                               one factor  may lead
                                                                                                   factor may    lead to
                                                                                                                      to
  the activation
 the   activation ofof the
                        the next
                             next factor
                                   factor inin the
                                               the cascade.
                                                   cascade. See
                                                              See ‘590  Patent at
                                                                   `590 Patent  at 1:7-11.   During the
                                                                                    1:7-11. During     the coagulation
                                                                                                           coagulation
  cascade,
  cascade, oneone step   involves the
                   step involves     the activation
                                         activation ofof FX
                                                         FX toto FXa
                                                                 FXa by
                                                                      by the
                                                                         the binding
                                                                              binding ofof FVIIIa
                                                                                           FVIIIa toto FIXa
                                                                                                        FIXa to
                                                                                                              to form
                                                                                                                 form aa
  tenase-complex. Id.
 tenase-complex.              at 1:61-65.
                         Id. at   1:61-65. FXa FXa then
                                                     then cleaves
                                                            cleaves FII
                                                                      FII (prothrombin)
                                                                           (prothrombin) converting
                                                                                               converting itit to
                                                                                                                to FIIa
                                                                                                                    FIIa
  (thrombin), and
 (thrombin),     and thrombin
                       thrombin thenthen cleaves
                                          cleaves FIFI (fibrinogen)
                                                       (fibrinogen) converting
                                                                      converting it   to FIa
                                                                                   it to FIa (fibrin),
                                                                                              (fibrin), which
                                                                                                        which forms
                                                                                                                forms aa
  clot.  D.I. 47
  clot. D.I.  47 ¶¶ 39,
                    39, Fig.
                          Fig. 1.
                               1.
  14
 14
          (citing K-2
      Id. (citing
      Id.          K-2 Corp.
                          Corp. v.               S.A., 191
                                     Salomon S.A.,
                                  v. Salomon                 F.3d 1356,
                                                       191 F.3d    1356, 1364
                                                                          1364 (Fed.
                                                                                 (Fed. Cir.
                                                                                         Cir. 1999)
                                                                                              1999) ("Courts
                                                                                                      (“Courts dodo not
                                                                                                                     not
  rewrite   claims; instead,
  rewrite claims;     instead, we
                                we give
                                      give effect
                                           effect to
                                                   to the
                                                      the terms
                                                          terms chosen
                                                                  chosen by
                                                                          by the
                                                                             the patentee.");
                                                                                  patentee.”); Autogiro
                                                                                                 Autogiro Co.    of Am.
                                                                                                            Co. of  Am.
  v.
  v. United              384 F.2d
               States, 384
      United States,          F.2d 391,
                                      391, 396
                                            396 (Ct.
                                                 (Ct. Cl.
                                                       Cl. 1967)   (“Courts can
                                                           1967) ("Courts    can neither
                                                                                   neither broaden
                                                                                            broaden nornor narrow
                                                                                                            narrow the
                                                                                                                     the
  claims to
  claims   to give
               give the
                     the patentee
                          patentee something
                                     something different
                                                   different than
                                                              than what
                                                                    what he
                                                                         he has
                                                                             has set
                                                                                  set forth.")).
                                                                                      forth.”)).




                                                   Appx10641
                                                   Appx10641
            Case: 22-1461         Document: 25         Page: 313        Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 158 Filed 05/18/18 Page 23 of 27 PagelD
                                                                 PageID #: 13216



 clotting assay. 15 ‘590
 clotting assay.15       Patent at
                    `590 Patent at 18:28-33
                                   18:28-33 ("FIX/FIXa
                                            (“FIX/FIXa specific
                                                       specific monoclonal
                                                                monoclonal antibodies
                                                                           antibodies selected
                                                                                      selected from
                                                                                               from

 the 198th
 the 198th fusion
           fusion experiment were purified
                  experiment were purified from the respective
                                           from the respective hybridoma
                                                               hybridoma supernatant
                                                                         supernatant and
                                                                                     and

 quantified as
 quantified as described
               described in
                         in Example 3. These
                            Example 3. These antibodies
                                             antibodies were
                                                        were analyzed
                                                             analyzed in
                                                                      in aa modified
                                                                            modified one-stage
                                                                                     one-stage

 clotting assay
 clotting       (as described
          assay (as described in
                              in Example
                                 Example 6) and some
                                         6) and some showed
                                                     showed procoagulant
                                                            procoagulant activity.");
                                                                         activity.”); Id. at
                                                                                      Id. at

 29:47-51 ("To
 29:47-51 (“To assay
               assay for
                     for the procoagulant activity
                         the procoagulant          of peptide
                                          activity of peptide A1/3
                                                              A1/3 in FVIII inhibitor
                                                                   in FVIII           plasma the
                                                                            inhibitor plasma the

 following
 following experiment was carried
           experiment was         out. We
                          carried out. We performed
                                          performed aa standard
                                                       standard aPTT
                                                                aPTT based
                                                                     based one
                                                                           one stage
                                                                               stage clotting
                                                                                     clotting

        but instead
 assay, but
 assay,     instead of
                    of FVIII
                       FVIII deficient
                             deficient plasma
                                       plasma we
                                              we employed
                                                 employed FVIII
                                                          FVIII inhibitor
                                                                inhibitor plasma").
                                                                          plasma”).

        Moreover, the
        Moreover, the specification
                      specification repeatedly discloses that
                                    repeatedly discloses that aa reduction
                                                                 reduction in
                                                                           in clotting
                                                                              clotting time
                                                                                       time

 demonstrates an
 demonstrates an increase
                 increase in procoagulant activity.
                          in procoagulant activity. Id. at 17:36-39
                                                    Id. at          (“There is
                                                           17:36-39 ("There is aa clear dose-
                                                                                  clear dose-

 dependent reduction
 dependent           of the
           reduction of the clotting time .. .. .. .. These
                            clotting time             These results
                                                            results imply
                                                                    imply that
                                                                          that antibody
                                                                               antibody 193/AD3
                                                                                        193/AD3 is
                                                                                                is

 procoagulant in
 procoagulant    the presence
              in the presence of
                              of FIXa.");
                                 FIXa.”); Id. at 29:37-40
                                          Id. at 29:37-40 ("In
                                                          (“In the
                                                               the presence
                                                                   presence of
                                                                            of FIXa,
                                                                               FIXa, peptide
                                                                                     peptide B1/7
                                                                                             Bl/7

 becomes procoagulant
 becomes              as indicated
         procoagulant as indicated by
                                   by the
                                      the reduced
                                          reduced clotting
                                                  clotting time.”);     at 23:66-24:2
                                                                    Id. at
                                                           time."); Id.               (“Peptides
                                                                           23:66-24:2 ("Peptides

 A1/1, A1/2,
 A1/1, A1/2, A1/4
             A1/4 and
                  and A1/5
                      A1/5 did
                           did not
                               not give
                                   give any
                                        any reduction
                                            reduction in
                                                      in the
                                                         the clotting
                                                             clotting time indicating that
                                                                      time indicating that they
                                                                                           they lack
                                                                                                lack

 procoagulant activity.").
 procoagulant activity.”).

        The specification thus
        The specification thus teaches
                               teaches that
                                       that procoagulant
                                            procoagulant activity
                                                         activity is
                                                                  is assessed
                                                                     assessed by
                                                                              by measuring
                                                                                 measuring the
                                                                                           the

 formation of aa clot
 formation of         and that
                 clot and that an
                               an increase
                                  increase in the procoagulant
                                           in the procoagulant activity
                                                               activity of
                                                                        of FIXa
                                                                           FIXa is
                                                                                is shown
                                                                                   shown by
                                                                                         by aa reduction
                                                                                               reduction

 in clotting
 in clotting time,
             time, i.e., by promoting
                   i.e., by promoting blood
                                      blood coagulation.
                                            coagulation. A
                                                         A reduction
                                                           reduction in the time
                                                                     in the time it
                                                                                 it takes
                                                                                    takes to
                                                                                          to form
                                                                                             form aa

 clot means
 clot means that
            that the
                 the rate of clotting
                     rate of clotting has
                                      has increased. Accordingly, the
                                          increased. Accordingly, the terms
                                                                      terms "the
                                                                            “the procoagulant
                                                                                 procoagulant activity
                                                                                              activity

 of Factor
 of Factor IXa” and "increases
           IXa" and “increases the
                               the procoagulant
                                   procoagulant activity
                                                activity of
                                                         of Factor
                                                            Factor IXa” refer to
                                                                   IXa" refer to aa rate
                                                                                    rate of
                                                                                         of clot
                                                                                            clot

 formation promoted by
 formation promoted by FIXa.
                       FIXa.




 15
 15A clotting
   A   clotting assay
                assay measures
                       measures the
                                the final
                                    final outcome
                                          outcome of
                                                  of the
                                                     the coagulation cascade, i.e.,
                                                         coagulation cascade,       the formation
                                                                              i.e., the           of aa
                                                                                        formation of
 clot. D.I.
 clot. D.I. 118
            118 ¶¶ 43.
                   43.




                                            Appx10642
                                            Appx10642
           Case: 22-1461          Document: 25        Page: 314       Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 158 Filed 05/18/18 Page 24 of 27 PagelD
                                                                 PageID #: 13217



                2.
                2.      Defendants Ignore
                        Defendants Ignore the
                                            the Intrinsic
                                                Intrinsic Record
                                                          Record in
                                                                 in an Attempt to
                                                                    an Attempt to Import
                                                                                  Import
                        Requirements into
                        Requirements into the
                                          the Claims
                                              Claims

        Defendants’ proposed
        Defendants' proposed construction
                             construction seeks
                                          seeks to
                                                to restrict
                                                   restrict "procoagulant
                                                            “procoagulant activity
                                                                          activity of
                                                                                   of Factor
                                                                                      Factor IXa"
                                                                                             IXa”

 to "the
 to “the ability
         ability of
                 of Factor
                    Factor IXa to activate
                           IXa to activate Factor
                                           Factor X
                                                  X to
                                                    to Factor
                                                       Factor Xa
                                                              Xa by
                                                                 by any
                                                                    any amount"
                                                                        amount” and
                                                                                and further
                                                                                    further requires
                                                                                            requires

 that such
 that such activity
           activity be
                    be determined
                       determined by
                                  by "any
                                     “any assay"
                                          assay” for measuring "Factor
                                                 for measuring “Factor VIII-like
                                                                       VIII-like activity."
                                                                                 activity.” These
                                                                                            These

 constructs, however,
 constructs, however, conflate
                      conflate procoagulant
                               procoagulant activity
                                            activity with
                                                     with FVIII-like
                                                          FVIII-like activity
                                                                     activity and
                                                                              and thus
                                                                                  thus rewrite
                                                                                       rewrite the
                                                                                               the

 claims and
 claims and flout the intrinsic
            flout the intrinsic evidence.
                                evidence.

        At no
        At no point
              point do the claims
                    do the claims or
                                  or the
                                     the specification
                                         specification describe
                                                       describe "the
                                                                “the procoagulant
                                                                     procoagulant activity
                                                                                  activity of
                                                                                           of Factor
                                                                                              Factor

 IXa” as "the
 IXa" as “the ability
              ability of
                      of Factor
                         Factor IXa to activate
                                IXa to activate Factor
                                                Factor X
                                                       X to
                                                         to Factor
                                                            Factor Xa
                                                                   Xa by
                                                                      by any
                                                                         any amount."
                                                                             amount.” While
                                                                                      While the
                                                                                            the

 specification describes
 specification           the activation
               describes the activation of
                                        of FX
                                           FX to
                                              to FXa
                                                 FXa as
                                                     as aa step
                                                           step in
                                                                in the
                                                                   the coagulation cascade (`590
                                                                       coagulation cascade (‘590

 Patent at
 Patent at 1:61-65),
           1:61-65), aa POSITA
                        POSITA would
                               would have
                                     have understood
                                          understood that
                                                     that it
                                                          it is
                                                             is one
                                                                one of
                                                                    of many
                                                                       many steps
                                                                            steps that
                                                                                  that ultimately
                                                                                       ultimately

 lead to the
 lead to the formation of aa clot.
             formation of          D.I. 111
                             clot. D.I. 111 ¶¶
                                            ¶¶ 35-39.
                                               35-39. Moreover,
                                                      Moreover, the
                                                                the specification
                                                                    specification does
                                                                                  does not constrain
                                                                                       not constrain

 FIXa’s role
 FIXa's role in the coagulation
             in the             cascade to
                    coagulation cascade to only
                                           only activating
                                                activating FX
                                                           FX to
                                                              to FXa.
                                                                 FXa. FIXa
                                                                      FIXa may
                                                                           may also
                                                                               also participate
                                                                                    participate in
                                                                                                in

 other reactions
 other reactions in
                 in the
                    the coagulation
                        coagulation cascade to promote
                                    cascade to promote clot formation. Ex.
                                                       clot formation.     C, Krishnaswamy
                                                                       Ex. C, Krishnaswamy Dep.
                                                                                           Dep.

 Tr.
 Tr. 79:3-14. Thus, solely
     79:3-14. Thus, solely examining FIXa’s role
                           examining FIXa's role in the enzymatic
                                                 in the enzymatic conversion
                                                                  conversion of
                                                                             of FX
                                                                                FX to
                                                                                   to FXa,
                                                                                      FXa, one
                                                                                           one

 of the
 of the many
        many enzymatic conversions in
             enzymatic conversions in the
                                      the coagulation cascade, as
                                          coagulation cascade, as Defendants
                                                                  Defendants advance,
                                                                             advance, would
                                                                                      would

 exclude other mechanisms
 exclude other mechanisms by
                          by which
                             which the
                                   the claimed antibody or
                                       claimed antibody or antibody
                                                           antibody fragment
                                                                    fragment thereof
                                                                             thereof may
                                                                                     may

 increase the procoagulant
 increase the procoagulant activity
                           activity of
                                    of FIXa.
                                       FIXa.

        The specification also
        The specification also does not require
                               does not         procoagulant activity
                                        require procoagulant activity be
                                                                      be determined
                                                                         determined by
                                                                                    by "any
                                                                                       “any assay
                                                                                            assay

 used to
 used to measure
         measure Factor
                 Factor VIII-like
                        VIII-like activity,"
                                  activity,” as
                                             as it
                                                it makes
                                                   makes clear
                                                         clear FVIII-like
                                                               FVIII-like activity
                                                                          activity and
                                                                                   and procoagulant
                                                                                       procoagulant

 activity are
 activity are distinct.
              distinct. Indeed, the specification
                        Indeed, the specification provides
                                                  provides that
                                                           that methods
                                                                methods may
                                                                        may be
                                                                            be used
                                                                               used to
                                                                                    to show
                                                                                       show that
                                                                                            that the
                                                                                                 the

 antibodies of
 antibodies of the
               the present
                   present invention
                           invention "increase
                                     “increase the
                                               the procoagulant
                                                   procoagulant activity
                                                                activity of
                                                                         of factor IXa or
                                                                            factor IXa    have factor
                                                                                       or have factor




                                            Appx10643
                                            Appx10643
              Case: 22-1461          Document: 25           Page: 315         Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 158 Filed 05/18/18 Page 25 of 27 PagelD
                                                                 PageID #: 13218



                                              16
 VIII-like activity."
 VIII-like activity.” ‘590 Patent at
                      `590 Patent at 9:17-18.
                                     9:17-18.16

         Moreover, the
         Moreover, the specification
                       specification teaches
                                     teaches that
                                             that an
                                                  an antibody
                                                     antibody may
                                                              may exhibit FVIII-like activity
                                                                  exhibit FVIII-like activity

         exhibiting procoagulant
 without exhibiting
 without            procoagulant activity.
                                 activity. For
                                           For example, the disclosed
                                               example, the disclosed 198/AP1
                                                                      198/AP1 antibody,
                                                                              antibody, which
                                                                                        which

 exhibited FVIII-like
 exhibited FVIII-like activity
                      activity in
                               in aa chromogenic
                                     chromogenic assay,
                                                 assay, did
                                                        did not
                                                            not exhibit procoagulant activity
                                                                exhibit procoagulant activity in
                                                                                              in an
                                                                                                 an

 aPTT assay.
 aPTT assay. Id. at 18:34-63,
             Id. at 18:34-63, Fig.
                              Fig. 11;
                                   11; D.I.
                                       D.I. 128
                                            128 ¶¶
                                                ¶¶ 51.
                                                   51. Since
                                                       Since different assays may
                                                             different assays may provide
                                                                                  provide conflicting
                                                                                          conflicting

 results, Defendants'
 results, Defendants’ construction requiring "any
                      construction requiring “any assay"
                                                  assay” cannot
                                                         cannot be
                                                                be correct.
                                                                   correct. See
                                                                            See Geneva Pharms.,
                                                                                Geneva Pharms.,

 Inc. v.
 Inc. v. GlaxoSmithKline      349 F.3d
                         PLC, 349
         GlaxoSmithKline PLC,     F.3d 1373
                                       1373 (Fed.
                                            (Fed. Cir.
                                                  Cir. 2003)
                                                       2003) (a
                                                             (a claim
                                                                claim construction that renders
                                                                      construction that renders

 claims indefinite
 claims indefinite is incorrect).
                   is incorrect).

         G.
         G.       Claim Terms:
                  Claim          “preparation comprising
                          Terms: "preparation comprising anan antibody or antibody
                                                              antibody or antibody fragment  …
                                                                                   fragment ...
                  and
                  and aa pharmaceutically
                         pharmaceutically acceptable
                                          acceptable carrier"
                                                     carrier” and
                                                              and "pharmaceutically
                                                                  “pharmaceutically acceptable
                                                                                     acceptable
                  carrier”
                  carrier"

              Term
              Term                     Baxalta’s
                                       Baxalta's                      Defendants’ Construction
                                                                      Defendants' Construction
                                     Construction
                                     Construction
  “preparation comprising
  "preparation  comprising       The claimed
                                 The  claimed               The
                                                            The claimed  preparation must
                                                                 claimed preparation must be
                                                                                          be
  an antibody
  an antibody or
               or antibody
                  antibody       preparation must
                                 preparation  must be
                                                   be       therapeutically useful
                                                            therapeutically useful
  fragment …
  fragment      and aa
            ... and              suitable for
                                 suitable for
  pharmaceutically
  pharmaceutically               pharmaceutical use
                                 pharmaceutical  use
  acceptable carrier”
  acceptable  carrier"
  “pharmaceutically
  "pharmaceutically              Suitable for
                                 Suitable for               A substance
                                                            A substance suitable
                                                                         suitable for  administration to
                                                                                   for administration to aa
  acceptable carrier”
  acceptable  carrier"           pharmaceutical use
                                 pharmaceutical use         patient in
                                                            patient in which
                                                                       which aa therapeutically
                                                                                therapeutically useful
                                                                                                useful
                                                            agent is
                                                            agent    dissolved or
                                                                  is dissolved  or suspended
                                                                                   suspended

                  1.
                  1.      Baxalta’s Constructions
                          Baxalta's Constructions Should
                                                  Should Be Adopted
                                                         Be Adopted

         The plain language
         The plain language of
                            of the
                               the term
                                   term "pharmaceutically
                                        “pharmaceutically acceptable
                                                          acceptable carrier"
                                                                     carrier” supports
                                                                              supports Baxalta's
                                                                                       Baxalta’s

 proposed constructions
 proposed constructions because
                        because the
                                the carrier's
                                    carrier’s acceptability
                                              acceptability is
                                                            is contingent
                                                               contingent on
                                                                          on its
                                                                             its pharmaceutical
                                                                                 pharmaceutical




 16
 16 The    foreign priority
    The foreign      priority application
                               application of
                                           of the
                                               the ‘590   Patent also
                                                    `590 Patent    also distinguishes   between procoagulant
                                                                         distinguishes between     procoagulant
 activity and
 activity   and FVIII-like
                 FVIII-like activity.
                              activity. Compare    D.I. 129-3,
                                        Compare D.I.    129-3, Austrian
                                                                 Austrian Patent
                                                                            Patent Application
                                                                                   Application No.
                                                                                                 No. A1576/99
                                                                                                      A1576/99
 at cl.
 at cl. 11 with
           with cl.  2; D.I.
                 cl. 2; D.I. 128
                             128 ¶¶¶¶ 54-56. Claim 11 is
                                      54-56. Claim         drawn to
                                                        is drawn   to "procoagulant
                                                                       “procoagulant activity
                                                                                       activity of
                                                                                                of FIXa"
                                                                                                    FIXa” while
                                                                                                           while
 claim
 claim 22 isis drawn
               drawn to
                      to "FVIIIa
                         “FVIIIa (FVIIIa)-like
                                    (FVIIIa)-like cofactor
                                                  cofactor activity."
                                                             activity.” Id.  The inventors
                                                                         Id. The inventors identified
                                                                                            identified different
                                                                                                        different
 tests for
 tests       the different
        for the  different activities.
                            activities. They used an
                                        They used   an aPTT
                                                       aPTT test
                                                               test to
                                                                    to measure
                                                                       measure the
                                                                                 the "procoagulant
                                                                                     “procoagulant activity
                                                                                                      activity of
                                                                                                               of
 the antibody
 the antibody 193/AD3"
                 193/AD3” and and aa chromogenic
                                     chromogenic assay
                                                    assay to
                                                           to measure
                                                              measure "FVIII-like
                                                                         “FVIII-like activity
                                                                                      activity of
                                                                                               of the
                                                                                                  the antibodies
                                                                                                      antibodies
 193/AD3 and
 193/AD3      and 196/AF2."
                   196/AF2.” D.I.
                                D.I. 129-3
                                     129-3 at
                                           at 27,
                                               27, 28,
                                                   28, 31,
                                                       31, Figs.
                                                            Figs. 6A,
                                                                  6A, 9.9.




                                                Appx10644
                                                Appx10644
Case: 22-1461   Document: 25   Page: 316   Filed: 11/04/2022




       CONFIDENTIAL MATERIAL OMITTED
         FROM THE FOLLOWING PAGES:
              Appx11236, Appx11434
          Case: 22-1461          Document: 25          Page: 317        Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 262 Filed 08/07/18 Page 11 of 29 PageID
                                                                 PagelD #: 21987




                       IN THE UNITED STATES
                                      STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


BAXALTA INCORPORATED and
BAXALTA GMBH,

                       Plaintiffs,

                v.
                v.                                           Civil Action No. 17-509-TBD

GENENTECH, INC. and CHUGAI
PHARMACEUTICAL CO., LTD.,

                       Defendants.
                       Defendants.



                                      OPINION & ORDER
                                      OPINION & ORDER

                4,2017,
         On May 4, 2017, Baxalta Inc. and Baxalta GmbH             “Baxalta”) brought suit
                                                  GrnbH (together, "Baxalta")

                                                                                      U.S.
against Genentech, Inc. and Chugai Pharmaceutical Co., Ltd., alleging infringement of U.S.

                           ‘590 patent")
                     (“the '590
Patent No. 7,033,590 ("the                                              oiler to sell, and
                                patent”) by the manufacture, use, sale, offer

importation of an antibody used to treat hemophilia A and known as emicizumab     ACE9IO,
                                                                   emicizurnab or ACE910,

                                                    14, 2017, Baxalta moved for a
marketed under the brand name Hemlibra. On December 14,

preliminary injunction barring further sales or offers to sell Hemlibra in the United States, with

exceptions for certain patients. In addition to two rounds of briefing, the Court held an

                       Baxalta’s motion on June 13
evidentiary hearing on Baxalta's                13 and 14,
                                                       14, 2018, and heard oral argument on

                                                           showing the propriety of preliminary
July 2, 2018. Baxalta having failed to meet its burden for showing

injunctive relief, the motion for aa preliminary injunction is DENIED. This opinion constitutes

                             and conclusions of law pursuant to Federal Rule of Civil Procedure
    Court’s findings of fact and
the Court's

52(a).




                                          Appx16003
                                          Appx16003
          Case: 22-1461            Document: 25       Page: 318        Filed: 11/04/2022



                                                               PageID #: 22061
Case 1:17-cv-00509-TBD Document 275 Filed 08/10/18 Page 1 of 1 PagelD    22061




                        TUE UNITED STATES DISTRICT COURT
                     IN THE
                         FOR THE DISTRICT OF DELAWARE


BAXALTA INCORPORATED and
BAXALTA
        GMffl-I,
BAXALTA GMBH,

                     Plaintiffs,

              v.
              V.                                                          17-509-TBD
                                                         Civil Action No. 17-509-TBD

           NC. and CHUGAI
GENENTECH. INC.
GENENTECH,
PHARMACEUTICAL CO., LTD.,

                     Defendants.



                                          ORDER

                               parties’ joint letter, dated July 18,
       On consideration of the parties'                          18, 2018, ECF No. 245, and
                                                                               No. 245,

Genentech's Jefter, dated July 23, 2018,
Genentech’s letter,                2018. ECF                        bsted in Exhibit A to the
                                             No. 247, the documents listed
                                         EC? No.

parties’ joint letter, ECF No. 245-1, are ADMITTED and are part
parties'                                                   pan of the preliminary injunction

                                                                   OVERRULED.
            panics’ objections to inclusion of these documents are OVERRULED.
record. The parties'

                             10th day of August, 2018.
       IT IS SO ORDERED this LQth




                                          Honorable Timothy B.B. Dyk
                                          United States Circuit Judge, sitting by designation




                                           Appx16032
                                           Appxl 6032
          Case: 22-1461            Document: 25          Page: 319        Filed: 11/04/2022



Case 1:17-cv-00509-TBD Document 293 Filed 09/19/18 Page 11 of 2 PageID
                                                                PagelD #: 22417




                                       STATES DISTRICT COURT
                        IN THE UNITED STATES
                            FOR THE DISTRICT OF DELAWARE

  BAXALTA INCORPORATED, a Delaware
  corporation; and BAXALTA GMBH, a Swiss
  company,
                                                                      1:1 7-cv-00509-TBD
                                                             C.A. No. 1:17-cv-00509-TBD
                            Plaintiffs,
                                                            JURY TRIAL DEMANDED
                 v.
                 V.


  GENENTECH, INC., a Delaware corporation;
                              corporation; and
  CHUGAI PHARMACEUTICAL CO., LTD., a
  Japanese company,

                            De rend ants.
                            Defendants.



                 FIRST AMENDED STIPULATION AND ORDER DISMISSING
                                                         LTD.
                   DEFENDANT CHUGAI PHARMACEUTICAL CO., LTD.

                                                    Gmbl-I (collectively, "Baxalta")
        Plaintiffs Baxalta Incorporated and Baxalta GmbH                  “Baxalta”) and Defendant

                                 (“Chugai”) submit the following Stipulation dismissing
 Chugai Pharmaceutical Co., Ltd. ("Chugai")

                       “Stipulation”) and in support thereof state:
 Defendant Chugai (the "Stipulation")                        state:

         1.
         I.                                                                        [Proposed]
                                                                  “Stipulation and [Proposed]
                 On June 26, 2018, Baxalta and Chugai submitted a "Stipulation

                                                  Ltd.,” in which, inter alia, Chugai agreed to
                       Chugal Pharmaceutical Co., Ltd.,"
 Order as to Defendant Chugai

                                          30(b)(6) deposition, and in which Baxalta agreed to
 provide one or more witnesses for a Rule 30(6)(6)

 dismiss Chugai from this Action within five business days following completion of the 30(b)(6)

 deposition.

        2.                                               “[w]ithin five days of completion of the
                 On July 2, 2018, the Court ordered that "[w]ithin

 deposition, Baxalta shall file a proposed order dismissing Chugai in accordance with the

 stipulation.”
 stipulation."

        3.       On September 5 and 6,
                                    6,2018,
                                       2018, in Osaka, Japan, Baxalta deposed a Chugai witness

                30(b)(6) topics. The deposition was completed on September 6,
 on agreed-upon 30(b)(6)                                                   6,2018.
                                                                              2018.




                                             Appx16033
                                             Appxl 6033
           Case: 22-1461             Document: 25        Page: 320        Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 1 of 31 PageID #: 23288




                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


 BAXALTA INCORPORATED and
         GMBH.
 BAXALTA GMBH,

                       Plaintiffs,

                v.                                           Civil Action No. 17-509-TBD
                                                                              17-509-TBD

 GENENTECH, INC. and CHUGAI
 PHARMACEUTICAL CO., LTD.,

                       Defendants.




                                       OPINION & ORDER

               4,2017.
        On May 4,       Ba.xalta Inc. and Baxalta GmbH (together,
                  2017, Baxalta                                   “Baxalta”) filed suit against
                                                       (together, "Baxalta")

 Genentech, Inc.
            Inc. and Chugai Pharmaceutical Co., Ltd.
                                                Ltd. alleging infringement of claims 1,
                                                                                     1, 4, 17,
                                                                                           17,

 and 19
     19 of U.S. Patent No. 7,033,590 patent ("the
                                            (“the '590
                                                  ‘590 patent"),
                                                       patent”).’I        Chugai was voluntarily

 dismissed from this lawsuit pursuant to a stipulation of the parties on September 19,
                                                                                   19, 2018. Order

 Dismissing Chugai, ECF No. 293.

        The alleged infringement is the manufacture, use, sale,
                                                          sale, offer to sell, and importation of an

 antibody used to treat hemophilia A and known as emicizumab, or ACE910,
                                                                 ACE9IO, and marketed under

 the brand name Hemlibra (hereinafter, "Hemlibra").
                                       “Hemlibra”).         Now before this court is the claim

 construction of six terms of the '590
                                   ‘590 patent:           antiboth’ fragment, bispecific
                                        patent: antibody, antibody            bispecic antibody,

                                                                          procoagidant activity of
 isolated, binds Factor IX or Factor IXa and increases, and increases the procoagulant

        LYa.
 Factor IXa.


   Baxalta also initially asserted infringement of claim 15
                                                         15 of the '590
                                                                    ‘590 patent, but dropped this
 claim during the Markman hearing. See First Am. Compl. 9, ECF No. 239;       239; Markman Tr.Yr.
 235:11—13, ECF No. 320.
 235:11-13,             320.




                                             Appx16160
                                             Appx16160
           Case: 22-1461          Document: 25          Page: 321        Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 2 of 31 PageID #: 23289




        This court held a Markman hearing on October 16, 2018, and received expert testimony

 and argument regarding the construction of the six terms. At an earlier preliminary injunction

                 13 and 14, 2018, the court also received testimony and argument on construction
 hearing on June 13

                           antibodyfragment.
 of the terms antibody and antibody fragment.

        In terms of the factual record, the court will consider oral testimony given by experts at

 the Markman hearing, testimony offered at the preliminary injunction hearing, and the deposition

 testimony and reports and declarations of any of those experts, but the court declines to consider

 the declarations of experts who have not been subject to cross-examination at either hearing.2

 Whether or not such declarations are considered makes no difference to the constructions

                      here.
 adopted by the court here.

                                        BACKGROUND
                                        BACKGROUND

                                     1. PROCEDURAL
                                     I. PROCEDURAL HISTORY


        On May 4, 2017, Baxalta filed its complaint alleging infringement of the '590
                                                                                 ‘590 patent.

 Compl. 11137-51,
        fi 37—5 1, ECF No.
                       No. 1.
                           1. On June 30, Genentech answered, denying Baxalta's
                                                                      Baxalta’s allegations

 and counterclaiming for declaratory judgment of noninfringement and invalidity. Answer &

 Countercl. t¶ 37—5 1, 120-49,
            ¶J 37-51,  120—49, ECF No. 9.

        On December 14,
                    14, 2017, Baxalta moved for a preliminary injunction. Mot.
                                                                          Mot. Prelim. Inj. 2,

 ECF No. 41;
         41; Prop. Prelim. Inj. Order 1,
                                      1, ECF No.
                                             No. 42-1.
                                                 42-1. After an evidentiary hearing on August

 2
 2 Baxalta initially presented Dr. Anthony A. Kossiakoff's
                                                 Kossiakoffs declaration in support of its claim
 construction positions. See Kossiakoff Reb.
                                          Reb. Decl.,
                                               Dccl., ECF No. 126.
                                                                 126. I postponed the date of this
 Markman hearing three times and made clear to the parties that the hearing was their opportunity
 to present expert witness testimony in support of their claim construction positions. See May 14,
                                                                                                14,
 2018 Minute Entry;
               Entry; Sept.
                      Sept. 12,
                            12, 2018 Oral Order; Sept.
                                                 Sept. 25,
                                                        25, 2018 Oral Order. Nonetheless, Baxalta
 failed to offer testimony from Dr. Kossiakoff at the Markman hearing, and Genentech
 accordingly objected to reliance on Dr. Kossiakoffs declaration. Markman Tr. 46:1-22,      53:12—
                                                                                   46:1—22, 53:12-
 54:11. I sustained this objection and do not consider Dr. Kossiakoff's
                                                                  Kossiakoffs declaration for the
 purposes of claim construction. Markman Tr.       Tr. 54:12-55:3.
                                                        54:12—55:3.    As noted, the Kossiakoff
 Declaration, even if considered, would make no difference in the outcome.
                                                                   outcome.
                                                 2




                                             Appx16161
                                             Appx16161
              Case: 22-1461           Document: 25           Page: 322          Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 3 of 31 PageID #: 23290




 7,2018,
 7, 2018, this court denied Baxalta's
                            Baxalta’s preliminary injunction motion. Prelim. Inj. Order at 29, ECF

 No. 262. In that connection, the court declined to construe antibody and antibody fragment,

                                           “substantial arguments"
 concluding that the parties had presented "substantial                           Id at 13.
                                                                           sides. Id.
                                                        arguments” on both sides.       13.

 Baxalta did not appeal the denial of the preliminary injunction. Discovery has been ongoing.
                                                                                     ongoing.

 Fact discovery is set to close on December 14,
                                            14,2018,
                                                2018, and expert discovery is set to close on April

 19, 2019. Stip.
 19,       Stip. & Order Amend.
                         Amend. Sched.
                                Sched. I,
                                       1, ECF No.
                                              No. 325.
                                                  325.

           At the Markman hearing, the parties presented expert testimony and argued construction

    six terms: antibody,
 of six        anilbody. antibody fragment,
                                   fragment, bispecific                                  LI or
                                             bispeeffic antibody, isolated, binds Factor IX

 Factor IXa and increases, and increases the procoagulant
                                             procoagidant activity of Factor 1.Xa.
                                                                             LIa. All these terms

 appear in claims 1I and 4 of the '590
                                  ‘590 patent, which recite

           1. An isolated an
           1.                tibody or antibody fragment thereof that binds Factor IX or
                          antibody
              Factor IXa and increases the procoagulant activity of Factor IXa.

                                              *   * *



           4. The antibody or antibody fragment according to claim 1,  1, wherein said antibody
               or antibody fragment is selected from the group consisting of a monoclonal
                            chimedc antibody, a humanized antibody, a single chain antibody,
               antibody, a chimeric
                                                     di-, oligo- or multimers thereof.
               a bispecific antibody, a diabody, and di-,                     thereof

 ‘590 patent,
 '590 patent. col.
              col. 101,11.  43—45. 51-56
                   101, II. 43-45, 5 1—56 (underlining added).;
                                                       added).3



 3          17 and 19
     Claims 17     19 of the '590
                             ‘590 patent, also at issue here, are as follows:

           17. A method of obtaining an antibody that interacts with Factor IX or Factor IXa
           17.
               and increases the procoagulant activity of Factor IXa, comprising the steps
               of:
               Immunizing an immunocompetent mouse with an antigen selected  selected from the
                    group consisting of FIX, FIXaa,
                                               FlXaa, FIXal3
                                                      FIXa or fragments thereof,
               isolating spleen cells of the immunized mouse,
               producing hybridoma cells,
               screening the hybridoma cell supernatants
                                               supematants for an increase in the procoagulant
                    activity of Factor IXa, isolating and purifying the antibody from a
                    supematant from the hybridoma cells which exhibit an increase in the
                    supernatant
                                                    IXa.
                    procoagulant activity of Factor IXa.
                                                        33




                                                  Appx16162
                                                  Appx16162
            Case: 22-1461           Document: 25               Page: 323     Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 4 of 31 PageID #: 23291
                                                                          23291




                                  II. COAGULATION & HEMOPHILIA A
                                  II.

                                                                                   “characterized by
          In general, the term antibody is used to describe glycoproteins that are "characterized

 their ability to bind both to antigens and to specialized cells or proteins of the immune system."
                                                                                           system.”

        DecI. ¶
 Strohl Decl.               112; accord Almagro Decl.
              ¶ 22, ECF No. 112;                DecI. ¶         No. 49.
                                                      ¶ 33, ECF No.                       Structurally,

                Y-shaped, with two arms that are connected by disulfide bonds. Almagro Decl.
 antibodies are Y-shaped,                                                              DecI,          ¶
 34; Strohl Decl.
 34;        DecI. 1122.
                  ¶ 22. Each arm of the Y contains two polypeptide chains known as the heavy
 (“H”) chain and the light ("L")
 ("H")                     (“L”) chain!'
                                 chain.4 Almagro Decl.
                                                 DecI. ¶¶ 34; Strohl Decl.
                                                                     DecI. ¶ 22. The portions of
                                                                           ¶ 22.
 the heavy chain and light chain that are responsible for binding an antigen are called variable

 domains, VH and VL respectively. Almagro Decl.
                                          DecI. ¶            DecI. ¶
                                                ¶ 34; Strohl Decl.   23. The remaining
                                                                   ¶ 23.
                                                  regions. Almagro Decl.
 portions of the antibody are made up of constant regions.         DecI. ¶ 34; Strohl Decl. ¶
                                                                         ¶ 34;              ¶ 23.
          Within each variable domain, the antigen binding sequence of the antibody is divided into

                                                          (“CDRs”).
 three regions called complementarity-determining regions ("CDRs").             Almagro Decl. ¶ 35;
                                                                                              ¶ 35;
        DecI. 1125.
 Strohl Decl. ¶ 25. The three CDRs in each variable region—designated CDRI, CDR2, and
                                                                 DecI. ¶¶ 35;
 CDR3—determine the binding specificity of the antibody. Almagro Decl.    35; Strohl Decl.
                                                                                     Dccl.

 ¶ 25.                                                         “primarily responsible for antigen
         The CDR3 region of the heavy chain variable domain is "primarily

         specificity.” Strohl Decl.
 binding specificity."        Dccl. ¶ 25; accord Almagro Decl. ¶
                                    ¶ 25;                      ¶ 38.
          While the parties agree as to these characteristics of an antibody, they disagree in at least

 one critical respect. Genentech contends that, as used in the patent, the term antibody standing



                                                       *   *   *



          19. The antibody or antibody fragment according to claim 4, wherein the antibody
          19.
                               antibody.
               is a humanized antibody.

 ‘590 patent, col.
 '590         col. 103,
                   103, 1.3—col.
                        I. 3—col. 104,1.
                                  104, I. 6.
 ‘
 " Though the basic unit of an antibody is a Y-shaped structure with two L chains and two H
 chains, certain types of antibodies are more complex and can have up to ten light and ten heavy
 chains. Markman Tr.Tr. 67:4-21.
                        67:4—2 1.
                                                   4




                                               Appx16163
                                               Appx16163
           Case: 22-1461           Document: 25            Page: 324       Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 5 of 31 PageID #: 23292




 alone has two heavy chains that are identical
                                     identical and the two light chains that are identical.
                                                                                 identical.

           Op. Br.
 Genentech Op.
 Genentech     Br. 6-8,
                   6—8, ECF No.
                            No. 160;
                                160; Strohl
                                     Strohl Decl.
                                            DecI. ¶¶ 50. Baxalta,
                                                         Baxalta, in
                                                                  in contrast,
                                                                     contrast, argues that the

 heavy
 heavy chains are not necessarily identical
                                  identical to one another and the light chains are also not
                                                                                         not

 necessarily identical
 necessarily identical to one
                          one another.
                              another. Baxalta Op.
                                               Op. Br.
                                                   Br. 4-5,
                                                       4—5, ECF
                                                            ECF No.
                                                                No. 158.
                                                                    158. The resolution
                                                                             resolution of this

 difference appears to be determinative of infringement.
                                           infringement.

        Hemophilia A and
                     and the process of blood
                                        blood coagulation
                                              coagulation are described at length
                                                                           length in
                                                                                  in the

 preliminary injunction
             injunction order. See Prelim.
                                   Prelim. Inj.
                                           lnj. Order 3-4.
                                                      3—4. Relevant
                                                           Relevant here is
                                                                         is one particular step of

 the clotting cascade involving Factor
                                Factor Villa and Factor IXa.
                                                        lXa, See Aledort Decl.
                                                                         Decl. ¶¶ 13,
                                                                                  13, ECF No.
                                                                                          No. 46.

 In
 In healthy
    healthy individuals, Factor
                         Factor Villa and Factor IXa
                                                 IXa form
                                                     form a complex, which allows Factor
                                                                                  Factor IXa
                                                                                          IXa to

 activate Factor
          Factor X.     Id.; Sheehan Decl.
                 X. See id.;         Decl. ¶¶ 36,
                                              36. ECF
                                                  ECF No.
                                                      No. 111.
                                                          111. In
                                                               In patients afflicted with

 hemophilia
 hemophilia A,
            A, Factor
               Factor VIII
                      VIII is reduced,
                              reduced, defective,
                                       defective, or absent. See Aledort
                                                                 Aledon Decl.
                                                                         DecI. ¶C 14;
                                                                                  14; Sheehan

 Decl.
 DecI. 1142.
       ¶ 42. This hinders the coagulation cascade by limiting the body's
                                                                  body’s ability to activate Factor
                                                                                             Factor

 X.
 X. Aledort Decl.
            Dccl. 1¶ 14;         Decl. ¶C 42.
                     14; Sheehan Decl.    42.

        Genentech's
        Genentech’s drug,
                    drug. Hemlibra,
                          Hemlibra, is directed
                                       directed to this step of the coagulation
                                                                    coagulation cascade and

 functions by replacing
              replacing Factor VIlla. See Krishnaswamy
                        Factor VIlIa.     KHshnaswamy Decl.
                                                       Dccl. ¶ 61,
                                                               61. ECF
                                                                   ECF No. 47. Hemlibra
                                                                       No. 47. Kemlibra does

 not
 not have
     have both
          both identical
               identical light and identical
                                   identical heavy chains.
                                                   chains. See Strohl Decl. a 38,
                                                                      Dccl. ¶¶ 38, 53; see also

 Krishnaswamy
 Krishnaswamy Decl.
              Dccl. ¶1
                    1 55,
                       55. 60. It
                               It is a bispecific antibody.
                                                  antibody. The parties agree that in this patent
                                                                                           patent a

 bispecific azitibody has
 bispecifle antibody  has non-identical
                          non-identical light chains,
                                              chains, or non-identical
                                                         non-identical heavy
                                                                       heavy chains,
                                                                             chains, or both.5
                                                                                        both.5

 Markman
 Markman Tr.
         Tr, 38:5-21,
             38:5—21, ECF No.
                          No. 320. One arm
                                       arm of the Hemlibra
                                                  Hemlibra antibody binds to Factor IX
                                                                                     IX (or
                                                                                        (or

 IXa)
  IXa) and the other binds to Factor X. See Krishnaswamy
                              Factor X.     Krishnaswamy Decl.
                                                         DecI. 1¶
                                                               ¶ 55,
                                                                  55. 60; Strohl Decl.
                                                                                 DecI. ¶¶ 53. By
                                                                                              By



 5 During
    During the Markman hearing, Dr.  Dr. Almagro testified that "there
                                                                   “there were some examples [of  [of
 bispecific antibodies] before 1999
                                 1999 with identical light chains and  and identical
                                                                           identical heavy chains."
                                                                                             chains.”
 Markman Tr. 109:16-18,
                109:16—18, ECF
                            ECF No.
                                 No. 320.
                                      320. Nonetheless,
                                             Nonetheless, the parties have
                                                                      have agreed
                                                                           agreed that the bispecific
                                                                                           bispecific
 antibodies in the '590
                    ‘590 patent are outside the scope of the column 5 definition of antibody. Id.
 108:11-15,
  108:11—15, 109:19-110:8
             109:19—110:8 (Almagro testimony).
                                       testimony).
                                                  5




                                                Appx16164
                                                Appxl 6164
           Case: 22-1461            Document: 25           Page: 325        Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 6 of 31 PageID #: 23293




 doing so, Hemlibra allows Factor IX to activate Factor X. See Krishnaswamy Decl.
                                                                            Dccl. ¶
                                                                                  ¶ 61, Strohl
 Decl.
 DecI. ¶¶
       ¶J 178-79.
          178—79.

                                             ANALYSIS

     1.
     I. antibody

 Baxalta’s proposed construction:
 Baxalta's             construction: A molecule having a specific amino acid sequence
 comprising two heavy chains (H chains) and two light chains (L chains).

 Genentech's
 Genentech’s proposed construction:
                           construction: An immunoglobulin
                                             immunogiobulin molecule, having a specific amino
 acid sequence that only binds to the antigen that induced its synthesis or very
                                                                              very’ similar antigens,
 consisting of two identical heavy chains (H chains) and two identical light chains (L chains).

 Court's  construction: An immunoglobulin molecule, having a specific amino acid sequence
 Court’s construction:                                                                    sequence
 that only binds to the antigen that induced its synthesis or very similar
                                                                    similar antigens, consisting of
 two identical heavy chains (H chains) and two identical light chains (L chains).

                                                          parties’ primary dispute that an antibody
         Construing the claims requires resolution of the parties'

 in the claims is required to have two identical heavy chains and two identical light chains.6 The

 parties agree that the requirement that an antibody have two identical heavy chains and two

           Light chains would exclude Hemlibra from the scope of the term antibody.
 identical light                                                          antibody. Prelim. Inj.
                                                                                            In].

 Yr. 9:15-24,
 Tr. 9:15—24, ECF No. 214-15;
                      214—15; Markman Tr. 109:23—110:8. Hemlibra is not an antibody under
                                      Yr. 109:23-110:8.

 Genentech’s definition.
 Genentech's definition.

     a. The Meaning
            Meaning of the Tern:
                           Tern, Antibody
                                 Anti body in
                                           in the Patent
                                                  Patent as Originally
                                                            Originally Drafted
                                                                       Drafled

         It is clear from the '590  patent’s specification that, as originally drafted, the term
                               ‘590 patent's

 antibody in the claims required identical heavy and identical light chains.
                                                                     chains.

         Based on the evidence, I find that the term antibodies does not have a single fixed

 meaning in the art.
                art. The word antibody can denote different meanings to a person skilled in the

 6
 6     secondary dispute is whether an antibody must bind only to an antigen that induced its
   A secondary
 synthesis or very similar antigens. While the broader definition of antibody would not imply
 synthesis
 such a requirement, I find that, since the column 5 definition includes this limitation, it is part of
 such
 the definition of the term antibody in the claims. See '590
                                                        ‘590 patent, col. 5, II. 56-60.
                                                                                 56—60. It is not clear
 that this makes any difference with respect to infringement or invalidity.
                                                   6




                                               Appx16165
                                               Appx16165
           Case: 22-1461            Document: 25         Page: 326         Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 7 of 31 PageID #: 23294




 art depending on
               on the context in which it
                                       it appears.
                                          appears. For example,
                                                       example, antibody standing
                                                                         standing alone may

 connote a different meaning than when it is part of a larger term that defines its structure—e.g.,

            antibody.
 bispecific antibody.

        The parties agree that the term
                                   term antibody standing
                                                 standing alone without other structural terms can

 have different meanings to those skilled in
                                          in the art.
                                                 art. See Markman Tr. 174:21-175:24.
                                                          Markman Tr. 174:21—175:24. One

 definition is Baxalta's
               Baxalta’s definition (hereinafter the "broader"
                                                     “broader” definition),
                                                               definition), requiring
                                                                            requiring only a molecule
                                                                                             molecule

 with a specific amino acid sequence and
                                     and comprising two heavy chains and two light chains. The

 other definition is
                  is Genentech's
                     Genentech’s definition (hereinafter
                                            (hereinafter the "narrower"
                                                             “narrower” definition),
                                                                        definition), requiring a pair
                                                                                                 pair

 of identical
     identical heavy
               heavy chains and a pair
                                  pair of identical
                                          identical light chains. Baxalta
                                                                  Baxalta argues that its broader

 definition should apply because itit would have been utilized by persons of ordinary skill in
                                                                                            in the

 art. Baxalta
      Baxalta Op.
              Op. Br.
                  Br. 5.
                      5. But in
                             in its
                                its opening preliminary injunction
                                                         injunction brief,
                                                                    brief, Baxalta
                                                                           Baxalta itself used
                                                                                          used the

 narrower
 narrower definition,
          definition, stating that lamn
                                   “[a]n antibody comprises two identical heavy chains and two

 identical light
           light chains."
                 chains.” Baxalta Op. Prelim.
                                      Prelim. Inj.
                                              lnj. Br.
                                                   Br. 13 n.7,
                                                          n.7, ECF
                                                               ECF No.
                                                                   No. 42.
                                                                       42. Similarly,
                                                                           Similarly, Dr.
                                                                                      Dr. Almagro,

 Baxalta's
 Baxalta’s expert,
           expert. described an antibody in
                                         in his declaration as "a
                                                               “a glycoprotein that has a specific

 `Y'
 ‘Y’ shape"
     shape” that "has
                 “has two pairs of identical
                                   identical polypeptide chains,
                                                         chains, which
                                                                 which are linked
                                                                           linked together by

 disulfide bonds."
           bonds.”      Almagro Decl.
                                DecI. ¶¶ 34.
                                         34.   Genentech's
                                               Genentech’s expert agreed that such
                                                                              such a definition

 "represents
 “represents the plain
                 plain and
                       and ordinary meaning
                                    meaning of `antibody'
                                               ‘antibody’ and is consistent with standard

 textbook definitions of immunoglobulin molecules
                                        molecules dating from prior to the 1999
                                                                           1999 priority date of
                                                                                              of

 the '590
      ‘590 [p]atent."
           [pjatent.” Strohl Cl. Const.
                                 Const. Decl.
                                        Dccl. ¶¶ 41-42, ECF
                                              ¶JJ4l42,          161; accord id
                                                            No. 161;
                                                        ECFNo.              itt, ¶ 44.
                                                                                 ¶44.

        Various references
                references cited on the face of the '590
                                                    ‘590 patent use
                                                                use a similar definition.
                                                                              definition. The Roitt
                                                                                              Roitt

 reference describes an antibody as "a
                                    “a unit
                                       unit consisting
                                            consisting of two identical light
                                                                        light polypeptide chains

 and two identical
          identical heavy polypeptide chains."
                                      chains.” Ivan
                                               Ivan Roitt
                                                    Roitt et al., lilMuNoLooY 72 (5th
                                                             al., IMMUNOLOGY     (5th ed. 1998),
                                                                                          1998),

 Strohl Decl.
        Dccl. Ex.
              Ex. F,
                  F, ECF
                     ECF No.
                         No. 112-6.
                             112-6. And the Harlow
                                            Harlow and Lane reference
                                                            reference says that "[e]ach
                                                                                “[e]ach Y



                                                  7




                                               Appx16166
                                               Appx16166
           Case: 22-1461           Document: 25           Page: 327         Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 8 of 31 PageID #: 23295




                               [t]wo identical copies of a polypeptide known as the heavy chain
 contains four polypeptides[:] [t]wo

                                                            chain.” Ed Harlow & David Lane,
 and two identical copies of a polypeptide called the light chain."

                                                  DecI. Ex. E, ECF No.
 ANTIBODIES: A LABORATORY MANUAL 7 (1988), Strohl Decl.            No. 112-5.
                                                                       112-5. Baxalta

                                               ‘590 patent that use a broader definition.
 does not point to any references cited in the '590                           definition.

                                           Baxalta’s broader definition was also known to those
        Nonetheless the parties agree that Baxalta's

                art. See Markman Tr. 172:6-176:6.
 skilled in the art.                 172:6—176:6. During the Markman hearing, Dr. Strohl,

 Genentech’s expert testified that the broader definition was a "common
 Genentech's                                                    “common language definition."
                                                                                 definition.” Id.

    175:12—13. Baxalta only points to Dr. Strohl's
 at 175:12-13.                            Strohi’s testimony as evidence of the understanding of

 someone skilled in the art.7

        In the patent specification, the applicant chose the narrower definition. In relevant part,

 the summary of the invention provides that

        Antibodies are immunoglobulin molecules having a specific amino acid sequence
        which only bind to antigens that induce their synthesis (or its immunogen,
        respectively) or to antigens (or immunogens) which are very similar to the former.
        Each immunoglobulin molecule consists of two types of polypeptide chains.
        Each molecule consists of large, identical heavy chains (H chains) and two light,
        also identical chains (L chains).

 ‘590 patent, col. 5, 11. 56-63.
 '590                     56—63. The Federal Circuit has recognized that use of the verb "is"
                                                                                         “is” may

 “signify that a patentee is serving as its own lexicographer."
 "signify                                       lexicographer.” Sinorgchem         Int’l Trade
                                                                Sinorgchern Co. v. Intl

 Corn,,, ‘ii, 511 F.3d 1132,
 Comm'n,               1132, 1136 (Fed.
                                  (Fed. Cir. 2007) (quoting Abbott Labs. v. Andrx Pharms., Inc.,

 473 F.3d 1196,
          1196, 1210
                1210 (Fed.
                     (Fed. Cir. 2007)). The use of the term "are"
                                                            “are” here is the equivalent of the



 ‘
 7 Even the expert declaration from Dr. Kossiakoff that Baxalta initially offered in support of its
 construction, but which I have excluded from consideration, does not elaborate on why a person
 skilled in the art would have understood the term antibody to have the broader meaning offered
                    KossiakoffReb.
 by Baxalta. See Kossiakoff          DecI. ¶¶
                                Reb. Decl.    21—52. Dr. Kossiakoff's
                                           ¶J 21-52.     Kossiakoffs only statement to this effect
         “a POSITA reviewing the intrinsic record would have understood that the term `antibody'
 is that "a                                                                             ‘antibody’
 has a plain and ordinary meaning in the art and would not need to be construed,"           “to the
                                                                       construed,” but that "to
 extent a construction is required, it is my opinion that Baxalta's
                                                           Baxalta’s straightforward construction
 should be adopted."
             adopted.” Id.
                       Id. ¶
                           ¶ 22.
                                                  8




                                              Appx16167
                                              Appx16167
           Case: 22-1461             Document: 25           Page: 328          Filed: 11/04/2022



                                                             31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 9 of 31 PageID #: 23296




      “is.” Here, the specification unequivocally states what "[a]ntibodies
 term "is."                                                   “[a]ntibodies are."
                                                                            are.” `590
                                                                                  ‘590 patent, col.

 5. II. 56-63.
 5,     56—63. This definition is also clearly defining the term antibodies covered by the claims of

 this patent because the definition immediately follows and immediately precedes references to

 “the inventive antibodies and antibody derivatives."
 "the                                   derivatives.” '590
                                                      ‘590 patent, col. 5,1. 53; id.      6, I. 1.
                                                                                 Id. col. 6,1.  1. The

 fact that the applicants chose to include the narrower definition in the specification over a

 broader definition confirms that the applicants intended the narrow definition apply to the term

                   alone.
 antibody standing alone.

                                 specification in other places uses the broader definition. Baxalta
         Baxalta argues that the specification

         6—7. For example, the specification and claims disclose bispecific antibodies, which do
 Op. Br. 6-7.

 not have identical heavy and light chains. See id;
                                                Id.; '590
                                                     ‘590 patent col. 6, II. 1-5;
                                                                             1—5; id.
                                                                                  Id. col. 7, II. 32—35;
                                                                                              11. 32-35;

 id.
 Id. col. 101, II. 51-56
          101, 11. 5 1—56 (claim 4). Baxalta also points to the inclusion of IgM
                                                                             1gM antibodies and IgA

 antibodies in claims 33 and 20 as well as throughout the specification. '590                     35—
                                                                         ‘590 patent, col. 6, II. 35-

     Id. col.
 38; id  col, 12,11.
              12, II. 25-26;
                      25—26; id
                             Id. col. 14,1.
                                      14,1. 22—col. 15, 1.4 (Example 4);
                                                    15, 1.4          4); id
                                                                         Id. col. 30,1.
                                                                                  30,1. 11—col.
                                                                                        1 1—col. 31, I. 10
                                                                                                        10

               Id col. 101,
          13); id.
 (Example 13);         101, II. 49-50
                                49—50 (claim 3);
                                             3); id  col. 104,
                                                 Id. col. 104, 11.
                                                               II. 6-7
                                                                   6—7 (claim 20).         1gM and IgA
                                                                                           IgM

 antibodies can have more than two heavy chains and more than two light chains.
                                                                        chains. Markman Tr.

 71:11-13,
 71:11—13, 156:12-159:11.
           156:12—159:11. Baxalta
                          Bixalta thus contends that this limitation of the narrow definition of

 antibody is inappropriate in the context of the '590                 Op. Br. 6-7.
                                                 ‘590 patent. Baxalta Op.     6—7. But all these

 embodiments were initially listed as falling within "antibodies
                                                     “antibodies or antibody derivatives."
                                                                             derivatives.” See,

 e.g., '590         col. 5,
       ‘590 patent, col. 5. I.
                            1. 51; U.S. Patent App.
                                               App. No.                10—11, Strohl Decl. Ex. D,
                                                    No. 09/661,992, at 10-11,

         112-4. Thus, as originally drafted, the claims covered antibodies as more broadly
 ECF No. 112-4.

 defined, but not because they fell within the term antibody but because they fell within the term
                                                                                              tent

 antibody derivative.




                                                    9




                                                Appx16168
                                                Appx16168
            Case: 22-1461             Document: 25        Page: 329         Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 10 of 31 PageID #: 23297




         Under such circumstances, the Federal Circuit has held that the specification's
                                                                         specification’s choice of

  definition governs.
             governs.             Sinorgchem, 511
                              See Sinorgchem, 511 F.3d at 1136-40
                                                          1136-40 ("Where,
                                                                  (“Where, as here, multiple

  embodiments are disclosed, we have previously interpreted claims to exclude embodiments

  where those embodiments are inconsistent with unambiguous language in the patent's
                                                                            patent’s

                               history.”); Irdeto Access, Inc. v. Echostar
  specification or prosecution history.");                        Echosrar Satellite Corp., 383 F.3d

  1295, 1300
  1295,      (Fed. Cir. 2004) (concluding that the scope of the claim terms was controlled by the
        1300 (Fed.

  specification even in the absence of express definitions where applicant admitted to the examiner

                     “no accepted meaning in the art"
  that the terms had "no                         art” and were "adequately
                                                               “adequately described in the

  specification”). Indeed, given the specification's
  specification").                   specification’s clarity, the definition included in column 5 of

       ‘590 patent would govern even if it were contrary to an ordinary meaning of the term. See
  the '590

  Thorner v. Sony Comp. Entmt. Am.
                               Am, LLC, 669 F.3d 1362,
                                                 1362, 1365-66
                                                       1365—66 (Fed. Cir. 2012) ("[T]he
                                                                                (“[T]he

  inventor’s written description of the invention, for example, is relevant and controlling insofar as
  inventor's

              clew lexicography . . . ." (alterations and emphasis in original) (quoting C.R.
  it provides clear                                                                      C. R. Bard,
                                                                                               Ban!,

      v US.
 Inc. v. U.S. Surgical Corp., 388 F.3d 858, 862 (Fed. Cir. 2004))).
                                                (Fed. Cir.

         Before turning to the prosecution history, it is important to ascertain the meaning of the

 term antibody derivative in the patent as initially drafted. The parties agree that antibody

 derivative is not a term that is commonly used in the art. Markman Tr. 119:21-120:3.
                                                                        119:21—120:3, But Dr.

 Almagro, Baxalta's
          Baxalta’s expert,
                    expert. admitted during the preliminary injunction hearing, and again during

 the Markman hearing, that antibodies that have been altered in some significant way are

 "sometimes       .   .  derivatives.” Prelim. Inj.
 “sometimes.. . . called derivatives."         lnj. Tr. 413:4—15; accord Markman Tr. 120:6-11
                                                    Yr. 413:4-15;                    120:6—11

 (Dr. Almagro agreeing with previous testimony that "significant
                                                    “significant variants"
                                                                 variants” of antibodies are

 "sometimes   .   .      derivatives”). Also in support of this understanding, Dr. Almagro, a
 “sometimes . . . called derivatives").
                          .




 person of skill in the art, repeatedly described Hemlibra, a bispecific antibody, as being



                                                  10
                                                  10




                                               Appx16169
                                               Appx16169
            Case: 22-1461           Document: 25           Page: 330          Filed: 11/04/2022



                                                        11 of 31
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 11    31 PagelD
                                                                 PageID #: 23298




  "derived"
  “derived” from other antibodies.8 Almagro Decl.
                                            Dee!. ¶¶ 54 n. 5,
                                                           5, ¶¶ 87 n. 17;  Markman Tr.
                                                                       I 7; Markman Tr. 122:8-24;
                                                                                        122:8—24;

           id. 120:6-21
  see also id  120:6—21 (Dr. Almagro agreeing
                                     agreeing that "[t]alking
                                                   “[t]alking in
                                                               in plain English"
                                                                        English” Hemlibra"
                                                                                 Hemlibra” is

  "derived
  “derived from
           from a Factor IX
                         IX antibody and a Factor X antibody").
                                                    antibody”). This definition
                                                                     definition of antibody

  derivatives—an antibody that has been altered
                                        altered in
                                                in some significant way—is consistent with the

  specification.
  specification. First,
                 First, the specification makes clear that the group consisting
                                                                     consisting of antibodies and

  antibody derivatives includes bispecific
                                bispeciuic antibodies and other structures that do not have identical
                                                                                            identical

  light and heavy
            heavy chains.
                  chains. Since bispecific
                                bispecific antibodies are not within the definition of antibodies,

  they must
       must be within
               within the definition of antibody derivatives.

         This understanding is further supported by the uses of antibody derivative in
                                                                                    in those places

 in the patent
        patent specification where antibody derivative is used separately.
                                                               separately Antibody derivative is

 used
 used separately in
                 in three instances that inform
                                         inform the interpretation of the term9:
                                                                          term9: (1)
                                                                                 (1) in Example
                                                                                        Example 10,
                                                                                                10,

 which is
       is entitled "Structure
                   “Structure and Procoagulant
                                  Procoagulant Activity of Antibody Derivatives
                                                                    Derivatives Derived
                                                                                Derived from

 Anti-FIX/FIXa-antibodies; Subcloning Antibody Variable Domains
                                                        Domains from
                                                                from Hybridoma Cell

 Lines,"
 Lines,” id. col.
             col. 19,
                  19. II.
                      Ii. 3-7; (2) in
                          3—7; (2) in the body of Example
                                                  Example 11,
                                                          ii, where the patent
                                                                        patent includes in
                                                                                        in a list
                                                                                             list of

 examples of antibody derivatives "scFv,
                                  “scFv, Fab,
                                         Fab, etc.,"
                                              etc.,” id.
                                                     id. col.
                                                         col. 20,
                                                              20, I.
                                                                  I. 36; and (3)
                                                                             (3) again
                                                                                 again in Example
                                                                                          Example

 13,
 13, where the patent
               patent refers to "antibody
                                “antibody derivatives such
                                                      such as Fab,
                                                              Fab, F(ab)2, scFv, etc.,"
                                                                   F(ab)2. scFv,        id. col.
                                                                                 etc.,” id  cot. 30,11.
                                                                                                 30, It.

 16-17.
 16—17. See also Markman Tr. 13:19-15:6.
                 MarkmanTr.  13:19—15:6.

         These uses make
                    make clear that Fab,
                                    Fab. F(ab)2,
                                         F(ab)2, and scFv are
                                                          are all
                                                              all antibody derivatives. As Dr.
                                                                                           Dr.

 Almagro and Dr.
             Dr. Stroh!
                 Strohi agree, Fab
                               Fab and F(ab)2
                                       F(ab)2 are the sort of
                                                           of canonical antibody fragments (a
                                                                                           (a

 subset of derivatives) that a person
                               person of skill in
                                               in the art would unquestionably
                                                                unquestionably have
                                                                               have understood as



 8 In
    In a similar vein,
                 vein, Dr.
                       Dr. Stroh]
                           Strohl testified that "a
                                                 “a chimeric antibody would be derived and be a
 derivative."
 derivative.” Markman Tr. 172:8-9.
                             172:8—9.
 9 The specification also provides that "antibody
                                          “antibody derivatives may
                                                                  may . . . be prepared
                                                                        ...     prepared by means
                                                                                                means of
 methods
 methods known
           known from the prior art, e.g. by molecular
                                             molecular modeling."
                                                         modeling.” '590
                                                                    ‘590 patent,
                                                                           patent, col.
                                                                                   col. 9,11.5-7.
                                                                                        9, 1!. 5—7. This
 use
 use of antibody derivative, however, does not
                                             not assist in
                                                        in understanding the term.
                                                                              tent.
                                                   11
                                                   11




                                               Appx16170
                                               Appx16170
             Case: 22-1461         Document: 25          Page: 331         Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 12 of 31 PageID #: 23299




  such.                117:7—14 (Dr.
  such. Markman Tr. at 117:7-14 (Dr. Almagro), 155:19-23
                                               155:19—23 (Dr.
                                                         (Dr. Strohl).
                                                              Strohi). Each of these can be

  derived from an existing antibody as defined in the specification.
                                                      specification.                        “the
                                                                            A Fab comprises "the

                 chain[] paired with the full variable and a portion of the constant domain[]
  complete light chain[]                                                             domain[J of the

        chain[]” and can be excised from an existing antibody. See Strohl Claim Const. Decl. ¶
  heavy chain[]"                                                                               31
                                                                                             ¶ 31
                No. 161;
  & Fig. 2, ECF No.                         151:18—152:24 (Dr. Strohl). A F(ab)2, comprises
                    161; accord Markman Tr. 151:18-152:24

 “two Fab fragments linked with disulfide bonds"
 "two                                                     “can be generated from an antibody
                                          bonds” and also "can

  by cleaving off the other portions"
                            portions” to leave the fragment remaining. Markman Tr. 152:25-
                                                                                   152:25—

  153:11      Slrohl); accord Strohl
  153:11 (Dr. Strohl);        Strohl Decl. ¶ 32 & Fig. 3. Based on inclusion of Fab and F(ab)2 it
                                     DecI. ¶

  is clear that antibodyfragments are antibody derivatives.

         But the specification makes clear that an scFv is not an antibody fragment using the

 definition of antibody from the specification. Rather, it is called a single-chain variable fragment

 and is synthetically created by linking with a stretch of synthetic peptide "a
                                                                             “a truncated fragment

                     [variable heavy]
 comprising only the [variable        domain” of an antibody with a truncated fragment
                               heavy] domain"

 comprising only the variable light region of an antibody.
                                                 antibody. Strohl Claim Const. DecI. ¶ 33
                                                                        Const. Decl.        Fig.
                                                                                       33 & Fig.

 4; accord Almagro Decl.
 4; accord         Deel. ¶
                         ¶ 35;
                           35; Markman Tr. 60:2—6, 201:17-22.
                                       Tr. 60:2-6, 201:17—22. Because of the reference to

 scFv as an antibody derivative, the term antibody derivative was clearly meant to include

 antibodies that have been altered in some
                                      some significant way.

         Thus, I find that the term antibody derivative was used in the patent to denote antibodies

 within the column 55 definition that had been altered in some significant way.
                                                                           way. As initially
                                                                                   initiaLly

 drafted, there was no inconsistency between the dependent claims and the column 55 definition of

 antibody.
 antibody.




                                                 12
                                                 12




                                             Appx16171
                                             Appx16171
           Case: 22-1461           Document: 25         Page: 332        Filed: 11/04/2022



Case 1:17-cv-00509-TBD Document 330       12/03/18 Page 13 of 31
                                33O Filed 12/O3/18            31 PagelD
                                                                 PageID #: 233OO
                                                                           23300




                              History’s Exclusion of Antibody Derivatives Confirms
     b. The Prosecution History's                                         Confinns the
        Spec jflcation ‘s Definition of Antibody
        Specification's

         During prosecution the Examiner found various categories of derivatives other than

 antibody fragments not enabled.      The applicants disclaimed antibody derivatives including

                                        fragments.
  bispecific antibodies, except antibodyfragments.

         Initially, the patent specification and the accompanying claims repeatedly referred to

 “antibodies and antibody derivatives";
 "antibodies              derivatives”; the patent did not refer to "antibody
                                                                    “antibody fragments."
                                                                              fragments.” See U.S.

              No. 09/661,992, Stroh]
  Patent App. No.             Strohl Decl.
                                     DecI. Ex. D, ECF No. 112-4.
                                                          112-4. In an office action dated

                                                1—14, 16,
  January 2, 2004, the Examiner rejected claims 1-14, 16, 18-19,
                                                          18—19, 23, and 27 of the '590
                                                                                   ‘590 patent for

                      Jan. 2, 2004 Rejection, Stroh]
  lack of enablement. Jan.                    Strohl Decl.
                                                     DecI. Ex. K, at 4, ECF No.
                                                                            No. 112-11. The

                                                                               13, 2004. Sept.
  Examiner again rejected these claims for near-identical reasons on September 13,

  13, 2004 Rejection, Stroh]
  13,                 Strohl Decl.
                             DecI. Ex. M, at 2-3,
                                             2—3, ECF No. 112-13.
                                                          112-13. To respond to those rejections,

 the term antibody derivatives was deleted by an amendment to the claims, and the term antibody

                                         App. No.
 fragment was added. Compare U.S. Patent App. No. 09/661,992 with '590
                                                                  ‘590 patent.

         It is useful to describe how these amendments came about. Considering the prosecution

  history as a whole, save for the failure to conform the language of certain dependent claims

 (discussed below), it is apparent that the applicants and the Examiner continued to view the term

 antibody as having its original meaning from the specification, but that antibody derivatives

 (except antibody fragments) were now excluded from the scope of the claims. As noted, during

 prosecution, the claims were initially rejected by the Examiner as not enabled.
                                                                        enabled. Jan. 2, 2004

 Rejection, at 4. The Examiner found enabled certain antibody derivatives "wherein
                                                                          “wherein the variable

                                    comprises” specific portions of certain amino acid sequences
 region of said antibody derivative comprises"

 (SEQ ID NOs 82, 84, and 86) disclosed in the patent. Id. But the Examiner found not enabled

 antibody derivatives comprising different portions of the same amino acid sequences.          Id.

                                                13
                                                13




                                             Appx16172
                                             Appx16172
           Case: 22-1461           Document: 25           Page: 333        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 14 of 31 PageID #: 23301
                                                                           23301




  Among the antibody derivatives the Examiner found not enabled were those comprising

  “chimeric antibodies, humanized antibodies, single chain antibodies, bispecific antibodies,
  "chimeric

                                                          4.” Id. Based on this lack of enablement,
  diabodies and di-, oligo- or multimers thereof in claim 4."                           enablement.

  the claims were rejected.

         Dr. Strohl explained during the Markman hearing that the portions of SEQ ID NOs 82,

  84, and 86 found enabled by the Examiner comprised excised portions of already-existing

  antibodies as defined in the specification, that is, antibody fragments.                 200:5—
                                                                fragments. See Markman Tr. 200:5-

                 203:5—205:16. The portions found not enabled were engineered artificial linker
          Id. at 203:5-205:16.
  201:22; id

 sequences—i.e., human-engineered, synthetic peptides. Id
 sequences—i.e.,                                       Id. 203:5-205:16;
                                                           203:5—205:16; see also Strohl Decl.
                                                                                         DecI.

       (discussing the composition of scFvs).
 ¶¶ 30 (discussing

                                         Examiner’s rejection on July 2, 2004, and argued that the
         The applicants responded to the Examiner's

           “antibodies and antibody derivatives"
 disclosed "antibodies              derivatives” were all enabled because the specification

 “provides extensive discussion regarding methods of preparing claimed antibodies"
 "provides                                                             antibodies” and

 “provides the complete sequence scFvs, variable domains and CDRs, and provides guidance on
 "provides

                     mutated.” July 2, 2004 Amendment & Remarks, Strohl Decl. Ex. L, at 12,
 what regions can be mutated."                                                          12,

         112-12.
 ECF No. 112-12.

                      13, 2004, the Examiner again rejected the same claims for lack of
         On September 13,

 enablement in an almost identical manner.        Sept. 13,
                                                  Sept. 13, 2004 Rejection, at 2.
                                                                               2.         The primary

 difference between the first and second rejection was that the Examiner now referred to the

 enabled portions of the scFvs embodied by SEQ ID NOs 82, 84, and 86 as "antibody
                                                                        “antibody fragments"
                                                                                  fragments”

             “antibody derivatives."
 rather than "antibody derivatives.” Id.
                                     Id. The Examiner maintained his rejection of antibody

                        “chimeric antibodies, humanized antibodies, single chain antibodies,
 derh’atives comprising "chimeric
 derivatives

 bispecific antibodies, diabodies and di-, oligo- or multimers thereof in claim 4."
                                                                                4.” Id
                                                                                    Id.



                                                 14
                                                 14




                                                Appx16173
                                                Appx16173
            Case: 22-1461            Document: 25          Page: 334         Filed: 11/04/2022



                                                                 PageID #: 23302
                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 15 of 31




         On October
         On                       Examiner conducted a telephonic interview
                    16, 2004, the Examiner
            October 16,                                            interview with the applicant.
                                                                                      applicant.

  Oct. 16, 2004 Interview
  Oct. 16,      Interview Summary,
                          Summary. Strohl Dccl. Ex.
                                   Strohi Decl. Ex. N,
                                                    N, ECF
                                                       ECF No.
                                                           No. 112-14.
                                                               F 12-14. During       interview
                                                                        During that interview

      Examiner "suggested
  the Examiner “suggested that the claims be amended
                                   claims be            recite antibody fragment thereof to
                                             amended to recite

  substitute
  substitute antibody derivative.” Id.
             antibody derivative."  Id. at
                                        at 1.                 applicants amended
                                           1. Thereafter, the applicants amended their claims
                                                                                       claims to

   implement the changes proposed
  implement                       in the interview
                         proposed in                          other things, revising
                                                    by, among other
                                          interview by,                     revising the claims
                                                                                         claims to

  recite antibody fragments instead of antibody derivatives. Dec.
  recite                                                     Dec. 13,
                                                                  13, 2004 Amendment, Strohl
                                                                                      Strohi

  Decl.
  DecI. Ex.
        Ex. O,
            0. ECF     112-15.
                   No. 112-15.
               ECFNo.

                                           for antibodyfragments were disclaimed from the scope
         Thus, antibody derivatives except for

  of                    made clear by
  of the claims. As was made       by the               September 13
                                      the January 2 and September    rejections, the Examiner
                                                                  13 rejections,     Examiner

        enabled antibody
  found enabled antibody fragments,
                          fragments, that  is, fragments of
                                     that is,               antibodies as
                                                         of antibodies             in the specification.
                                                                       as defined in

  By
  By way of example, in
                     in the case of the scFvs described by
                                                        by SEQ
                                                           SEQ ID
                                                                ID NOs
                                                                   NOs 82, 84, and 86, the

 Examiner found enabled only the pieces
 Examiner                                                       naturally occurring—i.e., the VH
                                 pieces of those scFvs that are naturally                     V1.1

  and
  and VL regions—and found not
      VL regions—and       not enabled the pieces of scFvs that contained an engineered

  peptide—i.e.. the linker
  peptide—i.e.,      linker sequence.      Moreover, the Examiner
                                           Moreover,     Examiner maintained     rejection of
                                                                  maintained his rejection of

  derivatives comprising,
              comprising, for example, chimeric antibodies,
                                                antibodies, humanized
                                                            humanized antibodies, and bispecific
                                                                                      bispecific

  antibodies. As is                         scFv. each of these structures, while possibly derived
                 is the case with an entire scFv,

  from an
       an antibody
          antibody as defined
                      detned in
                              in column 5 of
                                          of the specification, would have
                                                                      have been understood, in
                                                                           been understood,  in

  view of
       of the '590                     some form of
               ‘590 patent, to involve some                                   occurring antibody. See
                                                                    naturally occurring
                                                 of alteration to a naturally                     See

 Markman 167:10-168:9
 Markman 167:10—168:9 (Dr.
                      (Dr. Strohl); Prelim. Inj.
                           StrohD; Prelim.   Inj. Tr. 276:10—11 (Dr.
                                                  Tr. 276:10-11 (Dr. Krishnaswamy
                                                                     Krishnaswamy testifying
                                                                                  testifying

  that "[a]nything you do to the antibody creates a derivative").
       “[a]nything you                                            Thus, antibody derivatives as
                                                    derivative”). Thus,

 originally understood
 originally understood—i.e.,
                       i.e., everything derived from an
                                                     an antibody
                                                        antibody other than
                                                                       than antibody
                                                                            antibody

  fragments—were disclaimed from the claims, and the narrower antibody fragments were claimed




                                                   15




                                                Appx16174
                                                Appxl 6174
            Case: 22-1461            Document: 25        Page: 335        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 16 of 31 PageID #: 23303




                                          history, it therefore appears that the disclaimer of
  instead. On the face of the prosecution history,

                                b/specific antibodies.
  antibody derivatives included bispecific antibodies.

             surprisingly, the parties agree that antibody derivatives were disclaimed from the
         Not surprisingly,

               ‘590 patent.
  scope of the '590 patent. Markman Tr.
                                    Tr. 10:4-21
                                        10:4—21 (parties agreeing with the court that there is

  “agreement that there was a disclaimer in the prosecution as to derivatives, but there's
  "agreement                                                                       there’s no

  agreement as to what a derivative is").
                                    is”). But they disagree on what that term encompasses. Id.
                                                                                           Id. At

  the preliminary injunction stage,
                             stage. Baxalta was unable to provide any meaningful guidance as to

  what, in fact, was disclaimed. Prelim. Inj. Tr. 32:2-23,
                                                  32:2—23, 33:23-35:15.
                                                           33:23—35:15. During the preliminary

  injunction hearing, Baxalta stated only that while derivatives may very well have been

 disclaimed during prosecution, the specification and prosecution history "tell[]
                                                                          “tell[] us very little of

  the meaning."
      meaning.” Id. at 33:23-34:5.
                       33:23—34:5.

         At the Markman hearing, Baxalta finally addressed the issue directly, arguing that the

 disclaimer was very limited and that only two minor embodiments were surrendered, a

                                         briefing. Baxalta's
 suggestion not appearing in its earlier briefing. Ba.xalta’s arguments related to two amendments

             prosecution.
 made during prosecution.

         The first amendment related to original claims 55 and 6, which read:
                                                                        read:

                                                       1, wherein said antibody derivative
         5. An antibody derivative according to claim 1,
             comprises a complement [sic]
                                     [sic] determining region (CDR) peptide.

         6. An antibody derivative according to claim 5, wherein said
                                                                 said CDR peptide is a
             CDR3 peptide.

 U.S. Patent App. No. 09/661,992, at 62. The Examiner rejected these claims as not enabled

 because the "specification
             “specification provides no direction or guidance regarding how to produce such

 antibodies.” Jan. 2, 2004 Rejection, at 5. The Examiner explained that because "each
 antibodies."                                                                   “each of the

 heavy and light chain CDRs are critical in maintaining the antigen binding specificity and



                                                 16
                                                 16




                                              Appx16175
                                              Appx16175
                     Case: 22-1461   Document: 25         Page: 336        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 17 of 31 PageID #: 23304




  affinity which is characteristic of the parent immunoglobulin"
                                                 immunoglobulin” "[i]t
                                                                 “[ijt is unlikely that antibody

  derivatives as defined by the claims which may contain less than the full complement of

         .   .   .                                Id. In response, and following an interview with
                                       function.” Id.
  CDRs . . . have the required binding function."

  the Examiner in which he requested that the applicants add two dependent claims regarding the

  CDR3 peptide, Oct.
  CDR3          Oct. 16,2004
                     16, 2004 Interview Summary, the applicants deleted original claims 5 and 6,

  and added current claims
                    claims 21                      follows:
                           21 and 22, which are as follows:

             21. The antibody or antibody fragment of claim 1,
                                                            I, wherein the antibody fragment
                  comprises a CDR3 peptide.

             22. The antibody or antibody fragment of claim 1,
                                                            I, wherein the antibody fragment
                  is a CDR3 peptide.

       13, 2004 Amendment, at 7 (numbered 30. and 31.
  Dec. 13,2004                                    31. in amendment); '590
                                                                     ‘590 patent,
                                                                          patent. col. 104,
                                                                                       104,11.
                                                                                            II.

 9—12.
 9-12.

             At the Markman hearing Baxalta was unable to explain why these amendments defined

                                          derivatives. Earlier the Examiner had expressed concern
  the scope of the disclaimer of antibody derivatives.

                    claims’ reference to CDR1
  that the original claims'              CDRI and CDR2 peptides was not enabled, and Baxalta

             “the examiner wanted to be assured that that which is critical to antigen binding, the
 opined that "the

 CDR3, was included in the claim,"
                           claim,” Markman Tr.    36:5—Il. But this sheds no light on the
                                           Tr. at 36:5-11.

 meaning of the term antibody derivative or the scope of the disclaimer. All three binding sites

 (CDRI, CDR2, and CDR3) exist in antibodies as defined in the specification
 (CDR1,                                                       specification and under the

 broader definition of antibody.        Referring specifically to the CDR3 binding sites in two

 dependent claims is perfectly consistent with the narrower definition of antibody.
                                                                          antibody. In short, while

 Baxalta agrees that there was a disclaimer of antibody derivatives it is unable to show that the

 term was somehow limited by, or defined by, the addition of the reference to the CDR3 binding

 site in the dependent claim.
 site                  claim.



                                                   17
                                                   17




                                               Appx16176
                                               Appx16176
            Case: 22-1461          Document: 25           Page: 337         Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 18 of 31 PageID #: 23305




         The second amendment on which Baxalta focused was that made to original claim 7,

  which provided

         7. An antibody derivative according to claim 6, wherein said CDR3 peptide
            comprises an amino acid sequence selected from the group consisting of:
                                                                                of:
            Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phc-Ala-Tyr;
            Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phe-Ala-Tyr;
            Cys-X-X-Tyr-Gly-Asn-Ser-Pro-Lys-GlyPhe-A1a-Tyr-X-X-Cys
            Cys-X-X-Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phe-Ala-Tyr-X-X-Cys
            Wherein
            X may be any desired amino acid;
            Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phe-Ala-Tyr;
            Asp-Gly-Gly-His-Gly-Tyr-Gly-Ser-Ser-Phe-Asp-Tyr; and
            Phe-Arg-Asn-Arg-Gly-Met-Thr-Ala-Leu-Leu-Lys-Val-Ser-Ser-Cys-Asp.
            Phe-Arg-Asn-Arg-Gly-Met-Thr-Ala-Leu-Leu-Lys-Val-Ser-Ser-Cys-Asp.

         Deci. Ex. D, at 2-3.
  Strohl Decl.           2—3. The claim language on its face does not identify a specific amino

 acid, or set of amino acids, that can be substituted for the variable "X,"
                                                                       ‘cx,” and provides only that "X
                                                                                                    “X

                           acid.” Id. The Examiner rejected this claim as not enabled because
  may be any desired amino acid."

  he reasoned that "it
                   “it is unpredictable if any functional activity will be shared by two antibodies

  having less than 100%
                   100% identity over their CDR3
                                            CDR3 region."
                                                 region.” Jan. 2, 2004 Rejection, at 5; accord

       13, 2004 Rejection, at 3. Again following an interview with the Examiner in which "the
 Sept. 13,                                                                               “the

 antibody derivative and CDR3 peptide"
                              peptide” were discussed, Oct. 16,
                                                            16, 2004 Interview Summary, the

                            (now claim 5) to address the Examiner's
 applicants amended claim 7 (now                         Examiner’s concern with variability in

 the CDR3. Claim 5 now provides

         5. A CDR3
              CDR3 peptide of the antibody or antibody fragment according to claim 11
            consisting of an amino acid sequence selected from the group consisting of:
                                                                                    of:
             Tyr-GIy-Asn-Ser-Pro-Lys-Gly-Phe-AIa-Tyr
            Tyr-Gly-Asn-Ser-Pro-Lys-Gly-Phe-Ala-Tyr     (SEQ  ID NO:5);
                                                                 NO:5);  and
             Asp-Gly-Gly-His-Gly-Tyr-Gly-Ser-Ser-Phe-Asp-Tyr (SEQ ID NO:6).
                                                                          NO:6).

      13, 2004 Amendment, at 4-5;
 Dec. 13,                    4—5; '590
                                   ‘590 patent, col. 101,11.
                                                     101, 11. 57-63.
                                                              57—63.

        During the Markman hearing Baxalta argued that this amendment disclaimed "antibody
                                                                                 “antibody

 derivatives comprising CDR3 peptides with variable or random amino acids as originally

 claimed in 7."
            7.”                   36:21—37:9.
                   Markman Tr. at 36:21-37:9.          But again, as was the case with the other

                           sheds no light on the meaning of the disclaimed antibody
 amendment, this amendment sheds

                                                  18
                                                  18




                                              Appx16177
                                              Appx16177
             Case: 22-1461          Document: 25          Page: 338        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 19 of 31 PageID #: 23306




 derivatives. It is entirely possible that there are antibodies and antibody fragments, as those
 derivatives.

                                                 CDR3 region comprising what was claimed in both
  terms are defined by the court, that contain a CDR3

 original claim 7 and amended claim 7. The specification and amended claims are perfectly

                     specification’s definition of antibody.
 consistent with the specification's

                Baxalta’s failure to offer a plausible alternative definition of the disclaimer, the
          Given Baxalta's

 court concludes that the obvious definition—a disclaimer of antibodies altered in some

 significant way—should govern.

     c.                     tire Dependent Claims as Issued Does Not Require That the Term
           The Language of the
                                                           Bispecj/lc Antibodies
           Antibodies Standing Alone be Defined to Include Bispecific

          Baxalta’s primary argument is that adopting the narrow construction of antibodies is
          Baxalta's

  impermissible because, after the reference to antibody derivatives was deleted during

 prosecution, certain dependent claims covered structures that would be excluded under the

                                   antibody. In other words, Baxalta argues that including such
 narrower construction of the term antibody.

 dependent claims after the amendment (which deleted antibody derivatives from the claims)

 effectively redefines the term antibody. The language of the allowed claims is set forth above.

                                                                  “[ajn antibody or antibody
  Baxalta points, for example, to dependent claim 4, which claims "[a]n

                              1, wherein said antibody or antibody fragment is selected from a
  fragment according to claim 1,

 group consisting of a monoclonal antibody, a chimeric antibody, a humanized antibody, a single

                                                                                 thereof.” '590
 chain antibody, a bispecific antibody, a diabody, and di-, oligo-, or multimers thereof." ‘590

              101, 11.51-56.
 patent, col. 101, 11. 51—56. Baxalta contends that under the narrower construction of antibody,

                                                                                          19
 the humanized antibodies, chimeric antibodies, and bispecific antibodies of claims 4 and 19

                                                              1gM and IgA antibodies of claims
 would be excluded from the scope of the claims, as would the IgM

 3 and 20, and the artificial linker sequences of claims 7,9,                  Op. Br.
                                                                   11. Baxalta Op.
                                                         7, 9, and 11.             Br. 4-5;
                                                                                       4—5; Baxalta

            1—3, ECF No.
 Supp. Ltr. 1-3,                             40:8—45:2 (citing Strohl Dep. Tr., Dadush Decl.
                     No. 202; Markman Tr. at 40:8-45:2                                 DecI.

                                                  19
                                                  19




                                              Appx16178
                                              Appx16178
           Case: 22-1461           Document: 25          Page: 339        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 20 of 31 PageID #: 23307




      I, ECF.
  Ex. 1,      No. 234-2 at 99:23-100:13;
         ECF. No.                                lnj. Tr. 61:4-7).
                           99:23—100:13; Prelim. Inj.     61:4—7). Baxalta insists that "[i]t
                                                                                        “[lIt is

  axiomatic that a dependent claim cannot be broader than the claim from which it depends."
                                                                                  depends.”

  Alcon Research  Lid. v.
        Research, Ltd. v.Apotex  Inc.. 687 F.3d 1362,
                          Apotex Inc.,          1362, 1367
                                                      1367 (Fed.                              Op.
                                                           (Fed. Cir. 2012); see also Baxalta Op.

                   Supp. Ltr. 1-3.
      4—5; Baxalta Supp.
  Br. 4-5;                    1—3. It reasons that the independent claims, such as claim 1,
                                                                                         1, must

            bispec(fic antibodies and that the term antibody must therefore include bispecific
  encompass bispecific                                                              bispeqfic

  antibodies.

                       Baxalta’s argument persuasive.
         I do not find Baxalta's          persuasive.             sure. Baxalta
                                                            To be sure, Bixalta is correct, and

  Genentech agrees, that at least dependent claims 4 and 19
                                                         19 are inconsistent with the narrower

                         antibody)0
  definition of the term antibody. 10 See Markman Tr. 143:2-19
                                                      143:2—19 (Genentech admission that claims

        19’’ are inconsistent with the column 5 definition of antibody).
  4 and 1911                                                  antibody). The Federal Circuit has

  recognized that adopting a construction that excludes dependent claims from the patent scope is

 disfavored. See AK Steel Corp. v. Sollac & Ugine, 344 F.3d 1234,
                                                            1234, 1242
                                                                  1242 (Fed. Cir. 2003)

 (“Under the doctrine of claim differentiation, dependent claims are presumed to be of narrower
 ("Under

                                                   depend.”). But the court has also made clear
 scope than the independent claims from which they depend.").

  that this rule of construction does not govern where the independent claims on their face are of

                         Enw Biochem Inc.
 more limited scope. See Enzo                       Corp.. 780 F.3d 1149,
                                     Inc v. Applera Corp.,          1149, 1156-57
                                                                          1156—57 (Fed. Cir.




 I° Other dependent claims alleged by Baxalta to be inconsistent with the narrower definition of
 antibody may well be consistent with that definition.
                                                 definition. For example, even though IgM
                                                                                       1gM and IgA
 antibodies can have more than two identical light chains and two identical heavy chains, they can
 also be understood as being composed of several monomers that have the structure identified in
 column 5.                        112:15—23 (Dr.
           5. See Markman Tr. 112:15-23       (Dr. Almagro agreeing that "an
                                                                         “an IgM
                                                                              1gM is a pentamer of a
 module that has two identical heavy chains and two identical light chains"chains” and "that
                                                                                        “that module
 meets the definition in column 5"); 5”); id. 114:17-23
                                               114:17—23 (Dr. Almagro admitting that "some     lgMs
                                                                                         “some IgMs
 circulate as monomers in serum");
                              serum”); id. 155:24-159:11
                                            155:24—159:11 (Dr. Strohl confirming that IgM
                                                                                        1gM and IgA
 antibodies sometimes contain two identical light chains and two identical heavy chains).
 " It is apparent from context that Genentech's
                                      Genentech’s counsel misspoke when he named claim 9, rather
 than claim 19,
              19, as being inconsistent with the column 5 definition.
                                                 20




                                             Appx16179
                                             Appx16179
            Case: 22-1461           Document: 25                   Page: 340   Filed: 11/04/2022



                                                        21 of 31
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 21    31 PagelD
                                                                 PageID #: 23308




  2015) (claim differentiation rejected as reason to broaden scope of independent claim contrary to

            meaning). That is the case here, for the reasons disclosed above.
  its plain meaning).

         In such situations, where the scope of the independent claims is clear, the Federal Circuit

  has held that the failure of a patentee to conform dependent claims to the scope of the

  independent claims results in invalidation of the inconsistent claims rather than an expansion of

                  claim. See Regents Univ.
  the independent claim.             Univ of Cat
                                             Cal. v.
                                                  v. Dakocytomation
                                                     Dakocytomarion Cat,
                                                                    Cat, Inc., 517
                                                                               517 F.3d 1364,
                                                                                        1364,

  1375—76 (Fed. Cir. 2008); Seachange Int'l,
  1375-76                             Int’l, Inc. v. C-COR, Inc.,          1361, 1369-75
                                                            Inc.. 413 F.3d 1361, 1369—75 (Fed.

  Cir. 2005); N. Am. Vaccine, Inc. v. Am. Cyanamid             1571, 1577-78
                                          qvanamid Co., 7 F.3d 1571, 1577—78 (Fed.
                                                                             (Fed. Cir. 1993).
                                                                                        1993).

                   Dakocytoniarion. the Federal Circuit rejected the appellants'
  For instance, in Dakocytomation,                                   appellants’ argument that the

           court’s claim construction, which excluded repetitive sequences, was "incorrect
  district court's                                                              “incorrect in light

  of certain dependent claims requir[ing] inclusion of repetitive sequences."
                                                                  sequences.” 517 F.3d at 1375.
                                                                                          1375.

  The court explained that, although there exists a presumption that dependent claims have

  narrower scope than the independent claims from which they depend, Ipiresumptions
                                                                     “[p]resumptions are

  rebuttable.” Id. Thus, "while
  rebuttable."           “while it is true that dependent claims can aid in interpreting the scope of

 claims from which they depend, they are only an aid to interpretation and are not conclusive."
                                                                                   conclusive.”

 Id. (quoting N.
              N Am.
                 Am. Vaccine, 7 F.3d at 1577
                                        1577 (brackets omitted)).
                                                       omitted)). The Federal Circuit emphasized

  that a contrary construction "dictated
                               “dictated by the written description or the prosecution history"
                                                                                       history” could

 overcome the presumption. Id. (quoting Seachange, 413 F.3d at 1369).
                           1! (quoting                         1369).

         I conclude that the presumption that the independent claim here is broader than the

 dependent claim has been rebutted. The retention of inconsistent language in the dependent

 claims does not suggest that the interpretation of independent claims should depart from the

 original meaning of the term antibody as provided in column 5 of the '590
                                                                      ‘590 patent.               See

 Dakocytomation, 517 F.3d at 1375-76
                             1375—76 ("Here.
                                     (“Here . . the prosecution history overcomes the
                                                       .   .   .




                                                  21
                                                  21




                                              Appx16180
                                              Appx16180
            Case: 22-1461          Document: 25          Page: 341        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 22 of 31 PageID #: 23309




  presumption; the correct construction of `heterogeneous
  presumption;                                            mixture’ is one that excludes repetitive
                                           ‘heterogeneous mixture'

                                                                                          them.”);
  sequences, notwithstanding the presence of certain dependent claims that do not exclude them.");

                        1375 ("The
 Seachange, 413 F.3d at 1375 (“The presumption attendant to claim differentiation doctrine is

                       ‘network for data communications'
  rebutted. The phrase `network          communications’ is limited to networks in which every

  processor system is connected to every other processor system via direct, point-to-point, two-

              interconnections.”); N
  way channel interconnections.");                           1577—78 (rejecting construction of
                                   N. Am. Vaccine, 7 F.3d at 1577-78

                                                               “[t]he dependent claim tail
  independent claim based on scope of dependent claims because "[t]he

                                  dog”). While the result of the court's
 cannot wag the independent claim dog").                         court’s construction is that

 certain embodiments in the specification are no longer covered by the claims, this is not

  uncommon in disclaimer situations.

         Finally, even with the narrowing amendment to delete antibody derivative, the narrower

 definition of antibody does not exclude any disclosed embodiments actually made by the

                                                                                           Strohi’s
  inventors from the scope of the claims. As Genentech established through its expert, Dr. Strohl's

 testimony, which I credit, and through cross-examination of Dr. Almagro, the patent does not

 disclose that the inventors of the '590
                                    ‘590 patent ever made a bispecific antibody, a humanized

 antibody, or a chimeric antibody.                       110:12—20 (Dr. Almagro regarding
                                          Markman Tr. at 110:12-20

                                              179:23—180:25 (Dr. Strohl testifying that Example
 humanized and bispecific antibodies); id. at 179:23-180:25

 13 of the '590
 13        ‘590 patent is prophetic and therefore does not show that the inventors created a

 chimeric antibody within the scope of the claims).
                                           claims). Rather, as Dr. Almagro admitted,
                                                                           admitted, "all
                                                                                     “all of the

 antibodies that Baxalta made in performing the experiments set forth in [the
                                                                         [the '590]
                                                                              ‘590] patent would

 fall within the definition of column 5."
                                      5.” Markman Tr. 105:15-21.
                                                      105:15—21.

         Based on the foregoing, I conclude that the term antibody means an immunoglobulin

 molecule, having a specific amino acid sequence that only binds to the antigen that induced its



                                                 22




                                             Appx16181
                                             Appx16181
            Case: 22-1461          Document: 25           Page: 342        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 23 of 31 PageID #: 23310




  synthesis or very similar antigens, consisting of two identical heavy chains (H
                                                                               (H chains) and two

                                                                                          ‘590
  identical light chains (L chains). Baxalta concedes that Hemlibra does not infringe the '590

                   court’s construction of antibody.
  patent under the court's                                            9:15—24.
                                           antibody. Prelim. Inj. Tr. 9:15-24.

     2. antibodyfragment

  Baxalta’s proposed construction: A portion of a molecule having a specific amino acid
  Baxalta's
  sequence comprising two heavy chains (H chains) and two light chains (L chains).

 Genentech’s proposed construction: A fragment of an antibody which partially or completely
 Genentech's
                    region; the term "antibody
 lacks the constant region;          “antibody fragment"
                                               fragment” excludes all other forms of antibody
 derivatives.
 derivatives.

 Court’s construction:
 Court's   construction: A fragment of an antibody which partially or completely lacks the
                           “antibody fragment"
 constant region; the term "antibody fragment” excludes bispecific antibodies.

                                          fragments for derivatives preserved the applicant's
         Though substitution of the word fragments                                applicant’s claim

  to derivatives that are fragments, there is no assertion here that the term fragments included

                                                                temi antibody.
  bispecific antibodies, or expanded the defined meaning of the term antibody. Nor is there any

                               &agment.
 contention that Hemlibra is a fragment.        “[T]here is no dispute between the parties that
                                                "[T]here

 [Hemlibra]. the accused product, is not a fragment.
 [Hemlibra],                                         It’s a full-length antibody."
                                           fragment. It's               antibody.” Prelim. Inj.
                                                                                           lnj. Tr.

 79:10—15; accord
 79:10-15;                    122:13—21 (Dr.
           accord Markman Tr. 122:13-21 (Dr. Almagro agreeing that Hemlibra "is   bispeeific
                                                                            “is a bispecific

            “not a Fab"
 antibody,” "not
 antibody,"        Fab” and "not
                            “not a fragment").        Bixalta conceded during the preliminary
                                   fragment”). And as Baxalta

 injunction hearing, "the                       ‘fragment’ wouldn't
                     “the inclusion of the word `fragment' wouldn’t expand the meaning of the

                                   35:23—36:2.
      ‘antibody.” Prelim. Inj. Tr. 35:23-36:2.
 term `antibody."'

                                       court’s definition of antibody any piece of an antibody can
         Baxalta argues that under the court's

 be considered an antibody fragment.
                           fragment. Genentech argues instead that the term antibody fragment

               “the sort of canonical antibody fragments that [a
 includes only "the                                                        skilli talks about when
                                                              [a person of skill]

 [that person]
 [that                       fragment.” Markman Tr. 11:11-12.
       person] talks about a fragment."             11:11—12. In light of the prosecution




                                                 23




                                              Appx16182
                                              Appx16182
             Case: 22-1461          Document: 25          Page: 343               Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 24 of 31           23311
                                                                 PageID #: 23311




  histonc Genentech contends that
  history,                             sort of
                             that this sort                      comprises a portion of
                                            of antibody fragment comprises              an
                                                                                     of an

  antibody which partially or completely lacks its constant region.

               specification expressly states
           The specification                       “antibody fragments . . . partially or completely
                                       states that "antibody              .   .   .




                    region.” '590
  lack the constant region."
  lack                                            II. 20—2 1. The examples of fragments listed in the
                             ‘590 patent, col. 6, 11.20-21.

  specification—”Fv, Fab, Fab'
  specification—"Fv,            [andj F(ab)'2"—all
                          Fab’ [and]                       this limitation. Id.; see also
                                                   support this
                                      F(ab)’2”—all support                                supra at
                                                                                     also supra at

  11—12.
  11-12.

                                         Baxalta’s proposed construction of antibodyfragment. The
           In summary, the court rejects Baxalta's

                                                              something as small as three amino
  Baxalta definition is unduly broad because it would include something

                           agreed would not be understood by a person skilled in the art to
  acids, which Dr. Almagro agreed

                antibody fragment. When asked
             an antibody
  constitute an                                      “cut the last three amino acids off the
                                        asked if you "cut

                                       scientist in 1993
           region” and ask an antibody scientist
  constant region"                                  1993 whether that is an antibody fragment, Dr.

                      “[sjhe’d say
  Almagro agreed that "[s]he'd     ‘No, that's
                               say `No, that’s three amino acids.'"            117:19—118:4.
                                                           acids.” Markman Tr. 117:19-118:4.

                                                     fragment comprises a fragment of an antibody
           Therefore, the court finds that antibody fragment

                                          constant region; the
                                lacks the constant
  which partially or completely lacks
  which                                                    the term "antibody fragment” excludes
                                                                    “antibody fragment"

  bispecific antibodies.


     3. bispecific
        bispecjJlc antibody

  Baxalta’s proposed construction: An antibody that is a macromolecular, heterobifunctional
  Baxalta's
  cross-linker having two different binding specificities within one single molecule.

                           construction; An antibody derivative that is an artificially engineered,
  Genentech’s proposed construction:
  Genentech's
  macromolecular. heterobifunctional cross-linker having two different binding specificities within
  macromolecular,
      single molecule; a bispecific antibody does not consist of two identical heavy chains and two
  one single
                  chains.
  identical light chains.

  Court’s construction:
  Court's                                                                   heterobiffinctional cross-
            construction: An artificially engineered, macromolecular, heterobifunctional
                                                                single molecule; a bispecific antibody
                                       specificities within one single
  linker having two different binding specificities
  does not consist of two identical heavy chains and two identical light chains.




                                                  24




                                               Appx16183
                                               Appx16183
             Case: 22-1461          Document: 25          Page: 344         Filed: 11/04/2022



                                                                 PageID #: 23312
                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 25 of 31




                      agree a bispecific
          The parties agree                                          macromolecular.
                              bispeqfic antibody in the patent is aa macromolecular,

  heterobifunctional cross-linker having two binding specificities within one single molecule, and
  heterobifimctional

  does not consist of two identical heavy chains and two identical light chains.'2
  does                                                                   chains.12 Markman Tr.
                                                                                           Yr.

                                        bispecflc antibody consistent
  38:5—16. The court construes the term bispecific
  38:5-16.                                                 consistent with the parties'
                                                                               parties’ agreement.

               bispeci/Ic antibody is
  Therefore, a bispecific           is an artificially engineered, macromolecular, heterobifunctional
                                       an artificially

                                                                            molecule; a bispecific
  cross-linker having two different binding specificities within one single molecule;   bispecffic

  antibody does not consist of two identical heavy chains and two identical light chains.
  antibody


           isolated
       4. isolated

  Baxalta’s proposed construction: Essentially free from other antibodies
  Baxalta's                                                    antibodies or antibody fragments
  that do not bind Factor IX or Factor
  that                                 lXa.
                                Factor IXa.

  Genentech’s proposed construction: Free of molecularly non-identical antibodies or antibody
  Genentech's                                                                        antibody
  fragments; all antibody molecules or antibody fragment molecules in the claimed composition
  are identical.

          construction: All antibody molecules or antibody fragment
  Court’s construction:
  Court's                                                     fragment molecules in the claimed
  composition have identical amino acid sequences except for any post-translational modifications.

                           isolated appears
          Construction of isolated  appears to be relevant to the question of patent validity. As to
                                                                  question of

           isolated, the parties dispute the degree to which antibodies or antibody fragments that
  the term isolated,

       isolated must be identical. The specification
  are isolated                         specification provides no apparent
                                                                 apparent guidance as
                                                                                   as to the

                        Isolated is only used twice in the body of
  meaning of the term. Isolated                                        specification, and neither
                                                                of the specification,

                                          an antibody or antibody
  reference illuminates what it means for an             antibody fragment to be isolated. See
                                                                                           See




  12
  12 Although Dr. Almagro agreed that bispecific antibodies generally "don't“don’t have two identical
                                       chains,” he noted that "[t]here
  heavy chains and two identical light chains,"                                         examples” to
                                                                            some recent examples"
                                                               “[tihere are some
                                108:11—15. Genentech clarified, and Dr. Almagro confirmed, that
  the contrary. Markman Tr. 108:11-15.
             examples Dr.
  the recent examples   Dr. Almagro referenced are bispecific antibodies developed by Genentech
       “in fact, have identical chains."
  that "in                      chains.” Id.  108:16—20. But the patent's
                                          Id. 108:16-20.              patent’s reference to bispecific
                                                                                            bispecic
  antibodies does not include these antibodies with identical chains.
                                                  25




                                               Appx16184
                                               Appxl 6184
            Case: 22-1461           Document: 25          Page: 345         Filed: 11/04/2022



                                                                 PageID #: 23313
                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 26 of 31




  '590  patent, col.
   ‘590 patent, col. 32,
                     32, I.
                         1. 37-38
                            37—38 ("clones
                                  (“clones were isolated");  Id. col.
                                                 isolated”); id.      32, II.
                                                                 col. 32,            (“the gene of
                                                                               57—58 ("the
                                                                           II. 57-58            of the

  198/B 11 scFv was isolated
  198/B                                plasmid”).
                     isolated from the plasmid").

             prosecution history is
         The prosecution                                 Examiner added the term isolated to the
                                          unhelpful. The Examiner
                                  is also unhelpful.

                                                                           nor why the change
                                                                     made, nor
  claims during prosecution but neither explained why the change was made,

                    allowance. See
      necessary for allowance.
  was necessary                See Dec.     2004 Interview
                                   Dec. 21, 2004  Interview Summary,
                                                            Summary, Cole DecI. Ex.
                                                                     Cole Decl. Ex. 2, ECF
                                                                                       ECF No.
                                                                                           No.

  162-1;
  162-1; Notice
         Notice of Allowance and Fees
                                 Fees Due, U.S. Patent
                                      Due, U.S.        AppI. No.
                                                Patent Appl. No. 09/661,992 (P.T.O.
                                                                            (P.T.O. Dec.
                                                                                    Dec. 29,

  2004), ECF 202-1. Genentech argues that the term isolated was added to claim 1I of the '590
         ECF 202-1.                                                                       ‘590

                       “inventors’ efforts to subclone mixed
  patent alongside the "inventors'                     mixed populations    hybridomas `to
                                                             populations of hybridomas ‘to obtain

                                                Op. Br.
                        populations.” Genentech Op.
  homogenous [sic] cell populations.'"
  homogenous                                        Br. 14          ‘590 patent,
                                                           (quoting '590
                                                        14 (quoting      patent, col. 11, 1. 53).
                                                                                      11, I.

  Because such
  Because such subcloning     performed until
               subcloning was performed            hybridoma population
                                        until each hybridoma population "produce[d]
                                                                        “produce[d] the
                                                                                    the same
                                                                                        same

                   antibody,” '590
  FIX/FIXa binding antibody,"
  FIX/FIXa                     ‘590 Patent,      12 I.
                                    Patent. col. 12 1. 19-21,
                                                       19—21, Genentech contends that antibodies

  or antibody fragments which are isolated must
                                           must be identical.

         The sole expert testimony regarding                      Genentech’s expert,
                                   regarding this term comes from Genentech's expert, Dr.
                                                                                      Dr. Strohl.
                                                                                          Strohl.

  Dr. Strohl
  Dr.        explained that isolated
      Strohl explained      isolated in context of
                                     in context        specification’s description of dilution
                                                of the specification's                dilution

  subcloning would be understood to limit the antibodies and antibody fragments of claim 11 to

  those that have an "identical
                     “identical amino acid sequence"
                                           sequence” but not necessarily an identical
                                                                            identical glycosylation

  pattern.
  pattern. Strohl
           Strohi Claim Const. Decl.
                               DecI. 111124-27. Dr. Strohl also admitted that slight differences in
                                     ¶J 124—27. Dr.
                           of antibodies may
  the amino acid sequences of            may arise due to a process called post-translational

  modification. Strohl
  modification.        Dep. Tr. 168:4-20,
                Strohi Dep.     168:4—20, ECF No. 159-1.
                                          ECE No. 159-1.

         Baxalta offers no testimony, evidence, or argument to the contrary. Based on the content
         Baxalta

  of the specification, Baxalta
                        Baxalta contends only that the term isolated cannot require
                                                                            require identicalness

  because such a construction ignores
                               ignores the contrast between                        puried in
                                                    between the terms isolated and purified in the

  claims
  claims and
         and specification of the patent.
             specification of     patent. Baxalta Resp. Br.
                                          Baxalta Resp. Br. 2-4,
                                                            2—4, ECF
                                                                 ECF No.
                                                                     No. 234 (citing '590
                                                                         234 (citing       Patent,
                                                                                      ‘590 Patent,



                                                    26




                                              Appx16185
                                              Appx16185
            Case: 22-1461            Document: 25              Page: 346     Filed: 11/04/2022



                                                                 PageID #: 23314
                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 27 of 31




      17; id.
  ci. 17;
  cl.         col. 991!.
          id. col.       11—15; id.
                     II. 11-15;          13,11. 16-58).
                                    col. 13,11.
                                Id. col.        16—58). Baxalta argues                         discusses
                                                                argues that because the patent discusses

  “purifying” an antibody after it is "isolated,"
  "purifying"                         “isolated.” antibodies that are isolated cannot all possibly be

  identical, because were that the case, purification would be unnecessary. Id. I disagree with this

                                                                     Genentech’s interpretation
  understanding of the patent. Purification is meaningful even under Genentech's

                                      in the patent describes a solution
  since the reference to purification in
  since                                                                  containing antibodies
                                                                solution containing antibodies and
                                                                                               and the

                                    (hybridomas), and purification eliminates those cells from the
  cells from which they are derived (hybridomas),

  final product. See, e.g., '590
  final                     ‘590 patent, col. 13,11.  16—42.
                                              13, Il. 16-42.

                                                                                       16-221 -LPS,
          Baxalta further points to a case, Morphosys AG v. Janssen Biotech, Inc., No. 16-221-LPS,
                      *4 (D.
  2017 WL 4769368, at *4 (D. Del. Oct. 23, 2017), in which isolated was construed to mean

  “essentially free from antibodies that do not bind to CD38."
  "essentially                                                     court’s construction in
                                                        CD38.” The court's

  Aforphosys is not relevant, as the case dealt with an entirely different patent. See Monsanto Co.
  Morphosys

                        V. 363 F.3d 1235,
  v Bayer Bioscience N. V.,
  v.                                1235, 1244
                                          1244 (Fed. Cir. 2004) (stating      “similar terms can
                                                                (stating that "similar

                                                                specifics of each patent").
  have different meanings in different patents depending on the specifics         patent”).

         Thus. Genentech's
         Thus, Genentech’s construction most clearly
                                             clearly corresponds to how isolated was used in
                                                                                          in the

  patent, taking into account the caveats raised by Dr. Strohl regarding glycosylation and post-

  translational modification. Accordingly, I find that the term isolated requires that all antibody

  molecules or antibody fragment molecules in the claimed composition have identical amino acid

  sequences except for any post-translational modifications.
  sequences


     5. binds Factor IX or Factor IXa and increases

                                   “and” has its plain and ordinary meaning.
  Baxalta’s proposed construction: "and"
  Baxalta's

  Genenteeh’s proposed construction: The increase in procoagulant activity of Factor IXa is
  Genentech's
  caused only by the binding of the antibody or antibody fragment to Factor IX/IXa.

          construction: Binding to Factor
  Court’s construction:
  Court's                          Factor IX  need not
                                           IX need not be                                in
                                                              sole cause of the increase in
                                                       be the sole
  procoagulant activity.


                                                    27




                                                Appx16186
                                                Appx16186
            Case: 22-1461           Document: 25           Page: 347      Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 28 of 31 PageID #: 23315




              court’s construction of binds Factor IX or Factor IXa and increases appears to be
         This court's

              infringement. As to this term, the parties dispute only the degree of causation
  relevant to infringement.

  required between the binding of the inventive antibodies or antibody fragments to Factor IX/IXa
                                                                                           IX!JXa

                                             activity. Genentech contends that the increase in
  and the resultant increase in procoagulant activity.

  procoagulant activity must be caused only by the binding of the inventive antibodies or antibody

                                          Op. Br.
  fragments with Factor IX/IXa. Genentech Op. Br. 17-19.
                                                  17—19. Baxalta,
                                                         Baxalta. on the other hand, argues

                                       Ba.xalta Op.
  that sole causation is not required. Baxalta  Op. Br.    14—15.
                                                    Br. at 14-15.

         Geneniech cites various portions of the specification in support
         Genentech                                                support of its construction. The

                   “[am antibody or antibody derivative against factor IX/activated factor IX
 abstract provides "[a]n

 (FIXa) which increases the procoagulant activity of FIXa."
 (FIXa)                                              FIXa.” '590
                                                             ‘590 patent, Abstract. The title of

               “Factor IX/Factor IXa Activating Antibodies and Antibody Derivatives."
 the patent is "Factor                                                                         1.
                                                                        Derivatives.” Id. col. 1.

 The Summary of the Invention states that the "object
                                              “object of the present invention to provide a

                                                    disorders” is "achieved
 preparation for the treatment of blood coagulation disorders"    “achieved through the use of

 antibodies or antibody derivatives against factor IX/factor IXa which have factor VIIIa-cofactor
                                                                                   Villa-cofactor

 activity or factor IXa-activating activity and lead to an increase in the procoagulant activity of

 factor IXa."          2. II. 25-33.
        IXa.” Id. col. 2,     25—33. The specification states that "hybridomas
                                                                   “hybridomas are selected with a

 view to the fact that the antibodies and antibody derivatives in the supernatants
                                                                      supematants of the hybridoma
                                                                                         hybñdoma

 cells bind to factor IX/factor IXa and cause an increase of the procoagulant activity of factor

 IXa.” Id.
 IXa."            Il. 18-21.
       Id col. 8, II. 18—21. Though these portions of the specification certainly imply that

 binding to Factor IX/IXa plays a role in causing an increase in procoagulant activity,
                                                                              activity, they do not

 suggest sole
 suggest sole causation as Genentech contends.




                                                  28




                                               Appx16187
                                               Appx16187
            Case: 22-1461           Document: 25          Page: 348        Filed: 11/04/2022



                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 29 of 31 PageID #: 23316




         Because nothing in the intrinsic record suggests otherwise, I find this term unambiguous

  and conclude that and in the term binds Factor IX
                                                 LY or Factor IXa
                                                              EVa and increases means that

  binding to Factor IX need not be the sole cause of the increase in procoagulant activity.


     6. the procoagulant activity of Factor IXa and increases the procoagulant
                                                                  procoagidant activity of
        Factor IXa

  Baxalta’s proposed construction:
  Baxalta's          construction: The rate of clot formation promoted by Factor IXa.

  Genentech’s proposed construction: The ability of Factor IXa to activate Factor X to Factor
  Genentech's
                                                                     Vill-like activity.
  Xa by any amount as determined by any assay used to measure Factor VIII-like

         construction: The ability of Factor IXa to activate Factor X to Factor Xa by any
 Court’s construction:
 Court's
 amount as determined by any assay used to measure Factor VIII-like
                                                          Vill-like activity.

             court’s construction of this term appears to be relevant to the question of patent
         The court's

                parties’ final dispute relates to the term increases the procoagulant activity of
  validity. The parties'

 Factor IXa. This construction raises the question of how the patent claims instruct a person of

 skill in the art to measure the procoagulant effect of the inventive antibodies and antibody

 fragments. Baxalta proposes a construction that limits
 fragments.                                      Limits the assessment of procoagulant activity to

 tests that measure the rate of clot formation—e.g.,
                                     formation—e.g., by use of Activated Partial Thromboplastin

 Time ("aPTT")
      (“aPT]’”) assays, Baxalta Op. Br. at 16-19.
                                           16—19. Genentech, on the other hand, argues that any

 prior art test for measuring Factor VIII-like
                                     VIlI-like activity, including clotting-time and chromogenic

 assays, can be used—e.g., aPTT
                           aPT]’ assays and chromogenic assays like COATEST VIII(C)
                                                                            VI11(C) and

 Immunochrom, Genentech Op. Br. at 16;             223:6—15; id. at 224:14-17.
                                   16; Markman Tr. 223:6-15;        224:14—17.

         I conclude that the specification provides clear guidance that any prior art assay that can

 measure Factor VIII-like
                VIlI-like activity may be used.
                                          used. The patent twice expressly states that any

 method for determining Factor VIII-like
                               Vill-like activity may be used to measure procoagulant activity:
                                                                                      activity:

 In column 8 the patent provides that "[t]he
                                      “[tjhe increase in the procoagulant activity may, e.g., be



                                                 29




                                              Appx16188
                                              Appx16188
             Case: 22-1461            Document: 25                 Page: 349    Filed: 11/04/2022



                                                                 PageID #: 23317
                                                              31 PagelD
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 30 of 31



                             as known from the prior art for
  proven by assaying methods as                                                        Vu-like
                                                         for the measurement of factor VIII-like

  activity, e.g.
  activity,                  assays.” '590
            e.g. chromogenic assays."               coL 8,
                                       ‘590 patent, col.    II. 21-25.
                                                         8, II. 2 1—25. And in column 9 the patent

  states
  states

           The following methods may be used as          as the test methods to showshow that the
           antibodies and antibody derivatives of the present invention bind to factor
           IX/factor IXa, increase the procoagulant activity of factor IXa or have factor VIII-
                 activity••. the one step
           like activity:            step coagulation test
                                                       test.. . . or the chromogenic tests, such
                                                           .   .                                 as
                                                                                            such as
           COATEST VIII:C® VIJI:C® (Chromogenix)
                                    (Chromogenix) or Immunochrom (IMMUN0).(IMMUNO). In principle,
               the methods used for determining
           all the                      determining factor
                                                    factor VIII activity may be used.

      at col.
  Id. at col. 9,
              9, 11. 14—23. The patent reiterates this point in Example 5, where the specification
                 11. 14-23.

  states that "[f]actor
  states      “{1]actor VIII activity is usually determined with a chromogenic assay and/or
                                                                                     and/or an
                                                                                            an

                      assay” and that "[b]oth
  APTT-based clotting assay"          “[b]oth types of assays
                                                       assays rely on FVIIIa/FIXa-mediated
                                                                      FVIIIa/FJXa-mediated

  factorXa
  factor    generation.” Id. col. 15,11.
         Xa generation."                 10—13.
                                  15,11. 10-13.

                                   Baxalta’s contrary position that only clotting-time assays are
           There is no support for Baxalta's

               Baxalta’s primary argument is that the '590
  permissible. Baxalta's                              ‘590 patent in certain places refers to

  clotting time assays
  clotting      assays alone as a measure of
                                          of procoagulant activity. For example, Baxalta
                                                                                 Baxalla points to

         17 of the patent, which states that "[t]here
  column 17                                  ‘[t]here is a clear dose-dependent reduction of the

                                                      I 93/AD3” and that such "results
  clotting time in samples supplemented with antibody 193/AD3"                “results imply that

 [thej antibody
 [the] antibody.. . . is procoagulant in the presence of FIXa."
                    .   .                                FIXa.” Id       17, 11.
                                                                Id. col. 17, II. 35-38.         also
                                                                                 35—38. Baxalta also

                                                                      “becomes procoagulant as
  notes that column 29 of the patent states that a particular peptide "becomes

  indicated by the reduced clotting time"                 23 similarly
                                    time” and that column 23 similarly states
                                                                       states that certain peptides

 “did not give any reduction in the
 "did                           the clotting time indicating that they lack procoagulant activity."
                                                                                         activity.”

  Id. at col. 29, II. 36-40;
      at col.                Id. at
                      36—40; id. at col. 23, I. 66—col. 24,
                                                        24, 1.1. 2. The patent's
                                                                        patent’s reference to the use of

 clotting-time assays to measure procoagulant activity hardly excludes other possible methods of

  measurement, particularly where other parts of the specification state      “assaying methods as
                                                                   state that "assaying

                       art” may be used.
  known from the prior art"        used. Id          8, I. 2 1—25.
                                         Id. at col. 8,1.21-25.


                                                     30




                                                  Appx16189
                                                  Appx16189
            Case: 22-1461           Document: 25            Page: 350       Filed: 11/04/2022



                                                        31 of 31
Case 1:17-cv-00509-TBD Document 330 Filed 12/03/18 Page 31       PageID #: 23318
                                                              31 PagelD




         Bixalta also relies on the statement
         Baxalta                    statement in column 9 of the patent that the inventive antibodies

      antibody fragments "increase
  and antibody
  and                    “increase the procoagulant activity    factor IXa or
                                                    activity of factor     or have factor VIII-like
                                                                                          VIlI-like

  activity.” Id. at
  activity."     at col. 9, 11. 17—18. It contends that the use of
                            II. 17-18.                          of”or”
                                                                   "or" implies aa distinction between

                                   VIJI-like activity.
  procoagulant activity and Factor VIII-like activity. Baxalta Resp. Br. at 8-12.
                                                                            8—12. Baxalta argues

                                                       ‘590 patent, col. 18,
                                 same distinction. See '590
  that Example 9 illustrates the same                                    18, 11.22-67.
                                                                             II. 22—67. It follows,
                                                                                           follows.

  says Baxalta, that the term "procoagulant
  says                        “procoagulant activity"
                                            activity” and "factor
                                                          “factor VIII-like
                                                                  VIJI-like activity"
                                                                            activity” are mutually

                that the chromogenic
  exclusive, so that     chrornogenic assay                          VIlE-like activity cannot be
                                      assay used to determine factor VIII-like

                                                               argument is simply incorrect.
                                 activity. The premise of this argument
  used to determine procoagulant activity.

                                                                                         are
  Procoagulant activity and Factor VIII-like activity are not distinct terms, but rather are

  overlapping.

                                                                          activity’ of Factor IXa
         Accordingly, I conclude that the term increases the procoagulant activity            LIa

                              IXa to activate Factor X to Factor Xa by any amount as determined
  means the ability of Factor IXa

     any assay
  by any assay used to measure Factor VIII-like
                                      Vlll-like activity.
                                                activity.

               SO ORDERED
         IT IS SO ORDERED this         3       of December ,,2018.
                                           day of            2018.




                                             CYL/14...t
                                                ir2)
                                                Honorable Timothy B. Dyk
                                                United States Circuit Judge, sitting by designation




                                                  31




                                               Appx16190
                                               Appx16190
             Case: 22-1461        Document: 25       Page: 351     Filed: 11/04/2022

Case 1:17-cv-OO5O9-TBD
     1:17-cv-00509-TBD Document 335 Filed 01/31/19 Page 1 of 4 PagelD
                                                               PageID #: 23335



                        IN
                        IN THE
                           THE UNITED STATES DISTRICT
                               UNITED STATES DISTRICT COURT
                                                      COURT
                           FOR THE DISTRICT OF DELAWARE
                           FOR THE DISTRICT OF DELAWARE




BAXALTA INCORPORATED
BAXALTA              and BAXALTA
        INCORPORATED and BAXALTA
GMBH,
GMBH,

                                 Plaintiffs,
                                 Plaintiffs,

     v.
     v.

GENENTECH, INC.
GENENTECH,      and CHUGAI
           INC. and CHUGAI
PHARMACEUTICAL CO.,
PHARMACEUTICAL    CO., LTD.,
                       LTD.,                                       C.A. No.
                                                                   C.A. No. 17-509-TBD
                                                                            17-509-TBD


                                 Defendants.
                                 Defendants.



                          STIPULATION AND
                          STIPULATION AND FINAL JUDGMENT
                                          FINAL JUDGMENT

          WHEREAS, Plaintiffs
          WHEREAS, Plaintiffs Baxalta
                              Baxalta Incorporated and Baxalta
                                      Incorporated and Baxalta GmbH
                                                               GmbH (collectively, “Plaintiffs”
                                                                    (collectively, "Plaintiffs"

or "Baxalta")
or “Baxalta”) brought
              brought this
                      this action
                           action against
                                  against Genentech,
                                          Genentech, Inc. (“Genentech”) and
                                                     Inc. ("Genentech") and Chugai
                                                                            Chugai

Pharmaceutical Co.,
Pharmaceutical Co., Ltd.
                    Ltd. (“Chugai”) alleging infringement
                         ("Chugai") alleging infringement of
                                                          of certain claims of
                                                             certain claims of U.S.
                                                                               U.S. Patent
                                                                                    Patent No.
                                                                                           No.

7,033,590 (“the ’590
7,033,590 ("the      patent”);
                '590 patent");

          WHEREAS, on
          WHEREAS, on September 19, 2018,
                      September 19, 2018, the
                                          the Court
                                              Court entered an order
                                                    entered an order dismissing
                                                                     dismissing Chugai
                                                                                Chugai from
                                                                                       from

this action
this action (D.I.
            (D.I. 293),
                  293), leaving
                        leaving Genentech
                                Genentech as
                                          as the
                                             the sole
                                                 sole remaining
                                                      remaining defendant;
                                                                defendant;

          WHEREAS, on
          WHEREAS, on December
                      December 3,
                               3, 2018
                                  2018 the
                                       the Court
                                           Court entered
                                                 entered an
                                                         an Opinion
                                                            Opinion and
                                                                    and Order
                                                                        Order (D.I.
                                                                              (D.I. 330)
                                                                                    330)

construing disputed
construing          terms in
           disputed terms    the asserted
                          in the asserted claims
                                          claims of
                                                 of the
                                                    the ’590 patent, including,
                                                        '590 patent,            among other
                                                                     including, among other terms,
                                                                                            terms,

the terms
the terms "antibody"
          “antibody” "antibody
                     “antibody fragment",
                               fragment”, "antibody
                                          “antibody derivative"
                                                    derivative” and
                                                                and "increasing
                                                                    “increasing the
                                                                                the procoagulant
                                                                                    procoagulant

activity…”;
activity...";

          WHEREAS, Baxalta
          WHEREAS, Baxalta concedes that HEMLIBRA®
                           concedes that HEMLIBRA® (emicizumab-kxwh),
                                                   (emicizumab-kxwh), the
                                                                      the only
                                                                          only accused
                                                                               accused

product in
product    this action,
        in this action, does
                        does not
                             not infringe the asserted
                                 infringe the asserted claims
                                                       claims of
                                                              of the
                                                                 the ’590 patent under
                                                                     '590 patent under the
                                                                                       the Court's
                                                                                           Court’s




                                                   1
                                               Appx16195
                                               Appx16195
            Case: 22-1461        Document: 25        Page: 352       Filed: 11/04/2022

Case 1:17-cv-OO5O9-TBD
     1:17-cv-00509-TBD Document 335 Filed 01/31/19 Page 2 of 4 PagelD
                                                               PageID #: 23336



construction of
construction of "antibody",
                “antibody”, "antibody
                            “antibody fragment”, or "antibody
                                      fragment", or “antibody derivative"
                                                              derivative” and
                                                                          and Baxalta
                                                                              Baxalta disagrees
                                                                                      disagrees

with and
with and reserves
         reserves all
                  all rights
                      rights as
                             as to
                                to the
                                   the Court's
                                       Court’s construction of "procoagulant
                                               construction of “procoagulant activity";
                                                                             activity”;

       WHEREAS, in
       WHEREAS,    exchange for
                in exchange     Baxalta’s agreement
                            for Baxalta's agreement to
                                                    to stipulate
                                                       stipulate to
                                                                 to aa judgment
                                                                       judgment of
                                                                                of non-
                                                                                   non-

infringement without waiver
infringement without waiver of
                            of the
                               the right
                                   right to
                                         to appeal
                                            appeal from
                                                   from that
                                                        that judgment
                                                             judgment based
                                                                      based on
                                                                            on the
                                                                               the Court's
                                                                                   Court’s claim
                                                                                           claim

construction Order,
construction Order, Genentech
                    Genentech agrees
                              agrees to
                                     to stipulate
                                        stipulate to
                                                  to the
                                                     the dismissal
                                                         dismissal without
                                                                   without prejudice
                                                                           prejudice of
                                                                                     of its
                                                                                        its

counterclaims for
counterclaims for aa declaratory judgment of
                     declaratory judgment of non-infringement
                                             non-infringement and
                                                              and aa declaratory
                                                                     declaratory judgment
                                                                                 judgment of
                                                                                          of

invalidity (see D.I.
invalidity (see D.I. 240)
                     240) without
                          without waiver
                                  waiver of
                                         of any
                                            any argument
                                                argument or
                                                         or defenses;
                                                            defenses;

       WHEREAS, the
       WHEREAS, the Court
                    Court has
                          has issued
                              issued aa letter rogatory (D.I.
                                        letter rogatory (D.I. 326)
                                                              326) that
                                                                   that has
                                                                        has been
                                                                            been submitted
                                                                                 submitted to
                                                                                           to the
                                                                                              the

United States
United        Department of
       States Department of State for the
                            State for the testimony
                                          testimony of
                                                    of Dr.
                                                       Dr. Randolf
                                                           Randolf Kerschbaumer,
                                                                   Kerschbaumer, one
                                                                                 one of
                                                                                     of the
                                                                                        the

inventors on the
inventors on the ’590 patent; and
                 '590 patent; and

       WHEREAS, in
       WHEREAS, in order
                   order to
                         to promote
                            promote judicial
                                    judicial efficiency
                                             efficiency and
                                                        and conserve litigation costs,
                                                            conserve litigation costs, the
                                                                                       the

parties desire
parties desire to
               to extend the deadlines
                  extend the           for Genentech
                             deadlines for Genentech to
                                                     to seek
                                                        seek costs
                                                             costs and
                                                                   and attorneys'
                                                                       attorneys’ fees until the
                                                                                  fees until the end
                                                                                                 end

of any
of any appellate
       appellate proceedings;
                 proceedings;

       IT IS
       IT IS STIPULATED and ORDERED
             STIPULATED and ORDERED THAT:
                                    THAT:

       1.
       1.      Final judgment
               Final judgment is
                              is entered
                                 entered in favor of
                                         in favor of Genentech
                                                     Genentech and
                                                               and against
                                                                   against Baxalta
                                                                           Baxalta on
                                                                                   on all
                                                                                      all claims
                                                                                          claims

asserted in
asserted in the
            the operative
                operative complaint
                          complaint (the Amended Complaint
                                    (the Amended Complaint for
                                                           for Patent
                                                               Patent Infringement,
                                                                      Infringement, D.I.
                                                                                    D.I. 239);
                                                                                         239);

       2.
       2.      Genentech’s counterclaims
               Genentech's counterclaims for
                                         for aa declaratory judgment of
                                                declaratory judgment of non-infringement
                                                                        non-infringement and
                                                                                         and aa

declaratory judgment
declaratory judgment of
                     of invalidity are dismissed
                        invalidity are dismissed without
                                                 without prejudice;
                                                         prejudice;

       3.
       3.      The Clerk of
               The Clerk of the
                            the Court
                                Court is directed to
                                      is directed to enter
                                                     enter final judgment in
                                                           fmal judgment     accordance with
                                                                          in accordance with this
                                                                                             this

stipulation;
stipulation;

       4.
       4.      Nothing in
               Nothing    this stipulation
                       in this stipulation and
                                           and judgment
                                               judgment will
                                                        will affect
                                                             affect Genentech's
                                                                    Genentech’s ability
                                                                                ability to
                                                                                        to take
                                                                                           take the
                                                                                                the

deposition of
deposition of Dr.
              Dr. Randolf
                  Randolf Kerschbaumer
                          Kerschbaumer while
                                       while any
                                             any appeal
                                                 appeal from this judgment
                                                        from this judgment is
                                                                           is pending
                                                                              pending if the
                                                                                      if the




                                                 2
                                                 2
                                          Appx16196
                                          Appx16196
            Case: 22-1461        Document: 25          Page: 353      Filed: 11/04/2022

Case 1:17-cv-OO5O9-TBD
     1:17-cv-00509-TBD Document 335 Filed 01/31/19 Page 3 of 4 PagelD
                                                               PageID #: 23337



requirements of
requirements of Fed.
                Fed. R.
                     R. Civ.
                        Civ. P.
                             P. 27(b)
                                27(b) are
                                      are satisfied,
                                          satisfied, and
                                                     and if Genentech moves
                                                         if Genentech moves under Fed. R.
                                                                            under Fed. R. Civ.
                                                                                          Civ. P.
                                                                                               P.

27(b) to
27(b) to take
         take that
              that deposition
                   deposition during
                              during such
                                     such an
                                          an appeal,
                                             appeal, Baxalta
                                                     Baxalta will
                                                             will not
                                                                  not oppose
                                                                      oppose that
                                                                             that motion;
                                                                                  motion;

       5.
       5.      The
               The deadlines
                   deadlines for
                             for submission of aa bill
                                 submission of    bill of
                                                       of costs
                                                          costs and
                                                                and any
                                                                    any motions
                                                                        motions for
                                                                                for fees,
                                                                                    fees, including
                                                                                          including

any motion
any motion under
           under 35
                 35 U.S.C.
                    U.S.C. §
                           § 285,
                             285, are
                                  are extended
                                      extended until
                                               until (a)
                                                     (a) 21
                                                         21 days
                                                            days after
                                                                 after the
                                                                       the Federal
                                                                           Federal Circuit
                                                                                   Circuit issues
                                                                                           issues

its mandate, if
its mandate, if Baxalta
                Baxalta appeals
                        appeals from
                                from this
                                     this judgment,
                                          judgment, or
                                                    or (b)
                                                       (b) 21
                                                           21 days
                                                              days after
                                                                   after Baxalta's
                                                                         Baxalta’s deadline
                                                                                   deadline to
                                                                                            to file
                                                                                               file

notice of
notice of appeal,
          appeal, if Baxalta does
                  if Baxalta does not
                                  not appeal
                                      appeal from
                                             from this
                                                  this judgment,
                                                       judgment, or
                                                                 or (c)
                                                                    (c) 21
                                                                        21 days
                                                                           days after
                                                                                after Baxalta
                                                                                      Baxalta

discontinues any
discontinues any appeal
                 appeal from
                        from this
                             this judgment;
                                  judgment; and
                                            and

       6.
       6.      This stipulated final
               This stipulated       judgment is
                               fmal judgment  is without
                                                 without prejudice
                                                         prejudice to
                                                                   to either party’s rights
                                                                      either party's        to appeal.
                                                                                     rights to appeal.


 Date: January
 Date:             2019
               31, 2019
       January 31,                                   Respectfully submitted,
                                                     Respectfully submitted,


 /s/ Amy MM. Dudash                                  /s/ Steven J. Balick
 Amy M.
 Amy   M. Dudash
           Dudash (Bar
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                         No. 5741)
                              5741)                  Steven
                                                     Steven J.  Balick (#2114)
                                                             J. Balick (#2114)
 Jody  C. Barillare
 Jody C.  Barillare (Bar
                    (Bar No.
                         No. 5107)
                              5107)                  Andrew C.
                                                     Andrew   C. Mayo
                                                                  Mayo (#5207)
                                                                         (#5207)
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                                                 3
                                                 3
                                          Appx16197
                                          Appx16197
            Case: 22-1461           Document: 25          Page: 354      Filed: 11/04/2022


                                                               PageID #: 23342
Case 1:17-cv-00509-TBD Document 337 Filed 02/01/19 Page 1 of 4 PagelD




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE




  BAXALTA
  BAXALTA INCORPORATED
           INCORPORATED and BAXALTA
                            BAXALTA
  GMBH,
  GM B H,

                                   Plaintiffs,
                                   P Ia intl ifs,

       v.
       V.


  GENENTECH,
  GENENTECH, INC.
             INC. and CHUGAI
                      CHUGAL
  PHARMACEUTICAL
  PHARMACEUTICAL CO.,
                    CO., LTD.,
                         LTD.,                                        C.A. No.
                                                                      C.A. No. 17-509-TBD
                                                                               17-509-TBD


                                   Defendants.
                                   Defendants.



                            STIPULATION AND FINAL JUDGMENT

                     Plaintiffs Baxalta
            WHEREAS, Plaintiffs         Incorporated and Baxalta GmbH
                                Baxalta Incorporated             GmbH (collectively,
                                                                      (collectively, "Plaintiffs"
                                                                                     “Plaintiffs”

     “Baxalta”) brought this action against Genentech,
  or "Baxalta")                                        Inc. ("Genentech")
                                            Genentech, Inc. (“Genentech”) and Chugai

  Pharmaceutical Co., Ltd.
  Pharmaceutical Co.,      (“Chugai”) alleging infringement of certain claims of U.S.
                      Ltd. ("Chugai")                                            U.S. Patent
                                                                                      Patent No.
                                                                                             No.

  7,033,590
  7.033.590 ("the
            (“the '590
                  ‘590 patent");
                       patent”);

            WHEREAS, on September 19, 2018, the Court entered an order dismissing Chugai from
                                  19, 2018,

              (Dl. 293),
  this action (D.1.        leaving Genentech as the sole remaining
                    293), leaving                        remaining defendant;

            WHEREAS, on December 3, 2018 the Court entered an Opinion and Order (D.I.
                        December 3,                                             (Dl. 330)

  construing disputed terms in                            ‘590 patent,
                            in the asserted claims of the '590 patent, including,
                                                                       including, among
                                                                                  among other terms,
                                                                                              terms,

  the terms "antibody" ‘antibody fragment",
            “antibody” "antibody fragment”, "antibody
                                            “antibody derivative"
                                                      derivative” and "increasing
                                                                      “increasing the procoagulant

  activity...";
  activity...”;

            WHEREAS,                                 (emicizumab-kxwh), the only accused
            WHEREAS, Baxalta concedes that HEMLIBRA® (emicizumab-kxwh),

  product in      action, does not infringe the asserted claims of the '590
          in this action,                                              ‘590 patent under the Court's
                                                                                             Court’s




                                                    Appx16199
                                                    Appx16199
          Case: 22-1461           Document: 25           Page: 355        Filed: 11/04/2022


Case 1:17-cv-00509-TBD Document 337 Filed 02/01/19 Page 2 of 4 PagelD
                                                               PageID #: 23343




                              “antibody fragment",
                  “antibody”, "antibody
  construction of "antibody",           fragment”, or "antibody
                                                      “antibody derivative"     Baxalta disagrees
                                                                derivative” and Baxalta

           reserves all rights
  with and reserves     rights as to the Court's
                                         Court’s construction of
                                                              of”procoagulant  activity”;
                                                                 "procoagulant activity";

                                   Baxalta’s agreement to stipulate to a judgment of non-
                   in exchange for Baxalta's
          WHEREAS, in
          WHEREAS,                                                                   non-

   infringement without waiver of the right
  infringement                                                                        Court’s claim
                                      right to appeal from that judgment based on the Court's

  construction Order, Genentech agrees to stipulate to the dismissal without prejudice     its
                                                                             prejudice of its

                                              non-infringement and a declaratory judgment of
  counterclaims for a declaratory judgment of non-infringement

                       240) without waiver of
                  Dl. 240)
  invalidity (see D.I.                     ofany              defenses;
                                              any argument or defenses;

          WHEREAS, the Court has issued a letter rogatory
                                                 rogatoiy (D.I. 326) that has been submitted to the
                                                          (Dl. 326)

                                                         Dr. Randolf Kerschbaumer,
                Department of State for the testimony of Dr.
  United States Department
  United                                                             Kerschbaumer, one of the

            on the '590
  inventors on     390 patent; and

                   in order to promote judicial
          WHEREAS, in                                                              costs, the
                                       judicial efficiency and conserve litigation costs,

                                                                                         until the end
                                                                         attorneys’ fees until
  parties desire to extend the deadlines for Genentech to seek costs and attorneys'

  of any appellate proceedings;

         IT IS
         IT IS STIPULATED and ORDERED THAT:

          I.
          1.     Final                     in favor of Genentech and against Baxalta
                 Final judgment is entered in                                Baxalta on all claims

                                                                 Patent Infringement,
  asserted in the operative complaint (the Amended Complaint for Patent Infringement, D.I.
                                                                                      D.l. 239);

         2.
         2.      Genentech's                                             non-infringement and a
                 Genentech’s counterclaims for a declaratory judgment of non-infringement

  declaratory judgment of invalidity are dismissed without prejudice;

         3.                                                  final judgment in
                 The Clerk of the Court is directed to enter final                        with this
                                                                            in accordance with

  stipulation;

         4.
         4.                      stipulation and judgment will
                 Nothing in this stipulation
                 Nothing                                  will affect Genentech's
                                                                      Genentech’s ability to take the

  deposition of Dr.
  deposition    Dr. Randolf                                                             if the
                    Randolf Kerschbaumer while any appeal from this judgment is pending if




                                                   2



                                             Appx16200
                                             Appx16200
          Case: 22-1461           Document: 25             Page: 356        Filed: 11/04/2022
   ______________________________________

Case 1:17-cv-00509-TBD Document 337 Filed 02/01/19 Page 3 of 4 PagelD
                                                               PageID #: 23344




  requirements of Fed. R. Civ. P.
                               P.27(b)                                              Fed, R. Civ. P.
                                  27(b) are satisfied, and if Genentech moves under Fed.

  27(b) to take that deposition during such an appeal, Baxalta will not oppose that motion;

         5.      The deadlines for submission of a bill of costs and any motions for fees, including

  any motion under 35 U.S.C. §§ 285, are extended until (a) 21 days after the Federal Circuit issues
                                                        (a) 21

  its mandate, if Baxalta appeals from this judgment, or (b) 21            Baxalta’s deadline to file
                                                             21 days after Baxalta's

  notice of appeal, if Baxalta does not appeal from this judgment, or (c)
                                                                      (c) 21
                                                                          21 days after Baxalta

  discontinues any appeal from this judgment; and

         6.      This stipulated final judgment is without prejudice to either party’s           appeal.
                                                                               party's rights to appeal.


   Date: January 31, 2019                               Respectfully submitted,


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                                                   33



                                             Appx16201
                                             Appx16201
       Case: 22-1461   Document: 25   Page: 357   Filed: 11/04/2022




              CONFIDENTIAL MATERIAL OMITTED
                 FROM THE FOLLOWING PAGES:
 Appx16215-16219, Appx16230, Appx16242, Appx16249-16252, Appx16261,
   Appx16399, Appx16413-16422, Appx16431-16440, Appx16448-16452,
 Appx16514-16651, Appx16699, Appx16818, Appx16828-16892, Appx16971,
   Appx16974-16975, Appx16991-16994, Appx17275, Appx17279-17280,
   Appx17298, Appx17313-17315, Appx17339-17341, Appx17350-17353,
   Appx17411, Appx17435-17436, Appx17451-17453, Appx17466-17468,
   Appx17599-17600, Appx17607-17608, Appx17668-17671, Appx17684,
   Appx17711-17712, Appx18164, Appx18184-18186, Appx18202-18207,
   Appx18215-18217, Appx18248-18254, Appx18418-18426, Appx18575,
 Appx18615-18628, Appx18645, Appx18754-18755, Appx18836, Appx18843-
18856, Appx18861-18875, Appx19021-19023, Appx19121-19122, Appx19132-
   19135, Appx19141-19142, Appx19147-19148, Appx19151, Appx19163,
 Appx19176, Appx19179, Appx19186-19192, Appx19197-19198, Appx19205-
   19226, Appx19256, Appx19321-19322, Appx19337, Appx19387-19398,
Appx19519-19520, Appx19524-19525, Appx19530-19533, Appx19539-19545,
    Appx19670-19723, Appx19776, Appx19807, Appx20329, Appx20335
        Case: 22-1461        Document: 25     Page: 358       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 11 of 213 PagelD
                                                                  PageID #: 29244



                                                                          Page 1
                                                                          Page

 1                   UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE
 2

        ---------------------------xx
 3              INC.,, et
        BAXALTA INC.   et al.
                          al.,,


 4
 4                       Plaintiffs,
                         Plaintiffs,


 5
 5                      v.
                        v.                          No. 17-509-TBD
                                                  : No.


 6
 6      GENENTECH, INC.,
        GENENTECH, INC., et
                         et al.,
                            al.,


 7
 7                      Defendants.
                        Defendants.

        ---------------------------xx
 8
 8
                                                     717 Madison Pace,
                                                     717         Pace, NW.
                                                                       NW.
 9
 9                                                            Washington, D.C.
                                                              Washington, D.C.
10
10                                            Friday, November 19,
                                              Friday,          19, 2021
                                                                   2021
11
12
12
13
13
14
15
16                               in the above-entitled matter
                     The HEARING in
17
17      was          at 10:00 a.m.
        was convened at       a.m. pursuant
                                   pursuant to notice.
                                               notice.
18      BEFORE:
        BEFORE:
19
19                                 B. DYK
                     JUDGE TIMOTHY B.
20
20
21
21
22
22


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                                   Appx20356
                                   Appx20356
        Case: 22-1461    Document: 25       Page: 359       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 8 of 213 PagelD
                                                                 PageID #: 29251
                                                                           29251



                                                                        Page 8
                                                                        Page 8

 1                   MR. STONE:
                     MR. STONE:             Honor, we have some,
                                       Your Honor,         some,

 2      that would be only the first
        that                   first time I
                                          I do that.
                                               that.                        We

 3           some slides
        have some slides that
                         that everyone will not refer to
                                       will not

 4
 4      but we wanted to have them in
        but                        in case we do.
                                              do.                           I
                                                                        May I

 5
 5                 up?
        hand those up?

 6
 6                         DYK:
                     JUDGE DYK:        Yeah.
                                       Yeah.

 7
 7                   MR. STONE:
                     MR. STONE:        I have one copy here for
                                       I                    for

 8
 8                     I believe a
        Your Honor and I         a copy for
                                        for the court
                                                court

 9
 9            if you want
        clerk if                  get them.
                     want to come get them.                     And with the

10
10      Court's permission I'll
        Court's            I ' l l take off my mask.
                                               mask.

11                         DYK:
                     JUDGE DYK:        Yes.
                                       Yes.

12
12                   MR. STONE:
                     MR. STONE:        Thank you.
                                             you.               i t please
                                                            May it

13
13          Court, Your Honor,
        the Court,      Honor, Eric Stone for
                                          for Genentech.
                                              Genentech.

14          Court should
        The Court should grant
                         grant summary
                               summary judgement
                                       judgement under

15              112 because no reasonable jury
        Section 112                       jury could find
                                                     find

16      that the 590
        that     590 patent
                     patent provides
                            provides adequate written

17
17                     if it
        description or if i t enables
                              enables the broad scope
                                                scope of

18                genera.
        the claim genera.         In the briefing we identify
                                  In                 identify six
                                                              six

19
19      reasons why that's
        reasons     that's true.
                           true.              I'd like
                                              I'd like to start
                                                          start by

20
20                   into a
        uniting them into a common core.
                                   core.                    The problem here

21
21      at battle is
        at        is that
                     that the 590
                              590 patent
                                  patent is
                                         is functional
                                            functional at
                                                       at

22
22          point of novelty.
        the point    novelty.                                into
                                         Taking the evidence into




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                                 Appx20363
                                 Appx20363
        Case: 22-1461     Document: 25      Page: 360       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 9 of 213 PagelD
                                                                 PageID #: 29252



                                                                        Page 9
                                                                        Page 9

 1          right most
        the right      favorable to Baxalta as
                  most favorable            as we have

 2                     this motion it's
        tried to do on this        i t ' s inventors
                                           inventors

 3                 that some
        discovered that some antibodies
                             antibodies that
                                        that bind Factor 9
                                                         9

 4
 4         9A increase
        or 9A increase the procoagulant
                           procoagulant activity of Factor

 5
 5      9A.
        9A.    We'd accept
                    accept on this
                              this motion that
                                          that they made 11

 6
 6      such antibodies.
        such antibodies.           all also agree that
                                We all            that all
                                                       all of

 7
 7      them, all
        them, all 11,
                  11, are mirroring.
                          mirroring.                           from a
                                                     They come from a

 8
 8      mouse.
        mouse.       They're monospecific.
                             monospecific.             They bind only

 9
 9                           IGG or IGM
               9 and they're IGG
        Factor 9                    IGM type antibodies.
                                             antibodies.

10
10                     JUDGE DYK:
                       JUDGE DYK:      What's
                                       What's the relationship

11                             10 to positive cell
        between the 11 and the 10             cell ones?
                                                   ones?

12
12                    MR. STONE:
                      MR. STONE:       There's overlap between
                                       There's

13
13      them.
        them.       Some, there are some
                    Some,           some that
                                         that are described in
                                                            in

14          patent but
        the patent but not
                       not deposited and some
                                         some that
                                              that are

15                but not
        deposited but not otherwise mentioned in
                                              in the

16      patent.
        patent.                               if you add them
                     You end up getting to 11 if

17
17      together.
        together.       It's a
                        It's a little
                               little more complicated because

18      i t turns
        it  turns out
                  out two of the deposit
                                 deposit antibodies
                                         antibodies are the

19
19      same antibody and so
        same              so it
                             i t becomes
                                 becomes difficult
                                         difficult to just
                                                      just

20
20               patent and get
        read the patent     get there.
                                there.                  It's actually
                                                        It's

21
21            some work to get
        taken some         get to an agreement
                                     agreement on 11

22
22              there's overlap between what's
        because there's                 what's deposited




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                                 Appx20364
                                 Appx20364
         Case: 22-1461    Document: 25      Page: 361       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 10 of 213 PagelD
                                                                  PageID #: 29253



                                                                       Page 10
                                                                       Page

  1          some of the deposited antibodies
         and some                  antibodies are actually

  2          same antibody.
         the same antibody.         I don't,
                                    I don't, it's
                                             it's not
                                                  not clear

  3      whether and it
                     i t seems
                         seems likely
                               likely that
                                      that they didn't
                                                didn't know

  4
  4      that at
         that at the time they deposited them.
                                         them.

  5
  5                         DYK:
                      JUDGE DYK:       So, if
                                       So, if the deposits
                                                  deposits are cell
                                                               cell

  6
  6      line deposits
         line deposits so
                       so does
                          does each cell
                                    cell line
                                         line only produce

  7
  7      a single
         a single antibody?
                  antibody?

  8
  8                   MR. STONE:
                      MR. STONE:       That is
                                       That is a
                                               a dispute of fact
                                                            fact

  9
  9                  parties but
         between the parties but on this
                                    this motion we're

 10
 10      accepting yes.
                   yes.

 11                         DYK:
                      JUDGE DYK:       Okay.
                                       Okay.

 12
 12                   MR. STONE:
                      MR. STONE:       It, it
                                       It, i t is
                                               is also undisputed

 13
 13      that there are no common structural
         that                     structural features
                                             features

 14      across those antibodies.
         across       antibodies.                   is no disclosed
                                              There is

 15      mechanism of action.
                      action.               don't know why they
                                       They don't

 16      work and more to the point,
                              point, they don't
                                          don't know why

 17
 17          ones that
         the ones that don't
                       don't work don't
                                  don't work and there's
                                                 there's no

 18      disclosed binding site on Factor 9 that they bind
                                          9 that

 19
 19      to.
         to.         that premise,
                From that premise, they break,
                                        break, state down a
                                                          a

 20
 20                 generous claim which as
         very broad generous             as the Court
                                                Court knows
                                                      knows

 21
 21      has two structural
         has     structural requirements.
                            requirements.                   It needs
                                                            It needs to be

 22
 22                     a fragment
         an antibody or a fragment and it
                                       i t needs
                                           needs to be




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                                  Appx20365
                                  Appx20365
         Case: 22-1461    Document: 25      Page: 362       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 47 of 213 PagelD
                                                                  PageID #: 29290



                                                                       Page 47
                                                                       Page 47

  1                   MR. PETERSON:
                      MR. PETERSON:                   clear, Your
                                            And to be clear,

  2      Honor, we didn't
         Honor,    didn't invent
                          invent this
                                 this test
                                      test for
                                           for the

  3      representiveness of the antibodies.
         representiveness        antibodies.                            this
                                                                We took this

  4
  4      test directly from
         test          from the AbbVie decision.
                                       decision.                     The

  5
  5                                             is that
         difference between our case and AbbVie is that

  6
  6      AbbVie's antibodies
         AbbVie's antibodies although numerous
                                      numerous were all
                                                    all

  7
  7           similar, were all
         very similar,      all in
                                in a
                                   a very narrow corner of

  8
  8                  geneious and the accused product
         the claimed geneious                 product was
                                                      was

  9
  9                                              antibodies
         very dissimilar to any of the disclosed antibodies

 10
 10      so in
         so in AbbVie those disclosed antibodies
                                      antibodies did not
                                                     not

 11      reflect the full
         reflect     full structural
                          structural versa.
                                     versa.                   In this
                                                              In this case,
                                                                      case,

 12
 12      we have 11 amino acid sequences
                               sequences and other

 13
 13      attributes analyzed by our expert
         attributes                 expert who looked
                                               looked at
                                                      at

 14               said these are very diverse sequences.
         them and said                        sequences.

 15                    different from
         They are very different from each other.
                                           other.

 16                   JUDGE DYK:
                      JUDGE DYK:       But there was
                                       But       was no comparison

 17
 17             ones that
         to the ones that didn't
                          didn't exhibit
                                 exhibit procoagulant
                                         procoagulant

 18      activity.
         activity.

 19
 19                   MR. PETERSON:
                      MR. PETERSON:         That's correct,
                                            That's correct, Your

 20
 20      Honor, and we don't
         Honor,        don't see
                             see the purpose of this
                                                this test
                                                     test

 21
 21      as being to identify
         as          identify what is within and what
                              what is                 is
                                                 what is

 22
 22      without     geneious.
         without the geneious.           That's a
                                         That's a question of




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                                  Appx20402
                                  Appx20402
         Case: 22-1461    Document: 25      Page: 363       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 48 of 213 PagelD
                                                                  PageID #: 29291
                                                                            29291



                                                                       Page 48
                                                                       Page 48

  1      enablement.
         enablement.      Written description as
                                              as Ariad has
                                                       has

  2      always explained it,
         always           it, as
                              as Ariad's
                                 Ariad's progeny explained

  3      it, is
         it, is about
                about a
                      a reasonable number of species
                                             species and

  4
  4                 species that
         variety of species that are within the scope
                                                scope of

  5
  5          geneious.
         the geneious.      It's proving that
                            It's         that you have not
                                                       not

  6
  6      simply as
         simply as in
                   in Eli
                      Eli Lilly invent
                                invent a
                                       a rat
                                         rat insulin
                                             insulin and

  7
  7                     all vertebrae and all
         tried to claim all               all mammalian but
                                                        but

  8
  8                    invented a
         have actually invented a sufficient
                                  sufficient number of

  9
  9      species throughout
         species throughout the scope
                                scope oaf
                                      o0f the geneious
                                              geneious to

 10
 10      support a
         support a claim and show
                             show possession to those with

 11      skill in
         skill in the art
                      art to the geneious
                                 geneious as
                                          as a
                                             a whole.
                                               whole.

 12
 12                         DYK:
                      JUDGE DYK:       Well
                                       Well what about the fact
                                            what about     fact

 13
 13      that all
         that all of,
                  of, there are 11 examples,
                                   examples, right,
                                             right, and all
                                                        all

 14             examples are monospecific?
         of the examples     monospecific?

 15                  MR. PETERSON:
                     MR. PETERSON:          Yes, Your Honor.
                                            Yes,      Honor.

 16                         DYK:
                      JUDGE DYK:       Yeah, so
                                       Yeah, so how does
                                                    does that
                                                         that

 17
 17      provide written, this written support
                 written, this         support for
                                               for

 18                 antibodies?
         bispecific antibodies?

 19
 19                  MR. PETERSON:
                     MR. PETERSON:          So the portion of the

 20
 20               that was
         antibody that              in AbbVie and the
                       was analyzed in

 21
 21                              that was
         portion of the antibody that was analyzed by our

 22
 22      expert was
         expert     just the variable region of the
                was just




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                                 Appx20403
                                 Appx20403
         Case: 22-1461     Document: 25     Page: 364       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 49 of 213 PagelD
                                                                  PageID #: 29292



                                                                       Page 49
                                                                       Page 49

  1      antibody.
         antibody.       This is
                         This is where looking
                                       looking at
                                               at my slides
                                                     slides may

  2                  helpful because this
         actually be helpful         this is
                                          is the point
                                                 point that
                                                       that

  3      my slides
            slides were intended
                        intended to illustrate.
                                    illustrate.                     And, and
                                                                    And,

  4
  4      I ' l l give you the,
         I'll             the, the cliff notes,
                                         notes, which is
                                                      is that
                                                         that

  5
  5      this sort
         this sort of antibody engineering,
                               engineering, taking an

  6
  6               in one format
         antibody in     format and engineering it
                                                i t into
                                                    into

  7
  7              isn't unpredictable.
         another isn't unpredictable.                That's a
                                                     That's a predictable

  8
  8      art according to our experts
         art                  experts and what
                                          what makes it
                                               makes it

  9
  9               is that--
         possible is that--

 10
 10                         DYK:
                      JUDGE DYK:       Predictable, what's
                                       Predictable, what's

 11      predictable, to,
         predictable, to, to engineer a
                                      a monospecific

 12
 12                        i t into
         antibody and turn it  into a
                                    a bispecific antibody?
                                                 antibody?

 13
 13                   MR. PETERSON:
                      MR. PETERSON:         Yes, Your Honor,
                                            Yes,      Honor, because

 14          part of the antibody that
         the part                 that is
                                       is responsible for
                                                      for

 15      doing the work is
                        is the variable region.
                                        region.                     It is
                                                                    It is the

 16                      that is
         variable region that is responsible for
                                             for the

 17
 17                           specificity.
         binding affinity and specificity.                   It's the
                                                             It's

 18                      that's responsible for
         variable region that's             for this
                                                this

 19
 19              procoagulant activity.
         claimed procoagulant activity.                 So when in
                                                                in AbbVie

 20
 20      when our expert
                  expert looked
                         looked at
                                at these disclosed

 21
 21      antibodies what
         antibodies         looked at
                    what he looked at were the variable

 22
 22      regions of the antibodies
         regions        antibodies and that's
                                       that's what allows
                                              what allows




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                                  Appx20404
                                  Appx20404
         Case: 22-1461     Document: 25     Page: 365       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 50 of 213 PagelD
                                                                  PageID #: 29293



                                                                       Page 50
                                                                       Page 50

  1      this antibody engineering.
         this          engineering.                 if you look
                                                 So if     look at
                                                                at the

  2      first slide
         first slide you see
                         see what I think of just
                             what I          just the mind

  3          antibody.
         run antibody.              seen this
                             You've seen this many times
                                                   times I'm
                                                         I'm

  4
  4      sure.
         sure.                             regions in
                     You have the variable regions in red,
                                                      red, you

  5
  5               constant regions
         have the constant regions in
                                   in gray.
                                      gray.                   You can take

  6
  6      that, turn it
         that,      i t into
                        into an IGE,
                                IGE, a
                                     a different
                                       different isotype.
                                                 isotype.

  7
  7      That's the second
         That's     second slide.
                           slide.             You'll see
                                              You'll see the variable

  8
  8      regions are unchanged and so
         regions                   so we expect
                                         expect predictably

  9
  9      that this
         that this is
                   is going to have the same
                                        same binding

 10
 10      specificity and exhibit
         specificity     exhibit the same
                                     same activity.
                                          activity.                       When

 11      you make a
                  a chimeric antibody you simply
                                          simply take the

 12
 12               regions from
         variable regions from the mouse, from the
                                   mouse, from

 13
 13      mirroring antibody,
                   antibody, put
                             put them on the constant
                                             constant

 14      regions of the human antibody but
         regions                       but because you have

 15                   regions you expect
         the variable regions     expect the same
                                             same results.
                                                  results.

 16                           DYK:
                        JUDGE DYK:     Well
                                       Well what about the fact
                                            what about     fact

 17
 17           that the bispecific antibody for
         here that                         for one of the

 18      light chains
         light chains binds
                      binds Factor 10?
                                   10?

 19
 19                     MR. PETERSON:
                        MR. PETERSON:       And, Your Honor,
                                            And,      Honor, what
                                                             what we

 20
 20      would say
               say is
                   is that's
                      that's not
                             not part
                                 part of the claimed

 21
 21      invention.
         invention.                   invention is
                          The claimed invention is about
                                                   about the

 22
 22      bispecific antibody with the arm that
                                          that binds
                                               binds Factor




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                                  Appx20405
                                  Appx20405
         Case: 22-1461     Document: 25     Page: 366       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 51
                                                        51 of 213 PagelD
                                                                  PageID #: 29294



                                                                       Page 51
                                                                       Page 51

  1      9, 9A
         9, 9A and that
                   that arm that
                            that exhibits
                                 exhibits the procoagulant
                                              procoagulant

  2                         9, 9A,
         activity on Factor 9, 9A, and it's
                                       i t ' s not
                                               not necessary

  3                      fully describe even the portions
         to enable or to fully                   portions

  4
  4         the, portions
         of the, portions of this
                             this composition that
                                              that are not
                                                       not

  5
  5      part of the claims.
         part        claims.                    is if
                                     The answer is if you would

  6
  6      like to make a
         like         a bispecific antibody you can take

  7
  7                   IGG antibodies
         one of these IGG antibodies that
                                     that binds
                                          binds to any

  8
  8            antigen, cut
         other antigen, cut it
                            i t in
                                in half,
                                   half, put
                                         put them together

  9
  9      and predictably without
                         without undue experimentation have

 10
 10      a bispecific antibody that
         a                     that has
                                    has your Factor 9,
                                                    9, 9A
                                                       9A

 11                   has another arm as
         arm and also has             as well.
                                         well.                     So the

 12
 12                       expert at
         testimony of our expert at least
                                    least is
                                          is that
                                             that you don't
                                                      don't

 13
 13                      in order to practice this
         need to be told in                   this claim

 14      what               should be.
         what the other arm should be.                    simply need to
                                                      You simply

 15              here's what
         be told here's                 arms should
                        what one of the arms should be and

 16      then you can choose any other arm that
                                           that you would

 17
 17      like to put
         like    put on there.
                        there.                i t sounds
                                          Now it  sounds like
                                                         like there

 18      may be a
                a dispute of fact
                             fact as
                                  as to whether those with

 19
 19      skill in
         skill in the art
                      art would actually expect
                                         expect that
                                                that to

 20
 20      work.
         work.           experts certainly think,
                     Our experts           think, one was still
                                                      was still

 21
 21      in the art
         in     art at
                    at the time,
                           time, would expect
                                       expect that
                                              that

 22
 22      predictably to work.
                        work.                experts may testify
                                       Their experts




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                                  Appx20406
                                  Appx20406
         Case: 22-1461    Document: 25      Page: 367       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 52 of 213 PagelD
                                                                  PageID #: 29295



                                                                       Page 52
                                                                       Page 52

  1      otherwise.
         otherwise.      That's an issue
                         That's    issue for
                                         for the jury.
                                                 jury.                  The,
                                                                        The,

  2      the point
         the point here
                   here with this
                             this engineering
                                  engineering --
                                              --

  3                         DYK:
                      JUDGE DYK:       So, so
                                       So, so there would be no

  4
  4      infringement here if
         infringement      if HemLibra procoagulant
                                       procoagulant

  5
  5                        from the Factor 10
         activity resulted from            10 binding and

  6
  6      not from
         not from the fact
                      fact that
                           that it
                                i t binds,
                                    binds, the other chain

  7
  7      binds to Factor 9A?
         binds           9A?

  8
  8                   MR. PETERSON:
                      MR. PETERSON:              Honor, I
                                            Your Honor, I do want
                                                             want to

  9
  9         careful there.
         be careful there.        My, my understanding is
                                  My,                  is that
                                                          that

 10
 10                is that
         the claim is that there must    procoagulant
                                 must be procoagulant

 11               from the Factor 9,
         activity from            9, 9A
                                     9A arm.
                                        arm.

 12
 12                         DYK:
                      JUDGE DYK:       So there would be no

 13
 13      infringement if
         infringement if the procoagulant
                             procoagulant activity came

 14      from the binding to Factor 10?
         from                       10?

 15                   MR. PETERSON:
                      MR. PETERSON:         If the only procoagulant
                                            If          procoagulant

 16      activity were,      from the binding of Factor 10
                  were, came from                       10

 17
 17      and there was    procoagulant activity as
                   was no procoagulant          as a
                                                   a result
                                                     result

 18                    9, 9A
         of the Factor 9, 9A arm,
                             arm, my understanding is
                                                   is that
                                                      that

 19
 19      there would beno infringement.
                          infringement.

 20
 20                         DYK:
                      JUDGE DYK:       Okay.
                                       Okay.

 21
 21                   MR. PETERSON:
                      MR. PETERSON:         And, Your Honor,
                                            And,      Honor, just
                                                             just to

 22
 22                            slides, I
         close the book on the slides, I did want    show
                                             want to show




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                                  Appx20407
                                  Appx20407
         Case: 22-1461    Document: 25      Page: 368       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 53 of 213 PagelD
                                                                  PageID #: 29296



                                                                       Page 53
                                                                       Page 53

  1      how they were disclosed.
                       disclosed.             If you turn to the
                                              If

  2      second to last
         second    last slide,
                        slide, you'll look at
                               you'll look at slide seven
                                                    seven

  3          this is
         and this is one of the amino acid sequences
                                           sequences that
                                                     that

  4
  4      is actually disclosed in
         is                    in the specification
                                      specification itself.
                                                    itself.

  5
  5      This is
         This is the amino acid sequence
                                sequence disclosed in
                                                   in

  6
  6             14.
         Figure 14.          this is
                         Now this is actually not
                                              not a,
                                                  a, an IGG
                                                        IGG

  7
  7      antibody, the type that
         antibody,          that we've been discussing.
                                            discussing.

  8
  8      It's actually a
         It's          a single
                         single chain variable fragment,
                                               fragment,

  9
  9      but what
         but                tells us
             what Figure 14 tells us is
                                     is the top half of

 10
 10      that is
         that is the amino acid sequence
                                sequence for
                                         for the variable

 11            chain.
         heavy chain.                         that is
                           The bottom half of that is the amino

 12
 12           sequence for
         acid sequence for the variable light
                                        light chain.
                                              chain.                       The

 13
 13           in the middle is
         gray in            is the linker
                                   linker sequence.
                                          sequence.                       But if
                                                                          But if

 14             skill in
         one of skill in the art
                             art were to take this
                                              this SCFC and

 15                                 i t into
         using technology recombine it  into an IGG
                                                IGG they

 16      would know that
                    that that
                         that IGG
                              IGG would have exactly the

 17
 17      same amino acid sequences
         same            sequences because those variable

 18      regions aren't
         regions aren't changed as
                                as a
                                   a part
                                     part of this
                                             this process.
                                                  process.

 19
 19                clear, humanization is
         Now to be clear,              is slightly
                                          slightly

 20
 20      different.
         different.             not using the entire variable
                         You're not

 21
 21      region, you're using the complimentary determining
         region,

 22
 22      region, which is
         region,       is the portion of the variable




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                                  Appx20408
                                  Appx20408
         Case: 22-1461     Document: 25     Page: 369       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 54 of 213 PagelD
                                                                  PageID #: 29297



                                                                       Page 54
                                                                       Page 54

  1             that is
         region that is most             for the binding
                        most responsible for

  2      but these are predictable techniques
         but                       techniques and these are

  3      why in
             in the view of our experts
                                experts the antibody format
                                                     format

  4
  4      is, is
         is, is simply
                simply a
                       a red herring because to those with

  5
  5      skill in
         skill in the art
                      art when you possess
                                   possess these amino acid

  6
  6      sequences for
         sequences for the variable regions
                                    regions you're showing
                                                   showing

  7
  7      that you have possession of these same
         that                              same variable

  8
  8      regions, this
         regions, this same
                       same functionality
                            functionality in
                                          in any sort
                                                 sort of

  9
  9      format.
         format.        friend talked about
                     My friend        about the AbbVie

 10
 10      decision.
         decision.       I, I
                         I, I think that's
                                    that's helpful
                                           helpful to us.
                                                      us.

 11      There's a
         There's a line
                   line from
                        from AbbVie where it
                                          i t was
                                              was talking

 12
 12      about that
         about that the patents
                        patents didn't
                                didn't describe species
                                                species

 13
 13                        antibodies that
         representative of antibodies that are structurally
                                               structurally

 14      similar to Stelara,
         similar    Stelara, that
                             that was             product.
                                  was the accused product.

 15          that paragraph closes
         And that           closes there's
                                   there's also no evidence

 16         show whether one of skill
         to show                skill in
                                      in the art
                                             art could make

 17
 17                  changes to the described antibodies
         predictable changes                  antibodies to

 18             at other types
         arrive at       types of antibodies
                                  antibodies such
                                             such as
                                                  as

 19
 19      Stelara.
         Stelara.     Here when you're talking about
                                               about the

 20
 20      different antibody formats,
         different          formats, the testimony of our

 21
 21      experts at
         experts at least
                    least is
                          is that
                             that you can make predictable

 22
 22      changes to the antibody format
         changes                 format and arrive at
                                                   at a
                                                      a




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                                  Appx20409
                                  Appx20409
         Case: 22-1461     Document: 25     Page: 370       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 55 of 213 PagelD
                                                                  PageID #: 29298



                                                                         Page 55
                                                                         Page 55

  1      different format
         different format that
                          that exhibits
                               exhibits the same
                                            same

  2      functionality.
         functionality.       So possessing representative

  3      species of these variable regions
         species                   regions that
                                           that reflect
                                                reflect the

  4
  4      full structural
         full structural diversity,
                         diversity, in
                                    in fact,
                                       fact, some
                                             some of them

  5
  5          far closer to emicizumab than they are to each
         are far

  6
  6      other.
         other.                                       species,
                     These are very diverse disclosed species,

  7
  7      shows that
         shows that you have that
                             that same
                                  same possession across
                                                  across

  8
  8      all of the different
         all        different antibody formats.
                                       formats.

  9
  9                          DYK:
                       JUDGE DYK:      But none of the 11 examples
                                       But                examples

 10
 10      in the patent
         in     patent have therapeutic benefit,
                                        benefit, right?
                                                 right?

 11                   MR. PETERSON:
                      MR. PETERSON:         None of them were

 12
 12                into a
         developed into a therapeutic product.
                                      product.                     The

 13
 13                              experts, Dr.
         testimony of one of our experts, Dr.                    Krishna

 14      Swami, is
         Swami, is that
                   that he thinks
                           thinks any procoagulant
                                      procoagulant activity

 15      would have at
                    at least
                       least some
                             some therapeutic benefit,
                                              benefit,

 16      anything?
         anything?       It's unclear.
                         It's unclear.           suggests that
                                              He suggests that even if
                                                                    if

 17
 17      you're not
                not completely solving
                               solving the problem you

 18      could be moving a
                         a hemophilia patient
                                      patient from
                                              from one

 19
 19                  another.
         category to another.          But I
                                       But I think the key point
                                                           point as
                                                                 as

 20
 20      I see
         I see it
               i t is
                   is that
                      that there's
                           there's no suggestion
                                      suggestion that
                                                 that

 21
 21      antibodies with therapeutic benefit
         antibodies                  benefit would somehow
                                                   somehow

 22
 22      fall structurally
         fall structurally outside the set
                                       set of disclosed




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                                  Appx20410
                                  Appx20410
         Case: 22-1461    Document: 25      Page: 371        Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 56 of 213 PagelD
                                                                  PageID #: 29299



                                                                        Page 56
                                                                        Page 56

  1      antibodies.
         antibodies.               some, they are somehow
                          They are some,          somehow not
                                                          not

  2      being represented
         being represented by
                           by this
                              this --
                                   --

  3                         DYK:
                      JUDGE DYK:       But, but
                                       But, but if
                                                if someone
                                                   someone says
                                                           says I,
                                                                I,

  4
  4      I'd like
         I'd like to get
                     get an antibody that
                                     that has
                                          has therapeutic

  5
  5      benefit, this,
         benefit, this, this
                        this patent
                             patent doesn't
                                    doesn't tell
                                            tell you how to

  6
  6         that, does
         do that, does it?
                       it?

  7
  7                   MR. PETERSON:
                      MR. PETERSON:              Honor, I'd
                                            Your Honor, I'd suggest
                                                            suggest

  8
  8      there's a
         there's a lot
                   lot to therapeutic benefit
                                      benefit of a
                                                 a drug

  9
  9                 simply the degree of procoagulant
         other than simply               procoagulant

 10
 10               but I'll
         activity but I ' l l admit
                              admit the patent
                                        patent doesn't
                                               doesn't

 11      specifically say
         specifically say if
                          if you'd like
                                   like to achieve a
                                                   a

 12
 12                        procoagulant activity.
         certain degree of procoagulant activity.                           I
                                                                        Now I

 13
 13      think my friend's
                  friend's enablement
                           enablement arguments
                                      arguments there were

 14               this idea
         based on this idea of I'll
                               I ' l l say
                                       say two things.
                                               things.                         is
                                                                           One is

 15      this MagSil
         this MagSil idea
                     idea and that
                              that is
                                   is a
                                      a principle that
                                                  that we

 16      see applying --
         see          --

 17
 17                         DYK:
                      JUDGE DYK:       I'm sorry,
                                       I'm sorry, the what?
                                                      what?

 18                   MR. PETERSON:
                      MR. PETERSON:         MagSil, the case.
                                            MagSil,     case.

 19
 19                         DYK:
                      JUDGE DYK:       What's, a case?
                                       What's, a case?

 20
 20                   MR. PETERSON:
                      MR. PETERSON:         Sorry.
                                            Sorry.          Yes, Your Honor,
                                                            Yes,      Honor,

 21
 21      i t ' s , the case is
         it's,              is MagSil
                               MagSil versus
                                      versus Hitachi.
                                             Hitachi.                   It's a
                                                                        It's a

 22
 22      2012 case.
         2012 case.          this is
                         And this is the one where he talked




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                                  Appx20411
                                  Appx20411
         Case: 22-1461     Document: 25     Page: 372       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 77 of 213 PagelD
                                                                  PageID #: 29320



                                                                       Page 77
                                                                       Page 77

  1          -- on that
         the --    that assumption that
                                   that they're assuming

  2      that your witnesses are correct?
         that                    correct?                   What
                                                            What are the

  3      factual disputes?
         factual disputes?

  4
  4                   MR. PETERSON:
                      MR. PETERSON:         If they're assuming that
                                            If                  that

  5
  5      our witnesses are correct,
                           correct, there are no factual
                                                 factual

  6
  6      disputes.
         disputes.       But the testimony of our witnesses is
                         But                                is

  7
  7      that one of skill
         that        skill in
                           in the art
                                  art is
                                      is enabled to

  8
  8                  full scope
         practice to full scope including
                                including each of the

  9
  9               formats that's
         antibody formats that's listed
                                 listed in
                                        in the claims.
                                               claims.

 10
 10                         DYK:
                      JUDGE DYK:       Okay.
                                       Okay.       But that
                                                   But that sounds
                                                            sounds like
                                                                   like

 11      a legal
         a legal question,
                 question, right?
                           right?

 12
 12                   MR. PETERSON:
                      MR. PETERSON:         It is
                                            It is but
                                                  but it's
                                                      i t ' s about
                                                              about the

 13
 13                                             that.
         quantity of experimentation underneath that.                           And

 14      I'm sorry
         I'm sorry if
                   if I
                      I stated
                        stated it
                               i t in
                                   in legal
                                      legal terms.
                                            terms.                     Each of

 15            that are skilled in
         those that             in the arts
                                       arts said
                                            said to them,
                                                    them,

 16      i t would be a
         it           a routine process.
                                process.                It might
                                                        It might be time

 17
 17                as in
         consuming as in Wands.
                         Wands.           There might    a large
                                                might be a large

 18      amount of screening.
         amount    screening.

 19
 19                  Wands itself was
                     Wands itself     a case in
                                  was a      in which you had

 20
 20         screen the results
         to screen     results of a
                                  a hybridoma process.
                                              process.

 21
 21      There might    a large
               might be a large amount
                                amount of quantity but
                                                   but the

 22
 22      experimentation would be routine and not
                                              not undue.
                                                  undue.




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                                  Appx20432
                                  Appx20432
         Case: 22-1461     Document: 25     Page: 373       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 78 of 213 PagelD
                                                                  PageID #: 29321
                                                                            29321



                                                                       Page 78
                                                                       Page 78

  1                          DYK:
                       JUDGE DYK:      Okay.
                                       Okay.       Anything else beyond

  2      that?
         that?

  3                   MR. PETERSON:
                      MR. PETERSON:         No, Your Honor.
                                            No,      Honor.            Thank

  4
  4      you.
         you.

  5
  5                          DYK:
                       JUDGE DYK:      Why don't
                                           don't we take a
                                                         a

  6
  6                break?
         10-minute break?        According to my clock here,
                                                       here, it's
                                                             it's

  7
  7      20 after.
         20 after.       We'll        at 12:30 or 11:30,
                         We'll resume at                 I
                                                  11:30, I

  8
  8      guess.
         guess.      This clock hasn't
                     This       hasn't been reset
                                            reset Standard

  9
  9      Time.
         Time.

 10
 10                          (Recess)
                             (Recess)

 11                          DYK:
                       JUDGE DYK:         seated please.
                                       Be seated please.             Okay.
                                                                     Okay.

 12
 12      Let's hear again from
         Let's            from Mr.
                               Mr. Stone?
                                   Stone?

 13
 13                   MR. STONE:
                      MR. STONE:       Thank you,      Honor.
                                             you, Your Honor.                   I'd
                                                                                I'd

 14      like to start
         like    start out
                       out by answering the Court's
                                            Court's factual
                                                    factual

 15               from the opening argument
         question from             argument about
                                            about how many

 16      antibodies they made as
         antibodies           as best
                                 best we can tell?
                                             tell?

 17
 17                        patent tells
                       The patent tells us
                                        us that
                                           that there were

 18      about 1,000 per fusion.
         about           fusion.              fusion is
                                            A fusion is the joining
                                                            joining

 19
 19                 types of cells
         of the two types    cells together.
                                   together.                        that
                                                                And that

 20
 20      there were four
                    four fusions,
                         fusions, which gets
                                        gets us
                                             us to at
                                                   at least
                                                      least

 21
 21      4,000 that
         4,000 that they screened
                         screened to come to the 11.
                                                 11.                       In
                                                                           In

 22
 22                that the lead
         the paper that     lead inventor
                                 inventor wrote some
                                                some memory




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                                 Appx20433
                                 Appx20433
         Case: 22-1461    Document: 25      Page: 374       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 79 of 213 PagelD
                                                                  PageID #: 29322



                                                                       Page 79
                                                                       Page 79

  1      of years later, he said
            years later,    said it
                                 i t was 5,280.
                                     was 5,280.                   But between
                                                                  But

  2      that and the 4,000
         that         4,000 in
                            in the patent
                                   patent that
                                          that seems
                                               seems like
                                                     like

  3          best we can do,
         the best        do, but
                             but it's
                                 i t ' s clearly thousands
                                                 thousands

  4
  4      that led
         that led to the 11.
                         11.

  5
  5                         DYK:
                      JUDGE DYK:       Okay.
                                       Okay.       Is that
                                                   Is that something
                                                           something

  6
  6      that we could have a
         that               a stipulation
                              stipulation about?
                                          about?

  7
  7                   MR. STONE:
                      MR. STONE:       I'm certain we could work
                                       I'm

  8
  8      out a
         out a stipulation
               stipulation at
                           at least
                              least of the level
                                           level of this
                                                    this is
                                                         is

  9
  9      what     patent tells
         what the patent tells us.
                               us.             And we're happy to do

 10
 10      that, Your Honor.
         that,      Honor.

 11                         DYK:
                      JUDGE DYK:       And you?
                                           you?

 12
 12                   MR. PETERSON:
                      MR. PETERSON:              Honor, I
                                            Your Honor, I suspect
                                                          suspect

 13
 13      that we'll
         that we'll be able to work that
                                    that out
                                         out at
                                             at least.
                                                least.

 14                         DYK:
                      JUDGE DYK:       Okay.
                                       Okay.

 15                   MR. STONE:
                      MR. STONE:           then, Your Honor,
                                       And then,      Honor, I
                                                             I have

 16                   about something
         been unclear about something scientific
                                      scientific that
                                                 that I've
                                                      I've

 17
 17                                a couple of times.
         heard Your Honor refer to a           times.                           And

 18      so, before I
         so,        I jump
                      jump into
                           into my rebuttal
                                   rebuttal points,
                                            points, I
                                                    I just
                                                      just

 19
 19      want
         want to make one thing clear.
                                clear.                It's not
                                                      It's not that
                                                               that the

 20
 20      light chain of Emicizumab binds
         light                     binds factor
                                         factor nine.
                                                nine.

 21
 21                   If you look
                      If     look at
                                  at any of the diagrams
                                                diagrams of an

 22
 22      antibody, there's
         antibody, there's a
                           a factor
                             factor nine heavy chain.
                                               chain.




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                                  Appx20434
                                  Appx20434
         Case: 22-1461    Document: 25      Page: 375       Filed: 11/04/2022

                                431 Filed 11/24/21
Case 1:17-cv-00509-TBD Document 431       11/24/21 Page 80 of 213 PagelD
                                                                  PageID #: 29323



                                                                       Page 80
                                                                       Page 80

  1      There's a
         There's a factor
                   factor 10
                          10 heavy chain.
                                   chain.                   And then both

  2      light chains
         light chains bind both nine and ten.
                                         ten.                       i t ' s not
                                                                 So it's    not

  3      like it's
         like it's a
                   a light
                     light on one and heavy on the other.
                                                   other.

  4
  4      There's a
         There's a nine heavy chain.
                              chain.               There's a
                                                   There's a 10
                                                             10 heavy

  5
  5      chain.
         chain.                  sides the light
                     And on both sides     light chain binds
                                                       binds

  6
  6                    ten.
         both nine and ten.         I just
                                    I just wanted to clarify that.
                                                             that.

  7
  7                          DYK:
                       JUDGE DYK:      Okay.
                                       Okay.

  8
  8                    MR. STONE:
                       MR. STONE:          I would point
                                       And I       point out
                                                         out in
                                                             in

  9
  9      that since
         that since I'm
                    I'm in
                        in the neighborhood.
                               neighborhood.                    There's
                                                                There's

 10
 10              in the patent
         nothing in     patent that
                               that talks
                                    talks about
                                          about a
                                                a light
                                                  light

 11      chain binding more than antibody.
                                 antibody.

 12
 12                    I'd like
                       I'd like to
                                to know
                                   know --
                                        -- ask
                                           ask the
                                               the Court,
                                                   Court, if
                                                          if

 13
 13      you would,            slide 20
             would, to turn to slide 20 in
                                        in our slide deck.
                                                     deck.

 14      I think this
         I       this might    helpful.
                      might be helpful.                 I was
                                                        I was keeping

 15            as Mr.
         track as Mr. Peterson
                      Peterson and you,      Honor, went
                                   you, Your Honor, went

 16                  claims.
         through the claims.                              this
                                     We have attempted on this

 17
 17      slide to identify
         slide    identify within each claim of which types
                                                      types

 18                   examples in
         there are no examples in the patent.
                                      patent.                        so, I
                                                                 And so, I

 19
 19      don't know whether that's
         don't              that's helpful
                                   helpful to the Court
                                                  Court or

 20
 20      not, but
         not, but I
                  I will represent that
                    will represent that I
                                        I didn't
                                          didn't hear

 21
 21               in the argument
         anything in     argument inconsistent
                                  inconsistent with this
                                                    this

 22
 22              so that
         graphic so that maybe helpful.
                               helpful.




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                                  Appx20435
                                  Appx20435
                 Case: 22-1461         Document: 25          Page: 376          Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 437 Filed 12/03/21 Page 11 of 6 PageID
                                                                PagelD #: 29765




                           IN THE
                           IN THE UNITED STATES DISTRICT
                                  UNITED STATES DISTRICT COURT
                                                         COURT
                              FOR
                              FOR THE DISTRICT OF
                                  THE DISTRICT OF DELAWARE
                                                  DELAWARE

BAXALTA INCORPORATED
BAXALTA              and
        INCORPORATED and
                                                       )
BAXALTA GMBH,
BAXALTA GMBH,                                          )
                                                       )
                         Plaintiffs,
                         Plaintiffs,
                                                       )
        v.
        v.                                             )         C.A. No.
                                                                 C.A. No. 17-509-TBD
                                                                          17-509-TBD
                                                       )
GENENTECH, INC. and
GENENTECH, INC. and                                    )
CHUGAI PHARMACEUTICAL
CHUGAI PHARMACEUTICAL CO.,
                      CO., LTD.,
                           LTD.,                       )
                                                       )
                         Defendants.
                         Defendants.
                                                       )

                    JOINT STIPULATION
                    JOINT  STIPULATION OF
                                       OF FACT REGARDING
                                          FACT REGARDING
                 HYBRIDOMA    TECHNOLOGY AND
                 HYBRIDOMA TECHNOLOGY      AND THE
                                               THE NUMBER
                                                   NUMBER OFOF
          ANTI-FACTOR IX/IXa
          ANTI-FACTOR  IX/IXa ANTIBODIES
                              ANTIBODIES DISCLOSED
                                         DISCLOSED IN
                                                   IN THE
                                                      THE ’590
                                                          '590 PATENT
                                                               PATENT

         WHEREAS, on
         WHEREAS, on November
                     November 19,
                              19, 2021,
                                  2021, during
                                        during the
                                               the Summary
                                                   Summary Judgment Hearing, the
                                                           Judgment Hearing, the Court
                                                                                 Court

requested aa stipulation
requested    stipulation of
                         of undisputed
                            undisputed facts regarding certain
                                       facts regarding certain work
                                                               work disclosed in U.S.
                                                                    disclosed in U.S. Patent
                                                                                      Patent

No. 7,033,590
No. 7,033,590 ("the
              (“the ’590 Patent”);
                    '590 Patent");

         IT IS
         IT IS HEREBY
               HEREBY STIPULATED AND AGREED,
                      STIPULATED AND AGREED, by
                                             by the
                                                the Parties,
                                                    Parties, through
                                                             through their
                                                                     their

undersigned counsel,
undersigned          subject to
            counsel, subject to the
                                the approval
                                    approval of
                                             of the
                                                the Court,
                                                    Court, that
                                                           that these
                                                                these facts
                                                                      facts are
                                                                            are undisputed
                                                                                undisputed except
                                                                                           except

where noted:
where noted:

BACKGROUND ON
BACKGROUND ON HYBRIDOMA
              HYBRIDOMA TECHNOLOGY
                        TECHNOLOGY

1.
1.       In their work
         In their work leading to the
                       leading to the ’590   Patent, the
                                       '590 Patent,  the inventors  generated antibodies
                                                         inventors generated   antibodies that
                                                                                          that bind
                                                                                               bind to
                                                                                                    to
         clotting Factor
         clotting Factor IX and/or to
                         IX and/or  to its
                                       its activated
                                           activated form,  Factor IXa,
                                                     form, Factor   IXa, using
                                                                         using aa technique
                                                                                  technique involving
                                                                                            involving
         “hybridomas.” See
         "hybridomas."   See ’590  Patent at
                             '590 Patent   at 7:65–8:25  (citing E.
                                              7:65—8:25 (citing     Harlow and
                                                                 E. Harlow  and D.
                                                                                 D. Lane,
                                                                                    Lane, Antibodies,
                                                                                          Antibodies,
         A Laboratory
         A  Laboratory Manual,
                       Manual, Cold
                                Cold Spring    Harbor Laboratory,
                                      Spring Harbor   Laboratory, 1988,
                                                                    1988, pp.
                                                                          pp. 148-242).
                                                                              148–242).

2.
2.       AA hybridoma
             hybridoma is  is aa fusion
                                 fusion ofof two
                                             two different
                                                   different cells:
                                                             cells: (i)
                                                                    (i) an
                                                                        an immune-system
                                                                            immune-system cell  cell called
                                                                                                      called aa B-
                                                                                                                B-
          lymphocyte,
          lymphocyte, or  or B-cell,
                             B-cell, that
                                     that produces
                                           produces aa specific
                                                        specific antibody
                                                                 antibody that
                                                                           that binds
                                                                                 binds toto only
                                                                                            only (or,
                                                                                                 (or, is “specific
                                                                                                      is "specific
          for”) one protein
          for") one  protein (or
                               (or "antigen")
                                   “antigen”) oror epitope
                                                    epitope of
                                                            of interest;  and (ii)
                                                                interest; and  (ii) aa cancerous  myeloma cell.
                                                                                       cancerous myeloma      cell.
          Fusing the
         Fusing   the two
                       two cells
                            cells into
                                  into aa hybridoma
                                          hybridoma harnesses
                                                       harnesses the
                                                                  the innate  properties of
                                                                      innate properties    of each
                                                                                              each cell,
                                                                                                    cell, creating
                                                                                                          creating
         aa cell
            cell that
                 that is
                       is "immortalized"
                          “immortalized” (i.e.,
                                             (i.e., will
                                                    will grow
                                                         grow continuously
                                                               continuously in in cell   culture by
                                                                                   cell culture  by virtue
                                                                                                     virtue of
                                                                                                             of its
                                                                                                                its
          inclusion
          inclusion ofof aa cancerous
                             cancerous cell)
                                          cell) and
                                                and that
                                                      that produces
                                                           produces aa specific
                                                                         specific antibody
                                                                                     antibody (by
                                                                                               (by virtue
                                                                                                    virtue ofof its
                                                                                                                its
          inclusion  of aa B-cell).
          inclusion of     B-cell).




{01751317;v1 }
{01751317;v1 }

                                                 Appx20569
                                                 Appx20569
          Case: 22-1461           Document: 25          Page: 377         Filed: 11/04/2022

                                          12/03/21 Page 2 of 6 PagelD
Case 1:17-cv-00509-TBD Document 437 Filed 12/03/21             PageID #: 29766




3.
3.       To generate
         To   generate the
                        the B-cells
                            B-cells required
                                      required toto produce
                                                    produce aa hybridoma,
                                                                hybridoma, the the first  step is
                                                                                    first step     to inject
                                                                                                is to         (or
                                                                                                      inject (or
         “immunize”) an
         "immunize")     an animal,
                             animal, e.g.,
                                        e.g., aa mouse,
                                                 mouse, with
                                                          with the
                                                                the proposed
                                                                    proposed target
                                                                                  target (or
                                                                                          (or the
                                                                                               the "antigen
                                                                                                    “antigen ofof
         interest”). The   antigen is  injected, in some  cases  several   times over  several   weeks
         interest"). The antigen is injected, in some cases several times over several weeks through    through
         booster injections,
         booster              to induce
                 injections, to  induce anan immune
                                              immune response    within the
                                                       response within    the animal.
                                                                              animal. The
                                                                                        The animal's
                                                                                              animal’s immune
                                                                                                       immune
         system recognizes
         system   recognizes thethe injected    antigen as
                                    injected antigen     as "foreign,"
                                                             “foreign,” and
                                                                          and makes
                                                                               makes B-cells
                                                                                        B-cells that
                                                                                                  that produce
                                                                                                        produce
         antibodies  that recognize   and  bind  to that antigen.  Each   such antibody    is
         antibodies that recognize and bind to that antigen. Each such antibody is produced byproduced   by aa B-
                                                                                                               B-
         cell within
         cell within the
                      the animal,
                          animal, and
                                   and each
                                         each B-cell
                                               B-cell produces
                                                      produces only
                                                                 only aa single
                                                                         single antibody.
                                                                                 antibody.

4.
4.       The animals
         The animals are
                     are then
                         then euthanized,
                              euthanized, and
                                          and their
                                              their B-cells
                                                    B-cells are
                                                            are extracted
                                                                extracted from
                                                                          from their
                                                                               their spleens.
                                                                                     spleens.

5.
5.       The B-cells
         The  B-cells are
                      are then
                          then fused  to myeloma
                                fused to myeloma cells
                                                  cells to
                                                        to produce
                                                           produce hybridomas.
                                                                   hybridomas. The     cells are
                                                                                   The cells are grown
                                                                                                 grown
         in a specially formulated medium that causes unfused cells to die off, leaving behind only
         in a specially formulated  medium  that causes  unfused cells to die off, leaving behind  only
         fused hybridoma
         fused  hybridoma cells.
                            cells.

’590        INVENTORS’ USE OF THE HYBRIDOMA TECHNIQUE
'590 PATENT INVENTORS'

6.
6.       The antibodies
         The  antibodies produced
                         produced by
                                  by the
                                     the hybridomas
                                         hybridomas that
                                                     that the
                                                          the ’590 Patent describes
                                                              '590 Patent describes as
                                                                                    as deposited
                                                                                       deposited
         with the
         with  the European  Collection of
                   European Collection   of Cell
                                            Cell Cultures
                                                 Cultures ("ECACC")
                                                           (“ECACC”) were
                                                                        were made
                                                                              made using
                                                                                     using these
                                                                                           these
         hybridoma techniques.
         hybridoma  techniques.

7.
7.       The inventors
         The            started by
             inventors started  by injecting  mice with
                                   injecting mice  with Factor
                                                         Factor IX
                                                                 IX oror its activated forms,
                                                                         its activated  forms, activated
                                                                                                 activated
         Factor IXaα
         Factor      or Factor
                IXaa or  Factor IXaf3.
                                IXaβ. See
                                       See ’590  Patent at
                                           ' 590 Patent at col.
                                                           col. 9,
                                                                9, line
                                                                   line 66  to col.
                                                                        66 to  col. 10,
                                                                                    10, line
                                                                                        line 6.  After the
                                                                                             6. After  the
         animals were
         animals were euthanized,
                      euthanized, the
                                   the B-cells
                                       B-cells were
                                               were extracted
                                                    extracted and
                                                               and fused
                                                                    fused to
                                                                           to myeloma
                                                                              myeloma cells    to produce
                                                                                         cells to produce
         hybridomas.
         hybridomas.

8.
8.       The inventors
         The            performed and
              inventors performed  and disclosed
                                        disclosed in
                                                  in the
                                                      the ’590 Patent at
                                                          '590 Patent  at least
                                                                          least four
                                                                                four such
                                                                                       such fusion
                                                                                             fusion
         experiments, which
         experiments, which they
                            they labeled
                                 labeled #193,
                                         #193, 195,
                                               195, 196,
                                                    196, and
                                                         and 198.
                                                             198. See
                                                                  See ’590  Patent at
                                                                      '590 Patent  at col. 10, lines
                                                                                      col. 10, lines
         11-13.
         11-13.

9.
9.       The hybridoma
         The  hybridoma cells    were then
                           cells were then tested
                                           tested to
                                                  to confirm  that they
                                                     confirm that  they produced
                                                                        produced antibodies.
                                                                                  antibodies. The
                                                                                               The ’590
                                                                                                     '590
         Patent reports
         Patent reports that
                         that the
                               the inventors
                                   inventors screened
                                             screened the
                                                       the resulting  antibodies using
                                                            resulting antibodies using aa commercially
                                                                                          commercially
         available test
         available test called   the COATEST
                         called the  COATEST VIII:C/4®,
                                                  VIII:C/4®, see
                                                              see ’590  Patent at
                                                                   '590 Patent at col.
                                                                                  col. 10,
                                                                                       10, lines   43-46,
                                                                                            lines 43-46,
         which, under
         which, under the
                        the Court's
                            Court’s Claim
                                     Claim Construction
                                            Construction Order,
                                                          Order, can
                                                                  can be
                                                                      be used
                                                                         used to
                                                                              to screen
                                                                                 screen for
                                                                                         for the
                                                                                             the claimed
                                                                                                 claimed
         increase in
         increase    the procoagulant
                  in the  procoagulant activity
                                        activity of
                                                 of Factor
                                                    Factor IXa.
                                                           IXa.

10.
10.      To screen
         To  screen the
                     the antibodies
                          antibodies for   procoagulant activity,
                                       for procoagulant   activity, the
                                                                    the inventors
                                                                        inventors created
                                                                                    created aa "master
                                                                                               “master plate"
                                                                                                         plate”
         for each
         for each fusion     experiment, dividing
                   fusion experiment,      dividing the
                                                     the generated    hybridoma cells
                                                          generated hybridoma             across ten
                                                                                   cells across    ten 96-well
                                                                                                       96-well
         plates, for
         plates, for aa total
                        total of
                              of 960
                                 960 wells
                                      wells per
                                             per fusion
                                                 fusion experiment.
                                                         experiment. SeeSee ’590  Patent at
                                                                            '590 Patent    at col.
                                                                                              col. 11,
                                                                                                   11, lines
                                                                                                       lines 9-
                                                                                                             9-
         12. Typically,
         12.              each well
              Typically, each    well contained
                                      contained more
                                                 more than
                                                       than one
                                                             one hybridoma
                                                                 hybridoma (e.g.,    three to
                                                                              (e.g., three to fifteen different
                                                                                              fifteen different
         hybridomas). See
         hybridomas).     See ’590  Patent at
                               '590 Patent  at col
                                               col 11,
                                                   11, lines 23-28.
                                                       lines 23-28.

11.
11.      To expedite
         To  expedite the
                        the screening
                            screening process,
                                        process, the
                                                   the inventors   tested, together,
                                                       inventors tested,    together, all
                                                                                       all of
                                                                                           of the
                                                                                              the antibodies
                                                                                                   antibodies
         produced by
         produced  by all
                       all of
                           of the
                              the hybridomas
                                   hybridomas inin aa given
                                                      given well,
                                                             well, using
                                                                   using the
                                                                          the COATEST
                                                                              COATEST VIII:C/4®
                                                                                            VIII:C/4® assay
                                                                                                        assay
         at the
         at the same
                same time.
                      time. SeeSee ’590  Patent at
                                    '590 Patent   at col
                                                     col 10,
                                                          10, lines
                                                              lines 43-46.
                                                                    43-46. Where
                                                                              Where the
                                                                                      the assay
                                                                                           assay showed
                                                                                                  showed nono
         procoagulant activity,
         procoagulant   activity, the
                                  the inventors
                                      inventors knew    that none
                                                 knew that   none of
                                                                   of the
                                                                      the antibodies
                                                                          antibodies in
                                                                                      in that
                                                                                         that given
                                                                                              given well
                                                                                                     well had
                                                                                                          had
         such activity.
         such activity.

{01751317;v1 }
{01751317;v1 }                                         2
                                                       2

                                            Appx20570
                                            Appx20570
                  Case: 22-1461              Document: 25            Page: 378            Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 437 Filed 12/03121
                                          12/03/21 Page 3 of 6 PagelD
                                                               PageID #: 29767




12.
12.          Where, however,
             Where,   however, the the inventors
                                        inventors saw
                                                    saw activity
                                                          activity in
                                                                   in the
                                                                       the COATEST
                                                                           COATEST VIII:C/4® assay      assay for
                                                                                                                for the
                                                                                                                    the
             antibodies  secreted from
             antibodies secreted      from the
                                             the hybridoma
                                                  hybridoma cell(s)     within aa given
                                                               cell(s) within     given well,
                                                                                         well, the
                                                                                                 the inventors
                                                                                                      inventors then
                                                                                                                   then
             identified and
             identified      segregated the
                        and segregated          specific hybridoma
                                           the specific   hybridoma cell
                                                                      cell or
                                                                           or cells within that
                                                                              cells within  that well
                                                                                                 well that
                                                                                                       that produced
                                                                                                             produced
             the antibody
             the antibody or     antibodies with
                             or antibodies      with procoagulant
                                                      procoagulant activity.      They did
                                                                      activity. They     did that
                                                                                              that byby diluting
                                                                                                          diluting the
                                                                                                                    the
             contents of the
             contents of  the well
                              well and    distributing those
                                     and distributing   those contents   across the
                                                              contents across   the 96
                                                                                     96 wells
                                                                                        wells of
                                                                                              of aa new
                                                                                                    new plate.
                                                                                                          plate. They
                                                                                                                  They
             then assayed
             then assayed the
                            the contents
                                 contents of    each of
                                            of each  of those
                                                         those new
                                                               new 96
                                                                    96 wells,
                                                                        wells, again
                                                                               again disregarding
                                                                                      disregarding those
                                                                                                      those inin which
                                                                                                                 which
             no activity
             no  activity was
                           was observed
                                  observed and and again
                                                    again further
                                                            further subdividing
                                                                     subdividing those
                                                                                    those in
                                                                                           in which
                                                                                               which activity       was
                                                                                                         activity was
             observed   across the
             observed across    the wells
                                     wells of   new 96-well
                                            of new   96-well plates.
                                                              plates. This
                                                                        This process
                                                                             process is
                                                                                      is called  “subcloning.” See
                                                                                         called "subcloning."       See
             ’590 Patent at
             '590 Patent   at col.  11, lines
                              col. 11,  lines 45-49.
                                               45-49.

13.
13.          The ’590
             The          Patent discloses
                  '590 Patent       discloses that   within each
                                                that within    each of    the four
                                                                      of the    four hybridoma
                                                                                       hybridoma fusion
                                                                                                     fusion experiments,
                                                                                                             experiments,
             “wells either
             "wells            exhibiting high
                      either exhibiting     high FVIII-like
                                                   FVIII-like activity
                                                                  activity or    substantial FVIII-like
                                                                            or substantial     FVIII-like activity
                                                                                                            activity were
                                                                                                                      were
             subjected to
             subjected   to subcloning
                             subcloning procedures."
                                           procedures.” '590’590 Patent
                                                                   Patent at
                                                                           at col.  11, lines
                                                                              col. 11,  lines 15-17.
                                                                                               15-17. The
                                                                                                       The patent
                                                                                                            patent further
                                                                                                                    further
             discloses that
             discloses   that "[f]rom
                               “[f]rom each
                                         each fusion   experiment, several
                                               fusion experiment,      several (5-15)
                                                                                  (5-15) master
                                                                                           master clones   (selected from
                                                                                                   clones (selected   from
             the master
             the master plate)
                           plate) were
                                   were identified
                                          identified and
                                                     and subjected
                                                            subjected toto subcloning."
                                                                            subcloning.” Id.  Id. at col. 12,
                                                                                                  at col. 12, lines
                                                                                                              lines 14-16.
                                                                                                                    14-16.
             The patent
             The  patent states
                            states that
                                    that for  the cell
                                          for the        lines that
                                                   cell lines    that were
                                                                      were subcloned,
                                                                              subcloned, "most"
                                                                                             “most” were
                                                                                                      were subcloned
                                                                                                             subcloned toto
             monoclonality after
             monoclonality              three rounds
                                 after three   rounds ofof subcloning.
                                                             subcloning. See   See id.
                                                                                     id. at
                                                                                         at col.  12, lines
                                                                                             col. 12,  lines 16-18.
                                                                                                              16-18. ForFor
             example,     Figure 2
             example, Figure        2 reports
                                       reports "the
                                                 “the results
                                                       results derived
                                                                  derived from
                                                                            from the the fifth
                                                                                          fifth master
                                                                                                master plate
                                                                                                          plate of   fusion
                                                                                                                 of fusion
             experiment     #193.” Id.
             experiment #193."         Id. at
                                           at col. 11, lines
                                              col. 11,  lines 39-41.
                                                                39-41. The
                                                                         The plotted
                                                                                plotted values
                                                                                          values are
                                                                                                  are slightly
                                                                                                       slightly above
                                                                                                                 above the
                                                                                                                        the
             MLW control for approximately
                                     approximately 40% 40% of      the wells
                                                               of the  wells on      that master
                                                                                on that   master plate,
                                                                                                   plate, and   the patent
                                                                                                           and the   patent
             discloses that
             discloses   that the
                               the cell  pool in
                                   cell pool  in "Position
                                                  “Position ES ES [sic:
                                                                   [sic: should
                                                                         should be be ES]
                                                                                       E5] was
                                                                                            was identified
                                                                                                 identified as
                                                                                                             as exhibiting
                                                                                                                exhibiting
             FVIII like
             FVIII  like activity    significantly higher
                          activity significantly    higher than
                                                              than the
                                                                    the blank
                                                                        blank (MLW)."
                                                                                 (MLW).” Id.  Id. at
                                                                                                  at col. 11, lines
                                                                                                     col. 11, lines 42-44.

       0
       0
       4,
       O
       cn

       0.9
       0.8
       0.7
       0.6
       0.5


       0.3
       0.2
       0.1
                                                                                     fl    P   I t
                QliZ3 2'18 276 2r'1      O    2 0 2 8 2 114       Ql 1c*I 2rW12 '12' /-2 2      rn "                    M G)
             KR3          a a 5E                                                Ege                    --   7• =tr..,    is>
                                                        Well number


                                                          FIG. 2

14.
14.          After screening
             After screening candidate  antibodies from
                              candidate antibodies from the
                                                        the four
                                                            four fusion
                                                                 fusion experiments,  the ’590
                                                                         experiments, the        Patent
                                                                                           '590 Patent
             inventors deposited with the ECACC   hybridomas  producing, and/or disclosed in the patent
             inventors deposited with the ECACC hybridomas producing, and/or disclosed in the patent

{01751317;v1 }
{01751317;v1}                                                 3
                                                              3

                                                       Appx20571
                                                       AppX20571
                 Case: 22-1461    Document: 25       Page: 379       Filed: 11/04/2022

                                          12/03/21 Page 4 of 6 PagelD
Case 1:17-cv-00509-TBD Document 437 Filed 12/03/21             PageID #: 29768




         the amino
         the amino acid
                   acid sequence
                         sequence of
                                   of the
                                       the variable
                                           variable regions
                                                    regions of,
                                                            of, eleven antibodies that
                                                                eleven antibodies that increase the
                                                                                       increase the
         procoagulant activity
         procoagulant activity of
                               of Factor IXa.11
                                  Factor IXa.




         1
           As noted
         ' As noted during the Summary
                    during the Summary Judgment    Hearing, Genentech
                                         Judgment Hearing,  Genentech disputes  that the
                                                                       disputes that the ’590 Patent
                                                                                         '590 Patent
discloses   even eleven
discloses even    eleven antibodies
                         antibodies that
                                    that bind
                                          bind to
                                               to Factor
                                                  Factor IX
                                                         IX or
                                                             or IXa and increase
                                                                IXa and           the procoagulant
                                                                         increase the  procoagulant
activity of
activity   of Factor
              Factor IXa,  but accepts
                      IXa, but  accepts Baxalta's
                                         Baxalta’s characterization of the
                                                   characterization of the evidence    for summary
                                                                            evidence for   summary
judgment only.
judgment    only.

{01751317;v1 }
{01751317;v1 }                                   4
                                                 4

                                           Appx20572
                                           Appx20572
            Case: 22-1461     Document: 25   Page: 380   Filed: 11/04/2022



Case 1:17-cv-00509-TBD Document 578 Filed 02/08/22 Page 1 of 2 PagelD
                                                               PageID #: 38643




                    IN THE
                    IN THE UNITED STATES DISTRICT
                           UNITED STATES DISTRICT COURT
                                                  COURT
                       FOR THE
                       FOR     DISTRICT OF
                           THE DISTRICT OF DELAWARE
                                           DELAWARE


 BAXALTA INCORPORATED
 BAXALTA              and
         INCORPORATED and
 BAXALTA GMBH,
 BAXALTA GMBH,

                     Plaintiffs,
                     Plaintiffs,

       v.
       v.                                         Civil Action
                                                  Civil Action No.
                                                               No. 17-509-TBD
                                                                   17-509-TBD

 GENENTECH,
 GENENTECH, INC. and CHUGAI
            INC. and CHUGAI
 PHARMACEUTICAL CO.,
 PHARMACEUTICAL    CO., LTD.,
                        LTD.,

                     Defendants.
                     Defendants.


                                   NOTICE OF
                                   NOTICE OF APPEAL
                                             APPEAL




                                      Appx20575
                                      Appx20575
           Case: 22-1461         Document: 25          Page: 381       Filed: 11/04/2022

Case 1:17-cv-00509-TBD Document 578 Filed 02/08/22 Page 2 of 2 PagelD
                                                               PageID #: 38644




       Plaintiffs Baxalta
       Plaintiffs Baxalta Incorporated
                          Incorporated and
                                       and Baxalta
                                           Baxalta GmbH,
                                                   GmbH, in
                                                         in the
                                                            the above-named
                                                                above-named case, hereby
                                                                            case, hereby

appeal to
appeal to the
          the United
              United States Court of
                     States Court of Appeals
                                     Appeals for the Federal
                                             for the Federal Circuit
                                                             Circuit the
                                                                     the Order
                                                                         Order granting
                                                                               granting Genentech
                                                                                        Genentech

Inc.’s Motion for
Inc.'s Motion for Summary
                  Summary Judgment (ECF No.
                          Judgment (ECF No. 574) and accompanying
                                            574) and accompanying Memorandum
                                                                  Memorandum Opinion
                                                                             Opinion

(ECF No.
(ECF No. 573),
         573), entered
               entered in this action
                       in this action on
                                      on January 13, 2022,
                                         January 13, 2022, and
                                                           and from
                                                               from any
                                                                    any and
                                                                        and all
                                                                            all orders,
                                                                                orders, rulings,
                                                                                        rulings,

findings, and conclusions
findings, and conclusions underlying,
                          underlying, relating
                                      relating to,
                                               to, pertinent
                                                   pertinent to,
                                                             to, or
                                                                 or ancillary
                                                                    ancillary to
                                                                              to the
                                                                                 the judgment
                                                                                     judgment or
                                                                                              or that
                                                                                                 that

merged into
merged into or
            or became
               became part
                      part of
                           of the
                              the judgment.
                                  judgment.

 Dated: February
 Dated: February 8,
                 8, 2022
                    2022                             Respectfully submitted,
                                                     Respectfully submitted,

                                                     /s/ Amy
                                                     /s/ Amy M
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                                                                Dudash

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                                                     and Baxalta GmbH
                                                                   GmbH




                                                 1
                                                 1

                                           Appx20576
                                           Appx20576
            Case: 22-1461               Document: 25   Page: 382   Filed: 11/04/2022




                                                                                       1
Monoclonal Antibody
                      IgG
                      Variable Region




                                              Appx20615
                         Case: 22-1461                     Document: 25   Page: 383   Filed: 11/04/2022




                                                                                                          2
Monoclonal Antibody, Different Isotype
                                         IgE
                                         Variable Region




                                                                 Appx20616
           Case: 22-1461                  Document: 25   Page: 384   Filed: 11/04/2022




                                                                                         3
                                      Chimeric
Chimeric Antibody



                                      Human
                                      Mouse
                    Variable Region




                                                 Appx20617
                                   Bispecific Antibody
            Variable Region
                                                                          Case: 22-1461




              Binds One Antigen   Binds Another          Binds Both
                                                                          Document: 25




Appx20618
                                                                          Page: 385
                                                                          Filed: 11/04/2022




                                                                      4
            Case: 22-1461               Document: 25   Page: 386   Filed: 11/04/2022




                                                                                       5
                                                         Fab
Antibody Fragments



                                       IgG
                     Variable Region




                                              Appx20619
            Case: 22-1461               Document: 25   Page: 387   Filed: 11/04/2022




                                                                                       6
                                                          scFv
Antibody Fragments



                                       IgG
                     Variable Region




                                              Appx20620
